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                                  No. 22-11036

                    United States Court of Appeals
                         for the Fifth Circuit
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
  THE CHARITABLE DAF FUND L.P.; CLO HOLDCO, LIMITED; MARK PATRICK;
     SBAITI & COMPANY P.L.L.C.; MAZIN A. SBAITI; JONATHAN BRIDGES,
                                                   Appellants,
                                  v.
                 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   Appellee.
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
                                JAMES DONDERO,
                                                Appellant,
                                   v.
                   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                Appellee.
               On Appeal from the United States District Court
              for the Northern District of Texas, Dallas Division
                     Nos. 3:21-cv-01974-X, 3:21-cv-1979-S
             RECORD EXCERPTS OF APPELLANTS
       THE CHARITABLE DAF FUND L.P.; CLO HOLDCO, LTD;
           MARK PATRICK; SBAITI & COMPANY PLLC;
             MAZIN A. SBAITI; JONATHAN BRIDGES
Mazin A. Sbaiti                            Erik S. Jaffe
Jonathan Bridges                            Lead Counsel
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           CLO Holdco, Ltd.; Mark Patrick; Sbaiti & Company, PLLC;
                    Mazin A. Sbaiti; and Jonathan Bridges
FEBRUARY 6, 2023
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                  INDEX OF RECORD EXCERPTS
                        MANDATORY CONTENTS
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 A   R.E. 1–14        Docket Sheet, The Charitable DAF Fund, L.P.
                      et al. v. Highland Capital Management LP,
                      Case No. 3:21-cv-01974-X (N.D. Tex.) (ROA.1–14)
 B   R.E. 15–20       Docket Sheet, Dondero, et al. v. Highland Capital
                      Management LP, Case No. 3:21-cv-01979-S
                      (N.D. Tex.) (ROA.12718–23)
 C   R.E. 21–459      Docket Sheet, In re Highland Capital
                      Management, L.P., Case No. 19-34054-sgj11
                      (Bankr. N.D. Tex.) (ROA.89–527)
 D   R.E. 460–462     Notice of Appeal of The Charitable DAF Fund,
                      L.P.; CLO Holdco, Ltd.; Mark Patrick; Sbaiti &
                      Company, PLLC; Mazin A. Sbaiti; and Jonathan
                      Bridges, Case No. 3:21-cv-01974-X, Oct. 10, 2022
                      (N.D. Tex.) (ROA.12287–89)
 E   R.E. 463–494     Memorandum Opinion & Order affirming in part
                      and vacating in part the order of the bankruptcy
                      court, Case No. 3:21-cv-01974-X, Sept. 28, 2022
                      (N.D. Tex.) (ROA.12255–86)
 F   R.E. 495–525     Memorandum Opinion & Order Holding Certain
                      Parties and Their Attorneys in Civil Contempt of
                      Court for Violation of Bankruptcy Court Orders,
                      Case No. 19-34054-sgj11, Aug. 4, 2021
                      (Bankr. N.D. Tex.) (ROA.27–57)
 G   R.E. 526–528     Order Approving Debtor’s Motion Under
                      Bankruptcy Code Sections 105(a) and 363(b)
                      Authorizing Retention of James P. Seery, Jr.,
                      as Chief Executive Officer, Chief Restructuring
                      Officer, and Foreign Representative Nunc Pro
                      Tunc to March 15, 2020,
                      Case No. 19-34054-sgj11, July 16, 2020
                      (Bankr. N.D. Tex.) (ROA.1170–72)
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 H   R.E. 529–538 Plaintiffs’ Motion for Leave to File First
                  Amended Complaint, Cause No. 3:21-cv-000842-B,
                  Apr. 19, 2021 (N.D. Tex.) (ROA.2689–98)
 I   R.E. 539     Proposed Order, Cause No. 3:21-cv-00842-B
                  (N.D. Tex.) (ROA.2787)
 J   R.E. 540–544 Debtor’s Motion for an Order Requiring the
                  Violators to Show Cause Why They Should Not
                  Be Held in Civil Contempt for Violating Two
                  Court Orders, Cause No. 19-34054-sgj11,
                  Apr. 23, 2021 (Bankr. N.D. Tex.) (ROA.1764–68)




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                     CERTIFICATE OF SERVICE

     Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby

certify that on February 6, 2023, I electronically filed the foregoing

Record Excerpts with the Clerk of the Court for the United States Court

of Appeals for the Fifth Circuit by using the CM/ECF system, which will

accomplish service on counsel for all parties through the Court’s

electronic filing system.

     I further certify that 1) all required redactions have been made and

2) that this document has been scanned for viruses with the most current

version of a commercial virus scanning program and is free of viruses.

                                  /s/ Erik S. Jaffe
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                                  CLO Holdco, Ltd.; Mark Patrick;
                                  Sbaiti & Company, PLLC;
                                  Mazin A. Sbaiti; and
                                  Jonathan Bridges




                                       3
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                    TAB A
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                                                               APPEAL,BKAPP,CLOSED,LEAD,RAMIREZ
                                  U.S. District Court
                           Northern District of Texas (Dallas)
                      CIVIL DOCKET FOR CASE #: 3:21-cv-01974-X

The Charitable DAF Fund, L.P. et al v. Highland Capital          Date Filed: 08/23/2021
Management LP                                                    Date Terminated: 09/28/2022
Assigned to: Judge Brantley Starr                                Jury Demand: None
Case in other court: BK Court, 19-34054-sgj11; Adversary         Nature of Suit: 422 Bankruptcy: Appeal 28
                     Number                                      USC 158
                     USCA5, 22-11036                             Jurisdiction: Federal Question
Cause: 28:0158 Notice of Appeal re Bankruptcy Matter (BA
Debtor
Highland Capital Management LP

Appellant
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                                        R.E. 2                                           22-11036.2
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                                      R.E. 3                                           22-11036.3
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                                      R.E. 4                                           22-11036.4
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                                                           TERMINATED: 08/17/2022
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                                         R.E. 5                                             22-11036.5
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                         R.E. 6                                           22-11036.6
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                         R.E. 7                                              22-11036.7
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Bankruptcy Judge
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V.
Notice Only
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                                                                     PRO SE


 Date Filed           #        Docket Text

 08/23/2021         1 (p.15)   Pursuant to Fed. R. Bankr. P. 8003(d), the bankruptcy clerk has transmitted the
                               notice of appeal filed in bankruptcy case number 19-34054 and the notice of appeal
                               has now been docketed in the district court in case 3:21-cv-1974. (The filing fee
                               has been paid in the Bankruptcy Court.) Pursuant to Fed. R. Bankr. P. 8009, before
                               the record on appeal can be assembled and filed in the district court, designations of
                               items to be included in the record on appeal and statements of issues must be filed
                               in the bankruptcy case. If a sealed document is designated, the designating party
                               must file a motion in the district court case for the document to be accepted under
                               seal. See also District Court Local Bankruptcy Rule 8012.1. Unless exempted,
                               attorneys who are not admitted to practice in the Northern District of Texas must
                               seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov,
                               or by clicking here: Attorney Information - Bar Membership. If admission
                               requirements are not satisfied within 21 days, the clerk will notify the presiding
                               judge. (Attachments: # 1 (p.15) Notice of appeal and supporting documents)
                               (Whitaker - TXNB, Sheniqua) (Entered: 08/23/2021)

 08/23/2021                    New Case Notes: A filing fee has been paid. (ygl) (Entered: 08/24/2021)

 08/30/2021      2 (p.528)     ***PLEASE DISREGARD/DOCUMENT TO BE REFILED***CERTIFICATE
                               OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Jonathan Bridges,
                               CLO Holdco Ltd, Mark Patrick, Sbaiti & Company PLLC, The Charitable DAF
                               Fund LP, Mazin A. sbaiti. (Sbaiti, Mazin) Modified on 8/30/2021 (ykp). (Entered:
                               08/30/2021)

 08/30/2021      3 (p.530)     CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
                               Jonathan Bridges, CLO Holdco Ltd, Mark Patrick, Sbaiti & Company PLLC, The
                               Charitable DAF Fund LP, Mazin A. sbaiti. (Sbaiti, Mazin) (Entered: 08/30/2021)

 09/24/2021      4 (p.532)     Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                               fee $100; Receipt number 0539-12250384) filed by Highland Capital Management
                               LP (Attachments: # 1 (p.15) Certificate of Good Standing)Attorney Jeffrey N
                               Pomerantz added to party Highland Capital Management LP(pty:dbpos)


                                                   R.E. 8                                                 22-11036.8
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                            (Pomerantz, Jeffrey) (Entered: 09/24/2021)

09/24/2021      5 (p.538)   Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                            fee $100; Receipt number 0539-12250397) filed by Highland Capital Management
                            LP (Attachments: # 1 (p.15) Certificate of Good Standing)Attorney Gregory V
                            Demo added to party Highland Capital Management LP(pty:dbpos) (Demo,
                            Gregory) (Entered: 09/24/2021)

09/27/2021             6    ELECTRONIC ORDER granting 4 (p.532) Application for Admission Pro Hac
                            Vice of Jeffrey N. Pomerantz. Important Reminder: Unless excused for cause, an
                            attorney who is not an ECF user must register within 14 days of the date the
                            attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                            Judge Brantley Starr on 9/27/2021) (chmb) (Entered: 09/27/2021)

09/27/2021             7    ELECTRONIC ORDER granting 5 (p.538) Application for Admission Pro Hac
                            Vice of Gregory V. Demo. Important Reminder: Unless excused for cause, an
                            attorney who is not an ECF user must register within 14 days of the date the
                            attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                            Judge Brantley Starr on 9/27/2021) (chmb) (Entered: 09/27/2021)

09/27/2021      8 (p.544)   Notice Transmitting COMPLETE BK Record on Appeal re 1 (p.15) Notice
                            Transmitting BK Appeal or Withdrawal of Reference (Attachments: # 1 (p.15)
                            Mini Record Vol. 1, # 2 (p.528) Appellant Record Vol. 2, # 3 (p.530) Appellant
                            Record Vol. 3, # 4 (p.532) Appellant Record Vol. 4, # 5 (p.538) Appellant Record
                            Vol. 5, # 6 Appellant Record Vol. 6, # 7 Appellant Record Vol. 7, # 8 (p.544)
                            Appellant Record Vol. 8, # 9 (p.11540) Appellant Record Vol. 9, # 10 (p.11546)
                            Appellant Record Vol. 10, # 11 Appellant Record Vol. 11, # 12 (p.11555)
                            Appellant Record Vol. 12, # 13 (p.11556) Appellant Record Vol. 13, # 14
                            (p.11561) Appellant Record Vol. 14, # 15 Appellant Record Vol. 15, # 16
                            Appellant Record Vol. 16, # 17 (p.11566) Appellant Record Vol. 17, # 18
                            (p.11622) Appellant Record Vol. 18, # 19 (p.11960) Appellant Record Vol. 19, #
                            20 (p.12027) Appellant Record Vol. 20, # 21 Appellant Record Vol. 21, # 22
                            (p.12035) Appellant Record Vol. 22, # 23 (p.12040) Appellant Record Vol. 23, #
                            24 (p.12046) Appellant Record Vol. 24, # 25 (p.12052) Appellant Record Vol. 25,
                            # 26 (p.12058) Appellant Record Vol. 26, # 27 Appellant Record Vol. 27, # 28
                            Appellant Record Vol. 28, # 29 Appellant Record Vol. 29, # 30 Appellant Record
                            Vol. 30, # 31 (p.12064) Appellant Record Vol. 31, # 32 (p.12067) Appellant
                            Record Vol. 32, # 33 (p.12072) Appellant Record Vol. 33, # 34 (p.12125)
                            Appellant Record Vol. 34, # 35 (p.12131) Appellant Record Vol. 35, # 36
                            Appellant Record Vol. 36, # 37 (p.12136) Appellant Record Vol. 37, # 38
                            (p.12159) Appellant Record Vol. 38, # 39 (p.12192) Appellant Record Vol. 39, #
                            40 Appellant Record Vol. 40, # 41 (p.12195) Appellant Record Vol. 41, # 42
                            Appellant Record Vol. 42, # 43 (p.12202) Appellant Record Vol. 43, # 44
                            (p.12227) Appellant Record Vol. 44, # 45 Appellee Record Vol. 45, # 46 (p.12241)
                            Appellee Record Vol. 46) (Blanco - TXNB, Juan) (Entered: 09/27/2021)

10/14/2021             9 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.11540) fee $100; Receipt number 0539-12301473) filed by Highland Capital Management
                         LP (Attachments: # 1 (p.15) Certificate of Good Standing)Attorney John A Morris
                         added to party Highland Capital Management LP(pty:dbpos) (Morris, John)
                         (Entered: 10/14/2021)

10/18/2021            10 Joint MOTION to Consolidate Cases Appellants' Unopposed Joint Motion to (I)
               (p.11546) Consolidate Bankruptcy Appeals; (II) Conform Briefing Schedules; and (III)
                         Extend Time for Applicants to File Their Opening Briefs filed by Jonathan Bridges,

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                           CLO Holdco Ltd, Mark Patrick, Sbaiti & Company PLLC, The Charitable DAF
                           Fund LP, Mazin A. sbaiti (Sbaiti, Mazin) (Entered: 10/18/2021)

10/22/2021            11   ELECTRONIC ORDER granting 9 (p.11540) Application for Admission Pro Hac
                           Vice of John A. Morris. Important Reminder: Unless excused for cause, an attorney
                           who is not an ECF user must register within 14 days of the date the attorney
                           appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                           Brantley Starr on 10/22/2021) (chmb) (Entered: 10/22/2021)

10/25/2021            12 ORDER CONSOLIDATING CASES: Member case(s) 3:21-CV-01979-S
               (p.11555) consolidated with lead case 3:21-CV-01974-X. James Dondero added to case
                         pursuant to consolidation. Attorney Clay M Taylor, Bryan Christopher Assink,
                         David L Kane, Douglas Joseph Lipke, Michael Eidelman, Thomas P Cimino, Jr,
                         William W Thorsness for James Dondero added to case pursuant to consolidation.
                         Appellants opening briefs are due no later than 12/13/2021. (Ordered by Judge
                         Brantley Starr on 10/25/2021) (ygl) (Entered: 10/25/2021)

12/06/2021            13 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.11556) fee $100; Receipt number 0539-12431875) filed by Jonathan Bridges, CLO Holdco
                         Ltd, Mark Patrick, Mazin A Sbaiti, Sbaiti & Company PLLC, The Charitable DAF
                         Fund LP (Attachments: # 1 (p.15) Proposed Order)Attorney Erik S Jaffe added to
                         party Jonathan Bridges(pty:a), Attorney Erik S Jaffe added to party CLO Holdco
                         Ltd(pty:a), Attorney Erik S Jaffe added to party Mark Patrick(pty:a), Attorney Erik
                         S Jaffe added to party Mazin A Sbaiti(pty:a), Attorney Erik S Jaffe added to party
                         Sbaiti & Company PLLC(pty:a), Attorney Erik S Jaffe added to party The
                         Charitable DAF Fund LP(pty:a) (Jaffe, Erik) (Entered: 12/06/2021)

12/06/2021            14 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.11561) fee $100; Receipt number 0539-12431970) filed by Jonathan Bridges, CLO Holdco
                         Ltd, Mark Patrick, Mazin A Sbaiti, Sbaiti & Company PLLC, The Charitable DAF
                         Fund LP (Attachments: # 1 (p.15) Proposed Order)Attorney Brian J Field added to
                         party Jonathan Bridges(pty:a), Attorney Brian J Field added to party CLO Holdco
                         Ltd(pty:a), Attorney Brian J Field added to party Mark Patrick(pty:a), Attorney
                         Brian J Field added to party Mazin A Sbaiti(pty:a), Attorney Brian J Field added to
                         party Sbaiti & Company PLLC(pty:a), Attorney Brian J Field added to party The
                         Charitable DAF Fund LP(pty:a) (Field, Brian) (Entered: 12/06/2021)

12/07/2021            15   ELECTRONIC ORDER granting 13 (p.11556) Application for Admission Pro Hac
                           Vice of Erik S. Jaffe. Important Reminder: Unless excused for cause, an attorney
                           who is not an ECF user must register within 14 days of the date the attorney
                           appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                           Brantley Starr on 12/7/2021) (chmb) (Entered: 12/07/2021)

12/07/2021            16   ELECTRONIC ORDER granting 14 (p.11561) Application for Admission Pro Hac
                           Vice of Brian J. Field. Important Reminder: Unless excused for cause, an attorney
                           who is not an ECF user must register within 14 days of the date the attorney
                           appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                           Brantley Starr on 12/7/2021) (chmb) (Entered: 12/07/2021)

12/13/2021            17 Appellant's BRIEF by James Dondero. (Assink, Bryan) (Entered: 12/13/2021)
               (p.11566)

12/13/2021            18 Appendix in Support filed by James Dondero re 17 (p.11566) Appellant's Brief
               (p.11622) (Assink, Bryan) (Entered: 12/13/2021)

12/13/2021

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                      19 Appellant's BRIEF by Jonathan Bridges, CLO Holdco Ltd, Mark Patrick, Mazin A
               (p.11960) Sbaiti, Sbaiti & Company PLLC, The Charitable DAF Fund LP. (Jaffe, Erik)
                         (Entered: 12/13/2021)

12/17/2021            20 MOTION for Extension of Time to File Response/Reply to 17 (p.11566)
               (p.12027) Appellant's Brief filed by Highland Capital Management LP (Attachments: # 1
                         (p.15) Proposed Order) (Annable, Zachery) (Entered: 12/17/2021)

12/20/2021           21   ELECTRONIC ORDER granting 20 (p.12027) Motion to Extend Time to File
                          Response. Highland Capital Management, L.P.'s response is due February 14,
                          2022. (Ordered by Judge Brantley Starr on 12/20/2021) (chmb) (Entered:
                          12/20/2021)

12/23/2021            22 CERTIFICATE OF SERVICE by Highland Capital Management LP re 20
               (p.12035) (p.12027) MOTION for Extension of Time to File Response/Reply to 17 (p.11566)
                         Appellant's Brief (Annable, Zachery) (Entered: 12/23/2021)

12/24/2021            23 Application for Admission Pro Hac Vice with Certificate of Good Standing for
               (p.12040) Attorney John B. Goerlich (Filing fee $100; Receipt number 0539-12480158) filed
                         by Highland Capital Management LP (Attachments: # 1 (p.15) Certificate of Good
                         Standing, # 2 (p.528) Proposed Order) (Hayward, Melissa) (Main Document 23
                         replaced/flattened PDF on 12/27/2021) (ygl). (Entered: 12/24/2021)

12/24/2021            24 Application for Admission Pro Hac Vice with Certificate of Good Standing for
               (p.12046) Attorney Matthew M. Madden (Filing fee $100; Receipt number 0539-12480159)
                         filed by Highland Capital Management LP (Attachments: # 1 (p.15) Certificate of
                         Good Standing, # 2 (p.528) Proposed Order) (Hayward, Melissa) (Entered:
                         12/24/2021)

12/24/2021            25 Application for Admission Pro Hac Vice with Certificate of Good Standing for
               (p.12052) Attorney Roy T. Englert, Jr. (Filing fee $100; Receipt number 0539-12480160)
                         filed by Highland Capital Management LP (Attachments: # 1 (p.15) Certificate of
                         Good Standing, # 2 (p.528) Proposed Order) (Hayward, Melissa) (Entered:
                         12/24/2021)

12/24/2021            26 Application for Admission Pro Hac Vice with Certificate of Good Standing for
               (p.12058) Attorney Shikha Garg (Filing fee $100; Receipt number 0539-12480161) filed by
                         Highland Capital Management LP (Attachments: # 1 (p.15) Certificate of Good
                         Standing, # 2 (p.528) Proposed Order) (Hayward, Melissa) (Entered: 12/24/2021)

12/28/2021           27   ELECTRONIC ORDER granting 23 (p.12040) Application for Admission Pro Hac
                          Vice of John B. Goerlich. Important Reminder: Unless excused for cause, an
                          attorney who is not an ECF user must register within 14 days of the date the
                          attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                          Judge Brantley Starr on 12/28/2021) (chmb) (Entered: 12/28/2021)

12/28/2021           28   ELECTRONIC ORDER granting 24 (p.12046) Application for Admission Pro Hac
                          Vice of Matthew M. Madden. Important Reminder: Unless excused for cause, an
                          attorney who is not an ECF user must register within 14 days of the date the
                          attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                          Judge Brantley Starr on 12/28/2021) (chmb) (Entered: 12/28/2021)

12/28/2021           29   ELECTRONIC ORDER granting 25 (p.12052) Application for Admission Pro Hac
                          Vice of Roy T. Englert, Jr.. Important Reminder: Unless excused for cause, an
                          attorney who is not an ECF user must register within 14 days of the date the
                          attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by


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             Case: 22-11036      Document: 67        Page: 17      Date Filed: 02/06/2023

                          Judge Brantley Starr on 12/28/2021) (chmb) (Entered: 12/28/2021)

12/28/2021           30   ELECTRONIC ORDER granting 26 (p.12058) Application for Admission Pro Hac
                          Vice of Shikha Grag. Important Reminder: Unless excused for cause, an attorney
                          who is not an ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                          Brantley Starr on 12/28/2021) (chmb) (Entered: 12/28/2021)

01/13/2022            31 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
               (p.12064) Highland Capital Management LP. (Annable, Zachery) (Entered: 01/13/2022)

01/19/2022            32 CERTIFICATE OF SERVICE by Highland Capital Management LP re 31
               (p.12067) (p.12064) Cert. Of Interested Persons/Disclosure Statement (Annable, Zachery)
                         (Entered: 01/19/2022)

02/14/2022            33 Appellee's BRIEF by Highland Capital Management LP. (Annable, Zachery)
               (p.12072) (Entered: 02/14/2022)

02/17/2022            34 CERTIFICATE OF SERVICE by Highland Capital Management LP re 33
               (p.12125) (p.12072) Appellee's Brief (Annable, Zachery) (Entered: 02/17/2022)

02/22/2022            35 MOTION for Extension of Time to File Response/Reply to 19 (p.11960)
               (p.12131) Appellant's Brief, 33 (p.12072) Appellee's Brief filed by Jonathan Bridges, CLO
                         Holdco Ltd, Mark Patrick, Mazin A Sbaiti, Sbaiti & Company PLLC, The
                         Charitable DAF Fund LP with Brief/Memorandum in Support. (Attachments: # 1
                         (p.15) Proposed Order) (Jaffe, Erik) (Entered: 02/22/2022)

02/23/2022           36   ELECTRONIC ORDER granting 35 (p.12131) Motion to Extend Time to File
                          Response/Reply. Appellants shall file their reply briefs by March 21, 2022.
                          (Ordered by Judge Brantley Starr on 2/23/2022) (chmb) (Entered: 02/23/2022)

03/21/2022            37 Appellant's REPLY BRIEF by James Dondero. (Assink, Bryan) (Entered:
               (p.12136) 03/21/2022)

03/21/2022            38 Appellant's REPLY BRIEF by Jonathan Bridges, CLO Holdco Ltd, Mark Patrick,
               (p.12159) Mazin A Sbaiti, Sbaiti & Company PLLC, The Charitable DAF Fund LP. (Jaffe,
                         Erik) (Entered: 03/21/2022)

05/26/2022            39 MOTION to Withdraw as Attorney filed by Highland Capital Management LP
               (p.12192) (Attachments: # 1 (p.15) Proposed Order) (Goerlich, John) (Entered: 05/26/2022)

05/31/2022           40   ELECTRONIC ORDER granting 39 (p.12192) Motion to Withdraw as Attorney.
                          Attorney John B Goerlich terminated. (Ordered by Judge Brantley Starr on
                          5/31/2022) (chmb) (Entered: 05/31/2022)

08/16/2022            41 Unopposed MOTION to Withdraw as Attorney filed by James Dondero with
               (p.12195) Brief/Memorandum in Support. (Attachments: # 1 (p.15) Proposed Order) (Taylor,
                         Clay) (Entered: 08/16/2022)

08/17/2022           42   ELECTRONIC ORDER granting 41 (p.12195) Motion to Withdraw as Attorney.
                          Attorneys Bryan Christopher Assink and Clay M Taylor are withdrawn as counsel
                          for James Dondero. (Ordered by Judge Brantley Starr on 8/17/2022) (chmb)
                          (Entered: 08/17/2022)

08/23/2022            43 NOTICE of Supplemental Authority filed by Jonathan Bridges, CLO Holdco Ltd,
               (p.12202) Mark Patrick, Mazin A Sbaiti, Sbaiti & Company PLLC, The Charitable DAF Fund
                         LP (Attachments: # 1 (p.15) Exhibit(s) A: CA5-Nexpoint Advisors v. Highland


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                           Cap Mgmt) (Jaffe, Erik) (Entered: 08/23/2022)

08/26/2022            44 MOTION to Strike 43 (p.12202) Notice (Other), (), MOTION for Leave to File
               (p.12227) Response to Appellants' Notice of Supplemental Authority(Motion to Strike DAF
                         Appellants' Notice of Supplemental Authority or, in the Alternative, for Leave to
                         Respond) filed by Highland Capital Management LP (Attachments: # 1 (p.15)
                         Exhibit(s) A) (Annable, Zachery) (Entered: 08/26/2022)

08/29/2022            45   ELECTRONIC ORDER denying 44 (p.12227) Motion to Strike ; granting 44
                           (p.12227) Motion for Leave to File. (Unless the document has already been filed,
                           clerk to enter the document as of the date of this order.) The Court DENIES the
                           motion to strike the notice of supplemental authority filed by the DAF Appellants.
                           The Court GRANTS the motion for leave to file a response. (Ordered by Judge
                           Brantley Starr on 8/29/2022) (chmb) (Entered: 08/29/2022)

08/29/2022            46 RESPONSE filed by Highland Capital Management LP re: 43 (p.12202) Notice
               (p.12241) (Other). (mla) (Entered: 08/30/2022)

08/30/2022            47 CERTIFICATE OF SERVICE by Highland Capital Management LP re 44
               (p.12249) (p.12227) MOTION to Strike 43 (p.12202) Notice (Other), MOTION for Leave to
                         File Response to Appellants' Notice of Supplemental Authority(Motion to Strike
                         DAF Appellants' Notice of Supplemental Authority or, in the Alternative, for Leave
                         to Respond) (Annable, Zachery) (Entered: 08/30/2022)

09/07/2022            48 CERTIFICATE OF SERVICE by Highland Capital Management LP re 46
               (p.12252) (p.12241) Response/Objection (Annable, Zachery) (Entered: 09/07/2022)

09/28/2022            49 Memorandum Opinion and Order: For the foregoing reasons, the order of the
               (p.12255) bankruptcy court is AFFIRMED in part and VACATED in part. (Ordered by Judge
                         Brantley Starr on 9/28/2022) (chmb) (Entered: 09/28/2022)

09/28/2022                 Civil Case Terminated per 49 (p.12255) Memorandum Opinion and Order. (axm)
                           (Entered: 09/28/2022)

10/20/2022            50 NOTICE OF APPEAL as to 49 (p.12255) Memorandum Opinion and Order to the
               (p.12287) Fifth Circuit by Jonathan Bridges, CLO Holdco Ltd, Mark Patrick, Mazin A Sbaiti,
                         Sbaiti & Company PLLC, The Charitable DAF Fund LP. Filing fee $505, receipt
                         number ATXNDC-13241029. T.O. form to appellant electronically at Transcript
                         Order Form or US Mail as appropriate. Copy of NOA to be sent US Mail to parties
                         not electronically noticed. IMPORTANT ACTION REQUIRED: Provide an
                         electronic copy of any exhibit you offered during a hearing or trial that was
                         admitted into evidence to the clerk of the district court within 14 days of the date of
                         this notice. Copies must be transmitted as PDF attachments through ECF by all
                         ECF Users or delivered to the clerk on a CD by all non-ECF Users. See detailed
                         instructions here. (Exception: This requirement does not apply to a pro se prisoner
                         litigant.) Please note that if original exhibits are in your possession, you must
                         maintain them through final disposition of the case. (Field, Brian) (Entered:
                         10/20/2022)

10/27/2022                 USCA Case Number 22-11036 in USCA5 for 50 (p.12287) Notice of Appeal filed
                           by Mark Patrick, The Charitable DAF Fund LP, CLO Holdco Ltd, Jonathan
                           Bridges, Mazin A Sbaiti, Sbaiti & Company PLLC. (svc) (Entered: 10/27/2022)

10/27/2022            51 NOTICE OF APPEAL as to 49 (p.12255) Memorandum Opinion and Order to the
               (p.12290) Fifth Circuit by James Dondero. Filing fee $505, receipt number
                         ATXNDC-13260117. T.O. form to appellant electronically at Transcript Order


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           Form or US Mail as appropriate. Copy of NOA to be sent US Mail to parties not
           electronically noticed. IMPORTANT ACTION REQUIRED: Provide an electronic
           copy of any exhibit you offered during a hearing or trial that was admitted into
           evidence to the clerk of the district court within 14 days of the date of this notice.
           Copies must be transmitted as PDF attachments through ECF by all ECF Users or
           delivered to the clerk on a CD by all non-ECF Users. See detailed instructions here.
           (Exception: This requirement does not apply to a pro se prisoner litigant.) Please
           note that if original exhibits are in your possession, you must maintain them
           through final disposition of the case. (Levinger, Jeffrey) (Entered: 10/27/2022)




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                     TAB B
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                                                                     BKAPP,CLOSED,MEMBER,TOLIVER
                                  U.S. District Court
                           Northern District of Texas (Dallas)
                      CIVIL DOCKET FOR CASE #: 3:21-cv-01979-S

Dondero et al v. Highland Capital Management LP                  Date Filed: 08/24/2021
Assigned to: Judge Karen Gren Scholer                            Date Terminated: 10/25/2021
Lead case: 3:21-cv-01974-X                                       Jury Demand: None
Member case: (View Member Case)                                  Nature of Suit: 422 Bankruptcy: Appeal 28
Cause: 28:0158 Notice of Appeal re Bankruptcy Matter (BA         USC 158
                                                                 Jurisdiction: Federal Question
Debtor
Highland Capital Management LP                    represented by Melissa S Hayward
                                                                 Hayward PLLC
                                                                 10501 N Central Expressway, Suite 106
                                                                 Dallas, TX 75231
                                                                 972-755-7100
                                                                 Fax: 972-755-7104
                                                                 Email: mhayward@haywardfirm.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing

                                                                 Gregory V Demo
                                                                 Pachulski Stang Ziehl & Jones LLP
                                                                 780 Third Avenue, 34th Floor
                                                                 New York, NY 10017
                                                                 212-561-7700
                                                                 Fax: 212-561-7777
                                                                 Email: gdemo@pszjlaw.com
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Not Admitted

                                                                 Ira D Kharasch
                                                                 Pachulski Stang Ziehl & Jones LLP
                                                                 10100 Santa Monica Boulevard, 13th Floor
                                                                 Los Angeles, CA 90067
                                                                 310-277-6910
                                                                 Bar Status: Not Admitted

                                                                 Jeffrey N Pomerantz
                                                                 Pachulski Stang Ziehl & Jones LLP
                                                                 10100 Santa Monica Blvd
                                                                 13th Floor
                                                                 Los Angeles, CA 90067
                                                                 310-227-6910
                                                                 Fax: 310-201-0760
                                                                 Email: jpomerantz@pszjlaw.com
                                                                 PRO HAC VICE


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                                                       ATTORNEY TO BE NOTICED
                                                       Bar Status: Not Admitted

                                                       John A Morris
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       780 Third Avenue
                                                       Suite 34th Floor
                                                       New York, NY 10017
                                                       212-561-7760
                                                       Fax: 212-561-7777
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                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED
                                                       Bar Status: Not Admitted

                                                       Zachery Z Annable
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                                                       Dallas, TX 75231
                                                       972-755-7108
                                                       Fax: 972-755-7110
                                                       Email: zannable@haywardfirm.com
                                                       ATTORNEY TO BE NOTICED
                                                       Bar Status: Admitted/In Good Standing

Appellant
James Dondero                           represented by Clay M Taylor
                                                       Bonds Ellis Eppich Schafer Jones LLP
                                                       420 Throckmorton Street, Suite 1000
                                                       Fort Worth, TX 76102
                                                       817-405-6900
                                                       Fax: 817-405-6902
                                                       Email: clay.taylor@bondsellis.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Bar Status: Admitted/In Good Standing

                                                       Bryan Christopher Assink
                                                       Bonds Ellis Eppich Schafer Jones LLP
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                                                       Suite 1000
                                                       Fort Worth, TX 76102
                                                       817-405-6900
                                                       Fax: 817-405-6902
                                                       Email: bryan.assink@bondsellis.com
                                                       ATTORNEY TO BE NOTICED
                                                       Bar Status: Admitted/In Good Standing

                                                       David L Kane
                                                       David Kane PC
                                                       5301 Village Creek Drive
                                                       Suite D
                                                       Plano, TX 75093

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                                                           972/665-0055
                                                           Fax: 972/665-0100
                                                           Email: david@davidkanepc.com
                                                           ATTORNEY TO BE NOTICED
                                                           Bar Status: Admitted/In Good Standing

                                                           Douglas Joseph Lipke
                                                           Vedder Price Kaufman & Kammholz
                                                           222 North LaSalle St
                                                           Suite 2600
                                                           Chicago, IL 60601
                                                           312/609-7500
                                                           Bar Status: Not Admitted

                                                           Michael Eidelman
                                                           Law Office of Michael Eidelman
                                                           10 South Wacker Dr
                                                           Chicago, IL 60606
                                                           312/715-4000

                                                           Thomas P Cimino , Jr
                                                           Vedder Price PC
                                                           222 NOrth LaDalle Street, Suite 2600
                                                           Chicago, IL 60601
                                                           312-609-7500
                                                           Bar Status: Not Admitted

                                                           William W Thorsness
                                                           Vedder Price PC
                                                           222 North LaSalle Street, Suite 2600
                                                           Chicago, IL 60601
                                                           312-609-7500
                                                           Bar Status: Not Admitted


V.
Appellee
Highland Capital Management LP              represented by Melissa S Hayward
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Bar Status: Admitted/In Good Standing

                                                           Gregory V Demo
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
                                                           Bar Status: Not Admitted

                                                           Ira D Kharasch
                                                           (See above for address)
                                                           Bar Status: Not Admitted



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                                                                    Jeffrey N Pomerantz
                                                                    (See above for address)
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Not Admitted

                                                                    John A Morris
                                                                    (See above for address)
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Not Admitted

                                                                    Zachery Z Annable
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Admitted/In Good Standing

Bankruptcy Judge
Stacey G Jernigan                                   represented by Stacey G Jernigan
                                                                   US Bankruptcy Court
                                                                   Chambers of Judge Stacey G C Jernigan
                                                                   1100 Commerce St
                                                                   Room 1254
                                                                   Dallas, TX 75242-1496
                                                                   214-753-2040
                                                                   Email: sgj_settings@txnb.uscourts.gov
                                                                   PRO SE


V.
Notice Only
Case Admin Sup                                      represented by Case Admin Sup
                                                                   Email: txnb_appeals@txnb.uscourts.gov
                                                                   PRO SE


 Date Filed         #        Docket Text

 08/24/2021              1 Pursuant to Fed. R. Bankr. P. 8003(d), the bankruptcy clerk has transmitted the
                 (p.12724) notice of appeal filed in bankruptcy case number 19-34054 and the notice of appeal
                           has now been docketed in the district court in case 3:21-cv-1979. (The filing fee
                           has been paid in the Bankruptcy Court.) Pursuant to Fed. R. Bankr. P. 8009, before
                           the record on appeal can be assembled and filed in the district court, designations of
                           items to be included in the record on appeal and statements of issues must be filed
                           in the bankruptcy case. If a sealed document is designated, the designating party
                           must file a motion in the district court case for the document to be accepted under
                           seal. See also District Court Local Bankruptcy Rule 8012.1. Unless exempted,
                           attorneys who are not admitted to practice in the Northern District of Texas must
                           seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov,
                           or by clicking here: Attorney Information - Bar Membership. If admission
                           requirements are not satisfied within 21 days, the clerk will notify the presiding
                           judge. (Attachments: # 1 (p.12724) Notice of appeal and supporting documents)


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                           (Whitaker - TXNB, Sheniqua) (Entered: 08/24/2021)

08/24/2021                 New Case Notes: A filing fee has been paid. (jmg) (Entered: 08/24/2021)

09/23/2021             2 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
               (p.12823) James Dondero. (Assink, Bryan) (Entered: 09/23/2021)

09/24/2021             3 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.12826) fee $100; Receipt number 0539-12250369) filed by Highland Capital Management
                         LP (Attachments: # 1 (p.12724) Certificate of Good Standing)Attorney Jeffrey N
                         Pomerantz added to party Highland Capital Management LP(pty:dbpos)
                         (Pomerantz, Jeffrey) (Entered: 09/24/2021)

09/24/2021             4 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.12832) fee $100; Receipt number 0539-12250396) filed by Highland Capital Management
                         LP (Attachments: # 1 (p.12724) Certificate of Good Standing)Attorney Gregory V
                         Demo added to party Highland Capital Management LP(pty:dbpos) (Demo,
                         Gregory) (Entered: 09/24/2021)

09/27/2021             5   ELECTRONIC ORDER granting 3 (p.12826) Application for Admission Pro Hac
                           Vice of Jeffrey N. Pomerantz. Important Reminder: Unless excused for cause, an
                           attorney who is not an ECF user must register within 14 days of the date the
                           attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                           Judge Karen Gren Scholer on 9/27/2021) (chmb) (Entered: 09/27/2021)

09/27/2021             6   ELECTRONIC ORDER granting 4 (p.12832) Application for Admission Pro Hac
                           Vice of Gregory V. Demo. Important Reminder: Unless excused for cause, an
                           attorney who is not an ECF user must register within 14 days of the date the
                           attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                           Judge Karen Gren Scholer on 9/27/2021) (chmb) (Entered: 09/27/2021)

09/29/2021             7 Notice Transmitting COMPLETE BK Record on Appeal re 1 (p.12724) Notice
               (p.12838) Transmitting BK Appeal or Withdrawal of Reference (Attachments: # 1 (p.12724)
                         Mini Record Vol. 1, # 2 (p.12823) Appellant Record Vol. 2, # 3 (p.12826)
                         Appellant Record Vol. 3, # 4 (p.12832) Appellant Record Vol. 4, # 5 Appellant
                         Record Vol. 5, # 6 Appellant Record Vol. 6, # 7 (p.12838) Appellant Record Vol.
                         7, # 8 (p.27197) Appellant Record Vol. 8, # 9 Appellant Record Vol. 9, # 10
                         (p.27203) Appellant Record Vol. 10, # 11 (p.27217) Appellant Record Vol. 11, #
                         12 Appellant Record Vol. 12, # 13 Appellant Record Vol. 13, # 14 Appellant
                         Record Vol. 14, # 15 Appellant Record Vol. 15, # 16 Appellant Record Vol. 16, #
                         17 Appellant Record Vol. 17, # 18 Appellant Record Vol. 18, # 19 Appellant
                         Record Vol. 19, # 20 Appellant Record Vol. 20, # 21 Appellant Record Vol. 21, #
                         22 Appellant Record Vol. 22, # 23 Appellant Record Vol. 23, # 24 Appellant
                         Record Vol. 24, # 25 Appellant Record Vol. 25, # 26 Appellant Record Vol. 26, #
                         27 Appellant Record Vol. 27, # 28 Appellant Record Vol. 28, # 29 Appellant
                         Record Vol. 29, # 30 Appellant Record Vol. 30, # 31 Appellant Record Vol. 31, #
                         32 Appellant Record Vol. 32, # 33 Appellant Record Vol. 33, # 34 Appellant
                         Record Vol. 34, # 35 Appellant Record Vol. 35, # 36 Appellant Record Vol. 36, #
                         37 Appellant Record Vol. 37, # 38 Appellant Record Vol. 38, # 39 Appellant
                         Record Vol. 39, # 40 Appellant Record Vol. 40, # 41 Appellant Record Vol. 41, #
                         42 Appellant Record Vol. 42, # 43 Appellant Record Vol. 43, # 44 Appellant
                         Record Vol. 44, # 45 Appellant Record Vol. 45, # 46 Appellant Record Vol. 46, #
                         47 Appellant Record Vol. 47, # 48 Appellant Record Vol. 48, # 49 Appellant
                         Record Vol. 49, # 50 Appellant Record Vol. 50, # 51 Appellant Record Vol. 51, #
                         52 Appellant Record Vol. 52, # 53 Appellant Record Vol. 53, # 54 Appellant


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                           Record Vol. 54, # 55 Appellant Record Vol. 55, # 56 Appellant Record Vol. 56, #
                           57 Appellant Record Vol. 57, # 58 Appellant Record Vol. 58, # 59 Appellant
                           Record Vol. 59, # 60 Appellant Record Vol. 60, # 61 Appellant Record Vol. 61, #
                           62 Appellant Record Vol. 62, # 63 Appellee Record Vol. 63) (Blanco - TXNB,
                           Juan) (Entered: 09/29/2021)

10/14/2021             8 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
               (p.27197) fee $100; Receipt number 0539-12301417) filed by Highland Capital Management
                         LP (Attachments: # 1 (p.12724) Certificate of Good Standing)Attorney John A
                         Morris added to party Highland Capital Management LP(pty:dbpos) (Morris, John)
                         (Entered: 10/14/2021)

10/15/2021             9   ELECTRONIC ORDER granting 8 (p.27197) Application for Admission Pro Hac
                           Vice of John A. Morris. Important Reminder: Unless excused for cause, an attorney
                           who is not an ECF user must register within 14 days of the date the attorney
                           appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Karen
                           Gren Scholer on 10/15/2021) (chmb) (Entered: 10/15/2021)

10/18/2021            10 NOTICE of filing of Unopposed Joint Motion to Consolidate Related Bankruptcy
               (p.27203) Appeals filed by James Dondero (Attachments: # 1 (p.12724) Ex. A - Motion to
                         Consolidate) (Assink, Bryan) (Entered: 10/18/2021)

10/25/2021            11 ORDER CONSOLIDATING CASES: Member case(s) 3:21-CV-01979-S
               (p.27217) consolidated with lead case 3:21-CV-01974-X. Member case administratively
                         closed following consolidation. Further docketing should be in lead case
                         3:21-CV-01974-X. (Ordered by Judge Brantley Starr on 10/25/2021) (ygl)
                         (Entered: 10/25/2021)




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                     TAB C
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

              SEALEDEXH, APPEAL, DirectAppeal, 5thCircuitAppeal, SealedDocument, FUNDS, TRANSIN,
                                                     REFORM, ClaimsAgent, EXHIBITS, COMPLEX

                                                    U.S. Bankruptcy Court
                                               Northern District of Texas (Dallas)
                                              Bankruptcy Petition #: 19-34054-sgj11
                                                                                                           Date filed: 10/16/2019
 Assigned to: Stacey G. Jernigan                                                              Date Plan Confirmed: 02/22/2021
 Chapter 11                                                                                         Date transferred: 12/04/2019
 Voluntary                                                                                           Plan confirmed: 02/22/2021
 Asset                                                                                                  341 meeting: 01/09/2020
                                                                                         Deadline for filing claims: 04/08/2020
                                                                                   Deadline for filing claims (govt.): 04/13/2020

 Debtor                                                                        represented by Zachery Z. Annable
 Highland Capital Management, L.P.                                                            Hayward PLLC
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

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                                                                                              Email: lisa.l.lambert@usdoj.gov

 Creditor Committee                                                            represented by Sean M. Beach
 Official Committee of Unsecured Creditors                                                    YOUNG CONAWAY STARGATT &
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

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    Filing Date                                                                Docket Text

                            1 (2 pgs) Order transferring case number 19-12239 from U.S. Bankruptcy Court for the
   12/04/2019             District of Delaware Filed by Highland Capital Management, L.P. (Okafor, M.)

                            2 (15 pgs) DOCKET SHEET filed in 19-12239 in the U.S. Bankruptcy Court for
   12/04/2019             Delaware . (Okafor, M.)

                            3 (106 pgs; 2 docs) Chapter 11 Voluntary Petition . Fee Amount $1717. Filed by Highland
                          Capital Management, L.P.. (Attachments: # 1 Creditor Matrix) [ORIGINALLY FILED AS
                          DOCUMENT #1 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            4 (31 pgs; 2 docs) Motion to Pay Employee Wages /Motion of the Debtors for Entry of
                          Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                          Reimbursable Business Expenses, and Employee Benefit Obligations, and (B) Maintain and
                          Continue Certain Compensation and Benefit Programs Postpetition; and (II) Granting
                          Related Relief Filed Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A - Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #2
                          ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                             5 (23 pgs; 2 docs) Motion to Pay Critical Trade Vendor Claims /Motion of the Debtor for
                          Entry of Interim and Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of
                          Critical Vendors and (B) Granting Related Relief Filed By Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A - Proposed Order)(O'Neill, James) [ORIGINALLY FILED
                          AS DOCUMENT #3 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE]

                             6 (9 pgs; 2 docs) Motion to Extend Deadline to File Schedules or Provide Required
                          Information Filed by Highland Capital Management, L.P.(Attachments: # 1 Exhibit A -
                          Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #4 ON
                          10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

   12/04/2019               7 (24 pgs; 2 docs) Motion to Maintain Bank Accounts /Motion of the Debtor for Interim
                          and Final Orders Authorizing (A) Continuance of Existing Cash Management System and
                          Brokerage Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of
                          Section 345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed
                          By Highland Capital Management, L.P. (Attachments: # 1 Exhibit A - Interim Order)
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #5 ON 10/16/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             8 (32 pgs; 2 docs) **WITHDRAWN** - 10/29/2019. SEE DOCKET # 72. Motion to
                          Approve Use of Cash Collateral /Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Authorizing
                          the Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a Final
                          Hearing Filed By Highland Capital Management, L.P. (Attachments: # 1 Exhibit A - Order)
                          (O'Neill, James) Modified on 10/30/2019 (DMC)[ORIGINALLY FILED AS DOCUMENT
                          #6 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE]

                             9 (36 pgs; 4 docs) Application to Appoint Claims/Noticing Agent KURTZMAN
                          CARSON CONSULTANTS, LLC Filed By Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A - Engagement Agreement # 2 Exhibit B - Gershbein Declaration
                          # 3 Exhibit C - Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT
                          #7 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                            10 (10 pgs; 2 docs) Motion to File Under Seal/Motion of the Debtor for Entry of Interim
                          and Final Orders Authorizing the Debtor to File Under Seal Portions of Its Creditor Matrix
                          Containing Employee Address Information Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A - Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #8 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            11 (44 pgs) Affidavit/Declaration in Support of First Day Motion /Declaration of Frank
                          Waterhouse in Support of First Day Motions Filed By Highland Capital Management, L.P.
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #9 ON 10/16/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                             12 (3 pgs) Notice of Hearing on First Day Motions (related document(s)2, 3, 5, 6, 7, 8, 9
                          [ON DELAWARE DOCKET]) Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 10/18/2019 at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #11 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                             13 (15 pgs; 2 docs) Notice of Hearing // Notice of Interim Hearing on Motion of Debtor
                          for Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B)
                          Providing Adequate Protection, (C) Authorizing the Liquidation of Securities, (D) Modifying
                          the Automatic Stay, and (E) Scheduling a Final Hearing (related document(s)6) Filed by
                          Highland Capital Management, L.P.. Hearing scheduled for 10/18/2019 at 10:00 AM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          (Attachments: # 1 Exhibit A) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #12
                          ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

   12/04/2019               14 (3 pgs) Notice of Agenda of Matters Scheduled for Hearing Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 10/18/2019 at 10:00 AM at US Bankruptcy Court,
                          824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. (O'Neill, James)


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                          [ORIGINALLY FILED AS DOCUMENT #13 ON 10/16/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             15 (3 pgs) Notice of appearance Filed by Alvarez & Marsal CRF Management, LLC, as
                          Investment Manager of the Highland Crusader Funds (Beach, Sean) [ORIGINALLY FILED
                          AS DOCUMENT #14 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)

                            16 (1 pg) Motion to Appear pro hac vice of Marshall R. King of Gibson, Dunn &
                          Crutcher LLP. Receipt Number 2757354, Filed by Alvarez & Marsal CRF Management,
                          LLC, as Investment Manager of the Highland Crusader Funds. (Beach, Sean)
                          [ORIGINALLY FILED AS DOCUMENT #15 ON 10/1/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            17 (1 pg) Motion to Appear pro hac vice of Michael A. Rosenthal of Gibson, Dunn &
                          Crutcher LLP. Receipt Number 2624495, Filed by Alvarez & Marsal CRF Management,
                          LLC, as Investment Manager of the Highland Crusader Funds. (Beach, Sean)
                          [ORIGINALLY FILED AS DOCUMENT #16 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             18 (1 pg) Motion to Appear pro hac vice of Alan Moskowitz of Gibson, Dunn & Crutcher
                          LLP. Receipt Number 2624495, Filed by Alvarez & Marsal CRF Management, LLC, as
                          Investment Manager of the Highland Crusader Funds. (Beach, Sean) ) [ORIGINALLY
                          FILED AS DOCUMENT #17 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)

                            19 (1 pg) Motion to Appear pro hac vice of Matthew G. Bouslog of Gibson, Dunn &
                          Crutcher LLP. Receipt Number 2581894, Filed by Alvarez & Marsal CRF Management,
                          LLC, as Investment Manager of the Highland Crusader Funds. (Beach, Sean))
                          [ORIGINALLY FILED AS DOCUMENT #18 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             20 (3 pgs) Notice of Appearance and Request for Notice by Louis J. Cisz filed by
                          Interested Party California Public Employees Retirement System (CalPERS) . (Okafor, M.)
                          [ORIGINALLY FILED AS DOCUMENT #19 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE]

                            21 (1 pg) Motion to Appear pro hac vice (Jeffrey N. Pomerantz). Receipt Number
                          2564620, Filed by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #20 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)

                             22 (1 pg) Motion to Appear pro hac vice (Maxim B. Litvak). Receipt Number 2564620,
                          Filed by Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #21 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            23 (1 pg) Motion to Appear pro hac vice (Ira D. Kharasch). Receipt Number
                          DEX032537, Filed by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #22 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)

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   12/04/2019               24 (1 pg) Motion to Appear pro hac vice (Gregory V. Demo). Receipt Number
                          DEX032536, Filed by Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #23 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.)

                             25 (1 pg) Motion to Appear pro hac vice of Marc B. Hankin. Receipt Number 2757358,
                          Filed by Redeemer Committee of the Highland Crusader Fund. (Miller, Curtis)
                          [ORIGINALLY FILED AS DOCUMENT #24 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                            26 (1 pg) Order Approving Motion for Admission pro hac vice Marshall R. King of
                          Gibson(Related Doc # 15) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #25 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            27 (1 pg) Order Approving Motion for Admission pro hac vice Michael A. Rosenthal
                          (Related Doc # 16) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #26 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            28 (1 pg) Order Approving Motion for Admission pro hac vice Alan Moskowitz (Related
                          Doc # 17) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #27 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                            29 (1 pg) Order Approving Motion for Admission pro hac vice Matthew G.
                          Bouslog(Related Doc # 18) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #28 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            30 (1 pg) Order Approving Motion for Admission pro hac vice Jeffrey N. Pomerantz
                          (Related Doc # 20) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #29 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            31 (1 pg) Order Approving Motion for Admission pro hac vice Maxim B. Litvak (Related
                          Doc # 21) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #30 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                            32 (1 pg) Order Approving Motion for Admission pro hac vice Ira D. Kharasch (Related
                          Doc # 22) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #31 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                            33 (1 pg) Order Approving Motion for Admission pro hac vice Gregory V. Demo(Related
                          Doc # 23) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #32 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

   12/04/2019               34 (1 pg) Order Approving Motion for Admission pro hac vice Marc B. Hankin(Related
                          Doc # 24) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
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                          #33 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)

                             35 (7 pgs) Certificate of Service of: 1) Notice of Hearing on First Day Motions; 2) Notice
                          of Interim Hearing on Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Authorizing
                          the Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a Final
                          Hearing; and 3) Notice of Agenda for Hearing of First Day Motions Scheduled for October
                          18, 2019 at 10:00 a.m. (related document(s)11, 12, 13) Filed by Highland Capital
                          Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #34 ON
                          10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                             36 (1 pg) Motion to Appear pro hac vice (John A. Morris). Receipt Number 2635868,
                          Filed by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #35 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE](Okafor, M.)

                             37 (3 pgs) Notice of Appearance and Request for Notice by Richard B. Levin , Marc B.
                          Hankin , Kevin M. Coen , Curtis S. Miller filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund . (Miller, Curtis) [ORIGINALLY FILED AS DOCUMENT #36
                          ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                            38 (1 pg) Order Approving Motion for Admission pro hac vice John A. Morris(Related
                          Doc # 35) Order Signed on 10/18/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #38 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                             39 (5 pgs) Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition
                          Compensation, Reimbursable Business Expenses, and Employee Benefit Obligations, and
                          (B) Maintain and Continue Certain Compensation and Benefit Programs Postpetition; and
                          (II) Granting Related Relief. (related document(s)2) Order Signed on 10/18/2019. (NAB)
                          [ORIGINALLY FILED AS DOCUMENT #39 ON 10/18/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            40 (9 pgs; 2 docs) Interim Order (A) Authorizing the Debtor to Pay Certain Prepetition
                          Claims of Critical Vendors and (B) Granting Related Relief (Related Doc 3) Order Signed on
                          10/18/2019 (Attachments: # 1 Agreement)) (NAB) Modified Text on 10/21/2019 (LB)
                          [ORIGINALLY FILED AS DOCUMENT #40 ON 10/18/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            41 (3 pgs) Notice of Appearance and Request for Notice by Eric Thomas Haitz filed by
   12/04/2019             Debtor Highland Capital Management, L.P.. (Haitz, Eric)

                            42 (7 pgs) Interim Order Authorizing (A) Continuance of Existing Cash Management
                          System, (B) Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b)
                          Deposit and Investment Requirements, and (D) Granting Related Relief. (Related Doc 5)
                          Order Signed on 10/18/2019. (JS) Modified Text on 10/21/2019 (LB). [ORIGINALLY
                          FILED AS DOCUMENT #42 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)


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   12/04/2019               43 (6 pgs) Order Appointing Kurtzman Carson Consultants, LLC as Claims and Noticing
                          Agent for the Debtors Pursuant to 28 U.S.C. §156(C), 11 U.S.C. §105(A), and Local Rule
                          2002-1(F) (Related Doc # 7) Order Signed on 10/18/2019. (JS) [ORIGINALLY FILED AS
                          DOCUMENT #43 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.)

                             44 (3 pgs) Interim Order Authorizing the Debtor to File Under Seal Portions of Its
                          Creditor Matrix Containing Employee Address Information. (Related Doc # 8) Order Signed
                          on 10/18/2019. (JS) [ORIGINALLY FILED AS DOCUMENT #44 ON 10/18/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             45 (1 pg) Notice of Appearance and Request for Notice by Elizabeth Weller filed by
                          Irving ISD , Grayson County , Upshur County , Dallas County , Tarrant County , Kaufman
   12/04/2019             County , Rockwall CAD , Allen ISD , Fannin CAD , Coleman County TAD . (Okafor, M.)

                             46 (4 pgs) Notice of hearing/scheduling conference filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1 Order transferring case number 19-12239 from
                          U.S. Bankruptcy Court for the District of Delaware Filed by Highland Capital Management,
                          L.P. (Okafor, M.)). Status Conference to be held on 12/6/2019 at 09:30 AM at Dallas Judge
   12/04/2019             Jernigan Ctrm. (Haitz, Eric)

                            47 (40 pgs; 3 docs) Notice of Service // Notice of Entry of Order on Motion of Debtor for
                          Entry of Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                          Reimbursable Business Expenses, and Employee Benefit Obligations, and (B) Maintain and
                          Continue Certain Compensation and Benefit Programs Postpetition; and (II) Granting
                          Related Relief (related document(s)2, 39) Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #47 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                             48 (83 pgs; 4 docs) Notice of Service // Notice of Entry of Order on Application for an
                          Order Appointing Kurtzman Carson Consultants LLC as Claims and Noticing Agent for the
                          Debtor Pursuant to 28 U.S.C. §156(C), 11 U.S.C. §105(A), and Local Rule 2002-1(F)
                          (related document(s)7, 43) Filed by Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit 1 # 2 Exhibit 2) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #48 ON 10/18/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) Additional attachment(s)
   12/04/2019             added on 12/9/2019 (Okafor, M.).

                              49 (13 pgs; 2 docs) Notice of Hearing // Notice of Motion of Debtor for Entry of an Order
                          (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Executory
                          Contracts and Unexpired Leases, and Statement of Financial Affairs, and (II) Granting
                          Related Relief (related document(s)4) Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019.(Attachments: # 1
                          Exhibit 1) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #49 ON 10/18/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019                50 (37 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final
                          Hearing on Motion of Debtor for Entry of Interim and Final Orders (A) Authorizing Debtor
                          to Pay Prepetition Claims of Critical Vendors and (B) Granting Related Relief (related
                          document(s)3, 40) Filed by Highland Capital Management, L.P.. Hearing scheduled for

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                          11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #50 ON 10/18/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             51 (36 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final
                          Hearing on Motion of Debtor for Entry of Interim and Final Orders Authorizing (A)
                          Continuance of Existing Cash Management System and Brokerage Relationships, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and
                          Investment Requirements, and (D) Granting Related Relief (related document(s)5, 42) Filed
                          by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 11/12/2019 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #51 ON 10/18/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             52 (22 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final
                          Hearing on Motion of Debtor for Entry of Interim and Final Orders Authorizing Debtor to
                          File Under Seal Portions of Its Creditor Matrix Containing Employee Address Information
                          (related document(s)8, 44) Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #52 ON 10/18/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            53 (36 pgs; 2 docs) Notice of Hearing // Notice of Motion of Debtor for Entry of Interim
                          and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate
                          Protection, (C) Authorizing the Liquidation of Securities, (D) Modifying the Automatic Stay,
                          and (E) Scheduling a Final Hearing (related document(s)6) Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 11/7/2019 at 03:00 PM at US Bankruptcy Court,
                          824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          10/31/2019. (Attachments: # 1 Exhibit 1) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #53 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

   12/04/2019                 54 (7 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Order Approving
                          Motion for Admission pro hac vice Jeffrey N. Pomerantz [Docket No. 29]; (2) [Signed]
                          Order Approving Motion for Admission pro hac vice Maxim B. Litvak [Docket No. 30]; (3)
                          [Signed] Order Approving Motion for Admission pro hac vice Ira D. Kharasch [Docket No.
                          31]; (4) [Signed] Order Approving Motion for Admission pro hac vice Gregory V. Demo
                          [Docket No. 32]; (5) [Signed] Order Approving Motion for Admission pro hac vice John A.
                          Morris [Docket No. 38]; (6) Notice of Entry of Order on Motion of Debtor for Entry of Order
                          (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation, Reimbursable
                          Business Expenses, and Employee Benefit Obligations, and (B) Maintain and Continue
                          Certain Compensation and Benefit Programs Postpetition; and (II) Granting Related Relief
                          [Docket No. 47]; (7) Notice of Entry of Order on Application for an Order Appointing
                          Kurtzman Carson Consultants LLC as Claims and Noticing Agent for the Debtor Pursuant to
                          28 U.S.C. §156(C), 11 U.S.C. §105(A), and Local Rule 2002-1(F) [Docket No. 48]; (8)
                          Notice of Motion of Debtor for Entry of an Order (I) Extending Time to File Schedules of
                          Assets and Liabilities, Schedules of Executory Contracts and Unexpired Leases, and
                          Statement of Financial Affairs, and (II) Granting Related Relief [Docket No. 49]; (9) Notice
                          of Entry of Interim Order and Final Hearing on Motion of Debtor for Entry of Interim and
                          Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B)
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                          Granting Related Relief [Docket No. 50]; (10) Notice of Entry of Interim Order and Final
                          Hearing on Motion of Debtor for Entry of Interim and Final Orders Authorizing (A)
                          Continuance of Existing Cash Management System and Brokerage Relationships, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and
                          Investment Requirements, and (D) Granting Related Relief [Docket No. 51]; (11) Notice of
                          Entry of Interim Order and Final Hearing on Motion of Debtor for Entry of Interim and Final
                          Orders Authorizing Debtor to File Under Seal Portions of Its Creditor Matrix Containing
                          Employee Address Information [Docket No. 52]; and (12) Notice of Motion of Debtor for
                          Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing
                          Adequate Protection, (C) Authorizing the Liquidation of Securities, (D) Modifying the
                          Automatic Stay, and (E) Scheduling a Final Hearing [Docket No. 53] (related document(s)29,
                          30, 31, 32, 38, 47, 48, 49, 50, 51, 52, 53) Filed by Highland Capital Management, L.P.
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #55 ON 10/21/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M)

                             55 (4 pgs; 2 docs) Notice of Appearance and Request for Notice by Josef W. Mintz , John
                          E. Lucian , Phillip L. Lamberson , Rakhee V. Patel filed by Acis Capital Management, L.P. ,
                          Acis Capital Management GP, LLC . (Attachments: # 1 Certificate of Service) (Mintz, Josef)
                          [ORIGINALLY FILED AS DOCUMENT #56 ON 10/22/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                            56 (1 pg) Motion to Appear pro hac vice of Rakhee V. Patel of Winstead PC. Receipt
                          Number 3112761165, Filed by Acis Capital Management GP LLC, Acis Capital
                          Management, L.P.. (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #57 ON
                          10/22/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                            57 (1 pg) Motion to Appear pro hac vice of Phillip Lamberson of Winstead PC. Receipt
                          Number 3112761165, Filed by Acis Capital Management GP LLC, Acis Capital
                          Management, L.P.. (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #58 ON
                          10/22/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                            58 (1 pg) Motion to Appear pro hac vice of John E. Lucian of Blank Rome LLP. Receipt
                          Number 3112548736, Filed by Acis Capital Management GP LLC, Acis Capital
                          Management, L.P.. (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #59 ON
                          10/22/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                             59 (4 pgs; 3 docs) Notice of Appearance and Request for Notice by Michael I. Baird filed
                          by Interested Party Pension Benefit Guaranty Corporation . (Attachments: # 1 Certification
                          of United States Government Attorney # 2 Certificate of Service) (Baird, Michael)
                          [ORIGINALLY FILED AS DOCUMENT #60 ON 10/23/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                            60 (1 pg) Order Granting Motion for Admission pro hac vice for Rakhee V. Patel (Related
                          Doc # 57) Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #61 ON 10/24/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

   12/04/2019               61 (1 pg) Order Granting Motion for Admission pro hac vice of John E. Lucian (Related
                          Doc # 59) Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT

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                          #62 ON 10/24/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)

                            62 (1 pg) Order Granting Motion for Admission pro hac vice of Phillip Lamberson
                          (Related Doc # 58) Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS
                          DOCUMENT #63 ON 10/24/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            63 (2 pgs) Notice of Appearance and Request for Notice by Michael L. Vild filed by
                          Creditor Patrick Daugherty . (Vild, Michael) [ORIGINALLY FILED AS DOCUMENT #64
                          ON 10/24/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.)

                             64 (1 pg) Notice of Appointment of Creditors' Committee Filed by U.S. Trustee. (Leamy,
                          Jane) [ORIGINALLY FILED AS DOCUMENT #65 ON 10/29/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             65 (1 pg) Request of US Trustee to Schedule Section 341 Meeting of Creditors November
                          20,2019 at 9:30 a.m. Filed by U.S. Trustee. (Leamy, Jane) [ORIGINALLY FILED AS
                          DOCUMENT #66 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                            66 (2 pgs) Notice of Meeting of Creditors/Commencement of Case Filed by Highland
                          Capital Management, L.P.. 341(a) meeting to be held on 11/20/2019 at 09:30 AM at J. Caleb
                          Boggs Federal Building, 844 King St., Room 3209, Wilmington, Delaware. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #67 ON 10/29/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             67 (27 pgs; 4 docs) Motion to Authorize /Motion of the Debtor for Entry of an Order (I)
                          Authorizing Bradley D. Sharp to Act as Foreign Representative Pursuant to 11 U.S.C.
                          Section 1505 and (II) Granting Related Relief Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Form of Order # 3 Certificate of Service and Service List)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #68 ON 10/29/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             68 (48 pgs; 8 docs) Application/Motion to Employ/Retain Foley Gardere, Foley &
                          Lardner LLP as Special Texas Counsel Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C - Proposed Order # 5 2016 Statement # 6
                          Declaration Frank Waterhouse # 7 Certificate of Service) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019                69 (37 pgs; 7 docs) **WITHDRAWN per #437. Application/Motion to Employ/Retain
                          Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy
                          Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B -
                          Proposed Order # 4 2016 Statement # 5 Declaration Frank Waterhouse # 6 Certificate of
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.102   14/439



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                          Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          Modified on 2/11/2020 (Ecker, C.). (Entered: 12/05/2019)

                             70 (30 pgs; 7 docs) Application/Motion to Employ/Retain Pachulski Stang Ziehl & Jones
                          LLP as Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/12/2019(Attachments: # 1 Notice # 2 Rule 2016 Statement # 3
                          Declaration of Jeffrey N. Pomerantz in Support # 4 Declaration of Frank Waterhouse # 5
                          Proposed Form of Order # 6 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #71 ON 10/29/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             71 (9 pgs; 2 docs) Notice of Withdrawal of Motion of Debtor for Entry of Interim and
                          Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection,
                          (C) Authorizing the Liquidation of Securities, (D) Modifying the Automatic Stay, and (E)
                          Scheduling a Final Hearing (related document(s)6) Filed by Highland Capital Management,
                          L.P. (Attachments: # 1 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #72 ON 10/29/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             72 (28 pgs; 4 docs) Motion for Order Establishing Procedures for Interim Compensation
                          and Reimbursement of Expenses of Professionals Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019.
                          (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Certificate of Service and
                          Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #73 ON 10/29/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             73 (41 pgs; 5 docs) Application/Motion to Employ/Retain Kurtzman Carson Consultants
                          as Administrative Advisor Effective Nunc Pro Tunc to the Petition Date Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy
                          Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B -
                          Gershbein Declaration # 4 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #74 ON 10/29/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             74 (48 pgs; 6 docs) Application/Motion to Employ/Retain Development Specialists, Inc.
                          as Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services, Nunc Pro Tunc As of the Petition Date Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy
                          Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Engagement Letter # 3 Exhibit B -
                          Sharp Declaration # 4 Exhibit C - Proposed Order # 5 Certificate of Service and Service List)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #75 ON 10/29/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

   12/04/2019               75 (37 pgs; 6 docs) Motion to Authorize /Motion for an Order Authorizing the Debtor to
                          Retain, Employ, and Compensate Certain Professionals Utilized by the Debtors in the
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.103   15/439



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                          Ordinary Course of Business Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             76 (99 pgs; 6 docs) **WITHDRAWN by # 360** Motion to Approve /Precautionary
                          Motion of the Debtor for Order Approving Protocols for the Debtor to Implement Certain
                          Transactions in the Ordinary Course of Business Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019.
                          (Attachments: # 1 Notice # 2 Appendix I # 3 Appendix II # 4 Proposed Form of Order # 5
                          Certificate of Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #77 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) Modified on 1/16/2020 (Ecker, C.). (Entered: 12/05/2019)

                             77 (2 pgs) Notice of Appearance and Request for Notice by William A. Hazeltine filed by
                          Interested Party Hunter Mountain Trust . (Okafor, M.) (Hazeltine, William) [ORIGINALLY
                          FILED AS DOCUMENT #78 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.). (Entered: 12/05/2019)

                             78 (2 pgs) Notice of Meeting of Creditors/Commencement of Case (Corrected) Filed by
                          Highland Capital Management, L.P.. 341(a) meeting to be held on 11/20/2019 at 09:30 AM
                          at J. Caleb Boggs Federal Building, 844 King St., Room 3209, Wilmington, Delaware.
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #79 ON 10/30/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            79 (1 pg) Motion to Appear pro hac vice of Brian P. Shaw of Rogge Dunn Group. Receipt
                          Number 0311-27677, Filed by Acis Capital Management GP LLC, Acis Capital
                          Management, L.P. (Bibiloni, Jose) [ORIGINALLY FILED AS DOCUMENT #80 ON
                          10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             80 (4 pgs; 2 docs) Amended Notice of Appearance. The party has consented to electronic
                          service. Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.
                          (Attachments: # 1 Certificate of Service) (Bibiloni, Jose) [ORIGINALLY FILED AS
                          DOCUMENT #81 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            81 (3 pgs) Notice of Appearance and Request for Notice by Jessica Boelter , Alyssa
                          Russell , Matthew A. Clemente , Bojan Guzina filed by Creditor Committee Official
                          Committee of Unsecured Creditors . (Guzina, Bojan) [ORIGINALLY FILED AS
                          DOCUMENT #82 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019               82 (21 pgs; 2 docs) Initial Reporting Requirements /Initial Monthly Operating Report of
                          Highland Capital Management, LP Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Certificate of Service and Service List) (O'Neill, James) [ORIGINALLY


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                          FILED AS DOCUMENT #83 ON 10/31/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            83 (1 pg) Order Approving Motion for Admission pro hac vice Brian P. Shaw(Related
                          Doc # 80) Order Signed on 11/1/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #84
                          ON 11/01/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            84 (4 pgs; 2 docs) Notice of Appearance and Request for Notice by Sarah E. Silveira ,
                          Michael J. Merchant , Asif Attarwala , Jeffrey E. Bjork filed by Interested Parties UBS AG
                          London Branch , UBS Securities LLC . (Attachments: # 1 Certificate of Service) (Merchant,
                          Michael) [ORIGINALLY FILED AS DOCUMENT #85 ON 11/01/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            85 (159 pgs; 6 docs) Motion to Change Venue/Inter-district Transfer Filed by Official
                          Committee of Unsecured Creditors. (Attachments: # 1 Exhibit A - Proposed Order # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E - Certificate of Service) (Guzina, Bojan)
                          [ORIGINALLY FILED AS DOCUMENT #86 ON 11/01/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             86 (15 pgs; 3 docs) Emergency Motion to Shorten Notice With Respect To The Motion
                          Of Official Committee Of Unsecured Creditors To Transfer Venue Of This Case To The
                          United States Bankruptcy Court For The Northern District Of Texas (related document(s)86)
                          Filed by Official Committee of Unsecured Creditors. (Attachments: # 1 Exhibit A - Proposed
                          Order # 2 Exhibit B - Certificate of Service) (Guzina, Bojan) [ORIGINALLY FILED AS
                          DOCUMENT #87 ON 11/01/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             87 (1 pg) Order Denying Emergency Motion to Shorten Notice With Respect to The
                          Motion of Official Committee of Unsecured Creditors to Transfer Venue of This Case to the
                          United States Bankruptcy Court for the Northern District Of Texas (Related Doc # 87) Order
                          Signed on 11/4/2019. (JS) [ORIGINALLY FILED AS DOCUMENT #88 ON 11/04/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             88 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
                          Jefferies LLC. (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #89 ON
                          11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             89 (1 pg) Motion to Appear pro hac vice of Patrick C. Maxcy. Receipt Number 2770240,
                          Filed by Jefferies LLC. (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #90
                          ON 11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             90 (1 pg) Motion to Appear pro hac vice of Lauren Macksoud. Receipt Number 2770389,
                          Filed by Jefferies LLC. (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #91
                          ON 11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                 91 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.105   17/439



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                          INTEGRATED FINANCIAL ASSOCIATES, INC. (Carlyon, Candace) [ORIGINALLY
                          FILED AS DOCUMENT #92 ON 11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            92 (1 pg) Order Approving Motion for Admission pro hac vice Patrick C. Maxcy(Related
                          Doc # 90) Order Signed on 11/5/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #93
                          ON 11/05/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            93 (1 pg) Order Approving Motion for Admission pro hac vice Lauren Macksoud(Related
                          Doc # 91) Order Signed on 11/5/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #94
                          ON 11/05/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             94 (11 pgs; 2 docs) HEARING CANCELLED. Notice of Agenda of Matters not going
                          forward. The following hearing has been cancelled. Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 11/7/2019 at 03:00 PM at US Bankruptcy Court, 824 Market St.,
                          5th Fl., Courtroom #6, Wilmington, Delaware. (Attachments: # 1 Certificate of Service)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #95 ON 11/05/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             95 (3 pgs; 2 docs) Notice of Appearance. The party has consented to electronic service.
                          Filed by BET Investments, II, L.P.. (Attachments: # 1 Certificate of Service) (Kurtzman,
                          Jeffrey) (Attachments: # 1 Certificate of Service) [ORIGINALLY FILED AS DOCUMENT
                          #96 ON 11/05/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             96 (3 pgs; 2 docs) Certification of Counsel Regarding Order Scheduling Omnibus
                          Hearing Date Filed by Highland Capital Management, L.P.. (Attachments: # 1 Proposed
                          Form of Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #97 ON
                          11/07/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            98 (1 pg) Order Scheduling Omnibus Hearings. Omnibus Hearings scheduled for
                          12/17/2019 at 11:00 AM US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Signed on 11/7/2019. (CAS) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #98 ON 11/07/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             101 (17 pgs; 4 docs) Exhibit(s) // Notice of Filing of Amended Exhibit B to Motion for an
                          Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized By the Debtor in the Ordinary Course of Business (related document(s)76) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Certificate
                          of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #99 ON 11/07/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

   12/04/2019               102 (8 pgs) Affidavit/Declaration of Service for service of [Signed] Order Scheduling
                          Omnibus Hearing Date [Docket No. 98] (related document(s)98) Filed by Highland Capital
                          Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #100 ON


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                          11/07/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) (Entered: 12/05/2019)

                             103 (10 pgs) Notice of Deposition - Notice to Take Rule 30(b)(6) Deposition Upon Oral
                          Examination of the Debtor, Highland Capital Management, L.P. Filed by Official Committee
                          of Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #101
                          ON 11/10/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             104 (2 pgs) Notice of Deposition of Frank Waterhouse Filed by Official Committee of
                          Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #102 ON
                          11/10/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            106 (2 pgs) Notice of Service - Notice of Intent to Serve Subpoena Filed by Official
                          Committee of Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS
                          DOCUMENT #103 ON 11/10/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             107 (10 pgs; 2 docs) Notice of Substitution of Counsel Filed by Alvarez & Marsal CRF
                          Management, LLC, as Investment Manager of the Highland Crusader Funds. (Attachments: #
                          1 Certificate of Service) (Ryan, Jeremy) [ORIGINALLY FILED AS DOCUMENT #104 ON
                          11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             108 (3 pgs) Amended Notice of Appearance. The party has consented to electronic
                          service. Filed by Official Committee of Unsecured Creditors. (Beach, Sean) .
                          [ORIGINALLY FILED AS DOCUMENT #105 ON 11/11/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            110 (1 pg) Motion to Appear pro hac vice Of Bojan Guzina of Sidley Austin LLP. Receipt
                          Number 2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean)
                          [ORIGINALLY FILED AS DOCUMENT #106 ON 11/11/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            111 (1 pg) Motion to Appear pro hac vice of Alyssa Russell of Sidley Austin LLP.
                          Receipt Number 2620330, Filed by Official Committee of Unsecured Creditors. (Beach,
                          Sean)[ORIGINALLY FILED AS DOCUMENT #107 ON 11/11/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            112 (1 pg) Motion to Appear pro hac vice of Matthew A. Clemente of Sidley Austin LLP.
                          Receipt Number 2775584, Filed by Official Committee of Unsecured Creditors. (Beach,
                          Sean) [ORIGINALLY FILED AS DOCUMENT #108 ON 11/11/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            113 (1 pg) Motion to Appear pro hac vice of Paige Holden Montgomery. Receipt Number
                          2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean)
                          [ORIGINALLY FILED AS DOCUMENT #109 ON 11/11/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

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   12/04/2019               114 (1 pg) Motion to Appear pro hac vice of Penny P. Reid of Sidley Austin. Receipt
                          Number 2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean)
                          [ORIGINALLY FILED AS DOCUMENT #110 ON 11/11/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            115 (1 pg) Order Approving Motion for Admission pro hac vice Bojan Guzina(Related
                          Doc # 106) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #111 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            116 (1 pg) Order Approving Motion for Admission pro hac vice Alyssa Russell (Related
                          Doc # 107) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #112 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            117 (1 pg) Order Approving Motion for Admission pro hac vice Matthew A. Clemente
                          (Related Doc # 108) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #113 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            118 (1 pg) Order Approving Motion for Admission pro hac vice Paige Holden(Related
                          Doc # 109) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #114 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            119 (1 pg) Order Approving Motion for Admission pro hac vice Penny P. Reid(Related
                          Doc # 110) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT
                          #115 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             120 (94 pgs; 11 docs) Limited Objection to the Debtors: (I) Application for an Order
                          Authorizing the Retention and Employment of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel, Nunc Pro Tunc to the Petition Date; and (II) Application for an Order
                          Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP as Special
                          Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date (related document(s)69, 70)
                          Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit
                          G # 8 Exhibit H # 9 Exhibit I # 10 Certificate of Service) (Mintz, Josef) [ORIGINALLY
                          FILED AS DOCUMENT #116 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            121 (26 pgs; 3 docs) Limited Objection and Reservation of Rights of Jefferies LLC to
                          Debtor's Motion for Order Approving Protocols for the Debtor to Implement Certain
                          Transactions in the Ordinary Course of Business (related document(s)77) Filed by Jefferies
                          LLC (Attachments: # 1 Exhibit A # 2 Certificate of Service) (Bowden, William)
                          [ORIGINALLY FILED AS DOCUMENT #117 ON 11/12/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                122 (27 pgs) Objection of the Debtor to Motion of Official Committee of Unsecured
                          Creditors to Transfer Venue of This Case to the United States Bankruptcy Court for the
                          Northern District of Texas (related document(s)86) Filed by Highland Capital Management,
                          L.P. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #118 ON 11/12/2019 IN
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.108   20/439



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                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Entered: 12/05/2019)

                             123 (5 pgs) Limited Objection to Motion of the Debtor for an Order Authorizing the
                          Debtor to Retain, Employee, and Compensate Certain Professionals Utilized by the Debtors
                          in the Ordinary Course of Business (related document(s)76) Filed by Official Committee of
                          Unsecured Creditors (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #119
                          ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             124 (6 pgs) **WITHDRAWN per # 456** Limited Objection to the Debtor's Application
                          for an Order Authorizing the Retention and Employment of Foley Gardere, Foley & Lardner
                          LLP and Lynn Pinker Cox & Hurst as Special Texas Counsel and Special Litigation Counsel,
                          Nunc Pro Tunc to the Petition Date (related document(s)69, 70) Filed by Official Committee
                          of Unsecured Creditors (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT
                          #120 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) Modified on 2/19/2020 (Ecker, C.). (Entered: 12/05/2019)

                             125 (4 pgs) Limited Objection to the Motion of Debtor for Entry of Interim and Final
                          Orders (A) Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B)
                          Granting Related Relief (related document(s)3) Filed by Official Committee of Unsecured
                          Creditors (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #121 ON
                          11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            126 (11 pgs) Joinder to Motion of the Official Committee of Unsecured Creditors For an
                          Order Transferring Venue of this Case to the United States Bankruptcy Court for the
                          Northern District of Texas (related document(s)86) Filed by Acis Capital Management GP
                          LLC, Acis Capital Management, L.P.. (Mintz, Josef) [ORIGINALLY FILED AS
                          DOCUMENT #122 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE](Okafor, M.) (Entered: 12/05/2019)

                             127 (12 pgs; 3 docs) Motion to File Under Seal of the Omnibus Objection of the Official
                          Committee of Unsecured Creditors to the Debtors (I) Motion for Final Order Authorizing
                          Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III)
                          Precautionary Motion for Approval of Protocols for Ordinary Course Transactions Filed by
                          Official Committee of Unsecured Creditors. Hearing scheduled for 11/19/2019 at 12:00 PM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/19/2019. (Attachments: # 1 Notice # 2 Proposed Form of Order)
                          [ORIGINALLY FILED AS DOCUMENT #123 ON 11/12/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             128 [SEALED in Delaware Bankruptcy Court] Omnibus Objection to the Debtor's (I)
                          Motion for Final Order Authorizing Continuance of the Existing Cash Management System,
                          (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for
                          "Ordinary Course" Transactions (related document(s)5, 75, 77, 123) Filed by Official
                          Committee of Unsecured Creditors (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C
                          # 4 Exhibit D # 5 Exhibit E) (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT
                          #124 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

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   12/04/2019                130 (162 pgs; 6 docs) Objection to the Debtor's (I) Motion for Final Order Authorizing
                          Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III)
                          Precautionary Motion for Approval of Protocols for "Ordinary Course" Transactions
                          (Redacted) (related document(s)5, 75, 77, 123, 124) Filed by Official Committee of
                          Unsecured Creditors (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D #
                          5 Exhibit E)(Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #125 ON
                          11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) (Entered: 12/05/2019)

                            131 (2 pgs) Notice of Service of Discovery Filed by Official Committee of Unsecured
                          Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #126 ON 11/12/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                            132 (5 pgs) Objection Motion of Debtor for Entry of Order Authorizing Debtor to File
                          Under Seal Portions of Creditor Matrix Containing Employee Address Information (related
                          document(s)8) Filed by U.S. Trustee (Leamy, Jane) [ORIGINALLY FILED AS
                          DOCUMENT #127 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            133 (7 pgs) Certificate of Service of Objection of the Debtor to Motion of Official
                          Committee of Unsecured Creditors to Transfer Venue of This Case to the United States
                          Bankruptcy Court for the Northern District of Texas (related document(s)118) Filed by
                          Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #128 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE](Okafor, M.) Modified text on 12/5/2019 (Okafor, M.). (Entered:
   12/04/2019             12/05/2019)

                             134 (5 pgs) Certificate of Service of Acis's Joinder in Motion to Transfer Venue (related
                          document(s)122) Filed by Acis Capital Management GP LLC, Acis Capital Management,
                          L.P.. (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #129 ON 11/13/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             135 (7 pgs; 2 docs) Objection U.S. Trustee's Objection to the Motion of Debtor Pursuant
                          to 11 U.S.C. §§ 105(a) and 363(b) to Provide a Chief Restructuring Officer, Additional
                          Personnel and Financial Advisory and Restructuring Related Services, Nunc Pro Tunc as of
                          the Petition Date (related document(s)75) Filed by U.S. Trustee (Attachments: # 1 Certificate
                          of Service)(Leamy, Jane) [ORIGINALLY FILED AS DOCUMENT #130 ON 11/13/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             136 (1 pg) Certificate of Service of United States Trustees Objection to Motion of Debtor
                          for Entry of Order Authorizing Debtor to File Under Seal Portions of Creditor Matrix
                          Containing Employee Address Information (related document(s)127) Filed by U.S. Trustee.
                          (Leamy, Jane) [ORIGINALLY FILED AS DOCUMENT #131 ON 11/13/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

   12/04/2019               137 (17 pgs; 3 docs) Certification of Counsel Regarding Debtor's Motion Pursuant to
                          Sections 105(A), 330 and 331 of the Bankruptcy Code for Administrative Order Establishing

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                          Procedures for the Interim Compensation and Reimbursement of Expenses of Professionals
                          (related document(s)73) Filed by Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit A - Proposed Order # 2 Exhibit B - Blackline Order)(O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #132 ON 11/13/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            138 (17 pgs; 2 docs) Certificate of No Objection Regarding Debtor's Application for
                          Authorization to Employ and Retain Kurtzman Carson Consultants LLC as Administrative
                          Advisor Effective Nunc Pro Tunc to the Petition Date (related document(s)74) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A - Proposed Order) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #133 ON 11/13/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             139 (5 pgs; 2 docs) Certificate of No Objection Regarding Motion of the Debtor for Entry
                          of an Order (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of
                          Executory Contracts and Unexpired Leases, and Statement of Financial Affairs, and (II)
                          Granting Related Relief (related document(s)4) Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A - Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #134 ON 11/13/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            140 (2 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
                          Crescent TC Investors, L.P.. (Held, Michael) [ORIGINALLY FILED AS DOCUMENT #135
                          ON 11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            141 (6 pgs) ORDER ESTABLISHING PROCEDURES FOR INTERIM
                          COMPENSATION AND REIMI3URSEMENT OF EXPENSES OF
                          PROFESSIONALS(Related Doc # 73) Order Signed on 11/14/2019. (DRG) [ORIGINALLY
                          FILED AS DOCUMENT #136 ON 11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             142 (14 pgs) ORDER AUTHORIZING THE DEBTOR TO EMPLOY AND RETAIN
                          KURTZMAN CARSON CONSULTANTS LLC AS ADMINISTRATIVE ADVISOR
                          EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE (Related Doc # 74) Order
                          Signed on 11/14/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #137 ON
                          11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                            143 (2 pgs) ORDER (I) EXTENDING TIME TO FILE SCHEDULES OF ASSETS AND
                          LIABILITIES, SCHEDULES OF EXECUTORY CONTRACTS AND UNEXPIRED
                          LEASES, AND STATEMENTOF FINANCIAL AFFAIRS, AND (II) GRANTING
                          RELATED RELIEF (Related Doc # 4) Order Signed on 11/14/2019. (DRG) [ORIGINALLY
                          FILED AS DOCUMENT #138 ON 11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             144 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
                          Intertrust Entities. (Desgrosseilliers, Mark) [ORIGINALLY FILED AS DOCUMENT #139
                          ON 11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)


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   12/04/2019                145 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
                          CLO Entities. (Desgrosseilliers, Mark) [ORIGINALLY FILED AS DOCUMENT #140 ON
                          11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) (Entered: 12/05/2019)

                             146 (11 pgs) Notice of Deposition Upon Oral Examination Under Rules 30 and 30(b)(6)
                          of the Debtor, Highland Capital Management, L.P. Filed by Official Committee of Unsecured
                          Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #141 ON 11/15/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             147 (18 pgs; 2 docs) Notice of Agenda of Matters Scheduled for Hearing Filed by
                          Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware
                          (Attachments: # 1 Certificate of Service) [ORIGINALLY FILED AS DOCUMENT #142 ON
                          11/15/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

                             148 (7 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Order
                          Establishing Procedures for Interim Compensation and Reimbursement of Expenses of
                          Professionals [Docket No. 136]; (2) [Signed] Order Authorizing the Debtor to Employ and
                          Retain Kurtzman Carson Consultants LLC as Administrative Advisor Effective Nunc Pro
                          Tunc to the Petition Date [Docket No. 137]; and (3) [Signed] Order (I) Extending Time to
                          File Schedules of Assets and Liabilities, Schedules of Executory Contracts and Unexpired
                          Leases, and Statement of Financial Affairs, and (II) Granting Related Relief [Docket No.
                          138] (related document(s)136, 137, 138) Filed by Highland Capital Management, L.P..
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #143 ON 11/15/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             149 (2 pgs) Notice of Hearing regarding Motion to Change Venue/Inter-district Transfer
                          (related document(s)86, 87, 88) Filed by Official Committee of Unsecured Creditors.
                          Hearing scheduled for 12/2/2019 at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. (Beach, Sean) [ORIGINALLY FILED AS
                          DOCUMENT #144 ON 11/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             150 (9 pgs; 2 docs) Notice of Rescheduled 341 Meeting (related document(s)67, 79) Filed
                          by Highland Capital Management, L.P.. 341(a) meeting to be held on 12/3/2019 at 10:30 AM
                          (check with U.S. Trustee for location) (Attachments: # 1 Certificate of Service) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #145 ON 11/18/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             151 (17 pgs; 2 docs) Agenda of Matters Scheduled for Telephonic Hearing (related
                          document(s)142) Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware.(Attachments: # 1 Certificate of Service) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #146 ON 11/18/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                 152 (2 pgs) Notice of Appearance. The party has consented to electronic service. Filed by

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.112   24/439



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                          CLO Holdco, Ltd.. (Kane, John) [ORIGINALLY FILED AS DOCUMENT #149 ON
                          11/19/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) (Entered: 12/05/2019)

                            153 (2 pgs) Amended Notice of Deposition of Frank Waterhouse Filed by Official
                          Committee of Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS
                          DOCUMENT #150 ON 11/19/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            154 (3 pgs) Notice of Appearance and Request for Notice by Sally T. Siconolfi , Joseph T.
                          Moldovan filed by Interested Party Meta-e Discovery, LLC . (Moldovan, Joseph)
                          [ORIGINALLY FILED AS DOCUMENT #152 ON 11/20/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            156 (4 pgs) Affidavit/Declaration of Service regarding Notice of Hearing regarding
                          Motion to Change Venue/Inter-district Transfer (related document(s)144) Filed by Official
                          Committee of Unsecured Creditors. (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT
                          #153 ON 11/20/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             158 (5 pgs; 2 docs) Motion to Appear pro hac vice of Annmarie Chiarello of Winstead
                          PC. Receipt Number 0311-27843, Filed by Acis Capital Management GP LLC, Acis Capital
                          Management, L.P.. (Bibiloni, Jose) [ORIGINALLY FILED AS DOCUMENT #154 ON
                          11/20/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) Additional attachment(s) added on 12/5/2019 (Okafor, M.). (Entered:
   12/04/2019             12/05/2019)

                            159 (2 pgs; 2 docs) Order Approving Motion for Admission pro hac vice Annmarie
                          Chiarello (Related Doc # 154) Order Signed on 11/21/2019. (CAS) [ORIGINALLY FILED
                          AS DOCUMENT #155 ON 11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.) Additional attachment(s) added on 12/5/2019
   12/04/2019             (Okafor, M.). (Entered: 12/05/2019)

                             162 (8 pgs) Reply in Support of Motion to Transfer Venue of This Case to the United
                          States Bankruptcy Court for the Northern District of Texas (related document(s)86, 118)
                          Filed by Official Committee of Unsecured Creditors (Beach, Sean) [ORIGINALLY FILED
                          AS DOCUMENT #156 ON 11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            163 (7 pgs) Reply in Support of the Motion of the Official Committee of Unsecured
                          Creditors For an Order Transferring Venue of this Case to the United States Bankruptcy
                          Court for the Northern District of Texas (related document(s)86, 118, 122, 156) Filed by Acis
                          Capital Management GP LLC, Acis Capital Management, L.P. (Mintz, Josef)
                          [ORIGINALLY FILED AS DOCUMENT #157 ON 11/21/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            164 (4 pgs) Response of the Debtor to Acis's Joinder to Motion to Transfer Venue (related
                          document(s)86, 122) Filed by Highland Capital Management, L.P. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #158 ON 11/21/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                 165 (265 pgs; 11 docs) Omnibus Reply In Support of (I) Application for an Order
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.113   25/439



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                          Authorizing the Retention and Employment of Foley Gardere, Foley & Lardner as Special
                          Texas Counsel Nunc Pro Tunc to the Petition Date; and (II) Application for an Order
                          Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP as Special
                          Texas Litigation Counsel Nunc Pro Tunc to Petition Date (related document(s)69, 70, 116,
                          120) Filed by Highland Capital Management, L.P.(Attachments: # 1 Exhibit A # 2 Exhibit B
                          # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                          Exhibit I # 10 Exhibit J) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #159
                          ON 11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) Modified text on 12/5/2019 (Okafor, M.). (Entered: 12/05/2019)

                             166 (46 pgs; 5 docs) Omnibus Reply of the Debtor in Support of: (1) Motion for Final
                          Order Authorizing Continuance of the Existing Cash Management System, (II) Motion to
                          Employ and Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          and (III) Precautionary Motion for Approval of Protocols for Ordinary Course Transactions
                          (related document(s)5, 75, 77) Filed by Highland Capital Management, L.P. (Attachments: #
                          1 Exhibit A - Redline Order Approving Ordinary Course Protocols Motion # 2 Exhibit B -
                          Redline Order Approving Cash Management Motion # 3 Exhibit C - Redline Order
                          Approving DSI Retention Motion # 4 Exhibit D - Summary of Intercompany Transactions)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #160 ON 11/21/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             168 (8 pgs) Certificate of Service of 1) Response of the Debtor to Acis's Joinder to
                          Motion to Transfer Venue; 2) Omnibus Reply In Support of (I) Application for an Order
                          Authorizing the Retention and Employment of Foley Gardere, Foley & Lardner as Special
                          Texas Counsel Nunc Pro Tunc to the Petition Date, and (II) Application for an Order
                          Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP; and 3)
                          Omnibus Reply of the Debtor in Support of: (I) Motion for Final Order Authorizing
                          Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III)
                          Precautionary Motion for Approval of Protocols for Ordinary Course Transactions (related
                          document(s)158, 159, 160) Filed by Highland Capital Management, L.P.. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #161 ON 11/22/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             169 (16 pgs; 4 docs) Exhibit(s) // Notice of Filing of Second Amended Exhibit B to
                          Motion for an Order Authorizing the Debtor to Retain, Employ, and Compensate Certain
                          Professionals Utilized By the Debtor in the Ordinary Course of Business (related
                          document(s)76, 99) Filed by Highland Capital Management, L.P.. (Attachments: # 1 Exhibit
                          1 # 2 Exhibit 2 # 3 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #162 ON 11/25/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             170 (15 pgs; 3 docs) Certification of Counsel Regarding Motion of Debtor for Entry of
                          Interim and Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of Critical
                          Vendors and (B) Granting Related Relief (related document(s)3, 40) Filed by Highland
                          Capital Management, L.P..(Attachments: # 1 Exhibit A # 2 Exhibit B) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #163 ON 11/25/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019               171 (19 pgs; 3 docs) **WITHDRAWN** - 11/26/2019. SEE DOCKET # 165.
                          Certification of Counsel Regarding Motion for an Order Authorizing the Debtor to Retain,
                          Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.114   26/439



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                          Course of Business (related document(s)76, 99, 162) Filed by Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B) (O'Neill, James) Modified on 11/26/2019
                          (DMC). [ORIGINALLY FILED AS DOCUMENT #164 ON 11/25/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
                          12/05/2019)

                            172 (2 pgs) Notice of Withdrawal of Certification of Counsel Regarding Motion for an
                          Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized By the Debtor in the Ordinary Course of Business (related document(s)164) Filed by
                          Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #165 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             173 (29 pgs; 3 docs) Certification of Counsel Regarding Motion for an Order Authorizing
                          the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized By the Debtor
                          in the Ordinary Course of Business (related document(s)76, 99, 162) Filed by Highland
                          Capital Management, L.P (Attachments: # 1 Exhibit A # 2 Exhibit B)(O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #166 ON 11/26/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE (Okafor, M.) (Entered: 12/05/2019)

                            174 (17 pgs; 2 docs) Notice of Agenda of Matters Scheduled for Hearing Filed by
                          Highland Capital Management, L.P.. Hearing scheduled for 12/2/2019 at 10:00 AM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          (Attachments: # 1 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #167 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE (Okafor, M.) (Entered: 12/05/2019)

                            175 (5 pgs) FINAL ORDER (A) AUTHORIZING THE DEBTOR TO PAY CERTAIN
                          PREPETITION CLAIMS OF CRITICAL VENDORS AND (B) GRANTING RELATED
                          RELIEF (Related document(s) 3, 40) Signed on 11/26/2019. (DRG) [ORIGINALLY FILED
                          AS DOCUMENT #168 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             176 (12 pgs; 2 docs) ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330
                          OF THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             177 (24 pgs; 3 docs) Motion to Authorize Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under Employee
                          Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1
                          Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS DOCUMENT #170 ON
                          11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019               178 (32 pgs; 3 docs) Supplemental Declaration in Support of Jeffrey N. Pomerantz in
                          Support of Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the

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                          Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ
                          and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession Nunc Pro Tunc to the Petition Date (related document(s)71) Filed by Highland
                          Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Certificate of Service) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #171 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE(Okafor, M.) (Entered:
                          12/05/2019)

                             179 (11 pgs; 3 docs) Certification of Counsel Regarding Debtor's Application Pursuant to
                          Section 327(A) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy
                          Procedure and Local Rule 2014-1 for Authorization to Employ and Retain Pachulski Stang
                          Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the
                          Petition Date (related document(s)71) Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B - Blackline Order) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #172 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             180 (58 pgs; 6 docs) Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C -
                          Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            181 (7 pgs) Certificate of Service and Service List for service of Motion of the Debtor for
                          Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations
                          Under Employee Bonus Plans and Granting Related Relief [Docket No. 170] (related
                          document(s)170) Filed by Highland Capital Management, L.P.. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #174 ON 11/27/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             182 (18 pgs; 2 docs) Amended Notice of Agenda of Matters Scheduled for Hearing
                          (related document(s)167) Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/2/2019 at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware (Attachments: # 1 Certificate of Service)(O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #175 ON 11/27/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            183 (3 pgs) ORDER PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY
                          CODE, RULE 2414 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
                          LOCAL RULE 2014-1 AUTHORIZING THE EMPLOYMENT AND RETENTION OF
                          PACHULSKI TANG ZIEHL & JONES LLP AS COUNSEL FOR THE DEBTOR AND
                          DEBTOR IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE (Related Doc #
                          71) Order Signed on 12/2/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #176 ON
                          12/02/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
   12/04/2019             (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                184 (6 pgs) Certification of Counsel Regarding Order Transferring Venue of This Case to
                          the United States Bankruptcy Court for the Northern District of Texas (related
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.116   28/439



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                          document(s)86) Filed by Official Committee of Unsecured Creditors. (Weissgerber, Jaclyn)
                          [ORIGINALLY FILED AS DOCUMENT #182 ON 12/03/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             185 (8 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Final Order (A)
                          Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B) Granting Related
                          Relief [Docket No. 168]; (2) [Signed] Order Pursuant to Sections 105(a), 327, 328, and 330
                          of the Bankruptcy Code Authorizing the Debtor to Retain, Employ and Compensate Certain
                          Professionals Utilized by the Debtor in the Ordinary Course of Business [Docket No. 169];
                          and (3) [Signed] Order Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the
                          Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 Authorizing the Employment
                          and Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession Nunc Pro Tunc to the Petition Date [Docket No. 176] (related document(s)168,
                          169, 176) Filed by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #183 ON 12/03/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            186 (2 pgs) ORDER TRANSFERRING VENUE OF THIS CASE TO THE UNITED
                          STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF TEXAS (related
                          document(s)86) Order Signed on 12/4/2019. (CAS) [ORIGINALLY FILED AS
                          DOCUMENT #184 ON 12/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            187 (118 pgs) Certificate of Service re: 1) Notice of Chapter 11 Bankruptcy Case; and 2)
                          [Corrected] Notice of Chapter 11 Bankruptcy Case (related document(s)67, 79) Filed by
                          Kurtzman Carson Consultants LLC. (Kass, Albert) ( [ORIGINALLY FILED AS
                          DOCUMENT #185 ON 12/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            97 (3 pgs) Motion to appear pro hac vice for Bojan Guzina. Fee Amount $100 Filed by
   12/05/2019             Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27228141, amount $ 100.00 (re: Doc# 97). (U.S. Treasury)

                           99 (2 pgs) Notice of Appearance and Request for Notice by Linda D. Reece filed by
   12/05/2019             Wylie ISD, Garland ISD, City of Garland. (Reece, Linda)

                             100 (3 pgs) Motion to appear pro hac vice for Matthew A. Clemente. Fee Amount $100
   12/05/2019             Filed by Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            105 (3 pgs) Motion to appear pro hac vice for Alyssa Russell. Fee Amount $100 Filed by
   12/05/2019             Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27228455, amount $ 100.00 (re: Doc# 100). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27228455, amount $ 100.00 (re: Doc# 105). (U.S. Treasury)

   12/05/2019                109 (3 pgs) Motion to appear pro hac vice for Ira D. Kharasch. Fee Amount $100 Filed
                          by Debtor Highland Capital Management, L.P. (Haitz, Eric)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.117   29/439



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                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27228644, amount $ 100.00 (re: Doc# 109). (U.S. Treasury)

                             129 (1 pg) Notice of Appearance and Request for Notice by Laurie A. Spindler filed by
                          City of Allen, Allen ISD, Dallas County, Grayson County, Irving ISD, Kaufman County,
   12/05/2019             Tarrant County. (Spindler, Laurie)

                             155 (3 pgs) Notice of Appearance and Request for Notice by Mark A. Platt filed by
   12/05/2019             Interested Party Redeemer Committee of the Highland Crusader Fund. (Platt, Mark)

                             157 (3 pgs) Motion to appear pro hac vice for Marc B. Hankin. Fee Amount $100 Filed
   12/05/2019             by Interested Party Redeemer Committee of the Highland Crusader Fund (Platt, Mark)

                             160 (5 pgs; 2 docs) Motion to appear pro hac vice for Richard Levin. Fee Amount $100
                          Filed by Interested Party Redeemer Committee of the Highland Crusader Fund (Attachments:
   12/05/2019             # 1 Addendum) (Platt, Mark)

                             161 (3 pgs) Motion to appear pro hac vice for Terri L. Mascherin. Fee Amount $100 Filed
   12/05/2019             by Interested Party Redeemer Committee of the Highland Crusader Fund (Platt, Mark)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27229964, amount $ 100.00 (re: Doc# 157). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27229964, amount $ 100.00 (re: Doc# 160). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27229964, amount $ 100.00 (re: Doc# 161). (U.S. Treasury)

                             167 (3 pgs) Motion to appear pro hac vice for Gregory V. Demo. Fee Amount $100 Filed
   12/05/2019             by Debtor Highland Capital Management, L.P. (Haitz, Eric)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/05/2019             ( 100.00). Receipt number 27230422, amount $ 100.00 (re: Doc# 167). (U.S. Treasury)

                            188 (4 pgs) Notice of Appearance and Request for Notice by Juliana Hoffman filed by
   12/05/2019             Creditor Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)

                             189 (3 pgs) Motion to appear pro hac vice for Jeffrey N. Pomerantz. Fee Amount $100
   12/06/2019             Filed by Debtor Highland Capital Management, L.P. (Haitz, Eric)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/06/2019             ( 100.00). Receipt number 27233957, amount $ 100.00 (re: Doc# 189). (U.S. Treasury)

                            190 (3 pgs) Amended Motion to appear pro hac vice for Jeffrey N. Pomerantz. (related
   12/06/2019             document: 189) Filed by Debtor Highland Capital Management, L.P. (Haitz, Eric)

                            191 (3 pgs) Motion to appear pro hac vice for John A. Morris. Fee Amount $100 Filed by
   12/06/2019             Debtor Highland Capital Management, L.P. (Haitz, Eric)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.118   30/439



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   12/06/2019                Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
                          ( 100.00). Receipt number 27233983, amount $ 100.00 (re: Doc# 191). (U.S. Treasury)

                            192 (2 pgs) INCORRECT ENTRY - Incorrect Event Used; Refiled as Document 220.
                          Motion to withdraw as attorney (Eric T. Haitz) Filed by Debtor Highland Capital
                          Management, L.P. (Haitz, Eric) Modified on 12/9/2019 (Dugan, S.). Modified on 12/9/2019
   12/06/2019             (Dugan, S.).

                             193 Hearing held on 12/6/2019., Hearing continued (RE: related document(s)1 Order
                          transferring case number 19-12239 from U.S. Bankruptcy Court for the District of Delaware
                          Filed by Highland Capital Management, L.P.,) (Continued Hearing to be held on 12/12/2019
   12/06/2019             at 09:30 AM Dallas Judge Jernigan Ctrm for 1, (Edmond, Michael)

                             194 Hearing held on 12/6/2019., Hearing continued (RE: related document(s)1 Order
                          transferring case number 19-12239 from U.S. Bankruptcy Court for the District of Delaware
                          Filed by Highland Capital Management, L.P. (Okafor, M.)) Hearing to be held on 12/12/2019
                          at 09:30 AM Dallas Judge Jernigan Ctrm for 1, (Appearances: C. Gibbs, introducing J.
                          Pomeranzt and I. Kharasch for Debtor (also J. Morris on phone); M. Clemente and P. Reid
                          for Official Committee of Unsecured Creditors; B. Shaw for Acis; M. Platt for Redeemer
                          Committee of Crusader Fund (also on phone M. Hankin and T. Mascherin); M. Rosenthal for
                          Alvarez and Marsal; P. Maxcy (telephonically) for Jeffries; L. Lambert for UST.
                          Nonevidentiary status conference. Court heard reports about case, parties, and ongoing
                          discussions regarding corporate governance. Schedules will be filed next 12/13/19. At
                          request of parties, another status conference is set for 12/12/19 at 9:30 am (telephonic
                          participation will be allowed if requested). At current time, parties are not requesting that
   12/06/2019             pending motions be set.) (Edmond, Michael)

                             195 (1 pg) Request for transcript regarding a hearing held on 12/6/2019. The requested
   12/06/2019             turn-around time is hourly. (Edmond, Michael)

                            196 (1 pg) Order granting motion to appear pro hac vice adding Bojan Guzina for Official
                          Committee of Unsecured Creditors (related document # 97) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                            197 (1 pg) Order granting motion to appear pro hac vice adding Matthew A. Clemente for
                          Official Committee of Unsecured Creditors (related document # 100) Entered on 12/6/2019.
   12/06/2019             (Banks, Courtney)

                            198 (1 pg) Order granting motion to appear pro hac vice adding Alyssa Russell for
                          Official Committee of Unsecured Creditors (related document # 105) Entered on 12/6/2019.
   12/06/2019             (Banks, Courtney)

                            199 (1 pg) Order granting motion to appear pro hac vice adding Ira D Kharasch for
                          Highland Capital Management, L.P. (related document # 109) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                            200 (1 pg) Order granting motion to appear pro hac vice adding Richard B. Levin for
                          Redeemer Committee of the Highland Crusader Fund (related document # 160) Entered on
   12/06/2019             12/6/2019. (Banks, Courtney)

   12/06/2019                 201 (1 pg) Order granting motion to appear pro hac vice adding Terri L. Mascherin for

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                          Redeemer Committee of the Highland Crusader Fund (related document # 161) Entered on
                          12/6/2019. (Banks, Courtney)

                            202 (1 pg) Order granting motion to appear pro hac vice adding Gregory V Demo for
                          Highland Capital Management, L.P. (related document # 167) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                            203 (1 pg) Order granting motion to appear pro hac vice adding Marc B. Hankin for
                          Redeemer Committee of the Highland Crusader Fund (related document # 157) Entered on
   12/06/2019             12/6/2019. (Banks, Courtney)

                            204 (44 pgs) INCORRECT ENTRY: DRAFT OF MOTION. SEE DOCUMENT 206.
                          Application to employ Sidley Austin LLP as Attorney APPLICATION OF THE OFFICIAL
                          COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328 AND 1103
                          OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY PROCEDURE
                          2014, FOR AN ORDER APPROVING THE RETENTION AND EMPLOYMENT OF SIDLEY
                          AUSTIN LLP AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
                          CREDITORS, NUNC PRO TUNC TO OCTOBER 29, 2019 Filed by Creditor Committee
                          Official Committee of Unsecured Creditors (Hoffman, Juliana) Modified on 12/18/2019
   12/06/2019             (Rielly, Bill).

                             205 (37 pgs) Application to employ FTI CONSULTING, INC. as Financial Advisor
                          APPLICATION PURSUANT TO FED. R. BANKR. P. 2014(a) FOR ORDER UNDER
                          SECTION 1103 OF THE BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND
                          RETENTION OF FTI CONSULTING, INC. AS FINANCIAL ADVISOR TO THE OFFICIAL
                          COMMITTEE OF UNSECURED CREDITORS NUNC PRO TUNC TO NOVEMBER 6, 2019
   12/06/2019             Filed by Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                             206 (44 pgs) Application to employ Sidley Austin LLP as Attorney APPLICATION OF
                          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO
                          SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF
                          BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING THE RETENTION
                          AND EMPLOYMENT OF SIDLEY AUSTIN LLP AS COUNSEL TO THE OFFICIAL
                          COMMITTEE OF UNSECURED CREDITORS, NUNC PRO TUNC TO OCTOBER 29, 2019
                          (related document: 204) Filed by Creditor Committee Official Committee of Unsecured
   12/06/2019             Creditors (Hoffman, Juliana) Modified on 12/18/2019 (Rielly, Bill).

                            220 (2 pgs) Withdrawal filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)41 Notice of appearance and request for notice). (Dugan, S.) (Entered:
   12/06/2019             12/09/2019)

   12/08/2019               207 (27 pgs) Transcript regarding Hearing Held 12/6/19 RE: Status and scheduling
                          conference. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO
                          THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 03/9/2020. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Palmer Reporting Services, Telephone number PalmerRptg@aol.com,
                          800-665-6251. (RE: related document(s) 193 Hearing held on 12/6/2019., Hearing continued
                          (RE: related document(s)1 Order transferring case number 19-12239 from U.S. Bankruptcy
                          Court for the District of Delaware Filed by Highland Capital Management, L.P.,) (Continued
                          Hearing to be held on 12/12/2019 at 09:30 AM Dallas Judge Jernigan Ctrm for 1,, 194
                          Hearing held on 12/6/2019., Hearing continued (RE: related document(s)1 Order transferring

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.120   32/439



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                          case number 19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by
                          Highland Capital Management, L.P. (Okafor, M.)) Hearing to be held on 12/12/2019 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 1, (Appearances: C. Gibbs, introducing J. Pomeranzt and
                          I. Kharasch for Debtor (also J. Morris on phone); M. Clemente and P. Reid for Official
                          Committee of Unsecured Creditors; B. Shaw for Acis; M. Platt for Redeemer Committee of
                          Crusader Fund (also on phone M. Hankin and T. Mascherin); M. Rosenthal for Alvarez and
                          Marsal; P. Maxcy (telephonically) for Jeffries; L. Lambert for UST. Nonevidentiary status
                          conference. Court heard reports about case, parties, and ongoing discussions regarding
                          corporate governance. Schedules will be filed next 12/13/19. At request of parties, another
                          status conference is set for 12/12/19 at 9:30 am (telephonic participation will be allowed if
                          requested). At current time, parties are not requesting that pending motions be set.)).
                          Transcript to be made available to the public on 03/9/2020. (Palmer, Susan)

                            208 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)197
                          Order granting motion to appear pro hac vice adding Matthew A. Clemente for Official
                          Committee of Unsecured Creditors (related document 100) Entered on 12/6/2019.) No. of
   12/08/2019             Notices: 1. Notice Date 12/08/2019. (Admin.)

                             209 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)198
                          Order granting motion to appear pro hac vice adding Alyssa Russell for Official Committee
                          of Unsecured Creditors (related document 105) Entered on 12/6/2019.) No. of Notices: 1.
   12/08/2019             Notice Date 12/08/2019. (Admin.)

                            210 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)199
                          Order granting motion to appear pro hac vice adding Ira D Kharasch for Highland Capital
                          Management, L.P. (related document 109) Entered on 12/6/2019.) No. of Notices: 1. Notice
   12/08/2019             Date 12/08/2019. (Admin.)

                            211 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)200
                          Order granting motion to appear pro hac vice adding Richard B. Levin for Redeemer
                          Committee of the Highland Crusader Fund (related document 160) Entered on 12/6/2019.)
   12/08/2019             No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            212 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)201
                          Order granting motion to appear pro hac vice adding Terri L. Mascherin for Redeemer
                          Committee of the Highland Crusader Fund (related document 161) Entered on 12/6/2019.)
   12/08/2019             No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            213 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)202
                          Order granting motion to appear pro hac vice adding Gregory V Demo for Highland Capital
                          Management, L.P. (related document 167) Entered on 12/6/2019.) No. of Notices: 1. Notice
   12/08/2019             Date 12/08/2019. (Admin.)

                            214 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)203
                          Order granting motion to appear pro hac vice adding Marc B. Hankin for Redeemer
                          Committee of the Highland Crusader Fund (related document 157) Entered on 12/6/2019.)
   12/08/2019             No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            215 (1 pg) Acknowledgment of split/transfer case received FROM another district,
   12/09/2019             Delaware, Delaware division, Case Number 19-12239. (Okafor, M.)

   12/09/2019                 216 (1 pg) Order granting motion to appear pro hac vice adding Jeffrey N. Pomerantz for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.121   33/439



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                          Highland Capital Management, L.P. (related document # 190) Entered on 12/9/2019. (Banks,
                          Courtney)

                            217 (1 pg) Order granting motion to appear pro hac vice adding John A. Morris for
                          Highland Capital Management, L.P. (related document # 191) Entered on 12/9/2019. (Banks,
   12/09/2019             Courtney)

                            218 (15 pgs; 3 docs) Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM
                          THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT
                          Fee amount $181, Filed by Creditor PensionDanmark Pensionsforsikringsaktieselskab
                          Objections due by 12/23/2019. (Attachments: # 1 Declaration # 2 Proposed Order) (Crooks,
   12/09/2019             David)

                              219 (3 pgs) Notice of Appearance and Request for Notice by Charles Martin Persons Jr.
   12/09/2019             filed by Creditor Committee Official Committee of Unsecured Creditors. (Persons, Charles)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   12/09/2019             181.00). Receipt number 27240994, amount $ 181.00 (re: Doc# 218). (U.S. Treasury)

                            221 (2 pgs) Notice of Appearance and Request for Notice by Brian Patrick Shaw filed by
   12/09/2019             Acis Capital Management GP, LLC, Acis Capital Management, L.P.. (Shaw, Brian)

                             222 (3 pgs) Motion to appear pro hac vice for Dennis M. Twomey. Fee Amount $100
   12/09/2019             Filed by Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/09/2019             ( 100.00). Receipt number 27241671, amount $ 100.00 (re: Doc# 222). (U.S. Treasury)

   12/09/2019                223 (10 pgs) Certificate of service re: 1) Application Pursuant to Fed. R. Bankr. P.
                          2014(a) for Order Under Section 1103 of the Bankruptcy Code Authorizing the Employment
                          and Retention of FTI Consulting, Inc. as Financial Advisor to the Official Committee of
                          Unsecured Creditors Nunc Pro Tunc to November 6, 2019; and 2) [Amended] Application of
                          the Official Committee of Unsecured Creditors, Pursuant to Sections 328 and 1103 of the
                          Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014, for an Order Approving
                          the Retention and Employment of Sidley Austin LLP as Counsel to the Official Committee of
                          Unsecured Creditors, Nunc Pro Tunc to October 29, 2019 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)205 Application to employ FTI
                          CONSULTING, INC. as Financial Advisor APPLICATION PURSUANT TO FED. R.
                          BANKR. P. 2014(a) FOR ORDER UNDER SECTION 1103 OF THE BANKRUPTCY CODE
                          AUTHORIZING THE EMPLOYMENT AND RETENTION OF FTI CONSULTING, INC. AS
                          FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                          NUNC PRO TUNC TO NOVEMBER 6, 2019 Filed by Creditor Committee Official
                          Committee of Unsecured Creditors filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 206 Amended Application to employ Sidley Austin LLP as Attorney
                          APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
                          PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND
                          FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING
                          THE RETENTION AND EMPLOYMENT OF SIDLEY AUSTIN LLP AS COUNSEL TO THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS, NUNC PRO TUNC TO
                          OCTOBER 29, 2019 (related document: 204) Filed by Creditor Committee Official


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                          Committee of Unsecured Creditors filed by Creditor Committee Official Committee of
                          Unsecured Creditors). (Kass, Albert)

                            224 (1 pg) Certificate Certificate of Conference filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab (RE: related document(s)218 Motion for relief from stay
                          MOTION OF PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN
                          ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY TO TERMINATE
   12/10/2019             INVESTMENT MANAGEMENT AGREEMENT Fee amount $181,). (Crooks, David)

                             225 (4 pgs; 2 docs) Certificate of service re: Certificate of Service filed by Creditor
                          PensionDanmark Pensionsforsikringsaktieselskab (RE: related document(s)218 Motion for
                          relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM
                          THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT
                          Fee amount $181,, 224 Certificate (generic)). (Attachments: # 1 Service List) (Crooks,
   12/10/2019             David)

                            226 (32 pgs) Application to employ Young Conaway Stargatt & Taylor, LLP as Attorney
                          (Co-Counsel) Nunc Pro Tunc Filed by Creditor Committee Official Committee of Unsecured
   12/10/2019             Creditors (Hoffman, Juliana)

                             227 (2 pgs) INCORRECT ENTRY: DEFICIENCIES ARE DUE 12/13/2019 - Notice of
                          deficiency. Schedule A/B due 10/30/2019. Schedule D due 10/30/2019. Schedule E/F due
                          10/30/2019. Schedule G due 10/30/2019. Schedule H due 10/30/2019. Declaration Under
                          Penalty of Perjury for Non-individual Debtors due 10/30/2019. Summary of Assets and
                          Liabilities and Certain Statistical Information due 10/30/2019. Statement of Financial Affairs
   12/10/2019             due 10/30/2019. (Okafor, M.) Modified on 12/10/2019 (Okafor, M.).

                            228 (2 pgs) Notice of deficiency. Schedule A/B due 12/13/2019. Schedule D due
                          12/13/2019. Schedule E/F due 12/13/2019. Schedule G due 12/13/2019. Schedule H due
                          12/13/2019. Declaration Under Penalty of Perjury for Non-individual Debtors due
                          12/13/2019. Summary of Assets and Liabilities and Certain Statistical Information due
   12/10/2019             12/13/2019. Statement of Financial Affairs due 12/13/2019. (Okafor, M.)

                            229 (2 pgs) Meeting of creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at
                          Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of service of 341
   12/10/2019             meeting chapter 11 to be filed by 01/9/2020. (Neary, William)

                            230 (2 pgs) Notice of Appearance and Request for Notice by Melissa S. Hayward filed by
   12/10/2019             Debtor Highland Capital Management, L.P.. (Hayward, Melissa)

                            231 (2 pgs) Notice of Appearance and Request for Notice by Zachery Z. Annable filed by
   12/10/2019             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             232 (11 pgs; 3 docs) Joint Motion to continue hearing on (related documents 194 Hearing
                          held, Hearing set/continued)Joint Motion to Continue Status Conference Filed by Debtor
                          Highland Capital Management, L.P., Creditor Committee Official Committee of Unsecured
   12/11/2019             Creditors (Attachments: # 1 Proposed Order # 2 Service List) (Hayward, Melissa)

   12/11/2019                233 (4 pgs; 2 docs) Motion to appear pro hac vice for Michael I. Baird. Fee Amount $100
                          Filed by Creditor Pension Benefit Guaranty Corporation (Attachments: # 1 Certificate of
                          Service) (Baird, Michael)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.123   35/439



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                  Case: 22-11036                  Document: 67               Page: 63            Date Filed: 02/06/2023

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                             234 (2 pgs) Order granting joint motion to continue hearing on (related document # 232)
                          (related documents Hearing held) Status Conference to be held on 12/18/2019 at 09:30 AM.
   12/11/2019             Entered on 12/11/2019. (Banks, Courtney)

                            235 (80 pgs) Application for compensation First Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period From October 16, 2019 Through October 31, 2019 for Highland
                          Capital Management, L.P., Debtor's Attorney, Period: 10/16/2019 to 10/31/2019, Fee:
                          $383,583.75, Expenses: $9,958.84. Filed by Debtor Highland Capital Management, L.P.
   12/11/2019             Objections due by 1/2/2020. (Pomerantz, Jeffrey)

                             236 (3 pgs) Motion to appear pro hac vice for Lauren Macksoud. Fee Amount $100 Filed
   12/11/2019             by Interested Party Jefferies LLC (Doherty, Casey)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/11/2019             ( 100.00). Receipt number 27250084, amount $ 100.00 (re: Doc# 236). (U.S. Treasury)

                             237 (3 pgs) Motion to appear pro hac vice for Patrick C. Maxcy. Fee Amount $100 Filed
   12/11/2019             by Interested Party Jefferies LLC (Doherty, Casey)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/11/2019             ( 100.00). Receipt number 27250165, amount $ 100.00 (re: Doc# 237). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/11/2019             (0.00). Receipt Number KF - No Fee Due, amount $ 0.00 (re: Doc233). (Floyd)

                            238 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)216
                          Order granting motion to appear pro hac vice adding Jeffrey N. Pomerantz for Highland
                          Capital Management, L.P. (related document 190) Entered on 12/9/2019.) No. of Notices: 1.
   12/11/2019             Notice Date 12/11/2019. (Admin.)

                            239 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)217
                          Order granting motion to appear pro hac vice adding John A. Morris for Highland Capital
                          Management, L.P. (related document 191) Entered on 12/9/2019.) No. of Notices: 1. Notice
   12/11/2019             Date 12/11/2019. (Admin.)

                            240 (3 pgs) Notice of Appearance and Request for Notice by J. Seth Moore filed by
   12/12/2019             Creditor Siepe, LLC. (Moore, J.)

                            241 (8 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Charles Harder) filed by Debtor Highland Capital Management, L.P. (RE: related
   12/12/2019             document(s)176 Document). (Annable, Zachery)

                            242 (1 pg) Order granting motion to appear pro hac vice adding Michael I. Baird for
                          Pension Benefit Guaranty Corporation (related document # 233) Entered on 12/12/2019.
   12/12/2019             (Okafor, M.)

   12/12/2019               243 (4 pgs) BNC certificate of mailing. (RE: related document(s)227 INCORRECT
                          ENTRY: DEFICIENCIES ARE DUE 12/13/2019 - Notice of deficiency. Schedule A/B due
                          10/30/2019. Schedule D due 10/30/2019. Schedule E/F due 10/30/2019. Schedule G due

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.124   36/439



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                          10/30/2019. Schedule H due 10/30/2019. Declaration Under Penalty of Perjury for Non-
                          individual Debtors due 10/30/2019. Summary of Assets and Liabilities and Certain Statistical
                          Information due 10/30/2019. Statement of Financial Affairs due 10/30/2019. (Okafor, M.)
                          Modified on 12/10/2019 (Okafor, M.).) No. of Notices: 8. Notice Date 12/12/2019. (Admin.)

                             244 (4 pgs) BNC certificate of mailing. (RE: related document(s)228 Notice of
                          deficiency. Schedule A/B due 12/13/2019. Schedule D due 12/13/2019. Schedule E/F due
                          12/13/2019. Schedule G due 12/13/2019. Schedule H due 12/13/2019. Declaration Under
                          Penalty of Perjury for Non-individual Debtors due 12/13/2019. Summary of Assets and
                          Liabilities and Certain Statistical Information due 12/13/2019. Statement of Financial Affairs
   12/12/2019             due 12/13/2019. (Okafor, M.)) No. of Notices: 8. Notice Date 12/12/2019. (Admin.)

                            245 (9 pgs) Certificate of service re: 1) Application of the Official Committee of
                          Unsecured Creditors to Retain and Employ Young Conaway Stargatt & Taylor, LLP as Co-
                          Counsel, Nunc Pro Tunc to November 8, 2019 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)226 Application to employ Young Conaway Stargatt &
                          Taylor, LLP as Attorney (Co-Counsel) Nunc Pro Tunc Filed by Creditor Committee Official
                          Committee of Unsecured Creditors filed by Creditor Committee Official Committee of
   12/13/2019             Unsecured Creditors). (Kass, Albert)

                             246 (10 pgs) Certificate of service re: 1) First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor
                          for the Period from October 16, 2019 Through October 31, 2019 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)235 Application for compensation
                          First Monthly Application for Compensation and Reimbursement of Expenses of Pachulski
                          Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period From October 16, 2019
                          Through October 31, 2019 for Highland Capital Management, L.P., Debtor's Attorney,
                          Period: 10/16/2019 to 10/31/2019, Fee: $383,583.75, Expenses: $9,958.84. Filed by Debtor
                          Highland Capital Management, L.P. Objections due by 1/2/2020. filed by Debtor Highland
   12/13/2019             Capital Management, L.P.). (Kass, Albert)

                             247 (82 pgs; 2 docs) Schedules: Schedules A/B and D-H with Summary of Assets and
                          Liabilities (with Declaration Under Penalty of Perjury for Non-Individual Debtors,). Filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)228 Notice of
   12/13/2019             deficiency). (Attachments: # 1 Global notes regarding schedules) (Hayward, Melissa)

                            248 (42 pgs; 2 docs) Statement of financial affairs for a non-individual . Filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)228 Notice of deficiency).
   12/13/2019             (Attachments: # 1 Global notes regarding SOFA) (Hayward, Melissa)

                            249 (4 pgs) BNC certificate of mailing - meeting of creditors. (RE: related
                          document(s)229 Meeting of creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at
                          Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of service of 341
                          meeting chapter 11 to be filed by 01/9/2020.) No. of Notices: 8. Notice Date 12/13/2019.
   12/13/2019             (Admin.)

                             250 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)234
                          Order granting joint motion to continue hearing on (related document 232) (related
                          documents Hearing held) Status Conference to be held on 12/18/2019 at 09:30 AM. Entered
   12/13/2019             on 12/11/2019.) No. of Notices: 1. Notice Date 12/13/2019. (Admin.)

   12/16/2019                 251 (1 pg) Order granting motion to appear pro hac vice adding Lauren Macksoud for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.125   37/439



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                          Jefferies LLC (related document # 236) Entered on 12/16/2019. (Dugan, S.)

                             252 (1 pg) Order granting motion to appear pro hac vice adding Patrick C. Maxcy for
   12/16/2019             Jefferies LLC (related document # 237) Entered on 12/16/2019. (Dugan, S.)

                             253 (1 pg) Order rescheduling status conference (RE: related document(s)1 Order
                          transferring case filed by Debtor Highland Capital Management, L.P.). Status Conference to
                          be held on 12/18/2019 at 10:30 AM at Dallas Judge Jernigan Ctrm. Entered on 12/16/2019
   12/16/2019             (Dugan, S.)

                             254 (2 pgs) Notice of Appearance and Request for Notice by Jason Patrick Kathman filed
   12/17/2019             by Creditor Patrick Daugherty. (Kathman, Jason)

                            255 (8 pgs) Declaration re: Supplemental Declaration In Support of filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)206
                          Amended Application to employ Sidley Austin LLP as Attorney APPLICATION OF THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328
                          AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY
   12/18/2019             PROCEDURE 2014, FOR AN ORDER APPROVING T). (Hoffman, Juliana)

                              Hearing held on 12/18/2019. (RE: related document(s)1 Status/Scheduling Conference;
                          Order transferring case number 19-12239 from U.S. Bankruptcy Court for the District of
                          Delaware Filed by Highland Capital Management, L.P.) (Appearances: J. Pomerantz and I.
                          Kharasch for Debtor; M. Hayward, local counsel for Debtor; M. Clemente and P. Reid for
                          Unsecured Creditors Committee; M. Platt and T. Mascherin and M. Hankin (each
                          telephonically) for Redeemer Committee; L. Spindler for taxing authorities; A. Chiarello and
                          R. Patel (telephonically) for Acis; L. Lambert for UST; P. Maxcy (telephonically) for Jeffries.
                          Nonevidentiary status conference. Court heard reports regarding continued negotiations
                          between Debtor and UCC regarding a proposed management structure for Debtor and
                          ordinary course protocols. Debtor expects to file a motion for approval of same (if
                          agreements reached) by 12/27/19 for a 1/9/20 hearing. Otherwise, UCC will file a motion for
                          a chapter 11 trustee (which, if filed, will be filed 12/30/19 and set 1/20/20-1/21/20).
                          Scheduling order to be submitted. Also, US Trustee announced intention to move for a
   12/18/2019             Chapter 11 Trustee.) (Edmond, Michael)

                             256 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)251
                          Order granting motion to appear pro hac vice adding Lauren Macksoud for Jefferies LLC
                          (related document 236) Entered on 12/16/2019. (Dugan, S.)) No. of Notices: 1. Notice Date
   12/18/2019             12/18/2019. (Admin.)

                             257 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)252
                          Order granting motion to appear pro hac vice adding Patrick C. Maxcy for Jefferies LLC
                          (related document 237) Entered on 12/16/2019. (Dugan, S.)) No. of Notices: 1. Notice Date
   12/18/2019             12/18/2019. (Admin.)

                            258 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Dechert LLP) filed by Debtor Highland Capital Management, L.P. (RE: related
   12/19/2019             document(s)176 Document). (Demo, Gregory)

   12/19/2019               259 (5 pgs) Support/supplemental document to the Motion of Debtor for Interim and
                          Final Orders Authorizing (A) Continuance of Existing Cash Management System, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver filed by Debtor Highland Capital
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.126   38/439



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                          Management, L.P. (RE: related document(s)7 Motion to maintain bank accounts.). (Hayward,
                          Melissa)

                            260 (4 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (ASW Law Limited) filed by Debtor Highland Capital Management, L.P. (RE: related
   12/19/2019             document(s)176 Document). (Hayward, Melissa)

                            261 (3 pgs) Certificate of service re: Disclosure Declaration of Ordinary Course
                          Professional Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)241 Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Charles Harder) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 Document). filed by Debtor Highland Capital Management, L.P.). (Kass,
   12/19/2019             Albert)

                            262 (115 pgs) Certificate of service re: Notice of Chapter 11 Bankruptcy Case and
                          Meeting of Creditors Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)229 Meeting of creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at
                          Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of service of 341
   12/20/2019             meeting chapter 11 to be filed by 01/9/2020.). (Kass, Albert)

                             263 (8 pgs) Certificate of service re: Supplemental Declaration of Bojan Guzina in
                          Support of Application of the Official Committee of Unsecured Creditors, Pursuant to
                          Sections 328 and 1103 of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure
                          2014, for an Order Approving the Retention and Employment of Sidley Austin LLP as
                          Counsel to the Official Committee of Unsecured Creditors Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)255 Declaration re: Supplemental Declaration
                          In Support of filed by Creditor Committee Official Committee of Unsecured Creditors (RE:
                          related document(s)206 Amended Application to employ Sidley Austin LLP as Attorney
                          APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
                          PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND
                          FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING
   12/20/2019             T). filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                              264 (10 pgs) Certificate of service re: Supplement to the Motion of Debtor for Interim and
                          Final Orders Authorizing (A) Continuance of Existing Cash Management System, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and
                          Investment Requirements, and (D) Granting Related Relief Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)259 Support/supplemental document to the
                          Motion of Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing
                          Cash Management System, (B) Continued Use of the Prime Account, (C) Limited Waiver
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)7 Motion to
                          maintain bank accounts.). filed by Debtor Highland Capital Management, L.P.). (Kass,
   12/20/2019             Albert)

                            265 (4 pgs) Objection to (related document(s): 176 Document)Limited Objection of The
                          Official Committee of Unsecured Creditors to the Retention of Harder LLP as Ordinary
                          Course Professional filed by Creditor Committee Official Committee of Unsecured
   12/22/2019             Creditors. (Hoffman, Juliana)

                             266 (40 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Houlihan Lokey Financial Advisors Inc.) filed by Debtor Highland Capital Management,
   12/23/2019             L.P. (RE: related document(s)176 Document). (Hayward, Melissa)

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   12/23/2019               267 (6 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Rowlett Law PLLC) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 Document). (Hayward, Melissa)

                            268 (10 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (DLA Piper LLP (US)) filed by Debtor Highland Capital Management, L.P. (RE: related
   12/23/2019             document(s)176 Document). (Hayward, Melissa)

                              269 (6 pgs) Agreed scheduling Order (RE: related document(s)1 Order transferring case
   12/23/2019             filed by Debtor Highland Capital Management, L.P.). Entered on 12/23/2019 (Blanco, J.)

                            270 (40 pgs; 2 docs) Application for compensation - First Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          November 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne Sewell
                          LLP, Special Counsel, Period: 10/16/2019 to 11/30/2019, Fee: $176129.00, Expenses:
                          $7836.31. Filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne
   12/23/2019             Sewell LLP Objections due by 1/13/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                            271 (13 pgs) Trustee's Motion to appoint trustee Filed by U.S. Trustee United States
   12/23/2019             Trustee (Lambert, Lisa)

                            272 (5 pgs) Trustee's Objection to Motion to Seal Official Committee's Omnibus
   12/23/2019             Objection and Supporting Exhibits (RE: related document(s)127 Document) (Lambert, Lisa)

                            273 (7 pgs) Motion for leave to Extend Deadline to Object to Motion for Relief of Stay of
                          PensionDanmark (related document(s) 218 Motion for relief from stay) Filed by Debtor
                          Highland Capital Management, L.P., Creditor Committee Official Committee of Unsecured
   12/23/2019             Creditors Objections due by 1/6/2020. (Hoffman, Juliana)

                             274 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Carey Olsen Cayman Limited) filed by Debtor Highland Capital Management, L.P. (RE:
   12/24/2019             related document(s)176 Document). (Hayward, Melissa)

                             275 (30 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Hunton Andrews Kurth LLP) filed by Debtor Highland Capital Management, L.P. (RE:
   12/24/2019             related document(s)176 Document). (Hayward, Melissa)

                            276 (6 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Wilmer Cutler Pickering Hale and Dorr LLP) filed by Debtor Highland Capital
   12/24/2019             Management, L.P. (RE: related document(s)176 Document). (Hayward, Melissa)

                            277 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)269
                          Agreed scheduling Order (RE: related document(s)1 Order transferring case filed by Debtor
                          Highland Capital Management, L.P.). Entered on 12/23/2019 (Blanco, J.)) No. of Notices: 1.
   12/25/2019             Notice Date 12/25/2019. (Admin.)

                            278 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Kim
                          & Chang) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/26/2019             Document). (Hayward, Melissa)


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   12/26/2019                279 (5 pgs) Certificate of service re: 1) Disclosure Declaration of Ordinary Course
                          Professional; 2) Disclosure Declaration of Ordinary Course Professional; 3) Declaration of
                          Marc D. Katz Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)266 Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Houlihan Lokey Financial Advisors Inc.) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
                          Management, L.P., 267 Declaration re: Disclosure Declaration of Ordinary Course
                          Professional (Rowlett Law PLLC) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 Document). filed by Debtor Highland Capital Management, L.P., 268
                          Declaration re: Disclosure Declaration of Ordinary Course Professional (DLA Piper LLP
                          (US)) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
                          Document). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             280 (13 pgs) Motion for protective orderJoint Motion for Entry of an Order Approving
                          the Agreed Protective Order Filed by Debtor Highland Capital Management, L.P., Creditor
   12/27/2019             Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            281 (100 pgs; 4 docs) Motion to compromise controversy with Official Committee of
                          Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
   12/27/2019             Exhibit A # 2 Exhibit B # 3 Proposed Order) (Hayward, Melissa)

                             282 (10 pgs; 2 docs) Support/supplemental document to the Motion of the Debtor
                          Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain Development Specialists,
                          Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory
                          and Restructuring Related Services, Nunc Pro Tunc as of the Petition Date filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)74 Application to employ
                          Development Specialists, Inc as Financial Advisor). (Attachments: # 1 Exhibit A) (Hayward,
   12/27/2019             Melissa)

                             283 (5 pgs; 2 docs) Motion for expedited hearing(related documents 281 Motion to
                          compromise controversy) Filed by Debtor Highland Capital Management, L.P. (Attachments:
   12/27/2019             # 1 Proposed Order) (Hayward, Melissa)

                             284 (61 pgs; 2 docs) Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C -
                          Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to
                          be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, (Attachments: # 1
   12/28/2019             Exhibit) (Hayward, Melissa)

   12/28/2019                285 (28 pgs; 2 docs) Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an
                          Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under
                          Employee Bonus Plans and Granting Related Relief Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019.
                          (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
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                          OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 177, (Attachments: # 1 Exhibit) (Hayward, Melissa)

                             286 (123 pgs) Application for compensation Second Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from November 1, 2019
                          through November 30, 2019 for Highland Capital Management, L.P., Debtor's Attorney,
                          Period: 11/1/2019 to 11/30/2019, Fee: $798,767.50, Expenses: $26,317.71. Filed by Debtor
   12/30/2019             Highland Capital Management, L.P. Objections due by 1/21/2020. (Pomerantz, Jeffrey)

                             287 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)281 Motion to compromise controversy with Official Committee of
                          Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A # 2 Exhibit B # 3 Proposed Order)). Hearing to be held on 1/9/2020 at 09:30 AM
   12/30/2019             Dallas Judge Jernigan Ctrm for 281, (Hayward, Melissa)

                            288 (3 pgs) Certificate No Objection to Retention of Sidley Austin LLP filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)206
                          Amended Application to employ Sidley Austin LLP as Attorney APPLICATION OF THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328
                          AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY
   12/31/2019             PROCEDURE 2014, FOR AN ORDER APPROVING T). (Hoffman, Juliana)

                            289 (9 pgs) Debtor-in-possession monthly operating report for filing period November 1,
                          2019 to November 30, 2019 filed by Debtor Highland Capital Management, L.P.. (Hayward,
   12/31/2019             Melissa)

                            290 (3 pgs) Certificate No Objection to Retention of FTI Consulting, Inc. filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related document(s)205
                          Application to employ FTI CONSULTING, INC. as Financial Advisor APPLICATION
                          PURSUANT TO FED. R. BANKR. P. 2014(a) FOR ORDER UNDER SECTION 1103 OF
                          THE BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND RETENTION OF
   12/31/2019             FTI CONSULTING, INC. AS FINANCIAL ADVIS). (Hoffman, Juliana)

                             291 (2 pgs) Order granting motion for expedited hearing (Related Doc# 283)(document
                          set for hearing: 281 Motion to compromise controversy) Hearing to be held on 1/9/2020 at
   12/31/2019             09:30 AM Dallas Judge Jernigan Ctrm for 281, Entered on 12/31/2019. (Whitaker, Sheniqua)

                             292 (5 pgs) Certificate of service re: 1) Disclosure Declaration of Ordinary Course
                          Professional; 2) Disclosure Declaration Alexander G. McGeoch in Support of Hunton
                          Andrews Kurth LLP as Ordinary Course Professional; 3) Disclosure Declaration of
                          Ordinary Course Professional Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)274 Declaration re: Disclosure Declaration of Ordinary Course
                          Professional (Carey Olsen Cayman Limited) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
                          Management, L.P., 275 Declaration re: Disclosure Declaration of Ordinary Course
                          Professional (Hunton Andrews Kurth LLP) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
                          Management, L.P., 276 Declaration re: Disclosure Declaration of Ordinary Course
                          Professional (Wilmer Cutler Pickering Hale and Dorr LLP) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland
   01/02/2020             Capital Management, L.P.). (Kass, Albert)


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   01/02/2020               293 (5 pgs) Certificate of service re: Disclosure Declaration of Ordinary Course
                          Professional Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)278 Declaration re: Disclosure Declaration of Ordinary Course Professional
                          (Kim & Chang) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 Document). filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                            294 (3 pgs) Certificate Certificate of No Objection filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)226 Application to employ
                          Young Conaway Stargatt & Taylor, LLP as Attorney (Co-Counsel) Nunc Pro Tunc).
   01/02/2020             (Hoffman, Juliana)

                             295 (2 pgs) Notice of Appearance and Request for Notice by Edwin Paul Keiffer filed by
   01/02/2020             Interested Party Hunter Mountain Trust. (Keiffer, Edwin)

                              296 (14 pgs) Certificate of service re: Documents Served on December 27, 2019 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)280 Motion for
                          protective orderJoint Motion for Entry of an Order Approving the Agreed Protective Order
                          Filed by Debtor Highland Capital Management, L.P., Creditor Committee Official
                          Committee of Unsecured Creditors filed by Debtor Highland Capital Management, L.P.,
                          Creditor Committee Official Committee of Unsecured Creditors, 281 Motion to compromise
                          controversy with Official Committee of Unsecured Creditors. Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order)
                          filed by Debtor Highland Capital Management, L.P., 282 Support/supplemental document to
                          the Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel,
                          and Financial Advisory and Restructuring Related Services, Nunc Pro Tunc as of the Petition
                          Date filed by Debtor Highland Capital Management, L.P. (RE: related document(s)74
                          Application to employ Development Specialists, Inc as Financial Advisor). (Attachments: # 1
                          Exhibit A) filed by Debtor Highland Capital Management, L.P., 283 Motion for expedited
                          hearing(related documents 281 Motion to compromise controversy) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Proposed Order) filed by Debtor
   01/02/2020             Highland Capital Management, L.P.). (Kass, Albert)

                            297 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)291
                          Order granting motion for expedited hearing (Related Doc283)(document set for hearing:
                          281 Motion to compromise controversy) Hearing to be held on 1/9/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 281, Entered on 12/31/2019.) No. of Notices: 2. Notice Date
   01/02/2020             01/02/2020. (Admin.)

   01/03/2020                 298 (2 pgs) Order Regarding Telephonic Appearances Entered on 1/3/2020 (Okafor, M.)

                             299 (4 pgs) Motion to extend time to (RE: related document(s)273 Motion for leave)
                          Filed by Creditor Committee Official Committee of Unsecured Creditors Objections due by
   01/03/2020             1/8/2020. (Hoffman, Juliana)

                            300 (1 pg) Order granting motion to appear pro hac vice adding Dennis M. Twomey for
                          Official Committee of Unsecured Creditors (related document # 222) Entered on 1/3/2020.
   01/03/2020             (Okafor, M.)

   01/03/2020               301 (2 pgs) Order granting the joint motion to extend time to object to the motion of
                          PensionDanmark's motion for relief from the automatic stay (related document # 273). The
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                          Committee and the Debtor shall have until January 6, 2020 to object to PensionDanmarks
                          Stay Relief Motion Entered on 1/3/2020. (Okafor, M.)

                             302 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)298
                          Order Regarding Telephonic Appearances Entered on 1/3/2020 (Okafor, M.)) No. of Notices:
   01/05/2020             45. Notice Date 01/05/2020. (Admin.)

                            303 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)300
                          Order granting motion to appear pro hac vice adding Dennis M. Twomey for Official
                          Committee of Unsecured Creditors (related document 222) Entered on 1/3/2020. (Okafor,
   01/05/2020             M.)) No. of Notices: 1. Notice Date 01/05/2020. (Admin.)

                             304 (2 pgs) Order granting 299 joint motion to extend time to object to the motion of
                          PensionDanmark's motion for relief from the automatic stay (Re: related document(s) 299
                          Motion to extend time to (RE: related document(s)273 Motion for leave)) Entered on
   01/06/2020             1/6/2020. (Okafor, M.)

                             305 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C -
                          Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to
   01/06/2020             be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, (Annable, Zachery)

                             306 (4 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an
                          Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under
                          Employee Bonus Plans and Granting Related Relief Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019.
                          (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas Judge
   01/06/2020             Jernigan Ctrm for 177, (Annable, Zachery)

                             307 (10 pgs) Trustee's Objection to Joint Motion for Entry of an Order Approving the
                          Agreed Protective Order (RE: related document(s)280 Motion for protective order) (Lambert,
   01/06/2020             Lisa)

                             308 (4 pgs) Motion to appear pro hac vice for Asif Attarwala. Fee Amount $100 Filed by
   01/06/2020             Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             309 (4 pgs) Motion to appear pro hac vice for Kimberly A. Posin. Fee Amount $100 Filed
   01/06/2020             by Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             310 (4 pgs) Motion to appear pro hac vice for Andrew Clubok. Fee Amount $100 Filed
   01/06/2020             by Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

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   01/06/2020                311 (3 pgs) Motion to appear pro hac vice for Kuan Huang. Fee Amount $100 Filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2020             ( 100.00). Receipt number 27322441, amount $ 100.00 (re: Doc# 308). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2020             ( 100.00). Receipt number 27322441, amount $ 100.00 (re: Doc# 309). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2020             ( 100.00). Receipt number 27322441, amount $ 100.00 (re: Doc# 310). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2020             ( 100.00). Receipt number 27322441, amount $ 100.00 (re: Doc# 311). (U.S. Treasury)

                             312 (25 pgs; 2 docs) Response opposed to (related document(s): 281 Motion to
                          compromise controversy with Official Committee of Unsecured Creditors. filed by Debtor
                          Highland Capital Management, L.P.) filed by Interested Party Jefferies LLC. (Attachments: #
   01/06/2020             1 Exhibit A) (Doherty, Casey)

                            313 (6 pgs) Trustee's Objection to Motion to Approve Joint Agreement (RE: related
   01/06/2020             document(s)281 Motion to compromise controversy) (Lambert, Lisa)

                            314 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   01/06/2020             01/9/2020.). (Kass, Albert)

   01/06/2020                 315 (6 pgs) Certificate of service re: 1) Notice of Hearing on Debtors Application
                          Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code for Authority to Employ
                          Mercer (US) Inc. as Compensation Consultant; to held on January 9, 2020 at 9:30 a.m.
                          (CT); and 2) Notice of Hearing on Motion of the Debtor for Entry of an Order Authorizing
                          the Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans
                          and Granting Related Relief; to be held on January 9, 2020 at 9:30 a.m. (CT) Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)284 Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)180
                          Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation Consultant Filed
                          by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at
                          US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3
                          Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee
                          Incentives # 5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM
                          Dallas Judge Jernigan Ctrm for 180, (Attachments: # 1 Exhibit) filed by Debtor Highland
                          Capital Management, L.P., 285 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)177 Motion to Authorize Motion of the Debtor
                          for Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations
                          Under Employee Bonus Plans and Granting Related Relief Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.133   45/439



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                          824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY
                          FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM
                          Dallas Judge Jernigan Ctrm for 177, (Attachments: # 1 Exhibit) filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                             316 (12 pgs) Certificate of service re: 1) Second Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from November 1, 2019 Through November 30, 2019; 2) Notice of
                          Hearing re: Motion of the Debtor to Approve Settlement with Official Committee of
                          Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in
                          the Ordinary Course; to be Held on January 9, 2020 at 9:30 a.m. (Central Time) Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)286 Application for
                          compensation Second Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from November 1, 2019 through November 30, 2019 for Highland
                          Capital Management, L.P., Debtor's Attorney, Period: 11/1/2019 to 11/30/2019, Fee:
                          $798,767.50, Expenses: $26,317.71. Filed by Debtor Highland Capital Management, L.P.
                          Objections due by 1/21/2020. filed by Debtor Highland Capital Management, L.P., 287
                          Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)281 Motion to compromise controversy with Official Committee of Unsecured
                          Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A
                          # 2 Exhibit B # 3 Proposed Order)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 281, filed by Debtor Highland Capital Management, L.P.). (Kass,
   01/06/2020             Albert)

                            317 (1 pg) Order granting motion to appear pro hac vice adding Asif Attarwala for UBS
                          AG London Branch and UBS Securities LLC (related document # 308) Entered on 1/7/2020.
   01/07/2020             (Okafor, M.)

                             318 (1 pg) Order granting motion to appear pro hac vice adding Kimberly A. Posin for
                          UBS AG London Branch and UBS Securities LLC (related document # 309) Entered on
   01/07/2020             1/7/2020. (Okafor, M.)

                            319 (1 pg) Order granting motion to appear pro hac vice adding Andrew Clubok for UBS
                          AG London Branch and UBS Securities LLC (related document 310) Entered on 1/7/2020.
   01/07/2020             (Okafor, M.) MODIFIED text on 1/7/2020 (Okafor, M.).

                            320 (1 pg) Order granting motion to appear pro hac vice adding Kuan Huang for UBS AG
                          London Branch and UBS Securities LLC (related document # 311) Entered on 1/7/2020.
   01/07/2020             (Okafor, M.)

                            321 (4 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)281 Motion to compromise controversy with Official Committee of
   01/07/2020             Unsecured Creditors. ). (Annable, Zachery)

                             322 (1 pg) Certificate of service re: Certificate of Service filed by Interested Party
   01/07/2020             Jefferies LLC (RE: related document(s)312 Response). (Doherty, Casey)

                              323 (5 pgs) Notice of Appearance and Request for Notice (Amended) by Joseph E. Bain
   01/07/2020             filed by Creditor Issuer Group. (Bain, Joseph)


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   01/07/2020                 324 (8 pgs) ***WITHDRAWN per docket # 467** Objection to (related document(s):
                          281 Motion to compromise controversy with Official Committee of Unsecured Creditors.
                          filed by Debtor Highland Capital Management, L.P.)Limited Objection to Motion of the
                          Debtor for Approval of Settlement With the Official Committee of Unsecured Creditors
                          Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course
                          filed by Creditor Issuer Group. (Bain, Joseph) Modified on 2/24/2020 (Ecker, C.).

                             325 (3 pgs) Motion to appear pro hac vice for James T. Bentley. Fee Amount $100 Filed
   01/08/2020             by Creditor Issuer Group (Anderson, Amy)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/08/2020             ( 100.00). Receipt number 27331269, amount $ 100.00 (re: Doc# 325). (U.S. Treasury)

                             326 (4 pgs) Notice of Compliance with Local Bankruptcy Rule 2090-4 filed by Creditor
   01/08/2020             Issuer Group. (Anderson, Amy)

                             327 (3 pgs) Declaration re: (Declaration of Bradley D. Sharp in Support of the Motion of
                          the Debtor for Approval of Settlement with the Official Committee of Unsecured Creditors
                          Regarding Governance of the Debtor and Procedures for Operations in the Ordinary
                          Course) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)281
                          Motion to compromise controversy with Official Committee of Unsecured Creditors. ).
   01/08/2020             (Annable, Zachery)

                             328 (3 pgs) Agreed Notice of hearingwith PensionDanmark and Highland Capital
                          Management, L.P. filed by Creditor Committee Official Committee of Unsecured Creditors
                          (RE: related document(s)218 Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM
                          THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT
                          Fee amount $181, Filed by Creditor PensionDanmark Pensionsforsikringsaktieselskab
                          Objections due by 12/23/2019. (Attachments: # 1 Declaration # 2 Proposed Order)). Hearing
   01/08/2020             to be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 218, (Hoffman, Juliana)

                            329 (13 pgs; 2 docs) Response unopposed to (related document(s): 313 Objection) filed
                          by Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Hayward,
   01/08/2020             Melissa) Modified to match docket text to PDF on 1/9/2020 (Ecker, C.).

                            330 (5 pgs) Response unopposed to (related document(s): 313 Objection) filed by
                          Creditor Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)
   01/08/2020             Modified text to match PDF on 1/9/2020 (Ecker, C.).

                             331 (6 pgs) Certificate of service re: Order Regarding Request for Expedited Hearing; to
                          be Held on January 9, 2020 at 9:30 a.m. (Prevailing Central Time) Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)291 Order granting motion for
                          expedited hearing (Related Doc283)(document set for hearing: 281 Motion to compromise
                          controversy) Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for
   01/08/2020             281, Entered on 12/31/2019.). (Kass, Albert)

   01/08/2020                332 (8 pgs) Certificate of service re: 1) Amended Notice of Hearing on Debtor's
                          Application Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code for Authority to
                          Employ Mercer (US) Inc. as Compensation Consultant; to be Held on January 21, 2020 at
                          9:30 a.m. (Central Time); 2) Amended Notice of Hearing on Motion of the Debtor for Entry
                          of an Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.135   47/439



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                          Employee Bonus Plans and Granting Related Relief; to be Held on January 21, 2020 at 9:30
                          a.m. (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)305 Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C -
                          Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to
                          be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, filed by Debtor
                          Highland Capital Management, L.P., 306 Amended Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)177 Motion to Authorize
                          Motion of the Debtor for Entry of an Order Authorizing the Debtor to Pay and Honor
                          Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice)
                          [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on
                          1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 177, filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                             333 (1 pg) Order granting motion to appear pro hac vice adding James T. Bentley for
   01/09/2020             Issuer Group (related document # 325) Entered on 1/9/2020. (Okafor, M.)

                             334 (3 pgs) Order granting application to employ Sidley Austin LLP for Official
                          Committee of Unsecured Creditors as Attorney (related document # 206) Entered on
   01/09/2020             1/9/2020. (Okafor, M.)

                            335 (1 pg) Court admitted exhibits date of hearing 01/09/2020. DEBTOR EXHIBIT 1
                          ADMITTED. (RE: related document(s)281 Motion to compromise controversy with Official
                          Committee of Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P.
   01/09/2020             (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order)) (Jeng, Hawaii)

                            336 (4 pgs) Order granting application to employ FTI Consulting, Inc. as Financial
                          Advisor to The Official Committee of Unsecured Creditors (related document # 205) Entered
   01/09/2020             on 1/9/2020. (Okafor, M.)

                             337 (3 pgs) Order granting application to employ Young Conway Stargatt & Taylor, LLP
                          for Official Committee of Unsecured Creditors as Attorney (Co-Counsel) (related document
                          226) Entered on 1/9/2020. (Okafor, M.) Modified to correct Firm name on 1/13/2020 (Ecker,
   01/09/2020             C.).

                            338 (8 pgs) Stipulation by Highland Capital Management, L.P. and Official Committee of
                          Unsecured Creditors, Strand Advisors, Inc., and James Dondero. filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)281 Motion to compromise controversy
   01/09/2020             with Official Committee of Unsecured Creditors. ). (Hayward, Melissa)

   01/09/2020               339 (5 pgs) Order Approve Settlement with Official Committee of Unsecured Creditors
                          Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course (

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                          (related document # 281) Entered on 1/9/2020. (Okafor, M.)

                            340 (20 pgs; 3 docs) Application to employ Hayward & Associates PLLC as Attorney
                          (Debtor's Application Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code and
                          Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of Hayward
                          & Associates PLLC as Local Counsel) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Declaration of Melissa S. Hayward # 2 Proposed Order)
   01/09/2020             (Annable, Zachery)

                            341 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)317
                          Order granting motion to appear pro hac vice adding Asif Attarwala for UBS AG London
                          Branch and UBS Securities LLC (related document 308) Entered on 1/7/2020. (Okafor, M.))
   01/09/2020             No. of Notices: 1. Notice Date 01/09/2020. (Admin.)

                               Hearing held on 1/9/2020. (RE: related document(s)281 Motion to compromise
                          controversy with Official Committee of Unsecured Creditors, filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: J. Pomerantz, I. Kharasch, G. Demo, M. Hayward,
                          and Z. Annabel for Debtor; M. Clemente, P. Reid and D. Tumi for Unsecured Creditors
                          Committee; A. Chiarello and R. Patel for Asic; L. Lambert for UST; J. Bentley and J. Bain
                          (both telephonically) for CLO and CDO Issuer Group; T. Mascherin and M. Hankin
                          (telephonically) for Redeemer Committee; P. Maxcy (telephonically) for Jeffries. Evidentiary
                          hearing. Motion granted. Counsel to upload appropriate form of order.) (Edmond, Michael)
   01/09/2020             (Entered: 01/10/2020)

                             342 (13 pgs) Order granting application to employ Development Specialists, Inc. to
                          Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date
   01/10/2020             (related document # 74) Entered on 1/10/2020. (Okafor, M.)

                            343 (70 pgs) Application for compensation First Monthly Application for Compensation
                          and for Reimbursement of Expenses of Sidley Austin LLP for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 10/29/2019 to 11/30/2019, Fee:
                          $795,054.96, Expenses: $10,247.88. Filed by Creditor Committee Official Committee of
   01/10/2020             Unsecured Creditors Objections due by 1/31/2020. (Hoffman, Juliana)

   01/10/2020                344 (9 pgs) Certificate of service re: Documents Served on January 8, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)327 Declaration re:
                          (Declaration of Bradley D. Sharp in Support of the Motion of the Debtor for Approval of
                          Settlement with the Official Committee of Unsecured Creditors Regarding Governance of the
                          Debtor and Procedures for Operations in the Ordinary Course) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)281 Motion to compromise controversy
                          with Official Committee of Unsecured Creditors. ). filed by Debtor Highland Capital
                          Management, L.P., 328 Agreed Notice of hearingwith PensionDanmark and Highland
                          Capital Management, L.P. filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)218 Motion for relief from stay MOTION OF
                          PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER
                          GRANTING RELIEF FROM THE AUTOMATIC STAY TO TERMINATE INVESTMENT
                          MANAGEMENT AGREEMENT Fee amount $181, Filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab Objections due by 12/23/2019. (Attachments: # 1
                          Declaration # 2 Proposed Order)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 218, filed by Creditor Committee Official Committee of Unsecured
                          Creditors, 329 Response unopposed to (related document(s): 313 Objection) filed by Debtor
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Hayward, Melissa)
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                          Modified to match docket text to PDF on 1/9/2020 (Ecker, C.). filed by Debtor Highland
                          Capital Management, L.P., 330 Response unopposed to (related document(s): 313 Objection)
                          filed by Creditor Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)
                          Modified text to match PDF on 1/9/2020 (Ecker, C.). filed by Creditor Committee Official
                          Committee of Unsecured Creditors). (Kass, Albert)

                             345 (9 pgs) Certificate of service re: Documents Served on January 9, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)334 Order granting
                          application to employ Sidley Austin LLP for Official Committee of Unsecured Creditors as
                          Attorney (related document 206) Entered on 1/9/2020. (Okafor, M.), 336 Order granting
                          application to employ FTI Consulting, Inc. as Financial Advisor to The Official Committee
                          of Unsecured Creditors (related document 205) Entered on 1/9/2020. (Okafor, M.), 337
                          Order granting application to employ Conway Stargatt & Taylor, LLP for Official Committee
                          of Unsecured Creditors as Attorney (Co-Counsel) (related document 226) Entered on
                          1/9/2020. (Okafor, M.), 338 Stipulation by Highland Capital Management, L.P. and Official
                          Committee of Unsecured Creditors, Strand Advisors, Inc., and James Dondero. filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)281 Motion to
                          compromise controversy with Official Committee of Unsecured Creditors. ). filed by Debtor
                          Highland Capital Management, L.P., 340 Application to employ Hayward & Associates
                          PLLC as Attorney (Debtor's Application Pursuant to Sections 327(a) and 328(a) of the
                          Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the
                          Employment of Hayward & Associates PLLC as Local Counsel) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Declaration of Melissa S. Hayward #
   01/10/2020             2 Proposed Order) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            346 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)319
                          Order granting motion to appear pro hac vice adding Andrew Clubok for UBS AG London
                          Branch and UBS Securities LLC (related document 310) Entered on 1/7/2020. (Okafor, M.)
                          MODIFIED text on 1/7/2020 (Okafor, M.).) No. of Notices: 1. Notice Date 01/10/2020.
   01/10/2020             (Admin.)

                            347 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)320
                          Order granting motion to appear pro hac vice adding Kuan Huang for UBS AG London
                          Branch and UBS Securities LLC (related document 311) Entered on 1/7/2020. (Okafor, M.))
   01/10/2020             No. of Notices: 1. Notice Date 01/10/2020. (Admin.)

                             348 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)333
                          Order granting motion to appear pro hac vice adding James T. Bentley for Issuer Group
                          (related document 325) Entered on 1/9/2020. (Okafor, M.)) No. of Notices: 1. Notice Date
   01/11/2020             01/11/2020. (Admin.)

                            349 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)342
                          Order granting application to employ Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring-
                          Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date (related document
                          74) Entered on 1/10/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 01/12/2020.
   01/12/2020             (Admin.)

   01/13/2020               350 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims

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                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
                          01/9/2020.). (Kass, Albert)

                            351 (11 pgs; 2 docs) Motion to extend time to (Debtor's Motion for Entry of an Order
                          Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure) Filed by Debtor Highland Capital
                          Management, L.P. Objections due by 2/6/2020. (Attachments: # 1 Exhibit A--Proposed
   01/13/2020             Order) (Annable, Zachery)

                             352 (1 pg) DOCKET IN ERROR: Request for transcript regarding a hearing held on
                          1/9/2020. The requested turn-around time is daily. (Edmond, Michael) Modified on
                          1/21/2020 REQUEST WAS CANCELLED THE SAME DATE AS REQUESTED OF
   01/13/2020             1/13/2020. (Edmond, Michael).

                             353 (7 pgs) Objection to (related document(s): 270 Application for compensation - First
                          Monthly Application for Compensation and Reimbursement of Expenses of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from October
                          16, 2019 through November 30, 2019) filed by Acis Capital Management GP, LLC, Acis
   01/13/2020             Capital Management, L.P.. (Patel, Rakhee)

                            354 (65 pgs; 2 docs) Notice (Notice of Final Term Sheet) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)281 Motion to compromise controversy
                          with Official Committee of Unsecured Creditors. Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order)).
   01/14/2020             (Attachments: # 1 Exhibit A--Final Term Sheet) (Annable, Zachery)

                             355 (5 pgs) Certificate of service re: Summary and First Monthly Application of Sidley
                          Austin LLP for Allowance of Compensation and Reimbursement of Expenses for the Period
                          from October 29, 2019 to and Including November 30, 2019 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)343 Application for compensation
                          First Monthly Application for Compensation and for Reimbursement of Expenses of Sidley
                          Austin LLP for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          10/29/2019 to 11/30/2019, Fee: $795,054.96, Expenses: $10,247.88. Filed by Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 1/31/2020. filed by
   01/14/2020             Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             356 (10 pgs) Certificate of service re: Debtor's Motion for Entry of an Order Extending
                          the Period Within Which it May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule
                          9027 of the Federal Rules of Bankruptcy Procedure Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)351 Motion to extend time to (Debtor's Motion for
                          Entry of an Order Extending the Period Within Which It May Remove Actions Pursuant to
                          28 U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure) Filed by
                          Debtor Highland Capital Management, L.P. Objections due by 2/6/2020. (Attachments: # 1
                          Exhibit A--Proposed Order) filed by Debtor Highland Capital Management, L.P.). (Kass,
   01/14/2020             Albert)

                            357 (3 pgs) Witness and Exhibit List in Connection with Motion to Appoint a Chapter 11
                          Trustee filed by U.S. Trustee United States Trustee (RE: related document(s)271 Trustee's
   01/14/2020             Motion to appoint trustee). (Lambert, Lisa)

   01/14/2020                358 (3 pgs) Witness and Exhibit List in connection with Motion to Seal and Joint Motion
                          for an Agreed Protective Order filed by U.S. Trustee United States Trustee (RE: related
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                          document(s)10 Motion to file document under seal., 280 Motion for protective orderJoint
                          Motion for Entry of an Order Approving the Agreed Protective Order). (Lambert, Lisa)

                             359 (4 pgs) Agreed Motion to continue hearing on (related documents 218 Motion for
                          relief from stay) Filed by Creditor Committee Official Committee of Unsecured Creditors
   01/15/2020             (Hoffman, Juliana)

                            360 (2 pgs) Withdrawal of Precautionary Motion of the Debtor for Order Approving
                          Protocols for the Debtor to Implement Certain Transactions in the Ordinary Course of
                          Business filed by Debtor Highland Capital Management, L.P. (RE: related document(s)76
   01/15/2020             Motion by Highland Capital Management, L.P..). (Hayward, Melissa)

                             361 (4 pgs) Order granting motion to continue hearing on (related document # 359)
                          (related documents Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM
                          THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT
                          Fee amount $181,). It is hereby ORDERED that a hearing on the Stay Relief Motion shall be
                          continued to a later date provided by the Court and mutually acceptable to the Parties.
   01/15/2020             Entered on 1/15/2020. (Okafor, M.)

                             362 (13 pgs) Response opposed to (related document(s): 271 Trustee's Motion to appoint
                          trustee filed by U.S. Trustee United States Trustee) filed by Debtor Highland Capital
   01/15/2020             Management, L.P.. (Annable, Zachery)

   01/15/2020                363 (4 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)7 Motion to Maintain Bank Accounts /Motion of the Debtor for Interim
                          and Final Orders Authorizing (A) Continuance of Existing Cash Management System and
                          Brokerage Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of
                          Section 345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed
                          By Highland Capital Management, L.P. (Attachments: 1 Exhibit A - Interim Order) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #5 ON 10/16/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 68
                          Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP as Special Texas
                          Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit
                          B # 4 Exhibit C - Proposed Order # 5 2016 Statement # 6 Declaration Frank Waterhouse # 7
                          Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #69 ON
                          10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.), 69 Application/Motion to Employ/Retain Lynn Pinker Cox & Hurst LLP as
                          Special Texas Litigation Counsel Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B - Proposed Order # 4 2016 Statement
                          # 5 Declaration Frank Waterhouse # 6 Certificate of Service) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 177 Motion to Authorize
                          Motion of the Debtor for Entry of an Order Authorizing the Debtor to Pay and Honor
                          Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice)
                          [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.140   52/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 180 Application/Motion to
                          Employ/Retain Mercer (US) Inc. as Compensation Consultant Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court,
                          824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B -
                          Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives
                          # 5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.), 259 Support/supplemental document to the Motion of
                          Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing Cash
                          Management System, (B) Continued Use of the Prime Account, (C) Limited Waiver filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)7 Motion to maintain
                          bank accounts.)., 271 Trustee's Motion to appoint trustee Filed by U.S. Trustee United States
                          Trustee, 280 Motion for protective orderJoint Motion for Entry of an Order Approving the
                          Agreed Protective Order Filed by Debtor Highland Capital Management, L.P., Creditor
                          Committee Official Committee of Unsecured Creditors). Hearing to be held on 1/21/2020 at
                          09:30 AM Dallas Judge Jernigan Ctrm for 7 and for 68 and for 177 and for 259 and for 280
                          and for 271 and for 180 and for 69, (Annable, Zachery)

                              364 (4 pgs) Objection to (related document(s): 271 Trustee's Motion to appoint trustee
                          filed by U.S. Trustee United States Trustee) filed by Creditor Committee Official Committee
   01/15/2020             of Unsecured Creditors. (Hoffman, Juliana)

                              365 (5 pgs) Certificate of service re: Objection to First Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel for the Period From October 16, 2019 Through November 30, 2019
                          filed by Acis Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related
                          document(s)270 Application for compensation - First Monthly Application for Compensation
                          and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through November 30, 2019).
   01/16/2020             (Chiarello, Annmarie)

                             366 (4 pgs) Amended Witness and Exhibit List in Connection with Motion to Appoint a
                          Chapter 11 Trustee filed by U.S. Trustee United States Trustee (RE: related document(s)357
   01/16/2020             List (witness/exhibit/generic)). (Lambert, Lisa)

                            367 (5 pgs) Witness and Exhibit List filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P. (RE: related document(s)68 Application to employ Foley Gardere,
                          Foley & Lardner LLP as Special Counsel, 69 Application to employ Lynn Pinker Cox &
   01/16/2020             Hurst LLP as Special Counsel). (Chiarello, Annmarie)

                            368 (11 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21,
                          2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P..
   01/16/2020             (Annable, Zachery)

                            369 (47 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc for the Period from October 16, 2019, Through November 30, 2019) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
   01/17/2020             (Okafor, M.)). (Attachments: # 1 Exhibit A--Staffing Report) (Annable, Zachery)

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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   01/17/2020                370 (9 pgs; 2 docs) Joint Motion to continue hearing on (related documents 68
                          Application to employ, 69 Application to employ)(Joint Motion for Continuance of Hearing
                          on (i) Debtor's Application for an Order Authorizing the Employment of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel, Nunc Pro Tunc to the Petition Date, and (ii)
                          Debtor's Application for an Order Authorizing the Retention and Employment of Lynn Pinker
                          Cox & Hurst LLP as Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order)
                          (Annable, Zachery)

                             371 (2 pgs) Order granting joint motion to continue hearing on (related document # 370)
                          (related documents Application to employ Foley Gardere, Foley & Lardner LLP as Special
                          Counsel, Application to employ Lynn Pinker Cox & Hurst LLP as Special Counsel).
                          ORDERED that the hearing on the Applications currently scheduled for January 21, 2020 at
                          9:30 a.m., will be continued to a new hearing date to be determined by the Parties; and it is
   01/17/2020             further Entered on 1/17/2020. (Okafor, M.)

                             372 (3 pgs) Witness and Exhibit List (Debtor's Witness and Exhibit List in Connection
                          with Its Opposition to Motion to Appoint a Chapter 11 Trustee) filed by Debtor Highland
   01/17/2020             Capital Management, L.P. (RE: related document(s)362 Response). (Annable, Zachery)

                            373 (12 pgs) Amended Notice (First Amended Notice of Agenda of Matters Scheduled for
                          Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)368 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
   01/19/2020             Highland Capital Management, L.P..). (Annable, Zachery)

                              374 (13 pgs) Amended Notice (Second Amended Notice of Agenda of Matters Scheduled
                          for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)368 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P.., 373 Amended Notice (First Amended Notice of Agenda
                          of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)368 Notice (Notice of
                          Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time))
   01/20/2020             filed by Debtor Highland Capital Management, L.P..).). (Annable, Zachery)

                            375 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   01/21/2020             01/9/2020.). (Kass, Albert)

                              Hearing held on 1/21/2020. (RE: related document(s)271 Trustee's Motion to appoint
                          trustee filed by U.S. Trustee United States Trustee) (Appearances: J. Pomerantz, J. Morris,
                          M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for
                          Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and
                          M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A.
                          Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers.
                          Evidentiary hearing. Motion denied. Debtors counsel should upload a form of order
   01/21/2020             consistent with the courts ruling.) (Edmond, Michael)


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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   01/21/2020                 Hearing held on 1/21/2020. (RE: related document(s)7 Motion to Maintain Bank
                          Accounts /Motion of the Debtor for Interim and Final Orders Authorizing (A) Continuance
                          of Existing Cash Management System and Brokerage Relationships, (B) Continued Use of
                          the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment
                          Requirements, and (D) Granting Related Relief Filed By Highland Capital Management, L.P.
                          (Attachments: 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #5 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M.
                          Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official
                          Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M.
                          Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala
                          for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary
                          hearing. Motion granted on a final basis. Debtors counsel should upload order.) (Edmond,
                          Michael)

                             376 (8 pgs) Certificate of service re: Notice of Final Term Sheet Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)354 Notice (Notice of Final Term
                          Sheet) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)281
                          Motion to compromise controversy with Official Committee of Unsecured Creditors. Filed
                          by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Proposed Order)). (Attachments: # 1 Exhibit A--Final Term Sheet) filed by Debtor Highland
   01/21/2020             Capital Management, L.P.). (Kass, Albert)

                              Hearing held on 1/21/2020. (RE: related document(s)177 Motion to Authorize Motion of
                          the Debtor for Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course
                          Obligations Under Employee Bonus Plans and Granting Related Relief Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy
                          Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY
                          FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M.
                          Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for
                          Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and
                          M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A.
                          Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers.
                          Nonevidentiary hearing. Motion, as narrowed, granted. Debtors counsel should upload
   01/21/2020             order.) (Edmond, Michael)

                              Hearing held on 1/21/2020. (RE: related document(s)180 Application/Motion to
                          Employ/Retain Mercer (US) Inc. as Compensation Consultant Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court,
                          824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B -
                          Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives
                          # 5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M.
                          Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official
                          Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M.
                          Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala
                          for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary
   01/21/2020             hearing. Motion granted. Debtors counsel should upload order.) (Edmond, Michael)


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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   01/21/2020                 377 (8 pgs) Certificate of service re: 1) Objection of the Debtor to United States Trustee's
                          Motion for an Order Directing the Appointment of a Chapter 11 Trustee; and 2) Notice of
                          Hearing; to be Held on January 21, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)362 Response opposed to (related
                          document(s): 271 Trustee's Motion to appoint trustee filed by U.S. Trustee United States
                          Trustee) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
                          Capital Management, L.P., 363 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)7 Motion to Maintain Bank Accounts /Motion of
                          the Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing Cash
                          Management System and Brokerage Relationships, (B) Continued Use of the Prime Account,
                          (C) Limited Waiver of Section 345(b) Deposit and Investment Requirements, and (D)
                          Granting Related Relief Filed By Highland Capital Management, L.P. (Attachments: 1
                          Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #5 ON
                          10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.), 68 Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP
                          as Special Texas Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A # 3 Exhibit B # 4 Exhibit C - Proposed Order # 5 2016 Statement # 6 Declaration Frank
                          Waterhouse # 7 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.), 69 Application/Motion to Employ/Retain Lynn Pinker Cox
                          & Hurst LLP as Special Texas Litigation Counsel Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019.
                          (Attachments: # 1 Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B - Proposed Order #
                          4 2016 Statement # 5 Declaration Frank Waterhouse # 6 Certificate of Service) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 177
                          Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the Debtor to
                          Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Exhibit A -
                          Proposed Order # 2 Notice) [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.),
                          180 Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation Consultant
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3
                          Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee
                          Incentives # 5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE
                          DISTRICT OF DELAWARE] (Okafor, M.), 259 Support/supplemental document to the
                          Motion of Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing
                          Cash Management System, (B) Continued Use of the Prime Account, (C) Limited Waiver
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)7 Motion to
                          maintain bank accounts.)., 271 Trustee's Motion to appoint trustee Filed by U.S. Trustee
                          United States Trustee, 280 Motion for protective orderJoint Motion for Entry of an Order
                          Approving the Agreed Protective Order Filed by Debtor Highland Capital Management, L.P.,
                          Creditor Committee Official Committee of Unsecured Creditors). Hearing to be held on
                          1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 7 and for 68 and for 177 and for 259
                          and for 280 and for 271 and for 180 and for 69, filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas


                              Hearing held on 1/21/2020. (RE: related document(s)280 Motion for protective order
                          Joint Motion for Entry of an Order Approving the Agreed Protective Order filed by Debtor
                          Highland Capital Management, L.P., Creditor Committee Official Committee of Unsecured
                          Creditors) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable
                          for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors
                          Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically)
                          for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson
                          and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion granted,
                          with certain amendments as discussed on the record. Debtors counsel should upload order.)
   01/21/2020             (Edmond, Michael)

                               Hearing held on 1/21/2020. (RE: related document(s)127 Motion to File Under Seal of
                          the Omnibus Objection of the Official Committee of Unsecured Creditors to the Debtors (I)
                          Motion for Final Order Authorizing Continuance of the Existing Cash Management System,
                          (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for Ordinary
                          Course Transactions Filed by Official Committee of Unsecured Creditors. Hearing scheduled
                          for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/19/2019. (Attachments: # 1 Notice # 2
                          Proposed Form of Order) [ORIGINALLY FILED AS DOCUMENT #123 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor;
                          D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel
                          for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund
                          Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley
                          (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion denied for mootness.
   01/21/2020             UCCs counsel should upload order.) (Edmond, Michael)

                            378 (27 pgs) Application for compensation First Monthly Application for Compensation
                          and Reimbursement of Expenses on behalf of the Unsecured Creditors Committee for FTI
                          Consulting, Inc., Financial Advisor, Period: 11/6/2019 to 11/30/2019, Fee: $322,274.88,
                          Expenses: $4,687.35. Filed by Attorney Juliana Hoffman Objections due by 2/11/2020.
   01/21/2020             (Hoffman, Juliana)

                            383 (1 pg) Court admitted exhibits date of hearing January 21, 2020 (RE: related
                          document(s)271 Trustee's Motion to appoint trustee filed by Lisa Lambert representing the
                          U.S. Trustee) (Court Admitted U.S. Trustee's Exhibits #4, #5, #7, #8, #9, #10 and Took
   01/21/2020             Judicial Notice of Exhibit #11) (Edmond, Michael) (Entered: 01/22/2020)

                             379 (6 pgs) Final Order Authorizing (A) Continuance of Existing Cash Management
                          System, (B) Continued Use of the Prime Account and Maxim Prime Account, (C) Limited
                          Waiver of Section 345(b) Deposit and Investment Requirements, and (D) Granting Related
                          Relief Filed By Highland Capital Management, L.P (related document # 7) Entered on
   01/22/2020             1/22/2020. (Okafor, M.)

                            380 (3 pgs) Order Authorizing Debtor to Pay and Honor Ordinary Course Obligations
                          Under Employee Bonus Plans and Granting Related Relief Filed by Highland Capital
   01/22/2020             Management, L.P. (related document # 177) Entered on 1/22/2020. (Okafor, M.)

                            381 (3 pgs) Order Granting Application to Employ Mercer (US) Inc. as Compensation
   01/22/2020             Consultant to the debtor (related document # 180) Entered on 1/22/2020. (Okafor, M.)

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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   01/22/2020               382 (10 pgs) Agreed Order Granting Motion for Protective Order (related document #
                          280) Entered on 1/22/2020. (Okafor, M.)

                            384 (3 pgs) Declaration re: Notice / Declaration of Conor P. Tully in Support of the
                          Retention of FTI Consulting, Inc. filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)205 Application to employ FTI
                          CONSULTING, INC. as Financial Advisor APPLICATION PURSUANT TO FED. R.
                          BANKR. P. 2014(a) FOR ORDER UNDER SECTION 1103 OF THE BANKRUPTCY CODE
                          AUTHORIZING THE EMPLOYMENT AND RETENTION OF FTI CONSULTING, INC. AS
   01/22/2020             FINANCIAL ADVIS). (Hoffman, Juliana)

                             385 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)235 Application for compensation First Monthly Application
                          for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From October 16, 2019 Through October 31, 2019 for
   01/22/2020             Highland C). (Annable, Zachery)

                             386 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)286 Application for compensation Second Monthly Application
                          for Compensation and for Reimbursement of Expenses for the Period from November 1, 2019
                          through November 30, 2019 for Highland Capital Management, L.P., Debtor's Attorney,
   01/22/2020             Period: 11/1). (Annable, Zachery)

                             387 (1 pg) Request for transcript regarding a hearing held on 1/21/2020. The requested
   01/22/2020             turn-around time is hourly. (Edmond, Michael) (Entered: 01/23/2020)

                             388 (1 pg) Certificate of service re: First Supplemental Declaration of Conor P. Tully In
                          Support of the Application Authorizing the Employment and Retention of FTI Consulting,
                          Inc., as Financial Advisor to the Official Committee of Unsecured Creditors Nunc Pro Tunc
                          to November 6, 2019 filed by Creditor Committee Official Committee of Unsecured
   01/23/2020             Creditors (RE: related document(s)384 Declaration). (Hoffman, Juliana)

                             389 (60 pgs) Application for compensation First and Final Application for Compensation
                          and Reimbursement of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as Co-
                          Counsel for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses: $8,855.56. Filed by Attorney Juliana
   01/23/2020             Hoffman Objections due by 2/13/2020. (Hoffman, Juliana)

                             390 (2 pgs) Supplemental Notice of the Young Conaway Stargatt & Taylor, LLP Final Fee
                          Application filed by Creditor Committee Official Committee of Unsecured Creditors (RE:
                          related document(s)389 Application for compensation First and Final Application for
                          Compensation and Reimbursement of Expenses on behalf of Young Conaway Stargatt &
                          Taylor, LLP as Co-Counsel for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses: $8,855.56. Filed by
   01/23/2020             Attorney Juliana Hoffman Objections due by 2/13/2020.). (Hoffman, Juliana)

                             391 (1 pg) Certificate of service re: Final Fee Application on behalf of Young Conaway
                          Stargatt & Taylor, LLP filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)389 Application for compensation First and Final
                          Application for Compensation and Reimbursement of Expenses on behalf of Young Conaway
                          Stargatt & Taylor, LLP as Co-Counsel for Official Committee of Unsecured Creditors,
   01/23/2020             Creditor Comm. Aty, Perio). (Hoffman, Juliana)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.146   58/439



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   01/24/2020               392 (103 pgs) Application for compensation Third Monthly Application for Compensation
                          and for Reimbursement of Expenses for the Period from December 1, 2019 through
                          December 31, 2019 for Highland Capital Management, L.P., Debtor's Attorney, Period:
                          12/1/2019 to 12/31/2019, Fee: $589,730.35, Expenses: $26,226.80. Filed by Debtor Highland
                          Capital Management, L.P. Objections due by 2/14/2020. (Pomerantz, Jeffrey)

   01/24/2020                393 (140 pgs) Transcript regarding Hearing Held 01/21/2020 (140 pgs.) RE: Motions.
                          THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
                          GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE
                          DATE IS 04/23/2020. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy
                          Rehling, kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) Hearing held on 1/21/2020. (RE: related document(s)271 Trustee's Motion to
                          appoint trustee filed by U.S. Trustee United States Trustee) (Appearances: J. Pomerantz, J.
                          Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J.
                          Hoffman for Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for
                          UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K.
                          Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Evidentiary hearing. Motion denied. Debtors counsel should upload a form of order
                          consistent with the courts ruling.), Hearing held on 1/21/2020. (RE: related document(s)7
                          Motion to Maintain Bank Accounts /Motion of the Debtor for Interim and Final Orders
                          Authorizing (A) Continuance of Existing Cash Management System and Brokerage
                          Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of Section
                          345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed By
                          Highland Capital Management, L.P. (Attachments: 1 Exhibit A - Interim Order) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #5 ON 10/16/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor;
                          D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel
                          for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund
                          Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley
                          (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion granted on a final basis.
                          Debtors counsel should upload order.), Hearing held on 1/21/2020. (RE: related
                          document(s)177 Motion to Authorize Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under Employee
                          Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1
                          Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS DOCUMENT #170 ON
                          11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable
                          for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors
                          Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically)
                          for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson
                          and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion, as
                          narrowed, granted. Debtors counsel should upload order.), Hearing held on 1/21/2020. (RE:
                          related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit
                          A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C -
                          Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.147   59/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor;
                          D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel
                          for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund
                          Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley
                          (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion granted. Debtors counsel
                          should upload order.), Hearing held on 1/21/2020. (RE: related document(s)280 Motion for
                          protective order Joint Motion for Entry of an Order Approving the Agreed Protective Order
                          filed by Debtor Highland Capital Management, L.P., Creditor Committee Official Committee
                          of Unsecured Creditors) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and
                          Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors
                          Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically)
                          for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson
                          and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion granted,
                          with certain amendments as discussed on the record. Debtors counsel should upload order.),
                          Hearing held on 1/21/2020. (RE: related document(s)127 Motion to File Under Seal of the
                          Omnibus Objection of the Official Committee of Unsecured Creditors to the Debtors (I)
                          Motion for Final Order Authorizing Continuance of the Existing Cash Management System,
                          (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for Ordinary
                          Course Transactions Filed by Official Committee of Unsecured Creditors. Hearing scheduled
                          for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/19/2019. (Attachments: # 1 Notice # 2
                          Proposed Form of Order) [ORIGINALLY FILED AS DOCUMENT #123 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor;
                          D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel
                          for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund
                          Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley
                          (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion denied for mootness.
                          UCCs counsel should upload order.)). Transcript to be made available to the public on
                          04/23/2020. (Rehling, Kathy)

                             394 (28 pgs) Application for compensation Second Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from December 1, 2019
                          through December 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne
                          Sewell LLP, Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee: $143,328.50, Expenses:
                          $2,808.29. Filed by Attorney Holland N. O'Neil Objections due by 2/14/2020. (O'Neil,
   01/24/2020             Holland)

                            395 (11 pgs; 2 docs) Motion to extend or limit the exclusivity period Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable,
   01/24/2020             Zachery)

                              396 (8 pgs) Motion for expedited hearing(related documents 395 Motion to
                          extend/shorten time) (Motion for (i) Expedited Hearing on Debtor's Motion for Entry of an
                          Order Pursuant to 11 U.S.C. 1121(d) and Local Rule 3016-1 Extending the Exclusivity
                          Periods for the Filing and Solicitation of Acceptances of a Chapter 11 Plan, or Alternatively,
                          (ii) Entry of a Bridge Order Extending the Exclusivity Period for the Filing of a Chapter 11
                          Plan Through February 19, 2020) Filed by Debtor Highland Capital Management, L.P.
   01/24/2020             (Annable, Zachery)


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   01/24/2020                397 (17 pgs; 3 docs) Motion to enforce(Motion of the Debtor for the Entry of an Order
                          Concerning the "Sealing Motion" and for a Conference Concerning the Substance, Scope
                          and Intent of Certain Recent Rulings) (related document(s): 382 Order on motion for
                          protective order) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Proposed Order # 2 Exhibit B--Email Correspondence) (Annable, Zachery)

                            398 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)381
                          Order Granting Application to Employ Mercer (US) Inc. as Compensation Consultant to the
                          debtor (related document 180) Entered on 1/22/2020. (Okafor, M.)) No. of Notices: 1. Notice
   01/24/2020             Date 01/24/2020. (Admin.)

                             399 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)379
                          Final Order Authorizing (A) Continuance of Existing Cash Management System, (B)
                          Continued Use of the Prime Account and Maxim Prime Account, (C) Limited Waiver of
                          Section 345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed
                          By Highland Capital Management, L.P (related document 7) Entered on 1/22/2020. (Okafor,
   01/24/2020             M.)) No. of Notices: 44. Notice Date 01/24/2020. (Admin.)

                            400 (10 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   01/27/2020             01/9/2020.). (Kass, Albert)

                             401 (8 pgs) Certificate of service re: Notice of Agenda of Matters Scheduled for Hearing
                          on January 21, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)368 Notice (Notice of Agenda of Matters Scheduled
                          for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass,
   01/27/2020             Albert)

   01/27/2020                402 (9 pgs) Certificate of service re: Documents Served on January 17, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)369 Notice (Notice of
                          Filing of Monthly Staffing Report by Development Specialists, Inc for the Period from
                          October 16, 2019, Through November 30, 2019) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)342 Order granting application to employ
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel,
                          and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc
                          as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)).
                          (Attachments: # 1 Exhibit A--Staffing Report) filed by Debtor Highland Capital
                          Management, L.P., 370 Joint Motion to continue hearing on (related documents 68
                          Application to employ, 69 Application to employ)(Joint Motion for Continuance of Hearing
                          on (i) Debtor's Application for an Order Authorizing the Employment of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel, Nunc Pro Tunc to the Petition Date, and (ii)
                          Debtor's Application for an Order Authorizing the Retention and Employment of Lynn Pinker
                          Cox & Hurst LLP as Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order) filed
                          by Debtor Highland Capital Management, L.P., 371 Order granting joint motion to continue
                          hearing on (related document 370) (related documents Application to employ Foley Gardere,
                          Foley & Lardner LLP as Special Counsel, Application to employ Lynn Pinker Cox & Hurst
                          LLP as Special Counsel). ORDERED that the hearing on the Applications currently
                          scheduled for January 21, 2020 at 9:30 a.m., will be continued to a new hearing date to be
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                          determined by the Parties; and it is further Entered on 1/17/2020. (Okafor, M.), 372 Witness
                          and Exhibit List (Debtor's Witness and Exhibit List in Connection with Its Opposition to
                          Motion to Appoint a Chapter 11 Trustee) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)362 Response). filed by Debtor Highland Capital Management,
                          L.P.). (Kass, Albert)

                              403 (13 pgs) Certificate of service re: Documents Served on or before January 21, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)373
                          Amended Notice (First Amended Notice of Agenda of Matters Scheduled for Hearing on
                          January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)368 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P..). filed by Debtor Highland Capital Management, L.P.,
                          374 Amended Notice (Second Amended Notice of Agenda of Matters Scheduled for Hearing
                          on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)368 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P.., 373 Amended Notice (First Amended Notice of Agenda
                          of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)368 Notice (Notice of
                          Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time))
                          filed by Debtor Highland Capital Management, L.P..).). filed by Debtor Highland Capital
                          Management, L.P., 378 Application for compensation First Monthly Application for
                          Compensation and Reimbursement of Expenses on behalf of the Unsecured Creditors
                          Committee for FTI Consulting, Inc., Financial Advisor, Period: 11/6/2019 to 11/30/2019, Fee:
                          $322,274.88, Expenses: $4,687.35. Filed by Attorney Juliana Hoffman Objections due by
   01/27/2020             2/11/2020. filed by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                             404 (11 pgs) Certificate of service re: Documents Served on January 22, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)379 Final Order
                          Authorizing (A) Continuance of Existing Cash Management System, (B) Continued Use of
                          the Prime Account and Maxim Prime Account, (C) Limited Waiver of Section 345(b)
                          Deposit and Investment Requirements, and (D) Granting Related Relief Filed By Highland
                          Capital Management, L.P (related document 7) Entered on 1/22/2020. (Okafor, M.), 380
                          Order Authorizing Debtor to Pay and Honor Ordinary Course Obligations Under Employee
                          Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P.
                          (related document 177) Entered on 1/22/2020. (Okafor, M.), 381 Order Granting Application
                          to Employ Mercer (US) Inc. as Compensation Consultant to the debtor (related document
                          180) Entered on 1/22/2020. (Okafor, M.), 382 Agreed Order Granting Motion for Protective
                          Order (related document 280) Entered on 1/22/2020. (Okafor, M.), 385 Certificate of No
                          Objection filed by Debtor Highland Capital Management, L.P. (RE: related document(s)235
                          Application for compensation First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor
                          for the Period From October 16, 2019 Through October 31, 2019 for Highland C). filed by
                          Debtor Highland Capital Management, L.P., 386 Certificate of No Objection filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)286 Application for
                          compensation Second Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from November 1, 2019 through November 30, 2019 for Highland
                          Capital Management, L.P., Debtor's Attorney, Period: 11/1). filed by Debtor Highland Capital
   01/27/2020             Management, L.P.). (Kass, Albert)

                             405 (11 pgs) Debtor-in-possession monthly operating report for filing period 10/16/2019
   01/27/2020             to 10/31/2019 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

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   01/27/2020                406 (10 pgs; 3 docs) Notice (Notice of Filing of Third Amended Exhibit B to Motion for
                          an Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized by the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit 1--Updated OCP List # 2 Exhibit 2--Blackline
                          OCP List) (Annable, Zachery)

                            407 (4 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional--
                          Shawn Raver) filed by Debtor Highland Capital Management, L.P. (RE: related
   01/27/2020             document(s)176 Document). (Annable, Zachery)

                             408 (3 pgs) Notice of hearing(Notice of Status Conference) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)397 Motion to enforce(Motion of the
                          Debtor for the Entry of an Order Concerning the "Sealing Motion" and for a Conference
                          Concerning the Substance, Scope and Intent of Certain Recent Rulings) (related document(s):
                          382 Order on motion for protective order) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Email Correspondence)).
                          Status Conference to be held on 2/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm.
   01/27/2020             (Annable, Zachery)

                            409 (3 pgs) Order Denying as Moot the Motion of the Official Committee of Unsecured
                          Creditors for an Order Authorizing Filing Under Seal of the Omnibus Objection to the
                          Debtor's (I) Motion for Final Order Authorizing Continuance of the Existing Cash
                          Management System, (II) Motion to Employ and Retain Development Specialists, Inc. to
                          Provide a Chief Restructuring Officer, and (III) Precautionary Motion for Approval of
                          Protocols for "Ordinary Course" Transactions (RE: related document(s) 128 Document and
                          127 Motion ). Entered on 1/28/2020 (Okafor, M.). Modified linkage on 2/11/2020 (Okafor,
   01/28/2020             M.).

                             410 (3 pgs) Bridge Order extending the exclusivity periods for filing Chapter 11 Plan and
                          granting motion for expedited hearing (Related Doc# 396)(document set for hearing: 395
                          Motion to extend/shorten time) Hearing to be held on 2/19/2020 at 09:30 AM Dallas Judge
   01/28/2020             Jernigan Ctrm for 395, Entered on 1/28/2020. (Okafor, M.)

                             411 (2 pgs) Notice of Appearance and Request for Notice by Shawn M. Christianson
   01/28/2020             Filed by Creditor Oracle America, Inc.. (Christianson, Shawn)

                             412 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)395 Motion to extend or limit the exclusivity period Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing
                          to be held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 395, (Annable,
   01/28/2020             Zachery)

   01/29/2020                413 (5 pgs) Certificate of service re: 1) First and Final Application of Young Conaway
                          Stargatt & Taylor, LLP as Co- Counsel for the Official Committee of Unsecured Creditors for
                          Allowance of Compensation and Reimbursement of Expenses Incurred for the First and Final
                          Period from November 8, 2019 Through and Including January 13, 2020; 2) Notice of First
                          and Final Application of Young Conaway Stargatt & Taylor, LLP as Co-Counsel for the
                          Official Committee of Unsecured Creditors for Allowance of Compensation and
                          Reimbursement of Expenses Incurred for the First and Final Period from November 8, 2019
                          Through and Including January 13, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)389 Application for compensation First and Final
                          Application for Compensation and Reimbursement of Expenses on behalf of Young Conaway
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          Stargatt & Taylor, LLP as Co-Counsel for Official Committee of Unsecured Creditors,
                          Creditor Comm. Aty, Period: 11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses:
                          $8,855.56. Filed by Attorney Juliana Hoffman Objections due by 2/13/2020. filed by
                          Creditor Committee Official Committee of Unsecured Creditors, 390 Supplemental Notice of
                          the Young Conaway Stargatt & Taylor, LLP Final Fee Application filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)389
                          Application for compensation First and Final Application for Compensation and
                          Reimbursement of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as Co-
                          Counsel for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses: $8,855.56. Filed by Attorney Juliana
                          Hoffman Objections due by 2/13/2020.). filed by Creditor Committee Official Committee of
                          Unsecured Creditors). (Kass, Albert)

                              414 (11 pgs) Certificate of service re: Documents Served on January 24, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)392 Application for
                          compensation Third Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from December 1, 2019 through December 31, 2019 for Highland
                          Capital Management, L.P., Debtor's Attorney, Period: 12/1/2019 to 12/31/2019, Fee:
                          $589,730.35, Expenses: $26,226.80. Filed by Debtor Highland Capital Management, L.P.
                          Objections due by 2/14/2020. filed by Debtor Highland Capital Management, L.P., 394
                          Application for compensation Second Monthly Application for Compensation and
                          Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Proposed Special
                          Texas Counsel to the Debtor for the Period from December 1, 2019 through December 30,
                          2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne Sewell LLP, Special
                          Counsel, Period: 12/1/2019 to 12/31/2019, Fee: $143,328.50, Expenses: $2,808.29. Filed by
                          Attorney Holland N. O'Neil Objections due by 2/14/2020. (O'Neil, Holland), 395 Motion to
                          extend or limit the exclusivity period Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital
                          Management, L.P., 396 Motion for expedited hearing(related documents 395 Motion to
                          extend/shorten time) (Motion for (i) Expedited Hearing on Debtor's Motion for Entry of an
                          Order Pursuant to 11 U.S.C. 1121(d) and Local Rule 3016-1 Extending the Exclusivity
                          Periods for the Filing and Solicitation of Acceptances of a Chapter 11 Plan, or Alternatively,
                          (ii) Entry of a Bridge Order Extending the Exclusivity Period for the Filing of a Chapter 11
                          Plan Through February 19, 2020) Filed by Debtor Highland Capital Management, L.P. filed
                          by Debtor Highland Capital Management, L.P., 397 Motion to enforce(Motion of the Debtor
                          for the Entry of an Order Concerning the "Sealing Motion" and for a Conference Concerning
                          the Substance, Scope and Intent of Certain Recent Rulings) (related document(s): 382 Order
                          on motion for protective order) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Email Correspondence) filed by
   01/29/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

   01/30/2020                415 (10 pgs) Certificate of service re: Documents Served on January 27, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)406 Notice (Notice of
                          Filing of Third Amended Exhibit B to Motion for an Order Authorizing the Debtor to Retain,
                          Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary
                          Course of Business) filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit 1--Updated OCP List # 2 Exhibit 2--Blackline OCP List) filed by Debtor Highland
                          Capital Management, L.P., 407 Declaration re: (Disclosure Declaration of Ordinary Course
                          Professional--Shawn Raver) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 Document). filed by Debtor Highland Capital Management, L.P., 408 Notice
                          of hearing(Notice of Status Conference) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)397 Motion to enforce(Motion of the Debtor for the Entry of an
                          Order Concerning the "Sealing Motion" and for a Conference Concerning the Substance,
                          Scope and Intent of Certain Recent Rulings) (related document(s): 382 Order on motion for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.152   64/439



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                          protective order) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Proposed Order # 2 Exhibit B--Email Correspondence)). Status Conference to be
                          held on 2/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                             416 (6 pgs) Certificate of service re: Documents Served on January 28, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)409 Order Denying as
                          Moot the Motion of the Official Committee of Unsecured Creditors for an Order Authorizing
                          Filing Under Seal of the Omnibus Objection to the Debtor's (I) Motion for Final Order
                          Authorizing Continuance of the Existing Cash Management System, (II) Motion to Employ
                          and Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III)
                          Precautionary Motion for Approval of Protocols for "Ordinary Course" Transactions (RE:
                          related document(s) 128 Document). Entered on 1/28/2020 (Okafor, M.), 410 Bridge Order
                          extending the exclusivity periods for filing Chapter 11 Plan and granting motion for
                          expedited hearing (Related Doc396)(document set for hearing: 395 Motion to extend/shorten
                          time) Hearing to be held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 395,
                          Entered on 1/28/2020. (Okafor, M.), 412 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)395 Motion to extend or limit the exclusivity
                          period Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order)). Hearing to be held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm
   01/30/2020             for 395, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            417 (47 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from December 1, 2019 through December 31, 2019) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
   01/31/2020             (Okafor, M.)). (Annable, Zachery)

                            418 (9 pgs) Debtor-in-possession monthly operating report for filing period December 1,
                          2019 to December 31, 2019 filed by Debtor Highland Capital Management, L.P.. (Annable,
   01/31/2020             Zachery)

                            419 (10 pgs; 2 docs) Motion to extend time to (Agreed Motion to Extend by One Hundred
                          Twenty Days the Deadline to Assume or Reject Unexpired Nonresidential Real Property
                          Lease) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed
   01/31/2020             Order) (Annable, Zachery)

                            420 (82 pgs; 3 docs) Application for compensation Second Monthly Application of Sidley
                          Austin LLP for Allowance of Compensation and Reimbursement of Expenses for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2019 to 12/31/2019,
                          Fee: $702,665.28, Expenses: $30,406.08. Filed by Attorney Juliana Hoffman, Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 2/21/2020.
   01/31/2020             (Attachments: # 1 Exhibit A Fee Statement # 2 Exhibit B Expense Detail) (Hoffman, Juliana)

                            421 (36 pgs; 4 docs) Motion for leave (Debtor's Motion for an Order (i) Establishing Bar
                          Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the Form and
                          Manner of Notice Thereof) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Form of Bar Date Notice # 2 Exhibit B--Form of Publication
   01/31/2020             Notice # 3 Exhibit C--Proposed Order) (Annable, Zachery)


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   01/31/2020                422 (7 pgs) Motion for expedited hearing(related documents 421 Motion for leave)
                          (Motion for Expedited Hearing on Debtor's Motion for an Order (i) Establishing Bar Dates
                          for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the Form and Manner of
                          Notice Thereof) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             423 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)343 Application for compensation First
                          Monthly Application for Compensation and for Reimbursement of Expenses of Sidley Austin
                          LLP for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
   02/02/2020             10/29/2019 to 11/30/2019, Fee: $7). (Hoffman, Juliana)

                             424 (3 pgs) Certificate of service re: Notice of Chapter 11 Bankruptcy Case and Meeting
                          of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)229 Meeting of creditors 341(a) meeting to be
                          held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due by 4/8/2020.
                          Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass,
   02/03/2020             Albert)

                             425 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)340 Application to employ Hayward & Associates PLLC as
                          Attorney (Debtor's Application Pursuant to Sections 327(a) and 328(a) of the Bankruptcy
                          Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of
   02/04/2020             Hayward & Associate). (Hayward, Melissa)

                             426 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)421 Motion for leave (Debtor's Motion for an Order (i) Establishing Bar
                          Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the Form and
                          Manner of Notice Thereof) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Form of Bar Date Notice # 2 Exhibit B--Form of Publication
                          Notice # 3 Exhibit C--Proposed Order)). Hearing to be held on 2/19/2020 at 09:30 AM
   02/04/2020             Dallas Judge Jernigan Ctrm for 421, (Annable, Zachery)

                             427 (2 pgs) Order granting motion for expedited hearing (Related Doc# 422)(document
                          set for hearing: 421 Motion for an Order (i) Establishing Bar Dates for Filing Claims,
                          Including 503(b)(9) Claims; and (ii) Approving the Form and Manner of Notice Thereof)
                          Hearing to be held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 421, Entered
   02/05/2020             on 2/5/2020. (Okafor, M.)

                             428 (2 pgs) Order denying motion to appoint trustee. (related document # 271) Entered on
   02/05/2020             2/5/2020. (Okafor, M.)

                             429 (2 pgs) Order granting 419 Motion to Extend Deadline to Assume or Reject
                          Unexpired Nonresidential Real Property Lease by One Hundred and Twenty Days Entered on
   02/06/2020             2/6/2020. (Okafor, M.)

   02/06/2020                430 (11 pgs) Certificate of service re: Documents Served on January 31, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)417 Notice (Notice of
                          Filing of Monthly Staffing Report by Development Specialists, Inc. for the Period from
                          December 1, 2019 through December 31, 2019) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)342 Order granting application to employ
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel,
                          and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.154   66/439



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                          as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)). filed by
                          Debtor Highland Capital Management, L.P., 419 Motion to extend time to (Agreed Motion to
                          Extend by One Hundred Twenty Days the Deadline to Assume or Reject Unexpired
                          Nonresidential Real Property Lease) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Proposed Order) filed by Debtor Highland Capital Management, L.P., 420
                          Application for compensation Second Monthly Application of Sidley Austin LLP for
                          Allowance of Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2019 to 12/31/2019, Fee:
                          $702,665.28, Expenses: $30,406.08. Filed by Attorney Juliana Hoffman, Creditor Committee
                          Official Committee of Unsecured Creditors Objections due by 2/21/2020. (Attachments: # 1
                          Exhibit A Fee Statement # 2 Exhibit B Expense Detail) filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 421 Motion for leave (Debtor's Motion for an Order (i)
                          Establishing Bar Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the
                          Form and Manner of Notice Thereof) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Form of Bar Date Notice # 2 Exhibit B--Form of Publication
                          Notice # 3 Exhibit C--Proposed Order) filed by Debtor Highland Capital Management, L.P.,
                          422 Motion for expedited hearing(related documents 421 Motion for leave) (Motion for
                          Expedited Hearing on Debtor's Motion for an Order (i) Establishing Bar Dates for Filing
                          Claims, Including 503(b)(9) Claims; and (ii) Approving the Form and Manner of Notice
                          Thereof) Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                              431 (6 pgs) Certificate of service re: Notice of Hearing on Debtor's Motion for an Order
                          (I) Establishing Bar Dates for Filing Claims, Including 503(b)(9) Claims; and (II) Approving
                          the Form and Manner of Notice Thereof Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)426 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)421 Motion for leave (Debtor's Motion
                          for an Order (i) Establishing Bar Dates for Filing Claims, Including 503(b)(9) Claims; and
                          (ii) Approving the Form and Manner of Notice Thereof) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Form of Bar Date Notice # 2 Exhibit B--
                          Form of Publication Notice # 3 Exhibit C--Proposed Order)). Hearing to be held on
                          2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 421, filed by Debtor Highland
   02/06/2020             Capital Management, L.P.). (Kass, Albert)

                            432 (5 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   02/06/2020             01/9/2020.). (Kass, Albert)

                             433 (1 pg) Clerk's correspondence requesting an order or a notice of hearing from
                          attorney for debtor. (RE: related document(s)270 Application for compensation - First
                          Monthly Application for Compensation and Reimbursement of Expenses of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from October
                          16, 2019 through November 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere
                          Wynne Sewell LLP, Special Counsel, Period: 10/16/2019 to 11/30/2019, Fee: $176129.00,
                          Expenses: $7836.31. Filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP f/k/a
                          Gardere Wynne Sewell LLP Objections due by 1/13/2020. (Attachments: # 1 Exhibit A)
   02/07/2020             (O'Neil, Holland)) Responses due by 2/14/2020. (Ecker, C.)

   02/10/2020                434 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)351 Motion to extend time to (Debtor's Motion for Entry of an
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.155   67/439



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                          Order Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C.
                          1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure)). (Hayward, Melissa)

                             435 (3 pgs) Order granting application to employ Hayward & Associates PLLC for
                          Highland Capital Management, L.P. as Local Counsel (related document # 340) Entered on
   02/10/2020             2/10/2020. (Okafor, M.)

                            436 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   02/10/2020             01/9/2020.). (Kass, Albert)

                             437 (3 pgs) Notice (Notice of Withdrawal of Debtor's Application for an Order
                          Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP as Special
                          Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)69 Application/Motion to Employ/Retain
                          Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy
                          Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B -
                          Proposed Order # 4 2016 Statement # 5 Declaration Frank Waterhouse # 6 Certificate of
                          Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)).
   02/10/2020             (Annable, Zachery)

                             438 (3 pgs) **WITHDRAWN by document # 443** Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)270 Application for
                          compensation - First Monthly Application for Compensation and Reimbursement of Expenses
                          of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel to the Debtor for the
                          Period from October 16, 2019 through November 30, 2019 for Foley Gardere, Foley &
                          Lardner LLP f/k/a Gardere Wynne Sewell LLP, Special Counsel, Period: 10/16/2019 to
                          11/30/2019, Fee: $176129.00, Expenses: $7836.31. Filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP f/k/a Gardere Wynne Sewell LLP Objections due by 1/13/2020.
                          (Attachments: # 1 Exhibit A) (O'Neil, Holland)). Hearing to be held on 3/11/2020 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 270, (Annable, Zachery) Modified on 2/13/2020 (Ecker,
   02/10/2020             C.).

                             439 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)67 Motion by Highland Capital Management, L.P..). (Annable,
   02/11/2020             Zachery)

   02/12/2020                 440 (6 pgs) Certificate of service re: 1) Order Granting Motion for Expedited Hearing on
                          Debtor's Motion for an Order (I) Establishing Bar Dates for Filing Claims, Including 503(b)
                          (9) Claims; and (II) Approving the Form and Manner of Notice Thereof; to be Held on
                          February 19, 2020 at 9:30 a.m. (Central Time); 2) Order Denying United States Trustee's
                          Motion for an Order Directing the Appointment of a Chapter 11 Trustee Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)427 Order granting motion
                          for expedited hearing (Related Doc422)(document set for hearing: 421 Motion for an Order
                          (i) Establishing Bar Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving
                          the Form and Manner of Notice Thereof) Hearing to be held on 2/19/2020 at 09:30 AM
                          Dallas Judge Jernigan Ctrm for 421, Entered on 2/5/2020. (Okafor, M.), 428 Order denying
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.156   68/439



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                          motion to appoint trustee. (related document 271) Entered on 2/5/2020. (Okafor, M.)). (Kass,
                          Albert)

                            441 (6 pgs) Certificate of service re: Order Extending Deadline to Assume or Reject
                          Unexpired Nonresidential Real Property Lease by One Hundred and Twenty Days Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)429 Order granting
                          419 Motion to Extend Deadline to Assume or Reject Unexpired Nonresidential Real Property
   02/12/2020             Lease by One Hundred and Twenty Days Entered on 2/6/2020. (Okafor, M.)). (Kass, Albert)

                            442 (32 pgs) Application for compensation Second Monthly Application for Allowance of
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 12/1/2019 to 12/31/2019, Fee: $89,215.36, Expenses: $3,955.12. Filed by Financial
   02/12/2020             Advisor FTI Consulting, Inc. Objections due by 3/4/2020. (Hoffman, Juliana)

                             443 (3 pgs) Notice (Notice of Withdrawal of Notice of Hearing on the First Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019
                          through November 30, 2019) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)438 Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)270 Application for compensation - First Monthly Application
                          for Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP
                          as Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          November 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne Sewell
                          LLP, Special Counsel, Period: 10/16/2019 to 11/30/2019, Fee: $176129.00, Expenses:
                          $7836.31. Filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne
                          Sewell LLP Objections due by 1/13/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)).
                          Hearing to be held on 3/11/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 270,).
   02/12/2020             (Annable, Zachery)

                             444 (3 pgs) Certificate No Objection filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)378 Application for compensation First
                          Monthly Application for Compensation and Reimbursement of Expenses on behalf of the
                          Unsecured Creditors Committee for FTI Consulting, Inc., Financial Advisor, Period:
   02/12/2020             11/6/2019 to 11/30/2019, Fee: $32). (Hoffman, Juliana)

   02/13/2020                445 (6 pgs) Certificate of service re: 1) Order Authorizing and Approving Debtor's
                          Application Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy
                          Rules 2014(a) and 2016 for an Order Authorizing the Employment of Hayward & Associates
                          PLLC as Local Counsel; 2) Notice of Withdrawal of Debtor's Application for an Order
                          Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP as Special
                          Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date; and 3) Notice of Hearing re:
                          First Monthly Application for Compensation and Reimbursement of Expenses of Foley
                          Gardere, Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from
                          October 16, 2019 Through November 30, 2019; to be Held on March 11, 2020 at 9:30 a.m.
                          (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)435 Order granting application to employ Hayward & Associates PLLC for
                          Highland Capital Management, L.P. as Local Counsel (related document 340) Entered on
                          2/10/2020. (Okafor, M.), 437 Notice (Notice of Withdrawal of Debtor's Application for an
                          Order Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst LLP as
                          Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)69 Application/Motion to
                          Employ/Retain Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel Filed by
                          Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.157   69/439



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                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B
                          - Proposed Order # 4 2016 Statement # 5 Declaration Frank Waterhouse # 6 Certificate of
                          Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed
                          by Debtor Highland Capital Management, L.P., 438 **WITHDRAWN by document 443**
                          Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)270 Application for compensation - First Monthly Application for Compensation
                          and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through November 30, 2019 for
                          Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne Sewell LLP, Special Counsel,
                          Period: 10/16/2019 to 11/30/2019, Fee: $176129.00, Expenses: $7836.31. Filed by Spec.
                          Counsel Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne Sewell LLP Objections
                          due by 1/13/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)). Hearing to be held on
                          3/11/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 270, (Annable, Zachery) Modified on
                          2/13/2020 (Ecker, C.). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            446 (6 pgs) Witness and Exhibit List filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P. (RE: related document(s)68 Application to employ Foley Gardere,
   02/13/2020             Foley & Lardner LLP as Special Counsel). (Chiarello, Annmarie)

                             447 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)395 Motion to extend or limit the exclusivity period). (Annable,
   02/13/2020             Zachery)

                             448 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)421 Motion for leave (Debtor's Motion for an Order (i)
                          Establishing Bar Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the
   02/13/2020             Form and Manner of Notice Thereof)). (Annable, Zachery)

   02/13/2020                449 (10 pgs) Certificate of service re: 1) Second Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          December 1, 2019 to and Including December 31, 2019; 2) Notice of Withdrawal of Notice of
                          Hearing on the First Monthly Application for Compensation and Reimbursement of Expenses
                          of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel to the Debtor for the
                          Period from October 16, 2019 Through November 30, 2019 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)442 Application for compensation Second
                          Monthly Application for Allowance of Compensation and Reimbursement of Expenses for
                          FTI Consulting, Inc., Financial Advisor, Period: 12/1/2019 to 12/31/2019, Fee: $89,215.36,
                          Expenses: $3,955.12. Filed by Financial Advisor FTI Consulting, Inc. Objections due by
                          3/4/2020. filed by Creditor Committee Official Committee of Unsecured Creditors, Financial
                          Advisor FTI Consulting, Inc., 443 Notice (Notice of Withdrawal of Notice of Hearing on the
                          First Monthly Application for Compensation and Reimbursement of Expenses of Foley
                          Gardere, Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from
                          October 16, 2019 through November 30, 2019) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)438 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)270 Application for compensation - First
                          Monthly Application for Compensation and Reimbursement of Expenses of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from October
                          16, 2019 through November 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere
                          Wynne Sewell LLP, Special Counsel, Period: 10/16/2019 to 11/30/2019, Fee: $176129.00,
                          Expenses: $7836.31. Filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP f/k/a
                          Gardere Wynne Sewell LLP Objections due by 1/13/2020. (Attachments: # 1 Exhibit A)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.158   70/439



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                          (O'Neil, Holland)). Hearing to be held on 3/11/2020 at 09:30 AM Dallas Judge Jernigan Ctrm
                          for 270,). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             450 (7 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)389 Application for compensation First and
                          Final Application for Compensation and Reimbursement of Expenses on behalf of Young
                          Conaway Stargatt & Taylor, LLP as Co-Counsel for Official Committee of Unsecured
   02/14/2020             Creditors, Creditor Comm. Aty, Perio). (Hoffman, Juliana)

                            451 (49 pgs; 4 docs) Motion for relief from stay Fee amount $181, Filed by Jennifer G.
                          Terry, Joshua Terry Objections due by 3/2/2020. (Attachments: # 1 Exhibit 1 (Arb Award) # 2
   02/14/2020             Exhibit 2 (Rule 11) # 3 Exhibit 3 (Terry Declaration)) (Shaw, Brian)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   02/14/2020             181.00). Receipt number 27457656, amount $ 181.00 (re: Doc# 451). (U.S. Treasury)

                             452 (2 pgs) Notice of hearing filed by Jennifer G. Terry, Joshua Terry (RE: related
                          document(s)451 Motion for relief from stay Fee amount $181, Filed by Jennifer G. Terry,
                          Joshua Terry Objections due by 3/2/2020. (Attachments: # 1 Exhibit 1 (Arb Award) # 2
                          Exhibit 2 (Rule 11) # 3 Exhibit 3 (Terry Declaration))). Preliminary hearing to be held on
   02/14/2020             3/11/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. (Shaw, Brian)

                            453 (8 pgs) Objection to (related document(s): 394 Application for compensation Second
                          Monthly Application for Compensation and Reimbursement of Expenses of Foley Gardere,
                          Foley & Lardner LLP as Proposed Special Texas Counsel to the Debtor for the Period from
                          December 1, 2019 through December 30, 20) filed by Acis Capital Management GP, LLC,
   02/14/2020             Acis Capital Management, L.P.. (Patel, Rakhee)

                            454 (4 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)68 Application to employ Foley Gardere, Foley & Lardner LLP as
   02/14/2020             Special Counsel). (Annable, Zachery)

                            455 (10 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on February 19,
                          2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P..
   02/17/2020             (Annable, Zachery)

                             456 (4 pgs) Notice of Withdrawal of Objection filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)124 Limited Objection to the
                          Debtor's Application for an Order Authorizing the Retention and Employment of Foley
                          Gardere, Foley & Lardner LLP and Lynn Pinker Cox & Hurst as Special Texas Counsel and
                          Special Litigation Counsel, Nunc Pro Tunc to the Petition Date (related document(s)69, 70)
                          Filed by Official Committee of Unsecured Creditors (Weissgerber, Jaclyn) [ORIGINALLY
                          FILED AS DOCUMENT #120 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE
   02/18/2020             DISTRICT OF DELAWARE] (Okafor, M.)). (Hoffman, Juliana)

                             457 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)392 Application for compensation Third Monthly Application
                          for Compensation and for Reimbursement of Expenses for the Period from December 1, 2019
                          through December 31, 2019 for Highland Capital Management, L.P., Debtor's Attorney,
   02/18/2020             Period: 12/1/). (Annable, Zachery)

   02/19/2020                 458 (3 pgs) Order granting first and final application for compensation (related document
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                              22-11036.159   71/439



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                          # 389) granting for Young Conaway Stargatt & Taylor, LLP as co-counsel for Official
                          Committee of Unsecured Creditors, fees awarded: $272300.00, expenses awarded: $8855.56
                          Entered on 2/19/2020. (Okafor, M.)

                             459 (2 pgs) Order granting 351 Debtor's Motion for Entry of an Order Extending the
                          Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of
   02/19/2020             the Federal Rules of Bankruptcy Procedure Entered on 2/19/2020. (Okafor, M.)

                             460 (2 pgs) Order granting 395 Debtor's Motion to extend or limit the exclusivity period
   02/19/2020             through and including June 12, 2020 Entered on 2/19/2020. (Okafor, M.)

                             461 (4 pgs) Order granting motion of the Debtor for Entry of an Order (I) Authorizing
                          Bradley D. Sharp to Act as Foreign Representative Pursuant to 11 U.S.C. Section 1505 and
   02/19/2020             (II) Granting Related Relief (related document # 67) Entered on 2/19/2020. (Okafor, M.)

                             462 (1 pg) Court admitted exhibits date of hearing February 19, 2020 (RE: related
                          document(s)68 Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP
                          as Special Texas Counsel Filed by Highland Capital Management, L.P., (Court Admitted
                          Debtors/Plaintiffs Exhibits #1, #2, #3, #4, #5, #6, #7 #8, & #9; Also Admitted
   02/19/2020             Defendant/Respondent Exhibits #16 & #27 only). (Edmond, Michael)

                             463 (1 pg) Request for transcript regarding a hearing held on 2/19/2020. The requested
   02/19/2020             turn-around time is hourly (Jeng, Hawaii)

                               Hearing held on 2/19/2020. (RE: related document(s)68 Application/Motion to
                          Employ/Retain Foley Gardere, Foley & Lardner LLP as Special Texas Counsel Filed by
                          Highland Capital Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Evidentiary hearing. Court granted in part and denied in part. Foley is approved
                          for representation of Highland in all Acis bankruptcy case and adversary proceeding matters;
                          court does not approve Highland paying Foley for Foleys representation of Neutra in Neutras
                          appeal of Acis involuntary order for relief; court will approve Foley representing Highland in
                          its appeal of Acis confirmation order but fees for Foley in connection with this appeal will be
                          allocated appropriately between Neutra and Highland, and Highland will not pay for Neutras
                          allocated portion of fees. Court added that it is skeptical regarding likely benefits to Highland
                          of the appeal of Acis confirmation order, even assuming success on appeal (in contrast to
                          possible benefits to Neutra and HCLOF) since, among other things, reversal of confirmation
                          order would not reinstate previously rejected contracts or remove the Chapter 11 trustee.
                          Thus, the court will closely evaluate fees requested ultimately for likely benefit to Highland.
   02/19/2020             Order should be submitted.(Edmond, Michael) (Entered: 02/25/2020)

   02/19/2020                  Hearing held on 2/19/2020. (RE: related document(s)281 Motion to compromise
                          controversy with Official Committee of Unsecured Creditors filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M. Hayward,
                          and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer


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                          Committee. Nonevidentiary hearing. Court heard reports that carryover issues are being
                          resolved.) (Edmond, Michael) (Entered: 02/25/2020)

                              Hearing held on 2/19/2020. (RE: related document(s)397 Motion to enforce(Motion of
                          the Debtor for the Entry of an Order Concerning the "Sealing Motion" and for a Conference
                          Concerning the Substance, Scope and Intent of Certain Recent Rulings) (related
                          document(s): 382 Order on motion for protective order) Filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M. Hayward, and Z.
                          Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors Committee; L.
                          Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt for Redeemer
                          Committee; A. Anderson for certain issuers of CLOs; J. Bentley (telephonically) for certain
                          CLO issuers; M. Hankin (telephonically) for Redeemer Committee. Nonevidentiary hearing.
                          Discussion of prior order on sealing motion and court clarified its intent.) (Edmond,
   02/19/2020             Michael) (Entered: 02/25/2020)

                               Hearing held on 2/19/2020. (RE: related document(s)421 Motion for leave (Debtor's
                          Motion for an Order (i) Establishing Bar Dates for Filing Claims, Including 503(b)(9)
                          Claims; and (ii) Approving the Form and Manner of Notice Thereof) filed by Debtor
                          Highland Capital Management, L.P.,) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Nonevidentiary hearing. Motion granted. Counsel to upload order.) (Edmond,
   02/19/2020             Michael) (Entered: 02/25/2020)

                               Hearing held on 2/19/2020. (RE: related document(s)218 Motion for relief from stay
                          MOTION OF PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR
                          AN ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY TO TERMINATE
                          INVESTMENT MANAGEMENT AGREEMENT, Filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Nonevidentiary hearing. Court granted request to carry this matter to the 3/11/20
   02/19/2020             omnibus hearing.) (Edmond, Michael) (Entered: 02/25/2020)

                            464 (119 pgs) Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From January 1, 2020 through January 31, 2020 for
                          Highland Capital Management, L.P., Debtor's Attorney, Period: 1/1/2020 to 1/31/2020, Fee:
                          $898,094.25, Expenses: $28,854.75. Filed by Debtor Highland Capital Management, L.P.
   02/20/2020             Objections due by 3/12/2020. (Pomerantz, Jeffrey)

                             465 (27 pgs; 2 docs) Application for compensation (First Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from December 10, 2019 through December 31, 2019)
                          for Hayward & Associates PLLC, Debtor's Attorney, Period: 12/10/2019 to 12/31/2019, Fee:
                          $18,695.00, Expenses: $80.60. Filed by Attorney Hayward & Associates PLLC
   02/20/2020             (Attachments: # 1 Exhibit A--H&A December 2019 Fee Statement) (Annable, Zachery)

   02/21/2020                 466 (30 pgs; 3 docs) Notice (Notice of Debtor's Amended Operating Protocols) filed by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.161   73/439



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                          Debtor Highland Capital Management, L.P. (RE: related document(s)339 Order Approve
                          Settlement with Official Committee of Unsecured Creditors Regarding Governance of the
                          Debtor and Procedures for Operations in the Ordinary Course ( (related document 281)
                          Entered on 1/9/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--Amended Operating
                          Protocols # 2 Exhibit B--Redline of Amended Operating Protocols) (Annable, Zachery)

                             467 (4 pgs) Withdrawal of Limited Objection to Motion of the Debtor for Approval of
                          Settlement with The Official Committee Of Unsecured Creditors regarding Governance of the
                          Debtor and Procedures for Operations in the Ordinary Course filed by Creditor Issuer Group
   02/21/2020             (RE: related document(s)324 Objection). (Bain, Joseph)

                              468 (5 pgs) Certificate of service re: Objection to Second Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel for the Period From December 1, 2019 through December 31, 2019
                          filed by Acis Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related
                          document(s)394 Application for compensation Second Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from December 1, 2019
   02/21/2020             through December 30, 20). (Chiarello, Annmarie)

                              469 (6 pgs) Certificate of service re: Debtor's Witness and Exhibit List in Connection with
                          its Application for an Order Authorizing the Retention and Employment of Foley Gardere,
                          Foley & Lardner LLP as Special Texas Counsel, Nunc Pro Tunc to the Petition Date Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)454 Witness and
                          Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related document(s)68
                          Application to employ Foley Gardere, Foley & Lardner LLP as Special Counsel). filed by
   02/21/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             470 (10 pgs) Certificate of service re: Notice of Agenda of Matters Scheduled for Hearing
                          on February 19, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)455 Notice (Notice of Agenda of Matters Scheduled
                          for Hearing on February 19, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass,
   02/21/2020             Albert)

                             471 (8 pgs) Certificate of service re: 1) Order Extending Period Within Which the Debtor
                          May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure; 2) Order Granting Debtors Motion for Entry of an Order Pursuant to
                          11 U.S.C. § 1121(D) and Local Rule 3016-1 Extending the Exclusivity Periods for the Filing
                          and Solicitation of Acceptances of a Chapter 11 Plan; 3) Order (I) Authorizing Bradley D.
                          Sharp to Act as Foreign Representative Pursuant to 11 U.S.C. § 1505 and (II) Granting
                          Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)459 Order granting 351 Debtor's Motion for Entry of an Order Extending the
                          Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of
                          the Federal Rules of Bankruptcy Procedure Entered on 2/19/2020. (Okafor, M.), 460 Order
                          granting 395 Debtor's Motion to extend or limit the exclusivity period through and including
                          June 12, 2020 Entered on 2/19/2020. (Okafor, M.), 461 Order granting motion of the Debtor
                          for Entry of an Order (I) Authorizing Bradley D. Sharp to Act as Foreign Representative
                          Pursuant to 11 U.S.C. Section 1505 and (II) Granting Related Relief (related document 67)
   02/21/2020             Entered on 2/19/2020. (Okafor, M.)). (Kass, Albert)

   02/23/2020                472 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)420 Application for compensation Second
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.162   74/439



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                          Monthly Application of Sidley Austin LLP for Allowance of Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 12/1/2019 to 12/31/2019, Fee). (Hoffman, Juliana)

                             473 (4 pgs) Agreed Order granting motion for relief from stay by Creditor
                          PensionDanmark Pensionsforsikringsaktieselskab (related document # 218) Entered on
   02/24/2020             2/24/2020. (Okafor, M.)

                             474 (866 pgs; 8 docs) Motion for authority to apply and disburse funds (Motion of the
                          Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause
                          Distributions to Certain "Related Entities") Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
   02/24/2020             # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) (Annable, Zachery)

                             475 (8 pgs; 2 docs) Motion for expedited hearing(related documents 474 Motion for
                          authority to apply and disburse funds) Filed by Debtor Highland Capital Management, L.P.
   02/24/2020             (Attachments: # 1 Proposed Order) (Annable, Zachery)

                            476 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy
                          Case and Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of creditors
                          341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims
                          due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by
   02/24/2020             01/9/2020.). (Kass, Albert)

                             477 (2 pgs) Order granting motion for expedited hearing (Related Doc# 475)(document
                          set for hearing: 474 Motion for authority to apply and disburse funds) Hearing to be held on
                          3/4/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 474, Entered on 2/25/2020. (Okafor,
   02/25/2020             M.)

                             478 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)474 Motion for authority to apply and disburse funds (Motion of the
                          Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause
                          Distributions to Certain "Related Entities") Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                          # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G)). Hearing to be held on 3/4/2020 at 01:30 PM
   02/25/2020             Dallas Judge Jernigan Ctrm for 474, (Annable, Zachery)

   02/26/2020                479 (188 pgs) Transcript regarding Hearing Held 02/19/2020 (188 pgs.) RE: Motions.
                          THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
                          GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE
                          DATE IS 05/26/2020. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy
                          Rehling, kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) Hearing held on 2/19/2020. (RE: related document(s)68 Application/Motion to
                          Employ/Retain Foley Gardere, Foley & Lardner LLP as Special Texas Counsel Filed by
                          Highland Capital Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Evidentiary hearing. Court granted in part and denied in part. Foley is approved

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.163   75/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          for representation of Highland in all Acis bankruptcy case and adversary proceeding matters;
                          court does not approve Highland paying Foley for Foleys representation of Neutra in Neutras
                          appeal of Acis involuntary order for relief; court will approve Foley representing Highland in
                          its appeal of Acis confirmation order but fees for Foley in connection with this appeal will be
                          allocated appropriately between Neutra and Highland, and Highland will not pay for Neutras
                          allocated portion of fees. Court added that it is skeptical regarding likely benefits to Highland
                          of the appeal of Acis confirmation order, even assuming success on appeal (in contrast to
                          possible benefits to Neutra and HCLOF) since, among other things, reversal of confirmation
                          order would not reinstate previously rejected contracts or remove the Chapter 11 trustee.
                          Thus, the court will closely evaluate fees requested ultimately for likely benefit to Highland.
                          Order should be submitted., Hearing held on 2/19/2020. (RE: related document(s)281 Motion
                          to compromise controversy with Official Committee of Unsecured Creditors filed by Debtor
                          Highland Capital Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Nonevidentiary hearing. Court heard reports that carryover issues are being
                          resolved.), Hearing held on 2/19/2020. (RE: related document(s)397 Motion to
                          enforce(Motion of the Debtor for the Entry of an Order Concerning the "Sealing Motion"
                          and for a Conference Concerning the Substance, Scope and Intent of Certain Recent Rulings)
                          (related document(s): 382 Order on motion for protective order) Filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: G. Demo, J. Pomeranz, J. Morris, M. Hayward,
                          and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Nonevidentiary hearing. Discussion of prior order on sealing motion and court
                          clarified its intent.), Hearing held on 2/19/2020. (RE: related document(s)421 Motion for
                          leave (Debtor's Motion for an Order (i) Establishing Bar Dates for Filing Claims, Including
                          503(b)(9) Claims; and (ii) Approving the Form and Manner of Notice Thereof) filed by
                          Debtor Highland Capital Management, L.P.,) (Appearances: G. Demo, J. Pomeranz, J.
                          Morris, M. Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for
                          Unsecured Creditors Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A.
                          Chiarello for Acis; M. Platt for Redeemer Committee; A. Anderson for certain issuers of
                          CLOs; J. Bentley (telephonically) for certain CLO issuers; M. Hankin (telephonically) for
                          Redeemer Committee. Nonevidentiary hearing. Motion granted. Counsel to upload order.),
                          Hearing held on 2/19/2020. (RE: related document(s)218 Motion for relief from stay
                          MOTION OF PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN
                          ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY TO TERMINATE
                          INVESTMENT MANAGEMENT AGREEMENT, Filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab) (Appearances: G. Demo, J. Pomeranz, J. Morris, M.
                          Hayward, and Z. Annabel for Debtors; M. Clemente and J. Hoffman for Unsecured Creditors
                          Committee; L. Lambert for UST; P. Lamberson, R. Patel, and A. Chiarello for Acis; M. Platt
                          for Redeemer Committee; A. Anderson for certain issuers of CLOs; J. Bentley
                          (telephonically) for certain CLO issuers; M. Hankin (telephonically) for Redeemer
                          Committee. Nonevidentiary hearing. Court granted request to carry this matter to the 3/11/20
                          omnibus hearing.)). Transcript to be made available to the public on 05/26/2020. (Rehling,
                          Kathy)

   02/26/2020               480 (5 pgs) Certificate of service re: 1) Fourth Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from January 1, 2020 Through January 31, 2020; 2) First Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.164   76/439



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                          PLLC as Local Counsel to the Debtor for the Period from December 1, 2019 Through
                          December 31, 2019 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)464 Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From January 1, 2020 through January 31, 2020 for
                          Highland Capital Management, L.P., Debtor's Attorney, Period: 1/1/2020 to 1/31/2020, Fee:
                          $898,094.25, Expenses: $28,854.75. Filed by Debtor Highland Capital Management, L.P.
                          Objections due by 3/12/2020. filed by Debtor Highland Capital Management, L.P., 465
                          Application for compensation (First Monthly Application for Compensation and
                          Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor
                          for the Period from December 10, 2019 through December 31, 2019) for Hayward &
                          Associates PLLC, Debtor's Attorney, Period: 12/10/2019 to 12/31/2019, Fee: $18,695.00,
                          Expenses: $80.60. Filed by Attorney Hayward & Associates PLLC (Attachments: # 1 Exhibit
                          A--H&A December 2019 Fee Statement)). (Kass, Albert)

                             481 (6 pgs) Certificate of service re: Notice of Debtor's Amended Operating Protocols
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)466 Notice
                          (Notice of Debtor's Amended Operating Protocols) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)339 Order Approve Settlement with Official
                          Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures for
                          Operations in the Ordinary Course ( (related document 281) Entered on 1/9/2020. (Okafor,
                          M.)). (Attachments: # 1 Exhibit A--Amended Operating Protocols # 2 Exhibit B--Redline of
                          Amended Operating Protocols) filed by Debtor Highland Capital Management, L.P.). (Kass,
   02/26/2020             Albert)

                            482 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)473
                          Agreed Order granting motion for relief from stay by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab (related document 218) Entered on 2/24/2020. (Okafor, M.))
   02/26/2020             No. of Notices: 1. Notice Date 02/26/2020. (Admin.)

                             483 (79 pgs; 3 docs) Application to employ Deloitte Tax LLP as Other Professional
                          (Debtor's Application for Entry of an Order (A) Authorizing the Employment and Retention
                          of Deloitte Tax LLP as Tax Services Provider to the Debtor Nunc Pro Tunc to the Petition
                          Date; and (B) Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Crawford Declaration # 2 Exhibit B--Proposed Order)
   02/27/2020             (Annable, Zachery)

                            484 (5 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)474 Motion for authority to apply and disburse funds (Motion of the
                          Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause
   02/28/2020             Distributions to Certain "Related Entities")). (Annable, Zachery)

                            485 (4 pgs; 2 docs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 through January 31, 2020) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 ORDER
                          PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE
                          AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)).
   02/28/2020             (Attachments: # 1 Exhibit A--OCP Tracking Report) (Annable, Zachery)

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   03/02/2020                486 (39 pgs; 3 docs) Response opposed to (related document(s): 474 Motion for authority
                          to apply and disburse funds (Motion of the Debtor for Entry of an Order Authorizing, but Not
                          Directing, the Debtor to Cause Distributions to Certain "Related Entities") filed by Debtor
                          Highland Capital Management, L.P.) filed by Interested Party California Public Employees
                          Retirement System (CalPERS). (Attachments: # 1 Exhibit A - Purchase and Sale Agreement
                          # 2 Exhibit B - Assignment and Assumption Agreement) (Shriro, Michelle)

                             487 (14 pgs) Objection to (related document(s): 474 Motion for authority to apply and
                          disburse funds (Motion of the Debtor for Entry of an Order Authorizing, but Not Directing,
                          the Debtor to Cause Distributions to Certain "Related Entities") filed by Debtor Highland
                          Capital Management, L.P.) filed by Creditor Committee Official Committee of Unsecured
   03/02/2020             Creditors. (Hoffman, Juliana)

                             488 (18 pgs) Order Granting Motion (i) Establishing Bar Dates for Filing Claims,
                          Including 503(b)(9) Claims; and (ii) Approving the Form and Manner of Notice Thereof
                          Filed by Debtor Highland Capital Management, L.P(related document # 421) The General
                          Bar Date is April 8, 2020 at 5:00 p.m. Central Time; other dates per Order Entered on
   03/02/2020             3/2/2020. (Okafor, M.)

                            489 (9 pgs) Joinder by Acis Capital Management, L.P. and Acis Capital Management GP,
                          LLC to the Committee's Objection to the Motion of the Debtor for Entry of an Order
                          Authorizing, but Not Directing, the Debtor to Cause Distributions to Certain "Related
                          Entities," and Comment to the Same filed by Acis Capital Management GP, LLC, Acis
   03/02/2020             Capital Management, L.P. (RE: related document(s)487 Objection). (Enright, Jason)

                             490 (4 pgs) Motion to appear pro hac vice for Louis J. Cisz, III. Fee Amount $100 Filed
                          by Interested Party California Public Employees Retirement System (CalPERS) (Shriro,
   03/02/2020             Michelle)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   03/02/2020             ( 100.00). Receipt number 27511024, amount $ 100.00 (re: Doc# 490). (U.S. Treasury)

                             491 (6 pgs) Certificate of service re: 1) Motion of the Debtor for Entry of an Order
                          Authorizing, But Not Directing, the Debtor to Cause Distributions to Certain "Related
                          Entities"; 2) Debtor's Motion for an Expedited Hearing on the Motion of the Debtor for
                          Entry of an Order Authorizing, But Not Directing, the Debtor to Cause Distributions to
                          Certain "Related Entities" Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)474 Motion for authority to apply and disburse funds (Motion of the
                          Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause
                          Distributions to Certain "Related Entities") Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                          # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) filed by Debtor Highland Capital Management,
                          L.P., 475 Motion for expedited hearing(related documents 474 Motion for authority to apply
                          and disburse funds) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
   03/02/2020             Proposed Order) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   03/02/2020                492 (6 pgs) Certificate of service re: 1) Order Granting Debtor's Motion for an Expedited
                          Hearing on the Motion of the Debtor for Entry of an Order Authorizing, But Not Directing,
                          the Debtor to Cause Distributions to Certain "Related Entities"; 2) Notice of Hearing on the
                          Motion of the Debtor for Entry of an Order Authorizing, But Not Directing, the Debtor to
                          Cause Distributions to Certain "Related Entities"; to be Held on March 4, 2020 at 1:30 p.m.
                          (Prevailing Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related

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                          document(s)477 Order granting motion for expedited hearing (Related Doc475)(document
                          set for hearing: 474 Motion for authority to apply and disburse funds) Hearing to be held on
                          3/4/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 474, Entered on 2/25/2020. (Okafor,
                          M.), 478 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)474 Motion for authority to apply and disburse funds (Motion of the Debtor for
                          Entry of an Order Authorizing, but Not Directing, the Debtor to Cause Distributions to
                          Certain "Related Entities") Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                          Exhibit E # 6 Exhibit F # 7 Exhibit G)). Hearing to be held on 3/4/2020 at 01:30 PM Dallas
                          Judge Jernigan Ctrm for 474, filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                             493 (6 pgs) Certificate of service re: 1) Witness and Exhibit List for March 4, 2020
                          Hearing; 2) Notice of Statement of Amounts Paid to Ordinary Course Professionals for the
                          Period from October 16, 2019 through January 31, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)484 Witness and Exhibit List filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)474 Motion for authority to
                          apply and disburse funds (Motion of the Debtor for Entry of an Order Authorizing, but Not
                          Directing, the Debtor to Cause Distributions to Certain "Related Entities")). filed by Debtor
                          Highland Capital Management, L.P., 485 Notice (Notice of Statement of Amounts Paid to
                          Ordinary Course Professionals for the Period from October 16, 2019 through January 31,
                          2020) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
                          ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF THE
                          BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND
                          COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN THE
                          ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). (Attachments: # 1 Exhibit A--OCP Tracking Report) filed by
   03/02/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            494 (4 pgs) Objection to (related document(s): 451 Motion for relief from stay Fee
                          amount $181, filed by Creditor Joshua Terry, Creditor Jennifer G. Terry)(Debtor's Limited
                          Objection to Motion for Relief from the Automatic Stay to Allow Pursuit of State Court
                          Action Against Non-Debtors and Reservation of Rights) filed by Debtor Highland Capital
   03/02/2020             Management, L.P.. (Annable, Zachery)

                            495 (3 pgs) Witness and Exhibit List filed by Creditor Committee Official Committee of
   03/02/2020             Unsecured Creditors (RE: related document(s)487 Objection). (Hoffman, Juliana)

                             496 (5 pgs) Witness and Exhibit List filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P. (RE: related document(s)474 Motion for authority to apply and
                          disburse funds (Motion of the Debtor for Entry of an Order Authorizing, but Not Directing,
   03/02/2020             the Debtor to Cause Distributions to Certain "Related Entities")). (Enright, Jason)

                            497 (9 pgs) Debtor-in-possession monthly operating report for filing period January 1,
                          2020 to January 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable,
   03/03/2020             Zachery)

                            498 (6 pgs) Notice of Bar Date for Filing Claims filed by Debtor Highland Capital
   03/03/2020             Management, L.P.. (Hayward, Melissa)


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   03/04/2020                499 (10 pgs) Reply to (related document(s): 487 Objection filed by Creditor Committee
                          Official Committee of Unsecured Creditors) filed by Debtor Highland Capital Management,
                          L.P.. (Hayward, Melissa)

                            500 (1 pg) Order granting motion to appear pro hac vice adding Louis J. Cisz for
                          California Public Employees Retirement System (CalPERS) (related document # 490)
   03/04/2020             Entered on 3/4/2020. (Okafor, M.)

                            501 (65 pgs) Application for compensation Third Monthly Application for Compensation
                          and Reimbursement of Expenses of Sidley Austin, Counsel for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 1/1/2020 to 1/31/2020, Fee: $569,091.60,
                          Expenses: $12,673.30. Filed by Attorney Juliana Hoffman, Creditor Committee Official
   03/04/2020             Committee of Unsecured Creditors Objections due by 3/25/2020. (Hoffman, Juliana)

                              Hearing held on 3/4/2020. (RE: related document(s)474 Motion for authority to apply
                          and disburse funds (Motion of the Debtor for Entry of an Order Authorizing, but Not
                          Directing, the Debtor to Cause Distributions to Certain "Related Entities") filed by Debtor
                          Highland Capital Management, L.P.) (Appearances (live): J. Pomeranz, G. Demo, M.
                          Hayward, and Z. Annabel for Debtor; M. Clemente, P. Reid, and J. Hoffman for UCC; M.
                          Platt for Redeemer Committee; R. Patel and B. Shaw for ACIS; M. Shriro for CALPERS; A.
                          Anderson for certain Cayman issuers; D.M. Lynn for J. Dondero. Appearances (telephonic):
                          A. Attarwala for UBS; J. Bentley for certain Cayman issuers; E. Cheng for FTI Consulting;
                          L. Cisz for CALPERS; T. Mascherin for Redeemer Committee. Evidentiary hearing. Motion
                          resolved as follows: money owing to related entities will go into the registry of the court with
                          the following exception-Mark Okada may be paid approximately $2.876 (the $4.176 million
                          owing to him from the Dynamic Fund will be offset against his $1.3 million demand note
                          owing to the Debtor). All parties rights are reserved with regard to funds being put in the
                          registry of the court. Debtors counsel should upload order.) (Edmond, Michael) (Entered:
   03/04/2020             03/05/2020)

                            504 (1 pg) Court admitted exhibits date of hearing March 4, 2020 (RE: related
                          document(s)474 Motion for authority to apply and disburse funds (Motion of the Debtor for
                          Entry of an Order Authorizing, but Not Directing, the Debtor to Cause Distributions to
                          Certain "Related Entities") Filed by Debtor Highland Capital Management, L.P.) (COURT
                          ADMITTED EXHIBIT'S #1, #2, #3, #4, #5, #6, #7, #8, #9, #10, #11, & #12) (Edmond,
   03/04/2020             Michael) (Entered: 03/05/2020)

                             502 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)442 Application for compensation Second
                          Monthly Application for Allowance of Compensation and Reimbursement of Expenses for
                          FTI Consulting, Inc., Financial Advisor, Period: 12/1/2019 to 12/31/2019, Fee: $89,215.36,
   03/05/2020             Expenses: $3,955.12). (Hoffman, Juliana)

                             503 (1 pg) Request for transcript regarding a hearing held on 3/4/2020. The requested
   03/05/2020             turn-around time is daily (Jeng, Hawaii)

                             505 (3 pgs) Notice of Appearance and Request for Notice by John Y. Bonds III filed by
   03/06/2020             Interested Party James Dondero. (Bonds, John)

                             506 (3 pgs) Notice of Appearance and Request for Notice by Bryan C. Assink filed by
   03/06/2020             Interested Party James Dondero. (Assink, Bryan)


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   03/06/2020                507 (3 pgs) Motion to appear pro hac vice for Jeffrey Bjork. Fee Amount $100 Filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)
                          Modified to correct attorney name on 3/6/2020 (Ecker, C.).

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   03/06/2020             ( 100.00). Receipt number 27531772, amount $ 100.00 (re: Doc# 507). (U.S. Treasury)

                            508 (2 pgs) Witness and Exhibit List filed by Jennifer G. Terry, Joshua Terry (RE: related
   03/06/2020             document(s)451 Motion for relief from stay Fee amount $181,). (Shaw, Brian)

                            509 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)500
                          Order granting motion to appear pro hac vice adding Louis J. Cisz for California Public
                          Employees Retirement System (CalPERS) (related document 490) Entered on 3/4/2020.
   03/06/2020             (Okafor, M.)) No. of Notices: 1. Notice Date 03/06/2020. (Admin.)

                             510 (1 pg) Order granting motion to appear pro hac vice adding Jeffrey E. Bjork for UBS
                          AG London Branch and UBS Securities LLC (related document # 507) Entered on
   03/10/2020             3/10/2020. (Okafor, M.)

                             511 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)68 Application/Motion to Employ/Retain Foley Gardere, Foley &
                          Lardner LLP as Special Texas Counsel Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C - Proposed Order # 5 2016 Statement # 6
                          Declaration Frank Waterhouse # 7 Certificate of Service) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE
   03/11/2020             DISTRICT OF DELAWARE] (Okafor, M.)) Responses due by 3/25/2020. (Ecker, C.)

                             512 (4 pgs) Order authorizing, but not directing, the debtor to cause distributions to
   03/11/2020             certain 'related entities'. (Related Doc # 474) Entered on 3/11/2020. (Bradden, T.)

                            513 (4 pgs) Order granting application to employ Foley Gardere, Foley & Lardner LLP as
   03/11/2020             Special Texas Counsel (related document # 68) Entered on 3/11/2020. (Bradden, T.)

                             514 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)281 Motion to compromise controversy with Official Committee of
                          Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
   03/11/2020             Exhibit A # 2 Exhibit B # 3 Proposed Order)) Responses due by 3/25/2020. (Ecker, C.)

                               Hearing held on 3/11/2020. (RE: related document(s)451 Motion for relief from stay,
                          filed by Jennifer G. Terry, Joshua Terry.) (Appearances: M. Hayward for Debtor; B Shaw for
                          Movants; J. Hoffman for UCC; M. Platt (and M. Hankin telephonically) for Redeemer
                          Committee; J. Bonds for J. Dondero; A. Anderson for certain Issuers. Evidentiary hearing.
   03/11/2020             Motion granted. Counsel to upload order.)(Edmond, Michael)

   03/11/2020               515 (55 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from January 1, 2020 through January 31, 2020) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.169   81/439



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                          (Okafor, M.)). (Attachments: # 1 Exhibit A--DSI January 2020 Staffing Report) (Annable,
                          Zachery)

                            516 (1 pg) Court admitted exhibits date of hearing March 11, 2020 (RE: related
                          document(s)451 Motion for relief from stay, filed by Jennifer G. Terry, Joshua Terry.)
   03/11/2020             (COURT ADMITTED PLAINTIFF EXHIBIT'S #M1, #M2 & #M3). (Edmond, Michael)

                            517 (44 pgs) Application for compensation Third Monthly Application for Allowance of
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 1/1/2020 to 1/31/2020, Fee: $411,407.28, Expenses: $79.00. Filed by Financial
   03/12/2020             Advisor FTI Consulting, Inc. Objections due by 4/2/2020. (Hoffman, Juliana)

                            518 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)510
                          Order granting motion to appear pro hac vice adding Jeffrey E. Bjork for UBS AG London
                          Branch and UBS Securities LLC (related document 507) Entered on 3/10/2020. (Okafor,
   03/12/2020             M.)) No. of Notices: 1. Notice Date 03/12/2020. (Admin.)

                             519 (2 pgs) Order granting motion for relief from stay by Jennifer G. Terry , Joshua Terry
   03/13/2020             (related document # 451) Entered on 3/13/2020. (Okafor, M.)

                             520 (4 pgs) BNC certificate of mailing. (RE: related document(s)511 Clerk's
                          correspondence requesting an order from attorney for debtor. (RE: related document(s)68
                          Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP as Special Texas
                          Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit
                          B # 4 Exhibit C - Proposed Order # 5 2016 Statement # 6 Declaration Frank Waterhouse # 7
                          Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #69 ON
                          10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]
                          (Okafor, M.)) Responses due by 3/25/2020. (Ecker, C.)) No. of Notices: 1. Notice Date
   03/13/2020             03/13/2020. (Admin.)

                             521 (4 pgs) BNC certificate of mailing. (RE: related document(s)514 Clerk's
                          correspondence requesting an order from attorney for debtor. (RE: related document(s)281
                          Motion to compromise controversy with Official Committee of Unsecured Creditors. Filed
                          by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Proposed Order)) Responses due by 3/25/2020. (Ecker, C.)) No. of Notices: 1. Notice Date
   03/13/2020             03/13/2020. (Admin.)

                             522 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)512
                          Order authorizing, but not directing, the debtor to cause distributions to certain 'related
                          entities'. (Related Doc 474) Entered on 3/11/2020. (Bradden, T.)) No. of Notices: 1. Notice
   03/13/2020             Date 03/13/2020. (Admin.)

                            523 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)513
                          Order granting application to employ Foley Gardere, Foley & Lardner LLP as Special Texas
                          Counsel (related document 68) Entered on 3/11/2020. (Bradden, T.)) No. of Notices: 1.
   03/13/2020             Notice Date 03/13/2020. (Admin.)

   03/14/2020               524 (6 pgs) Certificate of service re: Order (I) Establishing Bar Dates for Filing Claims
                          and (II) Approving the Form and Manner of Notice Thereof Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)488 Order Granting Motion (i) Establishing
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.170   82/439



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                          Bar Dates for Filing Claims, Including 503(b)(9) Claims; and (ii) Approving the Form and
                          Manner of Notice Thereof Filed by Debtor Highland Capital Management, L.P(related
                          document 421) The General Bar Date is April 8, 2020 at 5:00 p.m. Central Time; other dates
                          per Order Entered on 3/2/2020. (Okafor, M.)). (Kass, Albert)

                             525 (10 pgs) Certificate of service re: Debtor's Limited Objection to Motion for Relief
                          from the Automatic Stay to Allow Pursuit of State Court Action Against Non-Debtors and
                          Reservation of Rights Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)494 Objection to (related document(s): 451 Motion for relief from stay Fee
                          amount $181, filed by Creditor Joshua Terry, Creditor Jennifer G. Terry)(Debtor's Limited
                          Objection to Motion for Relief from the Automatic Stay to Allow Pursuit of State Court
                          Action Against Non-Debtors and Reservation of Rights) filed by Debtor Highland Capital
   03/14/2020             Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             526 (5 pgs) Certificate of service re: Third Monthly Application of Sidley Austin LLP for
                          Allowance of Compensation and Reimbursement of Expenses for the Period from January 1,
                          2020 to and Including January 31, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)501 Application for compensation Third Monthly
                          Application for Compensation and Reimbursement of Expenses of Sidley Austin, Counsel for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 1/1/2020 to
                          1/31/2020, Fee: $569,091.60, Expenses: $12,673.30. Filed by Attorney Juliana Hoffman,
                          Creditor Committee Official Committee of Unsecured Creditors Objections due by
                          3/25/2020. filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass,
   03/14/2020             Albert)

                            527 (2 pgs) Notice of Appearance and Request for Notice by David G. Adams filed by
   03/16/2020             Creditor United States (IRS). (Adams, David)

                             528 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)464 Application for compensation Fourth Monthly Application
                          for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From January 1, 2020 through January 31, 2020 for
   03/16/2020             Highland C). (Annable, Zachery)

                             529 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)465 Application for compensation (First Monthly Application
                          for Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from December 10, 2019 through December 31, 2019)
   03/17/2020             for Hayward). (Annable, Zachery)

                            530 (163 pgs) Certificate of service re: Notice of Bar Dates for Filing Claims Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)498 Notice of Bar
                          Date for Filing Claims filed by Debtor Highland Capital Management, L.P.. filed by Debtor
   03/17/2020             Highland Capital Management, L.P.). (Kass, Albert)

   03/17/2020                531 (6 pgs) Certificate of service re: 1) Order Authorizing, but Not Directing, the Debtor
                          to Cause Distributions to Certain Related Entities; 2) Order Authorizing the Retention and
                          Employment of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel, Nunc Pro
                          Tunc to the Petition Date; 3) Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from January 1, 2020 Through January 31, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)512 Order
                          authorizing, but not directing, the debtor to cause distributions to certain 'related entities'.

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.171   83/439



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                          (Related Doc 474) Entered on 3/11/2020. (Bradden, T.), 513 Order granting application to
                          employ Foley Gardere, Foley & Lardner LLP as Special Texas Counsel (related document
                          68) Entered on 3/11/2020. (Bradden, T.), 515 Notice (Notice of Filing of Monthly Staffing
                          Report by Development Specialists, Inc. for the Period from January 1, 2020 through
                          January 31, 2020) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)342 Order granting application to employ Development Specialists, Inc. to
                          Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date
                          (related document 74) Entered on 1/10/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--
                          DSI January 2020 Staffing Report) filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                             532 (5 pgs) Certificate of service re: Third Monthly Application of FTI Consulting, Inc.
                          for Allowance of Compensation and Reimbursement of Expenses for the Period from January
                          1, 2020 to and Including January 31, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)517 Application for compensation Third Monthly
                          Application for Allowance of Compensation and Reimbursement of Expenses for FTI
                          Consulting, Inc., Financial Advisor, Period: 1/1/2020 to 1/31/2020, Fee: $411,407.28,
                          Expenses: $79.00. Filed by Financial Advisor FTI Consulting, Inc. Objections due by
   03/17/2020             4/2/2020. filed by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                             533 (5 pgs) Certificate of service re: Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)498 Notice of Bar Date for Filing Claims filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
   03/18/2020             L.P.). (Kass, Albert)

                             534 (5 pgs) Certificate of service re: Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)498 Notice of Bar Date for Filing Claims filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
   03/18/2020             L.P.). (Kass, Albert)

                             535 (119 pgs) Application for compensation Fifth Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from February 1, 2020 through February 29, 2020 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 2/1/2020 to 2/29/2020, Fee: $941,043.50, Expenses:
                          $8,092.94. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 4/9/2020.
   03/19/2020             (Pomerantz, Jeffrey)

                            536 (53 pgs; 2 docs) Application for compensation (Second Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from January 1, 2020 through January 31, 2020) for
                          Hayward & Associates PLLC, Debtor's Attorney, Period: 1/1/2020 to 1/31/2020, Fee:
                          $75315.00, Expenses: $2919.27. Filed by Attorney Hayward & Associates PLLC
   03/19/2020             (Attachments: # 1 Exhibit A--January 2020 Invoice) (Annable, Zachery)

                             537 (81 pgs) Notice of Filing of Compensation Report of Development Specialists, Inc.
                          for the Period October 16, 2019 through December 31, 2019 filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)342 Order granting application to employ
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel,
                          and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc
                          as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)). (Annable,
   03/19/2020             Zachery)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.172   84/439



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   03/20/2020                538 (33 pgs; 2 docs) Amended application for compensation Amended First Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019
                          through November 30, 2019 for Foley Gardere, Foley & Lardner LLP, Special Counsel,
                          Period: 10/16/2019 to 11/30/2019, Fee: $84,194.00, Expenses: $4,458.87. Filed by Attorney
                          Holland N. O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil,
                          Holland)

                             539 (34 pgs; 2 docs) Amended application for compensation Amended Second Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley &
                          Lardner LLP as Proposed Special Texas Counsel to the Debtor for the Period from
                          December 1, 2019 through December 30, 2019 for Foley Gardere, Foley & Lardner LLP,
                          Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee: $143,328.50, Expenses: $2,808.29.
                          Filed by Attorney Holland N. O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit
   03/20/2020             A) (O'Neil, Holland)

                             540 (35 pgs; 2 docs) Application for compensation Third Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from January 1, 2020 through
                          January 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          1/1/2020 to 1/31/2020, Fee: $88,520.60, Expenses: $2,180.35. Filed by Attorney Holland N.
   03/20/2020             O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             541 (31 pgs; 2 docs) Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from February 1, 2020 through
                          February 29, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          2/1/2020 to 2/29/2020, Fee: $86,276.50, Expenses: $1,994.83. Filed by Attorney Holland N.
   03/20/2020             O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             542 (52 pgs) Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses for Sidley Austin LLP, Counsel for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 2/1/2020 to 2/29/2020,
                          Fee: $457,155.72, Expenses: $2,927.21. Filed by Attorney Juliana Hoffman Objections due
   03/20/2020             by 4/10/2020. (Hoffman, Juliana)

                            543 (5 pgs) Stipulation by Highland Capital Management, L.P., UBS AG London Branch,
                          UBS Securities LLC and. filed by Debtor Highland Capital Management, L.P., Interested
                          Parties UBS AG London Branch, UBS Securities LLC (RE: related document(s)488 Order
   03/22/2020             on motion for leave). (Manns, Ryan)

                            544 (36 pgs) Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 2/1/2020 to 2/29/2020, Fee: $383,371.20, Expenses: $59.62. Filed by Financial
   03/23/2020             Advisor FTI Consulting, Inc. Objections due by 4/13/2020. (Hoffman, Juliana)

                            545 (4 pgs) Motion to extend time to file objection (Agreed Motion) (RE: related
                          document(s)483 Application to employ) Filed by Creditor Committee Official Committee of
   03/23/2020             Unsecured Creditors (Hoffman, Juliana)

   03/23/2020               546 (3 pgs) Certificate of service re: (Supplemental) Notice of Bar Dates for Filing
                          Claims Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)498
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.173   85/439



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                          Notice of Bar Date for Filing Claims filed by Debtor Highland Capital Management, L.P..
                          filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            547 (5 pgs) Joint Stipulation and Order Extending Bar Date for UBS Securities LLC and
                          UBS AG London Branch (RE: related document(s)543 Stipulation filed by Debtor Highland
                          Capital Management, L.P., Interested Party UBS Securities LLC, Interested Party UBS AG
   03/25/2020             London Branch). Entered on 3/25/2020 (Okafor, M.)

                             548 (3 pgs) Agreed Order Extending the Deadline to Object to the Application for Entry
                          of an Order (A) Authorizing the Employment and Retention of Deloitte Tax LLP as Tax
                          Services Provider to the Debtor Nunc Pro Tunc to the Petition Date; and (B) Granting
                          Related Relief (Related documents # 545 Motion to extend and 483 Application to employ
   03/25/2020             Deloitte Tax LLP) Entered on 3/25/2020. (Okafor, M.)

                             549 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)501 Application for compensation Third
                          Monthly Application for Compensation and Reimbursement of Expenses of Sidley Austin,
                          Counsel for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
   03/26/2020             1/1/2020 to 1/31/2020, Fee: $569). (Hoffman, Juliana)

                             550 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)483 Application to employ Deloitte Tax LLP as Other
                          Professional (Debtor's Application for Entry of an Order (A) Authorizing the Employment
                          and Retention of Deloitte Tax LLP as Tax Services Provider to the Debtor Nunc Pro Tunc to
   03/26/2020             the Petition Date;). (Annable, Zachery)

                             551 (6 pgs) Agreed Order granting application to employ Deloitte Tax LLP as tax
                          services provider nunc pro tunc to the petition date (related document # 483) Entered on
   03/27/2020             3/27/2020. (Okafor, M.)

                              552 (3 pgs) Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
   03/27/2020             motion for leave). (Annable, Zachery)

   03/27/2020                553 (10 pgs) Certificate of service re: 1) Fifth Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor
                          for the Period from February 1, 2020 Through February 29, 2020; 2) Second Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
                          PLLC as Local Counsel to the Debtor for the Period from January 1, 2020 Through January
                          31, 2020; and 3) Compensation Report of Development Specialists, Inc. for the Period
                          October 16, 2019 Through December 31, 2019 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)535 Application for compensation Fifth Monthly
                          Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl &
                          Jones LLP as Counsel to the Debtor for the Period from February 1, 2020 through February
                          29, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 2/1/2020 to 2/29/2020,
                          Fee: $941,043.50, Expenses: $8,092.94. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 4/9/2020. filed by Debtor Highland Capital Management, L.P., 536
                          Application for compensation (Second Monthly Application for Compensation and
                          Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor
                          for the Period from January 1, 2020 through January 31, 2020) for Hayward & Associates
                          PLLC, Debtor's Attorney, Period: 1/1/2020 to 1/31/2020, Fee: $75315.00, Expenses:
                          $2919.27. Filed by Attorney Hayward & Associates PLLC (Attachments: # 1 Exhibit A--

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.174   86/439



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                          January 2020 Invoice), 537 Notice of Filing of Compensation Report of Development
                          Specialists, Inc. for the Period October 16, 2019 through December 31, 2019 filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
                          M.)). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             554 (8 pgs) Certificate of service re: Documents Served on or Before March 21, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)538
                          Amended application for compensation Amended First Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          November 30, 2019 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          10/16/2019 to 11/30/2019, Fee: $84,194.00, Expenses: $4,458.87. Filed by Attorney Holland
                          N. O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed
                          by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 539 Amended application for
                          compensation Amended Second Monthly Application for Compensation and Reimbursement
                          of Expenses of Foley Gardere, Foley & Lardner LLP as Proposed Special Texas Counsel to
                          the Debtor for the Period from December 1, 2019 through December 30, 2019 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee:
                          $143,328.50, Expenses: $2,808.29. Filed by Attorney Holland N. O'Neil Objections due by
                          4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by Spec. Counsel Foley
                          Gardere, Foley & Lardner LLP, 540 Application for compensation Third Monthly Application
                          for Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP
                          as Proposed Special Texas Counsel to the Debtor for the Period from January 1, 2020
                          through January 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          1/1/2020 to 1/31/2020, Fee: $88,520.60, Expenses: $2,180.35. Filed by Attorney Holland N.
                          O'Neil Objections due by 4/10/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by
                          Spec. Counsel Foley Gardere, Foley & Lardner LLP, 541 Application for compensation
                          Fourth Monthly Application for Compensation and Reimbursement of Expenses of Foley
                          Gardere, Foley & Lardner LLP as Proposed Special Texas Counsel to the Debtor for the
                          Period from February 1, 2020 through February 29, 2020 for Foley Gardere, Foley &
                          Lardner LLP, Special Counsel, Period: 2/1/2020 to 2/29/2020, Fee: $86,276.50, Expenses:
                          $1,994.83. Filed by Attorney Holland N. O'Neil Objections due by 4/10/2020. (Attachments:
                          # 1 Exhibit A) (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley & Lardner
                          LLP, 542 Application for compensation Fourth Monthly Application for Compensation and
                          Reimbursement of Expenses for Sidley Austin LLP, Counsel for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 2/1/2020 to 2/29/2020, Fee: $457,155.72,
                          Expenses: $2,927.21. Filed by Attorney Juliana Hoffman Objections due by 4/10/2020. filed
   03/27/2020             by Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

   03/27/2020                555 (10 pgs) Certificate of service re: 1) Fourth Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          February 1, 2020 to and Including February 29, 2020; 2) Agreed Motion to Extend
                          Objection Deadline for the Debtor's Application for Entry of an Order (A) Authorizing the
                          Employment and Retention of Deloitte Tax LLP as Tax Services Provider to the Debtor Nunc
                          Pro Tunc to the Petition Date; and (B) Granting Related Relief Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)544 Application for compensation
                          Fourth Monthly Application for Compensation and Reimbursement of Expenses for FTI
                          Consulting, Inc., Financial Advisor, Period: 2/1/2020 to 2/29/2020, Fee: $383,371.20,
                          Expenses: $59.62. Filed by Financial Advisor FTI Consulting, Inc. Objections due by
                          4/13/2020. filed by Financial Advisor FTI Consulting, Inc., 545 Motion to extend time to file
                          objection (Agreed Motion) (RE: related document(s)483 Application to employ) Filed by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.175   87/439



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                          Creditor Committee Official Committee of Unsecured Creditors filed by Creditor Committee
                          Official Committee of Unsecured Creditors). (Kass, Albert)

                             556 (6 pgs) Order approving stipulation permitting Brown Rudnick LLP to file a proof of
                          claim after general bar date (RE: related document(s)552 Stipulation filed by Debtor
   03/31/2020             Highland Capital Management, L.P.). Entered on 3/31/2020 (Okafor, M.)

                            557 (10 pgs; 2 docs) Motion to extend time to (Debtor's Emergency Motion for an Order
                          Extending Bar Date Deadline for Employees to File Claims) (RE: related document(s)488
                          Order on motion for leave) Filed by Debtor Highland Capital Management, L.P.
   03/31/2020             (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                            558 (9 pgs) Debtor-in-possession monthly operating report for filing period 02/01/2020 to
   04/02/2020             02/29/2020 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                              559 (5 pgs) Certificate of service re: (Supplemental) Notice of Bar Dates for Filing
                          Claims Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)498
                          Notice of Bar Date for Filing Claims filed by Debtor Highland Capital Management, L.P..
   04/02/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                              560 (2 pgs) Order granting 557 Motion Extending Bar Date Deadline for Employees to
                          File Claims. The General Bar Date is hereby extended, solely for the Debtors employees, to
                          file claims that arose against the Debtor prior to the Petition Date through and including May
   04/03/2020             26, 2020 at 5:00 p.m. Entered on 4/3/2020. (Okafor, M.)

                             561 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)517 Application for compensation Third Monthly Application for
                          Allowance of Compensation and Reimbursement of Expenses for FTI Consulting, Inc.,
                          Financial Advisor, Period: 1/1/2020 to 1/31/2020, Fee: $411,407.28, Expenses: $79.00.).
   04/03/2020             (Hoffman, Juliana)

                            562 (3 pgs) Notice of hearing(Notice of May 26, 2020 Omnibus Hearing Date) filed by
                          Debtor Highland Capital Management, L.P.. Hearing to be held on 5/26/2020 at 09:30 AM
   04/03/2020             Dallas Judge Jernigan Ctrm (Annable, Zachery)

                            563 (3 pgs) Notice of hearing(Notice of June 15, 2020 Omnibus Hearing Date) filed by
                          Debtor Highland Capital Management, L.P.. Hearing to be held on 6/15/2020 at 01:30 PM
   04/03/2020             Dallas Judge Jernigan Ctrm (Annable, Zachery)

                             564 (6 pgs) Certificate of service re: 1) Agreed Order: (A) Authorizing the Employment
                          and Retention of Deloitte Tax LLP as Tax Services Provider Nunc Pro Tunc to the Petition
                          Date; and (B) Granting Related Relief; 2) Stipulation by and Between the Debtor and Brown
                          Rudnick LLP Extending the General Bar Date Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)551 Agreed Order granting application to employ
                          Deloitte Tax LLP as tax services provider nunc pro tunc to the petition date (related
                          document 483) Entered on 3/27/2020. (Okafor, M.), 552 Stipulation by Highland Capital
                          Management, L.P. and Brown Rudnick LLP. filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)488 Order on motion for leave). filed by Debtor Highland
   04/03/2020             Capital Management, L.P.). (Kass, Albert)

   04/03/2020               565 (6 pgs) Certificate of service re: 1) Order Approving Stipulation Permitting Brown
                          Rudnick LLP to File a Proof of Claim After the General Bar Date; 2) Debtor's Emergency
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.176   88/439



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                          Motion for an Order Extending Bar Date Deadline for Employees to File Claims Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)556 Order approving
                          stipulation permitting Brown Rudnick LLP to file a proof of claim after general bar date (RE:
                          related document(s)552 Stipulation filed by Debtor Highland Capital Management, L.P.).
                          Entered on 3/31/2020 (Okafor, M.), 557 Motion to extend time to (Debtor's Emergency
                          Motion for an Order Extending Bar Date Deadline for Employees to File Claims) (RE:
                          related document(s)488 Order on motion for leave) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                            566 (4 pgs) Declaration re: (First Supplemental Declaration of Bradley D. Sharp in
                          Support of Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) to Employ and
                          Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)74 Application to employ Development Specialists, Inc as Financial
   04/06/2020             Advisor). (Annable, Zachery)

                            567 (49 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report By Development
                          Specialists, Inc for the Period from February 1, 2020 through February 29, 2020) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
   04/06/2020             (Okafor, M.)). (Attachments: # 1 Exhibit A--Staffing Report) (Annable, Zachery)

                            568 (3 pgs) Notice of hearing(Notice of July 8, 2020 Omnibus Hearing Date) filed by
                          Debtor Highland Capital Management, L.P.. Hearing to be held on 7/8/2020 at 01:30 PM
   04/07/2020             Dallas Judge Jernigan Ctrm (Annable, Zachery)

                             569 (248 pgs) Application for compensation Sidley Austin LLP's First Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 10/29/2019 to 2/29/2020, Fee:
                          $3,154,959.45, Expenses: $56,254.47. Filed by Objections due by 4/28/2020. (Hoffman,
   04/07/2020             Juliana)

                            570 (110 pgs) Application for compensation First Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses: $8,781.09. Filed by Financial
   04/07/2020             Advisor FTI Consulting, Inc. Objections due by 4/28/2020. (Hoffman, Juliana)

   04/08/2020                571 (121 pgs) Transcript regarding Hearing Held 03/04/20 RE: Motion hearing. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                          07/7/2020. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber J&J Court
                          Transcribers, Inc., Telephone number 609-586-2311. (RE: related document(s) Hearing held
                          on 3/4/2020. (RE: related document(s)474 Motion for authority to apply and disburse funds
                          (Motion of the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to
                          Cause Distributions to Certain "Related Entities") filed by Debtor Highland Capital
                          Management, L.P.) (Appearances (live): J. Pomeranz, G. Demo, M. Hayward, and Z.
                          Annabel for Debtor; M. Clemente, P. Reid, and J. Hoffman for UCC; M. Platt for Redeemer
                          Committee; R. Patel and B. Shaw for ACIS; M. Shriro for CALPERS; A. Anderson for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.177   89/439



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                          certain Cayman issuers; D.M. Lynn for J. Dondero. Appearances (telephonic): A. Attarwala
                          for UBS; J. Bentley for certain Cayman issuers; E. Cheng for FTI Consulting; L. Cisz for
                          CALPERS; T. Mascherin for Redeemer Committee. Evidentiary hearing. Motion resolved as
                          follows: money owing to related entities will go into the registry of the court with the
                          following exception-Mark Okada may be paid approximately $2.876 (the $4.176 million
                          owing to him from the Dynamic Fund will be offset against his $1.3 million demand note
                          owing to the Debtor). All parties rights are reserved with regard to funds being put in the
                          registry of the court. Debtors counsel should upload order.)). Transcript to be made available
                          to the public on 07/7/2020. (Bowen, James)

                             572 (4 pgs) Stipulation by Issuer Group and Highland Capital Management, L.P.. filed by
                          Creditor Issuer Group (RE: related document(s)488 Order on motion for leave). (Bain,
   04/08/2020             Joseph)

                            573 (34 pgs; 2 docs) Application for compensation (Third Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from February 1, 2020 through February 29, 2020) for
                          Hayward & Associates PLLC, Debtor's Attorney, Period: 2/1/2020 to 2/29/2020, Fee:
                          $39,087.50, Expenses: $2,601.40. Filed by Other Professional Hayward & Associates PLLC
   04/09/2020             (Attachments: # 1 Exhibit A--February 2020 Fee Statement) (Annable, Zachery)

                             574 (3 pgs) Certificate No Objection Regarding Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses Of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From February 1, 2020 Through February 29, 2020 filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)535 Application for
                          compensation Fifth Monthly Application for Compensation and Reimbursement of Expenses
                          of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period from
   04/09/2020             February 1, 2020 through February 29, 2020 for Jeffrey Nat). (Pomerantz, Jeffrey)

                              575 (6 pgs) Certificate of service re: 1) Order Granting Debtor's Emergency Motion and
                          Extending Bar Date Deadline for Employees to File Claims; 2) Notice of May 26, 2020
                          Omnibus Hearing Date; to be Held on May 26, 2020 at 9:30 a.m. (Central Time); and 3)
                          Notice of June 15, 2020 Omnibus Hearing Date; to be Held on June 15, 2020 at 1:30 p.m.
                          (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)560 Order granting 557 Motion Extending Bar Date Deadline for Employees to
                          File Claims. The General Bar Date is hereby extended, solely for the Debtors employees, to
                          file claims that arose against the Debtor prior to the Petition Date through and including May
                          26, 2020 at 5:00 p.m. Entered on 4/3/2020. (Okafor, M.), 562 Notice of hearing(Notice of
                          May 26, 2020 Omnibus Hearing Date) filed by Debtor Highland Capital Management, L.P..
                          Hearing to be held on 5/26/2020 at 09:30 AM Dallas Judge Jernigan Ctrm filed by Debtor
                          Highland Capital Management, L.P., 563 Notice of hearing(Notice of June 15, 2020 Omnibus
                          Hearing Date) filed by Debtor Highland Capital Management, L.P.. Hearing to be held on
                          6/15/2020 at 01:30 PM Dallas Judge Jernigan Ctrm filed by Debtor Highland Capital
   04/10/2020             Management, L.P.). (Kass, Albert)

   04/10/2020               576 (6 pgs) Certificate of service re: 1) First Supplemental Declaration of Bradley D.
                          Sharp in Support of Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date; and 2) Notice of Filing of Monthly Staffing
                          Report By Development Specialists, Inc for the Period from February 1, 2020 through
                          February 29, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)566 Declaration re: (First Supplemental Declaration of Bradley D. Sharp in
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.178   90/439



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                          Support of Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) to Employ and
                          Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)74 Application to employ Development Specialists, Inc as Financial
                          Advisor). filed by Debtor Highland Capital Management, L.P., 567 Notice (Notice of Filing
                          of Monthly Staffing Report By Development Specialists, Inc for the Period from February 1,
                          2020 through February 29, 2020) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)342 Order granting application to employ Development Specialists, Inc.
                          to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date
                          (related document 74) Entered on 1/10/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--
                          Staffing Report) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             577 (5 pgs) Certificate of service re: 1) Summary Sheet and First Interim Fee Application
                          of Sidley Austin LLP, Attorneys for the Official Committee of Unsecured Creditors, for
                          Compensation and Reimbursement of Expenses for the Period from October 29, 2019
                          Through and Including February 29, 2020; and 2) Summary Sheet and First Interim Fee
                          Application of FTI Consulting, Inc. as Financial Advisor for the Official Committee of
                          Unsecured Creditors, for Compensation and Reimbursement of Expenses for the Period from
                          October 29, 2019 Through and Including February 29, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)569 Application for compensation
                          Sidley Austin LLP's First Interim Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          10/29/2019 to 2/29/2020, Fee: $3,154,959.45, Expenses: $56,254.47. Filed by Objections due
                          by 4/28/2020. filed by Creditor Committee Official Committee of Unsecured Creditors, 570
                          Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period: 10/29/2019
                          to 2/29/2020, Fee: $1,757,835.90, Expenses: $8,781.09. Filed by Financial Advisor FTI
                          Consulting, Inc. Objections due by 4/28/2020. filed by Financial Advisor FTI Consulting,
   04/10/2020             Inc.). (Kass, Albert)

                              578 (6 pgs) Certificate of service re: Notice of July 8, 2020 Omnibus Hearing Date Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)568 Notice of
                          hearing(Notice of July 8, 2020 Omnibus Hearing Date) filed by Debtor Highland Capital
                          Management, L.P.. Hearing to be held on 7/8/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
   04/10/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             579 (6 pgs) Certificate of service re: Joint Stipulation and [Proposed] Order Extending
                          the General Bar Date Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)572 Stipulation by Issuer Group and Highland Capital Management, L.P.. filed
                          by Creditor Issuer Group (RE: related document(s)488 Order on motion for leave). filed by
   04/10/2020             Creditor Issuer Group). (Kass, Albert)

   04/10/2020                580 (12 pgs) Objection to (related document(s): 538 Amended application for
                          compensation Amended First Monthly Application for Compensation and Reimbursement of
                          Expenses of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel to the Debtor for
                          the Period from October 16, 2019 through November filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP, 539 Amended application for compensation Amended Second Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley &
                          Lardner LLP as Proposed Special Texas Counsel to the Debtor for the Period from
                          December 1, 2019 through filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 540
                          Application for compensation Third Monthly Application for Compensation and
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.179   91/439



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                          Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Proposed Special
                          Texas Counsel to the Debtor for the Period from January 1, 2020 through January 31, 2020<
                          filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 541 Application for
                          compensation Fourth Monthly Application for Compensation and Reimbursement of
                          Expenses of Foley Gardere, Foley & Lardner LLP as Proposed Special Texas Counsel to the
                          Debtor for the Period from February 1, 2020 through February 29, 20 filed by Spec. Counsel
                          Foley Gardere, Foley & Lardner LLP) filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P.. (Chiarello, Annmarie)

                             581 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)542 Application for compensation Fourth
                          Monthly Application for Compensation and Reimbursement of Expenses for Sidley Austin
                          LLP, Counsel for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
   04/11/2020             2/1/2020 to 2/29/2020, Fee: �). (Hoffman, Juliana)

                            582 (8 pgs; 2 docs) Motion for relief from stay - agreed Filed by Interested Party Hunton
   04/13/2020             Andrews Kurth LLP (Attachments: # 1 Proposed Order) (Skolnekovich, Nicole)

                             583 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)544 Application for compensation Fourth
                          Monthly Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 2/1/2020 to 2/29/2020, Fee: $383,371.20, Expenses:
   04/14/2020             $59.62.). (Hoffman, Juliana)

                             584 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)536 Application for compensation (Second
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from January 1, 2020
   04/14/2020             through January 31, 2020) for Hayward &). (Annable, Zachery)

                            585 (1 pg) Notice of Appearance and Request for Notice Filed by Creditor American
   04/14/2020             Express National Bank. (Bharatia, Shraddha)

                            586 (122 pgs) Application for compensation Sixth Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period From March 1, 2020 Through March 31, 2020 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 3/1/2020 to 3/31/2020, Fee: $1,222,801.25, Expenses:
                          $18,747.77. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 5/5/2020.
   04/14/2020             (Pomerantz, Jeffrey)

                              587 (5 pgs) Certificate of service re: Third Monthly Application for Compensation and
                          Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor
                          for the Period from February 1, 2020 through February 29, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)573 Application for compensation
                          (Third Monthly Application for Compensation and Reimbursement of Expenses of Hayward
                          & Associates PLLC as Local Counsel to the Debtor for the Period from February 1, 2020
                          through February 29, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          2/1/2020 to 2/29/2020, Fee: $39,087.50, Expenses: $2,601.40. Filed by Other Professional
                          Hayward & Associates PLLC (Attachments: # 1 Exhibit A--February 2020 Fee Statement)
   04/15/2020             filed by Other Professional Hayward & Associates PLLC). (Kass, Albert)

   04/15/2020                 588 (13 pgs) Certificate of service re: Omnibus Limited Objection to Applications for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.180   92/439



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                          Compensation and Reimbursement of Expense of Foley Gardere, Foley & Lardner LLP as
                          Special Counsel for the Period From October 16, 2019 Through February 29, 2020 filed by
                          Acis Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related
                          document(s)538 Amended application for compensation Amended First Monthly Application
                          for Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP
                          as Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          November, 539 Amended application for compensation Amended Second Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley &
                          Lardner LLP as Proposed Special Texas Counsel to the Debtor for the Period from
                          December 1, 2019 through, 540 Application for compensation Third Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from January 1, 2020 through
                          January 31, 2020<, 541 Application for compensation Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from February 1, 2020 through
                          February 29, 20). (Chiarello, Annmarie)

                             589 (2 pgs) Notice of hearing filed by Interested Party Hunton Andrews Kurth LLP (RE:
                          related document(s)582 Motion for relief from stay - agreed Filed by Interested Party Hunton
                          Andrews Kurth LLP (Attachments: # 1 Proposed Order)). Hearing to be held on 5/7/2020 at
   04/15/2020             01:30 PM Dallas Judge Jernigan Ctrm for 582, (Skolnekovich, Nicole)

                             590 (265 pgs; 12 docs) Motion to reclaim funds from the registry[Motion for Remittance
                          of Funds Held in Registry of Court] Filed by Creditor CLO Holdco, Ltd. (Attachments: # 1
                          Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit
   04/15/2020             G # 8 Exhibit H # 9 Exhibit I # 10 Proposed Order # 11 Service List) (Kane, John)

                             591 (3 pgs) Certificate of service re: 1) Notice of Bar Dates for Filing Claims; and 2)
                          [Customized] Official Form 410 Proof of Claim Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)498 Notice of Bar Date for Filing Claims filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
   04/17/2020             L.P.). (Kass, Albert)

                             592 (54 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc for the Period from March 1, 2020 through March 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
   04/17/2020             M.)). (Attachments: # 1 Exhibit A--DSI Staffing Report for March 2020) (Annable, Zachery)

                            593 (106 pgs; 7 docs) Motion for relief from stay Fee amount $181, Filed by Acis Capital
                          Management GP, LLC, Acis Capital Management, L.P. Objections due by 5/1/2020.
                          (Attachments: # 1 Exhibit 1 (Draft Motion Show Cause Motion) # 2 Exhibit 2 (DAF
                          Complaint 1st case) # 3 Exhibit 3 (DAF Dismissal first case) # 4 Exhibit 4 (DAF Complaint
   04/17/2020             2nd case) # 5 Exhibit 5 (DAF Dismissal 2nd Case) # 6 Proposed Order) (Shaw, Brian)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   04/17/2020             181.00). Receipt number 27675692, amount $ 181.00 (re: Doc# 593). (U.S. Treasury)

   04/20/2020                594 (50 pgs) Application for compensation Sidley Austin LLP's Fifth Monthly Application
                          for Compensation and Reimbursement of Expenses for Official Committee of Unsecured

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.181   93/439



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                          Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 3/31/2020, Fee: $476,836.20, Expenses:
                          $14,406.39. Filed by Attorney Juliana Hoffman Objections due by 5/11/2020. (Hoffman,
                          Juliana)

                             595 (5 pgs) Certificate of service re: Sixth Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor
                          for the Period From March 1, 2020 Through March 31, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)586 Application for compensation
                          Sixth Monthly Application for Compensation and Reimbursement of Expenses of Pachulski
                          Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period From March 1, 2020
                          Through March 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 3/1/2020
                          to 3/31/2020, Fee: $1,222,801.25, Expenses: $18,747.77. Filed by Attorney Jeffrey Nathan
                          Pomerantz Objections due by 5/5/2020. filed by Debtor Highland Capital Management, L.P.).
   04/21/2020             (Kass, Albert)

                             596 (5 pgs) Certificate of service re: Sidley Austin LLP's Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)594 Application for compensation Sidley Austin LLP's
                          Fifth Monthly Application for Compensation and Reimbursement of Expenses for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 3/31/2020,
                          Fee: $476,836.20, Expenses: $14,406.39. Filed by Attorney Juliana Hoffman Objections due
                          by 5/11/2020. filed by Creditor Committee Official Committee of Unsecured Creditors).
   04/21/2020             (Kass, Albert)

                             597 (6 pgs) Certificate of service re: Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc for the Period from March 1, 2020 through March 31, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)592 Notice
                          (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc for the Period
                          from March 1, 2020 through March 31, 2020) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)342 Order granting application to employ
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel,
                          and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc
                          as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)).
                          (Attachments: # 1 Exhibit A--DSI Staffing Report for March 2020) filed by Debtor Highland
   04/21/2020             Capital Management, L.P.). (Kass, Albert)

                             Receipt Number 00338531, Fee Amount $3,601,018.59 (RE: Related document(s) 512
                          Order on motion for authority to apply and disburse funds.) NOTE: Deposit of funds into the
   04/22/2020             Registry of the Court. (Floyd,K) (Entered: 08/10/2020)

                             Receipt Number 00338532, Fee Amount $898,075.53 (RE: related document(s) 512
                          Order on motion for authority to apply and disburse funds.) NOTE: Deposit of funds into the
   04/23/2020             Registry of the Court. (Floyd, K). (Entered: 08/10/2020)

                            598 (31 pgs; 2 docs) Application for compensation (Fourth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from March 1, 2020 through March 31, 2020) for
                          Hayward & Associates PLLC, Debtor's Attorney, Period: 3/1/2020 to 3/31/2020, Fee:
                          $35,307.50, Expenses: $1,732.02. Filed by Other Professional Hayward & Associates PLLC
   04/24/2020             (Attachments: # 1 Exhibit A--H&A March 2020 Invoice) (Annable, Zachery)

   04/24/2020                 599 (53 pgs; 2 docs) Notice (Notice of Additional Services to Be Provided by Deloitte Tax

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.182   94/439



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                 Case: 22-11036                  Document: 67               Page: 122             Date Filed: 02/06/2023

8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          LLP) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)551
                          Agreed Order granting application to employ Deloitte Tax LLP as tax services provider nunc
                          pro tunc to the petition date (related document 483) Entered on 3/27/2020. (Okafor, M.)).
                          (Attachments: # 1 Exhibit A--Deloitte Tax Engagement Letters) (Annable, Zachery)

                              600 (3 pgs) Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
   04/28/2020             motion for leave). (Annable, Zachery)

                             601 (30 pgs; 2 docs) Application for compensation Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from March 1, 2020 through March 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 3/1/2020 to 3/31/2020, Fee:
                          $82,270.50, Expenses: $12.70. Filed by Attorney Holland N. O'Neil Objections due by
   04/28/2020             5/19/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                            602 (108 pgs; 4 docs) Application for compensation First Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through March 31, 2020 for
                          Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to 3/31/2020,
                          Fee: $484,590.10, Expenses: $10,455.04. Filed by Attorney Holland N. O'Neil Objections
                          due by 5/19/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order Exhibit C -
   04/28/2020             Proposed Order) (O'Neil, Holland)

                              603 (10 pgs) Certificate of service re: 1) Fourth Monthly Application for Compensation
                          and Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the
                          Debtor for the Period from March 1, 2020 through March 31, 2020; and 2) Notice of
                          Additional Services to Be Provided by Deloitte Tax LLP Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)598 Application for compensation (Fourth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from March 1, 2020 through
                          March 31, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 3/1/2020 to
                          3/31/2020, Fee: $35,307.50, Expenses: $1,732.02. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--H&A March 2020 Invoice) filed by Other
                          Professional Hayward & Associates PLLC, 599 Notice (Notice of Additional Services to Be
                          Provided by Deloitte Tax LLP) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)551 Agreed Order granting application to employ Deloitte Tax LLP as
                          tax services provider nunc pro tunc to the petition date (related document 483) Entered on
                          3/27/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--Deloitte Tax Engagement Letters)
   04/28/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            604 (56 pgs; 3 docs) Application to employ Hunton Andrews Kurth LLP as Special
                          Counsel (Debtor's Application for Entry of an Order Authorizing the Retention and
                          Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the
                          Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Declaration of Alexander McGeoch # 2 Exhibit B--Proposed Order) (Annable,
   04/28/2020             Zachery)

   04/28/2020                605 (23 pgs; 3 docs) Application to employ Wilmer Cutler Pickering Hale and Dorr LLP
                          as Special Counsel (Debtor's Application Pursuant to Sections 327(e) and 328(a) of the
                          Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the
                          Employment of Wilmer Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance
                          Counsel Nunc Pro Tunc to the Petition Date) Filed by Debtor Highland Capital Management,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.183   95/439



                                                              R.E. 115
                 Case: 22-11036                  Document: 67               Page: 123             Date Filed: 02/06/2023

8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          L.P. (Attachments: # 1 Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed
                          Order) (Annable, Zachery)

                            606 (15 pgs; 2 docs) Motion to extend or limit the exclusivity period (RE: related
                          document(s)460 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. Objections due by 5/22/2020. (Attachments: # 1 Exhibit A--Proposed
   04/28/2020             Order) (Annable, Zachery)

                             607 (587 pgs) Application for compensation First Interim Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period From October 16, 2019 Through March 31,
                          2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 10/16/2019 to 3/31/2020, Fee:
                          $4,834,021.00, Expenses: $118,198.81. Filed by Attorney Jeffrey Nathan Pomerantz
   04/28/2020             Objections due by 5/19/2020. (Pomerantz, Jeffrey)

                             608 (25 pgs) Application for compensation First Interim Application for Compensation
                          and Reimbursement of Expenses of Mercer (US) Inc., as Compensation Consultant to the
                          Debtor for the Period From November 15, 2019 Through February 29, 2020 for Mercer (US)
                          Inc., Consultant, Period: 11/15/2019 to 2/29/2020, Fee: $113,804.64, Expenses: $2,151.69.
   04/28/2020             Filed by Consultant Mercer (US) Inc. Objections due by 5/19/2020. (Pomerantz, Jeffrey)

                             609 (118 pgs; 2 docs) Application for compensation (Hayward & Associates PLLC's First
                          Interim Application for Compensation and Reimbursement of Expenses for the Period from
                          December 10, 2019 through March 31, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 12/10/2019 to 3/31/2020, Fee: $168,405.00, Expenses: $7,333.29. Filed by
                          Other Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A Fee
   04/28/2020             Statements) (Annable, Zachery)

   04/28/2020                610 (5 pgs) Notice of hearingOmnibus Notice of Hearing on First Interim Applications
                          for Compensation and Reimbursement of Expenses of Estate Professionals filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)569 Application for
                          compensation Sidley Austin LLP's First Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 10/29/2019 to 2/29/2020, Fee: $3,154,959.45, Expenses: $56,254.47. Filed by
                          Objections due by 4/28/2020., 570 Application for compensation First Interim Application
                          for Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial
                          Advisor, Period: 10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses: $8,781.09. Filed
                          by Financial Advisor FTI Consulting, Inc. Objections due by 4/28/2020., 602 Application for
                          compensation First Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from October 16, 2019 through March 31, 2020 for Foley Gardere, Foley & Lardner LLP,
                          Special Counsel, Period: 10/16/2019 to 3/31/2020, Fee: $484,590.10, Expenses: $10,455.04.
                          Filed by Attorney Holland N. O'Neil Objections due by 5/19/2020. (Attachments: # 1 Exhibit
                          A # 2 Exhibit B # 3 Proposed Order Exhibit C - Proposed Order) (O'Neil, Holland), 607
                          Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period From October 16, 2019 Through March 31,
                          2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 10/16/2019 to 3/31/2020, Fee:
                          $4,834,021.00, Expenses: $118,198.81. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 5/19/2020., 608 Application for compensation First Interim Application
                          for Compensation and Reimbursement of Expenses of Mercer (US) Inc., as Compensation
                          Consultant to the Debtor for the Period From November 15, 2019 Through February 29,
                          2020 for Mercer (US) Inc., Consultant, Period: 11/15/2019 to 2/29/2020, Fee: $113,804.64,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.184   96/439



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                 Case: 22-11036                  Document: 67               Page: 124             Date Filed: 02/06/2023

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                          Expenses: $2,151.69. Filed by Consultant Mercer (US) Inc. Objections due by 5/19/2020.,
                          609 Application for compensation (Hayward & Associates PLLC's First Interim Application
                          for Compensation and Reimbursement of Expenses for the Period from December 10, 2019
                          through March 31, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          12/10/2019 to 3/31/2020, Fee: $168,405.00, Expenses: $7,333.29. Filed by Other
                          Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A Fee
                          Statements)). Hearing to be held on 5/26/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for
                          569 and for 607 and for 609 and for 570 and for 602 and for 608, (Pomerantz, Jeffrey)

                             611 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)604 Application to employ Hunton Andrews Kurth LLP as Special
                          Counsel (Debtor's Application for Entry of an Order Authorizing the Retention and
                          Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the
                          Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Declaration of Alexander McGeoch # 2 Exhibit B--Proposed Order), 605
                          Application to employ Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel
                          (Debtor's Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and
                          Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of Wilmer
                          Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel Nunc Pro Tunc
                          to the Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed Order), 606 Motion to
                          extend or limit the exclusivity period (RE: related document(s)460 Order on motion to
                          extend/shorten time) Filed by Debtor Highland Capital Management, L.P. Objections due by
                          5/22/2020. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 5/26/2020
                          at 09:30 AM Dallas Judge Jernigan Ctrm for 605 and for 604 and for 606, (Annable,
   04/28/2020             Zachery)

                            612 (3 pgs) Certificate of service re: (Supplemental) 1) Notice of Bar Dates for Filing
                          Claims; and 2) [Customized] Official Form 410 Proof of Claim Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)498 Notice of Bar Date for Filing
                          Claims filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
   04/28/2020             Capital Management, L.P.). (Kass, Albert)

                             613 (1 pg) Clerk's correspondence requesting a notice of hearing from attorney for debtor.
                          (RE: related document(s)394 Application for compensation Second Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Proposed Special Texas Counsel to the Debtor for the Period from December 1, 2019
                          through December 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere Wynne
                          Sewell LLP, Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee: $143,328.50, Expenses:
                          $2,808.29. Filed by Attorney Holland N. O'Neil Objections due by 2/14/2020. (O'Neil,
   04/29/2020             Holland)) Responses due by 5/13/2020. (Ecker, C.)

                             614 (6 pgs) Order approving second stipulation permitting Brown Rudnick LLP to file
                          proof of claims after the general bar date (RE: related document(s)600 Stipulation filed by
   04/29/2020             Debtor Highland Capital Management, L.P.). Entered on 4/29/2020 (Okafor, M.)

                             615 (8 pgs) Motion to extend time to Assume or Reject Unexpired Nonresidential Real
                          Property Lease (RE: related document(s)429 Order on motion to extend/shorten time) Filed
   04/29/2020             by Debtor Highland Capital Management, L.P. (Annable, Zachery)

   04/30/2020                616 (3 pgs) Agreed Order extending deadline to assume or reject unexpired nonresidential
                          real property lease by sixty days (RE: 615 Motion to extend time.) Entered on 4/30/2020.
                          (Okafor, M.)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.185   97/439



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                            617 (3 pgs) Response unopposed to (related document(s): 593 Motion for relief from stay
                          Fee amount $181, filed by Creditor Acis Capital Management GP, LLC, Creditor Acis
   05/01/2020             Capital Management, L.P.) filed by Interested Party James Dondero. (Assink, Bryan)

                            618 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to March 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   05/05/2020             Zachery)

   05/05/2020                619 (14 pgs) Certificate of service re: Documents Served on April 28, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)600 Stipulation by
                          Highland Capital Management, L.P. and Brown Rudnick LLP. filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)488 Order on motion for leave). filed by
                          Debtor Highland Capital Management, L.P., 601 Application for compensation Fifth Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from March 1, 2020 through March 31,
                          2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 3/1/2020 to
                          3/31/2020, Fee: $82,270.50, Expenses: $12.70. Filed by Attorney Holland N. O'Neil
                          Objections due by 5/19/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by Spec.
                          Counsel Foley Gardere, Foley & Lardner LLP, 602 Application for compensation First
                          Interim Application for Compensation and for Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019
                          through March 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          10/16/2019 to 3/31/2020, Fee: $484,590.10, Expenses: $10,455.04. Filed by Attorney
                          Holland N. O'Neil Objections due by 5/19/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B #
                          3 Proposed Order Exhibit C - Proposed Order) (O'Neil, Holland) filed by Spec. Counsel
                          Foley Gardere, Foley & Lardner LLP, 603 Certificate of service re: 1) Fourth Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
                          PLLC as Local Counsel to the Debtor for the Period from March 1, 2020 through March 31,
                          2020; and 2) Notice of Additional Services to Be Provided by Deloitte Tax LLP Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)598 Application for
                          compensation (Fourth Monthly Application for Compensation and Reimbursement of
                          Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor for the Period
                          from March 1, 2020 through March 31, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 3/1/2020 to 3/31/2020, Fee: $35,307.50, Expenses: $1,732.02. Filed by
                          Other Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A March
                          2020 Invoice) filed by Other Professional Hayward & Associates PLLC, 599 Notice (Notice
                          of Additional Services to Be Provided by Deloitte Tax LLP) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)551 Agreed Order granting application to employ
                          Deloitte Tax LLP as tax services provider nunc pro tunc to the petition date (related
                          document 483) Entered on 3/27/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--Deloitte
                          Tax Engagement Letters) filed by Debtor Highland Capital Management, L.P.). filed by
                          Claims Agent Kurtzman Carson Consultants LLC, 604 Application to employ Hunton
                          Andrews Kurth LLP as Special Counsel (Debtor's Application for Entry of an Order
                          Authorizing the Retention and Employment of Hunton Andrews Kurth LLP as Special
                          Counsel Nunc Pro Tunc to the Petition Date) Filed by Debtor Highland Capital Management,

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.186   98/439



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                          L.P. (Attachments: # 1 Exhibit A--Declaration of Alexander McGeoch # 2 Exhibit B--
                          Proposed Order) filed by Debtor Highland Capital Management, L.P., 605 Application to
                          employ Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's
                          Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy
                          Rules 2014(a) and 2016 for an Order Authorizing the Employment of Wilmer Cutler
                          Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel Nunc Pro Tunc to the
                          Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed Order) filed by Debtor
                          Highland Capital Management, L.P., 606 Motion to extend or limit the exclusivity period
                          (RE: related document(s)460 Order on motion to extend/shorten time) Filed by Debtor
                          Highland Capital Management, L.P. Objections due by 5/22/2020. (Attachments: # 1 Exhibit
                          A--Proposed Order) filed by Debtor Highland Capital Management, L.P., 607 Application for
                          compensation First Interim Application for Compensation and Reimbursement of Expenses
                          of Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtor and Debtor in Possession,
                          for the Period From October 16, 2019 Through March 31, 2020 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 10/16/2019 to 3/31/2020, Fee: $4,834,021.00,
                          Expenses: $118,198.81. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          5/19/2020. filed by Debtor Highland Capital Management, L.P., 608 Application for
                          compensation First Interim Application for Compensation and Reimbursement of Expenses
                          of Mercer (US) Inc., as Compensation Consultant to the Debtor for the Period From
                          November 15, 2019 Through February 29, 2020 for Mercer (US) Inc., Consultant, Period:
                          11/15/2019 to 2/29/2020, Fee: $113,804.64, Expenses: $2,151.69. Filed by Consultant
                          Mercer (US) Inc. Objections due by 5/19/2020. filed by Consultant Mercer (US) Inc., 609
                          Application for compensation (Hayward & Associates PLLC's First Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from December 10, 2019
                          through March 31, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          12/10/2019 to 3/31/2020, Fee: $168,405.00, Expenses: $7,333.29. Filed by Other
                          Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A Fee
                          Statements) filed by Other Professional Hayward & Associates PLLC, 610 Notice of
                          hearingOmnibus Notice of Hearing on First Interim Applications for Compensation and
                          Reimbursement of Expenses of Estate Professionals filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)569 Application for compensation Sidley Austin
                          LLP's First Interim Application for Compensation and Reimbursement of Expenses for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 10/29/2019 to
                          2/29/2020, Fee: $3,154,959.45, Expenses: $56,254.47. Filed by Objections due by
                          4/28/2020., 570 Application for compensation First Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses: $8,781.09. Filed by Financial
                          Advisor FTI Consulting, Inc. Objections due by 4/28/2020., 602 Application for
                          compensation First Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from October 16, 2019 through March 31, 2020 for Foley Gardere, Foley & Lardner LLP,
                          Special Counsel, Period: 10/16/2019 to 3/31/2020, Fee: $484,590.10, Expenses: $10,455.04.
                          Filed by Attorney Holland N. O'Neil Objections due by 5/19/2020. (Attachments: # 1 Exhibit
                          A # 2 Exhibit B # 3 Proposed Order Exhibit C - Proposed Order) (O'Neil, Holland), 607
                          Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period From October 16, 2019 Through March 31,
                          2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 10/16/2019 to 3/31/2020, Fee:
                          $4,834,021.00, Expenses: $118,198.81. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 5/19/2020., 608 Application for compensation First Interim Application
                          for Compensation and Reimbursement of Expenses of Mercer (US) Inc., as Compensation
                          Consultant to the Debtor for the Period From November 15, 2019 Through February 29,
                          2020 for Mercer (US) Inc., Consultant, Period: 11/15/2019 to 2/29/2020, Fee: $113,804.64,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.187   99/439



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                 Case: 22-11036                  Document: 67               Page: 127             Date Filed: 02/06/2023

8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          Expenses: $2,151.69. Filed by Consultant Mercer (US) Inc. Objections due by 5/19/2020.,
                          609 Application for compensation (Hayward & Associates PLLC's First Interim Application
                          for Compensation and Reimbursement of Expenses for the Period from December 10, 2019
                          through March 31, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          12/10/2019 to 3/31/2020, Fee: $168,405.00, Expenses: $7,333.29. Filed by Other
                          Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A Fee
                          Statements)). Hearing to be held on 5/26/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for
                          569 and for 607 and for 609 and for 570 and for 602 and for 608, filed by Debtor Highland
                          Capital Management, L.P., 611 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)604 Application to employ Hunton Andrews
                          Kurth LLP as Special Counsel (Debtor's Application for Entry of an Order Authorizing the
                          Retention and Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro
                          Tunc to the Petition Date) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Declaration of Alexander McGeoch # 2 Exhibit B--Proposed
                          Order), 605 Application to employ Wilmer Cutler Pickering Hale and Dorr LLP as Special
                          Counsel (Debtor's Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy
                          Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of
                          Wilmer Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel Nunc
                          Pro Tunc to the Petition Date) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed Order),
                          606 Motion to extend or limit the exclusivity period (RE: related document(s)460 Order on
                          motion to extend/shorten time) Filed by Debtor Highland Capital Management, L.P.
                          Objections due by 5/22/2020. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be
                          held on 5/26/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 605 and for 604 and for 606,
                          filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             620 (8 pgs; 2 docs) Stipulation by Highland Capital Management, L.P. and Official
                          Committee of Unsecured Creditors. filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)488 Order on motion for leave). (Attachments: # 1 Exhibit A--Employee
   05/05/2020             Letter) (Annable, Zachery)

                             621 (3 pgs) Certificate of No Objection Regarding Third Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from February 1, 2020 through February 29, 2020 filed
                          by Other Professional Hayward & Associates PLLC (RE: related document(s)573
                          Application for compensation (Third Monthly Application for Compensation and
                          Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor
                          for the Period from February 1, 2020 through February 29, 2020) for Hayward &).
   05/05/2020             (Annable, Zachery)

                             622 (3 pgs) Certificate No Objection Regarding Sixth Monthly Application for
                          Compensation and Reimbursement of Expenses Of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period From March 1, 2020 Through March 31, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)586 Application for
                          compensation Sixth Monthly Application for Compensation and Reimbursement of Expenses
                          of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period From March
   05/05/2020             1, 2020 Through March 31, 2020 for Jeffrey Nathan Po). (Pomerantz, Jeffrey)

                            623 (4 pgs) Stipulation and Agreed Order Permitting Hunton Andrews Kurth LLP to
   05/06/2020             Apply Prepetition Retainer (related document # 582) Entered on 5/6/2020. (Okafor, M.)

   05/06/2020                624 (16 pgs) Objection to (related document(s): 590 Motion to reclaim funds from the
                          registry[Motion for Remittance of Funds Held in Registry of Court] filed by Creditor CLO
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.188 100/439



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                          Holdco, Ltd.) filed by Creditor Committee Official Committee of Unsecured Creditors.
                          (Hoffman, Juliana)

                             625 (2 pgs) Certificate of service re: Objection filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)624 Objection). (Hoffman,
   05/06/2020             Juliana)

                             626 (9 pgs) Certificate of service re: 1) Order Approving Second Stipulation Permitting
                          Brown Rudnick LLP to File Proofs of Claim after the General Bar Date; and 2) Agreed
                          Motion to Extend by Sixty Days the Deadline to Assume or Reject Unexpired Nonresidential
                          Real Property Lease Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)614 Order approving second stipulation permitting Brown Rudnick LLP to file
                          proof of claims after the general bar date (RE: related document(s)600 Stipulation filed by
                          Debtor Highland Capital Management, L.P.). Entered on 4/29/2020 (Okafor, M.), 615 Motion
                          to extend time to Assume or Reject Unexpired Nonresidential Real Property Lease (RE:
                          related document(s)429 Order on motion to extend/shorten time) Filed by Debtor Highland
                          Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.). (Kass,
   05/06/2020             Albert)

                            627 (7 pgs) Certificate of service re: Agreed Order Extending Deadline to Assume or
                          Reject Unexpired Nonresidential Property Lease by Sixty Days Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)616 Agreed Order extending
                          deadline to assume or reject unexpired nonresidential real property lease by sixty days (RE:
   05/06/2020             615 Motion to extend time.) Entered on 4/30/2020. (Okafor, M.)). (Kass, Albert)

                             628 (11 pgs) Order approving joint stipulation of the Debtor and the Official Committee
                          of the Unsecured Creditors modifying the Bar Date Order (RE: related document(s)620
                          Stipulation filed by Debtor Highland Capital Management, L.P.). Entered on 5/8/2020
   05/08/2020             (Okafor, M.)

                             629 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)594 Application for compensation Sidley
                          Austin LLP's Fifth Monthly Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to
   05/12/2020             3/31/2020, Fee: $476,). (Hoffman, Juliana)

                            630 (16 pgs; 2 docs) Reply to (related document(s): 624 Objection filed by Creditor
                          Committee Official Committee of Unsecured Creditors) filed by Creditor CLO Holdco, Ltd..
   05/13/2020             (Attachments: # 1 Service List) (Kane, John)

   05/13/2020                 631 (7 pgs) Certificate of service re: 1) Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to March 31, 2020; and 2) Joint
                          Stipulation by Highland Capital Management, L.P. and Official Committee of Unsecured
                          Creditors Modifying the Bar Date Order Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)618 Notice (Notice of Statement of Amounts Paid to
                          Ordinary Course Professionals for the Period from October 16, 2019 to March 31, 2020)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 ORDER
                          PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE
                          AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.

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                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
                          Debtor Highland Capital Management, L.P., 620 Stipulation by Highland Capital
                          Management, L.P. and Official Committee of Unsecured Creditors. filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)488 Order on motion for leave).
                          (Attachments: # 1 Exhibit A--Employee Letter) filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             632 (7 pgs) Certificate of service re: Stipulation and Agreed Order Permitting Hunton
                          Andrew Kurth LLP to Apply Prepetition Retaine Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)623 Stipulation and Agreed Order Permitting Hunton
                          Andrews Kurth LLP to Apply Prepetition Retainer (related document 582) Entered on
   05/13/2020             5/6/2020. (Okafor, M.) filed by Interested Party Hunton Andrews Kurth LLP). (Kass, Albert)

                             633 (6 pgs) Certificate of service re: Order Approving Joint Stipulation of the Debtor and
                          the Official Committee of Unsecured Creditors Modifying Bar Date Order Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)628 Order approving joint
                          stipulation of the Debtor and the Official Committee of the Unsecured Creditors modifying
                          the Bar Date Order (RE: related document(s)620 Stipulation filed by Debtor Highland
   05/13/2020             Capital Management, L.P.). Entered on 5/8/2020 (Okafor, M.)). (Kass, Albert)

                            634 (9 pgs) Debtor-in-possession monthly operating report for filing period March 1,
                          2020 to March 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable,
   05/14/2020             Zachery)

                             635 (6 pgs; 2 docs) Notice of hearing filed by Creditor CLO Holdco, Ltd. (RE: related
                          document(s)590 Motion to reclaim funds from the registry[Motion for Remittance of Funds
                          Held in Registry of Court] Filed by Creditor CLO Holdco, Ltd. (Attachments: # 1 Exhibit A
                          # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
                          Exhibit H # 9 Exhibit I # 10 Proposed Order # 11 Service List)). Hearing to be held on
                          6/30/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 590, (Attachments: # 1 Service List)
   05/15/2020             (Kane, John)

                             636 (3 pgs) Notice of Appearance and Request for Notice by Martin A. Sosland filed by
   05/19/2020             Interested Parties UBS AG London Branch, UBS Securities LLC. (Sosland, Martin)

                             637 (3 pgs) Notice of Appearance and Request for Notice by Candice Marie Carson filed
   05/19/2020             by Interested Parties UBS AG London Branch, UBS Securities LLC. (Carson, Candice)

                              638 (4 pgs) Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
   05/19/2020             motion for leave). (Annable, Zachery)

                             639 (51 pgs) Application for compensation Sixth Monthly Application of Sidley Austin
                          LLP for Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 4/1/2020 to 4/30/2020, Fee: $438,619.32, Expenses:
                          $5,765.07. Filed by Creditor Committee Official Committee of Unsecured Creditors
   05/19/2020             Objections due by 6/9/2020. (Hoffman, Juliana)

   05/19/2020                640 (52 pgs) Application for compensation Fifth Monthly Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          3/1/2020 to 3/31/2020, Fee: $477,538.20, Expenses: $14,937.66. Filed by Attorney Juliana
                          Hoffman Objections due by 6/9/2020. (Hoffman, Juliana)
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                             641 (19 pgs) Objection to (related document(s): 601 Application for compensation Fifth
                          Monthly Application for Compensation and Reimbursement of Expenses of Foley & Lardner
                          LLP as Special Texas Counsel to the Debtor for the Period from March 1, 2020 through
                          March 31, 2020 for Foley Gardere, filed by Spec. Counsel Foley Gardere, Foley & Lardner
                          LLP, 602 Application for compensation First Interim Application for Compensation and for
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
                          for the Period from October 16, 2019 through March 31, 2020 for Foley Ga filed by Spec.
                          Counsel Foley Gardere, Foley & Lardner LLP) filed by Acis Capital Management GP, LLC,
   05/19/2020             Acis Capital Management, L.P.. (Chiarello, Annmarie)

                             642 (4 pgs) Trustee's Objection to Foley & Lardner, LLP's First Interim Application for
                          Fees and Expenses (RE: related document(s)602 Application for compensation) (Lambert,
   05/20/2020             Lisa)

                            643 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)598 Application for compensation (Fourth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from March 1, 2020 through
   05/20/2020             March 31, 2020) for Hayward & Asso). (Annable, Zachery)

                            644 (373 pgs; 12 docs) Motion for relief from stay (UBS's Motion for Relief From the
                          Automatic Stay to Proceed With State Court Action) Fee amount $181, Filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC Objections due by 6/3/2020.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                          Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K) (Sosland,
   05/20/2020             Martin)

                             645 (3 pgs) Notice of hearing filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)644 Motion for relief from stay (UBS's Motion for
                          Relief From the Automatic Stay to Proceed With State Court Action) Fee amount $181, Filed
                          by Interested Parties UBS AG London Branch, UBS Securities LLC Objections due by
                          6/3/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit
                          E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K)).
                          Hearing to be held on 6/15/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 644, (Sosland,
   05/20/2020             Martin)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   05/20/2020             181.00). Receipt number 27774088, amount $ 181.00 (re: Doc# 644). (U.S. Treasury)

                             646 (7 pgs) Order approving third stipulation permitting Brown Rudnick LLP to file
                          proof of claims after the general bar date (RE: related document(s)638 Stipulation filed by
   05/20/2020             Debtor Highland Capital Management, L.P.). Entered on 5/20/2020 (Okafor, M.)

   05/20/2020                647 (508 pgs; 18 docs) Witness and Exhibit List filed by Acis Capital Management GP,
                          LLC, Acis Capital Management, L.P. (RE: related document(s)601 Application for
                          compensation Fifth Monthly Application for Compensation and Reimbursement of Expenses
                          of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from March
                          1, 2020 through March 31, 2020 for Foley Gardere,, 602 Application for compensation First
                          Interim Application for Compensation and for Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019
                          through March 31, 2020 for Foley Ga). (Attachments: # 1 Exhibit 9 # 2 Exhibit 10 # 3
                          Exhibit 11 # 4 Exhibit 12 # 5 Exhibit 13 # 6 Exhibit 14 # 7 Exhibit 15 # 8 Exhibit 16 # 9
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                          Exhibit 17 # 10 Exhibit 18 # 11 Exhibit 19 # 12 Exhibit 20 # 13 Exhibit 21 # 14 Exhibit 22 #
                          15 Exhibit 23 # 16 Exhibit 24 # 17 Exhibit 25) (Chiarello, Annmarie)

                             648 (125 pgs) Application for compensation Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtors for the Period From April 1, 2020 Through April 30, 2020 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 4/1/2020 to 4/30/2020, Fee: $1,113,522.50,
                          Expenses: $3,437.28. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
   05/21/2020             6/11/2020. (Pomerantz, Jeffrey)

                             649 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)607 Application for compensation First Interim Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as
                          Counsel for the Debtor and Debtor in Possession, for the Period From October 16, 2019
   05/22/2020             Through March 31, 20). (Annable, Zachery)

                             650 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)608 Application for compensation First Interim Application for
                          Compensation and Reimbursement of Expenses of Mercer (US) Inc., as Compensation
                          Consultant to the Debtor for the Period From November 15, 2019 Through February 29,
   05/22/2020             2020 for Mercer (). (Annable, Zachery)

                             651 (7 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)569 Application for compensation Sidley
                          Austin LLP's First Interim Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 10/29/2019 to
   05/22/2020             2/29/2020, Fee: $3,). (Hoffman, Juliana)

                             652 (7 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)570 Application for compensation First Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses: $8,781.09.). (Hoffman,
   05/22/2020             Juliana)

                            653 (4 pgs) Declaration re: (Second Supplemental Declaration of Bradley D. Sharp in
                          Support of Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) to Employ and
                          Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)74 Application to employ Development Specialists, Inc as Financial
   05/22/2020             Advisor). (Annable, Zachery)

   05/22/2020                654 (89 pgs) Witness and Exhibit List for May 26, 2020 Hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)569 Application for
                          compensation Sidley Austin LLP's First Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 10/29/2019 to 2/29/2020, Fee: $3,, 570 Application for compensation First
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses:
                          $8,781.09., 602 Application for compensation First Interim Application for Compensation
                          and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the
                          Debtor for the Period from October 16, 2019 through March 31, 2020 for Foley Ga, 604

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                          Application to employ Hunton Andrews Kurth LLP as Special Counsel (Debtor's Application
                          for Entry of an Order Authorizing the Retention and Employment of Hunton Andrews Kurth
                          LLP as Special Counsel Nunc Pro Tunc to the Petition Date), 605 Application to employ
                          Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's Application
                          Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy Rules
                          2014(a) and 2016 for an Order Authorizing the Employment, 606 Motion to extend or limit
                          the exclusivity period (RE: related document(s)460 Order on motion to extend/shorten time),
                          607 Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period From October 16, 2019 Through March 31,
                          20, 608 Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Mercer (US) Inc., as Compensation Consultant to the Debtor
                          for the Period From November 15, 2019 Through February 29, 2020 for Mercer (, 609
                          Application for compensation (Hayward & Associates PLLC's First Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from December 10, 2019
                          through March 31, 2020) for Hayward & Associates PLLC, Debtor's At). (Annable, Zachery)

                            655 (2 pgs) COURT'S NOTICE/VIDEO CONFERENCE INFORMATION FOR
   05/22/2020             HEARING ON MAY 26, 2020 AT 9:30 a.m. (Ellison, T.)

                            656 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)609 Application for compensation (Hayward &
                          Associates PLLC's First Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from December 10, 2019 through March 31, 2020) for Hayward &
   05/22/2020             Associates PLLC, Debtor's At). (Annable, Zachery)

                             657 (7 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)606 Motion to extend or limit the exclusivity period (RE:
   05/22/2020             related document(s)460 Order on motion to extend/shorten time)). (Annable, Zachery)

                             658 (8 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on May 26, 2020
                          at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.. (Annable,
   05/22/2020             Zachery)

                             659 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)605 Application to employ Wilmer Cutler Pickering Hale and
                          Dorr LLP as Special Counsel (Debtor's Application Pursuant to Sections 327(e) and 328(a)
                          of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing
   05/23/2020             the Employment). (Annable, Zachery)

                            660 (8 pgs) Amended Notice (Amended Notice of Agenda of Matters Scheduled for
                          Hearing on May 26, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)658 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on May 26, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
   05/25/2020             Highland Capital Management, L.P..). (Annable, Zachery)

                             661 (3 pgs) Order granting application for compensation (related document # 569)
                          granting for Sidley Austin, attorney for Official Committee of Unsecured Creditors, fees
   05/26/2020             awarded: $3,154,959.45, expenses awarded: $56,254.47 Entered on 5/26/2020. (Ecker, C.)

   05/26/2020                662 (3 pgs) Order granting application for compensation (related document # 570)
                          granting for FTI Consulting, Inc., fees awarded: $1,757,835.90, expenses awarded: $8,781.09
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                          Entered on 5/26/2020. (Ecker, C.)

                             663 (2 pgs) Order granting application for compensation (related document # 607)
                          granting for Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtor and Debtor in
                          Possession, fees awarded: $4,834,021.00, expenses awarded: $118,198.81 Entered on
   05/26/2020             5/26/2020. (Ecker, C.)

                             664 (2 pgs) Order granting application for compensation (related document # 608)
                          granting for Mercer (US) Inc., fees awarded: $113,804.64, expenses awarded: $2,151.69
   05/26/2020             Entered on 5/26/2020. (Ecker, C.)

                             665 (2 pgs) Amended Order granting application for compensation (related document #
                          570) granting for FTI Consulting, Inc., fees awarded: $1,757,835.90, expenses awarded:
   05/26/2020             $8,781.09 Entered on 5/26/2020. (Ecker, C.)

                            666 (2 pgs) Amended Order granting application for compensation (related document #
                          569) granting for Sidley Austin, attorney for Official Committee of Unsecured Creditors, fees
   05/26/2020             awarded: $3,154,959.45, expenses awarded: $56,254.47 Entered on 5/26/2020. (Ecker, C.)

                             667 (2 pgs) Order granting application for compensation (related document # 609)
                          granting for Hayward & Associates PLLC, fees awarded: $168,405.00, expenses awarded:
   05/26/2020             $7,333.29 Entered on 5/26/2020. (Ecker, C.)

                             668 (3 pgs) Order granting 606 Motion to extend or limit the exclusivity period. (Re:
   05/26/2020             related document(s) Chapter 11 Plan due by 7/13/2020, Entered on 5/26/2020. (Ecker, C.)

                            669 (3 pgs) Order granting application to employ Wilmer Cutler Pickering Hale and Dorr
   05/26/2020             LLP as Other Professional (related document # 605) Entered on 5/26/2020. (Ecker, C.)

                             670 (4 pgs) Order granting application for compensation (related document # 602)
                          granting for Foley Gardere, Foley & Lardner LLP, fees awarded: $387,672.08, expenses
   05/26/2020             awarded: $10,455.04 Entered on 5/26/2020. (Ecker, C.)

                             672 Hearing held on 5/26/2020. (RE: related document(s)602 First Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special
                          Texas Counsel to the Debtor for the Period from October 16, 2019 through March 31, 2020
                          for Foley Gardere, Foley & Lardner LLP, Special Counsel,) (Appearances (all video or
                          telephonic): J. Pomeranz and G. Demo for Debtors; M. Clemente for Unsecured Creditors
                          Committee; R. Patel and A. Chiarello for Acis; H. ONiel, special counsel for Debtor; A.
                          Attarwala for UBS; M. Hankin and T. Mascherin for Redeemer Committee; R. Matsumura
                          for HCLOF; L. Lambert for UST. Nonevidentiary hearing. Agreed resolution accepted; 80%
                          of fees and 100% of expenses allowed on an interim basis with all rights of all parties
   05/26/2020             reserved. Counsel to upload order.) (Edmond, Michael) (Entered: 05/27/2020)

   05/26/2020                673 Hearing held on 5/26/2020. (RE: related document(s)605 Application to employ
                          Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's Application
                          Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy Rules
                          2014(a) and 2016 for an Order Authorizing the Employment of Wilmer Cutler Pickering
                          Hale and Dorr LLP as Regulatory and Compliance Counsel Nunc Pro Tunc to the Petition
                          Date), filed by Debtor Highland Capital Management, L.P.) (Appearances (all video or
                          telephonic): J. Pomeranz and G. Demo for Debtors; M. Clemente for Unsecured Creditors
                          Committee; R. Patel and A. Chiarello for Acis; H. ONiel, special counsel for Debtor; A.
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                          Attarwala for UBS; M. Hankin and T. Mascherin for Redeemer Committee; R. Matsumura
                          for HCLOF; L. Lambert for UST. Nonevidentiary hearing. Application granted. Counsel to
                          upload order.) (Edmond, Michael) (Entered: 05/27/2020)

                              674 Hearing held on 5/26/2020. (RE: related document(s)606 Motion to extend or limit
                          the exclusivity period (RE: related document(s)460 Order on motion to extend/shorten time)
                          filed by Debtor Highland Capital Management, L.P.) (Appearances (all video or telephonic):
                          J. Pomeranz and G. Demo for Debtors; M. Clemente for Unsecured Creditors Committee; R.
                          Patel and A. Chiarello for Acis; H. ONiel, special counsel for Debtor; A. Attarwala for UBS;
                          M. Hankin and T. Mascherin for Redeemer Committee; R. Matsumura for HCLOF; L.
                          Lambert for UST. Nonevidentiary hearing. Agreed resolution accepted; 30 day extension.
   05/26/2020             Counsel to upload order. (Edmond, Michael) (Entered: 05/27/2020)

                             671 (1 pg) Request for transcript (ruling only) regarding a hearing held on 5/26/2020. The
   05/27/2020             requested turn-around time is daily (Jeng, Hawaii)

                             675 (40 pgs) Application for compensation Sixth Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          4/1/2020 to 4/30/2020, Fee: $489,957.84, Expenses: $6,702.95. Filed by Attorney Juliana
   05/28/2020             Hoffman Objections due by 6/18/2020. (Hoffman, Juliana)

   05/28/2020                676 (7 pgs) Transcript regarding Hearing Held 05/26/2020 (7 pgs.) RE: Fee Applications,
                          Applications to Employ Nunc Pro Tunc, Motion to Extend Exclusivity Period (Excerpt:
                          10:00-10:06 a.m. Only). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 08/26/2020. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 672 Hearing held on 5/26/2020. (RE:
                          related document(s)602 First Interim Application for Compensation and for Reimbursement
                          of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from October 16, 2019 through March 31, 2020 for Foley Gardere, Foley & Lardner LLP,
                          Special Counsel,) (Appearances (all video or telephonic): J. Pomeranz and G. Demo for
                          Debtors; M. Clemente for Unsecured Creditors Committee; R. Patel and A. Chiarello for
                          Acis; H. ONiel, special counsel for Debtor; A. Attarwala for UBS; M. Hankin and T.
                          Mascherin for Redeemer Committee; R. Matsumura for HCLOF; L. Lambert for UST.
                          Nonevidentiary hearing. Agreed resolution accepted; 80% of fees and 100% of expenses
                          allowed on an interim basis with all rights of all parties reserved. Counsel to upload order.),
                          673 Hearing held on 5/26/2020. (RE: related document(s)605 Application to employ Wilmer
                          Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's Application Pursuant to
                          Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016
                          for an Order Authorizing the Employment of Wilmer Cutler Pickering Hale and Dorr LLP as
                          Regulatory and Compliance Counsel Nunc Pro Tunc to the Petition Date), filed by Debtor
                          Highland Capital Management, L.P.) (Appearances (all video or telephonic): J. Pomeranz and
                          G. Demo for Debtors; M. Clemente for Unsecured Creditors Committee; R. Patel and A.
                          Chiarello for Acis; H. ONiel, special counsel for Debtor; A. Attarwala for UBS; M. Hankin
                          and T. Mascherin for Redeemer Committee; R. Matsumura for HCLOF; L. Lambert for UST.
                          Nonevidentiary hearing. Application granted. Counsel to upload order.), 674 Hearing held on
                          5/26/2020. (RE: related document(s)606 Motion to extend or limit the exclusivity period
                          (RE: related document(s)460 Order on motion to extend/shorten time) filed by Debtor
                          Highland Capital Management, L.P.) (Appearances (all video or telephonic): J. Pomeranz and
                          G. Demo for Debtors; M. Clemente for Unsecured Creditors Committee; R. Patel and A.
                          Chiarello for Acis; H. ONiel, special counsel for Debtor; A. Attarwala for UBS; M. Hankin
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.195 107/439



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                          and T. Mascherin for Redeemer Committee; R. Matsumura for HCLOF; L. Lambert for UST.
                          Nonevidentiary hearing. Agreed resolution accepted; 30 day extension. Counsel to upload
                          order.). Transcript to be made available to the public on 08/26/2020. (Rehling, Kathy)

                             677 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)663
                          Order granting application for compensation (related document 607) granting for Pachulski
                          Stang Ziehl & Jones LLP, as Counsel for the Debtor and Debtor in Possession, fees awarded:
                          $4,834,021.00, expenses awarded: $118,198.81 Entered on 5/26/2020. (Ecker, C.)) No. of
   05/28/2020             Notices: 1. Notice Date 05/28/2020. (Admin.)

                              678 (4 pgs) Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
   06/01/2020             motion for leave). (Annable, Zachery)

                             679 (52 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from April 1, 2020 through April 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
   06/01/2020             M.)). (Attachments: # 1 Exhibit A--DSI Staffing Report for April 2020) (Annable, Zachery)

                              680 (16 pgs) Certificate of service re: 1) Third Stipulation by and Between the Debtor and
                          Brown Rudnick LLP Extending the General Bar Date; 2) Summary Sheet and Sixth Monthly
                          Application of Sidley Austin LLP for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from April 1, 2020 to and Including April 30, 2020; and 3) Summary
                          Sheet and Fifth Monthly Application of FTI Consulting, Inc. for Allowance of Compensation
                          and Reimbursement of Expenses for the Period from March 1, 2020 to and Including March
                          31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)638
                          Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP. filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)488 Order on motion for
                          leave). filed by Debtor Highland Capital Management, L.P., 639 Application for
                          compensation Sixth Monthly Application of Sidley Austin LLP for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 4/1/2020 to 4/30/2020, Fee: $438,619.32, Expenses: $5,765.07. Filed by
                          Creditor Committee Official Committee of Unsecured Creditors Objections due by 6/9/2020.
                          filed by Creditor Committee Official Committee of Unsecured Creditors, 640 Application for
                          compensation Fifth Monthly Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to 3/31/2020, Fee: $477,538.20,
                          Expenses: $14,937.66. Filed by Attorney Juliana Hoffman Objections due by 6/9/2020. filed
   06/01/2020             by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

   06/01/2020                681 (6 pgs) Certificate of service re: 1) Webex Meeting Invitation to participate
                          electronically in the hearing on Tuesday, May 26, 2020 at 9:30 a.m. Central Time before the
                          Honorable Stacey G. Jernigan; and 2) Instructions for any counsel and parties who wish to
                          participate in the Hearing [Attached hereto as Exhibit B] Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)658 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on May 26, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.,
                          660 Amended Notice (Amended Notice of Agenda of Matters Scheduled for Hearing on May
                          26, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)658 Notice (Notice of Agenda of Matters Scheduled for Hearing on

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                          May 26, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management,
                          L.P..). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             682 (5 pgs) Certificate of service re: Cover Sheet and Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from April 1, 2020 Through April 30, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)648 Application for
                          compensation Seventh Monthly Application for Compensation and Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtors for the Period
                          From April 1, 2020 Through April 30, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney,
                          Period: 4/1/2020 to 4/30/2020, Fee: $1,113,522.50, Expenses: $3,437.28. Filed by Attorney
                          Jeffrey Nathan Pomerantz Objections due by 6/11/2020. filed by Debtor Highland Capital
   06/01/2020             Management, L.P.). (Kass, Albert)

                             683 (12 pgs) Certificate of service re: Documents Served on May 22, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)653 Declaration re:
                          (Second Supplemental Declaration of Bradley D. Sharp in Support of Motion of the Debtor
                          Pursuant to 11 U.S.C. 105(a) and 363(b) to Employ and Retain Development Specialists, Inc.
                          to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date) filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)74 Application to
                          employ Development Specialists, Inc as Financial Advisor). filed by Debtor Highland
                          Capital Management, L.P., 654 Witness and Exhibit List for May 26, 2020 Hearing filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)569 Application for
                          compensation Sidley Austin LLP's First Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 10/29/2019 to 2/29/2020, Fee: $3,, 570 Application for compensation First
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 10/29/2019 to 2/29/2020, Fee: $1,757,835.90, Expenses:
                          $8,781.09., 602 Application for compensation First Interim Application for Compensation
                          and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the
                          Debtor for the Period from October 16, 2019 through March 31, 2020 for Foley Ga, 604
                          Application to employ Hunton Andrews Kurth LLP as Special Counsel (Debtor's Application
                          for Entry of an Order Authorizing the Retention and Employment of Hunton Andrews Kurth
                          LLP as Special Counsel Nunc Pro Tunc to the Petition Date), 605 Application to employ
                          Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's Application
                          Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy Rules
                          2014(a) and 2016 for an Order Authorizing the Employment, 606 Motion to extend or limit
                          the exclusivity period (RE: related document(s)460 Order on motion to extend/shorten time),
                          607 Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period From October 16, 2019 Through March 31,
                          20, 608 Application for compensation First Interim Application for Compensation and
                          Reimbursement of Expenses of Mercer (US) Inc., as Compensation Consultant to the Debtor
                          for the Period From November 15, 2019 Through February 29, 2020 for Mercer (, 609
                          Application for compensation (Hayward & Associates PLLC's First Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from December 10, 2019
                          through March 31, 2020) for Hayward & Associates PLLC, Debtor's At). filed by Debtor
                          Highland Capital Management, L.P., 655 COURT'S NOTICE/VIDEO CONFERENCE
                          INFORMATION FOR HEARING ON MAY 26, 2020 AT 9:30 a.m. (Ellison, T.), 658 Notice
                          (Notice of Agenda of Matters Scheduled for Hearing on May 26, 2020 at 9:30 a.m. (Central
                          Time)) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
   06/01/2020             Capital Management, L.P.). (Kass, Albert)

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   06/02/2020                684 (1 pg) Clerk's correspondence requesting a notice of hearing from attorney for
                          creditor. (RE: related document(s)593 Motion for relief from stay Fee amount $181, Filed by
                          Acis Capital Management GP, LLC, Acis Capital Management, L.P. Objections due by
                          5/1/2020. (Attachments: # 1 Exhibit 1 (Draft Motion Show Cause Motion) # 2 Exhibit 2
                          (DAF Complaint 1st case) # 3 Exhibit 3 (DAF Dismissal first case) # 4 Exhibit 4 (DAF
                          Complaint 2nd case) # 5 Exhibit 5 (DAF Dismissal 2nd Case) # 6 Proposed Order))
                          Responses due by 6/9/2020. (Ecker, C.)

                             685 (7 pgs) Order approving fourth stipulation permitting Brown Rudnick LLP to file
                          proof of claims after general bar date (RE: related document(s)638 Stipulation filed by
   06/02/2020             Debtor Highland Capital Management, L.P.). Entered on 6/2/2020 (Okafor, M.)

                             686 (9 pgs) Debtor-in-possession monthly operating report for filing period April 1, 2020
   06/02/2020             to April 30, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            687 (29 pgs) Response opposed to (related document(s): 644 Motion for relief from stay
                          (UBS's Motion for Relief From the Automatic Stay to Proceed With State Court Action) Fee
                          amount $181, filed by Interested Party UBS Securities LLC, Interested Party UBS AG
   06/03/2020             London Branch) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             688 (149 pgs; 13 docs) Support/supplemental document(Appendix A of Exhibits in
                          Support of Debtor's Objection to UBS's Motion for Relief from the Automatic Stay) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)687 Response).
                          (Attachments: # 1 Exhibit 1--UBS v. Highland Capital Mgmt., L.P., 2010 NY Slip Op 1436
                          (N.Y. App. Div.) # 2 Exhibit 2--UBS v. Highland Capital Mgmt., L.P., 86 A.D.3d 469 (N.Y.
                          App. Div. 2011) # 3 Exhibit 3--UBS v. Highland Capital Mgmt., L.P., 93 A.D.3d 489 (N.Y.
                          App. Div. 2012) # 4 Exhibit 4--NY D.I. 411: March 13, 2017 Decision # 5 Exhibit 5--NY
                          D.I. 494: Transcript of May 1, 2018 Telephonic Hearing # 6 Exhibit 6--NY D.I. 472: UBSs
                          Pre-Trial Brief in Support of Bifurcation # 7 Exhibit 7--Shira A. Scheindlin, U.S.D.J. (Ret.),
                          Why Not Arbitrate? Breaking the Backlog in State and Federal Courts, 263 N.Y. L.J. 94
                          (May 15, 2020) # 8 Exhibit 8--December 2, 2019 Email from the Debtors Pre-Petition
                          Counsel to Counsel for UBS # 9 Exhibit 9--March 6, 2020 Email Chain Between the Debtors
                          Bankruptcy Counsel and Counsel for UBS # 10 Exhibit 10--NY D.I. 320: UBSs Note of
                          Issue Without Jury # 11 Exhibit 11--March 22, 2020 New York Administrative Order
                          AO/78/20 # 12 Exhibit 12--May 26, 2020 Law360 Article (Excerpt Only)) (Annable,
   06/03/2020             Zachery)

                            689 (21 pgs; 3 docs) Motion to file document under seal.(Debtor's Motion for Entry of an
                          Order Authorizing Filing under Seal of Appendix B of Exhibits to Debtor's Objection to
                          UBS's Motion for Relief from the Automatic Stay) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Protective
   06/03/2020             Order Filed in State Court Litigation) (Annable, Zachery)

                             690 (7 pgs) Objection to (related document(s): 644 Motion for relief from stay (UBS's
                          Motion for Relief From the Automatic Stay to Proceed With State Court Action) Fee amount
                          $181, filed by Interested Party UBS Securities LLC, Interested Party UBS AG London
                          Branch) filed by Creditor Committee Official Committee of Unsecured Creditors. (Hoffman,
   06/03/2020             Juliana)

   06/03/2020               691 (38 pgs; 5 docs) Motion to file document under seal.MOTION FOR AN ORDER
                          GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING REDEEMER
                          COMMITTEE OBJECTION TO UBS MOTION FOR RELIEF FROM THE AUTOMATIC
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.198 110/439



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                          STAY TO PROCEED WITH STATE COURT ACTION Filed by Interested Party Redeemer
                          Committee of the Highland Crusader Fund (Attachments: # 1 Exhibit Exhibit A # 2 Exhibit
                          Exhibit B # 3 Exhibit Exhibit C # 4 Proposed Order) (Platt, Mark)

                             692 (106 pgs; 14 docs) Objection to (related document(s): 644 Motion for relief from stay
                          (UBS's Motion for Relief From the Automatic Stay to Proceed With State Court Action) Fee
                          amount $181, filed by Interested Party UBS Securities LLC, Interested Party UBS AG
                          London Branch)Redacted Version (Pending Ruling on Motion to Seal at D.I. 691) of
                          Redeemer Committee Objection to UBS Motion for Relief from the Automatic Stay to Proceed
                          with State Court Action filed by Interested Party Redeemer Committee of the Highland
                          Crusader Fund. (Attachments: # 1 Exhibit Exhibit A (slip sheet, pending ruling on motion to
                          seal) # 2 Exhibit Exhibit B slip sheet (pending ruling on motion to seal) # 3 Exhibit Exhibit C
                          slip sheet (pending ruling on motion to seal) # 4 Exhibit Exhibit D slip sheet (pending ruling
                          on motion to seal) # 5 Exhibit Exhibit E # 6 Exhibit Exhibit F # 7 Exhibit Exhibit G # 8
                          Exhibit Exhibit H slip sheet (pending ruling on motion to seal) # 9 Exhibit Exhibit I slip
                          sheet (pending ruling on motion to seal) # 10 Exhibit Exhibit J # 11 Exhibit Exhibit L # 12
   06/03/2020             Exhibit Exhibit M # 13 Exhibit Exhibit N) (Platt, Mark)

                            693 (48 pgs) Support/supplemental documentExhibit K filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund (RE: related document(s)692
   06/03/2020             Objection). (Platt, Mark)

                            694 (4 pgs) Joinder by filed by Acis Capital Management GP, LLC, Acis Capital
   06/03/2020             Management, L.P. (RE: related document(s)692 Objection). (Shaw, Brian)

                             695 (3 pgs) Motion to appear pro hac vice for Robert J. Feinstein. Fee Amount $100 Filed
   06/04/2020             by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   06/04/2020             ( 100.00). Receipt number 27814231, amount $ 100.00 (re: Doc# 695). (U.S. Treasury)

                             696 (37 pgs; 5 docs) Amended Motion to file document under seal.AMENDED MOTION
                          FOR AN ORDER GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING
                          REDEEMER COMMITTEE OBJECTION TO UBS MOTION FOR RELIEF FROM THE
                          AUTOMATIC STAY TO PROCEED WITH STATE COURT ACTION Filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund (Attachments: # 1 Exhibit Exhibit A #
   06/04/2020             2 Exhibit Exhibit B # 3 Exhibit Exhibit C # 4 Proposed Order) (Platt, Mark)

                              697 (9 pgs) Certificate of service re: Amended Notice of Agenda of Matters Scheduled for
                          Hearing on May 26, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)660 Amended Notice (Amended Notice of
                          Agenda of Matters Scheduled for Hearing on May 26, 2020 at 9:30 a.m. (Central Time)) filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)658 Notice (Notice
                          of Agenda of Matters Scheduled for Hearing on May 26, 2020 at 9:30 a.m. (Central Time))
                          filed by Debtor Highland Capital Management, L.P..). filed by Debtor Highland Capital
   06/04/2020             Management, L.P.). (Kass, Albert)

   06/04/2020               698 (10 pgs) Certificate of service re: Documents Served on May 26, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)661 Order granting
                          application for compensation (related document 569) granting for Sidley Austin, attorney for
                          Official Committee of Unsecured Creditors, fees awarded: $3,154,959.45, expenses awarded:
                          $56,254.47 Entered on 5/26/2020. (Ecker, C.), 662 Order granting application for
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                          compensation (related document 570) granting for FTI Consulting, Inc., fees awarded:
                          $1,757,835.90, expenses awarded: $8,781.09 Entered on 5/26/2020. (Ecker, C.), 663 Order
                          granting application for compensation (related document 607) granting for Pachulski Stang
                          Ziehl & Jones LLP, as Counsel for the Debtor and Debtor in Possession, fees awarded:
                          $4,834,021.00, expenses awarded: $118,198.81 Entered on 5/26/2020. (Ecker, C.), 664 Order
                          granting application for compensation (related document 608) granting for Mercer (US) Inc.,
                          fees awarded: $113,804.64, expenses awarded: $2,151.69 Entered on 5/26/2020. (Ecker, C.),
                          665 Amended Order granting application for compensation (related document 570) granting
                          for FTI Consulting, Inc., fees awarded: $1,757,835.90, expenses awarded: $8,781.09 Entered
                          on 5/26/2020. (Ecker, C.), 666 Amended Order granting application for compensation
                          (related document 569) granting for Sidley Austin, attorney for Official Committee of
                          Unsecured Creditors, fees awarded: $3,154,959.45, expenses awarded: $56,254.47 Entered
                          on 5/26/2020. (Ecker, C.), 667 Order granting application for compensation (related
                          document 609) granting for Hayward & Associates PLLC, fees awarded: $168,405.00,
                          expenses awarded: $7,333.29 Entered on 5/26/2020. (Ecker, C.), 668 Order granting 606
                          Motion to extend or limit the exclusivity period. (Re: related document(s) Chapter 11 Plan
                          due by 7/13/2020, Entered on 5/26/2020. (Ecker, C.), 669 Order granting application to
                          employ Wilmer Cutler Pickering Hale and Dorr LLP as Other Professional (related document
                          605) Entered on 5/26/2020. (Ecker, C.), 670 Order granting application for compensation
                          (related document 602) granting for Foley Gardere, Foley & Lardner LLP, fees awarded:
                          $387,672.08, expenses awarded: $10,455.04 Entered on 5/26/2020. (Ecker, C.)). (Kass,
                          Albert)

                             699 (5 pgs) Certificate of service re: Summary Sheet and Sixth Monthly Application of
                          FTI Consulting for Allowance of Compensation and Reimbursement of Expenses for the
                          Period from April 1, 2020 to and Including April 30, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)675 Application for compensation Sixth
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 4/1/2020 to 4/30/2020, Fee: $489,957.84, Expenses:
                          $6,702.95. Filed by Attorney Juliana Hoffman Objections due by 6/18/2020. filed by
   06/04/2020             Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                            700 (4 pgs; 2 docs) Motion to redact/restrict Restrict From Public View (related
                          document(s):692) (Fee Amount $25) Filed by Interested Party Redeemer Committee of the
   06/04/2020             Highland Crusader Fund (Attachments: # 1 Proposed Order) (Platt, Mark)

                            Receipt of filing fee for Motion to Redact/Restrict From Public View(19-34054-sgj11)
                          [motion,mredact] ( 25.00). Receipt number 27815698, amount $ 25.00 (re: Doc# 700). (U.S.
   06/04/2020             Treasury)

                             701 (138 pgs; 15 docs) Objection to (related document(s): 644 Motion for relief from stay
                          (UBS's Motion for Relief From the Automatic Stay to Proceed With State Court Action) Fee
                          amount $181, filed by Interested Party UBS Securities LLC, Interested Party UBS AG
                          London Branch)Redacted Version of Redeemer Committee Objection to UBS Motion for
                          Relief from the Automatic Stay to Proceed with State Court Action filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund. (Attachments: # 1 Exhibit Exhibit A #
                          2 Exhibit Exhibit B # 3 Exhibit Exhibit C # 4 Exhibit Exhibit D # 5 Exhibit Exhibit E # 6
                          Exhibit Exhibit F # 7 Exhibit Exhibit G # 8 Exhibit Exhibit H slip sheet # 9 Exhibit Exhibit I
                          slip sheet # 10 Exhibit Exhibit J # 11 Exhibit Exhibit K # 12 Exhibit Exhibit L # 13 Exhibit
   06/04/2020             Exhibit M # 14 Exhibit Exhibit N) (Platt, Mark)

   06/04/2020                 702 (4 pgs) Notice of Appearance and Request for Notice by Thomas M. Melsheimer
                          filed by Creditor Frank Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla,
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                          Hunter Covitz and Thomas Surgent. (Melsheimer, Thomas)

                            703 (3 pgs) Motion to appear pro hac vice for David Neier. Fee Amount $100 Filed by
                          Creditor Frank Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter
   06/04/2020             Covitz and Thomas Surgent (Melsheimer, Thomas)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   06/04/2020             ( 100.00). Receipt number 27816362, amount $ 100.00 (re: Doc# 703). (U.S. Treasury)

                            704 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to April 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   06/05/2020             Zachery)

                            705 (1 pg) Order granting motion to appear pro hac vice adding David Neier for Frank
                          Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter Covitz and
   06/05/2020             Thomas Surgent (related document # 703) Entered on 6/5/2020. (Okafor, M.)

                            706 (1 pg) Order granting motion to appear pro hac vice adding Robert J. Feinstein for
                          Highland Capital Management, L.P. (related document # 695) Entered on 6/5/2020. (Okafor,
   06/05/2020             M.)

                              707 (8 pgs) Certificate of service re: 1) Fourth Stipulation by and Between the Debtor
                          and Brown Rudnick LLP Extending the General Bar Date; and 2) Notice of Filing of Monthly
                          Staffing Report by Development Specialists, Inc. for the Period from April 1, 2020 Through
                          April 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)678 Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
                          motion for leave). filed by Debtor Highland Capital Management, L.P., 679 Notice (Notice of
                          Filing of Monthly Staffing Report by Development Specialists, Inc. for the Period from April
                          1, 2020 through April 30, 2020) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)342 Order granting application to employ Development Specialists, Inc.
                          to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and
                          Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date
                          (related document 74) Entered on 1/10/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--
                          DSI Staffing Report for April 2020) filed by Debtor Highland Capital Management, L.P.).
   06/05/2020             (Kass, Albert)

                             708 (8 pgs) Certificate of service re: Order Approving Fourth Stipulation Permitting
                          Brown Rudnick LLP to File Proofs of Claim After the General Bar Date Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)685 Order approving fourth
                          stipulation permitting Brown Rudnick LLP to file proof of claims after general bar date (RE:
                          related document(s)638 Stipulation filed by Debtor Highland Capital Management, L.P.).
   06/05/2020             Entered on 6/2/2020 (Okafor, M.)). (Kass, Albert)

   06/05/2020                 709 (11 pgs) Certificate of service re: 1) Debtor's Objection to UBS's Motion for Relief
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.201 113/439



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                          from the Automatic Stay to Proceed with State Court Action; 2) Appendix A of Exhibits in
                          Support of Debtor's Objection to UBS's Motion for Relief from the Automatic Stay; and 3)
                          Debtor's Motion for Entry of an Order Authorizing Filing Under Seal of Appendix B of
                          Exhibits to Debtor's Objection to UBS's Motion for Relief from the Automatic Stay Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)687 Response
                          opposed to (related document(s): 644 Motion for relief from stay (UBS's Motion for Relief
                          From the Automatic Stay to Proceed With State Court Action) Fee amount $181, filed by
                          Interested Party UBS Securities LLC, Interested Party UBS AG London Branch) filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
                          L.P., 688 Support/supplemental document(Appendix A of Exhibits in Support of Debtor's
                          Objection to UBS's Motion for Relief from the Automatic Stay) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)687 Response). (Attachments: # 1
                          Exhibit 1--UBS v. Highland Capital Mgmt., L.P., 2010 NY Slip Op 1436 (N.Y. App. Div.) #
                          2 Exhibit 2--UBS v. Highland Capital Mgmt., L.P., 86 A.D.3d 469 (N.Y. App. Div. 2011) # 3
                          Exhibit 3--UBS v. Highland Capital Mgmt., L.P., 93 A.D.3d 489 (N.Y. App. Div. 2012) # 4
                          Exhibit 4--NY D.I. 411: March 13, 2017 Decision # 5 Exhibit 5--NY D.I. 494: Transcript of
                          May 1, 2018 Telephonic Hearing # 6 Exhibit 6--NY D.I. 472: UBSs Pre-Trial Brief in
                          Support of Bifurcation # 7 Exhibit 7--Shira A. Scheindlin, U.S.D.J. (Ret.), Why Not
                          Arbitrate? Breaking the Backlog in State and Federal Courts, 263 N.Y. L.J. 94 (May 15,
                          2020) # 8 Exhibit 8--December 2, 2019 Email from the Debtors Pre-Petition Counsel to
                          Counsel for UBS # 9 Exhibit 9--March 6, 2020 Email Chain Between the Debtors
                          Bankruptcy Counsel and Counsel for UBS # 10 Exhibit 10--NY D.I. 320: UBSs Note of
                          Issue Without Jury # 11 Exhibit 11--March 22, 2020 New York Administrative Order
                          AO/78/20 # 12 Exhibit 12--May 26, 2020 Law360 Article (Excerpt Only)) filed by Debtor
                          Highland Capital Management, L.P., 689 Motion to file document under seal.(Debtor's
                          Motion for Entry of an Order Authorizing Filing under Seal of Appendix B of Exhibits to
                          Debtor's Objection to UBS's Motion for Relief from the Automatic Stay) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2
                          Exhibit B--Protective Order Filed in State Court Litigation) filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                            710 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)706
                          Order granting motion to appear pro hac vice adding Robert J. Feinstein for Highland Capital
                          Management, L.P. (related document 695) Entered on 6/5/2020. (Okafor, M.)) No. of
   06/07/2020             Notices: 1. Notice Date 06/07/2020. (Admin.)

                             711 (2 pgs) Order granting motion to seal documents (related document # 696) Entered on
   06/08/2020             6/8/2020. (Okafor, M.)

                            712 (2 pgs) Certificate of No Objection filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P. (RE: related document(s)593 Motion for relief from stay Fee
   06/08/2020             amount $181,). (Shaw, Brian)

                            713 (1 pg) Order granting Motion to Redact (Related Doc # 700) Entered on 6/8/2020.
   06/08/2020             (Okafor, M.)

                             714 SEALED document regarding: Redeemer Committee's Objection to UBS's
                          Motion for Relief From The Automatic Stay (unredacted version) per court order filed
                          by Interested Party Redeemer Committee of the Highland Crusader Fund (RE: related
   06/08/2020             document(s)711 Order on motion to seal). (Platt, Mark)

   06/08/2020               715 SEALED document regarding: Exhibit A, Original Synthetic Warehouse
                          Agreement per court order filed by Interested Party Redeemer Committee of the Highland
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.202 114/439



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                          Crusader Fund (RE: related document(s)711 Order on motion to seal). (Platt, Mark)

                             716 SEALED document regarding: Exhibit B, Original Engagement Ltr. per court
                          order filed by Interested Party Redeemer Committee of the Highland Crusader Fund (RE:
   06/08/2020             related document(s)711 Order on motion to seal). (Platt, Mark)

                            717 SEALED document regarding: Exhibit C, Original Cash Warehouse Agreement
                          per court order filed by Interested Party Redeemer Committee of the Highland Crusader
   06/08/2020             Fund (RE: related document(s)711 Order on motion to seal). (Platt, Mark)

                            718 SEALED document regarding: Exhibit D, Expert Report of Louis G. Dudney per
                          court order filed by Interested Party Redeemer Committee of the Highland Crusader Fund
   06/08/2020             (RE: related document(s)711 Order on motion to seal). (Platt, Mark)

                             719 SEALED document regarding: Exhibit E, 3/20/2009 Termination, Settlement,
                          and Release Agreement per court order filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund (RE: related document(s)711 Order on motion to seal). (Platt,
   06/08/2020             Mark)

                            720 SEALED document regarding: Exhibit H, UBS and Crusader Fund Settlement
                          Agreement per court order filed by Interested Party Redeemer Committee of the Highland
   06/08/2020             Crusader Fund (RE: related document(s)711 Order on motion to seal). (Platt, Mark)

                             721 SEALED document regarding: Exhibit I, UBS and Credit Strategies Fund
                          Settlement Agreement per court order filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund (RE: related document(s)711 Order on motion to seal). (Platt,
   06/08/2020             Mark)

                             722 (2 pgs) Order granting motion to seal documents (related document # 689) Entered
   06/08/2020             on 6/8/2020. (Okafor, M.)

                             723 SEALED document regarding: Appendix B of Exhibits in Support of Debtor's
                          Objection to UBS's Motion for Relief from the Automatic Stay per court order filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)722 Order on motion to
   06/08/2020             seal). (Annable, Zachery)

                             724 (7 pgs) Certificate of service re: Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to April 30, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)704 Notice (Notice of
                          Statement of Amounts Paid to Ordinary Course Professionals for the Period from October
                          16, 2019 to April 30, 2020) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF
                          THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P.). (Kass,
   06/08/2020             Albert)

   06/10/2020                725 (3 pgs) Motion to appear pro hac vice for Sarah Tomkowiak. Fee Amount $100 Filed
                          by Interested Parties UBS AG London Branch, UBS Securities LLC (Sosland, Martin)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.203 115/439



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                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   06/10/2020             ( 100.00). Receipt number 27830926, amount $ 100.00 (re: Doc# 725). (U.S. Treasury)

                              726 (4 pgs) Stipulation by Highland Capital Management, L.P. and Brown Rudnick LLP.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)488 Order on
   06/10/2020             motion for leave). (Annable, Zachery)

                             727 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)639 Application for compensation Sixth
                          Monthly Application of Sidley Austin LLP for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 4/1/2020 to
   06/10/2020             4/30/2020, Fee: $438,619.). (Hoffman, Juliana)

                            728 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)640 Application for compensation Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   06/10/2020             Period: 3/1/2020 to 3/31/2020, Fee: $477,538.20, Expenses: $14,937.66.). (Hoffman, Juliana)

                            729 (11 pgs) Notice of Subpoena of Highland Capital Management, L.P. filed by Creditor
   06/10/2020             CLO Holdco, Ltd.. (Kane, John)

                             730 (3 pgs) Motion to appear pro hac vice for Alan J. Kornfeld. Fee Amount $100 Filed
   06/11/2020             by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   06/11/2020             ( 100.00). Receipt number 27834758, amount $ 100.00 (re: Doc# 730). (U.S. Treasury)

                             731 (1 pg) Order granting motion to appear pro hac vice adding Sarah A. Tomkowiak for
                          UBS AG London Branch and UBS Securities LLC (related document # 725) Entered on
   06/11/2020             6/11/2020. (Okafor, M.)

                             732 (7 pgs) Order approving fifth stipulation permitting Brown Rudnick LLP to file
                          proofs of claim after the general bar ate (RE: related document(s)638 Stipulation filed by
                          Debtor Highland Capital Management, L.P.). Entered on 6/11/2020 (Okafor, M.) Modified
   06/11/2020             text on 6/11/2020 (Okafor, M.).

                             733 (237 pgs; 17 docs) Motion for leave to File an Omnibus Reply to Objections to UBS's
                          Motion for Relief from the Automatic Stay to Proceed With State Court Action (related
                          document(s) 687 Response, 690 Objection, 692 Objection, 694 Joinder, 701 Objection) Filed
                          by Interested Parties UBS AG London Branch, UBS Securities LLC Objections due by
                          7/2/2020. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B - Reply # 3 Exhibit 1
                          # 4 Exhibit 2 # 5 Exhibit 3 # 6 Exhibit 4 # 7 Exhibit 5 # 8 Exhibit 6 # 9 Exhibit 7 # 10
                          Exhibit 8 # 11 Exhibit 9 # 12 Exhibit 10 # 13 Exhibit 11 # 14 Exhibit 12 # 15 Exhibit 13 # 16
   06/11/2020             Exhibit 14) (Sosland, Martin)

   06/11/2020                734 (23 pgs; 3 docs) INCORRECT EVENT USED: See # 746 for correction. Motion for
                          leave to File Documents Under Seal with UBS's Omnibus Reply to Objections to UBS's
                          Motion for Relief from the Automatic Stay to Proceed With State Court Action (related
                          document(s) 733 Motion for leave) Filed by Interested Parties UBS AG London Branch,
                          UBS Securities LLC Objections due by 7/2/2020. (Attachments: # 1 Exhibit A - Proposed

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                          Order # 2 Exhibit B - State Court Protective Stipulation) (Sosland, Martin) Modified on
                          6/15/2020 (Ecker, C.).

                            746 (23 pgs) Motion to file document under seal. Filed by Interested Parties UBS AG
   06/11/2020             London Branch , UBS Securities LLC (Ecker, C.) (Entered: 06/15/2020)

                             735 (2 pgs) COURT'S NOTICE/VIDEO CONFERENCE INFORMATION FOR
                          HEARING ON JUNE 15, 2020 AT 1:30 p.m. (RE: related document(s)644 Motion for relief
                          from stay (UBS's Motion for Relief From the Automatic Stay to Proceed With State Court
                          Action) Fee amount $181, Filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC Objections due by 6/3/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I
   06/12/2020             # 10 Exhibit J # 11 Exhibit K)). (Ellison, T.)

                            736 (1 pg) Order granting motion to appear pro hac vice adding Alan J. Kornfeld for
                          Highland Capital Management, L.P. (related document # 730) Entered on 6/12/2020.
   06/12/2020             (Okafor, M.)

                            737 (17 pgs; 2 docs) Motion to extend or limit the exclusivity period (RE: related
                          document(s)668 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
   06/12/2020             Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                            738 (3 pgs) Certificate of No Objection Regarding Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from April 1, 2020 through April 30, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)648 Application for
                          compensation Seventh Monthly Application for Compensation and Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtors for the Period
   06/12/2020             From April 1, 2020 Through April 30, 2020 for Jeffrey Nathan). (Annable, Zachery)

                            739 (4 pgs) Witness and Exhibit List (Debtor's Witness and Exhibit List for June 15, 2020
                          Hearing on UBS's Motion for Relief from the Automatic Stay) filed by Debtor Highland
                          Capital Management, L.P. (Related document(s) 644 UBS's Motion for Relief From the
                          Automatic Stay to Proceed With State Court Action) filed by Interested Party UBS Securities
                          LLC, Interested Party UBS AG London Branch. MODIFIED to correct linkage on 6/15/2020
   06/12/2020             (Ecker, C.).

                             740 (5 pgs) Witness and Exhibit List REDEEMER COMMITTEE OF THE HIGHLAND
                          CRUSADER FUND WITNESS AND EXHIBIT LIST FOR JUNE 15, 2020 HEARING ON
                          UBS MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund (Related document(s) 644 UBS's
                          Motion for Relief From the Automatic Stay to Proceed With State Court Action) filed by
                          Interested Party UBS Securities LLC, Interested Party UBS AG London Branch. MODIFIED
   06/12/2020             to correct linkage on 6/15/2020 (Ecker, C.).

                             741 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)737 Motion to extend or limit the exclusivity period (RE: related
                          document(s)668 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on
   06/12/2020             7/8/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 737, (Annable, Zachery)

   06/12/2020                 742 (5 pgs) Witness and Exhibit List for June 15, 2020 Hearing filed by Interested Parties
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.205 117/439



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                          UBS AG London Branch, UBS Securities LLC (RE: related document(s)644 Motion for
                          relief from stay (UBS's Motion for Relief From the Automatic Stay to Proceed With State
                          Court Action) Fee amount $181,). (Sosland, Martin)

                             743 (5 pgs) Amended Witness and Exhibit List REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUND FIRST AMENDED WITNESS AND EXHIBIT LIST FOR
                          JUNE 15, 2020 HEARING ON UBS MOTION FOR RELIEF FROM THE AUTOMATIC
                          STAY filed by Interested Party Redeemer Committee of the Highland Crusader Fund (RE:
   06/12/2020             related document(s)740 List (witness/exhibit/generic)). (Platt, Mark)

                            744 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)731
                          Order granting motion to appear pro hac vice adding Sarah A. Tomkowiak for UBS AG
                          London Branch and UBS Securities LLC (related document 725) Entered on 6/11/2020.
   06/13/2020             (Okafor, M.)) No. of Notices: 1. Notice Date 06/13/2020. (Admin.)

                            745 (2 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)736
                          Order granting motion to appear pro hac vice adding Alan J. Kornfeld for Highland Capital
                          Management, L.P. (related document 730) Entered on 6/12/2020. (Okafor, M.)) No. of
   06/14/2020             Notices: 1. Notice Date 06/14/2020. (Admin.)

                            747 (12 pgs; 2 docs) Motion to extend time to (Debtor's Motion for Entry of an Order
                          Further Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C.
                          1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure) (RE: related
                          document(s)459 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. Objections due by 7/6/2020. (Attachments: # 1 Exhibit A--Proposed
   06/15/2020             Order) (Annable, Zachery)

                             748 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)747 Motion to extend time to (Debtor's Motion for Entry of an Order
                          Further Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C.
                          1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure) (RE: related
                          document(s)459 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. Objections due by 7/6/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order)). Hearing to be held on 7/8/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 747,
   06/15/2020             (Annable, Zachery)

                             754 Hearing held on 6/15/2020. (RE: related document(s)644 (UBS's Motion for Relief
                          From the Automatic Stay to Proceed With State Court Action), filed by Interested Parties
                          UBS AG London Branch, UBS Securities LLC.,) (Appearances (all via WebEx): M. Sosland,
                          A. Clubok, and S. Tomkowiak for UBS; J. Pomerantz, R. Feinstein, G. Demo, A. Kornfeld,
                          M. Hayward, and Z. Annabel for Debtor; M. Clemente for Official Unsecured Creditors
                          Committee; T. Mascherin, M. Platt, and M. Hankin for Redeemer Committee; B. Shaw and
                          R. Patel for Acis; M. Rosenthal for Alvarez & Marsal. Evidentiary hearing. Motion denied.
   06/15/2020             Debtors counsel to upload order.) (Edmond, Michael) (Entered: 06/17/2020)

   06/15/2020                770 (1 pg) Court admitted exhibits date of hearing June 15, 2020 (RE: related
                          document(s)644 Motion for relief from stay (UBS's Motion for Relief From the Automatic
                          Stay to Proceed With State Court Action), filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC., (COURT ADMITTED ALL EXHIBIT'S TO ALL THE
                          ATTACHED OBJECTOR'S OBJECTION ALL EXCEPT FOR EXHIBIT #D (EXPERT
                          REPORT OF LOUIS G. DUDLEY; THAT IS FILED UNDER SEAL); ON THE
                          REDEEMER COMMITTEE OBJECTION; THE FOLLOWING EXHIBIT'S ATTACHED

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.206 118/439



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                          TO THE MOTION OF UBS'S MOTION TO LIFT STAY ALL ADMITTED; # 1 Exhibit A #
                          2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit
                          H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K; ALSO PLEASE SEE WITNESS AND
                          EXHIBIT LIST OF DEBTOR; CREDITOR UBS AND REDEEMER COMMITTEE)
                          (Edmond, Michael) (Entered: 06/23/2020)

                            749 ENTER AN ERROR; NO PDF ATTACHED: Request for transcript regarding a
                          hearing held on 6/15/2020. The requested turn-around time is daily (Edmond, Michael)
   06/16/2020             Modified on 6/16/2020 (Edmond, Michael).

                             750 (1 pg) Request for transcript regarding a hearing held on 6/15/2020. The requested
   06/16/2020             turn-around time is daily. (Edmond, Michael)

                             751 (22 pgs; 2 docs) Application for compensation Sixth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from April 1, 2020 through April 30, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 4/1/2020 to 4/30/2020, Fee:
                          $32,602.50, Expenses: $0.00. Filed by Attorney Holland N. O'Neil Objections due by
   06/16/2020             7/7/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                            752 (3 pgs) Notice of hearing(Notice of August 6, 2020 Omnibus Hearing Date) filed by
                          Debtor Highland Capital Management, L.P.. Hearing to be held on 8/6/2020 at 09:30 AM
   06/16/2020             Dallas Judge Jernigan Ctrm (Annable, Zachery)

                            753 (3 pgs) Notice of hearing (Notice of July 14, 2020 Omnibus Hearing Date) filed by
                          Debtor Highland Capital Management, L.P.. Hearing to be held on 7/14/2020 at 01:30 PM
   06/16/2020             Dallas Judge Jernigan Ctrm (Annable, Zachery)

                             755 (127 pgs) Transcript regarding Hearing Held 06/15/2020 (127 pages) RE: Motion for
                          Relief from the Automatic Stay. THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 09/15/2020. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 754 Hearing held on 6/15/2020. (RE: related document(s)644 (UBS's Motion
                          for Relief From the Automatic Stay to Proceed With State Court Action), filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC.,) (Appearances (all via WebEx): M.
                          Sosland, A. Clubok, and S. Tomkowiak for UBS; J. Pomerantz, R. Feinstein, G. Demo, A.
                          Kornfeld, M. Hayward, and Z. Annabel for Debtor; M. Clemente for Official Unsecured
                          Creditors Committee; T. Mascherin, M. Platt, and M. Hankin for Redeemer Committee; B.
                          Shaw and R. Patel for Acis; M. Rosenthal for Alvarez & Marsal. Evidentiary hearing. Motion
                          denied. Debtors counsel to upload order.)). Transcript to be made available to the public on
   06/17/2020             09/15/2020. (Rehling, Kathy)

   06/17/2020                756 (10 pgs) Certificate of service re: 1) WebEx Meeting Invitation to participate
                          electronically in the hearing on Monday, June 15, 2020 at 1:30 p.m. Central Time before the
                          Honorable Stacey G. Jernigan; and 2) Instructions for any counsel and parties who wish to
                          participate in the Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)735 COURT'S NOTICE/VIDEO CONFERENCE INFORMATION
                          FOR HEARING ON JUNE 15, 2020 AT 1:30 p.m. (RE: related document(s)644 Motion for
                          relief from stay (UBS's Motion for Relief From the Automatic Stay to Proceed With State

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                          Court Action) Fee amount $181, Filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC Objections due by 6/3/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I
                          # 10 Exhibit J # 11 Exhibit K)). (Ellison, T.)). (Kass, Albert)

                             757 (9 pgs) Certificate of service re: Fifth Stipulation by and Between the Debtor and
                          Brown Rudnick LLP Extending the General Bar Date Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)726 Stipulation by Highland Capital
                          Management, L.P. and Brown Rudnick LLP. filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)488 Order on motion for leave). filed by Debtor Highland
   06/17/2020             Capital Management, L.P.). (Kass, Albert)

                             758 (9 pgs) Certificate of service re: 1) Motion for Admission Pro Hac Vice of Alan J.
                          Kornfeld to Represent Highland Capital Management, L.P.; and 2) Order Approving Fifth
                          Stipulation Permitting Brown Rudnick LLP to File Proofs of Claim After the General Bar
                          Date Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)730
                          Motion to appear pro hac vice for Alan J. Kornfeld. Fee Amount $100 Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P., 732
                          Order approving fifth stipulation permitting Brown Rudnick LLP to file proofs of claim after
                          the general bar ate (RE: related document(s)638 Stipulation filed by Debtor Highland Capital
                          Management, L.P.). Entered on 6/11/2020 (Okafor, M.) Modified text on 6/11/2020 (Okafor,
   06/17/2020             M.).). (Kass, Albert)

                             759 (7 pgs) Certificate of service re: Documents Served on June 12, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)736 Order granting motion to
                          appear pro hac vice adding Alan J. Kornfeld for Highland Capital Management, L.P. (related
                          document 730) Entered on 6/12/2020. (Okafor, M.), 737 Motion to extend or limit the
                          exclusivity period (RE: related document(s)668 Order on motion to extend/shorten time)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed
                          Order) filed by Debtor Highland Capital Management, L.P., 739 Witness and Exhibit List
                          (Debtor's Witness and Exhibit List for June 15, 2020 Hearing on UBS's Motion for Relief
                          from the Automatic Stay) filed by Debtor Highland Capital Management, L.P. (Related
                          document(s) 644 UBS's Motion for Relief From the Automatic Stay to Proceed With State
                          Court Action) filed by Interested Party UBS Securities LLC, Interested Party UBS AG
                          London Branch. MODIFIED to correct linkage on 6/15/2020 (Ecker, C.). filed by Debtor
                          Highland Capital Management, L.P., 741 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)737 Motion to extend or limit the exclusivity
                          period (RE: related document(s)668 Order on motion to extend/shorten time) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing
                          to be held on 7/8/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 737, filed by Debtor
   06/17/2020             Highland Capital Management, L.P.). (Kass, Albert)

   06/17/2020                760 (11 pgs) Certificate of service re: 1) Debtor's Motion for Entry of an Order Further
                          Extending the Period Within Which it May Remove Actions Pursuant to 28 U.S.C. § 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure; and 2) Notice of Hearing
                          Regarding Debtor's Motion for Entry of an Order Further Extending the Period Within
                          Which it May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure; to be Held on July 8, 2020 at 1:30 p.m. (Central Time) Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)747 Motion to
                          extend time to (Debtor's Motion for Entry of an Order Further Extending the Period Within
                          Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure) (RE: related document(s)459 Order on motion to
                          extend/shorten time) Filed by Debtor Highland Capital Management, L.P. Objections due by
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                          7/6/2020. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital
                          Management, L.P., 748 Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)747 Motion to extend time to (Debtor's Motion for Entry of an
                          Order Further Extending the Period Within Which It May Remove Actions Pursuant to 28
                          U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure) (RE: related
                          document(s)459 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. Objections due by 7/6/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order)). Hearing to be held on 7/8/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 747,
                          filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                              761 (9 pgs) Certificate of service re: 1) Cover Sheet and Sixth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from April 1, 2020 Through April 30, 2020; 2) Notice of
                          August 6, 2020 Omnibus Hearing Date; and 3) Notice of July 14, 2020 Omnibus Hearing
                          Date Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)751
                          Application for compensation Sixth Monthly Application for Compensation and
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
                          for the Period from April 1, 2020 through April 30, 2020 for Foley Gardere, Foley & Lardner
                          LLP, Special Counsel, Period: 4/1/2020 to 4/30/2020, Fee: $32,602.50, Expenses: $0.00.
                          Filed by Attorney Holland N. O'Neil Objections due by 7/7/2020. (Attachments: # 1 Exhibit
                          A) (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 752
                          Notice of hearing(Notice of August 6, 2020 Omnibus Hearing Date) filed by Debtor
                          Highland Capital Management, L.P.. Hearing to be held on 8/6/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm filed by Debtor Highland Capital Management, L.P., 753 Notice of
                          hearing (Notice of July 14, 2020 Omnibus Hearing Date) filed by Debtor Highland Capital
                          Management, L.P.. Hearing to be held on 7/14/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
   06/17/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             762 (20 pgs; 2 docs) Application for compensation Seventh Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 5/1/2020 to 5/31/2020, Fee:
                          $27,822.00, Expenses: $489.80. Filed by Attorney Holland N. O'Neil Objections due by
   06/18/2020             7/9/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             763 (6 pgs) Agreed Order granting application to employ Hunton Andrews Kurth LLP as
                          Special Counsel Nunc Pro Tunc to the petition date (related document # 604) Entered on
   06/18/2020             6/18/2020. (Bradden, T.)

                            764 (3 pgs) Order granting motion for relief from stay by Acis Capital Management GP,
                          LLC , Acis Capital Management, L.P. (related document # 593) Entered on 6/18/2020.
   06/18/2020             (Bradden, T.)

                            765 (2 pgs) Order denying motion for relief from stay by Interested Parties UBS AG
                          London Branch , UBS Securities LLC (related document # 644) Entered on 6/19/2020.
   06/19/2020             (Okafor, M.)

                             766 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)764
                          Order granting motion for relief from stay by Acis Capital Management GP, LLC , Acis
                          Capital Management, L.P. (related document 593) Entered on 6/18/2020. (Bradden, T.)) No.
   06/20/2020             of Notices: 1. Notice Date 06/20/2020. (Admin.) (Entered: 06/21/2020)


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   06/22/2020               767 (42 pgs) Application for compensation Sidley Austin LLP's Seventh Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 5/1/2020 to 5/31/2020, Fee: $343,624.68,
                          Expenses: $2,758.75. Filed by Creditor Committee Official Committee of Unsecured
                          Creditors Objections due by 7/13/2020. (Hoffman, Juliana)

                            768 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)675 Application for compensation Sixth Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   06/22/2020             Period: 4/1/2020 to 4/30/2020, Fee: $489,957.84, Expenses: $6,702.95.). (Hoffman, Juliana)

                             769 (9 pgs) Certificate of service re: 1) Cover Sheet and Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from May 1, 2020 Through May 31, 2020; and 2)
                          Agreed Order Authorizing the Retention and Employment of Hunton Andrews Kurth LLP as
                          Special Counsel Nunc Pro Tunc to the Petition Date Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)762 Application for compensation Seventh
                          Monthly Application for Compensation and for Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from May 1, 2020
                          through May 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          5/1/2020 to 5/31/2020, Fee: $27,822.00, Expenses: $489.80. Filed by Attorney Holland N.
                          O'Neil Objections due by 7/9/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by
                          Spec. Counsel Foley Gardere, Foley & Lardner LLP, 763 Agreed Order granting application
                          to employ Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the petition
   06/22/2020             date (related document 604) Entered on 6/18/2020. (Bradden, T.)). (Kass, Albert)

                            771 (65 pgs) Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P. and
                          Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital Management, L.P..
   06/23/2020             Responses due by 7/23/2020. (Annable, Zachery)

                             772 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P.
                          and Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital Management,
                          L.P.. Responses due by 7/23/2020.). Hearing to be held on 8/6/2020 at 09:30 AM Dallas
   06/23/2020             Judge Jernigan Ctrm for 771, (Annable, Zachery)

                             773 (104 pgs) Application for compensation Eighth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 5/1/2020 to 5/31/2020, Fee: $803,509.50,
                          Expenses: $4,372.94. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
   06/23/2020             7/14/2020. (Pomerantz, Jeffrey)

                            774 (33 pgs) Application to employ James P. Seery, Jr. as Other Professional Debtors
                          Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain
                          James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
                          Representative Nunc Pro Tunc to March 15, 2020 Filed by Debtor Highland Capital
   06/23/2020             Management, L.P. (Annable, Zachery)

   06/23/2020               775 (22 pgs) Application to employ Development Specialists, Inc. as Other Professional
                          Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and
                          Retain Development Specialists, Inc. to Provide Financial Advisory and Restructuring-

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                          Related Services, Nunc Pro Tunc to March 15, 2020 Filed by Debtor Highland Capital
                          Management, L.P. (Annable, Zachery)

                             776 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)774 Application to employ James P. Seery, Jr. as Other Professional
                          Debtors Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
                          Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and
                          Foreign Representative Nunc Pro Tunc to March 15, 2020 Filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 7/14/2020 at 01:30 PM Dallas Judge Jernigan
   06/23/2020             Ctrm for 774, (Annable, Zachery)

                             777 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)775 Application to employ Development Specialists, Inc. as Other
                          Professional Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide Financial Advisory and
                          Restructuring-Related Services, Nunc Pro Tunc to March 15, 2020 Filed by Debtor Highland
                          Capital Management, L.P.). Hearing to be held on 7/14/2020 at 01:30 PM Dallas Judge
   06/23/2020             Jernigan Ctrm for 775, (Annable, Zachery)

                             778 (5 pgs) Certificate of service re: Summary Sheet and Seventh Monthly Application of
                          Sidley Austin LLP for Allowance of Compensation and Reimbursement of Expenses for the
                          Period from May 1, 2020 to and Including May 31, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)767 Application for compensation Sidley
                          Austin LLP's Seventh Monthly Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          5/1/2020 to 5/31/2020, Fee: $343,624.68, Expenses: $2,758.75. Filed by Creditor Committee
                          Official Committee of Unsecured Creditors Objections due by 7/13/2020. filed by Creditor
   06/24/2020             Committee Official Committee of Unsecured Creditors). (Kass, Albert)

   06/24/2020                779 (15 pgs) Certificate of service re: Documents Served on 23, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)771 Objection to claim(s) 3
                          of Creditor(s) Acis Capital Management L.P. and Acis Capital Management GP, LLC.. Filed
                          by Debtor Highland Capital Management, L.P.. Responses due by 7/23/2020. filed by Debtor
                          Highland Capital Management, L.P., 772 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)771 Objection to claim(s) 3 of Creditor(s) Acis
                          Capital Management L.P. and Acis Capital Management GP, LLC.. Filed by Debtor Highland
                          Capital Management, L.P.. Responses due by 7/23/2020.). Hearing to be held on 8/6/2020 at
                          09:30 AM Dallas Judge Jernigan Ctrm for 771, filed by Debtor Highland Capital
                          Management, L.P., 773 Application for compensation Eighth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 5/1/2020 to 5/31/2020, Fee: $803,509.50,
                          Expenses: $4,372.94. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          7/14/2020. filed by Debtor Highland Capital Management, L.P., 774 Application to employ
                          James P. Seery, Jr. as Other Professional Debtors Motion Under Bankruptcy Code Sections
                          105(a) and 363(b) for Authorization to Retain James P. Seery, Jr., as Chief Executive Officer,
                          Chief Restructuring Officer and Foreign Representative Nunc Pro Tunc to March 15, 2020
                          Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland Capital
                          Management, L.P., 775 Application to employ Development Specialists, Inc. as Other
                          Professional Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide Financial Advisory and
                          Restructuring-Related Services, Nunc Pro Tunc to March 15, 2020 Filed by Debtor Highland
                          Capital Management, L.P. filed by Debtor Highland Capital Management, L.P., 776 Notice of
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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)774
                          Application to employ James P. Seery, Jr. as Other Professional Debtors Motion Under
                          Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain James P. Seery, Jr.,
                          as Chief Executive Officer, Chief Restructuring Officer and Foreign Representative Nunc Pro
                          Tunc to March 15, 2020 Filed by Debtor Highland Capital Management, L.P.). Hearing to be
                          held on 7/14/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 774, filed by Debtor
                          Highland Capital Management, L.P., 777 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)775 Application to employ Development
                          Specialists, Inc. as Other Professional Amended Motion of the Debtor Pursuant to 11 U.S.C.
                          §§ 105(a) and 363(b) to Employ and Retain Development Specialists, Inc. to Provide
                          Financial Advisory and Restructuring-Related Services, Nunc Pro Tunc to March 15, 2020
                          Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 7/14/2020 at
                          01:30 PM Dallas Judge Jernigan Ctrm for 775, filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                            780 (5 pgs) Notice of Subpoena of David Klos filed by Creditor CLO Holdco, Ltd..
   06/25/2020             (Kane, John)

                             781 (48 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from May 1, 2020 through May 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
   06/26/2020             M.)). (Annable, Zachery)

                             782 (372 pgs; 26 docs) Witness and Exhibit List filed by Creditor CLO Holdco, Ltd. (RE:
                          related document(s)590 Motion to reclaim funds from the registry[Motion for Remittance of
                          Funds Held in Registry of Court]). (Attachments: # 1 Exhibit 1 # 2 Exhibit 1-A # 3 Exhibit
                          1-B # 4 Exhibit 1-C # 5 Exhibit 1-D # 6 Exhibit 1-E # 7 Exhibit 1-F # 8 Exhibit 1-G # 9
                          Exhibit 1-H # 10 Exhibit 1-I # 11 Exhibit 2 # 12 Exhibit 3 # 13 Exhibit 4 # 14 Exhibit 5 # 15
                          Exhibit 6 # 16 Exhibit 7 # 17 Exhibit 8 # 18 Exhibit 9 # 19 Exhibit 10 # 20 Exhibit 11 # 21
   06/26/2020             Exhibit 12 # 22 Exhibit 13 # 23 Exhibit 14 # 24 Exhibit 15 # 25 Exhibit 16) (Kane, John)

                             783 SEALED document regarding: Exhibit 11 - AROF MUFG Bank Statement June
                          2018_ Highland_PEO-032620 per court order filed by Creditor CLO Holdco, Ltd. (RE:
   06/26/2020             related document(s)382 Order on motion for protective order). (Kane, John)

                              784 SEALED document regarding: Exhibit 12 - GG and HCM Purchase and Sale
                          Agreement Loan Fund dated December 28, 2016 Highly Confidential per court order
                          filed by Creditor CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for
   06/26/2020             protective order). (Kane, John)

                            785 SEALED document regarding: Exhibit 13 - GG and HCM Amendment to
                          Purchase and Sale Agreement Loan Fund dated December 28, 2016 Highly Confidential
                          per court order filed by Creditor CLO Holdco, Ltd. (RE: related document(s)382 Order on
   06/26/2020             motion for protective order). (Kane, John)

                            786 SEALED document regarding: Exhibit 14 - Exercise of Discretion by Trustee
                          The Get Good Nonexempt Trust (Fully Executed) dated December 28, 2016 Highly
                          Confidential per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   06/26/2020             document(s)382 Order on motion for protective order). (Kane, John)

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   06/26/2020                 787 SEALED document regarding: Exhibit 15 - Dynamic Income CLO Holdco Side
                          Letter ($2M Subscription) dated January 10, 2017 Highly Confidential per court order
                          filed by Creditor CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for
                          protective order). (Kane, John)

                            788 SEALED document regarding: Exhibit 16 - Highland Capital Management, L.P.
                          December 31, 2016 Final Opinion per court order filed by Creditor CLO Holdco, Ltd.
   06/26/2020             (RE: related document(s)382 Order on motion for protective order). (Kane, John)

                             789 (172 pgs; 4 docs) Witness and Exhibit List filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)590 Motion to reclaim funds
                          from the registry[Motion for Remittance of Funds Held in Registry of Court]). (Attachments:
   06/27/2020             # 1 Exhibit # 2 Exhibit # 3 Exhibit) (Hoffman, Juliana)

                             790 (2 pgs) COURTS NOTICE/VIDEO CONFERENCE INFORMATION FOR
                          HEARING ON June 30, 2020 at 09:30 AM; (RE: related document(s)590 Motion to reclaim
                          funds from the registry [Motion for Remittance of Funds Held in Registry of Court] filed by
                          Creditor CLO Holdco, Ltd. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                          Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10
   06/29/2020             Proposed Order # 11 Service List)). (Edmond, Michael)

                             791 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)602 Application for compensation First Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through March 31, 2020 for
                          Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to 3/31/2020,
                          Fee: $484,590.10, Expenses: $10,455.04. Filed by Attorney Holland N. O'Neil Objections
                          due by 5/19/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order Exhibit C -
   06/30/2020             Proposed Order) (O'Neil, Holland)) Responses due by 7/14/2020. (Ecker, C.)

                             792 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)605 Application to employ Wilmer Cutler Pickering Hale and Dorr LLP
                          as Special Counsel (Debtor's Application Pursuant to Sections 327(e) and 328(a) of the
                          Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the
                          Employment of Wilmer Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance
                          Counsel Nunc Pro Tunc to the Petition Date) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed
   06/30/2020             Order)) Responses due by 7/14/2020. (Ecker, C.)

   06/30/2020                793 Hearing held on 6/30/2020. (RE: related document(s)590 Motion to reclaim funds
                          from the registry [Motion for Remittance of Funds Held in Registry of Court] filed by
                          Creditor CLO Holdco, Ltd. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                          Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10
                          Proposed Order # 11 Service List). (Appearances: J. Kane and B. Clark for Movant; J.
                          Pomeranz, J. Morris, G. Demo, and Z. Annabel for Debtor; M. Clemente for Unsecured
                          Creditors Committee; M. Platt and M. Hankin for Redeemers Committee; R. Patel for Acis;
                          A. Anderson and J. Bentley for certain CLO Issuers. Evidentiary hearing. Motion denied, but
                          court ordered that funds in registry of court will be disbursed to CLO Holdco, Ltd. in 90 days
                          unless an adversary proceeding has been filed against it and injunctive/equitable relief is
                          sought and granted in such adversary proceeding, requiring further holding of the funds in
                          the registry of the court (subject to requests/agreements for extension of this 90-day
                          deadline). Also, court registry will be receiving further funds that Debtor is due to disburse to

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                          CLO Holdco and Highland Capital Management Services, Inc. imminently (separate order is
                          to be submitted by Debtors counsel; UCC counsel to submit an order on todays ruling on
                          CLO Holdcos motion). (Edmond, Michael)

                            794 (1 pg) Court admitted exhibits date of hearing June 30, 2020 (RE: related
                          document(s)590 Motion to reclaim funds from the registry [Motion for Remittance of Funds
                          Held in Registry of Court] filed by Creditor CLO Holdco, Ltd. (COURT ADMITTED
                          MOVANT'S CLO HOLDCO, LTD., EXHIBITS #1, #2, #3, #4, #5, #6, #7, #8, #9, #10, #11,
                          #12, #13, #14, #15 & #16; ALSO ADMITTED DEFENDANT'S UNSECURED
   06/30/2020             CREDITOR'S COMMITTEE EXHIBIT'S #1, #2 & #3) (Edmond, Michael)

                             795 (29 pgs; 2 docs) Application for compensation (Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from April 1, 2020 through April 30, 2020) for Hayward
                          & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to 4/30/2020, Fee: $24877.50,
                          Expenses: $36.00. Filed by Other Professional Hayward & Associates PLLC (Attachments: #
   06/30/2020             1 Exhibit A--H&A April 2020 Invoice) (Annable, Zachery)

                             796 (1 pg) Request for transcript regarding a hearing held on 6/30/2020. The requested
   07/01/2020             turn-around time is daily. (Edmond, Michael)

                             797 (7 pgs) Certificate of service re: re: Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from May 1, 2020 Through May 31, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)781 Notice (Notice
                          of Filing of Monthly Staffing Report by Development Specialists, Inc. for the Period from
                          May 1, 2020 through May 31, 2020) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)342 Order granting application to employ Development Specialists,
                          Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory
                          and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date
                          (related document 74) Entered on 1/10/2020. (Okafor, M.)). filed by Debtor Highland Capital
   07/01/2020             Management, L.P.). (Kass, Albert)

                             798 (7 pgs) Certificate of service re: re: The Official Committee of Unsecured Creditors'
                          Witness and Exhibit List for the June 30, 2020 Hearing Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)789 Witness and Exhibit List filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)590 Motion
                          to reclaim funds from the registry[Motion for Remittance of Funds Held in Registry of
                          Court]). (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit) filed by Creditor Committee
   07/01/2020             Official Committee of Unsecured Creditors). (Kass, Albert)

                             799 (5 pgs) Certificate of service re: Cover Sheet and Fifth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from April 1, 2020 Through April 30, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)795 Application for
                          compensation (Fifth Monthly Application for Compensation and Reimbursement of Expenses
                          of Hayward & Associates PLLC as Local Counsel to the Debtor for the Period from April 1,
                          2020 through April 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          4/1/2020 to 4/30/2020, Fee: $24877.50, Expenses: $36.00. Filed by Other Professional
                          Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A April 2020 Invoice) filed
   07/01/2020             by Other Professional Hayward & Associates PLLC). (Kass, Albert)

   07/02/2020                 800 (9 pgs) Debtor-in-possession monthly operating report for filing period May 1, 2020

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                          to May 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            801 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to May 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   07/02/2020             Zachery)

                             802 (100 pgs) Transcript regarding Hearing Held 06/30/2020 (100 pages) RE: Motion for
                          Remittance of Funds (590). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 09/30/2020. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 793 Hearing held on 6/30/2020. (RE:
                          related document(s)590 Motion to reclaim funds from the registry [Motion for Remittance of
                          Funds Held in Registry of Court] filed by Creditor CLO Holdco, Ltd. (Attachments: # 1
                          Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit
                          G # 8 Exhibit H # 9 Exhibit I # 10 Proposed Order # 11 Service List). (Appearances: J. Kane
                          and B. Clark for Movant; J. Pomeranz, J. Morris, G. Demo, and Z. Annabel for Debtor; M.
                          Clemente for Unsecured Creditors Committee; M. Platt and M. Hankin for Redeemers
                          Committee; R. Patel for Acis; A. Anderson and J. Bentley for certain CLO Issuers.
                          Evidentiary hearing. Motion denied, but court ordered that funds in registry of court will be
                          disbursed to CLO Holdco, Ltd. in 90 days unless an adversary proceeding has been filed
                          against it and injunctive/equitable relief is sought and granted in such adversary proceeding,
                          requiring further holding of the funds in the registry of the court (subject to
                          requests/agreements for extension of this 90-day deadline). Also, court registry will be
                          receiving further funds that Debtor is due to disburse to CLO Holdco and Highland Capital
                          Management Services, Inc. imminently (separate order is to be submitted by Debtors
                          counsel; UCC counsel to submit an order on todays ruling on CLO Holdcos motion).).
   07/02/2020             Transcript to be made available to the public on 09/30/2020. (Rehling, Kathy)

                             803 (4 pgs) BNC certificate of mailing. (RE: related document(s)792 Clerk's
                          correspondence requesting an order from attorney for debtor. (RE: related document(s)605
                          Application to employ Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel
                          (Debtor's Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and
                          Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of Wilmer
                          Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel Nunc Pro Tunc
                          to the Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Declaration of Timothy Silva # 2 Exhibit B--Proposed Order)) Responses due by
   07/02/2020             7/14/2020. (Ecker, C.)) No. of Notices: 1. Notice Date 07/02/2020. (Admin.)

                              804 (3 pgs) Response unopposed to (related document(s): 737 Motion to extend or limit
                          the exclusivity period (RE: related document(s)668 Order on motion to extend/shorten time)
                          filed by Debtor Highland Capital Management, L.P.) filed by Creditor Committee Official
   07/03/2020             Committee of Unsecured Creditors. (Hoffman, Juliana)

   07/06/2020                 805 (3 pgs) Notice of hearing (Notice of September 10, 2020 Omnibus Hearing Date)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.215 127/439



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                          filed by Debtor Highland Capital Management, L.P.. Hearing to be held on 9/10/2020 at
                          02:30 PM Dallas Judge Jernigan Ctrm (Annable, Zachery)

                             806 (10 pgs) Certificate of service re: 1) Webex Meeting Invitation to participate
                          electronically in the hearing on Tuesday, May 26, 2020 at 9:30 a.m. Central Time before the
                          Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who wish to
                          participate in the Hearing; and 3) Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to May 31, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)801 Notice (Notice of Statement of
                          Amounts Paid to Ordinary Course Professionals for the Period from October 16, 2019 to
                          May 31, 2020) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF
                          THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P.). (Kass,
   07/07/2020             Albert)

                              807 (7 pgs) Certificate of service re: Statement of the Official Committee of Unsecured
                          Creditors in Response to the Debtor's Third Motion for Entry of an Order Pursuant to 11
                          U.S.C. § 1121(d) and Local Rule 3016-1 Further Extending the Exclusivity Periods for the
                          Filing and Solicitation of Acceptances of a Chapter 11 Plan Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)804 Response unopposed to (related
                          document(s): 737 Motion to extend or limit the exclusivity period (RE: related
                          document(s)668 Order on motion to extend/shorten time) filed by Debtor Highland Capital
                          Management, L.P.) filed by Creditor Committee Official Committee of Unsecured Creditors.
   07/07/2020             filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                            808 (17 pgs) Motion to compel Production by the Debtor. Filed by Creditor Committee
                          Official Committee of Unsecured Creditors Objections due by 7/29/2020. (Montgomery,
   07/08/2020             Paige)

                            809 (7 pgs) Certificate of service re: Notice of September 10, 2020 Omnibus Hearing
                          Date Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)805
                          Notice of hearing (Notice of September 10, 2020 Omnibus Hearing Date) filed by Debtor
                          Highland Capital Management, L.P.. Hearing to be held on 9/10/2020 at 02:30 PM Dallas
   07/08/2020             Judge Jernigan Ctrm filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             812 Hearing held on 7/8/2020. (RE: related document(s)737 Motion to extend or limit the
                          exclusivity period (RE: related document(s)668 Order on motion to extend/shorten time)
                          Filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Pomerantz, M.
                          Hayward, and Z. Annabel for Debtor; M. Clemente for Official Unsecured Creditors
                          Committee; T. Mascherin, M. Platt, and M. Hankin for Redeemer Committee; R. Patel, A.
                          Chiarello, and B. Shaw for Acis; M. Lynn for J. Dondero; J. Bjork for UBS. Evidentiary
                          hearing. Motion granted in part (30-day extension). Debtors counsel to upload order.)
   07/08/2020             (Edmond, Michael) (Entered: 07/09/2020)

   07/08/2020               813 Hearing held on 7/8/2020. (RE: related document(s)747 Motion to extend time to
                          (Debtor's Motion for Entry of an Order Further Extending the Period Within Which It May
                          Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure) (RE: related document(s)459 Order on motion to extend/shorten
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.216 128/439



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                          time) Filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Pomerantz, M.
                          Hayward, and Z. Annabel for Debtor; M. Clemente for Official Unsecured Creditors
                          Committee; T. Mascherin, M. Platt, and M. Hankin for Redeemer Committee; R. Patel, A.
                          Chiarello, and B. Shaw for Acis; M. Lynn for J. Dondero; J. Bjork for UBS. Evidentiary
                          hearing. Motion granted. Debtors counsel to upload order.) (Edmond, Michael) (Entered:
                          07/09/2020)

                            810 (15 pgs) Motion for protective order (Debtor's Motion for Entry of (i) a Protective
                          Order, or, in the Alternative, (ii) an Order Directing the Debtor to Comply with Certain
                          Discovery Demands Tendered by the Official Committee of Unsecured Creditors Pursuant to
                          Federal Rules of Bankruptcy Procedure 7026 and 7034) Filed by Debtor Highland Capital
   07/09/2020             Management, L.P. (Annable, Zachery)

                             811 (97 pgs; 8 docs) Declaration re: (Declaration of John A. Morris in Support of
                          Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)810
                          Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs). (Attachments: # 1 Exhibit
                          A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G)
   07/09/2020             (Annable, Zachery)

                            814 (6 pgs) Motion for expedited hearing(related documents 808 Motion to compel) Filed
   07/09/2020             by Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                             815 (1 pg) Request for transcript regarding a hearing held on 7/8/2020. The requested
   07/09/2020             turn-around time is hourly. (Edmond, Michael)

                             816 (2 pgs) Order granting 747 Motion to extend time to within which it may remove
                          actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy
   07/09/2020             Procedure (RE: related document(s)459 O) Entered on 7/9/2020. (Okafor, M.)

   07/10/2020                817 (58 pgs) Transcript regarding Hearing Held 07/08/2020 (58 pages) RE: Motions to
                          Extend Time. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE
                          TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 10/8/2020. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 812 Hearing held on 7/8/2020. (RE: related
                          document(s)737 Motion to extend or limit the exclusivity period (RE: related
                          document(s)668 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: J. Pomerantz, M. Hayward, and Z. Annabel for Debtor; M.
                          Clemente for Official Unsecured Creditors Committee; T. Mascherin, M. Platt, and M.
                          Hankin for Redeemer Committee; R. Patel, A. Chiarello, and B. Shaw for Acis; M. Lynn for
                          J. Dondero; J. Bjork for UBS. Evidentiary hearing. Motion granted in part (30-day
                          extension). Debtors counsel to upload order.), 813 Hearing held on 7/8/2020. (RE: related
                          document(s)747 Motion to extend time to (Debtor's Motion for Entry of an Order Further
                          Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure) (RE: related document(s)459
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: J. Pomerantz, M. Hayward, and Z. Annabel for Debtor; M. Clemente for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.217 129/439



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                          Official Unsecured Creditors Committee; T. Mascherin, M. Platt, and M. Hankin for
                          Redeemer Committee; R. Patel, A. Chiarello, and B. Shaw for Acis; M. Lynn for J. Dondero;
                          J. Bjork for UBS. Evidentiary hearing. Motion granted. Debtors counsel to upload order.)).
                          Transcript to be made available to the public on 10/8/2020. (Rehling, Kathy)

                             818 (2 pgs) Certificate of No Objection filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP (RE: related document(s)751 Application for compensation Sixth Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from April 1, 2020 through April 30, 2020
   07/10/2020             for Foley Gardere,). (O'Neil, Holland)

                             819 (2 pgs) Certificate of No Objection filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP (RE: related document(s)762 Application for compensation Seventh Monthly
                          Application for Compensation and for Reimbursement of Expenses of Foley & Lardner LLP
                          as Special Texas Counsel to the Debtor for the Period from May 1, 2020 through May 31,
   07/10/2020             2020 for Foley Gardere). (O'Neil, Holland)

                             820 (3 pgs) Order granting 737 Motion to extend or limit the exclusivity period. The
                          Exclusive Filing Period is extended through and including August 12, 2020. Entered on
   07/10/2020             7/10/2020. (Okafor, M.)

                            821 (5 pgs) Agreed order regarding deposit of funds into the registry of the Court.
   07/10/2020             (Related Doc # 474) Entered on 7/10/2020. (Okafor, M.)

                            822 (3 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)774 Application to employ James P. Seery, Jr. as Other Professional
                          Debtors Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
                          Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and
                          Foreign Repr, 775 Application to employ Development Specialists, Inc. as Other Professional
                          Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and
                          Retain Development Specialists, Inc. to Provide Financial Advisory and Restruct). (Annable,
   07/10/2020             Zachery)

                            823 (7 pgs) Certificate of service re: Official Committee of Unsecured Creditors'
                          Emergency Motion to Compel Production by the Debtor Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)808 Motion to compel Production by the
                          Debtor. Filed by Creditor Committee Official Committee of Unsecured Creditors Objections
                          due by 7/29/2020. filed by Creditor Committee Official Committee of Unsecured Creditors).
   07/13/2020             (Kass, Albert)

   07/13/2020                824 (17 pgs) Certificate of service re: Documents Served on July 9, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)810 Motion for protective
                          order (Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034) Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland
                          Capital Management, L.P., 811 Declaration re: (Declaration of John A. Morris in Support of
                          Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)810
                          Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the

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                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs). (Attachments: # 1 Exhibit
                          A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) filed by
                          Debtor Highland Capital Management, L.P., 814 Motion for expedited hearing(related
                          documents 808 Motion to compel) Filed by Creditor Committee Official Committee of
                          Unsecured Creditors filed by Creditor Committee Official Committee of Unsecured
                          Creditors, 816 Order granting 747 Motion to extend time to within which it may remove
                          actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy
                          Procedure (RE: related document(s)459 O) Entered on 7/9/2020. (Okafor, M.)). (Kass,
                          Albert)

                            825 (3 pgs) Order denying motion to reclaim funds from the registry (Related Doc # 590)
   07/13/2020             Entered on 7/13/2020. (Okafor, M.)

                              826 (5 pgs) Stipulation by Highland Capital Management, L.P. and The Official
                          Committee of Unsecured Creditors. filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)808 Motion to compel Production by the Debtor. , 810 Motion for
                          protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative,
                          (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands Tendered by
                          the Official Committee of Unsecured Creditors Purs, 814 Motion for expedited
   07/13/2020             hearing(related documents 808 Motion to compel) ). (Annable, Zachery)

                            827 (8 pgs) Objection to claim(s) 3 of Creditor(s) Acis Capital Management, L.P. and
                          Acis Capital Management GP, LLC.. Filed by Interested Party James Dondero. (Assink,
   07/13/2020             Bryan)

                             828 (7 pgs) Certificate of service re: 1) Order Granting Debtor's Third Motion for Entry
                          of an Order Pursuant to 11 U.S.C. § 1121(d) and Local Rule 3016-1 Further Extending the
                          Exclusivity Periods for the Filing and Solicitation of Acceptances of a Chapter 11 Plan; 2)
                          Agreed Order Regarding Deposit of Funds into the Registry of the Court; and 3) Debtors
                          Witness and Exhibit List with Respect to (A) the Debtors Motion Under Bankruptcy Code
                          Sections 105(a) and 363(b) for Authorization to Retain James P. Seery, Jr., as Chief
                          Executive Officer, Chief Restructuring Officer and Foreign Representative Nunc Pro Tunc to
                          May 15, 2020, and (B) the Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a)
                          and 363 (b) to Employ and Retain Development Specialists, Inc. to Provide Financial
                          Advisory and Restructuring Related Services Nunc Pro Tunc to March 15 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)820 Order granting 737
                          Motion to extend or limit the exclusivity period. The Exclusive Filing Period is extended
                          through and including August 12, 2020. Entered on 7/10/2020. (Okafor, M.), 821 Agreed
                          order regarding deposit of funds into the registry of the Court. (Related Doc 474) Entered on
                          7/10/2020. (Okafor, M.), 822 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)774 Application to employ James P. Seery, Jr. as
                          Other Professional Debtors Motion Under Bankruptcy Code Sections 105(a) and 363(b) for
                          Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
                          Officer and Foreign Repr, 775 Application to employ Development Specialists, Inc. as Other
                          Professional Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide Financial Advisory and
   07/13/2020             Restruct). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   07/14/2020                829 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)767 Application for compensation Sidley
                          Austin LLP's Seventh Monthly Application for Compensation and Reimbursement of

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                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          5/1/2020 to 5/31/2020, Fee: $34). (Hoffman, Juliana)

                             830 (29 pgs) Application for compensation Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 5/1/2020 to 5/31/2020, Fee: $223,330.68, Expenses: $1,874.65. Filed by Attorney
   07/14/2020             Juliana Hoffman Objections due by 8/4/2020. (Hoffman, Juliana)

                             831 (138 pgs; 7 docs) Application for compensation Sidley Austin LLP's Second Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,573,850.25, Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F) (Hoffman,
   07/14/2020             Juliana)

                            832 (9 pgs) Response opposed to (related document(s): 808 Motion to compel Production
                          by the Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed
   07/14/2020             by Interested Party James Dondero. (Assink, Bryan)

                             833 (1 pg) Request for transcript regarding a hearing held on 7/14/2020. The requested
   07/14/2020             turn-around time is daily. (Edmond, Michael)

                            836 (2 pgs) Court admitted exhibits date of hearing July 14, 2020 (RE: related
                          document(s)774 Application to employ James P. Seery, Jr. as Other Professional Debtors
                          Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain
                          James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
                          Representative Nunc Pro Tunc to March 15, 2020, filed by Debtor Highland Capital
                          Management, L.P., And 775 Application to employ Development Specialists, Inc. as Other
                          Professional Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide Financial Advisory and
                          Restructuring-Related Services, Nunc Pro Tunc to March 15, 2020 filed by Debtor Highland
                          Capital Management, L.P.) (COURT ADMITTED EXHIBIT'S #1, #2, #3, #4, #5, #6 & #7)
   07/14/2020             (Edmond, Michael) (Entered: 07/15/2020)

                              862 Hearing held on 7/14/2020. (RE: related document(s)774 Application to employ
                          James P. Seery, Jr. as Other Professional Debtors Motion Under Bankruptcy Code Sections
                          105(a) and 363(b) for Authorization to Retain James P. Seery, Jr., as Chief Executive Officer,
                          Chief Restructuring Officer and Foreign Representative Nunc Pro Tunc to March 15, 2020,
                          filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Pomeranz, J. Morris,
                          G. Demo, I. Karash, Z. Annabel, and M. Hayward for Debtors; M. Clemente and P.
                          Montgomery for UCC; A. Clubok for UBS; R. Patel and B. Shaw for Acis; T. Mascherin, M.
                          Hankin, and M. Platt for Redeemer Committee; D. Nier for various employees.. Evidentiary
                          hearing. Application granted (bonuses request withdrawn, per negotiations with UCC,
                          subject to possible later request). Debtors counsel to submit order.) (Edmond, Michael)
   07/14/2020             (Entered: 07/17/2020)

   07/14/2020                863 Hearing held on 7/14/2020. (RE: related document(s)775 Application to employ
                          Development Specialists, Inc. as Other Professional Amended Motion of the Debtor Pursuant
                          to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain Development Specialists, Inc. to
                          Provide Financial Advisory and Restructuring-Related Services, Nunc Pro Tunc to March 15,
                          2020, filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Pomeranz, J.
                          Morris, G. Demo, I. Karash, Z. Annabel, and M. Hayward for Debtors; M. Clemente and P.

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                          Montgomery for UCC; A. Clubok for UBS; R. Patel and B. Shaw for Acis; T. Mascherin, M.
                          Hankin, and M. Platt for Redeemer Committee; D. Nier for various employees.. Evidentiary
                          hearing. Application granted (bonuses request withdrawn, per negotiations with UCC,
                          subject to possible later request). Debtors counsel to submit order.) (Edmond, Michael)
                          (Entered: 07/17/2020)

                            834 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)773 Application for compensation Eighth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020 for Jeffrey
   07/15/2020             Nathan P). (Annable, Zachery)

                             835 (7 pgs) Motion to appear pro hac vice for James A. Wright III. Fee Amount $100
                          Filed by Interested Parties NexPoint Real Estate Strategies Fund, Highland Global Allocation
                          Fund, Highland Income Fund, NexPoint Strategic Opportunities Fund, NexPoint Capital,
                          Inc., Highland Total Return Fund, Highland Fixed Income Fund, Highland Socially
                          Responsible Equity Fund, Highland Small-Cap Equity Fund, Highland Funds II and its
                          series, Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund,
                          Highland/iBoxx Senior Loan ETF, Highland Healthcare Opportunities Fund, Highland Funds
                          I and its series, NexPoint Advisors, L.P., Highland Capital Management Fund Advisors, L.P.
   07/15/2020             (Varshosaz, Artoush)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   07/15/2020             ( 100.00). Receipt number 27927823, amount $ 100.00 (re: Doc# 835). (U.S. Treasury)

                             837 (8 pgs) Response opposed to (related document(s): 808 Motion to compel Production
                          by the Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors, 810
                          Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs filed by Debtor Highland
                          Capital Management, L.P.) filed by John Honis, Rand PE Fund Management, LLC, Rand PE
                          Fund I, LP, Rand Advisors, LLC, Hunter Mountain Investment Trust, Beacon Mountain, LLC,
   07/15/2020             Atlas IDF, LP, Atlas IDF, GP, LLC. (Keiffer, Edwin)

                            838 (7 pgs) INCORRECT ENTRY: Attorney to amend and refile. Motion to appear pro
                          hac vice for Stephen G. Topetzes. Fee Amount $100 Filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, Highland Funds I
                          and its series, Highland Funds II and its series, Highland Global Allocation Fund, Highland
                          Healthcare Opportunities Fund, Highland Income Fund, Highland Merger Arbitrage Fund,
                          Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
                          Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF,
                          NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate Strategies Fund,
                          NexPoint Strategic Opportunities Fund (Varshosaz, Artoush) MODIFIED on 7/16/2020
   07/15/2020             (Ecker, C.).

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   07/15/2020             ( 100.00). Receipt number 27928069, amount $ 100.00 (re: Doc# 838). (U.S. Treasury)

   07/15/2020               839 (11 pgs) Response opposed to (related document(s): 810 Motion for protective order
                          (Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Purs filed by Debtor Highland Capital Management,

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                          L.P.) filed by Creditor Committee Official Committee of Unsecured Creditors. (Montgomery,
                          Paige)

                            840 (2 pgs) INCORRECT ENTRY: FILED WITHOUT EXHIBITS. Notice of
                          Appearance and Request for Notice by Paul Richard Bessette filed by Interested Party
   07/15/2020             Highland CLO Funding, Ltd.. (Bessette, Paul) Modified on 7/15/2020 (Rielly, Bill).

                             841 (8 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors, 810 Motion
                          for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs filed by Debtor Highland
                          Capital Management, L.P.) filed by Interested Parties Highland Capital Management Fund
                          Advisors, L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                          Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                          Opportunities Fund, Highland Income Fund, Highland Merger Arbitrage Fund, Highland
                          Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
                          Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF,
                          NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate Strategies Fund,
   07/15/2020             NexPoint Strategic Opportunities Fund. (Varshosaz, Artoush)

                             842 (3 pgs) Notice of Appearance and Request for Notice by Amanda Melanie Rush filed
   07/15/2020             by Interested Party CCS Medical, Inc.. (Rush, Amanda)

                             843 (4 pgs) Motion to appear pro hac vice for Tracy K. Stratford. Fee Amount $100 Filed
   07/15/2020             by Interested Party CCS Medical, Inc. (Rush, Amanda)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   07/15/2020             ( 100.00). Receipt number 27928305, amount $ 100.00 (re: Doc# 843). (U.S. Treasury)

                             844 (4 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors, 810 Motion
                          for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs filed by Debtor Highland
   07/15/2020             Capital Management, L.P.) filed by Interested Party CCS Medical, Inc.. (Rush, Amanda)

                            845 (17 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed by
   07/15/2020             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             846 (22 pgs; 2 docs) Objection to (related document(s): 808 Motion to compel Production
                          by the Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed
   07/15/2020             by Creditor CLO Holdco, Ltd.. (Attachments: # 1 Exhibit A) (Kane, John)

   07/15/2020                847 (9 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed by
                          Interested Parties NexPoint Real Estate Advisors VIII, L.P., NexPoint Real Estate Advisors
                          VII, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors V, L.P.,
                          NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors III, L.P., NexPoint
                          Real Estate Advisors II, L.P., NexPoint Real Estate Advisors, L.P., VineBrook Homes, Trust,
                          Inc., NexPoint Multifamily Capital Trust, Inc., NexPoint Real Estate Partners, LLC,
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                          NexPoint Hospitality Trust, NexPoint Residential Trust, Inc., Nexpoint Real Estate Capital,
                          LLC, NexPoint Real Estate Finance Inc.. (Drawhorn, Lauren)

                             848 (20 pgs; 2 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Objection to the Official Committee of Unsecured Creditors' Emergency Motion to
                          Compel Production by the Debtor) filed by Debtor Highland Capital Management, L.P. (RE:
   07/15/2020             related document(s)845 Objection). (Attachments: # 1 Exhibit A) (Annable, Zachery)

                             849 (7 pgs) Amended Motion to appear pro hac vice for Stephen G. Topetzes. (related
                          document: 838) Filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its
                          series, Highland Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland
                          Income Fund, Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund,
                          Highland Small-Cap Equity Fund, Highland Socially Responsible Equity Fund, Highland
                          Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint
                          Capital, Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund
   07/16/2020             (Varshosaz, Artoush)

                             850 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)808 Motion to compel Production by the Debtor. Filed by Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 7/29/2020., 810
                          Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Pursuant to Federal Rules of
                          Bankruptcy Procedure 7026 and 7034) Filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 7/21/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 810 and for
   07/16/2020             808, (Annable, Zachery)

                              851 (3 pgs) Notice of hearing (Notice of September 17, 2020 Omnibus Hearing Date)
                          filed by Debtor Highland Capital Management, L.P.. Hearing to be held on 9/17/2020 at
   07/16/2020             09:30 AM Dallas Judge Jernigan Ctrm (Annable, Zachery)

                            852 (8 pgs) Order Approving Stipulation Resolving the Motion for Expedited
                          Consideration of the Official Committee of the Unsecured Creditors' Motion to Compel
                          Production by the Debtor (RE: related document(s)826 Stipulation filed by Debtor Highland
   07/16/2020             Capital Management, L.P.). Entered on 7/16/2020 (Ecker, C.)

                            853 (3 pgs) Order granting application to employ Development Specialists, Inc. as Other
   07/16/2020             Professional (related document # 775) Entered on 7/16/2020. (Ecker, C.)

                            854 (12 pgs) Order granting application to employ James P. Seery, Jr. as Chief Executive
                          Officer, Chief Restructuring Officer and Foreign representative (related document 774)
   07/16/2020             Entered on 7/16/2020. (Ecker, C.) Modified on 7/16/2020 (Ecker, C.).

                             855 (6 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed by
   07/16/2020             Interested Party MGM Holdings, Inc.. (Drawhorn, Lauren)

   07/16/2020                856 (5 pgs) Notice of Appearance and Request for Notice by Artoush Varshosaz filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed
                          Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
                          Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland Income Fund,
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                          Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap
                          Equity Fund, Highland Socially Responsible Equity Fund, Highland Total Return Fund,
                          Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint
                          Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund. (Varshosaz, Artoush)

                             857 (3 pgs) Motion to appear pro hac vice for Mark M. Maloney. Fee Amount $100 Filed
   07/16/2020             by Interested Party Highland CLO Funding, Ltd. (Bessette, Paul)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   07/16/2020             ( 100.00). Receipt number 27932614, amount $ 100.00 (re: Doc# 857). (U.S. Treasury)

                             858 (10 pgs) Objection to (related document(s): 808 Motion to compel Production by the
                          Debtor. filed by Creditor Committee Official Committee of Unsecured Creditors) filed by
   07/16/2020             Interested Party Highland CLO Funding, Ltd.. (Bessette, Paul)

                            859 (8 pgs; 2 docs) Declaration re: 858 Objection filed by Interested Party Highland CLO
                          Funding, Ltd. (RE: related document(s)808 Motion to compel Production by the Debtor. ).
   07/16/2020             (Attachments: # 1 Exhibit A) (Bessette, Paul)

                             860 (7 pgs) Certificate of service re: 1) Order Denying Motion for Remittance of Funds
                          Held in Registry of Court; and 2) Stipulation by and Between the Debtor and the Official
                          Committee of Unsecured Creditors Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)825 Order denying motion to reclaim funds from the registry
                          (Related Doc 590) Entered on 7/13/2020. (Okafor, M.), 826 Stipulation by Highland Capital
                          Management, L.P. and The Official Committee of Unsecured Creditors. filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)808 Motion to compel
                          Production by the Debtor. , 810 Motion for protective order (Debtor's Motion for Entry of (i)
                          a Protective Order, or, in the Alternative, (ii) an Order Directing the Debtor to Comply with
                          Certain Discovery Demands Tendered by the Official Committee of Unsecured Creditors
                          Purs, 814 Motion for expedited hearing(related documents 808 Motion to compel) ). filed by
   07/16/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             861 (5 pgs) Certificate of service re: 1) Summary Sheet and Seventh Monthly Application
                          of FTI Consulting, Inc. for Allowance of Compensation and Reimbursement of Expenses for
                          the Period from May 1, 2020 to and Including May 31, 2020; and 2) Summary Sheet and
                          Second Interim Fee Application of Sidley Austin LLP, Attorneys for the Official Committee of
                          Unsecured Creditors, for Compensation and Reimbursement of Expenses for the Period from
                          March 1, 2020 Through and Including May 31, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)830 Application for compensation Seventh
                          Monthly Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 5/1/2020 to 5/31/2020, Fee: $223,330.68, Expenses:
                          $1,874.65. Filed by Attorney Juliana Hoffman Objections due by 8/4/2020. filed by Financial
                          Advisor FTI Consulting, Inc., 831 Application for compensation Sidley Austin LLP's Second
                          Interim Application for Compensation and Reimbursement of Expenses for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020,
                          Fee: $1,573,850.25, Expenses: $22,930.21. Filed by Objections due by 8/4/2020.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                          Exhibit F) filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass,
   07/16/2020             Albert)

   07/17/2020               864 (134 pgs) Transcript regarding Hearing Held 07/14/2020 (134 pages) RE:
                          Applications to Employ. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY

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                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 10/15/2020. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 863 Hearing held on 7/14/2020. (RE:
                          related document(s)775 Application to employ Development Specialists, Inc. as Other
                          Professional Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to
                          Employ and Retain Development Specialists, Inc. to Provide Financial Advisory and
                          Restructuring-Related Services, Nunc Pro Tunc to March 15, 2020, filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: J. Pomeranz, J. Morris, G. Demo, I. Karash, Z.
                          Annabel, and M. Hayward for Debtors; M. Clemente and P. Montgomery for UCC; A.
                          Clubok for UBS; R. Patel and B. Shaw for Acis; T. Mascherin, M. Hankin, and M. Platt for
                          Redeemer Committee; D. Nier for various employees.. Evidentiary hearing. Application
                          granted (bonuses request withdrawn, per negotiations with UCC, subject to possible later
                          request). Debtors counsel to submit order.)). Transcript to be made available to the public on
                          10/15/2020. (Rehling, Kathy)

                            865 (1 pg) Order granting motion to appear pro hac vice adding Tracy K. Stratford for
   07/17/2020             CCS Medical, Inc. (related document # 843) Entered on 7/17/2020. (Ecker, C.)

                             866 (1 pg) Order granting motion to appear pro hac vice adding James A. Wright for
                          Highland Funds I and its series; Highland Funds II and its series; Highland Global Allocation
                          Fund; Highland Healthcare Opportunities Fund; Highland Income Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Total Return Fund; Highland/iBoxx
                          Senior Loan ETF; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Real Estate
                          Strategies Fund; NexPoint Strategic Opportunities Fund; Highland Capital Management
                          Fund Advisors, L.P. and Highland Fixed Income Fund (related document # 835) Entered on
   07/17/2020             7/17/2020. (Ecker, C.)

                             867 (1 pg) Order granting motion to appear pro hac vice adding Stephen G. Topetzes for
                          Highland Funds I and its series; Highland Funds II and its series; Highland Global Allocation
                          Fund; Highland Healthcare Opportunities Fund; Highland Income Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Total Return Fund; Highland/iBoxx
                          Senior Loan ETF; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Real Estate
                          Strategies Fund; Highland Capital Management Fund Advisors, L.P. and Highland Fixed
   07/17/2020             Income Fund (related document # 849) Entered on 7/17/2020. (Ecker, C.)

                             868 (10 pgs) Objection to claim(s) of Creditor(s) Integrated Financial Associates, Inc...
                          Filed by Debtor Highland Capital Management, L.P.. Responses due by 8/19/2020. (Annable,
   07/17/2020             Zachery)

                             869 (9 pgs) Reply to (related document(s): 839 Response filed by Creditor Committee
                          Official Committee of Unsecured Creditors) (Debtor's Reply to the Committee's Response to
                          the Debtor's Discovery Motion) filed by Debtor Highland Capital Management, L.P..
   07/17/2020             (Annable, Zachery)

   07/17/2020               870 (17 pgs) Declaration re: (Declaration of John A. Morris in Further Support of the
                          Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)810
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                          Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order, or, in the
                          Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery Demands
                          Tendered by the Official Committee of Unsecured Creditors Purs). (Annable, Zachery)

                             871 (3 pgs) Declaration re: First Supplemental Declaration of Alexander McGeoch in
                          Support of Debtor's Application for an Order Authorizing the Retention and Employment of
                          Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the Petition Date filed by
                          Spec. Counsel Hunton Andrews Kurth LLP (RE: related document(s)604 Application to
                          employ Hunton Andrews Kurth LLP as Special Counsel (Debtor's Application for Entry of
                          an Order Authorizing the Retention and Employment of Hunton Andrews Kurth LLP as
   07/17/2020             Special Counsel Nunc Pro Tunc to the Petition Date)). (Hesse, Gregory)

                              872 (23 pgs) Response opposed to (related document(s): 841 Objection filed by Interested
                          Party Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint
                          Advisors, L.P., Interested Party Highland Funds I and its series, Interested Party Highland
                          Healthcare Opportunities Fund, Interested Party Highland/iBoxx Senior Loan ETF, Interested
                          Party Highland Opportunistic Credit Fund, Interested Party Highland Merger Arbitrage Fund,
                          Interested Party Highland Funds II and its series, Interested Party Highland Small-Cap
                          Equity Fund, Interested Party Highland Fixed Income Fund, Interested Party Highland
                          Socially Responsible Equity Fund, Interested Party Highland Total Return Fund, Interested
                          Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities Fund,
                          Interested Party Highland Income Fund, Interested Party Highland Global Allocation Fund,
                          Interested Party NexPoint Real Estate Strategies Fund, 844 Objection filed by Interested
                          Party CCS Medical, Inc., 845 Objection filed by Debtor Highland Capital Management, L.P.,
                          846 Objection filed by Creditor CLO Holdco, Ltd., 847 Objection filed by Interested Party
                          NexPoint Real Estate Finance Inc., Interested Party Nexpoint Real Estate Capital, LLC,
                          Interested Party NexPoint Residential Trust, Inc., Interested Party NexPoint Hospitality
                          Trust, Interested Party NexPoint Real Estate Partners, LLC, Interested Party NexPoint
                          Multifamily Capital Trust, Inc., Interested Party VineBrook Homes, Trust, Inc., Interested
                          Party NexPoint Real Estate Advisors, L.P., Interested Party NexPoint Real Estate Advisors II,
                          L.P., Interested Party NexPoint Real Estate Advisors III, L.P., Interested Party NexPoint Real
                          Estate Advisors IV, L.P., Interested Party NexPoint Real Estate Advisors V, L.P., Interested
                          Party NexPoint Real Estate Advisors VI, L.P., Interested Party NexPoint Real Estate
                          Advisors VII, L.P., Interested Party NexPoint Real Estate Advisors VIII, L.P., 855 Objection
                          filed by Interested Party MGM Holdings, Inc., 858 Objection filed by Interested Party
                          Highland CLO Funding, Ltd.) filed by Creditor Committee Official Committee of Unsecured
   07/17/2020             Creditors. (Montgomery, Paige)

                             873 (4 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)868 Objection to claim(s) of Creditor(s) Integrated Financial Associates,
                          Inc... Filed by Debtor Highland Capital Management, L.P.. Responses due by 8/19/2020.).
                          Hearing to be held on 9/17/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 868, (Annable,
   07/17/2020             Zachery)

                             874 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)865
                          Order granting motion to appear pro hac vice adding Tracy K. Stratford for CCS Medical,
                          Inc. (related document 843) Entered on 7/17/2020. (Ecker, C.)) No. of Notices: 1. Notice
   07/19/2020             Date 07/19/2020. (Admin.)

   07/19/2020               875 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)866
                          Order granting motion to appear pro hac vice adding James A. Wright for Highland Funds I
                          and its series; Highland Funds II and its series; Highland Global Allocation Fund; Highland
                          Healthcare Opportunities Fund; Highland Income Fund; Highland Merger Arbitrage Fund;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.226 138/439



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                          Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially
                          Responsible Equity Fund; Highland Total Return Fund; Highland/iBoxx Senior Loan ETF;
                          NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Real Estate Strategies Fund;
                          NexPoint Strategic Opportunities Fund; Highland Capital Management Fund Advisors, L.P.
                          and Highland Fixed Income Fund (related document 835) Entered on 7/17/2020. (Ecker, C.))
                          No. of Notices: 1. Notice Date 07/19/2020. (Admin.)

                             876 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)867
                          Order granting motion to appear pro hac vice adding Stephen G. Topetzes for Highland
                          Funds I and its series; Highland Funds II and its series; Highland Global Allocation Fund;
                          Highland Healthcare Opportunities Fund; Highland Income Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Total Return Fund; Highland/iBoxx
                          Senior Loan ETF; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Real Estate
                          Strategies Fund; Highland Capital Management Fund Advisors, L.P. and Highland Fixed
                          Income Fund (related document 849) Entered on 7/17/2020. (Ecker, C.)) No. of Notices: 1.
   07/19/2020             Notice Date 07/19/2020. (Admin.)

                             877 (50 pgs) Application for compensation Eighth Monthly Application for Compensation
                          and Reimbursement of Expenses of Sidley Austin, LLP for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 6/1/2020 to 6/30/2020, Fee: $493,788.96, Expenses:
   07/20/2020             $5,759.29. Filed by Objections due by 8/10/2020. (Hoffman, Juliana)

                             878 (25 pgs) Application for compensation Ninth Monthly Application for Compensation
                          and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from June 1, 2020 through June 30, 2020 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 6/1/2020 to 6/30/2020, Fee: $818,786.50, Expenses:
                          $3,205.81. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 8/10/2020.
   07/20/2020             (Pomerantz, Jeffrey)

                             879 (114 pgs) Amended application for compensation Amended Ninth Monthly
                          Application for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl
                          & Jones LLP as Counsel to the Debtor for the Period from June 1, 2020 through June 30,
                          2020 (amended to include Exhibit) for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
                          6/1/2020 to 6/30/2020, Fee: $818,786.50, Expenses: $3,205.81. Filed by Attorney Jeffrey
   07/20/2020             Nathan Pomerantz Objections due by 8/10/2020. (Pomerantz, Jeffrey)

                              880 (7 pgs) Certificate of service re: 1) Debtor's Objection to Official Committee of
                          Unsecured Creditors Emergency Motion to Compel Production by the Debtor; and 2)
                          Declaration of John A. Morris in Support of the Debtor's Objection to the Official Committee
                          of Unsecured Creditors Emergency Motion to Compel Production by the Debtor Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)845 Objection to
                          (related document(s): 808 Motion to compel Production by the Debtor. filed by Creditor
                          Committee Official Committee of Unsecured Creditors) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 848 Declaration re:
                          (Declaration of John A. Morris in Support of the Debtor's Objection to the Official
                          Committee of Unsecured Creditors' Emergency Motion to Compel Production by the Debtor)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)845 Objection).
                          (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital Management, L.P.). (Kass,
   07/20/2020             Albert)

   07/20/2020               881 (11 pgs) Certificate of service re: Documents Served on July 16, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)850 Notice of hearing
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.227 139/439



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                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)808 Motion to
                          compel Production by the Debtor. Filed by Creditor Committee Official Committee of
                          Unsecured Creditors Objections due by 7/29/2020., 810 Motion for protective order
                          (Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
                          7/21/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 810 and for 808, filed by Debtor
                          Highland Capital Management, L.P., 851 Notice of hearing (Notice of September 17, 2020
                          Omnibus Hearing Date) filed by Debtor Highland Capital Management, L.P.. Hearing to be
                          held on 9/17/2020 at 09:30 AM Dallas Judge Jernigan Ctrm filed by Debtor Highland Capital
                          Management, L.P., 852 Order Approving Stipulation Resolving the Motion for Expedited
                          Consideration of the Official Committee of the Unsecured Creditors' Motion to Compel
                          Production by the Debtor (RE: related document(s)826 Stipulation filed by Debtor Highland
                          Capital Management, L.P.). Entered on 7/16/2020 (Ecker, C.), 853 Order granting application
                          to employ Development Specialists, Inc. as Other Professional (related document 775)
                          Entered on 7/16/2020. (Ecker, C.), 854 Order granting application to employ James P. Seery,
                          Jr. as Chief Executive Officer, Chief Restructuring Officer and Foreign representative
                          (related document 774) Entered on 7/16/2020. (Ecker, C.) Modified on 7/16/2020 (Ecker,
                          C.).). (Kass, Albert)

                            882 (1 pg) Order granting motion to appear pro hac vice adding Mark M. Maloney for
   07/21/2020             Highland CLO Funding, Ltd. (related document # 857) Entered on 7/21/2020. (Okafor, M.)

                             883 (98 pgs) Application for compensation Second Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          3/1/2020 to 5/31/2020, Fee: $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by
   07/21/2020             8/11/2020. (Hoffman, Juliana)

                             894 Hearing held on 7/21/2020. (RE: related document(s)808 Motion to compel
                          Production by the Debtor, filed by Creditor Committee Official Committee of Unsecured
                          Creditors.) (Appearances: J. Morris, I. Karash, Z. Annabel, and M. Hayward for Debtors; M.
                          Clemente and P. Montgomery for UCC; A. Clubok for UBS; R. Patel and A. Chiarello for
                          Acis; T. Mascherin for Redeemer Committee; M. Lynn and J. Bonds for J. Dondero; L.
                          Drawhorn for NexPoint funds and MGM; P. Keiffer for Atlas; S. Topetzes and J. Wright for
                          Highland Capital Management Fund Advisors, L.P. and other funds; T. Stratford for CCS
                          Medical; R. Matsumura and M. Maloney for HCLOF; J. Kane for CLO Holdco.; J. Slade for
                          NexBank; K. Preston for certain employees sued by Acis. Nonevidentiary hearing. Motion
                          granted in substantial part, but with special privilege review protections granted as to the
                          three lawyer custodians, as to CCS Medical and MGM communications, and as to Atlass
                          communications with outside law firms. Counsel to submit order. ) (Edmond, Michael)
   07/21/2020             (Entered: 07/24/2020)

   07/21/2020               895 Hearing held on 7/21/2020. (RE: related document(s)810 Motion for protective order
                          (Debtor's Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order
                          Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official
                          Committee of Unsecured Creditors Pursuant to Federal Rules of Bankruptcy Procedure 7026
                          and 7034), filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Morris, I.
                          Karash, Z. Annabel, and M. Hayward for Debtors; M. Clemente and P. Montgomery for
                          UCC; A. Clubok for UBS; R. Patel and A. Chiarello for Acis; T. Mascherin for Redeemer
                          Committee; M. Lynn and J. Bonds for J. Dondero; L. Drawhorn for NexPoint funds and
                          MGM; P. Keiffer for Atlas; S. Topetzes and J. Wright for Highland Capital Management
                          Fund Advisors, L.P. and other funds; T. Stratford for CCS Medical; R. Matsumura and M.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.228 140/439



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                          Maloney for HCLOF; J. Kane for CLO Holdco.; J. Slade for NexBank; K. Preston for certain
                          employees sued by Acis. Nonevidentiary hearing. Motion denied in substantial part, but with
                          special privilege review protections granted as to the three lawyer custodians, as to CCS
                          Medical and MGM, and as to Atlass communications with outside law firms. Counsel to
                          submit order.) (Edmond, Michael) (Entered: 07/24/2020)

                             896 Hearing held on 7/21/2020. (RE: related document(s)1 Order transferring case
                          number 19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by
                          Highland Capital Management, L.P.) (Appearances: J. Morris, I. Karash, Z. Annabel, and M.
                          Hayward for Debtors; M. Clemente and P. Montgomery for UCC; A. Clubok for UBS; R.
                          Patel and A. Chiarello for Acis; T. Mascherin for Redeemer Committee; M. Lynn and J.
                          Bonds for J. Dondero; L. Drawhorn for NexPoint funds and MGM; P. Keiffer for Atlas; S.
                          Topetzes and J. Wright for Highland Capital Management Fund Advisors, L.P. and other
                          funds; T. Stratford for CCS Medical; R. Matsumura and M. Maloney for HCLOF; J. Kane for
                          CLO Holdco.; J. Slade for NexBank; K. Preston for certain employees sued by Acis.
                          Nonevidentiary hearing. Scheduling discussed, including that there will be a setting on
                          9/17/20 on the objections to Aciss proof of claim for arguing certain issues of law and,
                          perhaps, narrow issues for trial. Counsel to submit an interim scheduling order that
   07/21/2020             memorializes dicussions.) (Edmond, Michael) (Entered: 07/24/2020)

                             884 (22 pgs; 2 docs) Application for compensation Eighth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from June 1, 2020 through June 30, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 6/1/2020 to 6/30/2020, Fee:
                          $21,242.00, Expenses: $343.69. Filed by Attorney Holland N. O'Neil Objections due by
   07/22/2020             8/12/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             885 (11 pgs; 2 docs) INCORRECT ENTRY: EVENT CODE. Motion to extend or limit
                          the exclusivity period Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
   07/22/2020             Proposed Order) (Annable, Zachery) Modified on 7/22/2020 (Rielly, Bill).

                             886 (11 pgs; 2 docs) Motion to extend time to assume or reject unexpired nonresidential
                          real property lease Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
   07/22/2020             Proposed Order) (Annable, Zachery)

                             887 (3 pgs) Notice of hearing (Notice of Status Conference) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)771 Objection to claim(s) 3 of Creditor(s)
                          Acis Capital Management L.P. and Acis Capital Management GP, LLC.. Filed by Debtor
                          Highland Capital Management, L.P.. Responses due by 7/23/2020.). Status Conference to be
   07/22/2020             held on 8/14/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. (Annable, Zachery)

                             888 (1 pg) Request for transcript regarding a hearing held on 7/21/2020. The requested
   07/22/2020             turn-around time is daily. (Edmond, Michael)

                             889 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital
                          Management L.P. and Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 7/23/2020.). Hearing to be held on 9/17/2020 at 09:30
   07/22/2020             AM Dallas Judge Jernigan Ctrm for 771, (Annable, Zachery)

   07/22/2020               890 (12 pgs) Certificate of service re: Documents Served on July 17, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)868 Objection to
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.229 141/439



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                          claim(s) of Creditor(s) Integrated Financial Associates, Inc... Filed by Debtor Highland
                          Capital Management, L.P.. Responses due by 8/19/2020. filed by Debtor Highland Capital
                          Management, L.P., 869 Reply to (related document(s): 839 Response filed by Creditor
                          Committee Official Committee of Unsecured Creditors) (Debtor's Reply to the Committee's
                          Response to the Debtor's Discovery Motion) filed by Debtor Highland Capital Management,
                          L.P.. filed by Debtor Highland Capital Management, L.P., 870 Declaration re: (Declaration of
                          John A. Morris in Further Support of the Debtor's Motion for Entry of (i) a Protective Order,
                          or, in the Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery
                          Demands Tendered by the Official Committee of Unsecured Creditors Pursuant to Federal
                          Rules of Bankruptcy Procedure 7026 and 7034) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)810 Motion for protective order (Debtor's
                          Motion for Entry of (i) a Protective Order, or, in the Alternative, (ii) an Order Directing the
                          Debtor to Comply with Certain Discovery Demands Tendered by the Official Committee of
                          Unsecured Creditors Purs). filed by Debtor Highland Capital Management, L.P., 871
                          Declaration re: First Supplemental Declaration of Alexander McGeoch in Support of
                          Debtor's Application for an Order Authorizing the Retention and Employment of Hunton
                          Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the Petition Date filed by Spec.
                          Counsel Hunton Andrews Kurth LLP (RE: related document(s)604 Application to employ
                          Hunton Andrews Kurth LLP as Special Counsel (Debtor's Application for Entry of an Order
                          Authorizing the Retention and Employment of Hunton Andrews Kurth LLP as Special
                          Counsel Nunc Pro Tunc to the Petition Date)). filed by Interested Party Hunton Andrews
                          Kurth LLP, Spec. Counsel Hunton Andrews Kurth LLP, 873 Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)868 Objection to claim(s) of
                          Creditor(s) Integrated Financial Associates, Inc... Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 8/19/2020.). Hearing to be held on 9/17/2020 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 868, filed by Debtor Highland Capital Management,
                          L.P.). (Kass, Albert)

                            891 (7 pgs) Objection to claim(s) 3 of Creditor(s) ACIS Capital Management L.P. and
                          ACIS Capital Management GP, LLC.. Filed by Interested Parties UBS AG London Branch,
   07/23/2020             UBS Securities LLC. (Sosland, Martin)

                             892 (5 pgs) Certificate of service re: Amended Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from June 1, 2020 Through June 30, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)879 Amended
                          application for compensation Amended Ninth Monthly Application for Compensation and for
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor
                          for the Period from June 1, 2020 through June 30, 2020 (amended to include Exhibit) for
                          Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 6/1/2020 to 6/30/2020, Fee:
                          $818,786.50, Expenses: $3,205.81. Filed by Attorney Jeffrey Nathan Pomerantz Objections
   07/23/2020             due by 8/10/2020. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            893 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)882
                          Order granting motion to appear pro hac vice adding Mark M. Maloney for Highland CLO
                          Funding, Ltd. (related document 857) Entered on 7/21/2020. (Okafor, M.)) No. of Notices: 1.
   07/23/2020             Notice Date 07/23/2020. (Admin.)

   07/24/2020                897 (125 pgs) Transcript regarding Hearing Held 07/21/20 RE: DOCS 808 and 810. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                          10/22/2020. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber Transcripts Plus,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.230 142/439



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                          Inc., Telephone number 215-862-1115 CourtTranscripts@aol.com. (RE: related document(s)
                          896 Hearing held on 7/21/2020. (RE: related document(s)1 Order transferring case number
                          19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by Highland Capital
                          Management, L.P.) (Appearances: J. Morris, I. Karash, Z. Annabel, and M. Hayward for
                          Debtors; M. Clemente and P. Montgomery for UCC; A. Clubok for UBS; R. Patel and A.
                          Chiarello for Acis; T. Mascherin for Redeemer Committee; M. Lynn and J. Bonds for J.
                          Dondero; L. Drawhorn for NexPoint funds and MGM; P. Keiffer for Atlas; S. Topetzes and J.
                          Wright for Highland Capital Management Fund Advisors, L.P. and other funds; T. Stratford
                          for CCS Medical; R. Matsumura and M. Maloney for HCLOF; J. Kane for CLO Holdco.; J.
                          Slade for NexBank; K. Preston for certain employees sued by Acis. Nonevidentiary hearing.
                          Scheduling discussed, including that there will be a setting on 9/17/20 on the objections to
                          Aciss proof of claim for arguing certain issues of law and, perhaps, narrow issues for trial.
                          Counsel to submit an interim scheduling order that memorializes dicussions.)). Transcript to
                          be made available to the public on 10/22/2020. (Hartmann, Karen)

                             898 (5 pgs) Certificate of service re: 1) Summary Cover Sheet and Eighth Monthly
                          Application of Sidley Austin LLP for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from June 1, 2020 to and Including June 30, 2020; and 2) Summary
                          Cover Sheet and Second Interim Fee Application of FTI Consulting, Inc. as Financial
                          Advisor for the Official Committee of Unsecured Creditors, for Compensation and
                          Reimbursement of Expenses for the Period from March 1, 2020 Through and Including May
                          31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)877
                          Application for compensation Eighth Monthly Application for Compensation and
                          Reimbursement of Expenses of Sidley Austin, LLP for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 6/1/2020 to 6/30/2020, Fee: $493,788.96, Expenses:
                          $5,759.29. Filed by Objections due by 8/10/2020. filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 883 Application for compensation Second Interim
                          Application for Compensation and Reimbursement of Expenses for FTI Consulting, Inc.,
                          Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee: $1,488,533.4, Expenses: $23,515.26.
                          Filed by Objections due by 8/11/2020. filed by Financial Advisor FTI Consulting, Inc.).
   07/24/2020             (Kass, Albert)

                            899 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)795 Application for compensation (Fifth Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
                          PLLC as Local Counsel to the Debtor for the Period from April 1, 2020 through April 30,
   07/27/2020             2020) for Hayward & Assoc). (Annable, Zachery)

   07/27/2020                900 (14 pgs) Certificate of service re: Documents Served on July 22, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)884 Application for
                          compensation Eighth Monthly Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from June 1, 2020 through June 30, 2020 for Foley Gardere, Foley & Lardner LLP, Special
                          Counsel, Period: 6/1/2020 to 6/30/2020, Fee: $21,242.00, Expenses: $343.69. Filed by
                          Attorney Holland N. O'Neil Objections due by 8/12/2020. (Attachments: # 1 Exhibit A)
                          (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 886 Motion
                          to extend time to assume or reject unexpired nonresidential real property lease Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order) filed by
                          Debtor Highland Capital Management, L.P., 887 Notice of hearing (Notice of Status
                          Conference) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P. and
                          Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 7/23/2020.). Status Conference to be held on 8/14/2020 at 09:30 AM at

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.231 143/439



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                          Dallas Judge Jernigan Ctrm. filed by Debtor Highland Capital Management, L.P., 889
                          Amended Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P. and
                          Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 7/23/2020.). Hearing to be held on 9/17/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 771, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             901 INCORRECT ENTRY: See # 902 for correction. Clerk's correspondence requesting
                          an order from attorney for creditor. (RE: related document(s)733 Motion for leave to File an
                          Omnibus Reply to Objections to UBS's Motion for Relief from the Automatic Stay to Proceed
                          With State Court Action (related document(s) 687 Response, 690 Objection, 692 Objection,
                          694 Joinder, 701 Objection) Filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC Objections due by 7/2/2020. (Attachments: # 1 Exhibit A - Proposed Order #
                          2 Exhibit B - Reply # 3 Exhibit 1 # 4 Exhibit 2 # 5 Exhibit 3 # 6 Exhibit 4 # 7 Exhibit 5 # 8
                          Exhibit 6 # 9 Exhibit 7 # 10 Exhibit 8 # 11 Exhibit 9 # 12 Exhibit 10 # 13 Exhibit 11 # 14
                          Exhibit 12 # 15 Exhibit 13 # 16 Exhibit 14)) Responses due by 8/4/2020. (Ecker, C.)
   07/28/2020             Modified on 7/28/2020 (Ecker, C.).

                             902 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)733 Motion for leave to File an Omnibus Reply to Objections to UBS's
                          Motion for Relief from the Automatic Stay to Proceed With State Court Action (related
                          document(s) 687 Response, 690 Objection, 692 Objection, 694 Joinder, 701 Objection) Filed
                          by Interested Parties UBS AG London Branch, UBS Securities LLC Objections due by
                          7/2/2020. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B - Reply # 3 Exhibit 1
                          # 4 Exhibit 2 # 5 Exhibit 3 # 6 Exhibit 4 # 7 Exhibit 5 # 8 Exhibit 6 # 9 Exhibit 7 # 10
                          Exhibit 8 # 11 Exhibit 9 # 12 Exhibit 10 # 13 Exhibit 11 # 14 Exhibit 12 # 15 Exhibit 13 # 16
   07/28/2020             Exhibit 14)) Responses due by 8/4/2020. (Ecker, C.)

                             903 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)746 Motion to file document under seal. Filed by Interested Parties UBS
                          AG London Branch , UBS Securities LLC (Ecker, C.)) Responses due by 8/4/2020. (Ecker,
   07/28/2020             C.)

                             Receipt Number 00338615, Fee Amount $30,715.92 (RE: related document(s)) 821
                          Order on motion for authority to apply and disburse funds.) NOTE: Deposit of funds into the
   07/28/2020             Registry of the Court. (Floyd, K). (Entered: 08/10/2020)

                             Receipt Number 00338617, Fee Amount $20,830.29 (RE: related document(s) 821 Order
                          on motion for authority to apply and disburse funds.) NOTE: Deposit of funds into the
   07/28/2020             Registry of the Court. (Floyd, K). (Entered: 08/10/2020)

                             Receipt Number 00338616, Fee Amount $84,062.32 (RE: related document(s) 821 Order
                          on motion for authority to apply and disburse funds.) NOTE: Deposit of funds into the
   07/28/2020             Registry of the Court. (Floyd, K). (Entered: 08/10/2020)

                            904 (3 pgs) Notice of Appearance and Request for Notice Chad Timmons, Emily M.
                          Hahn, Larry R. Boyd by Chad D. Timmons filed by Creditor COLLIN COUNTY TAX
   07/30/2020             ASSESSOR/COLLECTOR. (Timmons, Chad)

                             905 (9 pgs) Amended Debtor-in-possession monthly operating report for filing period
                          May 1, 2020 to May 31, 2020 filed by Debtor Highland Capital Management, L.P. (RE:
   07/30/2020             related document(s)800 Operating report). (Annable, Zachery)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.232 144/439



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   07/30/2020                906 (23 pgs; 2 docs) Objection to claim(s) of Creditor(s) Daniel Sheehan and Associates,
                          PLLC; Dun & Bradstreet; Eastern Point Trust Company, Inc.; Collin County Tax
                          Assessor/Collector; Collin County Tax Assessor/Collector; Dallas County; Opus 2
                          International Inc.; Andrew Parmentier; 4CAST Inc.; Advent Software Inc.; ConvergeOne,
                          Inc.; Denton County; Internal Revenue Service; Kaufman County; Maples and Calder;
                          McLagen Partners, Inc.; Microsoft Corporation and Microsoft Licensing GP, a Subsidiary of
                          Microsoft Corporation; Moodys Analytics, Inc.; Quintairos, Prieto, Wood & Boyer; Advisors
                          Equity Group, LLC; Eagle Equity Advisors, LLC; HCRE Partner, LLC; Highland Capital
                          Management Fund Advisors; Highland Capital Management Fund Advisors; Highland
                          Capital Management Services, Inc.; Highland Capital Management Services, Inc.; Highland
                          Energy MLP Fund; Highland Fixed Income Fund; Highland Floating Rate Fund; Highland
                          Funds I; Highland Funds II; Highland Global Allocation Fund; Highland Healthcare
                          Opportunities Fund; Highland iBoxx Senior Loan ETF; Highland Income Fund HFRO;
                          Highland Long/Short Equity Fund; Highland Merger Arbitrage Fund; Highland
                          Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially Responsible
                          Equity Fund; Highland Tax-Exempt Fund; Highland Total Return Fund; NexBank SSB;
                          NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Capital,
                          Inc.; NexPoint Discount Strategies Fund; NexPoint Energy and Material Opportunities Fund;
                          NexPoint Event-Driven Fund; NexPoint Healthcare Opportunities Fund; NexPoint Latin
                          America Opportunities Fund; NexPoint Real Estate Strategies Fund; NexPoint Strategic
                          Opportunities Fund; The Dugaboy Investment Trust; The Dugaboy Investment Trust; Bentley
                          Callan; City of Garland; Clay Callan; Eastern Point Trust Company, Inc.; Garland
                          Independent School District; Grayson County; HarbourVest 2017 Global Fund L.P.;
                          HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on behalf of funds and
                          accounts under management; HarbourVest Dover Street IX Investment L.P.; HarbourVest
                          Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John R. Watkins;
                          Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications Inc.;
                          Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7) (Annable, Zachery)

   07/30/2020                907 (3 pgs) Notice of hearing (Notice of Hearing on Debtor's First Omnibus Objection to
                          Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied
                          Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation Claims) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)906 Objection to
                          claim(s) of Creditor(s) Daniel Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern
                          Point Trust Company, Inc.; Collin County Tax Assessor/Collector; Collin County Tax
                          Assessor/Collector; Dallas County; Opus 2 International Inc.; Andrew Parmentier; 4CAST
                          Inc.; Advent Software Inc.; ConvergeOne, Inc.; Denton County; Internal Revenue Service;
                          Kaufman County; Maples and Calder; McLagen Partners, Inc.; Microsoft Corporation and
                          Microsoft Licensing GP, a Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.;
                          Quintairos, Prieto, Wood & Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors,
                          LLC; HCRE Partner, LLC; Highland Capital Management Fund Advisors; Highland Capital
                          Management Fund Advisors; Highland Capital Management Services, Inc.; Highland Capital
                          Management Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund;
                          Highland Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global
                          Allocation Fund; Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan
                          ETF; Highland Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.233 145/439



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                          Return Fund; NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint
                          Capital, Inc.; NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy
                          and Material Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare
                          Opportunities Fund; NexPoint Latin America Opportunities Fund; NexPoint Real Estate
                          Strategies Fund; NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust;
                          The Dugaboy Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point
                          Trust Company, Inc.; Garland Independent School District; Grayson County; HarbourVest
                          2017 Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on
                          behalf of funds and accounts under management; HarbourVest Dover Street IX Investment
                          L.P.; HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John
                          R. Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications
                          Inc.; Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge
                          Jernigan Ctrm for 906, (Annable, Zachery)

                              908 (271 pgs; 5 docs) Response opposed to (related document(s): 771 Objection to claim
                          filed by Debtor Highland Capital Management, L.P.) filed by Acis Capital Management GP,
                          LLC, Acis Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
   07/31/2020             # 4 Exhibit 4) (Patel, Rakhee)

                            909 (3 pgs) Agreed Order Granting 886 Motion to extend deadline to assume or reject
   08/03/2020             unexpired nonresidential real property lease by sixty days. Entered on 8/3/2020. (Okafor, M.)

                             910 (3 pgs) Order granting motion for leave to File an Omnibus Reply to Objections to
                          UBS's Motion for Relief from the Automatic Stay to Proceed With State Court Action
   08/03/2020             (related document # 733) Entered on 8/3/2020. (Okafor, M.)

                             911 (3 pgs) Order granting motion to seal documents (related document # 746) Entered on
   08/03/2020             8/3/2020. (Okafor, M.)

                            912 (6 pgs) Order directing mediation (RE: related document(s)3 Document filed by
   08/03/2020             Debtor Highland Capital Management, L.P.). Entered on 8/3/2020 (Okafor, M.)

                             913 (9 pgs) Debtor-in-possession monthly operating report for filing period June 1, 2020
   08/03/2020             to June 30, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            914 (156 pgs; 3 docs) Motion for leave [CLO Holdco, Ltd.'s Motion for Clarification of
                          Ruling] (related document(s) 808 Motion to compel, 846 Objection, 872 Response, 894
                          Hearing held) Filed by Creditor CLO Holdco, Ltd. (Attachments: # 1 Exhibit A # 2 Exhibit
   08/03/2020             B) (Kane, John)

   08/04/2020                915 (6 pgs) Joinder by NexPoint RE Entities' Joinder to CLO Holdco, Ltd.'s Motion for
                          Clarification of Ruling filed by Interested Parties NexPoint Hospitality Trust, NexPoint
                          Multifamily Capital Trust, Inc., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate
                          Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                          L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P.,
                          NexPoint Real Estate Advisors VIII, L.P., NexPoint Real Estate Advisors, L.P., NexPoint
                          Real Estate Finance Inc., NexPoint Real Estate Partners, LLC, NexPoint Residential Trust,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.234 146/439



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                          Inc., Nexpoint Real Estate Capital, LLC, VineBrook Homes, Trust, Inc. (RE: related
                          document(s)914 Motion for leave [CLO Holdco, Ltd.'s Motion for Clarification of Ruling]
                          (related document(s) 808 Motion to compel, 846 Objection, 872 Response, 894 Hearing
                          held)). (Drawhorn, Lauren)

   08/04/2020                916 (16 pgs) Certificate of service re: 1) Debtor's First Omnibus Objection to Certain (A)
                          Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E)
                          No-Liability Claims; and (F) Insufficient-Documentation Claims; and 2) Notice of Hearing
                          on Debtor's First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
                          Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F)
                          Insufficient-Documentation Claims Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)906 Objection to claim(s) of Creditor(s) Daniel Sheehan and
                          Associates, PLLC; Dun & Bradstreet; Eastern Point Trust Company, Inc.; Collin County Tax
                          Assessor/Collector; Collin County Tax Assessor/Collector; Dallas County; Opus 2
                          International Inc.; Andrew Parmentier; 4CAST Inc.; Advent Software Inc.; ConvergeOne,
                          Inc.; Denton County; Internal Revenue Service; Kaufman County; Maples and Calder;
                          McLagen Partners, Inc.; Microsoft Corporation and Microsoft Licensing GP, a Subsidiary of
                          Microsoft Corporation; Moodys Analytics, Inc.; Quintairos, Prieto, Wood & Boyer; Advisors
                          Equity Group, LLC; Eagle Equity Advisors, LLC; HCRE Partner, LLC; Highland Capital
                          Management Fund Advisors; Highland Capital Management Fund Advisors; Highland
                          Capital Management Services, Inc.; Highland Capital Management Services, Inc.; Highland
                          Energy MLP Fund; Highland Fixed Income Fund; Highland Floating Rate Fund; Highland
                          Funds I; Highland Funds II; Highland Global Allocation Fund; Highland Healthcare
                          Opportunities Fund; Highland iBoxx Senior Loan ETF; Highland Income Fund HFRO;
                          Highland Long/Short Equity Fund; Highland Merger Arbitrage Fund; Highland
                          Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially Responsible
                          Equity Fund; Highland Tax-Exempt Fund; Highland Total Return Fund; NexBank SSB;
                          NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Capital,
                          Inc.; NexPoint Discount Strategies Fund; NexPoint Energy and Material Opportunities Fund;
                          NexPoint Event-Driven Fund; NexPoint Healthcare Opportunities Fund; NexPoint Latin
                          America Opportunities Fund; NexPoint Real Estate Strategies Fund; NexPoint Strategic
                          Opportunities Fund; The Dugaboy Investment Trust; The Dugaboy Investment Trust; Bentley
                          Callan; City of Garland; Clay Callan; Eastern Point Trust Company, Inc.; Garland
                          Independent School District; Grayson County; HarbourVest 2017 Global Fund L.P.;
                          HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on behalf of funds and
                          accounts under management; HarbourVest Dover Street IX Investment L.P.; HarbourVest
                          Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John R. Watkins;
                          Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications Inc.;
                          Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7) filed by Debtor Highland Capital Management, L.P., 907 Notice of
                          hearing (Notice of Hearing on Debtor's First Omnibus Objection to Certain (A) Duplicate
                          Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-
                          Liability Claims; and (F) Insufficient-Documentation Claims) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)906 Objection to claim(s) of Creditor(s)
                          Daniel Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern Point Trust Company,
                          Inc.; Collin County Tax Assessor/Collector; Collin County Tax Assessor/Collector; Dallas
                          County; Opus 2 International Inc.; Andrew Parmentier; 4CAST Inc.; Advent Software Inc.;
                          ConvergeOne, Inc.; Denton County; Internal Revenue Service; Kaufman County; Maples and
                          Calder; McLagen Partners, Inc.; Microsoft Corporation and Microsoft Licensing GP, a
                          Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.; Quintairos, Prieto, Wood &
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.235 147/439



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                          Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors, LLC; HCRE Partner, LLC;
                          Highland Capital Management Fund Advisors; Highland Capital Management Fund
                          Advisors; Highland Capital Management Services, Inc.; Highland Capital Management
                          Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund; Highland
                          Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global Allocation Fund;
                          Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan ETF; Highland
                          Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger Arbitrage Fund;
                          Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially
                          Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total Return Fund;
                          NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint Capital, Inc.;
                          NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy and Material
                          Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare Opportunities Fund;
                          NexPoint Latin America Opportunities Fund; NexPoint Real Estate Strategies Fund;
                          NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust; The Dugaboy
                          Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point Trust
                          Company, Inc.; Garland Independent School District; Grayson County; HarbourVest 2017
                          Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on behalf of
                          funds and accounts under management; HarbourVest Dover Street IX Investment L.P.;
                          HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John R.
                          Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications Inc.;
                          Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge
                          Jernigan Ctrm for 906, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             917 (26 pgs; 2 docs) Application for compensation (Sixth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020) for Hayward
                          & Associates PLLC, Debtor's Attorney, Period: 5/1/2020 to 5/31/2020, Fee: $17,667.50,
                          Expenses: $37.40. Filed by Other Professional Hayward & Associates PLLC (Attachments: #
   08/05/2020             1 Exhibit A--H&A May 2020 Invoice) (Annable, Zachery)

                             918 (6 pgs; 2 docs) Certificate of No Objection filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)831 Application for
                          compensation Sidley Austin LLP's Second Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,5). (Attachments: # 1 Exhibit) (Hoffman,
   08/05/2020             Juliana)

                            919 (9 pgs) Certificate of service re: 1) Agreed Order Extending Deadline to Assume or
                          Reject Unexpired Nonresidential Real Property Lease by Sixty Days; and 2) Order Directing
                          Mediation Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)909 Agreed Order Granting 886 Motion to extend deadline to assume or reject
                          unexpired nonresidential real property lease by sixty days. Entered on 8/3/2020. (Okafor,
                          M.), 912 Order directing mediation (RE: related document(s)3 Document filed by Debtor
   08/05/2020             Highland Capital Management, L.P.). Entered on 8/3/2020 (Okafor, M.)). (Kass, Albert)

   08/05/2020               920 (3 pgs) Certificate of No Objection (Amended) filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)918 Certificate (generic)).
                          (Hoffman, Juliana)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.236 148/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas


                            921 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to June 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   08/05/2020             Zachery)

                             922 (20 pgs; 2 docs) Application for compensation Ninth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from July 1, 2020 through July 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 7/1/2020 to 7/31/2020, Fee:
                          $6,264.50, Expenses: $0.00. Filed by Attorney Holland N. O'Neil Objections due by
   08/06/2020             8/27/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             923 (4 pgs) Notice of Appearance and Request for Notice by Jared M. Slade filed by
   08/06/2020             Interested Party NexBank. (Slade, Jared)

                             924 (45 pgs; 3 docs) Application for compensation Second Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from April, 2020 through July 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 4/1/2020 to 7/31/2020, Fee:
                          $87,931.00, Expenses: $833.49. Filed by Attorney Holland N. O'Neil Objections due by
                          8/27/2020. (Attachments: # 1 Exhibit A - Invoices # 2 Proposed Order Exhibit B - Proposed
   08/06/2020             Order) (O'Neil, Holland)

                             925 (11 pgs) Certificate of service re: re: 1) Cover Sheet and Sixth Monthly Application
                          for Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from May 1, 2020 Through May 31, 2020; and 2)
                          Notice of Statement of Amounts Paid to Ordinary Course Professionals for the Period from
                          October 16, 2019 to June 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)917 Application for compensation (Sixth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from May 1, 2020 through May 31, 2020) for Hayward
                          & Associates PLLC, Debtor's Attorney, Period: 5/1/2020 to 5/31/2020, Fee: $17,667.50,
                          Expenses: $37.40. Filed by Other Professional Hayward & Associates PLLC (Attachments: #
                          1 Exhibit A--H&A May 2020 Invoice) filed by Other Professional Hayward & Associates
                          PLLC, 921 Notice (Notice of Statement of Amounts Paid to Ordinary Course Professionals
                          for the Period from October 16, 2019 to June 30, 2020) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO SECTIONS
                          105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING THE
                          DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
   08/06/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

   08/06/2020                 926 (2 pgs) Withdrawal of claim(s) Claim has been satisfied. Claim: 9 Filed by Creditor
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                          Gray Reed & McGraw LLP. (Brookner, Jason)

                             927 (5 pgs) Joinder by filed by Interested Party NexBank (RE: related document(s)914
                          Motion for leave [CLO Holdco, Ltd.'s Motion for Clarification of Ruling] (related
                          document(s) 808 Motion to compel, 846 Objection, 872 Response, 894 Hearing held)).
   08/07/2020             (Slade, Jared)

                             928 (64 pgs; 3 docs) Objection to claim(s) of Creditor(s) UBS Securities LLC and UBS
                          AG, London Branch.. Filed by Debtor Highland Capital Management, L.P.. Responses due
   08/07/2020             by 9/9/2020. (Attachments: # 1 Exhibit 18 # 2 Exhibit 19) (Annable, Zachery)

                            929 (3 pgs) Notice of hearing (Notice of Status Conference) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)928 Objection to claim(s) of Creditor(s)
                          UBS Securities LLC and UBS AG, London Branch.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/9/2020. (Attachments: # 1 Exhibit 18 # 2 Exhibit
                          19)). Status Conference to be held on 9/29/2020 at 01:30 PM at Dallas Judge Jernigan Ctrm.
   08/07/2020             (Annable, Zachery)

                             930 (21 pgs; 2 docs) Response opposed to (related document(s): 914 Motion for leave
                          [CLO Holdco, Ltd.'s Motion for Clarification of Ruling] (related document(s) 808 Motion to
                          compel, 846 Objection, 872 Response, 894 Hearing held) filed by Creditor CLO Holdco,
                          Ltd.) filed by Creditor Committee Official Committee of Unsecured Creditors. (Attachments:
   08/07/2020             # 1 Exhibit A) (Montgomery, Paige)

                             931 (26 pgs; 2 docs) Application for compensation (Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from June 1, 2020 through June 30, 2020) for Hayward
                          & Associates PLLC, Debtor's Attorney, Period: 6/1/2020 to 6/30/2020, Fee: $18,025.00,
                          Expenses: $452.40. Filed by Other Professional Hayward & Associates PLLC (Attachments:
   08/07/2020             # 1 Exhibit A--H&A June 2020 Invoice) (Annable, Zachery)

                             932 (7 pgs; 2 docs) Motion to file document under seal.MOTION FOR AN ORDER
                          GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING REDEEMER
                          COMMITTEES OBJECTION TO THE PROOF OF CLAIM OF UBS AG, LONDON
                          BRANCH AND UBS SECURITIES, LLC Filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund (Attachments: # 1 Proposed Order Proposed Order Granting
   08/07/2020             Motion to Seal) (Platt, Mark)

   08/07/2020                 933 (431 pgs; 23 docs) Objection to claim(s) of Creditor(s) UBS Securities LLC and UBS
                          AG, London Branch.. Filed by Interested Party Redeemer Committee of the Highland
                          Crusader Fund. (Attachments: # 1 Exhibit Exhibit 1 (slip page - to be filed under seal upon
                          order from Court)) # 2 Exhibit Exhibit 2 (slip page - to be filed under seal upon order from
                          Court) # 3 Exhibit Exhibit 3 (slip page - to be filed under seal upon order from Court) # 4
                          Exhibit Exhibit 4 # 5 Exhibit Exhibit 5 # 6 Exhibit Exhibit 6 (slip page - to be filed under
                          seal upon order from Court) # 7 Exhibit Exhibit 7 (slip page - to be filed under seal upon
                          order from Court) # 8 Exhibit Exhibit 8 # 9 Exhibit Exhibit 9 (slip page - to be filed under
                          seal upon order from Court) # 10 Exhibit Exhibit 10 # 11 Exhibit Exhibit 11 # 12 Exhibit
                          Exhibit 12 # 13 Exhibit Exhibit 13 # 14 Exhibit Exhibit 14 # 15 Exhibit Exhibit 15 # 16
                          Exhibit Exhibit 16 (slip page - to be filed under seal upon order from Court) # 17 Exhibit
                          Exhibit 17 # 18 Exhibit Exhibit 18 # 19 Exhibit Exhibit 19 # 20 Exhibit Exhibit 20 (slip page
                          - to be filed under seal upon order from Court) # 21 Exhibit Exhibit 21 (slip page - to be filed


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                          under seal upon order from Court) # 22 Exhibit Exhibit 22 (slip page - to be filed under seal
                          upon order from Court)) (Platt, Mark)

                             934 (34 pgs) Application for compensation Eighth Monthly Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          6/1/2020 to 6/30/2020, Fee: $328,185.72, Expenses: $440.33. Filed by Financial Advisor FTI
   08/10/2020             Consulting, Inc. Objections due by 8/31/2020. (Hoffman, Juliana)

                              935 (10 pgs) Order on Motion for Clarification of Ruling and the Joinders Thereto (RE:
                          related document(s)914 Motion for leave filed by Creditor CLO Holdco, Ltd., 915 Joinder
                          filed by Interested Party NexPoint Real Estate Finance Inc., Interested Party Nexpoint Real
                          Estate Capital, LLC, Interested Party NexPoint Residential Trust, Inc., Interested Party
                          NexPoint Hospitality Trust, Interested Party NexPoint Real Estate Partners, LLC, Interested
                          Party NexPoint Multifamily Capital Trust, Inc., Interested Party VineBrook Homes, Trust,
                          Inc., Interested Party NexPoint Real Estate Advisors, L.P., Interested Party NexPoint Real
                          Estate Advisors II, L.P., Interested Party NexPoint Real Estate Advisors III, L.P., Interested
                          Party NexPoint Real Estate Advisors IV, L.P., Interested Party NexPoint Real Estate Advisors
                          V, L.P., Interested Party NexPoint Real Estate Advisors VI, L.P., Interested Party NexPoint
                          Real Estate Advisors VII, L.P., Interested Party NexPoint Real Estate Advisors VIII, L.P.,
   08/11/2020             927 Joinder filed by Interested Party NexBank). Entered on 8/11/2020 (Rielly, Bill)

                             936 (112 pgs) Application for compensation Tenth Monthly Application for Compensation
                          and for Reimbursement of Expenses for the Period from July 1, 2020 through July 31, 2020
                          for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 7/1/2020 to 7/31/2020, Fee:
                          $739,976.00, Expenses: $1,189.12. Filed by Attorney Jeffrey Nathan Pomerantz Objections
   08/11/2020             due by 9/1/2020. (Pomerantz, Jeffrey)

                             937 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)879 Amended application for compensation Amended Ninth
                          Monthly Application for Compensation and for Reimbursement of Expenses of Pachulski
                          Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period from June 1, 2020 through
   08/11/2020             June 30, 2020 (amended t). (Pomerantz, Jeffrey)

   08/11/2020                938 (3 pgs) Certificate of service re: 1) Cover Sheet and Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from July 1, 2020 Through July 31, 2020; and 2) Cover
                          Sheet and Second Interim Application for Compensation and Reimbursement of Expenses of
                          Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period from April 1,
                          2020 Through July 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)922 Application for compensation Ninth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from July 1, 2020 through July 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 7/1/2020 to 7/31/2020, Fee:
                          $6,264.50, Expenses: $0.00. Filed by Attorney Holland N. O'Neil Objections due by
                          8/27/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by Spec. Counsel Foley
                          Gardere, Foley & Lardner LLP, 924 Application for compensation Second Interim
                          Application for Compensation and for Reimbursement of Expenses of Foley & Lardner LLP
                          as Special Texas Counsel to the Debtor for the Period from April, 2020 through July 31, 2020
                          for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 4/1/2020 to 7/31/2020,
                          Fee: $87,931.00, Expenses: $833.49. Filed by Attorney Holland N. O'Neil Objections due by
                          8/27/2020. (Attachments: # 1 Exhibit A - Invoices # 2 Proposed Order Exhibit B - Proposed
                          Order) (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP).
                          (Kass, Albert)
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                             939 (15 pgs) Certificate of service re: 1) Debtor's Objection to Proofs of Claim 190 and
                          191 of UBS Securities LLC and UBS AG, London Branch; and 2) Notice of Status
                          Conference; to be Held on September 29, 2020 at 1:30 p.m. (Central Time); and 3) Seventh
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from June 1, 2020 through
                          June 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)928 Objection to claim(s) of Creditor(s) UBS Securities LLC and UBS AG,
                          London Branch.. Filed by Debtor Highland Capital Management, L.P.. Responses due by
                          9/9/2020. (Attachments: # 1 Exhibit 18 # 2 Exhibit 19) filed by Debtor Highland Capital
                          Management, L.P., 929 Notice of hearing (Notice of Status Conference) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)928 Objection to claim(s) of
                          Creditor(s) UBS Securities LLC and UBS AG, London Branch.. Filed by Debtor Highland
                          Capital Management, L.P.. Responses due by 9/9/2020. (Attachments: # 1 Exhibit 18 # 2
                          Exhibit 19)). Status Conference to be held on 9/29/2020 at 01:30 PM at Dallas Judge
                          Jernigan Ctrm. filed by Debtor Highland Capital Management, L.P., 931 Application for
                          compensation (Seventh Monthly Application for Compensation and Reimbursement of
                          Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor for the Period
                          from June 1, 2020 through June 30, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 6/1/2020 to 6/30/2020, Fee: $18,025.00, Expenses: $452.40. Filed by Other
                          Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A June 2020
   08/11/2020             Invoice) filed by Other Professional Hayward & Associates PLLC). (Kass, Albert)

                             940 (15 pgs) Certificate of service re: 1) Webex Meeting Invitation to participate
                          electronically in the hearing on Friday, August 14, 2020 at 9:30 a.m. Central Time before the
                          Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who wish to
                          participate in the Hearing; and 3) Summary Cover Sheet and Eighth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc. for Allowance of
                          Compensation and Reimbursement of Expenses for the Period From June 1, 2020 to and
                          Including June 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)934 Application for compensation Eighth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 6/1/2020 to 6/30/2020, Fee: $328,185.72, Expenses: $440.33. Filed by Financial
                          Advisor FTI Consulting, Inc. Objections due by 8/31/2020. filed by Financial Advisor FTI
   08/11/2020             Consulting, Inc.). (Kass, Albert)

                             941 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)877 Application for compensation Eighth
                          Monthly Application for Compensation and Reimbursement of Expenses of Sidley Austin,
                          LLP for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2020
   08/12/2020             to 6/30/2020, Fee: $493,78). (Hoffman, Juliana)

                             942 (11 pgs) Order resolving discovery motions and objections thereto (related document
                          808 and 810 Motion for protective order (Debtor's Motion for Entry of (i) a Protective Order,
                          or, in the Alternative, (ii) an Order Directing the Debtor to Comply with Certain Discovery
                          Demands Tendered by the Official Committee of Unsecured Creditors Purs filed by Debtor
                          Highland Capital Management, ) Entered on 8/12/2020. (Okafor, M.). Modified linkage on
   08/12/2020             10/1/2020 (Okafor, M.).

   08/12/2020                943 (51 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from June 1, 2020 through June 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
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                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
                          M.)). (Annable, Zachery)

                            944 (59 pgs) Chapter 11 plan filed by Debtor Highland Capital Management, L.P..
   08/12/2020             (Annable, Zachery)

                            945 (146 pgs; 2 docs) Disclosure statement filed by Debtor Highland Capital
   08/12/2020             Management, L.P.. (Attachments: # 1 Exhibit A--Plan)(Annable, Zachery)

                             946 (2 pgs) Certificate of No Objection filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP (RE: related document(s)884 Application for compensation Eighth Monthly
                          Application for Compensation and for Reimbursement of Expenses of Foley & Lardner LLP
                          as Special Texas Counsel to the Debtor for the Period from June 1, 2020 through June 30,
   08/13/2020             2020 for Foley Garder). (O'Neil, Holland)

                             947 (4 pgs) Joint Motion to continue hearing on (related documents 771 Objection to
                          claim) (Joint Motion to Continue Status Conference) Filed by Debtor Highland Capital
   08/13/2020             Management, L.P. (Annable, Zachery)

                             948 (9 pgs; 2 docs) Motion to file document under seal. (Debtor's Motion for Entry of an
                          Order Authorizing Filing under Seal of the Debtor's Plan of Reorganization and Disclosure
                          Statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A-
   08/13/2020             -Proposed Order) (Annable, Zachery)

                            949 (11 pgs; 2 docs) Motion to extend or limit the exclusivity period (RE: related
                          document(s)820 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
   08/13/2020             Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                             950 (2 pgs) Order granting motion to seal documents (related document # 932) Entered
   08/13/2020             on 8/13/2020. (Okafor, M.)

                             951 (2 pgs) Order granting joint motion to continue hearing on (related document # 947)
                          (related documents Objection to claim) Status Conference to be held on 8/19/2020 at 09:30
   08/13/2020             AM at Dallas Judge Jernigan Ctrm. Entered on 8/13/2020. (Okafor, M.)

                             952 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)949 Motion to extend or limit the exclusivity period (RE: related
                          document(s)820 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on
   08/13/2020             9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for 949, (Annable, Zachery)

   08/13/2020                953 SEALED document regarding: REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUNDS AND THE CRUSADER FUNDS' OBJECTION TO
                          THE PROOF OF CLAIM OF UBS AG, LONDON BRANCH AND UBS SECURITIES,
                          LLC AND JOINDER IN THE DEBTOR'S OBJECTION per court order filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fund (RE: related
                          document(s)950 Order on motion to seal). (Attachments: # 1 Exhibit Exhibit 1 - Original
                          Synthetic Warehouse Agreement # 2 Exhibit Exhibit 2 Original Engagement Ltr. # 3 Exhibit
                          Exhibit 3 Original Cash Warehouse Agreement # 4 Exhibit Exhibit 6 Expert Report of Louis
                          G. Dudney # 5 Exhibit Exhibit 7 March 20, 2009 Termination Settlement and Release
                          Agreement # 6 Exhibit Exhibit 9 UBS and Crusader Fund Settlement Agreement # 7 Exhibit
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.241 153/439



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                          Exhibit 16 Unredacted version of UBS's Second Amended Complaint # 8 Exhibit Exhibit 20
                          UBS's Pre-Trial Brief ISO Bifurcation # 9 Exhibit Exhibit 21 UBS and Credit Strategies
                          Settlement Agreement # 10 Exhibit Exhibit 22 Crusader Fund scheme of Arrangement and
                          Joint Plan of Distribution) (Platt, Mark)

                             954 (3 pgs) Amended Notice of hearing (Amended Notice of Status Conference) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)771 Objection to
                          claim(s) 3 of Creditor(s) Acis Capital Management L.P. and Acis Capital Management GP,
                          LLC.. Filed by Debtor Highland Capital Management, L.P.. Responses due by 7/23/2020.).
                          Status Conference to be held on 8/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm.
   08/13/2020             (Annable, Zachery)

                             955 (2 pgs) Order granting motion to seal documents (related document # 948) Entered
   08/13/2020             on 8/13/2020. (Okafor, M.)

                            956 SEALED document regarding: Plan of Reorganization of Highland Capital
                          Management, L.P. per court order filed by Debtor Highland Capital Management, L.P.
   08/13/2020             (RE: related document(s)955 Order on motion to seal). (Annable, Zachery)

                            957 SEALED document regarding: Disclosure Statement for the Plan of
                          Reorganization of Highland Capital Management, L.P. per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)955 Order on motion to seal).
                          (Attachments: # 1 Exhibit A--Plan of Reorganization of Highland Capital Management, L.P.)
   08/13/2020             (Annable, Zachery)

                             958 (15 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)935
                          Order on Motion for Clarification of Ruling and the Joinders Thereto (RE: related
                          document(s)914 Motion for leave filed by Creditor CLO Holdco, Ltd., 915 Joinder filed by
                          Interested Party NexPoint Real Estate Finance Inc., Interested Party Nexpoint Real Estate
                          Capital, LLC, Interested Party NexPoint Residential Trust, Inc., Interested Party NexPoint
                          Hospitality Trust, Interested Party NexPoint Real Estate Partners, LLC, Interested Party
                          NexPoint Multifamily Capital Trust, Inc., Interested Party VineBrook Homes, Trust, Inc.,
                          Interested Party NexPoint Real Estate Advisors, L.P., Interested Party NexPoint Real Estate
                          Advisors II, L.P., Interested Party NexPoint Real Estate Advisors III, L.P., Interested Party
                          NexPoint Real Estate Advisors IV, L.P., Interested Party NexPoint Real Estate Advisors V,
                          L.P., Interested Party NexPoint Real Estate Advisors VI, L.P., Interested Party NexPoint Real
                          Estate Advisors VII, L.P., Interested Party NexPoint Real Estate Advisors VIII, L.P., 927
                          Joinder filed by Interested Party NexBank). Entered on 8/11/2020) No. of Notices: 2. Notice
   08/13/2020             Date 08/13/2020. (Admin.)

                            959 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)830 Application for compensation Seventh Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   08/14/2020             Period: 5/1/2020 to 5/31/2020, Fee: $223,330.68, Expenses: $1,874.65.). (Hoffman, Juliana)

                             960 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)883 Application for compensation Second Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 3/1/2020 to 5/31/2020, Fee: $1,488,533.4, Expenses: $23,515.26.). (Hoffman,
   08/14/2020             Juliana)

   08/14/2020                 961 (5 pgs) Certificate of service re: Cover Sheet and Tenth Monthly Application for
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                          Compensation and for Reimbursement of Expenses for the Period from July 1, 2020 through
                          July 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)936 Application for compensation Tenth Monthly Application for Compensation
                          and for Reimbursement of Expenses for the Period from July 1, 2020 through July 31, 2020
                          for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 7/1/2020 to 7/31/2020, Fee:
                          $739,976.00, Expenses: $1,189.12. Filed by Attorney Jeffrey Nathan Pomerantz Objections
                          due by 9/1/2020. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             962 (7 pgs) Certificate of service re: 1) Order Resolving Discovery Motions and
                          Objections Thereto; and 2) Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from June 1, 2020 Through June 30, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)942 Order resolving
                          discovery motions and objections thereto (related document 808) Entered on 8/12/2020.
                          (Okafor, M.), 943 Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from June 1, 2020 through June 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
   08/14/2020             M.)). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            963 (7 pgs; 2 docs) Motion to file document under seal. Filed by Acis Capital
                          Management GP, LLC, Acis Capital Management, L.P. (Attachments: # 1 Proposed Order)
   08/17/2020             (Chiarello, Annmarie)

                            964 (68 pgs; 2 docs) Application for compensation (Hayward & Associates PLLC's
                          Second Interim Application for Compensation and Reimbursement of Expenses for the
                          Period from April 1, 2020 through June 30, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 4/1/2020 to 6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other
                          Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--Invoices) (Annable,
   08/18/2020             Zachery)

                             965 (3 pgs) Order granting motion to seal documents (related document # 963) Entered
   08/18/2020             on 8/18/2020. (Okafor, M.)

                            966 SEALED document regarding: email correspondence produced by Highland
                          Capital Management, L.P. in connection with Acis's bankruptcy cases and bates labeled
                          CONFIDENTIAL Highland0035395- Highland0035405 per court order filed by Acis
                          Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related document(s)965
   08/18/2020             Order on motion to seal). (Chiarello, Annmarie)

   08/18/2020                967 (8 pgs) Certificate of service re: Documents Served on August 13, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)947 Joint Motion to
                          continue hearing on (related documents 771 Objection to claim) (Joint Motion to Continue
                          Status Conference) Filed by Debtor Highland Capital Management, L.P. filed by Debtor
                          Highland Capital Management, L.P., 948 Motion to file document under seal. (Debtor's
                          Motion for Entry of an Order Authorizing Filing under Seal of the Debtor's Plan of
                          Reorganization and Disclosure Statement) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital
                          Management, L.P., 949 Motion to extend or limit the exclusivity period (RE: related
                          document(s)820 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland
                          Capital Management, L.P., 951 Order granting joint motion to continue hearing on (related
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                          document 947) (related documents Objection to claim) Status Conference to be held on
                          8/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. Entered on 8/13/2020. (Okafor, M.),
                          952 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)949 Motion to extend or limit the exclusivity period (RE: related
                          document(s)820 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on
                          9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for 949, filed by Debtor Highland Capital
                          Management, L.P., 954 Amended Notice of hearing (Amended Notice of Status Conference)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)771 Objection
                          to claim(s) 3 of Creditor(s) Acis Capital Management L.P. and Acis Capital Management GP,
                          LLC.. Filed by Debtor Highland Capital Management, L.P.. Responses due by 7/23/2020.).
                          Status Conference to be held on 8/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. filed
                          by Debtor Highland Capital Management, L.P., 955 Order granting motion to seal documents
                          (related document 948) Entered on 8/13/2020. (Okafor, M.)). (Kass, Albert)

                             968 Hearing held on 8/19/2020. (RE: related document(s)771 Objection to claim(s) 3 of
                          Creditor(s) Acis Capital Management L.P. and Acis Capital Management GP, LLC., filed by
                          Debtor Highland Capital Management, L.P., (Appearances: J. Pomeranz, I. Karesh, Z.
                          Annabel, and M. Hayward for Debtors; R. Patel and B. Shaw for Acis; P. Montgomery for
                          Unsecured Creditors Committee; J. Bonds for J. Dondero; A. Clubock for UBS; T. Masherin
                          for Crusader Redeemer Committee. Nonevidentiary status conference. Court heard and
                          approved concept for a partial scheduling order, contemplating cross motions for summary
                          judgment and setting thereon for 10/20/20 at 9:30 am to the extend this matter is not resolved
                          in mediation. Mr. Pomeranz to draft order consistent with the terms of what was announced.)
   08/19/2020             (Edmond, Michael)

                            969 (57 pgs) Application for compensation Sidley Austin, LLP's Ninth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 7/1/2020 to 7/31/2020, Fee: $531,094.32,
                          Expenses: $10,470.96. Filed by Creditor Committee Official Committee of Unsecured
   08/19/2020             Creditors Objections due by 9/9/2020. (Hoffman, Juliana)

                            970 (4 pgs) Stipulation by Highland Capital Management, L.P. and Integrated Financial
                          Associates, Inc.. filed by Debtor Highland Capital Management, L.P. (RE: related
   08/19/2020             document(s)868 Objection to claim). (Annable, Zachery)

                             971 (394 pgs) Application for compensation Second Interim Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession for the Period from April 1, 2020 through
                          July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 4/1/2020 to
                          7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by Attorney Jeffrey Nathan
   08/19/2020             Pomerantz Objections due by 9/9/2020. (Pomerantz, Jeffrey)

                            972 (23 pgs) Application for compensation Second Interim Application for Compensation
                          and for Reimbursement of Expenses of Mercer (US) Inc. as Compensation Consultant for the
                          Debtor for the Period from March 1, 2020 through May 31, 2020 for Mercer (US) Inc.,
                          Consultant, Period: 3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by
   08/19/2020             Consultant Mercer (US) Inc. Objections due by 9/9/2020. (Pomerantz, Jeffrey)

   08/19/2020                973 (6 pgs; 2 docs) Support/supplemental document (Notice of Filing of Executed
                          Signature Pages to Plan of Reorganization of Highland Capital Management, L.P.) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)944 Chapter 11 plan).
                          (Attachments: # 1 Exhibit A) (Annable, Zachery)
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                             974 (6 pgs; 2 docs) Support/supplemental document (Notice of Filing of Executed
                          Signature Pages to Disclosure Statement for the Plan of Reorganization of Highland Capital
                          Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
   08/19/2020             document(s)945 Disclosure statement). (Attachments: # 1 Exhibit A) (Annable, Zachery)

                             975 (148 pgs; 4 docs) Application for compensation (Consolidated Monthly and First
                          Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of
                          Compensation for Services Rendered and Reimbursement of Expenses as Regulatory and
                          Compliance Counsel for the Period November 1, 2019 through June 30, 2020) for Wilmer
                          Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to 6/30/2020, Fee:
                          $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer Cutler Pickering
                          Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3 Exhibit B) (Annable,
   08/19/2020             Zachery)

   08/19/2020                 976 (6 pgs) Notice of hearing (Omnibus Notice of Hearing on Second Interim
                          Applications for Compensation and Reimbursement of Expenses of Estate Professionals)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)831
                          Application for compensation Sidley Austin LLP's Second Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,573,850.25,
                          Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F), 883 Application for
                          compensation Second Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by 8/11/2020., 924 Application
                          for compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from April, 2020 through July 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special
                          Counsel, Period: 4/1/2020 to 7/31/2020, Fee: $87,931.00, Expenses: $833.49. Filed by
                          Attorney Holland N. O'Neil Objections due by 8/27/2020. (Attachments: # 1 Exhibit A -
                          Invoices # 2 Proposed Order Exhibit B - Proposed Order) (O'Neil, Holland), 964 Application
                          for compensation (Hayward & Associates PLLC's Second Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from April 1, 2020 through
                          June 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to
                          6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--Invoices), 971 Application for compensation
                          Second Interim Application for Compensation and for Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for
                          the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by
                          Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020., 972 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Mercer (US) Inc. as Compensation Consultant for the Debtor for the Period
                          from March 1, 2020 through May 31, 2020 for Mercer (US) Inc., Consultant, Period:
                          3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer
                          (US) Inc. Objections due by 9/9/2020., 975 Application for compensation (Consolidated
                          Monthly and First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for
                          Allowance of Compensation for Services Rendered and Reimbursement of Expenses as
                          Regulatory and Compliance Counsel for the Period November 1, 2019 through June 30,
                          2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to
                          6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer
                          Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3

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                          Exhibit B)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for
                          964 and for 831 and for 975 and for 972 and for 971 and for 924 and for 883, (Annable,
                          Zachery)

                             977 (3 pgs) Amended Notice of hearing (Amended Notice of Status Conference) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)928 Objection to
                          claim(s) of Creditor(s) UBS Securities LLC and UBS AG, London Branch.. Filed by Debtor
                          Highland Capital Management, L.P.. Responses due by 9/9/2020. (Attachments: # 1 Exhibit
                          18 # 2 Exhibit 19)). Status Conference to be held on 10/6/2020 at 01:30 PM at Dallas Judge
   08/20/2020             Jernigan Ctrm. (Annable, Zachery)

                             978 (7 pgs) Order approving joint stipulation extending response deadline to Debtor's
                          objection to proof of claim No. 93 of Integrated Financial Associates, Inc. (RE: related
                          document(s)970 Stipulation filed by Debtor Highland Capital Management, L.P.). Entered on
   08/20/2020             8/20/2020 (Okafor, M.)

                             979 (15 pgs) Certificate of service re: 1) Webex Meeting Invitation to participate
                          electronically in the hearing on Wednesday, August 19, 2020 at 9:30 a.m. Central Time
                          before the Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who
                          wish to participate in the Hearing; and 3) Notice of and Hayward & Associates PLLC's
                          Second Interim Application for Compensation and Reimbursement of Expenses for the
                          Period from April 1, 2020 Through June 30, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)964 Application for compensation (Hayward &
                          Associates PLLC's Second Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from April 1, 2020 through June 30, 2020) for Hayward &
                          Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to 6/30/2020, Fee: $60,570.00,
                          Expenses: $525.80. Filed by Other Professional Hayward & Associates PLLC (Attachments:
                          # 1 Exhibit A--Invoices) filed by Other Professional Hayward & Associates PLLC). (Kass,
   08/20/2020             Albert)

   08/20/2020                 980 (12 pgs) Certificate of service re: Documents Served on August 19, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)969 Application for
                          compensation Sidley Austin, LLP's Ninth Monthly Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 7/1/2020 to 7/31/2020, Fee: $531,094.32, Expenses: $10,470.96. Filed by
                          Creditor Committee Official Committee of Unsecured Creditors Objections due by 9/9/2020.
                          filed by Creditor Committee Official Committee of Unsecured Creditors, 970 Stipulation by
                          Highland Capital Management, L.P. and Integrated Financial Associates, Inc.. filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)868 Objection to
                          claim). filed by Debtor Highland Capital Management, L.P., 971 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession for the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses:
                          $12,205.15. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020. filed
                          by Debtor Highland Capital Management, L.P., 972 Application for compensation Second
                          Interim Application for Compensation and for Reimbursement of Expenses of Mercer (US)
                          Inc. as Compensation Consultant for the Debtor for the Period from March 1, 2020 through
                          May 31, 2020 for Mercer (US) Inc., Consultant, Period: 3/1/2020 to 5/31/2020, Fee:
                          $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer (US) Inc. Objections due by
                          9/9/2020. filed by Consultant Mercer (US) Inc., 975 Application for compensation
                          (Consolidated Monthly and First Interim Application of Wilmer Cutler Pickering Hale and
                          Dorr LLP for Allowance of Compensation for Services Rendered and Reimbursement of
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                          Expenses as Regulatory and Compliance Counsel for the Period November 1, 2019 through
                          June 30, 2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period:
                          11/1/2019 to 6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional
                          Wilmer Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2
                          # 3 Exhibit B), 976 Notice of hearing (Omnibus Notice of Hearing on Second Interim
                          Applications for Compensation and Reimbursement of Expenses of Estate Professionals)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)831
                          Application for compensation Sidley Austin LLP's Second Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,573,850.25,
                          Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F), 883 Application for
                          compensation Second Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by 8/11/2020., 924 Application
                          for compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from April, 2020 through July 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special
                          Counsel, Period: 4/1/2020 to 7/31/2020, Fee: $87,931.00, Expenses: $833.49. Filed by
                          Attorney Holland N. O'Neil Objections due by 8/27/2020. (Attachments: # 1 Exhibit A -
                          Invoices # 2 Proposed Order Exhibit B - Proposed Order) (O'Neil, Holland), 964 Application
                          for compensation (Hayward & Associates PLLC's Second Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from April 1, 2020 through
                          June 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to
                          6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--Invoices), 971 Application for compensation
                          Second Interim Application for Compensation and for Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for
                          the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by
                          Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020., 972 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Mercer (US) Inc. as Compensation Consultant for the Debtor for the Period
                          from March 1, 2020 through May 31, 2020 for Mercer (US) Inc., Consultant, Period:
                          3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer
                          (US) Inc. Objections due by 9/9/2020., 975 Application for compensation (Consolidated
                          Monthly and First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for
                          Allowance of Compensation for Services Rendered and Reimbursement of Expenses as
                          Regulatory and Compliance Counsel for the Period November 1, 2019 through June 30,
                          2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to
                          6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer
                          Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3
                          Exhibit B)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for
                          964 and for 831 and for 975 and for 972 and for 971 and for 924 and for 883, filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                            981 (3 pgs) Certificate (Affidavit of Service) filed by Debtor Highland Capital
   08/21/2020             Management, L.P.. (Annable, Zachery)

                            982 (6 pgs) Stipulation by Highland Capital Management, L.P. and Official Committee of
                          Unsecured Creditors. filed by Debtor Highland Capital Management, L.P. (RE: related
   08/21/2020             document(s)176 Document). (Annable, Zachery)


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   08/21/2020                983 (5 pgs) Agreed Scheduling Order and Order setting hearing on any timely filed
                          Summary Judgment Motion and Summary Judgment Response (RE: related document(s)771
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). Hearing to be held
                          on 10/20/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 771, Entered on 8/21/2020
                          (Okafor, M.) Modified text on 8/21/2020 (Okafor, M.).

                             984 (3 pgs) Motion to appear pro hac vice for Tracy M. O'Steen. Fee Amount $100 Filed
   08/21/2020             by Interested Party Integrated Financial Associates, Inc. (Bryant, M.)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/23/2020             ( 100.00). Receipt number 28037405, amount $ 100.00 (re: Doc# 984). (U.S. Treasury)

                             985 (12 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)978
                          Order approving joint stipulation extending response deadline to Debtor's objection to proof
                          of claim No. 93 of Integrated Financial Associates, Inc. (RE: related document(s)970
                          Stipulation filed by Debtor Highland Capital Management, L.P.). Entered on 8/20/2020
   08/23/2020             (Okafor, M.)) No. of Notices: 1. Notice Date 08/23/2020. (Admin.)

                              986 (9 pgs) Order approving joint stipulation regarding modification to order approving
                          ordinary course professionals for Robert Half Legal (RE: related document(s)982 Stipulation
   08/24/2020             filed by Debtor Highland Capital Management, L.P.). Entered on 8/24/2020 (Okafor, M.)

                            987 (4 pgs) Stipulation by Highland Capital Management, L.P. and Integrated Financial
                          Associates, Inc.. filed by Debtor Highland Capital Management, L.P. (RE: related
   08/24/2020             document(s)868 Objection to claim). (Annable, Zachery)

                             988 (5 pgs) Support/supplemental document Supplement to Second Interim Application
                          for Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special
                          Texas Counsel to the Debtor for the Period from April, 2020 through July 31, 2020 filed by
                          Spec. Counsel Foley Gardere, Foley & Lardner LLP (RE: related document(s)924
                          Application for compensation Second Interim Application for Compensation and for
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
   08/24/2020             for the Period from April, 2020 through July 31, 2020 for Foley Gardere). (O'Neil, Holland)

                             989 (1 pg) Order granting motion to appear pro hac vice adding Tracy M. O'Steen for
                          Integrated Financial Associates, Inc. (related document # 984) Entered on 8/25/2020.
   08/25/2020             (Okafor, M.)

                             990 (7 pgs) Order approving second joint stipulation extending response deadline to
                          Debtor's objection to proof of claim No. 93 of Integrated Financial Associates, Inc. (RE:
                          related document(s)987 Stipulation filed by Debtor Highland Capital Management, L.P.).
   08/25/2020             Entered on 8/25/2020 (Okafor, M.)

   08/25/2020                991 (7 pgs) Certificate of service re: 1) Amended Notice of Status Conference; to be Held
                          on October 6, 2020 at 1:30 p.m. (Central Time); and 2) Order Approving Joint Stipulation
                          Extending Response Deadline to Debtor's Objection to Proof of Claim No. 93 of Integrated
                          Financial Associates, Inc. Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)977 Amended Notice of hearing (Amended Notice of Status Conference) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)928 Objection to
                          claim(s) of Creditor(s) UBS Securities LLC and UBS AG, London Branch.. Filed by Debtor
                          Highland Capital Management, L.P.. Responses due by 9/9/2020. (Attachments: # 1 Exhibit
                          18 # 2 Exhibit 19)). Status Conference to be held on 10/6/2020 at 01:30 PM at Dallas Judge
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                          Jernigan Ctrm. filed by Debtor Highland Capital Management, L.P., 978 Order approving
                          joint stipulation extending response deadline to Debtor's objection to proof of claim No. 93
                          of Integrated Financial Associates, Inc. (RE: related document(s)970 Stipulation filed by
                          Debtor Highland Capital Management, L.P.). Entered on 8/20/2020 (Okafor, M.)). (Kass,
                          Albert)

                             992 (11 pgs) Certificate of service re: 1) Affidavit of Service of Karina Yee re: Action by
                          Written Consent of Stockholders in Lieu of Special Meeting (Cornerstone Healthcare Group
                          Holding, Inc.); 2) Joint Stipulation Regarding Modification to Order Approving Ordinary
                          Course Professionals for Robert Half Legal; and 3) Agreed Scheduling Order Regarding
                          Objections to Proof of Claim of Acis Capital Management, L.P. and Acis Capital
                          Management GP, LLC Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)981 Certificate (Affidavit of Service) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 982 Stipulation by
                          Highland Capital Management, L.P. and Official Committee of Unsecured Creditors. filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). filed
                          by Debtor Highland Capital Management, L.P., 983 Agreed Scheduling Order and Order
                          setting hearing on any timely filed Summary Judgment Motion and Summary Judgment
                          Response (RE: related document(s)771 Objection to claim filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 10/20/2020 at 09:30 AM Dallas Judge Jernigan
                          Ctrm for 771, Entered on 8/21/2020 (Okafor, M.) Modified text on 8/21/2020 (Okafor, M.).).
   08/25/2020             (Kass, Albert)

                             993 (1 pg) Request for transcript regarding a hearing held on 8/19/2020. The requested
   08/26/2020             turn-around time is daily. (Edmond, Michael)

   08/26/2020                994 (2 pgs) Response opposed to (related document(s): 906 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Creditor Paul N. Adkins . (Dugan, S.)
                          Filed by Creditor Paul N. Adkins (related document(s)906 Objection to claim(s) of
                          Creditor(s) Daniel Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern Point Trust
                          Company, Inc.; Collin County Tax Assessor/Collector; Collin County Tax
                          Assessor/Collector; Dallas County; Opus 2 International Inc.; Andrew Parmentier; 4CAST
                          Inc.; Advent Software Inc.; ConvergeOne, Inc.; Denton County; Internal Revenue Service;
                          Kaufman County; Maples and Calder; McLagen Partners, Inc.; Microsoft Corporation and
                          Microsoft Licensing GP, a Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.;
                          Quintairos, Prieto, Wood & Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors,
                          LLC; HCRE Partner, LLC; Highland Capital Management Fund Advisors; Highland Capital
                          Management Fund Advisors; Highland Capital Management Services, Inc.; Highland Capital
                          Management Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund;
                          Highland Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global
                          Allocation Fund; Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan
                          ETF; Highland Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total
                          Return Fund; NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint
                          Capital, Inc.; NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy
                          and Material Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare
                          Opportunities Fund; NexPoint Latin America Opportunities Fund; NexPoint Real Estate
                          Strategies Fund; NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust;
                          The Dugaboy Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point
                          Trust Company, Inc.; Garland Independent School District; Grayson County; HarbourVest
                          2017 Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on
                          behalf of funds and accounts under management; HarbourVest Dover Street IX Investment

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                          L.P.; HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John
                          R. Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications
                          Inc.; Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7) filed by Debtor Highland Capital Management, L.P.). (COURT
                          NOTE: Signature of filer not included. Amended response with signature requested) (Dugan,
                          S.)

                             995 (19 pgs; 2 docs) Adversary case 20-03105. Complaint by Highland Capital
                          Management, L.P. against Hunter Mountain Investment Trust. Fee Amount $350
                          (Attachments: # 1 Adversary Proceeding Cover Sheet). Nature(s) of suit: 81 (Subordination
   08/26/2020             of claim or interest). 91 (Declaratory judgment). (Annable, Zachery)

                            996 (34 pgs) Objection to claim(s) of Creditor(s) Redeemer Committee of the Highland
                          Crusader Fund - Proof of Claim No. 72.. Filed by Interested Parties UBS AG London
   08/26/2020             Branch, UBS Securities LLC. (Sosland, Martin)

                            997 (9 pgs; 2 docs) Motion to file document under seal.(With the Objection to the Proof of
                          Claim Filed by Redeemer Committee of the Highland Crusader Fund) Filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC (Attachments: # 1 Proposed Order Ex
   08/26/2020             A) (Sosland, Martin)

                             998 (20 pgs) Transcript regarding Hearing Held 08/19/2020 (20 pages) RE: Status
                          Conference on Objection to Claim. THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 11/24/2020. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 968 Hearing held on 8/19/2020. (RE: related document(s)771 Objection to
                          claim(s) 3 of Creditor(s) Acis Capital Management L.P. and Acis Capital Management GP,
                          LLC., filed by Debtor Highland Capital Management, L.P., (Appearances: J. Pomeranz, I.
                          Karesh, Z. Annabel, and M. Hayward for Debtors; R. Patel and B. Shaw for Acis; P.
                          Montgomery for Unsecured Creditors Committee; J. Bonds for J. Dondero; A. Clubock for
                          UBS; T. Masherin for Crusader Redeemer Committee. Nonevidentiary status conference.
                          Court heard and approved concept for a partial scheduling order, contemplating cross
                          motions for summary judgment and setting thereon for 10/20/20 at 9:30 am to the extend this
                          matter is not resolved in mediation. Mr. Pomeranz to draft order consistent with the terms of
                          what was announced.)). Transcript to be made available to the public on 11/24/2020.
   08/26/2020             (Rehling, Kathy)

                             999 (10 pgs; 2 docs) Motion to file document under seal. (Debtor's Motion for Entry of an
                          Order Authorizing Filing under Seal Certain of the Exhibits to Debtor's Objection to Proofs
                          of Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable,
   08/27/2020             Zachery)

   08/27/2020               1000 (14 pgs) Certificate of service re: 1) Order Approving Joint Stipulation Regarding
                          Modification to Order Approving Ordinary Course Professionals for Robert Half Legal; 2)
                          Second Joint Stipulation Extending Response Deadline to Debtor's Objection to Proof of
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                          Claim No. 93 of Integrated Financial Associates, Inc.; and 3) Supplement to the Second
                          Interim Application for Compensation and Reimbursement of Expenses of Foley & Lardner
                          LLP as Special Texas Counsel to the Debtor for the Period from April 1, 2020 Through July
                          21, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)986
                          Order approving joint stipulation regarding modification to order approving ordinary course
                          professionals for Robert Half Legal (RE: related document(s)982 Stipulation filed by Debtor
                          Highland Capital Management, L.P.). Entered on 8/24/2020 (Okafor, M.), 987 Stipulation by
                          Highland Capital Management, L.P. and Integrated Financial Associates, Inc.. filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)868 Objection to
                          claim). filed by Debtor Highland Capital Management, L.P., 988 Support/supplemental
                          document Supplement to Second Interim Application for Compensation and for
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
                          for the Period from April, 2020 through July 31, 2020 filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP (RE: related document(s)924 Application for compensation Second
                          Interim Application for Compensation and for Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from April, 2020 through
                          July 31, 2020 for Foley Gardere). (O'Neil, Holland) filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP). (Kass, Albert)

                             1001 (11 pgs) Certificate of service re: Order Approving Second Joint Stipulation
                          Extending Response Deadline to Debtor's Objection to Proof of Claim No. 93 of Integrated
                          Financial Associates, Inc. Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)990 Order approving second joint stipulation extending response deadline to
                          Debtor's objection to proof of claim No. 93 of Integrated Financial Associates, Inc. (RE:
                          related document(s)987 Stipulation filed by Debtor Highland Capital Management, L.P.).
   08/27/2020             Entered on 8/25/2020 (Okafor, M.)). (Kass, Albert)

                             1002 (14 pgs) Response unopposed to (related document(s): 924 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from April, 2020 through July 31, 2020 for Foley Gardere filed by Spec. Counsel Foley
                          Gardere, Foley & Lardner LLP) filed by Acis Capital Management GP, LLC, Acis Capital
   08/27/2020             Management, L.P.. (Chiarello, Annmarie)

                             1003 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)989
                          Order granting motion to appear pro hac vice adding Tracy M. O'Steen for Integrated
                          Financial Associates, Inc. (related document 984) Entered on 8/25/2020. (Okafor, M.)) No.
   08/27/2020             of Notices: 1. Notice Date 08/27/2020. (Admin.)

                             1004 (12 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)990
                          Order approving second joint stipulation extending response deadline to Debtor's objection to
                          proof of claim No. 93 of Integrated Financial Associates, Inc. (RE: related document(s)987
                          Stipulation filed by Debtor Highland Capital Management, L.P.). Entered on 8/25/2020
   08/27/2020             (Okafor, M.)) No. of Notices: 1. Notice Date 08/27/2020. (Admin.)

                            1005 (2 pgs) Order granting motion to seal certain of the exhibits to proofs of claim 190
                          and 191 of UBS Securities and UBS AG, London Branch (related document # 999) Entered
   08/28/2020             on 8/28/2020. (Okafor, M.)

                             1006 (2 pgs) Amended Response opposed to (related document(s): 906 Objection to
                          claim filed by Debtor Highland Capital Management, L.P.) filed by Creditor Paul N. Adkins .
   08/31/2020             (Rielly, Bill)

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   08/31/2020                1007 (3 pgs) Amended Notice of hearing (Amended Notice of Hearing on Objection to
                          Proof of Claim No. 93 of Integrated Financial Associates, Inc.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)868 Objection to claim(s) of Creditor(s)
                          Integrated Financial Associates, Inc... Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 8/19/2020.). Hearing to be held on 10/14/2020 at 01:30 PM Dallas Judge
                          Jernigan Ctrm for 868, (Annable, Zachery)

                            1008 (25 pgs; 2 docs) Adversary case 20-03107. Complaint by Highland Capital
                          Management, L.P. against Patrick Daugherty. Fee Amount $350 (Attachments: # 1 Adversary
   08/31/2020             Cover Sheet). Nature(s) of suit: 81 (Subordination of claim or interest). (Annable, Zachery)

                            1009 SEALED document regarding: Exhibit 20 to Debtor's Objection to Proofs of
                          Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1005
   08/31/2020             Order on motion to seal). (Annable, Zachery)

                            1010 SEALED document regarding: Exhibit 21 to Debtor's Objection to Proofs of
                          Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1005
   08/31/2020             Order on motion to seal). (Annable, Zachery)

                            1011 SEALED document regarding: Exhibit 22 to Debtor's Objection to Proofs of
                          Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1005
   08/31/2020             Order on motion to seal). (Annable, Zachery)

                            1012 SEALED document regarding: Exhibit 23 to Debtor's Objection to Proofs of
                          Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1005
   08/31/2020             Order on motion to seal). (Annable, Zachery)

                            1013 SEALED document regarding: Exhibit 24 to Debtor's Objection to Proofs of
                          Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1005
   08/31/2020             Order on motion to seal). (Annable, Zachery)

                             1014 (9 pgs) Debtor-in-possession monthly operating report for filing period July 1, 2020
   09/01/2020             to July 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1015 (4 pgs) Stipulation by Highland Capital Management, L.P. and Integrated Financial
                          Associates, Inc.. filed by Debtor Highland Capital Management, L.P. (RE: related
   09/01/2020             document(s)868 Objection to claim). (Annable, Zachery)

                            1016 (3 pgs) Certificate No Objection filed by Other Professional Hayward & Associates
                          PLLC (RE: related document(s)917 Application for compensation (Sixth Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
                          PLLC as Local Counsel to the Debtor for the Period from May 1, 2020 through May 31,
   09/01/2020             2020) for Hayward & Associate). (Annable, Zachery)

   09/01/2020               1017 (3 pgs) Certificate No Objection filed by Other Professional Hayward & Associates
                          PLLC (RE: related document(s)931 Application for compensation (Seventh Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
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                          PLLC as Local Counsel to the Debtor for the Period from June 1, 2020 through June 30,
                          2020) for Hayward & Assoc). (Annable, Zachery)

                            1018 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)934 Application for compensation Eighth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   09/01/2020             Period: 6/1/2020 to 6/30/2020, Fee: $328,185.72, Expenses: $440.33.). (Hoffman, Juliana)

                            1019 (5 pgs) Objection to (related document(s): 906 Objection to claim Filed by Debtor
                          Highland Capital Management, L.P. filed by Creditor COLLIN COUNTY TAX
                          ASSESSOR/COLLECTOR. (Lopez, Paul). MODIFIED to correct linkage on 9/2/2020
   09/01/2020             (Ecker, C.).

                             1020 (7 pgs) Certificate of service re: Debtor's Motion for Entry of an Order Authorizing
                          Filing under Seal Certain of the Exhibits to Debtor's Objection to Proofs of Claim 190 and
                          191 of UBS Securities LLC and UBS AG, London Branch Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)999 Motion to file document under seal.
                          (Debtor's Motion for Entry of an Order Authorizing Filing under Seal Certain of the Exhibits
                          to Debtor's Objection to Proofs of Claim 190 and 191 of UBS Securities LLC and UBS AG,
                          London Branch) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A--Proposed Order) filed by Debtor Highland Capital Management, L.P.). (Kass,
   09/01/2020             Albert)

                             1021 (7 pgs) Order approving third joint stipulation extending response deadline to
                          Debtor's objection to proof of claim No. 93 of Integrated Financial Associates, Inc (RE:
                          related document(s)1015 Stipulation filed by Debtor Highland Capital Management, L.P.).
   09/02/2020             Entered on 9/2/2020 (Okafor, M.)

                             1022 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)936 Application for compensation Tenth Monthly Application
                          for Compensation and for Reimbursement of Expenses for the Period from July 1, 2020
                          through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 7/1/2020 to
   09/02/2020             7/31/2020, F). (Pomerantz, Jeffrey)

                             1023 (7 pgs) Certificate of service re: Order Granting Debtor's Motion for Entry of an
                          Order Authorizing Filing Under Seal Certain of the Exhibits to Debtor's Objection to Proofs
                          of Claim 190 and 191 of UBS Securities LLC and UBS AG, London Branch Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1005 Order granting motion
                          to seal certain of the exhibits to proofs of claim 190 and 191 of UBS Securities and UBS AG,
   09/02/2020             London Branch (related document 999) Entered on 8/28/2020. (Okafor, M.)). (Kass, Albert)

                             1024 (11 pgs) Certificate of service re: Amended Notice of Hearing on Objection to Proof
                          of Claim No. 93 of Integrated Financial Associates, Inc.; to be Held on October 14, 2020 at
                          1:30 PM (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1007 Amended Notice of hearing (Amended Notice of Hearing on Objection to
                          Proof of Claim No. 93 of Integrated Financial Associates, Inc.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)868 Objection to claim(s) of Creditor(s)
                          Integrated Financial Associates, Inc... Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 8/19/2020.). Hearing to be held on 10/14/2020 at 01:30 PM Dallas Judge
   09/03/2020             Jernigan Ctrm for 868, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   09/04/2020                 1025 (21 pgs; 3 docs) Motion to compromise controversy with Carey International, Inc..
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                          (Motion of the Debtor for Entry of an Order Approving Settlement with Carey International,
                          Inc. [Claim No. 68] and Authorizing Actions Consistent Therewith) Filed by Debtor
                          Highland Capital Management, L.P. Objections due by 9/28/2020. (Attachments: # 1 Exhibit
                          A--Proposed Order # 2 Exhibit B--Settlement Agreement) (Annable, Zachery)

                              1026 (5 pgs) Objection to (related document(s): 949 Motion to extend or limit the
                          exclusivity period (RE: related document(s)820 Order on motion to extend/shorten time)
                          filed by Debtor Highland Capital Management, L.P.) filed by Creditor Committee Official
   09/04/2020             Committee of Unsecured Creditors. (Hoffman, Juliana)

                              1027 (11 pgs) Certificate of service re: Third Joint Stipulation Extending Response
                          Deadline to Debtor's Objection to Proof of Claim No. 93 of Integrated Financial Associates,
                          Inc. Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1015
                          Stipulation by Highland Capital Management, L.P. and Integrated Financial Associates, Inc..
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)868 Objection
   09/04/2020             to claim). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1028 (37 pgs) Witness and Exhibit List for Hearing on September 10, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)831 Application for
                          compensation Sidley Austin LLP's Second Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,5, 883 Application for compensation Second
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee: $1,488,533.4, Expenses:
                          $23,515.26., 924 Application for compensation Second Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from April, 2020 through July 31, 2020 for Foley
                          Gardere, 949 Motion to extend or limit the exclusivity period (RE: related document(s)820
                          Order on motion to extend/shorten time), 964 Application for compensation (Hayward &
                          Associates PLLC's Second Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from April 1, 2020 through June 30, 2020) for Hayward &
                          Associates PLLC, Debtor's Attorn, 971 Application for compensation Second Interim
                          Application for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl
                          & Jones LLP as Counsel for the Debtor and Debtor in Possession for the Period from April
                          1, 2020 through July 31, 202, 972 Application for compensation Second Interim Application
                          for Compensation and for Reimbursement of Expenses of Mercer (US) Inc. as Compensation
                          Consultant for the Debtor for the Period from March 1, 2020 through May 31, 2020 for
                          Mercer (US), 975 Application for compensation (Consolidated Monthly and First Interim
                          Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of Compensation
                          for Services Rendered and Reimbursement of Expenses as Regulatory and Compliance
   09/05/2020             Counsel for). (Hayward, Melissa)

                             1029 (11 pgs) Certificate of service re: Order Approving Third Joint Stipulation
                          Extending Response Deadline to Debtor's Objection to Proof of Claim No. 93 of Integrated
                          Financial Associates, Inc. Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1021 Order approving third joint stipulation extending response deadline to
                          Debtor's objection to proof of claim No. 93 of Integrated Financial Associates, Inc (RE:
                          related document(s)1015 Stipulation filed by Debtor Highland Capital Management, L.P.).
   09/08/2020             Entered on 9/2/2020 (Okafor, M.)). (Kass, Albert)

   09/08/2020               1030 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to July 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
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                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
                          Zachery)

                             1031 (3 pgs) Motion to appear pro hac vice for James E. O'Neill. Fee Amount $100 Filed
   09/09/2020             by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   09/09/2020             ( 100.00). Receipt number 28083098, amount $ 100.00 (re: Doc# 1031). (U.S. Treasury)

   09/09/2020                1032 (8 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on September
                          10, 2020 at 2:30 p.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)976 Notice of hearing (Omnibus Notice of Hearing on Second
                          Interim Applications for Compensation and Reimbursement of Expenses of Estate
                          Professionals) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)831 Application for compensation Sidley Austin LLP's Second Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,573,850.25, Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F), 883
                          Application for compensation Second Interim Application for Compensation and
                          Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to
                          5/31/2020, Fee: $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by 8/11/2020.,
                          924 Application for compensation Second Interim Application for Compensation and for
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
                          for the Period from April, 2020 through July 31, 2020 for Foley Gardere, Foley & Lardner
                          LLP, Special Counsel, Period: 4/1/2020 to 7/31/2020, Fee: $87,931.00, Expenses: $833.49.
                          Filed by Attorney Holland N. O'Neil Objections due by 8/27/2020. (Attachments: # 1 Exhibit
                          A - Invoices # 2 Proposed Order Exhibit B - Proposed Order) (O'Neil, Holland), 964
                          Application for compensation (Hayward & Associates PLLC's Second Interim Application
                          for Compensation and Reimbursement of Expenses for the Period from April 1, 2020 through
                          June 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to
                          6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--Invoices), 971 Application for compensation
                          Second Interim Application for Compensation and for Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for
                          the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by
                          Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020., 972 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Mercer (US) Inc. as Compensation Consultant for the Debtor for the Period
                          from March 1, 2020 through May 31, 2020 for Mercer (US) Inc., Consultant, Period:
                          3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer
                          (US) Inc. Objections due by 9/9/2020., 975 Application for compensation (Consolidated
                          Monthly and First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for
                          Allowance of Compensation for Services Rendered and Reimbursement of Expenses as
                          Regulatory and Compliance Counsel for the Period November 1, 2019 through June 30,
                          2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to
                          6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer

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                          Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3
                          Exhibit B)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for
                          964 and for 831 and for 975 and for 972 and for 971 and for 924 and for 883,). (Annable,
                          Zachery)

                             1033 (3 pgs) Order granting motion to seal documents (related document # 997) Entered
   09/09/2020             on 9/9/2020. (Okafor, M.)

                             1034 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)975 Application for compensation (Consolidated Monthly and
                          First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of
                          Compensation for Services Rendered and Reimbursement of Expenses as Regulatory and
   09/09/2020             Compliance Counsel for). (Annable, Zachery)

                             1035 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)972 Application for compensation Second Interim Application
                          for Compensation and for Reimbursement of Expenses of Mercer (US) Inc. as Compensation
                          Consultant for the Debtor for the Period from March 1, 2020 through May 31, 2020 for
   09/09/2020             Mercer (US)). (Annable, Zachery)

                             1036 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)971 Application for compensation Second Interim Application
                          for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP
                          as Counsel for the Debtor and Debtor in Possession for the Period from April 1, 2020
   09/09/2020             through July 31, 202). (Annable, Zachery)

                             1037 (3 pgs) Certificate No Objection filed by Other Professional Hayward & Associates
                          PLLC (RE: related document(s)964 Application for compensation (Hayward & Associates
                          PLLC's Second Interim Application for Compensation and Reimbursement of Expenses for
                          the Period from April 1, 2020 through June 30, 2020) for Hayward & Associates PLLC,
   09/09/2020             Debtor's Attorn). (Annable, Zachery)

                             1038 (11 pgs) Certificate of service re: Motion of the Debtor for Entry of an Order
                          Approving Settlement with Carey International, Inc. [Claim No. 68] and Authorizing Actions
                          Consistent Therewith Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1025 Motion to compromise controversy with Carey International, Inc.. (Motion
                          of the Debtor for Entry of an Order Approving Settlement with Carey International, Inc.
                          [Claim No. 68] and Authorizing Actions Consistent Therewith) Filed by Debtor Highland
                          Capital Management, L.P. Objections due by 9/28/2020. (Attachments: # 1 Exhibit A--
                          Proposed Order # 2 Exhibit B--Settlement Agreement) filed by Debtor Highland Capital
   09/09/2020             Management, L.P.). (Kass, Albert)

                             1039 SEALED document regarding: Exhibits B and C to the Objection to the Proof
                          of Claim Filed by Redeemer Committee of the Highland Crusader Fund per court
                          order filed by Interested Parties UBS AG London Branch, UBS Securities LLC (RE: related
                          document(s)1033 Order on motion to seal). (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4 # 4
   09/10/2020             Part 5 # 5 Part 6) (Sosland, Martin)

   09/10/2020                1040 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)969 Application for compensation Sidley
                          Austin, LLP's Ninth Monthly Application for Compensation and Reimbursement of Expenses


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                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 7/1/2020 to
                          7/31/2020, Fee: $531). (Hoffman, Juliana)

                             1041 (9 pgs) Amended Notice (Amended Notice of Agenda of Matters Scheduled for
                          Hearing on September 10, 2020 at 2:30 p.m. (Central Time)) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)976 Notice of hearing (Omnibus Notice
                          of Hearing on Second Interim Applications for Compensation and Reimbursement of
                          Expenses of Estate Professionals) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)831 Application for compensation Sidley Austin LLP's Second Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,573,850.25, Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F), 883
                          Application for compensation Second Interim Application for Compensation and
                          Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to
                          5/31/2020, Fee: $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by 8/11/2020.,
                          924 Application for compensation Second Interim Application for Compensation and for
                          Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor
                          for the Period from April, 2020 through July 31, 2020 for Foley Gardere, Foley & Lardner
                          LLP, Special Counsel, Period: 4/1/2020 to 7/31/2020, Fee: $87,931.00, Expenses: $833.49.
                          Filed by Attorney Holland N. O'Neil Objections due by 8/27/2020. (Attachments: # 1 Exhibit
                          A - Invoices # 2 Proposed Order Exhibit B - Proposed Order) (O'Neil, Holland), 964
                          Application for compensation (Hayward & Associates PLLC's Second Interim Application
                          for Compensation and Reimbursement of Expenses for the Period from April 1, 2020 through
                          June 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to
                          6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--Invoices), 971 Application for compensation
                          Second Interim Application for Compensation and for Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for
                          the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by
                          Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020., 972 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Mercer (US) Inc. as Compensation Consultant for the Debtor for the Period
                          from March 1, 2020 through May 31, 2020 for Mercer (US) Inc., Consultant, Period:
                          3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer
                          (US) Inc. Objections due by 9/9/2020., 975 Application for compensation (Consolidated
                          Monthly and First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for
                          Allowance of Compensation for Services Rendered and Reimbursement of Expenses as
                          Regulatory and Compliance Counsel for the Period November 1, 2019 through June 30,
                          2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to
                          6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer
                          Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3
                          Exhibit B)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for
                          964 and for 831 and for 975 and for 972 and for 971 and for 924 and for 883,). (Annable,
   09/10/2020             Zachery)

   09/10/2020                1061 Hearing held on 9/10/2020., Hearing continued (RE: related document(s)949 Motion
                          to extend or limit the exclusivity period (RE: related document(s)820 Order on motion to
                          extend/shorten time) filed by Debtor Highland Capital Management, L.P.,) Continued
                          Hearing to be held on 9/17/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 949,
                          (Appearances: J. Pomeranz, J. Morris, and J. ONeill for Debtor; M. Clemente for Official
                          Unsecured Creditors Committee; R. Patel and B. Shaw for Acis; A. Clubok for UBS; T.
                          Masherin, M. Hankin and M. Platt for Redeemer Committee; B. Assing for J. Dondero; L.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.257 169/439



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                          Lambert for UST. Evidentiary hearing. Motion continued to 9/17/20 at 9:30 am.) (Edmond,
                          Michael) (Entered: 09/14/2020)

                             1062 Hearing held on 9/10/2020. (RE: related document(s)906 Objection to claim(s) of
                          Creditor(s) Daniel Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern Point Trust
                          Company, Inc.; Collin County Tax Assessor/Collector; Collin County Tax
                          Assessor/Collector; Dallas County; Opus 2 International Inc.; Andrew Parmentier; 4CAST
                          Inc.; Advent Software Inc.; ConvergeOne, Inc.; Denton County; Internal Revenue Service;
                          Kaufman County; Maples and Calder; McLagen Partners, Inc.; Microsoft Corporation and
                          Microsoft Licensing GP, a Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.;
                          Quintairos, Prieto, Wood & Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors,
                          LLC; HCRE Partner, LLC; Highland Capital Management Fund Advisors; Highland Capital
                          Management Fund Advisors; Highland Capital Management Services, Inc.; Highland Capital
                          Management Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund;
                          Highland Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global
                          Allocation Fund; Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan
                          ETF; Highland Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total
                          Return Fund; NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint
                          Capital, Inc.; NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy
                          and Material Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare
                          Opportunities Fund; NexPoint Latin America Opportunities Fund; NexPoint Real Estate
                          Strategies Fund; NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust;
                          The Dugaboy Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point
                          Trust Company, Inc.; Garland Independent School District; Grayson County; HarbourVest
                          2017 Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on
                          behalf of funds and accounts under management; HarbourVest Dover Street IX Investment
                          L.P.; HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John
                          R. Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications
                          Inc.; Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.,) (Appearances: J. Pomeranz, J. Morris, and J. ONeill for Debtor; M.
                          Clemente for Official Unsecured Creditors Committee; R. Patel and B. Shaw for Acis; A.
                          Clubok for UBS; T. Masherin, M. Hankin and M. Platt for Redeemer Committee; B. Assing
                          for J. Dondero; L. Lambert for UST. Nonevidentiary hearing. Based on record presented by
                          counsel, certain objections sustained, certain objections resolved, and certain ones carried to
                          a date to be continued. Counsel to upload orders where appropriate and seeking resettings
   09/10/2020             where appropriate.) (Edmond, Michael) (Entered: 09/14/2020)

                             1042 (3 pgs) Agreed Order regarding first omnibus objection to certain claims -
                          administrative claim of Internal Revenue Service (RE: related document(s)906 Objection to
                          claim filed by Debtor Highland Capital Management, L.P.). Entered on 9/11/2020 (Dugan,
   09/11/2020             S.)

                             1043 (2 pgs) Order granting application for compensation (related document # 971)
                          granting for Jeffrey Nathan Pomerantz, fees awarded: $3470794.50, expenses awarded:
   09/11/2020             $12205.15 Entered on 9/11/2020. (Dugan, S.)

   09/11/2020                1044 (2 pgs) Order granting application for compensation (related document # 975)
                          granting for Wilmer Cutler Pickering Hale and Dorr LLP, fees awarded: $615941.40,
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                          expenses awarded: $2701.56 Entered on 9/11/2020. (Dugan, S.)

                             1045 (3 pgs) Order granting application for compensation (related document # 924)
                          granting for Foley Gardere, Foley & Lardner LLP, fees awarded: $63144.80, expenses
   09/11/2020             awarded: $833.49 Entered on 9/11/2020. (Ecker, C.)

                             1046 (2 pgs) Order granting application for compensation (related document # 972)
                          granting for Mercer (US) Inc., fees awarded: $54029.98, expenses awarded: $297.68 Entered
   09/11/2020             on 9/11/2020. (Ecker, C.)

                             1047 (2 pgs) Order granting application for compensation (related document # 964)
                          granting for Hayward & Associates PLLC, fees awarded: $60210.00, expenses awarded:
   09/11/2020             $525.80 Entered on 9/11/2020. (Ecker, C.)

                             1048 (2 pgs) Order granting application for compensation (related document # 831)
                          granting for Official Committee of Unsecured Creditors, fees awarded: $1573850.25,
   09/11/2020             expenses awarded: $22930.21 Entered on 9/11/2020. (Ecker, C.)

                             1049 (1 pg) Request for transcript regarding a hearing held on 9/11/2020. The requested
   09/11/2020             turn-around time is daily. (Edmond, Michael)

                             1050 (1 pg) Order granting motion to appear pro hac vice adding James E. O'Neill for
                          Highland Capital Management, L.P. (related document # 1031) Entered on 9/11/2020. (Ecker,
   09/11/2020             C.)

                             1051 (2 pgs) Order granting application for compensation (related document # 883)
                          granting for FTI Consulting, Inc., fees awarded: $1488533.40, expenses awarded: $23515.26
   09/11/2020             Entered on 9/11/2020. (Ecker, C.)

                             1052 (4 pgs) Motion to appear pro hac vice for Erica S. Weisgerber. Fee Amount $100
   09/11/2020             Filed by Creditor HarbourVest et al (Driver, Vickie)

                             1053 (3 pgs) Motion to appear pro hac vice for Daniel E. Stroik. Fee Amount $100 Filed
   09/11/2020             by Creditor HarbourVest et al (Driver, Vickie)

                             1054 (3 pgs) Motion to appear pro hac vice for M. Natasha Labovitz. Fee Amount $100
   09/11/2020             Filed by Creditor HarbourVest et al (Driver, Vickie)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   09/11/2020             ( 100.00). Receipt number 28091874, amount $ 100.00 (re: Doc# 1052). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   09/11/2020             ( 100.00). Receipt number 28091874, amount $ 100.00 (re: Doc# 1053). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   09/11/2020             ( 100.00). Receipt number 28091874, amount $ 100.00 (re: Doc# 1054). (U.S. Treasury)

   09/11/2020                1055 (26 pgs) Application for compensation Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 7/1/2020 to 7/31/2020, Fee: $182,490.32, Expenses: $1,392.77. Filed by Attorney
                          Juliana Hoffman Objections due by 10/2/2020. (Hoffman, Juliana)
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                             1056 (21 pgs) Certificate of service re: 1) Witness and Exhibit List for Hearing on
                          September 10, 2020; 2) WebEx Meeting Invitation to participate electronically in the hearing
                          on Thursday, September 10, 2020 at 2:30 p.m. Central Time before the Honorable Stacey G.
                          Jernigan; and 3) Instructions for any counsel and parties who wish to participate in the
                          Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1028 Witness and Exhibit List for Hearing on September 10, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)831 Application for
                          compensation Sidley Austin LLP's Second Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,5, 883 Application for compensation Second
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee: $1,488,533.4, Expenses:
                          $23,515.26., 924 Application for compensation Second Interim Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from April, 2020 through July 31, 2020 for Foley
                          Gardere, 949 Motion to extend or limit the exclusivity period (RE: related document(s)820
                          Order on motion to extend/shorten time), 964 Application for compensation (Hayward &
                          Associates PLLC's Second Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from April 1, 2020 through June 30, 2020) for Hayward &
                          Associates PLLC, Debtor's Attorn, 971 Application for compensation Second Interim
                          Application for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl
                          & Jones LLP as Counsel for the Debtor and Debtor in Possession for the Period from April
                          1, 2020 through July 31, 202, 972 Application for compensation Second Interim Application
                          for Compensation and for Reimbursement of Expenses of Mercer (US) Inc. as Compensation
                          Consultant for the Debtor for the Period from March 1, 2020 through May 31, 2020 for
                          Mercer (US), 975 Application for compensation (Consolidated Monthly and First Interim
                          Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of Compensation
                          for Services Rendered and Reimbursement of Expenses as Regulatory and Compliance
   09/11/2020             Counsel for). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1057 (617 pgs; 5 docs) Response to (related document(s): 906 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Creditor HarbourVest et al.
                          (Attachments: # 1 Appendix Part 1 # 2 Appendix Part 2 # 3 Appendix Part 3 # 4 Appendix
   09/11/2020             Part 4) (Driver, Vickie). Modified linkage on 9/14/2020 (Rielly, Bill).

                            1058 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1044
                          Order granting application for compensation (related document 975) granting for Wilmer
                          Cutler Pickering Hale and Dorr LLP, fees awarded: $615941.40, expenses awarded:
                          $2701.56 Entered on 9/11/2020. (Dugan, S.)) No. of Notices: 1. Notice Date 09/13/2020.
   09/13/2020             (Admin.)

                            1059 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1046
                          Order granting application for compensation (related document 972) granting for Mercer
                          (US) Inc., fees awarded: $54029.98, expenses awarded: $297.68 Entered on 9/11/2020.
   09/13/2020             (Ecker, C.)) No. of Notices: 1. Notice Date 09/13/2020. (Admin.)

                            1060 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1050
                          Order granting motion to appear pro hac vice adding James E. O'Neill for Highland Capital
                          Management, L.P. (related document 1031) Entered on 9/11/2020. (Ecker, C.)) No. of
   09/13/2020             Notices: 1. Notice Date 09/13/2020. (Admin.)

   09/14/2020                 1063 (20 pgs) Certificate of service re: 1) Motion for Admission Pro Hac Vice of James E.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.260 172/439



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                          O'Neill to Represent Highland Capital Management, L.P; and 2) Notice of Agenda of
                          Matters Scheduled for Hearing on September 10, 2020 at 2:30 p.m. (Central Time) Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1031 Motion to
                          appear pro hac vice for James E. O'Neill. Fee Amount $100 Filed by Debtor Highland
                          Capital Management, L.P. filed by Debtor Highland Capital Management, L.P., 1032 Notice
                          (Notice of Agenda of Matters Scheduled for Hearing on September 10, 2020 at 2:30 p.m.
                          (Central Time)) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)976 Notice of hearing (Omnibus Notice of Hearing on Second Interim
                          Applications for Compensation and Reimbursement of Expenses of Estate Professionals)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)831
                          Application for compensation Sidley Austin LLP's Second Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 3/1/2020 to 5/31/2020, Fee: $1,573,850.25,
                          Expenses: $22,930.21. Filed by Objections due by 8/4/2020. (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F), 883 Application for
                          compensation Second Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020, Fee:
                          $1,488,533.4, Expenses: $23,515.26. Filed by Objections due by 8/11/2020., 924 Application
                          for compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Foley & Lardner LLP as Special Texas Counsel to the Debtor for the Period
                          from April, 2020 through July 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special
                          Counsel, Period: 4/1/2020 to 7/31/2020, Fee: $87,931.00, Expenses: $833.49. Filed by
                          Attorney Holland N. O'Neil Objections due by 8/27/2020. (Attachments: # 1 Exhibit A -
                          Invoices # 2 Proposed Order Exhibit B - Proposed Order) (O'Neil, Holland), 964 Application
                          for compensation (Hayward & Associates PLLC's Second Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from April 1, 2020 through
                          June 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 4/1/2020 to
                          6/30/2020, Fee: $60,570.00, Expenses: $525.80. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--Invoices), 971 Application for compensation
                          Second Interim Application for Compensation and for Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for
                          the Period from April 1, 2020 through July 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 4/1/2020 to 7/31/2020, Fee: $3,475,794.50, Expenses: $12,205.15. Filed by
                          Attorney Jeffrey Nathan Pomerantz Objections due by 9/9/2020., 972 Application for
                          compensation Second Interim Application for Compensation and for Reimbursement of
                          Expenses of Mercer (US) Inc. as Compensation Consultant for the Debtor for the Period
                          from March 1, 2020 through May 31, 2020 for Mercer (US) Inc., Consultant, Period:
                          3/1/2020 to 5/31/2020, Fee: $54,029.98, Expenses: $2,151.69. Filed by Consultant Mercer
                          (US) Inc. Objections due by 9/9/2020., 975 Application for compensation (Consolidated
                          Monthly and First Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for
                          Allowance of Compensation for Services Rendered and Reimbursement of Expenses as
                          Regulatory and Compliance Counsel for the Period November 1, 2019 through June 30,
                          2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Special Counsel, Period: 11/1/2019 to
                          6/30/2020, Fee: $615,941.40, Expenses: $2,701.56. Filed by Other Professional Wilmer
                          Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3
                          Exhibit B)). Hearing to be held on 9/10/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for
                          964 and for 831 and for 975 and for 972 and for 971 and for 924 and for 883,). filed by
                          Debtor Highland Capital Management, L.P.). (Kass, Albert)

   09/16/2020                1064 (49 pgs) Transcript regarding Hearing Held 09/10/2020 (49 pages) RE: Fee
                          Applications; Motion to Extend; Omnibus Objection to Claims. THIS TRANSCRIPT WILL
                          BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS
                          AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 12/15/2020. Until
                          that time the transcript may be viewed at the Clerk's Office or a copy may be obtained from
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.261 173/439



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                          the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1061 Hearing held on 9/10/2020., Hearing continued (RE: related
                          document(s)949 Motion to extend or limit the exclusivity period (RE: related
                          document(s)820 Order on motion to extend/shorten time) filed by Debtor Highland Capital
                          Management, L.P.,) Continued Hearing to be held on 9/17/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 949, (Appearances: J. Pomeranz, J. Morris, and J. ONeill for Debtor; M.
                          Clemente for Official Unsecured Creditors Committee; R. Patel and B. Shaw for Acis; A.
                          Clubok for UBS; T. Masherin, M. Hankin and M. Platt for Redeemer Committee; B. Assing
                          for J. Dondero; L. Lambert for UST. Evidentiary hearing. Motion continued to 9/17/20 at
                          9:30 am.), 1062 Hearing held on 9/10/2020. (RE: related document(s)906 Objection to
                          claim(s) of Creditor(s) Daniel Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern
                          Point Trust Company, Inc.; Collin County Tax Assessor/Collector; Collin County Tax
                          Assessor/Collector; Dallas County; Opus 2 International Inc.; Andrew Parmentier; 4CAST
                          Inc.; Advent Software Inc.; ConvergeOne, Inc.; Denton County; Internal Revenue Service;
                          Kaufman County; Maples and Calder; McLagen Partners, Inc.; Microsoft Corporation and
                          Microsoft Licensing GP, a Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.;
                          Quintairos, Prieto, Wood & Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors,
                          LLC; HCRE Partner, LLC; Highland Capital Management Fund Advisors; Highland Capital
                          Management Fund Advisors; Highland Capital Management Services, Inc.; Highland Capital
                          Management Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund;
                          Highland Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global
                          Allocation Fund; Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan
                          ETF; Highland Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger
                          Arbitrage Fund; Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund;
                          Highland Socially Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total
                          Return Fund; NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint
                          Capital, Inc.; NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy
                          and Material Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare
                          Opportunities Fund; NexPoint Latin America Opportunities Fund; NexPoint Real Estate
                          Strategies Fund; NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust;
                          The Dugaboy Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point
                          Trust Company, Inc.; Garland Independent School District; Grayson County; HarbourVest
                          2017 Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on
                          behalf of funds and accounts under management; HarbourVest Dover Street IX Investment
                          L.P.; HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John
                          R. Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications
                          Inc.; Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.,) (Appearances: J. Pomeranz, J. Morris, and J. ONeill for Debtor; M.
                          Clemente for Official Unsecured Creditors Committee; R. Patel and B. Shaw for Acis; A.
                          Clubok for UBS; T. Masherin, M. Hankin and M. Platt for Redeemer Committee; B. Assing
                          for J. Dondero; L. Lambert for UST. Nonevidentiary hearing. Based on record presented by
                          counsel, certain objections sustained, certain objections resolved, and certain ones carried to
                          a date to be continued. Counsel to upload orders where appropriate and seeking resettings
                          where appropriate.)). Transcript to be made available to the public on 12/15/2020. (Rehling,
                          Kathy)

   09/16/2020                1065 (52 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from July 1, 2020 through July 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)342 Order granting application
                          to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
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                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor,
                          Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor,
                          M.), 853 Order granting application to employ Development Specialists, Inc. as Other
                          Professional (related document 775) Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

                             1066 (12 pgs) Certificate of service re: Documents Served on September 11, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1042 Agreed
                          Order regarding first omnibus objection to certain claims - administrative claim of Internal
                          Revenue Service (RE: related document(s)906 Objection to claim filed by Debtor Highland
                          Capital Management, L.P.). Entered on 9/11/2020 (Dugan, S.), 1048 Order granting
                          application for compensation (related document 831) granting for Official Committee of
                          Unsecured Creditors, fees awarded: $1573850.25, expenses awarded: $22930.21 Entered on
                          9/11/2020. (Ecker, C.), 1051 Order granting application for compensation (related document
                          883) granting for FTI Consulting, Inc., fees awarded: $1488533.40, expenses awarded:
   09/16/2020             $23515.26 Entered on 9/11/2020. (Ecker, C.)). (Kass, Albert)

                            1214 (10 pgs; 2 docs) Motion for partial summary judgment on proof of claim(s) 190 and
                          191 of UBS Securities LLC and UBS AG, London Branch filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A - Proposed Order) (RE: Related document(s)
                          928 Objection to claim filed by Debtor Highland Capital Management, L.P.) (Rielly, Bill).
   09/16/2020             (Entered: 10/19/2020)

                             1067 Hearing held and conduct as as Status Conference on 9/17/2020. (RE: related
                          document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P. and
                          Acis Capital Management GP, LLC., filed by Debtor Highland Capital Management, L.P.)
                          (Appearances: J. Pomeranz for Debtor; M. Clemente for Unsecured Creditors Committee; R.
                          Patel for Acis. Nonevidentiary status conference and continued hearing on Debtors
                          Exclusivity Motion. Court heard reports of continuation of negotiations with regard to Mr.
                          Dondero and between Committee and Debtor with regard to Plan issues. Debtor will file a
                          revised (unsealed) disclosure statement and plan on 9/21/20 and court orally agreed to
                          extension of exclusivity for solicitation through 12/4/20. Court approved certain deadlines
                          suggested for a motion to establish voting procedures (with a 10/22/20 hearing for such
                          motion and the disclosure statement) and court orally approved using 10/20/20 for a hearing
                          on two Rule 9019 motions that will be filed by 9/23/20 with regard to Acis settlement and
   09/17/2020             Redeemer Committee settlement). Counsel to upload order(s).) (Edmond, Michael)

                            1068 (1 pg) Order granting motion to appear pro hac vice adding Erica S. Weisgerber for
   09/17/2020             HarbourVest et al (related document # 1052) Entered on 9/17/2020. (Okafor, M.)

                            1069 (1 pg) Order granting motion to appear pro hac vice adding Daniel E. Stroik for
   09/17/2020             HarbourVest et al (related document # 1053) Entered on 9/17/2020. (Okafor, M.)

                            1070 (1 pg) Order granting motion to appear pro hac vice adding M. Natasha Labovitz for
   09/17/2020             HarbourVest et al (related document # 1054) Entered on 9/17/2020. (Okafor, M.)

   09/17/2020                1071 (5 pgs) Certificate of service re: Summary Cover Sheet and Ninth Monthly
                          Application of FTI Consulting, Inc. for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from July 1, 2020 to and Including July 31, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1055 Application for
                          compensation Ninth Monthly Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 7/1/2020 to 7/31/2020, Fee: $182,490.32,


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                          Expenses: $1,392.77. Filed by Attorney Juliana Hoffman Objections due by 10/2/2020. filed
                          by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                            1072 (23 pgs; 2 docs) Application for compensation Tenth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from August 1, 2020 through August 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 8/1/2020 to 8/31/2020, Fee:
                          $8,046.00, Expenses: $31.90. Filed by Attorney Holland N. O'Neil Objections due by
   09/18/2020             10/9/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             1073 (2 pgs) Order setting Disclosure Statement hearing and deadline to object (RE:
                          related document(s)945 Disclosure statement filed by Debtor Highland Capital Management,
                          L.P.). Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 945.
                          The deadline for any party wishing to object to the Disclosure Statement shall be October 19,
   09/18/2020             2020 at 5:00 p.m. Entered on 9/18/2020 (Okafor, M.)

                            1074 (47 pgs) Application for compensation Sidley Austin LLP's Tenth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 8/1/2020 to 8/31/2020, Fee: $467,533.08,
                          Expenses: $2,448.22. Filed by Attorney Juliana Hoffman Objections due by 10/13/2020.
   09/19/2020             (Hoffman, Juliana)

                             1075 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1068
                          Order granting motion to appear pro hac vice adding Erica S. Weisgerber for HarbourVest et
                          al (related document 1052) Entered on 9/17/2020. (Okafor, M.)) No. of Notices: 1. Notice
   09/19/2020             Date 09/19/2020. (Admin.)

                             1076 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1069
                          Order granting motion to appear pro hac vice adding Daniel E. Stroik for HarbourVest et al
                          (related document 1053) Entered on 9/17/2020. (Okafor, M.)) No. of Notices: 1. Notice Date
   09/19/2020             09/19/2020. (Admin.)

                             1077 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1070
                          Order granting motion to appear pro hac vice adding M. Natasha Labovitz for HarbourVest et
                          al (related document 1054) Entered on 9/17/2020. (Okafor, M.)) No. of Notices: 1. Notice
   09/19/2020             Date 09/19/2020. (Admin.)

                             1078 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)810 Motion for protective order (Debtor's Motion for Entry of (i) a
                          Protective Order, or, in the Alternative, (ii) an Order Directing the Debtor to Comply with
                          Certain Discovery Demands Tendered by the Official Committee of Unsecured Creditors
                          Pursuant to Federal Rules of Bankruptcy Procedure 7026 and 7034) Filed by Debtor
   09/21/2020             Highland Capital Management, L.P.) Responses due by 10/5/2020. (Ecker, C.)

                             1079 (61 pgs) Amended chapter 11 plan filed by Debtor Highland Capital Management,
   09/21/2020             L.P. (RE: related document(s)944 Chapter 11 plan). (Annable, Zachery)

                            1080 (155 pgs; 3 docs) Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement). (Attachments: # 1
                          Exhibit A--First Amended Plan of Reorganization # 2 Exhibit B--Organizational Chart)
   09/21/2020             (Annable, Zachery)

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   09/21/2020                1081 (3 pgs) Notice of hearing (Notice of Hearing on Disclosure Statement for the First
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1080 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization #
                          2 Exhibit B--Organizational Chart)). Hearing to be held on 10/22/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 1080, (Annable, Zachery)

                            1082 (29 pgs; 2 docs) Amended Schedules: E/F, with Summary of Assets and Liabilities
                          (Adding additional creditor or creditors) fee Amount $31 (with Declaration Under Penalty of
                          Perjury for Non-Individual Debtors,). Filed by Debtor Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit 1--Amended Schedules of Assets and Liabilities - Schedule E-F)
   09/22/2020             (Annable, Zachery)

                            Receipt of filing fee for Schedules(19-34054-sgj11) [misc,schedall] ( 31.00). Receipt
   09/22/2020             number 28122241, amount $ 31.00 (re: Doc# 1082). (U.S. Treasury)

                            1083 (10 pgs) Certificate of service re: Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to July 31, 2020 filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1030 Notice (generic)).
   09/22/2020             (Annable, Zachery)

                            1084 (3 pgs) Certificate of service re: Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from July 1, 2020 through July 31, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1065 Notice (generic)).
   09/22/2020             (Annable, Zachery)

                            1085 (10 pgs) Certificate of service re: Orders of the Court filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1043 Order on application for
                          compensation, 1044 Order on application for compensation, 1045 Order on application for
                          compensation, 1046 Order on application for compensation, 1047 Order on application for
   09/22/2020             compensation, 1050 Order on motion to appear pro hac vice). (Annable, Zachery)

                             1086 (20 pgs) Certificate of service re: filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1073 Order to set hearing, 1079 Chapter 11 plan, 1080
   09/22/2020             Disclosure statement, 1081 Notice of hearing). (Annable, Zachery)

                            1087 (19 pgs; 2 docs) Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
   09/23/2020             Proposed Order) (Annable, Zachery)

   09/23/2020                1088 (23 pgs; 3 docs) Declaration re: (Declaration of Gregory V. Demo in Support of the
                          Debtor's Motion for Entry of an Order Approving Settlement with (a) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (b) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (c) Acis Capital Management, L.P. (Claim
                          No. 159), and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1087 Motion to compromise controversy with
                          (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No. 23),
                          (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital


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                          Management, L.P. (Claim No. 159). ). (Attachments: # 1 Exhibit 1--Settlement Agreement #
                          2 Exhibit 2--Release) (Annable, Zachery)

                             1089 (26 pgs; 2 docs) Motion to compromise controversy with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81). Filed by Debtor Highland Capital Management, L.P. Objections due
   09/23/2020             by 10/19/2020. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                            1090 (94 pgs; 7 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Motion for Entry of an Order Approving Settlements with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81), and Authorizing Actions Consistent Therewith) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1089 Motion to compromise
                          controversy with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
                          72), and (b) the Highland Crusader Funds (Claim No. 81). ). (Attachments: # 1 Exhibit 1 # 2
   09/23/2020             Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6) (Annable, Zachery)

                            1091 (7 pgs) Motion to file document under seal. (Debtor's Motion for Entry of an Order
                          Authorizing Filing under Seal Certain of the Exhibits to the Declaration of John A. Morris in
                          Support of the Debtor's Motion for Entry of an Order Approving Settlements with (a) the
                          Redeemer Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland
                          Crusader Funds (Claim No. 81), and Authorizing Actions Consistent Therewith) Filed by
   09/23/2020             Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             1092 (2 pgs) Order further extending the debtor's exclusive period for solicitation of
                          acceptances of a chapter 11 plan 949 Motion to extend or limit the exclusivity period.
   09/24/2020             Entered on 9/24/2020. (Ecker, C.)

                             1093 (1 pg) Request for transcript regarding a hearing held on 9/17/2020. The requested
   09/24/2020             turn-around time is 3-day expedited. (Edmond, Michael)

                             1094 (112 pgs) Application for compensation Eleventh Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from August 1, 2020
                          through August 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 8/1/2020
                          to 8/31/2020, Fee: $672,815.00, Expenses: $3,428.14. Filed by Attorney Jeffrey Nathan
   09/24/2020             Pomerantz Objections due by 10/15/2020. (Pomerantz, Jeffrey)

                             1095 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order), 1089 Motion to compromise controversy with (a) the Redeemer Committee
                          of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim
                          No. 81). Filed by Debtor Highland Capital Management, L.P. Objections due by 10/19/2020.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 10/20/2020 at 09:30
   09/24/2020             AM Dallas Judge Jernigan Ctrm for 1087 and for 1089, (Annable, Zachery)

   09/24/2020               1096 (5 pgs) Certificate of service re: 1) Cover Sheet and Tenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from August 1, 2020 Through August 31, 2020; and 2)
                          Summary Cover Sheet and Tenth Monthly Application of Sidley Austin LLP for Allowance of
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                          Compensation and Reimbursement of Expenses for the Period from August 1, 2020 to and
                          Including August 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1072 Application for compensation Tenth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from August 1, 2020 through August 31, 2020 for Foley
                          Gardere, Foley & Lardner LLP, Special Counsel, Period: 8/1/2020 to 8/31/2020, Fee:
                          $8,046.00, Expenses: $31.90. Filed by Attorney Holland N. O'Neil Objections due by
                          10/9/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland) filed by Spec. Counsel Foley
                          Gardere, Foley & Lardner LLP, 1074 Application for compensation Sidley Austin LLP's
                          Tenth Monthly Application for Compensation and Reimbursement of Expenses for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 8/1/2020 to 8/31/2020,
                          Fee: $467,533.08, Expenses: $2,448.22. Filed by Attorney Juliana Hoffman Objections due
                          by 10/13/2020. filed by Creditor Committee Official Committee of Unsecured Creditors).
                          (Kass, Albert)

                             1097 (151 pgs) Certificate of service re: Notice of Hearing on Disclosure Statement for
                          the First Amended Plan of Reorganization of Highland Capital Management, L.P Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1081 Notice of
                          hearing (Notice of Hearing on Disclosure Statement for the First Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge
   09/24/2020             Jernigan Ctrm for 1080, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1098 (11 pgs) Certificate of service re: Notice of Filing of Debtor's Amended Schedules
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1082
                          Amended Schedules: E/F, with Summary of Assets and Liabilities (Adding additional
                          creditor or creditors) fee Amount $31 (with Declaration Under Penalty of Perjury for Non-
                          Individual Debtors,). Filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit 1--Amended Schedules of Assets and Liabilities - Schedule E-F) filed by Debtor
   09/24/2020             Highland Capital Management, L.P.). (Kass, Albert)

                             1099 (208 pgs; 3 docs) Motion for relief from stay - Daugherty's Motion to Confirm
                          Status of Automatic Stay, or alternatively to Modify Automatic Stay Fee amount $181, Filed
                          by Creditor Patrick Daugherty Objections due by 10/8/2020. (Attachments: # 1 Exhibit
   09/24/2020             Declaration of Patrick Daugherty in Support of Motion # 2 Service List) (Kathman, Jason)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   09/24/2020             181.00). Receipt number 28129975, amount $ 181.00 (re: Doc# 1099). (U.S. Treasury)

                             1100 (10 pgs; 2 docs) Notice of hearing filed by Creditor Patrick Daugherty (RE: related
                          document(s)1099 Motion for relief from stay - Daugherty's Motion to Confirm Status of
                          Automatic Stay, or alternatively to Modify Automatic Stay Fee amount $181, Filed by
                          Creditor Patrick Daugherty Objections due by 10/8/2020. (Attachments: # 1 Exhibit
                          Declaration of Patrick Daugherty in Support of Motion # 2 Service List)). Preliminary
                          hearing to be held on 10/22/2020 at 01:30 PM at Dallas Judge Jernigan Ctrm. (Attachments:
   09/25/2020             # 1 Service List) (Clontz, Megan)

   09/25/2020               1101 (13 pgs) Transcript regarding Hearing Held 09/17/2020 (13 pages) RE: Status
                          Conference, Objection to Proof of Claim, Motion to Extend Exclusivity. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
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                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                          12/24/2020. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1067 Hearing held and conduct as as Status Conference on 9/17/2020. (RE:
                          related document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P.
                          and Acis Capital Management GP, LLC., filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: J. Pomeranz for Debtor; M. Clemente for Unsecured Creditors
                          Committee; R. Patel for Acis. Nonevidentiary status conference and continued hearing on
                          Debtors Exclusivity Motion. Court heard reports of continuation of negotiations with regard
                          to Mr. Dondero and between Committee and Debtor with regard to Plan issues. Debtor will
                          file a revised (unsealed) disclosure statement and plan on 9/21/20 and court orally agreed to
                          extension of exclusivity for solicitation through 12/4/20. Court approved certain deadlines
                          suggested for a motion to establish voting procedures (with a 10/22/20 hearing for such
                          motion and the disclosure statement) and court orally approved using 10/20/20 for a hearing
                          on two Rule 9019 motions that will be filed by 9/23/20 with regard to Acis settlement and
                          Redeemer Committee settlement). Counsel to upload order(s).)). Transcript to be made
                          available to the public on 12/24/2020. (Rehling, Kathy)

                             1102 (10 pgs; 2 docs) Amended Notice of hearing filed by Creditor Patrick Daugherty
                          (RE: related document(s)1099 Motion for relief from stay - Daugherty's Motion to Confirm
                          Status of Automatic Stay, or alternatively to Modify Automatic Stay Fee amount $181, Filed
                          by Creditor Patrick Daugherty Objections due by 10/8/2020. (Attachments: # 1 Exhibit
                          Declaration of Patrick Daugherty in Support of Motion # 2 Service List)). Preliminary
                          hearing to be held on 10/22/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm. (Attachments:
   09/25/2020             # 1 Service List) (Clontz, Megan)

                            1103 (12 pgs) Certificate of service re: Order Further Extending the Debtor's Exclusive
                          Period for Solicitation of Acceptances of a Chapter 11 Plan filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1092 Order on motion to extend/shorten time).
   09/25/2020             (Annable, Zachery)

                            1104 (4 pgs) Certificate of service re: Eleventh Monthly Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from August 1, 2020 through August 31, 2020 filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1094 Application for
                          compensation Eleventh Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from August 1, 2020 through August 31, 2020 for Jeffrey Nathan
   09/25/2020             Pomerantz, Debtor's Attorney, Period: 8/1/2020 to 8/31/). (Annable, Zachery)

   09/25/2020                1105 (45 pgs) Omnibus Response opposed to (related document(s): 928 Objection to
                          claim filed by Debtor Highland Capital Management, L.P., 933 Objection to claim filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fund) (UBS's Omnibus
                          Response to Objections to the UBS Proofs of Claim) filed by Interested Parties UBS AG
                          London Branch, UBS Securities LLC. (Sosland, Martin) Filed by Interested Parties UBS AG
                          London Branch, UBS Securities LLC (related document(s)928 Objection to claim(s) of
                          Creditor(s) UBS Securities LLC and UBS AG, London Branch.. Filed by Debtor Highland
                          Capital Management, L.P.. Responses due by 9/9/2020. (Attachments: # 1 Exhibit 18 # 2
                          Exhibit 19) filed by Debtor Highland Capital Management, L.P., 933 Objection to claim(s) of
                          Creditor(s) UBS Securities LLC and UBS AG, London Branch.. Filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund. (Attachments: # 1 Exhibit Exhibit 1
                          (slip page - to be filed under seal upon order from Court)) # 2 Exhibit Exhibit 2 (slip page -
                          to be filed under seal upon order from Court) # 3 Exhibit Exhibit 3 (slip page - to be filed
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                          under seal upon order from Court) # 4 Exhibit Exhibit 4 # 5 Exhibit Exhibit 5 # 6 Exhibit
                          Exhibit 6 (slip page - to be filed under seal upon order from Court) # 7 Exhibit Exhibit 7 (slip
                          page - to be filed under seal upon order from Court) # 8 Exhibit Exhibit 8 # 9 Exhibit Exhibit
                          9 (slip page - to be filed under seal upon order from Court) # 10 Exhibit Exhibit 10 # 11
                          Exhibit Exhibit 11 # 12 Exhibit Exhibit 12 # 13 Exhibit Exhibit 13 # 14 Exhibit Exhibit 14 #
                          15 Exhibit Exhibit 15 # 16 Exhibit Exhibit 16 (slip page - to be filed under seal upon order
                          from Court) # 17 Exhibit Exhibit 17 # 18 Exhibit Exhibit 18 # 19 Exhibit Exhibit 19 # 20
                          Exhibit Exhibit 20 (slip page - to be filed under seal upon order from Court) # 21 Exhibit
                          Exhibit 21 (slip page - to be filed under seal upon order from Court) # 22 Exhibit Exhibit 22
                          (slip page - to be filed under seal upon order from Court)) filed by Interested Party Redeemer
                          Committee of the Highland Crusader Fund). (Sosland, Martin)

                             1106 (324 pgs; 45 docs) Exhibit List to UBS's Omnibus Response to Objections to the
                          UBS Proof of Claim filed by Interested Parties UBS AG London Branch, UBS Securities
                          LLC (RE: related document(s)1105 Response to objection to claim). (Attachments: # 1
                          Exhibit 1 # 2 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                          Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 #
                          15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit
                          20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26
                          Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 #
                          32 Exhibit 32 # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit
                          37 # 38 Exhibit 38 # 39 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 42 # 43 Exhibit 43 # 44
   09/25/2020             Exhibit 44) (Sosland, Martin)

                            1107 (24 pgs) Motion to file document under seal.(UBS's Motion for Leave to file
                          Documents Under Seal with UBS's Omnibus Response to Objections to the UBS Proof of
                          Claim Filed by Interested Parties UBS AG London Branch, UBS Securities LLC (Sosland,
   09/25/2020             Martin)

                             1108 (83 pgs; 6 docs) Motion for leave (Debtor's Motion for Entry of an Order (A)
                          Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to Confirm
                          the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing Objections
                          to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and Solicitation
                          Procedures; and (E) Approving Form and Manner of Notice) (related document(s) 1079
                          Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3
                          Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status #
   09/28/2020             5 Exhibit 1-D--Notice of Assumption) (Annable, Zachery)

                             1109 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order (A)
                          Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to Confirm
                          the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing Objections
                          to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and Solicitation
                          Procedures; and (E) Approving Form and Manner of Notice) (related document(s) 1079
                          Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3
                          Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status #
                          5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on 10/22/2020 at 09:30 AM
   09/28/2020             Dallas Judge Jernigan Ctrm for 1108, (Annable, Zachery)

   09/28/2020               1110 (11 pgs) Certificate of service re: 1) Debtors' Motion for Entry of an Order
                          Approving Settlement with (A) Acis Capital Management, L.P. and Acis Capital Management
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.269 181/439



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                          GP LLC (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C)
                          Acis Capital Management, L.P. (Claim No. 159), and Authorizing Actions Consistent
                          Therewith; and 2) Declaration of Gregory V. Demo in Support of the Debtors' Motion for
                          Entry of an Order Approving Settlement with (A) Acis Capital Management, L.P. and Acis
                          Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry
                          (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159), and Authorizing
                          Actions Consistent Therewith Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order) filed by Debtor Highland Capital Management, L.P., 1088 Declaration re:
                          (Declaration of Gregory V. Demo in Support of the Debtor's Motion for Entry of an Order
                          Approving Settlement with (a) Acis Capital Management, L.P. and Acis Capital Management
                          GP LLC (Claim No. 23), (b) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (c)
                          Acis Capital Management, L.P. (Claim No. 159), and Authorizing Actions Consistent
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1087 Motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
                          ). (Attachments: # 1 Exhibit 1--Settlement Agreement # 2 Exhibit 2--Release) filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                             1111 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1025 Motion to compromise controversy with Carey
                          International, Inc.. (Motion of the Debtor for Entry of an Order Approving Settlement with
                          Carey International, Inc. [Claim No. 68] and Authorizing Actions Consistent Therewith)).
   09/29/2020             (Annable, Zachery)

                             1112 (20 pgs) Certificate of service re: filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order
                          (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to
                          Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing
   09/29/2020             Objections to Conf, 1109 Notice of hearing). (Annable, Zachery)

   09/29/2020                1113 (16 pgs) Certificate of service re: Documents Served on or Before September 24,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1089
                          Motion to compromise controversy with (a) the Redeemer Committee of the Highland
                          Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81). Filed
                          by Debtor Highland Capital Management, L.P. Objections due by 10/19/2020. (Attachments:
                          # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital Management, L.P., 1090
                          Declaration re: (Declaration of John A. Morris in Support of the Debtor's Motion for Entry of
                          an Order Approving Settlements with (a) the Redeemer Committee of the Highland Crusader
                          Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81), and Authorizing
                          Actions Consistent Therewith) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1089 Motion to compromise controversy with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81). ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                          4 # 5 Exhibit 5 # 6 Exhibit 6) filed by Debtor Highland Capital Management, L.P., 1091
                          Motion to file document under seal. (Debtor's Motion for Entry of an Order Authorizing
                          Filing under Seal Certain of the Exhibits to the Declaration of John A. Morris in Support of
                          the Debtor's Motion for Entry of an Order Approving Settlements with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader

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                          Funds (Claim No. 81), and Authorizing Actions Consistent Therewith) Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.,
                          1095 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1087 Motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed
                          Order), 1089 Motion to compromise controversy with (a) the Redeemer Committee of the
                          Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No.
                          81). Filed by Debtor Highland Capital Management, L.P. Objections due by 10/19/2020.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 10/20/2020 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 1087 and for 1089, filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             1114 (3 pgs) Motion to appear pro hac vice for Elissa A. Wagner. Fee Amount $100 Filed
   09/30/2020             by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   09/30/2020             ( 100.00). Receipt number 28143856, amount $ 100.00 (re: Doc# 1114). (U.S. Treasury)

                            1115 (9 pgs) Debtor-in-possession monthly operating report for filing period August 1,
                          2020 to August 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable,
   09/30/2020             Zachery)

                            1116 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to August 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   09/30/2020             Zachery)

                            1117 (4 pgs) Stipulation by Highland Capital Management, L.P. and Integrated Financial
                          Associates, Inc.. filed by Debtor Highland Capital Management, L.P. (RE: related
   10/01/2020             document(s)868 Objection to claim). (Annable, Zachery)

                            1118 (10 pgs; 2 docs) Motion to extend time to Assume or Reject Unexpired
                          Nonresidential Real Property Lease Filed by Debtor Highland Capital Management, L.P.
   10/02/2020             (Attachments: # 1 Proposed Order) (Hayward, Melissa)

                            1119 (13 pgs) Motion to extend time to Deadline To File An Adversary Proceeding
                          Against CLO Holdco, Ltd. (EMERGENCY) Filed by Creditor Committee Official
   10/02/2020             Committee of Unsecured Creditors Objections due by 10/23/2020. (Montgomery, Paige)

                             1120 (8 pgs) Motion for expedited hearing(related documents 1119 Motion to
                          extend/shorten time) Filed by Creditor Committee Official Committee of Unsecured
   10/02/2020             Creditors (Montgomery, Paige)

   10/05/2020                 1121 (10 pgs) Response opposed to (related document(s): 1087 Motion to compromise
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                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159). filed by Debtor Highland Capital Management,
                          L.P.) filed by Interested Party James Dondero. (Assink, Bryan)

                            1122 (3 pgs) Agreed Order granting 1118 Motion to extend time to Assume or Reject
                          Unexpired Nonresidential Real Property Lease Filed by Debtor Highland Capital
   10/05/2020             Management, L.P. Entered on 10/5/2020. (Okafor, M.)

                             1123 (2 pgs) Order granting motion to compromise controversy with Carey International,
                          Inc.. (Motion of the Debtor for Entry of an Order Approving Settlement with Carey
                          International, Inc. [Claim No. 68] and Authorizing Actions Consistent Therewith) Filed by
                          Debtor Highland Capital Management, L.P. (related document # 1025) Entered on 10/5/2020.
   10/05/2020             (Okafor, M.)

                            1124 (1 pg) Order granting motion to appear pro hac vice adding Elissa A. Wagner for
                          Highland Capital Management, L.P. (related document # 1114) Entered on 10/5/2020.
   10/05/2020             (Okafor, M.)

                            1125 (2 pgs) Order granting motion to seal exhibits (related document # 1091 Motion for
                          Entry of an Order Authorizing Filing under Seal Certain of the Exhibits to the Declaration of
                          John A. Morris in Support of the Debtor's Motion for Entry of an Order Approving
                          Settlements with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
                          72), and (b) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
                          Consistent Therewith) Filed by Debtor Highland Capital Management, L.P. ) Entered on
   10/05/2020             10/5/2020. (Okafor, M.)

                             1126 (7 pgs) Order approving stipulation regarding Proof of Claim No. 93 of Integrated
                          Financial Associates, Inc. (RE: related document(s)1117 Stipulation filed by Debtor
                          Highland Capital Management, L.P.). The hearing on the Debtors Objection to the IFA Claim
                          currently scheduled to be held on October 14, 2020 at 1:30 p.m. (Central Time) is hereby
   10/05/2020             CANCELLED. Entered on 10/5/2020 (Okafor, M.)

                            1127 SEALED document regarding: Exhibit B--Cornerstone Monetization Schedule
                          per court order filed by Debtor Highland Capital Management, L.P. (RE: related
   10/05/2020             document(s)1125 Order on motion to seal). (Annable, Zachery)

                            1128 SEALED document regarding: Exhibit 2 - Partial Final Award dated March 6,
                          2019 per court order filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1125 Order on motion to seal). (Annable, Zachery) Modified docket entry text
   10/05/2020             on 10/5/2020 in include exhibit number. (Ellison, T.).

                            1129 SEALED document regarding: Exhibit 3--Disposition of Application of
                          Modification of Award dated March 14, 2019 per court order filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1125 Order on motion to seal). (Annable,
   10/05/2020             Zachery)

                            1130 SEALED document regarding: Exhibit 4--Final Award dated April 29, 2019 per
                          court order filed by Debtor Highland Capital Management, L.P. (RE: related
   10/05/2020             document(s)1125 Order on motion to seal). (Annable, Zachery)

   10/06/2020                 1131 (3 pgs) Order granting motion to seal documents (related document # 1107) Entered
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.272 184/439



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                          on 10/6/2020. (Okafor, M.)

                             1132 (1 pg) INCORRECT ENTRY - REQUESTER CANCELLED REQUEST. Request
                          for transcript regarding a hearing held on 9/23/2020. The requested turn-around time is 3-day
   10/06/2020             expedited. (Edmond, Michael) Modified on 10/14/2020 (Edmond, Michael).

                             1133 SEALED document regarding: UBS's Omnibus Response to Objections to the
                          UBS Proofs of Claim per court order filed by Interested Parties UBS AG London Branch,
                          UBS Securities LLC (RE: related document(s)1131 Order on motion to seal). (Attachments:
                          # 1 Exhibit 2 # 2 Exhibit 3 # 3 Exhibit 4 # 4 Exhibit 5 # 5 Exhibit 6 # 6 Exhibit 8 # 7 Exhibit
                          9 # 8 Exhibit 10 # 9 Exhibit 11 # 10 Exhibit 12 # 11 Exhibit 14 # 12 Exhibit 18 # 13 Exhibit
                          22 # 14 Exhibit 23 # 15 Exhibit 24 # 16 Exhibit 25 # 17 Exhibit 26 # 18 Exhibit 28 # 19
                          Exhibit 29 # 20 Exhibit 32 # 21 Exhibit 34 # 22 Exhibit 35 # 23 Exhibit 36 # 24 Exhibit 37 #
                          25 Exhibit 38 # 26 Exhibit 39 # 27 Exhibit 40 # 28 Exhibit 41 # 29 Exhibit 42 # 30 Exhibit
   10/06/2020             43) (Sosland, Martin)

                             1134 (3 pgs) Motion to appear pro hac vice for Joseph L. Christensen. Fee Amount $100
   10/06/2020             Filed by Creditor Patrick Daugherty (Kathman, Jason)

                             1135 (3 pgs) Motion to appear pro hac vice for Thomas A. Uebler. Fee Amount $100
   10/06/2020             Filed by Creditor Patrick Daugherty (Kathman, Jason)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   10/06/2020             ( 100.00). Receipt number 28159068, amount $ 100.00 (re: Doc# 1134). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   10/06/2020             ( 100.00). Receipt number 28159068, amount $ 100.00 (re: Doc# 1135). (U.S. Treasury)

                             1136 (4 pgs) Notice of hearing filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1119 Motion to extend time to Deadline To
                          File An Adversary Proceeding Against CLO Holdco, Ltd. (EMERGENCY) Filed by Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 10/23/2020.).
                          Hearing to be held on 10/8/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for 1119,
   10/06/2020             (Hoffman, Juliana)

                             1137 Status Conference Hearing held on 10/6/2020. (RE: related document(s)928
                          Objection to claim(s) of Creditor(s) UBS Securities LLC and UBS AG, London Branch, filed
                          by Debtor Highland Capital Management, L.P.) (Appearances: J. Pomeranz and R. Feinstein
                          for Debtor; A. Clubok, S. Tomkowiak, and J. Bjork for UBS; T. Mascherin, M. Hankin, and
                          M. Platt for Redeemer Committee; M. Clemente for UCC. Nonevidentiary status conference.
                          Court approved a schedule for motions for summary judgment and Rule 3018 motions to
                          estimate claim of UBS. Counsel to upload order. Hearing to be 11/20/20 at 9:30 am.)
   10/06/2020             (Edmond, Michael)

   10/06/2020                1138 (7 pgs) Certificate of service re: 1) Motion for Admission Pro Hac Vice for Elissa A.
                          Wagner to Represent Highland Capital Management, L.P.; and 2) Notice of Statement of
                          Amounts Paid to Ordinary Course Professionals for the Period from October 16, 2019 to
                          August 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1114 Motion to appear pro hac vice for Elissa A. Wagner. Fee Amount $100
                          Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland Capital
                          Management, L.P., 1116 Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to August 31, 2020) filed by Debtor
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                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
                          Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1139 (20 pgs) Certificate of service re: 1) Webex Meeting Invitation to participate
                          electronically in the hearing on October 6, 2020 at 1:30 p.m. Central Time before the
                          Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who wish to
                          participate in the Hearing; and 3) Stipulation Regarding Proof of Claim No. 93 of Integrated
                          Financial Associates, Inc. Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1117 Stipulation by Highland Capital Management, L.P. and Integrated Financial
                          Associates, Inc.. filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)868 Objection to claim). filed by Debtor Highland Capital Management, L.P.).
   10/06/2020             (Kass, Albert)

                             1140 (1 pg) Request for transcript regarding a hearing held on 10/6/2020. The requested
   10/06/2020             turn-around time is daily (Jeng, Hawaii) (Entered: 10/07/2020)

                            1141 (8 pgs) Objection to (related document(s): 1119 Motion to extend time to Deadline
                          To File An Adversary Proceeding Against CLO Holdco, Ltd. (EMERGENCY) filed by
                          Creditor Committee Official Committee of Unsecured Creditors) filed by Creditor CLO
   10/07/2020             Holdco, Ltd.. (Kane, John)

                             1142 (32 pgs; 2 docs) Application for compensation (Eighth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from July 1, 2020 through July 31, 2020) for Hayward
                          & Associates PLLC, Debtor's Attorney, Period: 7/1/2020 to 7/31/2020, Fee: $29,785.00,
                          Expenses: $980.60. Filed by Other Professional Hayward & Associates PLLC (Attachments:
   10/07/2020             # 1 Exhibit A--H&A July 2020 Invoice) (Annable, Zachery)

                            1143 (7 pgs) Certificate of service re: Agreed Motion to Extend the Deadline to Assume or
                          Reject Unexpired Nonresidential Real Property Lease Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1118 Motion to extend time to Assume or
                          Reject Unexpired Nonresidential Real Property Lease Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Proposed Order) filed by Debtor Highland Capital
   10/07/2020             Management, L.P.). (Kass, Albert)

                            1144 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1124
                          Order granting motion to appear pro hac vice adding Elissa A. Wagner for Highland Capital
                          Management, L.P. (related document 1114) Entered on 10/5/2020. (Okafor, M.)) No. of
   10/07/2020             Notices: 1. Notice Date 10/07/2020. (Admin.)

   10/08/2020                1145 (58 pgs) Transcript regarding Hearing Held 10/06/2020 (58 pages) RE: Status
                          Conference on Objection to Claim. THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 01/6/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.274 186/439



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                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1137 Status Conference Hearing held on 10/6/2020. (RE: related
                          document(s)928 Objection to claim(s) of Creditor(s) UBS Securities LLC and UBS AG,
                          London Branch, filed by Debtor Highland Capital Management, L.P.) (Appearances: J.
                          Pomeranz and R. Feinstein for Debtor; A. Clubok, S. Tomkowiak, and J. Bjork for UBS; T.
                          Mascherin, M. Hankin, and M. Platt for Redeemer Committee; M. Clemente for UCC.
                          Nonevidentiary status conference. Court approved a schedule for motions for summary
                          judgment and Rule 3018 motions to estimate claim of UBS. Counsel to upload order. Hearing
                          to be 11/20/20 at 9:30 am.)). Transcript to be made available to the public on 01/6/2021.
                          (Rehling, Kathy)

                             1146 (1 pg) Order granting motion to appear pro hac vice adding Joseph L. Christensen
   10/08/2020             for Patrick Daugherty (related document # 1134) Entered on 10/8/2020. (Okafor, M.)

                            1147 (1 pg) Order granting motion to appear pro hac vice adding Thomas A. Uebler for
   10/08/2020             Patrick Daugherty (related document # 1135) Entered on 10/8/2020. (Okafor, M.)

                            1148 (16 pgs) Objection to (related document(s): 1099 Motion for relief from stay -
                          Daugherty's Motion to Confirm Status of Automatic Stay, or alternatively to Modify
                          Automatic Stay Fee amount $181, filed by Creditor Patrick Daugherty) filed by Debtor
   10/08/2020             Highland Capital Management, L.P.. (Annable, Zachery)

                             1149 (1212 pgs; 2 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's (I) Objection to Patrick Daugherty's Motion to Confirm Status of Automatic Stay, or
                          Alternatively to Modify Automatic Stay and (II) Cross-Motion to Extend the Automatic Stay
                          to, or Otherwise Enjoin, the Delaware Cases) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1148 Objection). (Attachments: # 1 Exhibit 1) (Annable,
   10/08/2020             Zachery)

                            1150 (16 pgs; 2 docs) Adversary case 20-03128. Complaint by Highland Capital
                          Management, L.P. against Patrick Hagaman Daugherty. Fee Amount $350 (Attachments: # 1
                          Adversary Cover Sheet). Nature(s) of suit: 71 (Injunctive relief - reinstatement of stay).
   10/08/2020             (Annable, Zachery)

                            1151 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1055 Application for compensation Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   10/08/2020             Period: 7/1/2020 to 7/31/2020, Fee: $182,490.32, Expenses: $1,392.77.). (Hoffman, Juliana)

   10/08/2020                1152 (20 pgs) Certificate of service re: Documents Served on October 5, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1119 Motion to
                          extend time to Deadline To File An Adversary Proceeding Against CLO Holdco, Ltd.
                          (EMERGENCY) Filed by Creditor Committee Official Committee of Unsecured Creditors
                          Objections due by 10/23/2020. filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 1120 Motion for expedited hearing(related documents 1119 Motion to
                          extend/shorten time) Filed by Creditor Committee Official Committee of Unsecured
                          Creditors filed by Creditor Committee Official Committee of Unsecured Creditors, 1122
                          Agreed Order granting 1118 Motion to extend time to Assume or Reject Unexpired
                          Nonresidential Real Property Lease Filed by Debtor Highland Capital Management, L.P.
                          Entered on 10/5/2020. (Okafor, M.), 1123 Order granting motion to compromise controversy
                          with Carey International, Inc.. (Motion of the Debtor for Entry of an Order Approving
                          Settlement with Carey International, Inc. [Claim No. 68] and Authorizing Actions Consistent

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                          Therewith) Filed by Debtor Highland Capital Management, L.P. (related document 1025)
                          Entered on 10/5/2020. (Okafor, M.), 1124 Order granting motion to appear pro hac vice
                          adding Elissa A. Wagner for Highland Capital Management, L.P. (related document 1114)
                          Entered on 10/5/2020. (Okafor, M.), 1125 Order granting motion to seal exhibits (related
                          document 1091 Motion for Entry of an Order Authorizing Filing under Seal Certain of the
                          Exhibits to the Declaration of John A. Morris in Support of the Debtor's Motion for Entry of
                          an Order Approving Settlements with (a) the Redeemer Committee of the Highland Crusader
                          Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81), and Authorizing
                          Actions Consistent Therewith) Filed by Debtor Highland Capital Management, L.P. ) Entered
                          on 10/5/2020. (Okafor, M.), 1126 Order approving stipulation regarding Proof of Claim No.
                          93 of Integrated Financial Associates, Inc. (RE: related document(s)1117 Stipulation filed by
                          Debtor Highland Capital Management, L.P.). The hearing on the Debtors Objection to the
                          IFA Claim currently scheduled to be held on October 14, 2020 at 1:30 p.m. (Central Time) is
                          hereby CANCELLED. Entered on 10/5/2020 (Okafor, M.)). (Kass, Albert)

                              1153 (40 pgs; 3 docs) Response opposed to (related document(s): 906 Objection to claim
                          filed by Debtor Highland Capital Management, L.P.) filed by Creditor The Dugaboy
                          Investment Trust. (Attachments: # 1 Ex. A - Loan Agreement # 2 Ex.B - Account Summary)
   10/08/2020             (Assink, Bryan)

                             1164 Hearing held on 10/8/2020. (RE: related document(s)1119 Motion to extend time to
                          Deadline To File An Adversary Proceeding Against CLO Holdco, Ltd. (EMERGENCY)
                          Filed by Creditor Committee Official Committee of Unsecured Creditors.) (Appearances: P.
                          Montgomery for Official Committee of Unsecured Creditors; J. Kane for CLO Holdco.
                          Nonevidentiary hearing. Announcement of an agreed 60-day extension. Counsel to upload
   10/08/2020             order.) (Edmond, Michael) (Entered: 10/13/2020)

                            1154 (11 pgs; 2 docs) Motion for leave to Amend Certain Proofs of Claim Filed by
                          Creditor The Dugaboy Investment Trust Objections due by 10/30/2020. (Attachments: # 1
   10/09/2020             Proposed Order) (Assink, Bryan)

                             1155 (10 pgs; 2 docs) Order sustaining first omnibus objection to Certain (A) Duplicate
                          Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-
                          Liability Claims; and (F) Insufficient-Documentation Claims (RE: related document(s)906
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). (Attachments: # 1
   10/09/2020             Schedules 1 - 6) Entered on 10/9/2020 (Okafor, M.)

                             1156 (11 pgs) Certificate of service re: Notice of Hearing on PensionDanmarks Motion
                          for Relief from the Automatic Stay and Extending the Objection Deadline Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1136 Notice of hearing filed
                          by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)1119 Motion to extend time to Deadline To File An Adversary Proceeding
                          Against CLO Holdco, Ltd. (EMERGENCY) Filed by Creditor Committee Official
                          Committee of Unsecured Creditors Objections due by 10/23/2020.). Hearing to be held on
                          10/8/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for 1119, filed by Creditor Committee
   10/09/2020             Official Committee of Unsecured Creditors). (Kass, Albert)

   10/09/2020                1157 (5 pgs) Certificate of service re: Eighth Monthly Application for Compensation and
                          Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the Debtor
                          for the Period from July 1, 2020 through July 31, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1142 Application for compensation (Eighth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from July 1, 2020 through
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                          July 31, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 7/1/2020 to
                          7/31/2020, Fee: $29,785.00, Expenses: $980.60. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--H&A July 2020 Invoice) filed by Other
                          Professional Hayward & Associates PLLC). (Kass, Albert)

                             1158 (11 pgs) Certificate of service re: 1) Daugherty's Motion to Confirm Status of
                          Automatic Stay, or alternatively to Modify Automatic Stay; and 2) Declaration of John A.
                          Morris in Support of the Debtor's (I) Objection to Patrick Daugherty's Motion to Confirm
                          Status of Automatic Stay, or Alternatively to Modify Automatic Stay and (II) Cross-Motion to
                          Extend the Automatic Stay to, or Otherwise Enjoin, the Delaware Cases Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1148 Objection to (related
                          document(s): 1099 Motion for relief from stay - Daugherty's Motion to Confirm Status of
                          Automatic Stay, or alternatively to Modify Automatic Stay Fee amount $181, filed by
                          Creditor Patrick Daugherty) filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 1149 Declaration re: (Declaration of John A.
                          Morris in Support of the Debtor's (I) Objection to Patrick Daugherty's Motion to Confirm
                          Status of Automatic Stay, or Alternatively to Modify Automatic Stay and (II) Cross-Motion to
                          Extend the Automatic Stay to, or Otherwise Enjoin, the Delaware Cases) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1148 Objection). (Attachments:
   10/09/2020             # 1 Exhibit 1) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1159 (4 pgs) Certificate of service re: (Supplemental) Notice of Hearing on Disclosure
                          Statement for the First Amended Plan of Reorganization of Highland Capital Management,
                          L.P. Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1081
                          Notice of hearing (Notice of Hearing on Disclosure Statement for the First Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 1080, filed by Debtor Highland Capital Management, L.P., 1097
                          Certificate of service re: Notice of Hearing on Disclosure Statement for the First Amended
                          Plan of Reorganization of Highland Capital Management, L.P Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1081 Notice of hearing (Notice of
                          Hearing on Disclosure Statement for the First Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1080 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement). (Attachments: # 1
                          Exhibit A--First Amended Plan of Reorganization # 2 Exhibit B--Organizational Chart)).
                          Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1080, filed by
                          Debtor Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson
   10/09/2020             Consultants LLC). (Kass, Albert)

                             1160 (25 pgs) Application for compensation Ninth Monthly Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          8/1/2020 to 8/31/2020, Fee: $198,616.32, Expenses: $0. Filed by Financial Advisor FTI
   10/09/2020             Consulting, Inc. Objections due by 10/30/2020. (Hoffman, Juliana)

                            1161 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1146
                          Order granting motion to appear pro hac vice adding Joseph L. Christensen for Patrick
                          Daugherty (related document 1134) Entered on 10/8/2020. (Okafor, M.)) No. of Notices: 1.
   10/10/2020             Notice Date 10/10/2020. (Admin.)

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   10/10/2020               1162 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1147
                          Order granting motion to appear pro hac vice adding Thomas A. Uebler for Patrick
                          Daugherty (related document 1135) Entered on 10/8/2020. (Okafor, M.)) No. of Notices: 1.
                          Notice Date 10/10/2020. (Admin.)

                              1163 (3 pgs) Order setting hearing on any summary judgment motion and any 3018
                          Motion filed in accordance with this Order (RE: related document(s)928 Objection to claim
                          filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 11/20/2020 at
   10/12/2020             09:30 AM Dallas Judge Jernigan Ctrm for 928, Entered on 10/12/2020 (Okafor, M.)

                             1165 (3 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 1 Transferors: Stanton Advisors LLC (Amount $10,000.00) To Argo Partners. Filed by
   10/13/2020             Creditor Argo Partners. (Gold, Matthew)

                             1166 (3 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 2 Transferors: Lynn Pinker Cox & Hurst, LLP (Claim No. 148, Amount $507,430.34) To
   10/13/2020             MCS Capital LLC c/o STC, Inc.. Filed by Creditor Argo Partners. (Gold, Matthew)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28176112, amount $ 25.00 (re: Doc# 1165). (U.S.
   10/13/2020             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28176112, amount $ 25.00 (re: Doc# 1166). (U.S.
   10/13/2020             Treasury)

                            1167 (3 pgs) Notice to take deposition of James P. Seery, Jr., CEO, Highland Capital
   10/13/2020             Management, L.P. filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             1168 (2 pgs) Order granting extension of time to file an adversary proceeding against
                          CLO Holdo, Ltd (RE: related document(s) 1119 Motion to extend time to Deadline To File
                          An Adversary Proceeding Against CLO Holdco, Ltd. (EMERGENCY) filed by Creditor
                          Committee Official Committee of Unsecured Creditors. Modified to correct linkage on
   10/14/2020             11/3/2020 (Ecker, C.).

                             1169 (4 pgs) Agreed Supplemental Order authorizing the retention and employment of
                          Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the petition date (RE:
                          related document(s)763 Order on application to employ). Entered on 10/14/2020 (Okafor,
   10/14/2020             M.)

                            1170 (12 pgs) Certificate of service re: Agreed Supplemental Order Authorizing the
                          Retention and Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro
                          Tunc to the Petition Date filed by Debtor Highland Capital Management, L.P. (RE: related
   10/14/2020             document(s)1169 Order (generic)). (Annable, Zachery)

                            1171 (3 pgs) Notice to take deposition of Professor Nancy B. Rapaport filed by Debtor
   10/14/2020             Highland Capital Management, L.P.. (Annable, Zachery)

   10/14/2020               1172 (13 pgs) Certificate of service re: Order Sustaining First Omnibus Objection to
                          Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied
                          Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation Claims Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1155 Order sustaining first
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.278 190/439



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                          omnibus objection to Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed
                          Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation
                          Claims (RE: related document(s)906 Objection to claim filed by Debtor Highland Capital
                          Management, L.P.). (Attachments: # 1 Schedules 1 - 6) Entered on 10/9/2020 (Okafor, M.)).
                          (Kass, Albert)

                             1173 (11 pgs; 2 docs) Notice (Notice of Filing of (I) Liquidation Analysis and (II)
                          Financial Projections as Exhibits to Debtor's Disclosure Statement for the First Amended
                          Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). (Attachments: # 1 Exhibit C/D to Debtor's Disclosure Statement
                          for the First Amended Plan of Reorganization of Highland Capital Management, L.P.)
   10/15/2020             (Annable, Zachery)

                             1174 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1074 Application for compensation Sidley
                          Austin LLP's Tenth Monthly Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 8/1/2020 to
   10/15/2020             8/31/2020, Fee: $467,). (Hoffman, Juliana)

                            1175 (3 pgs) Witness and Exhibit List filed by Acis Capital Management GP, LLC, Acis
                          Capital Management, L.P. (RE: related document(s)1087 Motion to compromise controversy
                          with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No.
                          23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
   10/15/2020             Management, L.P. (Claim No. 159). ). (Chiarello, Annmarie)

                             1176 (12 pgs) Certificate of service re: filed by Debtor Highland Capital Management,
   10/16/2020             L.P. (RE: related document(s)1173 Notice (generic)). (Annable, Zachery)

                             1177 (4 pgs) Response opposed to (related document(s): 1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159). filed by Debtor Highland Capital Management,
   10/16/2020             L.P.) filed by Creditor CLO Holdco, Ltd.. (Kane, John)

                             1178 (125 pgs; 5 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1089 Motion to compromise controversy with (a)
                          the Redeemer Committee of the Highland Crusader Fund (Claim No. 72), and (b) the
                          Highland Crusader Funds (Claim No. 81). ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
   10/16/2020             Exhibit 3 # 4 Exhibit 4) (Annable, Zachery)

                             1179 (17 pgs; 2 docs) Omnibus Objection to claim(s) of Creditor(s) Crescent Research;
                          Hedgeye Risk Management, LLC; James D. Dondero; NexVest, LLC; James D. Dondero..
                          Filed by Debtor Highland Capital Management, L.P.. Responses due by 11/18/2020.
   10/16/2020             (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

   10/16/2020               1180 (10 pgs; 2 docs) INCORRECT ENTRY: EVENT CODE. SEE DOCUMENT 1214.
                          Motion to disallow claims (Debtor's Motion for Partial Summary Judgment on Proof of
                          Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London Branch) Filed by


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                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)
                          (Annable, Zachery) Modified on 10/19/2020 (Rielly, Bill).

                             1181 (48 pgs) Brief in support filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1214 Motion for Partial Summary Judgment on Proof of Claim Nos. 190
                          and 191 of UBS Securities LLC and UBS AG, London Branch)). (Annable, Zachery).
   10/16/2020             Modified linkage on 10/19/2020 (Rielly, Bill).

                             1182 (37 pgs; 5 docs) Motion to file document under seal.MOTION FOR AN ORDER
                          GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING REDEEMER
                          COMMITTEES MOTION FOR PARTIAL SUMMARY JUDGMENT AND JOINDER IN THE
                          DEBTORS MOTION FOR PARTIAL SUMMARY JUDGMENT ON PROOF OF CLAIM NOS.
                          190 AND 191 OF UBS AG, LONDON BRANCH AND UBS SECURITIES LLC Filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fund (Attachments: # 1
   10/16/2020             Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Proposed Order) (Platt, Mark)

                            1183 (8 pgs; 2 docs) INCORRECT ENTRY: EVENT CODE. SEE DOCUMENT 1215
                          AND 1216. Motion to disallow claims REDEEMER COMMITTEE OF THE HIGHLAND
                          CRUSADER FUND AND THE CRUSADER FUNDS MOTION FOR PARTIAL SUMMARY
                          JUDGMENT AND JOINDER IN THE DEBTORS MOTION FOR PARTIAL SUMMARY
                          JUDGMENT ON PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG, LONDON BRANCH
                          AND UBS SECURITIES LLC Filed by Interested Party Redeemer Committee of the Highland
                          Crusader Fund (Attachments: # 1 Proposed Order) (Platt, Mark) Modified on 10/19/2020
   10/16/2020             (Rielly, Bill).

                             1184 (245 pgs; 20 docs) Support/supplemental document (Appendix of Exhibits in
                          Support of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and
                          191 of UBS Securities LLC and UBS AG, London Branch) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS Securities LLC and UBS AG, London Branch filed by
                          Debtor Highland Capital Management, L.P.)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19) (Annable, Zachery).
                          Related document(s) 1214 Motion for summary judgment filed by Debtor Highland Capital
   10/16/2020             Management, L.P.. Modified linkage on 10/19/2020 (Rielly, Bill).

                             1185 (6 pgs) Declaration re: (Declaration of Elissa A. Wagner in Support of Debtor's
                          Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS
                          Securities LLC and UBS AG, London Branch) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS Securities LLC and UBS AG, London Branch filed by
                          Debtor Highland Capital Management, L.P. )). (Annable, Zachery). Modified linkage on
   10/16/2020             10/19/2020 (Rielly, Bill).

                             1186 (33 pgs) Brief in support filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1215 Redeemer Committee of the
                          Highland Crusander Fund and the Crusader Funds' Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS AG, London Branch and UBS Securities LLC filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fun and the Crusader's
   10/16/2020             Funds'). (Platt, Mark). Modified linkage on 10/19/2020 (Rielly, Bill).


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   10/16/2020                1187 (9 pgs; 2 docs) Motion to file document under seal. (Debtor's Motion for Leave to
                          File Certain Documents under Seal in Connection with Debtor's Motion for Partial Summary
                          Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London
                          Branch) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order) (Annable, Zachery)

                            1188 (10 pgs; 2 docs) Motion to file document under seal.(UBS's Motion for Leave to File
                          Documents Under Seal with (I) the Objection and (II) the Declaration of W. Kevin
                          Moentmann in Support of the Objection to the Debtor's Motion for Entry of an Order
                          Approving Settlements with (A) the Redeemer Committee of the Highland Crusader Fund
                          (Claim No. 72) and (B) the Highland Crusader Funds (Claim No. 81) Filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC (Attachments: # 1 Proposed Order)
   10/16/2020             (Sosland, Martin)

                             1189 (769 pgs; 30 docs) INCORRECT ENTRY: Attorney to refile. Support/supplemental
                          documentAPPENDIX TO REDEEMER COMMITTEE OF THE HIGHLAND CRUSADER
                          FUND AND THE CRUSADER FUNDS BRIEF IN SUPPORT OF MOTION FOR PARTIAL
                          SUMMARY JUDGMENT AND JOINDER IN THE DEBTORS MOTION FOR PARTIAL
                          SUMMARY JUDGMENT ON PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG,
                          LONDON BRANCH AND UBS SECURITIES LLC filed by Interested Party Redeemer
                          Committee of the Highland Crusader Fund (RE: related document(s)1183 Motion to disallow
                          claims REDEEMER COMMITTEE OF THE HIGHLAND CRUSADER FUND AND THE
                          CRUSADER FUNDS MOTION FOR PARTIAL SUMMARY JUDGMENT AND JOINDER IN
                          THE DEBTORS MOTION FOR PARTIAL SUMMARY JUDGMENT ON PROOF OF CLAIM
                          NOS. 190 AND 191 OF UBS AG, LOND, 1186 Brief). (Attachments: # 1 Exhibit 1 # 2 Exhibit
                          2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit
                          9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15 # 16 Exhibit 16 (slip page - to be filed under seal upon order from Court) # 17 Exhibit 17
                          (slip page) # 18 Exhibit 18 (slip page) # 19 Exhibit 19 (slip page) # 20 Exhibit 20 (slip page)
                          # 21 Exhibit 21 (slip page) # 22 Exhibit 22 (slip page) # 23 Exhibit 23 (slip page) # 24
                          Exhibit 24 (slip page) # 25 Exhibit 25 (slip page) # 26 Exhibit 26 (slip page) # 27 Exhibit 27
                          (slip page) # 28 Exhibit 28 (slip page) # 29 Exhibit 29 (slip page)) (Platt, Mark) Modified on
   10/16/2020             10/19/2020 (Ecker, C.).

                            1190 (42 pgs; 2 docs) Objection to (related document(s): 1089 Motion to compromise
                          controversy with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
                          72), and (b) the Highland Crusader Funds (Claim No. 81). filed by Debtor Highland Capital
                          Management, L.P.) filed by Interested Parties UBS AG London Branch, UBS Securities
   10/16/2020             LLC. (Attachments: # 1 A-C) (Sosland, Martin)

                             1191 (8 pgs) Response opposed to (related document(s): 1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159). filed by Debtor Highland Capital Management,
   10/16/2020             L.P.) filed by Interested Party Highland CLO Funding, Ltd.. (Maloney, Mark)

                            1192 (36 pgs; 3 docs) Declaration re: W. Kevin Moentmann in Support of Objection to the
                          Debtor's Motion for Entry of an Order Approving Settlements With (A) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (B) the Highland Crusader
                          Funds (Claim No. 81) filed by Interested Parties UBS AG London Branch, UBS Securities
                          LLC (RE: related document(s)1190 Objection). (Attachments: # 1 Exhibit 1-6 # 2
   10/16/2020             Attachments A-C) (Sosland, Martin)

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   10/16/2020                1193 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1179 Omnibus Objection to claim(s) of Creditor(s) Crescent Research;
                          Hedgeye Risk Management, LLC; James D. Dondero; NexVest, LLC; James D. Dondero..
                          Filed by Debtor Highland Capital Management, L.P.. Responses due by 11/18/2020.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 12/14/2020 at 02:30
                          PM Dallas Judge Jernigan Ctrm for 1179, (Annable, Zachery)

                             1194 (2134 pgs; 25 docs) Witness and Exhibit List filed by Interested Party James
                          Dondero (RE: related document(s)1087 Motion to compromise controversy with (A) Acis
                          Capital Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B)
                          Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management,
                          L.P. (Claim No. 159). ). (Attachments: # 1 Dondero Ex. A # 2 Dondero Ex. B # 3 Dondero
                          Ex. C # 4 Dondero Ex. D # 5 Dondero Ex. E # 6 Dondero Ex. F # 7 Dondero Ex. G # 8
                          Dondero Ex. H # 9 Dondero Ex. I # 10 Dondero Ex. J # 11 Dondero Ex. K # 12 Dondero Ex.
                          L # 13 Dondero Ex. M # 14 Dondero Ex. N # 15 Dondero Ex. O # 16 Dondero Ex. P # 17
                          Dondero Ex. Q # 18 Dondero Ex. R # 19 Dondero Ex. S # 20 Dondero Ex. T # 21 Dondero
   10/16/2020             Ex. U # 22 Dondero Ex. V # 23 Dondero Ex. W # 24 Dondero Ex. X) (Assink, Bryan)

                              1195 (6 pgs) Objection to (related document(s): 1087 Motion to compromise controversy
                          with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No.
                          23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
                          Management, L.P. (Claim No. 159). filed by Debtor Highland Capital Management, L.P.)
   10/16/2020             filed by Creditor HarbourVest et al. (Driver, Vickie)

                              1196 (4 pgs) Witness and Exhibit List filed by Creditor HarbourVest et al (RE: related
                          document(s)1087 Motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
   10/16/2020             ). (Driver, Vickie)

   10/16/2020                1197 (10 pgs) INCORRECT ENTRY: Attorney to refile. Notice Response to Debtor's
                          Omnibus Objection filed by Creditor NexPoint Real Estate Partners LLC f/k/a HCRE
                          Partners LLC (RE: related document(s)906 Objection to claim(s) of Creditor(s) Daniel
                          Sheehan and Associates, PLLC; Dun & Bradstreet; Eastern Point Trust Company, Inc.;
                          Collin County Tax Assessor/Collector; Collin County Tax Assessor/Collector; Dallas
                          County; Opus 2 International Inc.; Andrew Parmentier; 4CAST Inc.; Advent Software Inc.;
                          ConvergeOne, Inc.; Denton County; Internal Revenue Service; Kaufman County; Maples and
                          Calder; McLagen Partners, Inc.; Microsoft Corporation and Microsoft Licensing GP, a
                          Subsidiary of Microsoft Corporation; Moodys Analytics, Inc.; Quintairos, Prieto, Wood &
                          Boyer; Advisors Equity Group, LLC; Eagle Equity Advisors, LLC; HCRE Partner, LLC;
                          Highland Capital Management Fund Advisors; Highland Capital Management Fund
                          Advisors; Highland Capital Management Services, Inc.; Highland Capital Management
                          Services, Inc.; Highland Energy MLP Fund; Highland Fixed Income Fund; Highland
                          Floating Rate Fund; Highland Funds I; Highland Funds II; Highland Global Allocation Fund;
                          Highland Healthcare Opportunities Fund; Highland iBoxx Senior Loan ETF; Highland
                          Income Fund HFRO; Highland Long/Short Equity Fund; Highland Merger Arbitrage Fund;
                          Highland Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially
                          Responsible Equity Fund; Highland Tax-Exempt Fund; Highland Total Return Fund;
                          NexBank SSB; NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint Capital, Inc.;
                          NexPoint Capital, Inc.; NexPoint Discount Strategies Fund; NexPoint Energy and Material
                          Opportunities Fund; NexPoint Event-Driven Fund; NexPoint Healthcare Opportunities Fund;
                          NexPoint Latin America Opportunities Fund; NexPoint Real Estate Strategies Fund;
                          NexPoint Strategic Opportunities Fund; The Dugaboy Investment Trust; The Dugaboy
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                          Investment Trust; Bentley Callan; City of Garland; Clay Callan; Eastern Point Trust
                          Company, Inc.; Garland Independent School District; Grayson County; HarbourVest 2017
                          Global Fund L.P.; HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on behalf of
                          funds and accounts under management; HarbourVest Dover Street IX Investment L.P.;
                          HarbourVest Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John R.
                          Watkins; Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications Inc.;
                          Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
                          Order and Schedules 1-7)). (Drawhorn, Lauren) Modified on 10/19/2020 (Ecker, C.).

                             1198 (16 pgs) INCORRECT ENTRY: Attorney to refile. Notice Response to Debtor's
                          Omnibus Objection filed by Advisors Equity Group, LLC, Eagle Equity Advisors, LLC (RE:
                          related document(s)906 Objection to claim(s) of Creditor(s) Daniel Sheehan and Associates,
                          PLLC; Dun & Bradstreet; Eastern Point Trust Company, Inc.; Collin County Tax
                          Assessor/Collector; Collin County Tax Assessor/Collector; Dallas County; Opus 2
                          International Inc.; Andrew Parmentier; 4CAST Inc.; Advent Software Inc.; ConvergeOne,
                          Inc.; Denton County; Internal Revenue Service; Kaufman County; Maples and Calder;
                          McLagen Partners, Inc.; Microsoft Corporation and Microsoft Licensing GP, a Subsidiary of
                          Microsoft Corporation; Moodys Analytics, Inc.; Quintairos, Prieto, Wood & Boyer; Advisors
                          Equity Group, LLC; Eagle Equity Advisors, LLC; HCRE Partner, LLC; Highland Capital
                          Management Fund Advisors; Highland Capital Management Fund Advisors; Highland
                          Capital Management Services, Inc.; Highland Capital Management Services, Inc.; Highland
                          Energy MLP Fund; Highland Fixed Income Fund; Highland Floating Rate Fund; Highland
                          Funds I; Highland Funds II; Highland Global Allocation Fund; Highland Healthcare
                          Opportunities Fund; Highland iBoxx Senior Loan ETF; Highland Income Fund HFRO;
                          Highland Long/Short Equity Fund; Highland Merger Arbitrage Fund; Highland
                          Opportunistic Credit Fund; Highland Small-Cap Equity Fund; Highland Socially Responsible
                          Equity Fund; Highland Tax-Exempt Fund; Highland Total Return Fund; NexBank SSB;
                          NexPoint Advisors, L.P.; NexPoint Advisors, L.P.; NexPoint Capital, Inc.; NexPoint Capital,
                          Inc.; NexPoint Discount Strategies Fund; NexPoint Energy and Material Opportunities Fund;
                          NexPoint Event-Driven Fund; NexPoint Healthcare Opportunities Fund; NexPoint Latin
                          America Opportunities Fund; NexPoint Real Estate Strategies Fund; NexPoint Strategic
                          Opportunities Fund; The Dugaboy Investment Trust; The Dugaboy Investment Trust; Bentley
                          Callan; City of Garland; Clay Callan; Eastern Point Trust Company, Inc.; Garland
                          Independent School District; Grayson County; HarbourVest 2017 Global Fund L.P.;
                          HarbourVest 2017 Global AIF L.P.; HarbourVest Partners L.P. on behalf of funds and
                          accounts under management; HarbourVest Dover Street IX Investment L.P.; HarbourVest
                          Skew Base AIF L.P.; Hartman Wanzor LLP; Irving ISD; John Morris; John R. Watkins;
                          Linear Technologies, Inc.; Mass. Dept. of Revenue; Mediant Communications Inc.;
                          Oklahoma Tax Commission; Jun Park; Paul N. Adkins; Paul N. Adkins; Tarrant County;
                          Theodore N. Dameris; Theodore N. Dameris; Weijun Zang; Anish Tailor; Mollie Boyce-
                          Field; Charles Byrne; Donald Salvino; Ericka Garcia; Garman Turner Gordon; Joe Kingsley;
                          Frederic Mason; TDA Associates, Inc.; Wilkinson Center.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 9/1/2020. (Attachments: # 1 Exhibit A--Proposed
   10/16/2020             Order and Schedules 1-7)). (Drawhorn, Lauren) Modified on 10/19/2020 (Ecker, C.).

   10/16/2020               1199 (218 pgs; 6 docs) Witness and Exhibit List filed by Interested Parties UBS AG
                          London Branch, UBS Securities LLC (RE: related document(s)1089 Motion to compromise
                          controversy with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
                          72), and (b) the Highland Crusader Funds (Claim No. 81). ). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 3 # 4 Exhibit 4 # 5 Exhibit 5) (Sosland, Martin)
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                             1200 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1094 Application for compensation Eleventh Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from
                          August 1, 2020 through August 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney,
   10/16/2020             Period: 8/1/2020 to 8/31/). (Pomerantz, Jeffrey)

                             1201 (15 pgs; 4 docs) Objection to (related document(s): 1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159). filed by Debtor Highland Capital Management,
                          L.P.) filed by Creditor Patrick Daugherty. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
   10/16/2020             Service List) (Kathman, Jason)

                             1202 (225 pgs; 5 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1087 Motion to compromise controversy with
                          (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No. 23),
                          (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
                          Management, L.P. (Claim No. 159). ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
   10/16/2020             # 4 Exhibit 4) (Annable, Zachery)

                             1203 (20 pgs) Certificate of service re: 1) Summary Cover Sheet and Ninth Monthly
                          Application of FTI Consulting, Inc. for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from August 1, 2020 to and Including August 31, 2020; 2)
                          Scheduling Order with Respect to Proof of Claim Nos. 190 and 191 of UBS Securities LLC
                          and UBS AG, London Branch; and 3) Scheduling Order with Respect to Proof of Claim Nos.
                          190 and 191 of UBS Securities LLC and UBS AG, London Branch Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1160 Application for compensation
                          Ninth Monthly Application for Compensation and Reimbursement of Expenses for FTI
                          Consulting, Inc., Financial Advisor, Period: 8/1/2020 to 8/31/2020, Fee: $198,616.32,
                          Expenses: $0. Filed by Financial Advisor FTI Consulting, Inc. Objections due by
                          10/30/2020. filed by Financial Advisor FTI Consulting, Inc., 1163 Order setting hearing on
                          any summary judgment motion and any 3018 Motion filed in accordance with this Order
                          (RE: related document(s)928 Objection to claim filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 11/20/2020 at 09:30 AM Dallas Judge Jernigan
                          Ctrm for 928, Entered on 10/12/2020 (Okafor, M.), 1167 Notice to take deposition of James
                          P. Seery, Jr., CEO, Highland Capital Management, L.P. filed by Debtor Highland Capital
   10/16/2020             Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1215 (8 pgs; 2 docs) Redeemer Committee of the Highland Crusander Fund and the
                          Crusader Funds' Motion for partial summary judgment on proof of claim(s) 190 and 191 of
                          UBS AG, London Branch and UBS Securities LLC filed by Interested Party Redeemer
                          Committee of the Highland Crusader Fun and the Crusader's Funds' (Attachments: # 1
                          Proposed Order) (RE: Related document(s) 933 Objection to claim filed by Interested Party
   10/16/2020             Redeemer Committee of the Highland Crusader Fund). (Rielly, Bill). (Entered: 10/19/2020)

                            1216 (8 pgs; 2 docs) Joinder by filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1214 Motion for summary judgment).
   10/16/2020             (Attachments: # 1 Proposed Order) (Rielly, Bill) (Entered: 10/19/2020)

   10/17/2020                1204 (7 pgs; 3 docs) Witness and Exhibit List filed by Creditor Patrick Daugherty (RE:
                          related document(s)1087 Motion to compromise controversy with (A) Acis Capital

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                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). ). (Attachments: # 1 Exhibit PHD -1 # 2 Exhibit PHD - 2) (Kathman, Jason)

                            1205 (3 pgs) Notice to take deposition of W. Kevin Moentmann filed by Debtor Highland
   10/18/2020             Capital Management, L.P.. (Annable, Zachery)

                            1206 (3 pgs) Notice to take deposition of W. Kevin Moentmann filed by Debtor Highland
   10/18/2020             Capital Management, L.P.. (Annable, Zachery)

                             1207 (19 pgs; 2 docs) Motion to allow claims of HarbourVest Pursuant to Rule 3018(A)
                          of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for
                          Purposes of Voting to Accept or Reject the Plan Filed by Creditor HarbourVest et al
   10/18/2020             Objections due by 11/9/2020. (Attachments: # 1 Proposed Order) (Driver, Vickie)

                            1208 (4 pgs) Declaration re: /of Michael Pugatch in Support of 3018(A) Motion filed by
                          Creditor HarbourVest et al (RE: related document(s)1207 Motion to allow claims of
                          HarbourVest Pursuant to Rule 3018(A) of the Federal Rules of Bankruptcy Procedure for
                          Temporary Allowance of Claims for Purposes of Voting to Accept or Reject the Plan).
   10/18/2020             (Driver, Vickie)

                             1209 (4 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure
   10/19/2020             statement) filed by Interested Party Jefferies LLC. (Doherty, Casey)

                             1210 (15 pgs; 3 docs) Objection to disclosure statement (RE: related document(s)1080
                          Disclosure statement) filed by Creditor Pension Benefit Guaranty Corporation. (Attachments:
   10/19/2020             # 1 Exhibit # 2 Certificate of Service) (Baird, Michael)

                             1211 (769 pgs; 30 docs) List APPENDIX TO REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS BRIEF IN SUPPORT OF
                          MOTION FOR PARTIAL SUMMARY JUDGMENT AND JOINDER IN THE DEBTORS
                          MOTION FOR PARTIAL SUMMARY JUDGEMENT ON PROOF OF CLAIM NOS. 190 AND
                          191 OF UBS AG, LONDON BRANCH AND UBS SECURITIES LLC filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fund (RE: related document(s)1183 Motion
                          to disallow claims REDEEMER COMMITTEE OF THE HIGHLAND CRUSADER FUND
                          AND THE CRUSADER FUNDS MOTION FOR PARTIAL SUMMARY JUDGMENT AND
                          JOINDER IN THE DEBTORS MOTION FOR PARTIAL SUMMARY JUDGMENT ON
                          PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG, LOND). (Attachments: # 1 Exhibit 1 #
                          2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 #
                          9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 #
                          15 Exhibit 15 # 16 Exhibit 16 (slip page - to be filed under seal upon order from Court) # 17
                          Exhibit 17 (slip page) # 18 Exhibit 18 (slip page) # 19 Exhibit 19 (slip page) # 20 Exhibit 20
                          (slip page) # 21 Exhibit 21 (slip page) # 22 Exhibit 22 (slip page) # 23 Exhibit 23 (slip page)
                          # 24 Exhibit 24 (slip page) # 25 Exhibit 25 (slip page) # 26 Exhibit 26 (slip page) # 27
   10/19/2020             Exhibit 27 (slip page) # 28 Exhibit 28 (slip page) # 29 Exhibit 29 (slip page)) (Platt, Mark)

                            1212 (10 pgs) Response opposed to (related document(s): 906 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Creditor NexPoint Real Estate Partners
   10/19/2020             LLC f/k/a HCRE Partners LLC. (Drawhorn, Lauren)

   10/19/2020               1213 (16 pgs) Response opposed to (related document(s): 906 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Advisors Equity Group, LLC, Eagle
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                          Equity Advisors, LLC. (Drawhorn, Lauren)

                             1217 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order), 1089 Motion to compromise controversy with (a) the Redeemer Committee
                          of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim
                          No. 81). Filed by Debtor Highland Capital Management, L.P. Objections due by 10/19/2020.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 10/20/2020 at 09:30
   10/19/2020             AM Dallas Judge Jernigan Ctrm for 1087 and for 1089, (Annable, Zachery)

                             1218 (12 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure
   10/19/2020             statement) filed by Creditor Patrick Daugherty. (Kathman, Jason)

                             1219 (7 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure
   10/19/2020             statement) filed by Creditor HarbourVest et al. (Driver, Vickie)

                            1220 (11 pgs) Reply to (related document(s): 1190 Objection filed by Interested Party
                          UBS Securities LLC, Interested Party UBS AG London Branch) filed by Debtor Highland
   10/19/2020             Capital Management, L.P.. (Annable, Zachery)

                             1221 (17 pgs; 2 docs) Omnibus Reply to (related document(s): 1121 Response filed by
                          Interested Party James Dondero, 1177 Response filed by Creditor CLO Holdco, Ltd., 1191
                          Response filed by Interested Party Highland CLO Funding, Ltd., 1195 Objection filed by
                          Creditor HarbourVest et al, 1201 Objection filed by Creditor Patrick Daugherty) filed by
                          Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Annable,
   10/19/2020             Zachery)

                             1222 (2 pgs) Notice of hearing filed by Creditor HarbourVest et al (RE: related
                          document(s)1207 Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the
                          Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of
                          Voting to Accept or Reject the Plan Filed by Creditor HarbourVest et al Objections due by
                          11/9/2020. (Attachments: # 1 Proposed Order), 1208 Declaration re: /of Michael Pugatch in
                          Support of 3018(A) Motion filed by Creditor HarbourVest et al (RE: related document(s)1207
                          Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the Federal Rules of
                          Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of Voting to Accept
                          or Reject the Plan).). Hearing to be held on 11/10/2020 at 01:30 PM Dallas Judge Jernigan
   10/19/2020             Ctrm for 1207 and for 1208, (Driver, Vickie)

                             1223 (2 pgs) Certificate of service re: Motion of HarbourVest Pursuant to Rule 3018(A)
                          of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for
                          Purposes of Voting to Accept or Reject the Plan filed by Creditor HarbourVest et al (RE:
                          related document(s)1207 Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of
                          the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes
   10/19/2020             of Voting to Accept or Reject the Plan). (Driver, Vickie)

   10/19/2020                1224 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1214 Motion for partial summary judgment on proof of claim(s) 190 and
                          191 of UBS Securities LLC and UBS AG, London Branch filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A - Proposed Order) (RE: Related document(s)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.286 198/439



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                          928 Objection to claim filed by Debtor Highland Capital Management, L.P.).). Hearing to be
                          held on 11/20/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1214, (Annable, Zachery)

                             1225 (1102 pgs; 22 docs) Amended Witness and Exhibit List filed by Creditor Patrick
                          Daugherty (RE: related document(s)1204 List (witness/exhibit/generic)). (Attachments: # 1
                          Exhibit PHD-1 # 2 Exhibit PHD-2 # 3 Exhibit PHD-3 # 4 Exhibit PHD-4 # 5 Exhibit PHD-5
                          # 6 Exhibit PHD-6 # 7 Exhibit PHD-7 # 8 Exhibit PHD-8 # 9 Exhibit PHD-9 # 10 Exhibit
                          PHD-10 # 11 Exhibit PHD-11 # 12 Exhibit PHD-12 # 13 Exhibit PHD-13 # 14 Exhibit PHD-
                          14 # 15 Exhibit PHD-15 # 16 Exhibit PHD-16 # 17 Exhibit PHD-17 # 18 Exhibit PHD-18 #
   10/19/2020             19 Exhibit PHD-19 # 20 Exhibit PHD-20 # 21 Exhibit PHD-22) (Kathman, Jason)

                             1226 (4 pgs) Witness and Exhibit List filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund (RE: related document(s)1089 Motion to compromise
                          controversy with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
   10/19/2020             72), and (b) the Highland Crusader Funds (Claim No. 81). ). (Platt, Mark)

                              1227 (4 pgs) Notice of hearing filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1215 Redeemer Committee of the
                          Highland Crusander Fund and the Crusader Funds' Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS AG, London Branch and UBS Securities LLC filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fun and the Crusader's
                          Funds' (Attachments: # 1 Proposed Order) (RE: Related document(s) 933 Objection to claim
                          filed by Interested Party Redeemer Committee of the Highland Crusader Fund).., 1216
                          Joinder by filed by Interested Party Redeemer Committee of the Highland Crusader Fund
                          (RE: related document(s)1214 Motion for summary judgment). (Attachments: # 1 Proposed
                          Order)). Hearing to be held on 11/20/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1215
   10/19/2020             and for 1216, (Platt, Mark)

                             1228 (15 pgs) Certificate of service re: 1) Order Granting Extension of Time to File an
                          Adversary Proceeding Against CLO Holdo, Ltd.; and 2) Notice of Deposition of Professor
                          Nancy B. Rapaport Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1168 Order granting extension of time to file an adversary proceeding against
                          CLO Holdo, Ltd (RE: related document(s)590 Motion to reclaim funds from the registry filed
                          by Creditor CLO Holdco, Ltd.). Entered on 10/14/2020 (Okafor, M.), 1171 Notice to take
                          deposition of Professor Nancy B. Rapaport filed by Debtor Highland Capital Management,
   10/19/2020             L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1229 (246 pgs; 7 docs) Amended Witness and Exhibit List filed by Interested Parties UBS
                          AG London Branch, UBS Securities LLC (RE: related document(s)1199 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 4 # 5
   10/20/2020             Exhibit 5 # 6 6) (Sosland, Martin)

                             1230 (3 pgs) Order granting motion to seal documents (related document # 1188 Motion
                          for leave to file documents under seal with (I) the Objection and (II) the Declaration of W.
                          Kevin Moentmann in Support of the Objection to the Debtor's Motion for Entry of an Order
                          Approving Settlements with (A) the Redeemer Committee of the Highland Crusader Fund
                          (Claim No. 72) and (B) the Highland Crusader Funds (Claim No. 81) Filed by Interested
   10/20/2020             Parties UBS AG London Branch, UBS Securities LLC) Entered on 10/20/2020. (Okafor, M.)

   10/20/2020               1231 SEALED document regarding: Objection to the Debtor's Motion for Entry of
                          an Order Approving Settlements With (A) the Redeemer Committee of the Highland
                          Crusader Fund (Claim No. 7) and (B) the Highland Crusader Funds (Claim No. 81) per

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                          court order filed by Interested Parties UBS AG London Branch, UBS Securities LLC (RE:
                          related document(s)1230 Order on motion to seal). (Attachments: # 1 Exhibit A # 2 Exhibit B
                          # 3 Exhibit C) (Sosland, Martin)

                             1232 SEALED document regarding: Declaration of W. Kevin Moentmann in Support
                          of Objection to the Debtor's Motion for Entry of an Order Approving Settlements with
                          (A) the Redeemer Committee of the Highland Crusader Fund (Claim No. 7) and (B) the
                          Highland Crusader Funds (Claim No. 81) per court order filed by Interested Parties UBS
                          AG London Branch, UBS Securities LLC (RE: related document(s)1230 Order on motion to
                          seal). (Attachments: # 1 Exhibit 4 # 2 Exhibit 4 # 3 Exhibit 6 # 4 Attachment A # 5
   10/20/2020             Attachment B # 6 Attachment C) (Sosland, Martin)

                            1233 (4 pgs) First Supplemental Order Sustaining First Omnibus Objection to Certain (A)
                          DuplicateClaims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E)
                          No-Liability Claims; and (F) Insufficient-Documentation Claims ( (RE: related
                          document(s)906 Objection to claim filed by Debtor Highland Capital Management, L.P.).
   10/20/2020             Entered on 10/20/2020 (Okafor, M.)

                             1234 (2 pgs) Order granting motion to seal documents (related document # 1182 Motion
                          to seal regarding the Redeemer Committee of the Crusader Funds Motion forPartial
                          Summary Judgment and Joinder in the Debtors Motion for Partial Summary Judgment on
                          Proof of Claim Nos. 190 and 191 of UBS AG, London Branch and UBS Securities LLC.)
   10/20/2020             Entered on 10/20/2020. (Okafor, M.)

                             1235 (2 pgs) Order granting motion to seal documents (related document # 1187 Debtor's
                          Motion for Leave to File Certain Documents under Seal in Connection with Debtor's Motion
                          for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC
                          and UBS AG, London Branch) Filed by Debtor Highland Capital Management, L.P.) Entered
   10/20/2020             on 10/20/2020. (Okafor, M.)

                            1236 SEALED document regarding: REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS BRIEF IN
                          SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT AND JOINDER
                          IN THE DEBTORS MOTION FOR PARTIAL SUMMARY JUDGMENT ON PROOF
                          OF CLAIM NOS. 190 AND 191 OF UBS AG, LONDON BRANCH AND UBS
                          SECURITIES LLC per court order filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1234 Order on motion to seal). (Platt,
   10/20/2020             Mark)

                             1237 SEALED document regarding: APPENDIX TO REDEEMER COMMITTEE
                          OF THE HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS BRIEF IN
                          SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT AND JOINDER
                          IN THE DEBTORS MOTION FOR PARTIAL SUMMARY JUDGEMENT ON
                          PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG, LONDON BRANCH AND UBS
                          SECURITIES LLC per court order filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1234 Order on motion to seal).
                          (Attachments: # 1 Exhibit 16 (sealed) # 2 Exhibit 17 (sealed) # 3 Exhibit 18 (sealed) # 4
                          Exhibit 19 (sealed) # 5 Exhibit 20 (sealed) # 6 Exhibit 21 (sealed) # 7 Exhibit 22 (sealed) # 8
                          Exhibit 23 (sealed) # 9 Exhibit 24 (sealed) # 10 Exhibit 25 (sealed) # 11 Exhibit 26 (sealed) #
   10/20/2020             12 Exhibit 27 (sealed) # 13 Exhibit 28 (sealed) # 14 Exhibit 29 (sealed)) (Platt, Mark)

   10/20/2020                 1238 (29 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure

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                          statement) filed by Interested Parties UBS AG London Branch, UBS Securities LLC.
                          (Sosland, Martin)

                             1239 (23 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure
                          statement) filed by Creditor Committee Official Committee of Unsecured Creditors.
   10/20/2020             (Hoffman, Juliana)

                            1240 (3 pgs) Joinder by META-E DISCOVERY, LLC TO THE OBJECTION OF THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO THE DEBTORS MOTION
                          FOR ENTRY OF AN ORDER (A) APPROVING THE ADEQUACY OF THE DISCLOSURE
                          STATEMENT; (B) SCHEDULING A HEARING TO CONFIRM THE FIRST AMENDED
                          PLAN OF REORGANIZATION; (C) ESTABLISHING DEADLINE FOR FILING
                          OBJECTIONS TO CONFIRMATION OF PLAN; (D) APPROVING FORM OF BALLOTS,
                          VOTING DEADLINE AND SOLICITATION PROCEDURES; AND (E) APPROVING FORM
                          AND MANNER OF NOTICE filed by Interested Party Meta-e Discovery, LLC (RE: related
   10/20/2020             document(s)1239 Objection to disclosure statement). (Umari, Basil)

                             1241 (5 pgs) Objection to disclosure statement (RE: related document(s)1080 Disclosure
                          statement) filed by Acis Capital Management GP, LLC, Acis Capital Management, L.P..
   10/20/2020             (Patel, Rakhee)

                             1242 (5 pgs) Joinder by REDEEMER COMMITTEE OF THE HIGHLAND CRUSADER
                          FUNDS JOINDER TO OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED
                          CREDITORS TO THE DEBTORS MOTION FOR ENTRY OF AN ORDER (A) APPROVING
                          THE ADEQUACY OF THE DISCLOSURE STATEMENT; (B) SCHEDULING A HEARING
                          TO CONFIRM THE FIRST AMENDED PLAN OF REORGANIZATION; (C)
                          ESTABLISHING DEADLINE FOR FILING OBJECTIONS TO CONFIRMATION OF PLAN;
                          (D) APPROVING FORM OF BALLOTS, VOTING DEADLINE AND SOLICITATION
                          PROCEDURES; AND (E) APPROVING FORM AND MANNER OF NOTICE filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fund (RE: related
   10/20/2020             document(s)1239 Objection to disclosure statement). (Platt, Mark)

                             1243 Hearing held and Continued (RE: related document(s)1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159) filed by Debtor Highland Capital Management,
                          L.P.) (Continued Hearing to be held on 10/21/2020 at 10:00 AM Dallas Judge Jernigan Ctrm
   10/20/2020             for 1087,) (Edmond, Michael)

                             1244 (82 pgs) Application for compensation Third Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses: $1,833.10. Filed by Attorney Juliana
   10/20/2020             Hoffman Objections due by 11/10/2020. (Hoffman, Juliana)

   10/20/2020                1256 Hearing held on 10/20/2020. (RE: related document(s)1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159), filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: I. Kharasch, J. Morris, and G. Demo for Debtors; M. Clemente for
                          Unsecured Creditors Committee; R. Patel and B. Shaw for Acis and Terrys; S. Tomkowiak,
                          A. Clubok, and K. Posin for UBS; T. Mascherin, M. Hankin, and M. Platt for Redeemer
                          Committee; J. Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; J. Kathman for P.

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                          Daugherty; R. Matsumura for HCLOF; J. Kane for CLO Holdco; E. Weisgerber for
                          HarbourVest; L. Lambert for UST. Evidentiary hearing. Court recessed after evidence closed
                          and will reconvene at 10:00 am 10/21/20 for closing arguments.) (Edmond, Michael)
                          (Entered: 10/21/2020)

                            1257 Hearing held on 10/20/2020. (RE: related document(s)1089 Motion to compromise
                          controversy with (a) the Redeemer Committee of the Highland Crusader Fund (Claim No.
                          72), and (b) the Highland Crusader Funds (Claim No. 81), filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: I. Kharasch, J. Morris, and G. Demo for Debtors; M.
                          Clemente for Unsecured Creditors Committee; R. Patel and B. Shaw for Acis and Terrys; S.
                          Tomkowiak, A. Clubok, and K. Posin for UBS; T. Mascherin, M. Hankin, and M. Platt for
                          Redeemer Committee; J. Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; J.
                          Kathman for P. Daugherty; R. Matsumura for HCLOF; J. Kane for CLO Holdco; E.
                          Weisgerber for HarbourVest; L. Lambert for UST. Evidentiary hearing. Motion approved,
                          based on reasoning given orally. Counsel to upload orders.) (Edmond, Michael) (Entered:
   10/20/2020             10/21/2020)

                             1303 (2 pgs) Court admitted exhibits date of hearing October 20, 2020 (RE: related
                          document(s)1089 Motion to compromise controversy with (a) the Redeemer Committee of
                          the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim
                          No. 81) filed by Debtor Highland Capital Management, L.P.) (COURT ADMITTED
                          DEBTOR'S EXHIBIT'S #1, #2, #3 & #4; COURT TOOK JUDICIAL NOTICE OF THE
                          DECLARATION OF JOHN A. MORRIS; ADMITTED AS AN EXHIBIT #3; EXHIBITS #2
                          #3 AND #4 TO DECLARATION AND EXHIBIT #B TO EXHIBIT #1 FILED UNDER
   10/20/2020             SEAL) (Edmond, Michael) (Entered: 10/28/2020)

                            1304 DOCKET AN ERROR: Court admitted exhibits date of hearing October 20, 2020
                          (RE: related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159) filed by Debtor Highland Capital Management, L.P.) (COURT ADMITTED
                          JAMES DONDERO'S EXHIBIT'S #A, #B, #C, #D, #E, #F, #G, #H, #I, #J, #K, #L, #M, #N,
                          #O, #Q, #R, #S, #T, #U, #V, #W & #X; NOTE* EXHIBIT #P (Edmond, Michael) Modified
   10/20/2020             on 10/28/2020 (Edmond, Michael). (Entered: 10/28/2020)

                             1305 (1 pg) MODIFIED TEXT: Court admitted exhibits date of hearing October 20, 2020
                          (RE: related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159) filed by Debtor Highland Capital Management, L.P.) (1304 Court admitted exhibits
                          date of hearing October 20, 2020 (RE: related document(s)1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159) filed by Debtor Highland Capital Management,
                          L.P.) (COURT ADMITTED JAMES DONDERO'S EXHIBIT'S #A, #B, #C, #D, #E, #F, #G,
                          #H, #I, #J, #K, #L, #M, #N, #O, #P, #Q, #R, #S, #T, #U, #V, #W & #X; JASON KATHMAN;
                          COUNSEL FOR PATRICK DAUGHERTY EXHIBIT'S #1079 - AMENDED PLAN &
                          #1080 - AMENDED DISCLOSURE STATEMENT ADMITTED INTO EVIDENCE BY
                          PATRICK DAUGHTERY COUNSEL JASON KATHMAN) (Edmond, Michael) Modified
                          on 10/28/2020 (Edmond, Michael). Modified on 10/30/2020 (Edmond, Michael). (Entered:
   10/20/2020             10/28/2020)

   10/20/2020                 1314 (1 pg) Court admitted exhibits date of hearing October 20, 2020 (RE: related
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                          document(s)1087 Motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159)
                          filed by Debtor Highland Capital Management, L.P.) (COURT ADMITTED JAMES
                          DONDERO'S EXHIBIT'S #A, #B, #C, #D, #E, #F, #G, #H, #I, #J, #K, #L, #M, #N, #O, #P,
                          #Q, #R, #S, #T, #U, #V, #W & #X; JASON KATHMAN ; COUNSEL FOR PATRICK
                          DAUGHERTY EXHIBIT'S #1079 - AMENDED PLAN & #1080 - AMENDED
                          DISCLOSURE STATEMENT ADMITTED INTO EVIDENCE). (Edmond, Michael)
                          (Entered: 10/30/2020)

                             1245 (1 pg) Request for transcript regarding a hearing held on 10/20/2020. The requested
   10/21/2020             turn-around time is hourly. (Edmond, Michael)

                             1246 (1 pg) Request for transcript regarding a hearing held on 10/20/2020. The requested
   10/21/2020             turn-around time is hourly (Jeng, Hawaii)

                             1247 (3 pgs) Motion to appear pro hac vice for Faheem A. Mahmooth. Fee Amount $100
   10/21/2020             Filed by Creditor Pension Benefit Guaranty Corporation (Webb, Donna)

                             1248 (116 pgs) Application for compensation Cover Sheet and Twelfth Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from
                          September 1, 2020 through September 30, 2020 for Pachulski Stang Ziehl & Jones, LLP,
                          Debtor's Attorney, Period: 9/10/2020 to 9/30/2020, Fee: $828,193.00, Expenses: $7,707.11.
                          Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 11/12/2020. (Pomerantz,
   10/21/2020             Jeffrey) MODIFIED to correct party requesting fees/expenses. on 10/22/2020 (Ecker, C.).

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
                          ( 0.00). Receipt number KF: No Fee Due - Exempt U.S. Government Agency, amount $ 0.00
   10/21/2020             (re: Doc1247). (Floyd)

                             1249 SEALED document regarding: Debtor's Opening Brief in Support of Motion
                          for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities
                          LLC and UBS AG, London Branch per court order filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1235 Order on motion to seal). (Annable,
   10/21/2020             Zachery)

                            1250 SEALED document regarding: Exhibit 2 to Appendix of Exhibits in Support of
                          Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of
                          UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
   10/21/2020             (Annable, Zachery)

                             1251 SEALED document regarding: Exhibit 11 to Appendix of Exhibits in Support
                          of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191
                          of UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
   10/21/2020             (Annable, Zachery)

   10/21/2020                1252 SEALED document regarding: Exhibit 12 to Appendix of Exhibits in Support
                          of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191
                          of UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor

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                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
                          (Annable, Zachery)

                             1253 SEALED document regarding: Exhibit 14 to Appendix of Exhibits in Support
                          of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191
                          of UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
   10/21/2020             (Annable, Zachery)

                             1254 SEALED document regarding: Exhibit 15 to Appendix of Exhibits in Support
                          of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191
                          of UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
   10/21/2020             (Annable, Zachery)

                             1255 SEALED document regarding: Exhibit 16 to Appendix of Exhibits in Support
                          of Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191
                          of UBS Securities LLC and UBS AG, London Branch per court order filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1235 Order on motion to seal).
   10/21/2020             (Annable, Zachery)

                             1258 Hearing held on 10/21/2020. (RE: related document(s)1087 Motion to compromise
                          controversy with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC
                          (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis
                          Capital Management, L.P. (Claim No. 159), filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: I. Kharasch, J. Morris, and G. Demo for Debtors; M. Clemente for
                          Unsecured Creditors Committee; A. Chiarello for Acis and Terrys; M. Hankin, and M. Platt
                          for Redeemer Committee; M. Lynn for J. Dondero; J. Kathman for P. Daugherty; R.
                          Matsumura for HCLOF; J. Kane for CLO Holdco; E. Weisgerber for HarbourVest; L.
                          Lambert for UST. Nonevidentiary closing arguments. Court granted motion, based on
   10/21/2020             reasoning granted orally. Counsel to upload order.) (Edmond, Michael)

                             1259 (1 pg) Notice of Appearance and Request for Notice by Thomas G. Haskins Jr. filed
   10/21/2020             by Creditor NWCC, LLC. (Haskins, Thomas)

                             1260 (3 pgs) Motion to appear pro hac vice for Jonathan Sundheimer. Fee Amount $100
   10/21/2020             Filed by Creditor NWCC, LLC (Haskins, Thomas)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   10/21/2020             ( 100.00). Receipt number 28201179, amount $ 100.00 (re: Doc# 1260). (U.S. Treasury)

                             1261 (2 pgs) Certificate of service re: Joinder to Objection to Disclosure Statement filed
                          by Interested Party Meta-e Discovery, LLC (RE: related document(s)1240 Joinder). (Umari,
   10/21/2020             Basil)

                             1262 (3 pgs) Motion to appear pro hac vice for Joseph T. Moldovan. Fee Amount $100
   10/21/2020             Filed by Interested Party Meta-e Discovery, LLC (Umari, Basil)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   10/21/2020             ( 100.00). Receipt number 28201283, amount $ 100.00 (re: Doc# 1262). (U.S. Treasury)

   10/21/2020                 1263 (4 pgs) Emergency Motion to continue hearing on (related documents 1080
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.292 204/439



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                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Annable,
                          Zachery)

                             1264 (6 pgs) Stipulation Resolving Proof of Claim No. 86 of NWCC, LLC filed by
                          Debtor Highland Capital Management, L.P.. (Annable, Zachery) MODIFIED to correct text
   10/21/2020             on 10/22/2020 (Ecker, C.).

   10/21/2020                1265 (41 pgs) Certificate of service re: Documents Served on or Before October 16, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1178 Witness
                          and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1089 Motion to compromise controversy with (a) the Redeemer Committee of
                          the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim
                          No. 81). ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) filed by
                          Debtor Highland Capital Management, L.P., 1179 Omnibus Objection to claim(s) of
                          Creditor(s) Crescent Research; Hedgeye Risk Management, LLC; James D. Dondero;
                          NexVest, LLC; James D. Dondero.. Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 11/18/2020. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor
                          Highland Capital Management, L.P., 1180 INCORRECT ENTRY: EVENT CODE. SEE
                          DOCUMENT 1214. Motion to disallow claims (Debtor's Motion for Partial Summary
                          Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London
                          Branch) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--
                          Proposed Order) (Annable, Zachery) Modified on 10/19/2020. filed by Debtor Highland
                          Capital Management, L.P., 1181 Brief in support filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for Partial Summary Judgment on
                          Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London Branch)).
                          (Annable, Zachery). Modified linkage on 10/19/2020. filed by Debtor Highland Capital
                          Management, L.P., 1184 Support/supplemental document (Appendix of Exhibits in Support of
                          Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS
                          Securities LLC and UBS AG, London Branch) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS Securities LLC and UBS AG, London Branch filed by
                          Debtor Highland Capital Management, L.P.)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19) (Annable, Zachery).
                          Related document(s) 1214 Motion for summary judgment filed by Debtor Highland Capital
                          Management, L.P.. Modified linkage on 10/19/2020. filed by Debtor Highland Capital
                          Management, L.P., 1185 Declaration re: (Declaration of Elissa A. Wagner in Support of
                          Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS
                          Securities LLC and UBS AG, London Branch) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for partial summary judgment on
                          proof of claim(s) 190 and 191 of UBS Securities LLC and UBS AG, London Branch filed by
                          Debtor Highland Capital Management, L.P. )). (Annable, Zachery). Modified linkage on
                          10/19/2020. filed by Debtor Highland Capital Management, L.P., 1187 Motion to file
                          document under seal. (Debtor's Motion for Leave to File Certain Documents under Seal in
                          Connection with Debtor's Motion for Partial Summary Judgment on Proof of Claim Nos. 190
                          and 191 of UBS Securities LLC and UBS AG, London Branch) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor
                          Highland Capital Management, L.P., 1193 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1179 Omnibus Objection to claim(s) of
                          Creditor(s) Crescent Research; Hedgeye Risk Management, LLC; James D. Dondero;
                          NexVest, LLC; James D. Dondero.. Filed by Debtor Highland Capital Management, L.P..
                          Responses due by 11/18/2020. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be
                          held on 12/14/2020 at 02:30 PM Dallas Judge Jernigan Ctrm for 1179, filed by Debtor
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.293 205/439



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                          Highland Capital Management, L.P., 1202 Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1087 Motion to compromise controversy
                          with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No.
                          23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
                          Management, L.P. (Claim No. 159). ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
                          # 4 Exhibit 4) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1266 (2 pgs) Order granting motion to continue hearing on (related document # 1263)
                          (related documents Disclosure statement) Hearing to be held on 10/27/2020 at 10:30 AM
   10/22/2020             Dallas Judge Jernigan Ctrm for 1080, Entered on 10/22/2020. (Ecker, C.)

                            1267 (3 pgs) Notice of change of address filed by Interested Parties UBS AG London
   10/22/2020             Branch, UBS Securities LLC. (Sosland, Martin)

                             1268 (3 pgs) Amended Notice of hearing (Amended Notice of Hearing on Disclosure
                          Statement for the First Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1080
                          Amended disclosure statement filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)945 Disclosure statement). (Attachments: # 1 Exhibit A--First Amended
                          Plan of Reorganization # 2 Exhibit B--Organizational Chart)). Hearing to be held on
   10/22/2020             10/27/2020 at 10:30 AM Dallas Judge Jernigan Ctrm for 1080, (Annable, Zachery)

                              1269 (26 pgs) Certificate of service re: Documents Served on or Before October 19, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1206 Notice
                          to take deposition of W. Kevin Moentmann filed by Debtor Highland Capital Management,
                          L.P.. filed by Debtor Highland Capital Management, L.P., 1217 Amended Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1087 Motion to
                          compromise controversy with (A) Acis Capital Management, L.P. and Acis Capital
                          Management GP LLC (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No.
                          156), and (C) Acis Capital Management, L.P. (Claim No. 159). Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order), 1089 Motion to
                          compromise controversy with (a) the Redeemer Committee of the Highland Crusader Fund
                          (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81). Filed by Debtor
                          Highland Capital Management, L.P. Objections due by 10/19/2020. (Attachments: # 1
                          Exhibit A--Proposed Order)). Hearing to be held on 10/20/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 1087 and for 1089, filed by Debtor Highland Capital Management, L.P.,
                          1220 Reply to (related document(s): 1190 Objection filed by Interested Party UBS Securities
                          LLC, Interested Party UBS AG London Branch) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 1221 Omnibus
                          Reply to (related document(s): 1121 Response filed by Interested Party James Dondero, 1177
                          Response filed by Creditor CLO Holdco, Ltd., 1191 Response filed by Interested Party
                          Highland CLO Funding, Ltd., 1195 Objection filed by Creditor HarbourVest et al, 1201
                          Objection filed by Creditor Patrick Daugherty) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital
                          Management, L.P., 1224 Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1214 Motion for partial summary judgment on proof of
                          claim(s) 190 and 191 of UBS Securities LLC and UBS AG, London Branch filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A - Proposed Order) (RE:
                          Related document(s) 928 Objection to claim filed by Debtor Highland Capital Management,
                          L.P.).). Hearing to be held on 11/20/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1214,
   10/22/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   10/22/2020                 1270 (20 pgs) Certificate of service re: Documents Served on October 20, 2020 Filed by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.294 206/439



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                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1233 First
                          Supplemental Order Sustaining First Omnibus Objection to Certain (A) DuplicateClaims; (B)
                          Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims;
                          and (F) Insufficient-Documentation Claims ( (RE: related document(s)906 Objection to claim
                          filed by Debtor Highland Capital Management, L.P.). Entered on 10/20/2020 (Okafor, M.),
                          1235 Order granting motion to seal documents (related document 1187 Debtor's Motion for
                          Leave to File Certain Documents under Seal in Connection with Debtor's Motion for Partial
                          Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS
                          AG, London Branch) Filed by Debtor Highland Capital Management, L.P.) Entered on
                          10/20/2020. (Okafor, M.)). (Kass, Albert)

                             1271 (256 pgs) Transcript regarding Hearing Held 10/20/2020 (256 pages) RE: Motions
                          to Compromise Controversy. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 01/21/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 1256 Hearing held on 10/20/2020. (RE:
                          related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159), filed by Debtor Highland Capital Management, L.P.) (Appearances: I. Kharasch, J.
                          Morris, and G. Demo for Debtors; M. Clemente for Unsecured Creditors Committee; R. Patel
                          and B. Shaw for Acis and Terrys; S. Tomkowiak, A. Clubok, and K. Posin for UBS; T.
                          Mascherin, M. Hankin, and M. Platt for Redeemer Committee; J. Wilson, M. Lynn, J. Bonds,
                          and B. Assink for J. Dondero; J. Kathman for P. Daugherty; R. Matsumura for HCLOF; J.
                          Kane for CLO Holdco; E. Weisgerber for HarbourVest; L. Lambert for UST. Evidentiary
                          hearing. Court recessed after evidence closed and will reconvene at 10:00 am 10/21/20 for
                          closing arguments.), 1257 Hearing held on 10/20/2020. (RE: related document(s)1089
                          Motion to compromise controversy with (a) the Redeemer Committee of the Highland
                          Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81), filed
                          by Debtor Highland Capital Management, L.P.) (Appearances: I. Kharasch, J. Morris, and G.
                          Demo for Debtors; M. Clemente for Unsecured Creditors Committee; R. Patel and B. Shaw
                          for Acis and Terrys; S. Tomkowiak, A. Clubok, and K. Posin for UBS; T. Mascherin, M.
                          Hankin, and M. Platt for Redeemer Committee; J. Wilson, M. Lynn, J. Bonds, and B. Assink
                          for J. Dondero; J. Kathman for P. Daugherty; R. Matsumura for HCLOF; J. Kane for CLO
                          Holdco; E. Weisgerber for HarbourVest; L. Lambert for UST. Evidentiary hearing. Motion
                          approved, based on reasoning given orally. Counsel to upload orders.)). Transcript to be
   10/23/2020             made available to the public on 01/21/2021. (Rehling, Kathy)

                             1272 (1 pg) Request for transcript regarding a hearing held on 10/21/2020. The requested
   10/23/2020             turn-around time is hourly. (Edmond, Michael)

                            1273 (2 pgs) Order granting motion to compromise controversy with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81). Filed by Debtor Highland Capital Management, L.P (related
   10/23/2020             document # 1089) Entered on 10/23/2020. (Okafor, M.)

   10/23/2020                1274 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1099 Motion for relief from stay - Daugherty's Motion to
                          Confirm Status of Automatic Stay, or alternatively to Modify Automatic Stay Fee amount
                          $181, Filed by Creditor Patrick Daugherty Objections due by 10/8/2020. (Attachments: # 1
                          Exhibit Declaration of Patrick Daugherty in Support of Motion # 2 Service List)). Hearing to
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.295 207/439



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                          be held on 10/28/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1099, (Annable,
                          Zachery)

                             1275 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order
                          (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to
                          Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing
                          Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and
                          Solicitation Procedures; and (E) Approving Form and Manner of Notice) (related
                          document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--
                          Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice
                          of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on
   10/23/2020             10/27/2020 at 10:30 AM Dallas Judge Jernigan Ctrm for 1108, (Annable, Zachery)

                             1276 (1 pg) Order granting motion to appear pro hac vice adding Faheem A. Mahmooth
                          for Pension Benefit Guaranty Corporation (related document # 1247) Entered on 10/23/2020.
   10/23/2020             (Okafor, M.)

                             1277 (1 pg) Order granting motion to appear pro hac vice adding Jonathan D. Sundheimer
   10/23/2020             for NWCC, LLC (related document 1260) Entered on 10/23/2020. (Okafor, M.)

                            1278 (1 pg) Order granting motion to appear pro hac vice adding Joseph T. Moldovan for
   10/23/2020             Meta-e Discovery, LLC (related document # 1262) Entered on 10/23/2020. (Okafor, M.)

                             1279 (34 pgs; 3 docs) Motion to file document under seal.- Daugherty's Motion for Leave
                          to File Under Seal His Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 and Supporting
                          Documents Filed by Creditor Patrick Daugherty (Attachments: # 1 Exhibit A - Proposed
   10/23/2020             Order # 2 Exhibit B - Delaware Protective Order) (Kathman, Jason)

                            1280 (1215 pgs; 3 docs) Motion for leave to Amend Proof of Claim No. 77 Filed by
                          Creditor Patrick Daugherty Objections due by 11/16/2020. (Attachments: # 1 Exhibit A -
   10/23/2020             Proposed Order # 2 Exhibit B - Second Amended Proof of Claim) (Kathman, Jason)

                            1281 (7 pgs; 2 docs) Motion for leave - Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick
   10/23/2020             Daugherty (Attachments: # 1 Exhibit A - Proposed Order) (Kathman, Jason)

                             1282 (48 pgs) Brief in support filed by Creditor Patrick Daugherty (RE: related
                          document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of Claim
   10/23/2020             for Voting Purposes Pursuant to Bankruptcy Rule 3018). (Kathman, Jason)

                             1283 (43 pgs) Application for compensation Eleventh Monthly Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 9/30/2020, Fee: $356,889.96, Expenses:
                          $2,204.73. Filed by Attorney Juliana Hoffman Objections due by 11/13/2020. (Hoffman,
   10/23/2020             Juliana)

   10/23/2020               1284 (2559 pgs; 4 docs) Support/supplemental document- Appendix to Daugherty's
                          Memorandum of Law and Brief in Support of Motion for Temporary Allowance for Voting
                          Purposes Pursuant to Bankruptcy Rule 3018 filed by Creditor Patrick Daugherty (RE: related
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.296 208/439



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                          document(s)1282 Brief). (Attachments: # 1 Appendix - Part 1 of 3 # 2 Appendix - Part 2 # 3
                          Appendix - Part 3) (Kathman, Jason)

                             1285 (48 pgs) Transcript regarding Hearing Held 10/21/2020 (48 pages) RE: Motion to
                          Compromise Controversy. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 01/22/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 1258 Hearing held on 10/21/2020. (RE:
                          related document(s)1087 Motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159), filed by Debtor Highland Capital Management, L.P.) (Appearances: I. Kharasch, J.
                          Morris, and G. Demo for Debtors; M. Clemente for Unsecured Creditors Committee; A.
                          Chiarello for Acis and Terrys; M. Hankin, and M. Platt for Redeemer Committee; M. Lynn
                          for J. Dondero; J. Kathman for P. Daugherty; R. Matsumura for HCLOF; J. Kane for CLO
                          Holdco; E. Weisgerber for HarbourVest; L. Lambert for UST. Nonevidentiary closing
                          arguments. Court granted motion, based on reasoning granted orally. Counsel to upload
   10/24/2020             order.)). Transcript to be made available to the public on 01/22/2021. (Rehling, Kathy)

                             1286 (40 pgs) Omnibus Response opposed to (related document(s): 1209 Objection to
                          disclosure statement filed by Interested Party Jefferies LLC, 1210 Objection to disclosure
                          statement filed by Creditor Pension Benefit Guaranty Corporation, 1218 Objection to
                          disclosure statement filed by Creditor Patrick Daugherty, 1219 Objection to disclosure
                          statement filed by Creditor HarbourVest et al, 1238 Objection to disclosure statement filed by
                          Interested Party UBS Securities LLC, Interested Party UBS AG London Branch, 1239
                          Objection to disclosure statement filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 1241 Objection to disclosure statement filed by Creditor Acis Capital
                          Management GP, LLC, Creditor Acis Capital Management, L.P.) filed by Debtor Highland
   10/25/2020             Capital Management, L.P.. (Annable, Zachery)

                             1287 (62 pgs) Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan). (Annable,
   10/25/2020             Zachery)

                            1288 (65 pgs) Support/supplemental document (Redline of Second Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
   10/25/2020             Management, L.P. (RE: related document(s)1287 Chapter 11 plan). (Annable, Zachery)

                             1289 (167 pgs) Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
   10/25/2020             statement). (Annable, Zachery)

                             1290 (105 pgs) Support/supplemental document (Redline of the Disclosure Statement for
                          the Second Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1289 Disclosure
   10/25/2020             statement). (Annable, Zachery)

   10/25/2020               1291 (9 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1276
                          Order granting motion to appear pro hac vice adding Faheem A. Mahmooth for Pension


https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.297 209/439



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                          Benefit Guaranty Corporation (related document 1247) Entered on 10/23/2020. (Okafor, M.))
                          No. of Notices: 1. Notice Date 10/25/2020. (Admin.)

                            1292 (9 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1278
                          Order granting motion to appear pro hac vice adding Joseph T. Moldovan for Meta-e
                          Discovery, LLC (related document 1262) Entered on 10/23/2020. (Okafor, M.)) No. of
   10/25/2020             Notices: 1. Notice Date 10/25/2020. (Admin.)

                             1293 (3 pgs) Certificate of service re: (Supplemental) Notice of Hearing on Disclosure
                          Statement for the First Amended Plan of Reorganization of Highland Capital Management,
                          L.P Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1081
                          Notice of hearing (Notice of Hearing on Disclosure Statement for the First Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 1080, filed by Debtor Highland Capital Management, L.P., 1097
                          Certificate of service re: Notice of Hearing on Disclosure Statement for the First Amended
                          Plan of Reorganization of Highland Capital Management, L.P Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1081 Notice of hearing (Notice of
                          Hearing on Disclosure Statement for the First Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1080 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement). (Attachments: # 1
                          Exhibit A--First Amended Plan of Reorganization # 2 Exhibit B--Organizational Chart)).
                          Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1080, filed by
                          Debtor Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson
   10/26/2020             Consultants LLC). (Kass, Albert)

                             1294 (18 pgs) Certificate of service re: Documents Served on October 21, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1244 Application for
                          compensation Third Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 6/1/2020 to 8/31/2020, Fee: $886,615.45,
                          Expenses: $1,833.10. Filed by Attorney Juliana Hoffman Objections due by 11/10/2020. filed
                          by Financial Advisor FTI Consulting, Inc., 1248 Application for compensation Cover Sheet
                          and Twelfth Monthly Application for Compensation and for Reimbursement of Expenses for
                          the Period from September 1, 2020 through September 30, 2020 for Pachulski Stang Ziehl &
                          Jones, LLP, Debtor's Attorney, Period: 9/10/2020 to 9/30/2020, Fee: $828,193.00, Expenses:
                          $7,707.11. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 11/12/2020.
                          (Pomerantz, Jeffrey) MODIFIED to correct party requesting fees/expenses. on 10/22/2020
                          (Ecker, C.). filed by Debtor Highland Capital Management, L.P., 1263 Emergency Motion to
                          continue hearing on (related documents 1080 Disclosure statement) Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.,
                          1264 Stipulation Resolving Proof of Claim No. 86 of NWCC, LLC filed by Debtor Highland
                          Capital Management, L.P.. (Annable, Zachery) MODIFIED to correct text on 10/22/2020
   10/26/2020             (Ecker, C.). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1295 (5 pgs) Support/supplemental document (Notice of Supplemental Disclosures) filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)1289 Disclosure
   10/26/2020             statement). (Annable, Zachery)

   10/27/2020                 1296 (147 pgs) Application for compensation Sidley Austin LLP's Third Interim
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.298 210/439



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                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2020 to 8/31/2020, Fee:
                          $1,865,520.45, Expenses: $18,678.47. Filed by Attorney Juliana Hoffman Objections due by
                          11/17/2020. (Hoffman, Juliana)

                             1297 (1 pg) Request for transcript regarding a hearing held on 10/27/2020. The requested
   10/27/2020             turn-around time is hourly (Jeng, Hawaii)

                             1298 (26 pgs) Certificate of service re: Documents Served on or Before October 23, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1266 Order
                          granting motion to continue hearing on (related document 1263) (related documents
                          Disclosure statement) Hearing to be held on 10/27/2020 at 10:30 AM Dallas Judge Jernigan
                          Ctrm for 1080, Entered on 10/22/2020. (Ecker, C.), 1268 Amended Notice of hearing
                          (Amended Notice of Hearing on Disclosure Statement for the First Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). Hearing to be held on 10/27/2020 at 10:30 AM Dallas Judge
   10/27/2020             Jernigan Ctrm for 1080, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                              1307 Hearing held on 10/27/2020., Hearing continued (RE: related document(s)1289
                          Amended disclosure statement filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)945 Disclosure statement, 1080 Disclosure statement).) Hearing to be
                          held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1289, (Appearances: J.
                          Pomeranz, I. Kharasch, and G. Demo for Debtor; M. Clemente and P. Reid for Unsecured
                          Creditors Committee; R. Patel and A. Chiarello for Acis and Terrys; T. Mascherin, M.
                          Hankin, and M. Platt for Redeemer Committee; J. Kathman for P. Daugherty; K. Posin for
                          UBS; D. Stroik for HarbourVest; M. Baird for SEC; L. Lambert for UST. Nonevidentiary
                          hearing. Court sustained various objections to adequacy of certain provisions of disclosure
                          statement, orally outlining both specific and general concerns (e.g., vagueness and breadth of
                          releases; delay in Debtor providing certain important documents, such as Claimant Trust
                          Agreement, until Plan Supplement; legal justification for an administrative convenience class
                          at the $1 million level, consisting mostly of prepetition lawyers fee claim; lack of clarity
                          about assets that will be liquidated for Class 7, particularly in scenario where certain disputed
                          claims are allowed (revenue streams from Debtors management of third-party assets?); lack
                          of support of UCC for plan). Hearing continued to 11/23/20.) (Edmond, Michael) (Entered:
   10/27/2020             10/28/2020)

   10/27/2020                1308 Hearing held on 10/27/2020., Hearing continued (RE: related document(s)1108
                          Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan; (D)
                          Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E) Approving
                          Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080 Disclosure
                          statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit 1--
                          Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation
                          Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice of
                          Assumption)) Continued hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge
                          Jernigan Ctrm for 1108, (Appearances: J. Pomeranz, I. Kharasch, and G. Demo for Debtor;
                          M. Clemente and P. Reid for Unsecured Creditors Committee; R. Patel and A. Chiarello for
                          Acis and Terrys; T. Mascherin, M. Hankin, and M. Platt for Redeemer Committee; J.
                          Kathman for P. Daugherty; K. Posin for UBS; D. Stroik for HarbourVest; M. Baird for SEC;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.299 211/439



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                          L. Lambert for UST. Nonevidentiary hearing. Court sustained various objections to adequacy
                          of certain provisions of disclosure statement, orally outlining both specific and general
                          concerns (e.g., vagueness and breadth of releases; delay in Debtor providing certain
                          important documents, such as Claimant Trust Agreement, until Plan Supplement; legal
                          justification for an administrative convenience class at the $1 million level, consisting mostly
                          of prepetition lawyers fee claim; lack of clarity about assets that will be liquidated for Class
                          7, particularly in scenario where certain disputed claims are allowed (revenue streams from
                          Debtors management of third-party assets?); lack of support of UCC for plan). Hearing
                          continued to 11/23/20.) (Edmond, Michael) (Entered: 10/28/2020)

                             1299 (1 pg) Request for transcript regarding a hearing held on 10/28/2020. The requested
   10/28/2020             turn-around time is hourly (Jeng, Hawaii)

                             1300 (3 pgs) Notice of hearing (Notice of Continued Hearing on Disclosure Statement for
                          the Second Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1289 Amended
                          disclosure statement filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)945 Disclosure statement, 1080 Disclosure statement).). Hearing to be held on
   10/28/2020             11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1289, (Annable, Zachery)

                            1301 (9 pgs) Order approving stipulation resolving Proof of Claim No. 86 of NWCC,
                          LLC (RE: related document(s)1264 Stipulation filed by Debtor Highland Capital
   10/28/2020             Management, L.P.). Entered on 10/28/2020 (Okafor, M.)

                            1302 (24 pgs) Order granting motion to compromise controversy with (A) Acis Capital
                          Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N.
                          Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim
                          No. 159). Filed by Debtor Highland Capital Management, L.P. (related document # 1087)
   10/28/2020             Entered on 10/28/2020. (Okafor, M.)

                             1306 Hearing held on 10/28/2020. (RE: related document(s)1099 Motion for relief from
                          stay - Daugherty's Motion to Confirm Status of Automatic Stay, or alternatively to Modify
                          Automatic Stay, filed by Creditor Patrick Daugherty.) (Appearances: J. Kathman and T.
                          Uebler for Movant, P. Daugherty; J. Morris for Debtor. Nonevidentiary hearing (Declaration
                          only). Motion granted for reasons stated orally. Mr. Kathman to upload order.) (Edmond,
   10/28/2020             Michael)

                             1309 (3 pgs) Amended Notice of hearing (Second Amended Notice of Hearing) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1108 Motion for leave
                          (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the Disclosure
                          Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of Reorganization;
                          (C) Establishing Deadline for Filing Objections to Confirmation of Plan; (D) Approving
                          Form of Ballots, Voting Deadline and Solicitation Procedures; and (E) Approving Form and
                          Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080 Disclosure statement)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed
                          Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing #
                          4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)).
                          Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1108,
   10/28/2020             (Annable, Zachery)

   10/28/2020                1310 (19 pgs) Certificate of service re: 1) Order Approving Debtor's Settlement with (A)
                          the Redeemer Committee of the Highland Crusader Fund (Claim No. 72), and (B) the

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                          Highland Crusader Funds (Claim No. 81), and Authorizing Actions Consistent Therewith; 2)
                          Amended Notice of Hearing on Patrick Daugherty's Motion to Confirm Status of Automatic
                          Stay, or Alternatively to Modify Automatic Stay; and 3) Amended Notice of Hearing Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1273 Order granting
                          motion to compromise controversy with (a) the Redeemer Committee of the Highland
                          Crusader Fund (Claim No. 72), and (b) the Highland Crusader Funds (Claim No. 81). Filed
                          by Debtor Highland Capital Management, L.P (related document 1089) Entered on
                          10/23/2020. (Okafor, M.), 1274 Amended Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1099 Motion for relief from stay -
                          Daugherty's Motion to Confirm Status of Automatic Stay, or alternatively to Modify
                          Automatic Stay Fee amount $181, Filed by Creditor Patrick Daugherty Objections due by
                          10/8/2020. (Attachments: # 1 Exhibit Declaration of Patrick Daugherty in Support of Motion
                          # 2 Service List)). Hearing to be held on 10/28/2020 at 09:30 AM Dallas Judge Jernigan
                          Ctrm for 1099, filed by Debtor Highland Capital Management, L.P., 1275 Amended Notice
                          of hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108
                          Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 10/27/2020 at 10:30 AM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1311 (11 pgs) Certificate of service re: 1) Summary Cover Sheet and Eleventh Monthly
                          Application of Sidley Austin LLP for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from September 1, 2020 Through September 30, 2020; and 2)
                          Debtors Omnibus Reply to Objections to Approval of the Debtors Disclosure Statement for
                          the Debtors First Amended Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy
                          Code Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1283
                          Application for compensation Eleventh Monthly Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 9/1/2020 to 9/30/2020, Fee: $356,889.96, Expenses: $2,204.73. Filed by
                          Attorney Juliana Hoffman Objections due by 11/13/2020. filed by Creditor Committee
                          Official Committee of Unsecured Creditors, 1286 Omnibus Response opposed to (related
                          document(s): 1209 Objection to disclosure statement filed by Interested Party Jefferies LLC,
                          1210 Objection to disclosure statement filed by Creditor Pension Benefit Guaranty
                          Corporation, 1218 Objection to disclosure statement filed by Creditor Patrick Daugherty,
                          1219 Objection to disclosure statement filed by Creditor HarbourVest et al, 1238 Objection to
                          disclosure statement filed by Interested Party UBS Securities LLC, Interested Party UBS AG
                          London Branch, 1239 Objection to disclosure statement filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 1241 Objection to disclosure statement filed by Creditor
                          Acis Capital Management GP, LLC, Creditor Acis Capital Management, L.P.) filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
   10/28/2020             L.P.). (Kass, Albert)

   10/29/2020                1312 (95 pgs) Transcript regarding Hearing Held 10/27/2020 (95 pages) RE: Amended
                          Disclosure Statement, Motion for Entry of an Order Approving Adequacy of Disclosure
                          Statement. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO
                          THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 01/27/2021. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.301 213/439



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                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 1308 Hearing held on 10/27/2020., Hearing
                          continued (RE: related document(s)1108 Motion for leave (Debtor's Motion for Entry of an
                          Order (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to
                          Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing
                          Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and
                          Solicitation Procedures; and (E) Approving Form and Manner of Notice) (related
                          document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--
                          Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice
                          of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)) Continued hearing to be held
                          on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1108, (Appearances: J.
                          Pomeranz, I. Kharasch, and G. Demo for Debtor; M. Clemente and P. Reid for Unsecured
                          Creditors Committee; R. Patel and A. Chiarello for Acis and Terrys; T. Mascherin, M.
                          Hankin, and M. Platt for Redeemer Committee; J. Kathman for P. Daugherty; K. Posin for
                          UBS; D. Stroik for HarbourVest; M. Baird for SEC; L. Lambert for UST. Nonevidentiary
                          hearing. Court sustained various objections to adequacy of certain provisions of disclosure
                          statement, orally outlining both specific and general concerns (e.g., vagueness and breadth of
                          releases; delay in Debtor providing certain important documents, such as Claimant Trust
                          Agreement, until Plan Supplement; legal justification for an administrative convenience class
                          at the $1 million level, consisting mostly of prepetition lawyers fee claim; lack of clarity
                          about assets that will be liquidated for Class 7, particularly in scenario where certain disputed
                          claims are allowed (revenue streams from Debtors management of third-party assets?); lack
                          of support of UCC for plan). Hearing continued to 11/23/20.)). Transcript to be made
                          available to the public on 01/27/2021. (Rehling, Kathy)

                             1313 (5 pgs) Certificate of service re: Summary Cover Sheet and Third Interim Fee
                          Application of Sidley Austin LLP, Attorneys for the Official Committee of Unsecured
                          Creditors, for Compensation and Reimbursement of Expenses for the Period from June 1,
                          2020 Through and Including August 31, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1296 Application for compensation Sidley Austin
                          LLP's Third Interim Application for Compensation and Reimbursement of Expenses for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2020 to
                          8/31/2020, Fee: $1,865,520.45, Expenses: $18,678.47. Filed by Attorney Juliana Hoffman
                          Objections due by 11/17/2020. filed by Creditor Committee Official Committee of
   10/29/2020             Unsecured Creditors). (Kass, Albert)

                             1315 (3 pgs) Order directing UBS' Offer of Proof (RE: related document(s)1089 Motion
                          to compromise controversy filed by Debtor Highland Capital Management, L.P.). Entered on
   10/30/2020             10/30/2020 (Okafor, M.)

                            1316 (4 pgs) Certificate No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1160 Application for compensation Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   10/30/2020             Period: 8/1/2020 to 8/31/2020, Fee: $198,616.32, Expenses: $0.). (Hoffman, Juliana)

   10/30/2020                1317 (3 pgs) Certificate of service re: (Supplemental) Notice of Hearing on Disclosure
                          Statement for the First Amended Plan of Reorganization of Highland Capital Management,
                          L.P Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1081
                          Notice of hearing (Notice of Hearing on Disclosure Statement for the First Amended Plan of
                          Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1080 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
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                          statement). (Attachments: # 1 Exhibit A--First Amended Plan of Reorganization # 2 Exhibit
                          B--Organizational Chart)). Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge
                          Jernigan Ctrm for 1080, filed by Debtor Highland Capital Management, L.P., 1097
                          Certificate of service re: Notice of Hearing on Disclosure Statement for the First Amended
                          Plan of Reorganization of Highland Capital Management, L.P Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1081 Notice of hearing (Notice of
                          Hearing on Disclosure Statement for the First Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1080 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement). (Attachments: # 1
                          Exhibit A--First Amended Plan of Reorganization # 2 Exhibit B--Organizational Chart)).
                          Hearing to be held on 10/22/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 1080, filed by
                          Debtor Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson
                          Consultants LLC). (Kass, Albert)

                             1318 (32 pgs) Transcript regarding Hearing Held 10/28/2020 (32 pages) RE: Patrick
                          Daugherty's Motion to Confirm Status of Automatic Stay. THIS TRANSCRIPT WILL BE
                          MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS
                          AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 01/29/2021. Until
                          that time the transcript may be viewed at the Clerk's Office or a copy may be obtained from
                          the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1306 Hearing held on 10/28/2020. (RE: related document(s)1099 Motion for
                          relief from stay - Daugherty's Motion to Confirm Status of Automatic Stay, or alternatively to
                          Modify Automatic Stay, filed by Creditor Patrick Daugherty.) (Appearances: J. Kathman and
                          T. Uebler for Movant, P. Daugherty; J. Morris for Debtor. Nonevidentiary hearing
                          (Declaration only). Motion granted for reasons stated orally. Mr. Kathman to upload order.)).
   10/31/2020             Transcript to be made available to the public on 01/29/2021. (Rehling, Kathy)

                            1319 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1315
                          Order directing UBS' Offer of Proof (RE: related document(s)1089 Motion to compromise
                          controversy filed by Debtor Highland Capital Management, L.P.). Entered on 10/30/2020
   11/01/2020             (Okafor, M.)) No. of Notices: 2. Notice Date 11/01/2020. (Admin.)

                             1320 (1 pg) Clerk's correspondence requesting an order from attorney for debtor. (RE:
                          related document(s)771 Objection to claim(s) 3 of Creditor(s) Acis Capital Management L.P.
                          and Acis Capital Management GP, LLC.. Filed by Debtor Highland Capital Management,
   11/02/2020             L.P.. Responses due by 7/23/2020.) Responses due by 11/16/2020. (Ecker, C.)

                             1321 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)1119 Motion to extend time to Deadline To File An Adversary
                          Proceeding Against CLO Holdco, Ltd. (EMERGENCY) Filed by Creditor Committee
                          Official Committee of Unsecured Creditors Objections due by 10/23/2020.) Responses due
   11/02/2020             by 11/16/2020. (Ecker, C.)

   11/02/2020                1322 (172 pgs) Certificate of service re: Documents Served on October 28, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300 Notice of
                          hearing (Notice of Continued Hearing on Disclosure Statement for the Second Amended Plan
                          of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1289 Amended disclosure statement filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at 01:30 PM
                          Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital Management, L.P.,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.303 215/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

                          1301 Order approving stipulation resolving Proof of Claim No. 86 of NWCC, LLC (RE:
                          related document(s)1264 Stipulation filed by Debtor Highland Capital Management, L.P.).
                          Entered on 10/28/2020 (Okafor, M.), 1302 Order granting motion to compromise controversy
                          with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No.
                          23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
                          Management, L.P. (Claim No. 159). Filed by Debtor Highland Capital Management, L.P.
                          (related document 1087) Entered on 10/28/2020. (Okafor, M.), 1309 Amended Notice of
                          hearing (Second Amended Notice of Hearing) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order
                          (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to
                          Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing
                          Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and
                          Solicitation Procedures; and (E) Approving Form and Manner of Notice) (related
                          document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--
                          Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice
                          of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on
                          11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1108, filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                            1323 (2 pgs) Certificate of service re: Daugherty's Objection to Approval of Debtor's
                          Disclosure Statement filed by Creditor Patrick Daugherty (RE: related document(s)1218
   11/03/2020             Objection to disclosure statement). (Kathman, Jason)

                              1324 (2 pgs) Certificate of service re: Daugherty's Motion for Leave to File Under Seal
                          filed by Creditor Patrick Daugherty (RE: related document(s)1279 Motion to file document
                          under seal.- Daugherty's Motion for Leave to File Under Seal His Memorandum of Law and
                          Brief in Support of Motion for Temporary Allowance for Voting Purposes Pursuant to
   11/03/2020             Bankruptcy Rule 3018 and Supporting Documents). (Kathman, Jason)

                             1325 (2 pgs) Certificate of service re: Daugherty's Motion for Leave to Amend Proof of
                          Claim No. 77 filed by Creditor Patrick Daugherty (RE: related document(s)1280 Motion for
   11/03/2020             leave to Amend Proof of Claim No. 77). (Kathman, Jason)

                             1326 (2 pgs) Certificate of service re: Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes, Brief and Appendix filed by Creditor Patrick Daugherty (RE:
                          related document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018, 1282 Brief, 1284
   11/03/2020             Support/supplemental document). (Kathman, Jason)

                             1327 (3 pgs) Order on Creditor Patrick Daugherty's Motion to confirm status of automatic
                          stay, or alternatively to modify automatic stay (related document # 1099) Entered on
   11/03/2020             11/3/2020. (Okafor, M.)

                             1328 (3 pgs) Notice of Withdrawal of Motion for Relief from the Automatic Stay to Allow
                          Pursuit of Motion for Order to Show Cause For Violations of the Acis Plan Injunction filed
                          by Acis Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related
                          document(s)593 Motion for relief from stay Fee amount $181, Filed by Acis Capital
                          Management GP, LLC, Acis Capital Management, L.P. Objections due by 5/1/2020.
                          (Attachments: # 1 Exhibit 1 (Draft Motion Show Cause Motion) # 2 Exhibit 2 (DAF
                          Complaint 1st case) # 3 Exhibit 3 (DAF Dismissal first case) # 4 Exhibit 4 (DAF Complaint
   11/03/2020             2nd case) # 5 Exhibit 5 (DAF Dismissal 2nd Case) # 6 Proposed Order)). (Shaw, Brian)

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   11/03/2020                1329 (9 pgs) Debtor-in-possession monthly operating report for filing period September
                          1, 2020 to September 30, 2020 filed by Debtor Highland Capital Management, L.P..
                          (Annable, Zachery)

                            1330 (3 pgs) Certificate No Objection filed by Other Professional Hayward & Associates
                          PLLC (RE: related document(s)1142 Application for compensation (Eighth Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward & Associates
                          PLLC as Local Counsel to the Debtor for the Period from July 1, 2020 through July 31,
   11/03/2020             2020) for Hayward & Associ). (Annable, Zachery)

                            1331 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to September 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   11/03/2020             Zachery)

                             1332 (12 pgs) Certificate of service re: filed by Debtor Highland Capital Management,
   11/04/2020             L.P. (RE: related document(s)1331 Notice (generic)). (Annable, Zachery)

                            1333 (6 pgs) Stipulation by Highland Capital Management, L.P. and Acis Capital
                          Management, L.P., Acis Capital Management GP, LLC, Joshua N. Terry, Jennifer G. Terry,
                          and James Dondero. filed by Debtor Highland Capital Management, L.P. (RE: related
   11/05/2020             document(s)1302 Order on motion to compromise controversy). (Annable, Zachery)

   11/05/2020                 1334 (16 pgs) Certificate of service re: (Amended) Documents Served on October 21,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1244
                          Application for compensation Third Interim Application for Compensation and
                          Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period: 6/1/2020 to
                          8/31/2020, Fee: $886,615.45, Expenses: $1,833.10. Filed by Attorney Juliana Hoffman
                          Objections due by 11/10/2020. filed by Financial Advisor FTI Consulting, Inc., 1248
                          Application for compensation Cover Sheet and Twelfth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from September 1, 2020
                          through September 30, 2020 for Pachulski Stang Ziehl & Jones, LLP, Debtor's Attorney,
                          Period: 9/10/2020 to 9/30/2020, Fee: $828,193.00, Expenses: $7,707.11. Filed by Attorney
                          Jeffrey Nathan Pomerantz Objections due by 11/12/2020. (Pomerantz, Jeffrey) MODIFIED
                          to correct party requesting fees/expenses. on 10/22/2020 (Ecker, C.). filed by Debtor
                          Highland Capital Management, L.P., 1263 Emergency Motion to continue hearing on (related
                          documents 1080 Disclosure statement) Filed by Debtor Highland Capital Management, L.P.
                          filed by Debtor Highland Capital Management, L.P., 1264 Stipulation Resolving Proof of
                          Claim No. 86 of NWCC, LLC filed by Debtor Highland Capital Management, L.P..
                          (Annable, Zachery) MODIFIED to correct text on 10/22/2020 (Ecker, C.). filed by Debtor
                          Highland Capital Management, L.P., 1294 Certificate of service re: Documents Served on
                          October 21, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1244 Application for compensation Third Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses: $1,833.10. Filed by Attorney Juliana
                          Hoffman Objections due by 11/10/2020. filed by Financial Advisor FTI Consulting, Inc.,
                          1248 Application for compensation Cover Sheet and Twelfth Monthly Application for
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                          Compensation and for Reimbursement of Expenses for the Period from September 1, 2020
                          through September 30, 2020 for Pachulski Stang Ziehl & Jones, LLP, Debtor's Attorney,
                          Period: 9/10/2020 to 9/30/2020, Fee: $828,193.00, Expenses: $7,707.11. Filed by Attorney
                          Jeffrey Nathan Pomerantz Objections due by 11/12/2020. (Pomerantz, Jeffrey) MODIFIED
                          to correct party requesting fees/expenses. on 10/22/2020 (Ecker, C.). filed by Debtor
                          Highland Capital Management, L.P., 1263 Emergency Motion to continue hearing on (related
                          documents 1080 Disclosure statement) Filed by Debtor Highland Capital Management, L.P.
                          filed by Debtor Highland Capital Management, L.P., 1264 Stipulation Resolving Proof of
                          Claim No. 86 of NWCC, LLC filed by Debtor Highland Capital Management, L.P..
                          (Annable, Zachery) MODIFIED to correct text on 10/22/2020 (Ecker, C.). filed by Debtor
                          Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson Consultants
                          LLC). (Kass, Albert)

   11/05/2020                 1335 (19 pgs) Certificate of service re: (Amended) 1) Order Approving Debtor's
                          Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim No. 72),
                          and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions Consistent
                          Therewith; 2) Amended Notice of Hearing on Patrick Daugherty's Motion to Confirm Status
                          of Automatic Stay, or Alternatively to Modify Automatic Stay; and 3) Amended Notice of
                          Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1273 Order granting motion to compromise controversy with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81). Filed by Debtor Highland Capital Management, L.P (related
                          document 1089) Entered on 10/23/2020. (Okafor, M.), 1274 Amended Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1099 Motion
                          for relief from stay - Daugherty's Motion to Confirm Status of Automatic Stay, or
                          alternatively to Modify Automatic Stay Fee amount $181, Filed by Creditor Patrick
                          Daugherty Objections due by 10/8/2020. (Attachments: # 1 Exhibit Declaration of Patrick
                          Daugherty in Support of Motion # 2 Service List)). Hearing to be held on 10/28/2020 at
                          09:30 AM Dallas Judge Jernigan Ctrm for 1099, filed by Debtor Highland Capital
                          Management, L.P., 1275 Amended Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for
                          Entry of an Order (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a
                          Hearing to Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline
                          for Filing Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting
                          Deadline and Solicitation Procedures; and (E) Approving Form and Manner of Notice)
                          (related document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit
                          1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--
                          Notice of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on
                          10/27/2020 at 10:30 AM Dallas Judge Jernigan Ctrm for 1108, filed by Debtor Highland
                          Capital Management, L.P., 1310 Certificate of service re: 1) Order Approving Debtor's
                          Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim No. 72),
                          and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions Consistent
                          Therewith; 2) Amended Notice of Hearing on Patrick Daugherty's Motion to Confirm Status
                          of Automatic Stay, or Alternatively to Modify Automatic Stay; and 3) Amended Notice of
                          Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1273 Order granting motion to compromise controversy with (a) the Redeemer
                          Committee of the Highland Crusader Fund (Claim No. 72), and (b) the Highland Crusader
                          Funds (Claim No. 81). Filed by Debtor Highland Capital Management, L.P (related
                          document 1089) Entered on 10/23/2020. (Okafor, M.), 1274 Amended Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1099 Motion
                          for relief from stay - Daugherty's Motion to Confirm Status of Automatic Stay, or
                          alternatively to Modify Automatic Stay Fee amount $181, Filed by Creditor Patrick
                          Daugherty Objections due by 10/8/2020. (Attachments: # 1 Exhibit Declaration of Patrick
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                          Daugherty in Support of Motion # 2 Service List)). Hearing to be held on 10/28/2020 at
                          09:30 AM Dallas Judge Jernigan Ctrm for 1099, filed by Debtor Highland Capital
                          Management, L.P., 1275 Amended Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for
                          Entry of an Order (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a
                          Hearing to Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline
                          for Filing Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting
                          Deadline and Solicitation Procedures; and (E) Approving Form and Manner of Notice)
                          (related document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit
                          1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--
                          Notice of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on
                          10/27/2020 at 10:30 AM Dallas Judge Jernigan Ctrm for 1108, filed by Debtor Highland
                          Capital Management, L.P.). filed by Claims Agent Kurtzman Carson Consultants LLC).
                          (Kass, Albert)

                             1336 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1327
                          Order on Creditor Patrick Daugherty's Motion to confirm status of automatic stay, or
                          alternatively to modify automatic stay (related document 1099) Entered on 11/3/2020.
   11/05/2020             (Okafor, M.)) No. of Notices: 1. Notice Date 11/05/2020. (Admin.)

                              1337 (5 pgs) Response opposed to (related document(s): 1214 Motion for summary
                          judgment filed by Debtor Highland Capital Management, L.P., 1215 Motion for summary
                          judgment filed by Interested Party Redeemer Committee of the Highland Crusader Fund)
   11/06/2020             filed by Interested Parties UBS AG London Branch, UBS Securities LLC. (Sosland, Martin)

                             1338 (10 pgs; 2 docs) Motion to allow claims(Motion for Temporary Allowance of Claims
                          for voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018) Filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC Objections due by
   11/06/2020             11/20/2020. (Attachments: # 1 Proposed Order) (Sosland, Martin)

                            1339 (9 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Parties UBS
                          AG London Branch, UBS Securities LLC (RE: related document(s)1273 Order on motion to
                          compromise controversy). Appellant Designation due by 11/20/2020. (Attachments: # 1
   11/06/2020             Exhibit)(Sosland, Martin)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   11/06/2020             Receipt number 28246686, amount $ 298.00 (re: Doc# 1339). (U.S. Treasury)

                             1340 (25 pgs) Application for compensation Eleventh Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 9/1/2020 to 9/30/2020, Fee: $170,859.60, Expenses: $806.60. Filed by Attorney
   11/06/2020             Juliana Hoffman Objections due by 11/30/2020. (Hoffman, Juliana)

                            1341 (59 pgs) Brief in opposition filed by Interested Parties UBS AG London Branch,
                          UBS Securities LLC (RE: related document(s)1214 Motion for summary judgment, 1215
   11/06/2020             Motion for summary judgment). (Sosland, Martin)

                             1342 (33 pgs) Brief in support filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1338 Motion to allow claims(Motion for Temporary
                          Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure
   11/06/2020             3018)). (Sosland, Martin)
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   11/06/2020               1343 (19 pgs) Motion to file document under seal.(With UBS's Brief and Appendix of
                          Exhibits in Opposition to Motions for Partial Summary Judgment on Proof of Claim Nos. 190
                          and 191 and in Support of Rule 56(d) Request) Filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (Sosland, Martin)

                            1344 (20 pgs) Motion to file document under seal.(With UBS's Brief and Appendix of
                          Exhibits in Support of Motion for Temporary Allowance of Claims for Voting Purposes
                          Pursuant to Federal Rule of Bankruptcy Procedure 3018) Filed by Interested Parties UBS
   11/06/2020             AG London Branch, UBS Securities LLC (Sosland, Martin)

                             1345 (290 pgs; 11 docs) Exhibit List (Appendix of Exhibits to UBS's Brief in Opposition
                          to Motions for Partial Summary Judgment on Proof of Claims Nos. 190 and 191 and in
                          Support of Rule 56(d) Request) filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1337 Response). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 #
   11/06/2020             9 Exhibit 9-21 # 10 Exhibit 22) (Sosland, Martin)

                             1346 (338 pgs; 10 docs) Exhibit List (Appendix of Exhibits to UBS's Brief in Support of
                          Motion for Temporary Allowance of Claims for Voting Purposes Pursuant to Federal Rule of
                          Bankruptcy Procedure 3018) filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1338 Motion to allow claims(Motion for Temporary
                          Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure
                          3018)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 #
   11/06/2020             6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9-29) (Sosland, Martin)

                            1347 (28 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Party James
                          Dondero (RE: related document(s)1302 Order on motion to compromise controversy).
   11/09/2020             Appellant Designation due by 11/23/2020. (Attachments: # 1 Order)(Assink, Bryan)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   11/09/2020             Receipt number 28249949, amount $ 298.00 (re: Doc# 1347). (U.S. Treasury)

                             1348 (6 pgs; 2 docs) Motion to continue hearing on (related documents 1207 Motion to
                          allow claims) Filed by Creditor HarbourVest et al (Attachments: # 1 Proposed Order)
   11/09/2020             (Driver, Vickie)

                             1349 (23 pgs) Objection to (related document(s): 1281 Motion for leave - Daugherty's
                          Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to Bankruptcy Rule
                          3018 filed by Creditor Patrick Daugherty) filed by Debtor Highland Capital Management,
   11/09/2020             L.P.. (Annable, Zachery)

                            1350 (29 pgs; 3 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Objection to Patrick Hagaman Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1349 Objection). (Attachments: # 1
   11/09/2020             Exhibit 1 # 2 Exhibit 2) (Annable, Zachery)

   11/10/2020                1351 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick


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                          Daugherty (Attachments: # 1 Exhibit A - Proposed Order)). Hearing to be held on
                          11/17/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1281, (Annable, Zachery)

                             1352 (2 pgs) Order granting motion to continue hearing on (related document # 1348)
                          (related documents Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the
                          Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of
                          Voting to Accept or Reject the Plan) Hearing to be held on 12/2/2020 at 09:30 AM Dallas
   11/10/2020             Judge Jernigan Ctrm for 1207, Entered on 11/10/2020. (Okafor, M.)

                             1353 (3 pgs) Order granting motion to seal documents with UBS's Brief and Appendix of
                          Exhibits in Opposition to Motions for Partial Summary Judgment on Proof of Claim Nos.
                          190 and 191 and in Support of Rule 56(d) Request (related document # 1343) Entered on
   11/10/2020             11/10/2020. (Okafor, M.)

                             1354 (3 pgs) Order granting motion to seal documents with UBS's Brief and Appendix of
                          Exhibits in Support of Motion for Temporary Allowance of Claims for Voting Purposes
                          Pursuant to Federal Rule of Bankruptcy Procedure 3018 (related document # 1344) Entered
   11/10/2020             on 11/10/2020. (Okafor, M.)

                            1355 SEALED document regarding: UBS's Brief in Opposition to Motions for
                          Partial Summary Judgment on Proof of Claim Nos. 190 and 191 and in Support of Rule
                          56(d) Request per court order filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1353 Order on motion to seal). (Attachments: # 1
                          Exhibit 9 # 2 Exhibit 10 # 3 Exhibit 11 # 4 Exhibit 12 # 5 Exhibit 13 # 6 Exhibit 14 # 7
                          Exhibit 15 # 8 Exhibit 16 # 9 Exhibit 17 # 10 Exhibit 18 # 11 Exhibit 19 # 12 Exhibit 20 # 13
   11/10/2020             Exhibit 21) (Sosland, Martin)

                             1356 SEALED document regarding: UBS's Brief in Support of Motion for
                          Temporary Allowance of claims for voting Purposes Pursuant to Federal Rule of
                          Bankruptcy Procedure 3018 per court order filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)1354 Order on motion to seal).
                          (Attachments: # 1 Exhibit 9 # 2 Exhibit 10 # 3 Exhibit 11 # 4 Exhibit 12 # 5 Exhibit 13 # 6
                          Exhibit 14 # 7 Exhibit 15 # 8 Exhibit 16 # 9 Exhibit 17 # 10 Exhibit 18 # 11 Exhibit 19 # 12
                          Exhibit 20 # 13 Exhibit 21 # 14 Exhibit 22 # 15 Exhibit 23 # 16 Exhibit 24 # 17 Exhibit 25 #
   11/10/2020             18 Exhibit 26 # 19 Exhibit 27 # 20 Exhibit 28 # 21 Exhibit 29) (Sosland, Martin)

                             1357 (5 pgs) Notice of hearing filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1338 Motion to allow claims(Motion for Temporary
                          Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure
                          3018) Filed by Interested Parties UBS AG London Branch, UBS Securities LLC Objections
                          due by 11/20/2020. (Attachments: # 1 Proposed Order)). Hearing to be held on 11/20/2020 at
   11/10/2020             09:30 AM Dallas Judge Jernigan Ctrm for 1338, (Sosland, Martin)

                             1358 (5 pgs) Certificate of service re: Eleventh Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          September 1, 2020 to and Including September 30, 2020 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1340 Application for compensation Eleventh
                          Monthly Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 9/1/2020 to 9/30/2020, Fee: $170,859.60, Expenses: $806.60.
                          Filed by Attorney Juliana Hoffman Objections due by 11/30/2020. filed by Financial Advisor
   11/10/2020             FTI Consulting, Inc.). (Kass, Albert)


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   11/10/2020                 1359 (11 pgs) Certificate of service re: 1) Debtors Objection to Patrick Hagaman
                          Daugherty's Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to
                          Bankruptcy Rule 3018; and 2) Declaration of John A. Morris in Support of the Debtor's
                          Objection to Patrick Hagaman Daugherty's Motion for Temporary Allowance of Claim for
                          Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1349 Objection to (related document(s): 1281 Motion
                          for leave - Daugherty's Motion for Temporary Allowance of Claim for Voting Purposes
                          Pursuant to Bankruptcy Rule 3018 filed by Creditor Patrick Daugherty) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.,
                          1350 Declaration re: (Declaration of John A. Morris in Support of the Debtor's Objection to
                          Patrick Hagaman Daugherty's Motion for Temporary Allowance of Claim for Voting
                          Purposes Pursuant to Bankruptcy Rule 3018) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1349 Objection). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
                          filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1360 (3 pgs) Motion to appear pro hac vice for Hayley R. Winograd. Fee Amount $100
   11/11/2020             Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   11/11/2020             ( 100.00). Receipt number 28256837, amount $ 100.00 (re: Doc# 1360). (U.S. Treasury)

                            1361 (5 pgs) Certificate of service re: 1) Notice of Transfer for MCS Capital LLC c/o
                          STC, Inc. re: Lynn Pinker Cox & Hurst, LLP (Claim No. 148); and 2) Notice of Transfer for
                          Argo Partners re: Stanton Advisors LLC (Scheduled Amount $10,000.00) Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1165 Assignment/Transfer of
                          Claim. Fee Amount $25. Transfer Agreement 3001 (e) 1 Transferors: Stanton Advisors LLC
                          (Amount $10,000.00) To Argo Partners. Filed by Creditor Argo Partners. filed by Creditor
                          Argo Partners, 1166 Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement
                          3001 (e) 2 Transferors: Lynn Pinker Cox & Hurst, LLP (Claim No. 148, Amount
                          $507,430.34) To MCS Capital LLC c/o STC, Inc.. Filed by Creditor Argo Partners. filed by
   11/11/2020             Creditor Argo Partners). (Kass, Albert)

                            1363 (33 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1347 Notice of appeal . filed by Interested Party James Dondero (RE: related
                          document(s)1302 Order on motion to compromise controversy). Appellant Designation due
                          by 11/23/2020. (Attachments: # 1 Order)) (Attachments: # 1 Service List) (Whitaker,
   11/12/2020             Sheniqua)

                            1364 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1347 Notice of appeal . filed by Interested Party James
                          Dondero (RE: related document(s)1302 Order on motion to compromise controversy).
   11/12/2020             Appellant Designation due by 11/23/2020. (Attachments: # 1 Order)) (Whitaker, Sheniqua)

                             1365 (4 pgs) Agreed supplemental order regarding deposit of funds into the registry of the
                          court (RE: related document(s)821 Agreed order regarding deposit of funds into the registry
   11/12/2020             of the Court.). Entered on 11/12/2020 (Okafor, M.)

   11/12/2020                 1366 (49 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from August 1, 2020 through August 31, 2020)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order
                          granting application to employ Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring-

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.310 222/439



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                          Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date (related document
                          74) Entered on 1/10/2020. (Okafor, M.), 853 Order granting application to employ
                          Development Specialists, Inc. as Other Professional (related document 775) Entered on
                          7/16/2020. (Ecker, C.)). (Attachments: # 1 Exhibit A--DSI Monthly Staffing Report for
                          August 2020) (Annable, Zachery)

                             1367 (11 pgs) Certificate of service re: Notice of Hearing on Patrick Hagaman
                          Daughertys Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to
                          Bankruptcy Rule 3018 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1351 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of
                          Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick
                          Daugherty (Attachments: # 1 Exhibit A - Proposed Order)). Hearing to be held on
                          11/17/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1281, filed by Debtor Highland
   11/12/2020             Capital Management, L.P.). (Kass, Albert)

                              1368 (1 pg) Clerk's correspondence requesting to amend the notice of appeal from
                          attorney for appellant. (RE: related document(s)1339 Notice of appeal . Fee Amount $298
                          filed by Interested Parties UBS AG London Branch, UBS Securities LLC (RE: related
                          document(s)1273 Order on motion to compromise controversy). Appellant Designation due
                          by 11/20/2020. (Attachments: # 1 Exhibit)) Responses due by 11/16/2020. (Whitaker,
   11/12/2020             Sheniqua)

                            1369 (9 pgs) Amended notice of appeal filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)1339 Notice of appeal). (Sosland,
   11/12/2020             Martin)

                            1370 (95 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:20-cv-
                          03390-X. (RE: related document(s)1347 Notice of appeal . filed by Interested Party James
                          Dondero (RE: related document(s)1302 Order on motion to compromise controversy).
   11/12/2020             Appellant Designation due by 11/23/2020. (Attachments: # 1 Order)) (Whitaker, Sheniqua)

                            1371 (1 pg) Order granting motion to appear pro hac vice adding Hayley R. Winograd for
                          Highland Capital Management, L.P. (related document # 1360) Entered on 11/13/2020.
   11/13/2020             (Ecker, C.)

                             1372 (3 pgs) Order granting motion to seal documents (related document # 1279) Entered
   11/13/2020             on 11/13/2020. (Ecker, C.)

                             1374 (11 pgs; 2 docs) INCORRECT ENTRY. Incomplete Form. Certificate of mailing
                          regarding appeal (RE: related document(s)1339 Notice of appeal . filed by Interested Parties
                          UBS AG London Branch, UBS Securities LLC (RE: related document(s)1273 Order on
                          motion to compromise controversy). Appellant Designation due by 11/20/2020.
                          (Attachments: # 1 Exhibit)) (Attachments: # 1 Service List) (Whitaker, Sheniqua) Modified
   11/13/2020             on 11/13/2020 (Whitaker, Sheniqua).

                            1375 (12 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1339 Notice of appeal . filed by Interested Parties UBS AG London Branch,
                          UBS Securities LLC (RE: related document(s)1273 Order on motion to compromise
                          controversy). Appellant Designation due by 11/20/2020. (Attachments: # 1 Exhibit))
   11/13/2020             (Attachments: # 1 Service List) (Whitaker, Sheniqua)


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   11/13/2020               1376 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1339 Notice of appeal . filed by Interested Parties UBS AG
                          London Branch, UBS Securities LLC (RE: related document(s)1273 Order on motion to
                          compromise controversy). (Attachments: # 1 Exhibit)) (Whitaker, Sheniqua)

                             1377 (2 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 2 Transferors: Debevoise & Plimpton LLP (Claim No. 94, Amount $268,095.08) To
   11/13/2020             Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. (Schneller, Douglas)

                             1378 (2 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 2 Transferors: Debevoise & Plimpton LLP (Claim No. 97, Amount $268,095.08) To
   11/13/2020             Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. (Schneller, Douglas)

                             1379 (2 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 2 Transferors: Debevoise & Plimpton LLP (Amount $20,658.79) To Contrarian Funds
   11/13/2020             LLC. Filed by Creditor Contrarian Funds LLC. (Schneller, Douglas)

                             1380 (2 pgs) WITHDRAWN per # 1421. Assignment/Transfer of Claim. Fee Amount
                          $25. Transfer Agreement 3001 (e) 2 Transferors: DLA Piper LLC (US) (Amount
                          $1,318,730.36) To Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC.
   11/13/2020             (Schneller, Douglas) Modified on 11/19/2020 (Ecker, C.).

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28267014, amount $ 25.00 (re: Doc# 1377). (U.S.
   11/13/2020             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28267014, amount $ 25.00 (re: Doc# 1378). (U.S.
   11/13/2020             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28267014, amount $ 25.00 (re: Doc# 1379). (U.S.
   11/13/2020             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28267014, amount $ 25.00 (re: Doc# 1380). (U.S.
   11/13/2020             Treasury)

                             1381 (5 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:20-cv-03408-
                          G. (RE: related document(s)1339 Notice of appeal . filed by Interested Parties UBS AG
                          London Branch, UBS Securities LLC (RE: related document(s)1273 Order on motion to
   11/13/2020             compromise controversy). (Attachments: # 1 Exhibit)) (Whitaker, Sheniqua)

                             1382 (4 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1281 Motion for leave - Daugherty's Motion for Temporary
                          Allowance of Claim for Voting Purposes Pursuant to Bankruptcy Rule 3018). (Annable,
   11/13/2020             Zachery)

                             1383 (65 pgs) Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
   11/13/2020             plan). (Annable, Zachery)

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   11/13/2020                1384 (175 pgs) Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement). (Annable, Zachery)

                            1385 (67 pgs) Support/supplemental document (Redline Comparison of Third Amended
                          Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1383 Chapter 11 plan). (Annable,
   11/13/2020             Zachery)

                             1386 (105 pgs) Support/supplemental document (Redline Comparison of Disclosure
                          Statement for the Third Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1384
   11/13/2020             Disclosure statement). (Annable, Zachery)

   11/13/2020                 1387 (3 pgs) Certificate of service re: (Supplemental) Documents Served on October 28,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300
                          Notice of hearing (Notice of Continued Hearing on Disclosure Statement for the Second
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1289 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at
                          01:30 PM Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital
                          Management, L.P., 1309 Amended Notice of hearing (Second Amended Notice of Hearing)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108 Motion
                          for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P., 1322 Certificate of service re:
                          Documents Served on October 28, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1300 Notice of hearing (Notice of Continued Hearing
                          on Disclosure Statement for the Second Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1289 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement).). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for
                          1289, filed by Debtor Highland Capital Management, L.P., 1301 Order approving stipulation
                          resolving Proof of Claim No. 86 of NWCC, LLC (RE: related document(s)1264 Stipulation
                          filed by Debtor Highland Capital Management, L.P.). Entered on 10/28/2020 (Okafor, M.),
                          1302 Order granting motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
                          Filed by Debtor Highland Capital Management, L.P. (related document 1087) Entered on
                          10/28/2020. (Okafor, M.), 1309 Amended Notice of hearing (Second Amended Notice of
                          Hearing) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108
                          Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.313 225/439



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                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P.). filed by Claims Agent
                          Kurtzman Carson Consultants LLC). (Kass, Albert)

                             1388 (2619 pgs; 43 docs) Witness and Exhibit List for Hearing on Motion for Allowance
                          of Claim filed by Creditor Patrick Daugherty (RE: related document(s)1281 Motion for leave
                          - Daugherty's Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to
                          Bankruptcy Rule 3018). (Attachments: # 1 Exhibit PHD-1 # 2 Exhibit PHD-2 # 3 Exhibit
                          PHD-3 # 4 Exhibit PHD-4 # 5 Exhibit PHD-5 # 6 Exhibit PHD-6 # 7 Exhibit PHD-7 # 8
                          Exhibit PHD-8 # 9 Exhibit PHD-9 # 10 Exhibit PHD-10 # 11 Exhibit PHD-11 # 12 Exhibit
                          PHD-12 # 13 Exhibit PHD-13 # 14 Exhibit PHD-14 # 15 Exhibit PHD-15 # 16 Exhibit PHD-
                          16 # 17 Exhibit PHD-17 # 18 Exhibit PHD-18 # 19 Exhibit PHD-19 # 20 Exhibit PHD-20 #
                          21 Exhibit PHD-21 # 22 Exhibit PHD-22 # 23 Exhibit PHD-23 # 24 Exhibit PHD-24 # 25
                          Exhibit PHD-25 # 26 Exhibit PHD-26 # 27 Exhibit PHD-27 # 28 Exhibit PHD-28 # 29
                          Exhibit PHD-29 # 30 Exhibit PHD-30 # 31 Exhibit PHD-31 # 32 Exhibit PHD-32 # 33
                          Exhibit PHD-33 # 34 Exhibit PHD-34 # 35 Exhibit PHD-35 # 36 Exhibit PHD-36 # 37
                          Exhibit PHD-37 # 38 Exhibit PHD-38 # 39 Exhibit PHD-39 # 40 Exhibit PHD-40 # 41
   11/13/2020             Exhibit PHD-41 # 42 Exhibit PHD-42) (Kathman, Jason)

                              1389 (129 pgs; 9 docs) Notice (Debtor's Notice of Filing of Supplement to the Third
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1383 Amended chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)944 Chapter 11
                          plan, 1079 Chapter 11 plan, 1287 Chapter 11 plan).). (Attachments: # 1 Exhibit A--Form of
                          Claimant Trust Agreement # 2 Exhibit B--Form of New GP LLC Documents # 3 Exhibit C--
                          Form of Reorganized Limited Partnership Agreement # 4 Exhibit D--Form of Litigation Sub-
                          Trust Agreement # 5 Exhibit E--Schedule of Retained Causes of Action # 6 Exhibit F--Form
                          of New Frontier Note # 7 Exhibit G--Schedule of Employees # 8 Exhibit H--Form of Senior
   11/13/2020             Employee Stipulation) (Annable, Zachery)

                             1390 (10 pgs) BNC certificate of mailing. (RE: related document(s)1364 Notice regarding
                          the record for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)1347
                          Notice of appeal . filed by Interested Party James Dondero (RE: related document(s)1302
                          Order on motion to compromise controversy). Appellant Designation due by 11/23/2020.
   11/14/2020             (Attachments: # 1 Order))) No. of Notices: 1. Notice Date 11/14/2020. (Admin.)

                             1391 (10 pgs) BNC certificate of mailing. (RE: related document(s)1376 Notice regarding
                          the record for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)1339
                          Notice of appeal . filed by Interested Parties UBS AG London Branch, UBS Securities LLC
                          (RE: related document(s)1273 Order on motion to compromise controversy). (Attachments: #
   11/15/2020             1 Exhibit))) No. of Notices: 2. Notice Date 11/15/2020. (Admin.)

                             1392 (9 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1371
                          Order granting motion to appear pro hac vice adding Hayley R. Winograd for Highland
                          Capital Management, L.P. (related document 1360) Entered on 11/13/2020. (Ecker, C.)) No.
   11/15/2020             of Notices: 1. Notice Date 11/15/2020. (Admin.)

   11/16/2020                 1393 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
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                          L.P. (RE: related document(s)1248 Application for compensation Cover Sheet and Twelfth
                          Monthly Application for Compensation and for Reimbursement of Expenses for the Period
                          from September 1, 2020 through September 30, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Peri). (Pomerantz, Jeffrey)

                             1394 SEALED document regarding: Exhibit 1 to Appendix to Patrick Hagaman
                          Daugherty's Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 per court order filed
                          by Creditor Patrick Daugherty (RE: related document(s)1372 Order on motion to seal).
   11/16/2020             (Kathman, Jason)

                             1395 SEALED document regarding: Exhibit 26 to Appendix to Patrick Hagaman
                          Daugherty's Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 per court order filed
                          by Creditor Patrick Daugherty (RE: related document(s)1372 Order on motion to seal).
   11/16/2020             (Kathman, Jason)

                             1396 SEALED document regarding: Exhibit 27 to Appendix to Patrick Hagaman
                          Daugherty's Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 per court order filed
                          by Creditor Patrick Daugherty (RE: related document(s)1372 Order on motion to seal).
   11/16/2020             (Kathman, Jason)

                             1397 SEALED document regarding: Exhibit 36 to Appendix to Patrick Hagaman
                          Daugherty's Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 per court order filed
                          by Creditor Patrick Daugherty (RE: related document(s)1372 Order on motion to seal).
   11/16/2020             (Kathman, Jason)

                             1398 SEALED document regarding: Exhibit 37 to Appendix to Patrick Hagaman
                          Daugherty's Memorandum of Law and Brief in Support of Motion for Temporary
                          Allowance for Voting Purposes Pursuant to Bankruptcy Rule 3018 per court order filed
                          by Creditor Patrick Daugherty (RE: related document(s)1372 Order on motion to seal).
   11/16/2020             (Kathman, Jason)

   11/16/2020                1399 (8 pgs; 3 docs) Notice (Notice of Filing of Fourth Amended Exhibit B to Motion for
                          an Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized by the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)75 Motion to Authorize /Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtors in the Ordinary Course of Business Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 176 ORDER PURSUANT
                          TO SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE
                          AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.

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                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (Annable, Zachery)

                              1400 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   11/16/2020             Document). (Annable, Zachery)

                             1401 (2 pgs) Assignment/Transfer of Claim. Fee Amount $25. Transfer Agreement 3001
                          (e) 2 Transferors: DLA Piper LLP (US) (Amount $1,318,730.36) To Contrarian Funds LLC.
   11/16/2020             Filed by Creditor Contrarian Funds LLC. (Schneller, Douglas)

                            1402 (26 pgs) Reply to (related document(s): 1337 Response filed by Interested Party
                          UBS Securities LLC, Interested Party UBS AG London Branch) filed by Debtor Highland
   11/16/2020             Capital Management, L.P.. (Annable, Zachery)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 25.00). Receipt number 28270620, amount $ 25.00 (re: Doc# 1401). (U.S.
   11/16/2020             Treasury)

                             1403 (12 pgs) Exhibit List (Appendix of Exhibits to Debtor's Reply in Support of Motion
                          for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC
                          and UBS AG, London Branch) filed by Debtor Highland Capital Management, L.P. (RE:
   11/16/2020             related document(s)1402 Reply). (Annable, Zachery)

                            1404 (20 pgs) Objection to (related document(s): 1338 Motion to allow claims(Motion for
                          Temporary Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy
                          Procedure 3018) filed by Interested Party UBS Securities LLC, Interested Party UBS AG
   11/16/2020             London Branch) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1405 (37 pgs; 5 docs) Motion to file document under seal.MOTION FOR AN ORDER
                          GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING REDEEMER
                          COMMITTEE OF THE HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS
                          REPLY BRIEF IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT AND
                          JOINDER IN THE DEBTORS MOTION FOR PARTIAL SUMMARY JUDGEMENT ON
                          PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG, LONDON BRANCH AND UBS
                          SECURITIES LLC Filed by Interested Party Redeemer Committee of the Highland Crusader
                          Fund (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Proposed Order) (Platt,
   11/16/2020             Mark)

                            1406 (21 pgs; 4 docs) Motion to file document under seal.MOTION FOR AN ORDER
                          GRANTING LEAVE TO FILE DOCUMENTS UNDER SEAL REGARDING REDEEMER
                          COMMITTEE OF THE HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS
                          OBJECTION AND JOINDER TO DEBTORS OBJECTION TO UBS AG, LONDON BRANCH
                          AND UBS SECURITIES LLCS MOTION FOR TEMPORARY ALLOWANCE OF CLAIMS
                          FOR VOTING PURPOSES PURSUANT TO FEDERAL RULE OF BANKRUPTCY
                          PROCEDURE 3018 Filed by Interested Party Redeemer Committee of the Highland
   11/16/2020             Crusader Fund (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order) (Platt, Mark)

   11/16/2020               1407 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1244 Application for compensation Third Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses: $1,833.10.). (Hoffman, Juliana)
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                            1408 (43 pgs; 3 docs) Reply to (related document(s): 1337 Response filed by Interested
                          Party UBS Securities LLC, Interested Party UBS AG London Branch) filed by Interested
                          Party Redeemer Committee of the Highland Crusader Fund. (Attachments: # 1 Exhibit A # 2
   11/16/2020             Exhibit B (slip sheet only)) (Platt, Mark)

                             1409 (15 pgs; 5 docs) Objection to (related document(s): 1338 Motion to allow
                          claims(Motion for Temporary Allowance of Claims for voting Purposes Pursuant to Federal
                          Rule of Bankruptcy Procedure 3018) filed by Interested Party UBS Securities LLC,
                          Interested Party UBS AG London Branch) filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund. (Attachments: # 1 Exhibit A (slip sheet only) # 2 Exhibit B
   11/16/2020             (slip sheet only) # 3 Exhibit C (slip sheet only) # 4 Exhibit D (slip sheet only)) (Platt, Mark)

                             1410 (3 pgs) Certificate Amended Certificate of No Objection filed by Financial Advisor
                          FTI Consulting, Inc. (RE: related document(s)1244 Application for compensation Third
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses:
   11/16/2020             $1,833.10., 1407 Certificate (generic)). (Hoffman, Juliana)

                             1411 (18 pgs) Reply to (related document(s): 1349 Objection filed by Debtor Highland
                          Capital Management, L.P.) - Daugherty's Reply in Support of Motion for Temporary
                          Allowance of Claims for Voting Purposes Pursuant to Bankruptcy Rule 3018 filed by
   11/16/2020             Creditor Patrick Daugherty. (Kathman, Jason)

                             1412 (59 pgs) Declaration re: Michael S. Colvin in Support of Motion for Temporary
                          Allowance of Claims for Voting Purposes filed by Creditor Patrick Daugherty (RE: related
   11/16/2020             document(s)1411 Reply). (Kathman, Jason)

                             1413 (25 pgs; 2 docs) Witness and Exhibit List (Debtor's Witness and Exhibit List for
                          November 20, 2020 Hearing on Motions for Partial Summary Judgment on the UBS Claim
                          and Motion for Temporary Allowance of the UBS Claim) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1214 Motion for summary judgment, 1215
                          Motion for summary judgment, 1338 Motion to allow claims(Motion for Temporary
                          Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure
   11/17/2020             3018)). (Attachments: # 1 Exhibit 30) (Annable, Zachery)

                             1414 (7 pgs) Witness and Exhibit List for November 20, 2020 Hearing on Motions for
                          Partial Summary Judgment on the UBS Claim and Motion for Temporary Allowance of the
                          UBS Claim filed by Interested Party Redeemer Committee of the Highland Crusader Fund
                          (RE: related document(s)1214 Motion for summary judgment, 1215 Motion for summary
                          judgment, 1338 Motion to allow claims(Motion for Temporary Allowance of Claims for
   11/17/2020             voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018)). (Platt, Mark)

                             1415 (1 pg) Request for transcript regarding a hearing held on 11/17/2020. The requested
   11/17/2020             turn-around time is hourly. (Edmond, Michael)

                             1416 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1296 Application for compensation Sidley
                          Austin LLP's Third Interim Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2020 to
   11/17/2020             8/31/2020, Fee: $1,86). (Hoffman, Juliana)


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   11/17/2020                1417 (7 pgs) Certificate of service re: 1) Motion for Admission Pro Hac Vice of Hayley R.
                          Winograd to Represent Highland Capital Management, L.P.; 2) Agreed Supplemental Order
                          Regarding Deposit of Funds Into the Registry of the Court; and 3) Notice of Filing of
                          Monthly Staffing Report by Development Specialists, Inc. for the Period from August 1, 2020
                          Through August 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1360 Motion to appear pro hac vice for Hayley R. Winograd. Fee Amount $100
                          Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland Capital
                          Management, L.P., 1365 Agreed supplemental order regarding deposit of funds into the
                          registry of the court (RE: related document(s)821 Agreed order regarding deposit of funds
                          into the registry of the Court.). Entered on 11/12/2020 (Okafor, M.), 1366 Notice (Notice of
                          Filing of Monthly Staffing Report by Development Specialists, Inc. for the Period from
                          August 1, 2020 through August 31, 2020) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)342 Order granting application to employ Development
                          Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and
                          Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of
                          the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.), 853 Order
                          granting application to employ Development Specialists, Inc. as Other Professional (related
                          document 775) Entered on 7/16/2020. (Ecker, C.)). (Attachments: # 1 Exhibit A--DSI
                          Monthly Staffing Report for August 2020) filed by Debtor Highland Capital Management,
                          L.P.). (Kass, Albert)

                             1418 (87 pgs; 7 docs) Witness and Exhibit List (UBS's Witness and Exhibit List for
                          November 20, 2020 Hearing) filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1214 Motion for summary judgment, 1338 Motion
                          to allow claims(Motion for Temporary Allowance of Claims for voting Purposes Pursuant to
                          Federal Rule of Bankruptcy Procedure 3018)). (Attachments: # 1 Exhibit 26 - 28 # 2 Exhibit
                          29 # 3 Exhibit 30 # 4 Exhibit AG30 # 5 Exhibit AG31 # 6 Exhibit AG32 - AG46) (Sosland,
   11/17/2020             Martin)

                             1419 (1 pg) Court admitted exhibits date of hearing November 17, 2020 (RE: related
                          document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of Claim
                          for Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick Daugherty.,
                          (COURT ADMITTED THE FOLLOWING EXHIBIT'S; PLAINTIFF'S PATRICK H.
                          DAUGHERTY EXHIBIT'S #1 THROUGH #41 BY THOMAS UEBLER AND
                          DEFENDANT DEBTOR'S EXHIBIT'S #A THROUGH #V & EXHIBIT'S #X1 & #X2 BY
   11/17/2020             JOHN MORRIS) (Edmond, Michael) (Entered: 11/18/2020)

                             1422 Hearing held on 11/17/2020. (RE: related document(s)1281 Motion for leave -
                          Daugherty's Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to
                          Bankruptcy Rule 3018 filed by Creditor Patrick Daugherty) (Appearances: T. Uebler, J.
                          Christensen, and J. Kathman for P. Daugherty; J. Morris and J. Pomeranz for Debtor; M.
                          Clemente for UCC. Evidentiary hearing. Claim estimated for voting purposes at $9,134,019
                          for reasons stated on the record. Counsel to upload order.) (Edmond, Michael) (Entered:
   11/17/2020             11/18/2020)

   11/18/2020               1420 (48 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from September 1, 2020 through September 30, 2020) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
                          (Okafor, M.), 853 Order granting application to employ Development Specialists, Inc. as

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                          Other Professional (related document 775) Entered on 7/16/2020. (Ecker, C.)). (Annable,
                          Zachery)

                            1421 (1 pg) Withdrawal [Notice of Withdrawal of Notice of Transfer of Claim From
                          Debevoise & Plimpton LLP to Contrarian Funds, LLC] Filed by Creditor Contrarian Funds
                          LLC (related document(s)1380 Assignment/Transfer of Claim. Fee Amount $25. Transfer
                          Agreement 3001 (e) 2 Transferors: DLA Piper LLC (US) (Amount $1,318,730.36) To
                          Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. filed by Creditor
   11/18/2020             Contrarian Funds LLC). (Schneller, Douglas)

                            1423 (634 pgs; 25 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1382 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                          Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12
                          Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18
                          Exhibit R # 19 Exhibit S # 20 Exhibit T # 21 Exhibit U # 22 Exhibit V # 23 Exhibit X-1 # 24
   11/18/2020             Exhibit X-2) (Annable, Zachery)

                            1424 (37 pgs; 4 docs) Motion for leave (Motion of the Debtor Pursuant to 11 U.S.C.
                          105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
   11/18/2020             C) (Annable, Zachery)

                            1425 (5 pgs) Motion for expedited hearing(related documents 1424 Motion for leave)
                          (Debtor's Motion for an Expedited Hearing on the Motion of the Debtor Pursuant to 11
                          U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreement) Filed by
   11/18/2020             Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             1426 (90 pgs) Transcript regarding Hearing Held 11/17/2020 (90 pages) RE: Motion for
                          Temporary Allowance of Claim (#1281). THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 02/16/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1422 Hearing held on 11/17/2020. (RE: related document(s)1281 Motion for
                          leave - Daugherty's Motion for Temporary Allowance of Claim for Voting Purposes Pursuant
                          to Bankruptcy Rule 3018 filed by Creditor Patrick Daugherty) (Appearances: T. Uebler, J.
                          Christensen, and J. Kathman for P. Daugherty; J. Morris and J. Pomeranz for Debtor; M.
                          Clemente for UCC. Evidentiary hearing. Claim estimated for voting purposes at $9,134,019
                          for reasons stated on the record. Counsel to upload order.)). Transcript to be made available
   11/18/2020             to the public on 02/16/2021. (Rehling, Kathy)

                            1427 (3 pgs) Certificate of service re: Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from September 1, 2020 through September 30,
                          2020 filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1420
   11/18/2020             Notice (generic)). (Annable, Zachery)

   11/18/2020               1428 (23 pgs) Certificate of service re: Documents Served on or Before November 14,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1371
                          Order granting motion to appear pro hac vice adding Hayley R. Winograd for Highland
                          Capital Management, L.P. (related document 1360) Entered on 11/13/2020. (Ecker, C.), 1382

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                          Witness and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1281 Motion for leave - Daugherty's Motion for Temporary Allowance of Claim
                          for Voting Purposes Pursuant to Bankruptcy Rule 3018). filed by Debtor Highland Capital
                          Management, L.P., 1383 Amended chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287
                          Chapter 11 plan). filed by Debtor Highland Capital Management, L.P., 1384 Amended
                          disclosure statement filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)945 Disclosure statement, 1080 Disclosure statement, 1289 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1385 Support/supplemental
                          document (Redline Comparison of Third Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1383 Chapter 11 plan). filed by Debtor Highland Capital Management, L.P.,
                          1386 Support/supplemental document (Redline Comparison of Disclosure Statement for the
                          Third Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1384 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1389 Notice (Debtor's
                          Notice of Filing of Supplement to the Third Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1383 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan).). (Attachments: # 1 Exhibit A--Form of Claimant Trust Agreement # 2 Exhibit B--
                          Form of New GP LLC Documents # 3 Exhibit C--Form of Reorganized Limited Partnership
                          Agreement # 4 Exhibit D--Form of Litigation Sub-Trust Agreement # 5 Exhibit E--Schedule
                          of Retained Causes of Action # 6 Exhibit F--Form of New Frontier Note # 7 Exhibit G--
                          Schedule of Employees # 8 Exhibit H--Form of Senior Employee Stipulation) filed by
                          Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1429 (20 pgs) Expedited Motion to file document under seal.(UBS's Expedited Motion for
                          Leave to File Documents Under Seal With UBS's Witness and Exhibit List for November 20,
                          2020 Hearing) Filed by Interested Parties UBS AG London Branch, UBS Securities LLC
   11/18/2020             (Sosland, Martin)

                             1430 (2 pgs) Order granting motion to seal documents regarding the RedeemerCommittee
                          of the Highland Crusader Funds and Crusader Funds Reply Brief in Support of their Motion
                          for Partial Summary Judgment and Joinder in the DebtorsMotion for Partial Summary
                          Judgement on Proof of Claim Nos. 190 and 191 of UBS AG, LondonBranch and UBS
   11/19/2020             Securities LLC.(related document # 1405) Entered on 11/19/2020. (Okafor, M.)

                             1431 (2 pgs) Order granting motion to seal documents regarding the RedeemerCommittee
                          of the Crusader Fund and the Crusader Funds Objection and Joinder to Debtors Objection to
                          UBS AG, London Branch and UBS Securities LLCs Motionfor Temporary Allowance of
                          Claims for Voting Purposes Pursuant to Federal Rule of BankruptcyProcedure 3018 (related
   11/19/2020             document # 1406) Entered on 11/19/2020. (Okafor, M.)

                            1432 SEALED document regarding: REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUND AND THE CRUSADER FUNDS' OBJECTION AND
                          JOINDER TO DEBTOR'S OBJECTION TO UBS AG, LONDON BRANCH AND UBS
                          SECURITIES, LLC'S MOTION FOR TEMPORARY ALLOWANCE OF CLAIMS
                          FOR VOTING PURPOSES PURSUANT TO FEDERAL RULE OF BANKRUPTCY
                          PROCEDURE 3018 per court order filed by Interested Party Redeemer Committee of the
                          Highland Crusader Fund (RE: related document(s)1431 Order on motion to seal).
   11/19/2020             (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D) (Platt, Mark)

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   11/19/2020                1433 SEALED document regarding: REDEEMER COMMITTEE OF THE
                          HIGHLAND CRUSADER FUNDS AND THE CRUSADER FUNDS' REPLY BRIEF
                          IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT AND
                          JOINDER IN THE DEBTOR'S MOTION FOR PARTIAL SUMMARY JUDGMENT
                          ON PROOF OF CLAIM NOS. 190 AND 191 OF UBS AG, LONDON BRANCH AND
                          UBS SECURITIES LLC per court order filed by Interested Party Redeemer Committee of
                          the Highland Crusader Fund (RE: related document(s)1430 Order on motion to seal).
                          (Attachments: # 1 Exhibit B) (Platt, Mark)

                             1434 (3 pgs) Notice of hearing (Notice of Hearing on Motion of the Debtor Pursuant to
                          11 U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1424 Motion for leave
                          (Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into
                          Sub-Servicer Agreements) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)). Hearing to be held on 11/23/2020
   11/19/2020             at 01:30 PM Dallas Judge Jernigan Ctrm for 1424, (Annable, Zachery)

                              1435 (4 pgs) Stipulation by Highland Capital Management, L.P. and MCS Capital, LLC.
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1166
   11/19/2020             Assignment/Transfer of claim (Claims Agent)). (Annable, Zachery)

                             1436 (2 pgs) Order granting motion for expedited hearing (Related Doc# 1425)(document
                          set for hearing: 1424 Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for
                          Authority to Enter into Sub-Servicer Agreements) Hearing to be held on 11/23/2020 at 01:30
   11/19/2020             PM Dallas Judge Jernigan Ctrm for 1424, Entered on 11/19/2020. (Okafor, M.)

                             1437 (13 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on November
                          20, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P..
   11/19/2020             (Annable, Zachery)

                             1438 (7 pgs) Notice (Reservation of Rights of UBS Regarding Debtor's Motion for
                          Approval of the Debtor's Proposed Disclosure Statement and Certain Solicitation and Notice
                          Procedures) filed by Interested Parties UBS AG London Branch, UBS Securities LLC (RE:
                          related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order (A)
                          Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to Confirm
                          the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing Objections
                          to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and Solicitation
                          Procedures; and (E) Approving Form and Manner of Notice) (related document(s) 1079
                          Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3
                          Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status #
                          5 Exhibit 1-D--Notice of Assumption), 1384 Amended disclosure statement filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)945 Disclosure statement, 1080
   11/19/2020             Disclosure statement, 1289 Disclosure statement).). (Sosland, Martin)

                            1439 (15 pgs; 2 docs) WITHDRAWN per docket # 1622Motion for leave (James
                          Dondero's Motion for Entry of an Order Requiring Notice and Hearing for Future Estate
                          Transactions Occurring Outside the Ordinary Course of Business) Filed by Interested Party
                          James Dondero (Attachments: # 1 Proposed Order) (Assink, Bryan) Modified on 12/28/2020
   11/19/2020             (Ecker, C.).

   11/19/2020                 1440 (3 pgs) Order granting motion to seal documents with UBSs Witness and Exhibit

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                          List for November 20, 2020 Hearing (related document # 1429) Entered on 11/19/2020.
                          (Okafor, M.)

                             1441 SEALED document regarding: UBS's Witness and Exhibit List for November
                          20, 2020 Hearing per court order filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1440 Order on motion to seal). (Attachments: # 1
                          Exhibit 26 # 2 Exhibit 27 # 3 Exhibit 28 # 4 Exhibit 30 # 5 Exhibit AG32 # 6 Exhibit AG33
                          # 7 Exhibit AG34 # 8 Exhibit AG35 # 9 Exhibit AG36 # 10 Exhibit AG37 # 11 Exhibit
                          AG38 # 12 Exhibit AG39 # 13 Exhibit AG40 # 14 Exhibit AG41 # 15 Exhibit AG42 # 16
   11/19/2020             Exhibit AG43 # 17 Exhibit AG44 # 18 Exhibit AG45 # 19 Exhibit AG46) (Sosland, Martin)

                             1442 (16 pgs) Certificate of service re: Documents Served on November 16, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1399 Notice
                          (Notice of Filing of Fourth Amended Exhibit B to Motion for an Order Authorizing the
                          Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by the Debtor in
                          the Ordinary Course of Business) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)75 Motion to Authorize /Motion for an Order Authorizing the Debtor to
                          Retain, Employ, and Compensate Certain Professionals Utilized by the Debtors in the
                          Ordinary Course of Business Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 176 ORDER PURSUANT
                          TO SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE
                          AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) filed by Debtor Highland Capital Management,
                          L.P., 1400 Declaration re: (Disclosure Declaration of Ordinary Course Professional) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). filed
                          by Debtor Highland Capital Management, L.P., 1402 Reply to (related document(s): 1337
                          Response filed by Interested Party UBS Securities LLC, Interested Party UBS AG London
                          Branch) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
                          Capital Management, L.P., 1403 Exhibit List (Appendix of Exhibits to Debtor's Reply in
                          Support of Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of
                          UBS Securities LLC and UBS AG, London Branch) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1402 Reply). filed by Debtor Highland Capital
                          Management, L.P., 1404 Objection to (related document(s): 1338 Motion to allow
                          claims(Motion for Temporary Allowance of Claims for voting Purposes Pursuant to Federal
                          Rule of Bankruptcy Procedure 3018) filed by Interested Party UBS Securities LLC,
                          Interested Party UBS AG London Branch) filed by Debtor Highland Capital Management,
   11/19/2020             L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1443 (5 pgs; 2 docs) Motion for expedited hearing(related documents 1439 Motion for
                          leave) (Request for Emergency Hearing on James Dondero's Motion for Entry of an Order
                          Requiring Notice and Hearing for Future Estate Transactions Occurring Outside the
                          Ordinary Course of Business) Filed by Interested Party James Dondero (Attachments: # 1
   11/19/2020             Proposed Order) (Assink, Bryan)


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   11/20/2020               1444 (10 pgs) Notice (Revised Notice of Agenda of Matters Scheduled for Hearing on
                          November 20, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1437 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on November 20, 2020 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P..). (Annable, Zachery)

                             1445 (16 pgs) Objection to disclosure statement (RE: related document(s)1384 Disclosure
   11/20/2020             statement) filed by Creditor Patrick Daugherty. (Kathman, Jason)

                             1446 (1 pg) Request for transcript regarding a hearing held on 11/20/2020. The requested
   11/20/2020             turn-around time is hourly. (Edmond, Michael)

                             1447 (4 pgs) WITHDRAWN per # 1460 Response opposed to (related document(s): 1424
                          Motion for leave (Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for
                          Authority to Enter into Sub-Servicer Agreements) filed by Debtor Highland Capital
                          Management, L.P.) filed by Interested Party James Dondero. (Bonds, John) Modified on
   11/20/2020             11/23/2020 (Ecker, C.).

                             1448 (27 pgs) Application for compensation Thirteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from October 1, 2020
                          through October 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
                          10/1/2020 to 10/31/2020, Fee: $1,119,675.50, Expenses: $19,132.28. Filed by Attorney
   11/20/2020             Jeffrey Nathan Pomerantz Objections due by 12/11/2020. (Pomerantz, Jeffrey)

                             1449 (80 pgs) Amended application for compensation Thirteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from October 1, 2020
                          through October 31, 2020 (amended solely to include Exhibit A) for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 10/1/2020 to 10/31/2020, Fee: $1,119,675.50,
                          Expenses: $19,132.28. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
   11/20/2020             12/11/2020. (Pomerantz, Jeffrey)

                             1450 (66 pgs) Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
   11/20/2020             plan, 1383 Chapter 11 plan). (Annable, Zachery)

                             1451 (67 pgs) Support/supplemental document (Interim Redline of Fourth Amended Plan
                          of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland Capital
   11/20/2020             Management, L.P. (RE: related document(s)1450 Chapter 11 plan). (Annable, Zachery)

                            1452 (68 pgs) Support/supplemental document (Cumulative Redline of Fourth Amended
                          Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1450 Chapter 11 plan). (Annable,
   11/20/2020             Zachery)

                             1453 (178 pgs) Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
   11/20/2020             statement, 1289 Disclosure statement, 1384 Disclosure statement). (Annable, Zachery)

   11/20/2020                1454 (105 pgs) Support/supplemental document (Interim Redline of Disclosure Statement
                          for the Fourth Amended Plan of Reorganization of Highland Capital Management, L.P.) filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)1453 Disclosure
                          statement). (Annable, Zachery)
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                             1455 (107 pgs) Support/supplemental document (Cumulative Redline of Disclosure
                          Statement for the Fourth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1453
   11/20/2020             Disclosure statement). (Annable, Zachery)

                             1456 (10 pgs) Appellant designation of contents for inclusion in record on appeal and
                          statement of issues on appeal. , Statement of issues on appeal, filed by Interested Parties UBS
                          AG London Branch, UBS Securities LLC (RE: related document(s)1369 Amended notice of
   11/20/2020             appeal). Appellee designation due by 12/4/2020. (Sosland, Martin)

   11/20/2020                 1457 (3 pgs) Certificate of service re: (Supplemental) Documents Served on October 28,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300
                          Notice of hearing (Notice of Continued Hearing on Disclosure Statement for the Second
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1289 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at
                          01:30 PM Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital
                          Management, L.P., 1309 Amended Notice of hearing (Second Amended Notice of Hearing)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108 Motion
                          for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P., 1322 Certificate of service re:
                          Documents Served on October 28, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1300 Notice of hearing (Notice of Continued Hearing
                          on Disclosure Statement for the Second Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1289 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement).). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for
                          1289, filed by Debtor Highland Capital Management, L.P., 1301 Order approving stipulation
                          resolving Proof of Claim No. 86 of NWCC, LLC (RE: related document(s)1264 Stipulation
                          filed by Debtor Highland Capital Management, L.P.). Entered on 10/28/2020 (Okafor, M.),
                          1302 Order granting motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
                          Filed by Debtor Highland Capital Management, L.P. (related document 1087) Entered on
                          10/28/2020. (Okafor, M.), 1309 Amended Notice of hearing (Second Amended Notice of
                          Hearing) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108
                          Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
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                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P.). filed by Claims Agent
                          Kurtzman Carson Consultants LLC). (Kass, Albert)

                             1462 Hearing held on 11/20/2020. (RE: related document(s)1214 Motion for partial
                          summary judgment on proof of claim(s) 190 and 191 of UBS Securities LLC and UBS AG,
                          London Branch filed by Debtor Highland Capital Management, L.P., (RE: Related
                          document(s) 928 Objection to claim filed by Debtor Highland Capital Management, L.P.,)
                          (Appearances: R. Feinstein and J. Pomeranz for Debtor; T. Mascherin, M. Hankin, and M.
                          Platt for Crusader Funds; A. Clubok K. Posin and S. Tomkowiak for UBS. Motion granted as
                          announced on the record. Counsel to submit an Order and Judgment.) (Edmond, Michael)
   11/20/2020             (Entered: 11/23/2020)

                              1463 Hearing held on 11/20/2020. (RE: related document(s)1215 Redeemer Committee of
                          the Highland Crusander Fund and the Crusader Funds' Motion for partial summary judgment
                          on proof of claim(s) 190 and 191 of UBS AG, London Branch and UBS Securities LLC filed
                          by Interested Party Redeemer Committee of the Highland Crusader Fun and the Crusader's
                          Funds' (Attachments: # 1 Proposed Order) (RE: Related document(s) 933 Objection to claim
                          filed by Interested Party Redeemer Committee of the Highland Crusader Fund).
                          (Appearances: R. Feinstein and J. Pomeranz for Debtor; T. Mascherin, M. Hankin, and M.
                          Platt for Crusader Funds; A. Clubok K. Posin and S. Tomkowiak for UBS. Motion granted as
                          announced on the record. Counsel to submit an Order and Judgment.) (Edmond, Michael)
   11/20/2020             (Entered: 11/23/2020)

                            1464 Hearing held on 11/20/2020. (RE: related document(s)1338 Motion to allow claims
                          (Motion for Temporary Allowance of Claims for voting Purposes Pursuant to Federal Rule of
                          Bankruptcy Procedure 3018) filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC.,) (Appearances: R. Feinstein and J. Pomeranz for Debtor; T. Mascherin, M.
                          Hankin, and M. Platt for Crusader Funds; A. Clubok K. Posin and S. Tomkowiak for UBS.
                          Motion granted as follows: UBS shall have a voting claim estimated at $94.76 million.
   11/20/2020             Counsel for UBS to submit an Order.) (Edmond, Michael) (Entered: 11/23/2020)

                             1458 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          creditor. (RE: related document(s)1456 Appellant designation of contents for inclusion in
                          record on appeal and statement of issues on appeal. , Statement of issues on appeal, filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC (RE: related
                          document(s)1369 Amended notice of appeal). Appellee designation due by 12/4/2020.)
   11/23/2020             Responses due by 11/25/2020. (Blanco, J.)

                            1459 (8 pgs) Reply to (related document(s): 1447 Response filed by Interested Party
                          James Dondero) (Debtor's Reply in Support of the Motion of the Debtor Pursuant to 11
                          U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements) filed by
   11/23/2020             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1460 (2 pgs) Withdrawal filed by Interested Party James Dondero (RE: related
   11/23/2020             document(s)1447 Response). (Assink, Bryan)

   11/23/2020               1461 (4 pgs) Objection to (related document(s): 1443 Motion for expedited
                          hearing(related documents 1439 Motion for leave) (Request for Emergency Hearing on
                          James Dondero's Motion for Entry of an Order Requiring Notice and Hearing for Future


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                          Estate Transactions Occurring Outside the Ordinary Co filed by Interested Party James
                          Dondero) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1465 (4 pgs) Reply to (related document(s): 1461 Objection filed by Debtor Highland
   11/23/2020             Capital Management, L.P.) filed by Interested Party James Dondero. (Assink, Bryan)

                             1466 (6 pgs) Appellant designation of contents for inclusion in record on appeal and
                          statement of issues on appeal. , Statement of issues on appeal, filed by Interested Party James
                          Dondero (RE: related document(s)1347 Notice of appeal). Appellee designation due by
   11/23/2020             12/7/2020. (Assink, Bryan)

                             1467 (2 pgs) Notice of hearing filed by Interested Party James Dondero (RE: related
                          document(s)1439 Motion for leave (James Dondero's Motion for Entry of an Order
                          Requiring Notice and Hearing for Future Estate Transactions Occurring Outside the
                          Ordinary Course of Business) Filed by Interested Party James Dondero (Attachments: # 1
                          Proposed Order)). Hearing to be held on 12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
   11/23/2020             for 1439, (Assink, Bryan)

                             1468 (15 pgs) Certificate of service re: re: 1) WebEx Meeting Invitation to participate
                          electronically in the hearing on Tuesday, November 20, 2020 at 9:30 a.m. Central Time
                          before the Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who
                          wish to participate in the Hearing; and 3) Debtors Witness and Exhibit List for November 20,
                          2020 Hearing on Motions for Partial Summary Judgment on the UBS Claim and Motion for
                          Temporary Allowance of the UBS Claim Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1413 Witness and Exhibit List (Debtor's Witness and
                          Exhibit List for November 20, 2020 Hearing on Motions for Partial Summary Judgment on
                          the UBS Claim and Motion for Temporary Allowance of the UBS Claim) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1214 Motion for summary
                          judgment, 1215 Motion for summary judgment, 1338 Motion to allow claims(Motion for
                          Temporary Allowance of Claims for voting Purposes Pursuant to Federal Rule of Bankruptcy
                          Procedure 3018)). (Attachments: # 1 Exhibit 30) filed by Debtor Highland Capital
   11/23/2020             Management, L.P.). (Kass, Albert)

                             1469 (7 pgs) Certificate of service re: 1) Motion of the Debtor Pursuant to 11 U.S.C. §§
                          105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements; and 2) Debtors
                          Motion for an Expedited Hearing on the Motion of the Debtor Pursuant to 11 U.S.C. §§
                          105(a) and 363(b) for Authority to Enter Into Sub-Servicer Agreement Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1424 Motion for leave (Motion of
                          the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer
                          Agreements) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit
                          A # 2 Exhibit B # 3 Exhibit C) filed by Debtor Highland Capital Management, L.P., 1425
                          Motion for expedited hearing(related documents 1424 Motion for leave) (Debtor's Motion
                          for an Expedited Hearing on the Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and
                          363(b) for Authority to Enter into Sub-Servicer Agreement) Filed by Debtor Highland Capital
   11/23/2020             Management, L.P. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   11/23/2020                1470 (22 pgs) Certificate of service re: Documents Served on November 19, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1434 Notice of
                          hearing (Notice of Hearing on Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b)
                          for Authority to Enter into Sub-Servicer Agreements) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1424 Motion for leave (Motion of the Debtor
                          Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer
                          Agreements) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit
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                          A # 2 Exhibit B # 3 Exhibit C)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge
                          Jernigan Ctrm for 1424, filed by Debtor Highland Capital Management, L.P., 1435
                          Stipulation by Highland Capital Management, L.P. and MCS Capital, LLC. filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1166 Assignment/Transfer of
                          claim (Claims Agent)). filed by Debtor Highland Capital Management, L.P., 1436 Order
                          granting motion for expedited hearing (Related Doc1425)(document set for hearing: 1424
                          Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into
                          Sub-Servicer Agreements) Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge
                          Jernigan Ctrm for 1424, Entered on 11/19/2020. (Okafor, M.), 1437 Notice (Notice of
                          Agenda of Matters Scheduled for Hearing on November 20, 2020 at 9:30 a.m. (Central
                          Time)) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             1478 Hearing held on 11/23/2020. (RE: related document(s)1424 Motion for leave
                          (Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into
                          Sub-Servicer Agreements) filed by Debtor Highland Capital Management, L.P.)
                          (Appearances: J. Pomeranz and G. Demo for Debtor; M. Clemente for UCC; J. Kathman for
                          P. Daugherty; B. Assink for J. Dondero. Nonevidentiary hearing. Court heard report of
                          various amendments that have been negotiated. Motion granted. Counsel to upload order.)
   11/23/2020             (Edmond, Michael) (Entered: 11/24/2020)

                             1479 Hearing held on 11/23/2020. (RE: related document(s)1473 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement, 1080 Disclosure statement, 1289 Disclosure statement, 1384
                          Disclosure statement, 1453 Disclosure statement).) (Appearances: J. Pomeranz and G. Demo
                          for Debtor; M. Clemente for UCC; J. Kathman for P. Daugherty; B. Assink for J. Dondero.
                          Nonevidentiary hearing. Court heard report of various amendments that have been
                          negotiated. Disclosure Statement approved as adequate. Confirmation hearing will be held
                          1/13/21 at 9:30 am and continuing on 1/14/21 at 9:30 (if necessary). Counsel to upload
   11/23/2020             order.) (Edmond, Michael) (Entered: 11/24/2020)

                             1480 Hearing held on 11/23/2020. (RE: related document(s)1108 Motion for leave
                          (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the Disclosure
                          Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of Reorganization;
                          (C) Establishing Deadline for Filing Objections to Confirmation of Plan; (D) Approving
                          Form of Ballots, Voting Deadline and Solicitation Procedures; and (E) Approving Form and
                          Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080 Disclosure statement)
                          Filed by Debtor Highland Capital Management, L.P., (Appearances: J. Pomeranz and G.
                          Demo for Debtor; M. Clemente for UCC; J. Kathman for P. Daugherty; B. Assink for J.
                          Dondero. Nonevidentiary hearing. Court heard report of various amendments that have been
                          negotiated. Motion granted. Confirmation hearing will be held 1/13/21 at 9:30 am and
                          continuing on 1/14/21 at 9:30 (if necessary). Counsel to upload order.) (Edmond, Michael)
   11/23/2020             (Entered: 11/24/2020)

                             1471 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)1154 Motion for leave to Amend Certain Proofs of Claim Filed by
                          Creditor The Dugaboy Investment Trust Objections due by 10/30/2020. (Attachments: # 1
   11/24/2020             Proposed Order)) Responses due by 12/8/2020. (Ecker, C.)

                             1472 (66 pgs) Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
   11/24/2020             plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). (Annable, Zachery)

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   11/24/2020                1473 (178 pgs) Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement). (Annable, Zachery)

                            1474 (3 pgs) Order Granting Motion for Temporary Allowance of Claim for Voting
                          Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick Daugherty (related
   11/24/2020             document # 1281) Entered on 11/24/2020. (Okafor, M.)

                            1475 (2 pgs) Order Granting Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and
                          363(b) for Authority to Enter into Sub-Servicer Agreements (related document # 1424)
   11/24/2020             Entered on 11/24/2020. (Okafor, M.)

                             1476 (67 pgs) Order approving disclosure statement and setting hearing on confirmation
                          of plan (RE: related document(s)1472 Chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. and 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. ). Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas
                          Judge Jernigan Ctrm. Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021.
   11/24/2020             Entered on 11/24/2020 (Okafor, M.)

                             1477 (7 pgs) Order approving stipulation resolving proof of claim no. 148 filed by Lynn
                          Pinker Cox & Hurst, LLP (RE: related document(s)1435 Stipulation filed by Debtor
   11/24/2020             Highland Capital Management, L.P.). Entered on 11/24/2020 (Okafor, M.)

                             1481 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          creditor. (RE: related document(s)1466 Appellant designation of contents for inclusion in
                          record on appeal and statement of issues on appeal. , Statement of issues on appeal, filed by
                          Interested Party James Dondero (RE: related document(s)1347 Notice of appeal). Appellee
   11/25/2020             designation due by 12/7/2020.) Responses due by 12/2/2020. (Blanco, J.)

   11/25/2020                1482 (223 pgs) Transcript regarding Hearing Held 11/20/2020 (223 pages) RE: Motions
                          for Partial Summary Judgment; Motion to Allow Claims for Voting Purposes. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                          02/23/2021. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1462 Hearing held on 11/20/2020. (RE: related document(s)1214 Motion for
                          partial summary judgment on proof of claim(s) 190 and 191 of UBS Securities LLC and
                          UBS AG, London Branch filed by Debtor Highland Capital Management, L.P., (RE: Related
                          document(s) 928 Objection to claim filed by Debtor Highland Capital Management, L.P.,)
                          (Appearances: R. Feinstein and J. Pomeranz for Debtor; T. Mascherin, M. Hankin, and M.
                          Platt for Crusader Funds; A. Clubok K. Posin and S. Tomkowiak for UBS. Motion granted as
                          announced on the record. Counsel to submit an Order and Judgment.), 1463 Hearing held on
                          11/20/2020. (RE: related document(s)1215 Redeemer Committee of the Highland Crusander
                          Fund and the Crusader Funds' Motion for partial summary judgment on proof of claim(s) 190
                          and 191 of UBS AG, London Branch and UBS Securities LLC filed by Interested Party
                          Redeemer Committee of the Highland Crusader Fun and the Crusader's Funds' (Attachments:
                          # 1 Proposed Order) (RE: Related document(s) 933 Objection to claim filed by Interested
                          Party Redeemer Committee of the Highland Crusader Fund). (Appearances: R. Feinstein and
                          J. Pomeranz for Debtor; T. Mascherin, M. Hankin, and M. Platt for Crusader Funds; A.
                          Clubok K. Posin and S. Tomkowiak for UBS. Motion granted as announced on the record.
                          Counsel to submit an Order and Judgment.), 1464 Hearing held on 11/20/2020. (RE: related
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                          document(s)1338 Motion to allow claims (Motion for Temporary Allowance of Claims for
                          voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018) filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC.,) (Appearances: R. Feinstein and J.
                          Pomeranz for Debtor; T. Mascherin, M. Hankin, and M. Platt for Crusader Funds; A. Clubok
                          K. Posin and S. Tomkowiak for UBS. Motion granted as follows: UBS shall have a voting
                          claim estimated at $94.76 million. Counsel for UBS to submit an Order.)). Transcript to be
                          made available to the public on 02/23/2021. (Rehling, Kathy)

                             1483 (168 pgs; 9 docs) Application for compensation Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through October 31, 2020 for
                          Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to 10/31/2020,
                          Fee: $599,126.60, Expenses: $11,433.73. Filed by Attorney Holland N. O'Neil Objections
                          due by 12/16/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B/Proposed Order # 3 Exhibit C
   11/25/2020             # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (O'Neil, Holland)

                            1484 (10 pgs) Amended appellant designation of contents for inclusion in record on
                          appeal and statement of issues on appeal. , Statement of issues on appeal, filed by Interested
                          Parties UBS AG London Branch, UBS Securities LLC (RE: related document(s)1456
   11/25/2020             Appellant designation, Statement of issues on appeal). (Sosland, Martin)

                             1485 (5 pgs) Joint Motion to continue hearing on (related documents 1207 Motion to
   11/25/2020             allow claims) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                            1486 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1474
                          Order Granting Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to
                          Bankruptcy Rule 3018 Filed by Creditor Patrick Daugherty (related document 1281) Entered
   11/26/2020             on 11/24/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 11/26/2020. (Admin.)

                             1487 (15 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1477
                          Order approving stipulation resolving proof of claim no. 148 filed by Lynn Pinker Cox &
                          Hurst, LLP (RE: related document(s)1435 Stipulation filed by Debtor Highland Capital
                          Management, L.P.). Entered on 11/24/2020 (Okafor, M.)) No. of Notices: 1. Notice Date
   11/26/2020             11/26/2020. (Admin.)

                             1488 (5 pgs) Certificate of service re: Thirteenth Monthly Application for Compensation
                          and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from October 1, 2020 through October 31, 2020 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)1449 Amended application
                          for compensation Thirteenth Monthly Application for Compensation and for Reimbursement
                          of Expenses for the Period from October 1, 2020 through October 31, 2020 (amended solely
                          to include Exhibit A) for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 10/1/2020 to
                          10/31/2020, Fee: $1,119,675.50, Expenses: $19,132.28. Filed by Attorney Jeffrey Nathan
                          Pomerantz Objections due by 12/11/2020. filed by Debtor Highland Capital Management,
   11/27/2020             L.P.). (Kass, Albert)

                             1489 (2 pgs) Order granting motion to continue hearing on (related document # 1485)
                          (related documents Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the
                          Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of
                          Voting to Accept or Reject the Plan) Hearing to be held on 12/10/2020 at 09:30 AM Dallas
   11/30/2020             Judge Jernigan Ctrm for 1207, Entered on 11/30/2020. (Ecker, C.)


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   11/30/2020                1490 (47 pgs) Application for compensation Sidley Austin LLP's Twelfth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 10/1/2020 to 10/31/2020, Fee:
                          $537,841.80, Expenses: $3,125.47. Filed by Objections due by 12/21/2020. (Hoffman,
                          Juliana)

                            1491 (342 pgs; 2 docs) Motion for relief from stay Fee amount $181, Filed by Creditor
                          Patrick Daugherty Objections due by 12/14/2020. (Attachments: # 1 Exhibit Declaration of
   11/30/2020             Patrick Daugherty in Support of Motion to Lift the Automatic Stay) (Kathman, Jason)

                             1492 (1 pg) Clerk's correspondence requesting exhibits from attorney for plaintiff. (RE:
                          related document(s)1484 Amended appellant designation of contents for inclusion in record
                          on appeal and statement of issues on appeal. , Statement of issues on appeal, filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC (RE: related
                          document(s)1456 Appellant designation, Statement of issues on appeal).) Responses due by
   12/01/2020             12/14/2020. (Blanco, J.)

                            1493 (9 pgs) Debtor-in-possession monthly operating report for filing period October 1,
                          2020 to October 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable,
   12/01/2020             Zachery)

                             1494 (184 pgs; 2 docs) Notice of hearing on Daugherty's Motion to Lift the Automatic
                          Stay filed by Creditor Patrick Daugherty (RE: related document(s)1491 Motion for relief
                          from stay Fee amount $181, Filed by Creditor Patrick Daugherty Objections due by
                          12/14/2020. (Attachments: # 1 Exhibit Declaration of Patrick Daugherty in Support of
                          Motion to Lift the Automatic Stay)). Preliminary hearing to be held on 12/17/2020 at 01:30
   12/01/2020             PM at Dallas Judge Jernigan Ctrm. (Attachments: # 1 Creditor Matrix) (Kathman, Jason)

                             1495 (11 pgs) Certificate of service re: 1) Debtor's Reply in Support of the Motion of the
                          Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer
                          Agreements; and 2) Debtors Objection to Request for Emergency Hearing Filed by James
                          Dondero [Docket No. 1443] Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1459 Reply to (related document(s): 1447 Response filed by Interested
                          Party James Dondero) (Debtor's Reply in Support of the Motion of the Debtor Pursuant to 11
                          U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements) filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
                          L.P., 1461 Objection to (related document(s): 1443 Motion for expedited hearing(related
                          documents 1439 Motion for leave) (Request for Emergency Hearing on James Dondero's
                          Motion for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions
                          Occurring Outside the Ordinary Co filed by Interested Party James Dondero) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   12/01/2020             (Kass, Albert)

   12/01/2020                1496 (18 pgs) Certificate of service re: 1) Order Granting Patrick Hagaman Daughertys
                          Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to Bankruptcy Rule
                          3018; 2) Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Authority to Enter Into Sub-Servicer
                          Agreements; and 3) Order Approving Stipulation Resolving Proof of Claim No. 148 Filed by
                          Lynn Pinker Cox & Hurst, LLP Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1474 Order Granting Motion for Temporary Allowance of Claim for
                          Voting Purposes Pursuant to Bankruptcy Rule 3018 Filed by Creditor Patrick Daugherty
                          (related document 1281) Entered on 11/24/2020. (Okafor, M.), 1475 Order Granting Motion
                          of the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority to Enter into Sub-
                          Servicer Agreements (related document 1424) Entered on 11/24/2020. (Okafor, M.), 1477
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                          Order approving stipulation resolving proof of claim no. 148 filed by Lynn Pinker Cox &
                          Hurst, LLP (RE: related document(s)1435 Stipulation filed by Debtor Highland Capital
                          Management, L.P.). Entered on 11/24/2020 (Okafor, M.)). (Kass, Albert)

                            1497 (6 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          and statement of issues on appeal. , Statement of issues on appeal, filed by Interested Party
                          James Dondero (RE: related document(s)1466 Appellant designation, Statement of issues on
   12/01/2020             appeal). (Assink, Bryan)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] (
   12/02/2020             181.00). Receipt number 28309234, amount $ 181.00 (re: Doc# 1491). (U.S. Treasury)

                             1498 (2 pgs) Notice of hearing filed by Spec. Counsel Foley Gardere, Foley & Lardner
                          LLP (RE: related document(s)1483 Application for compensation Third and Final
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through October
                          31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to
                          10/31/2020, Fee: $599,126.60, Expenses: $11,433.73. Filed by Attorney Holland N. O'Neil
                          Objections due by 12/16/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B/Proposed Order #
                          3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (O'Neil,
                          Holland)). Hearing to be held on 1/6/2021 at 02:30 PM Dallas Judge Jernigan Ctrm for 1483,
   12/02/2020             (O'Neil, Holland)

                             1499 (13 pgs) Certificate of service re: 1) Third and Final Application for Compensation
                          and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas Counsel to the
                          Debtor for the Period from October 16, 2019 Through October 31, 2020; and 2) Joint
                          Motion to Continue Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1483 Application for compensation Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through October 31, 2020 for
                          Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to 10/31/2020,
                          Fee: $599,126.60, Expenses: $11,433.73. Filed by Attorney Holland N. O'Neil Objections
                          due by 12/16/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B/Proposed Order # 3 Exhibit C
                          # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (O'Neil, Holland) filed
                          by Spec. Counsel Foley Gardere, Foley & Lardner LLP, 1485 Joint Motion to continue
                          hearing on (related documents 1207 Motion to allow claims) Filed by Debtor Highland
                          Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.). (Kass,
   12/02/2020             Albert)

                            1500 (2 pgs; 2 docs) Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 2 Transferors: Katten Muchin Rosenman LLP (Claim No. 26, Amount
                          $16,695.00) To Cedar Glade LP. Filed by Creditor Cedar Glade LP. (Attachments: # 1
   12/03/2020             Evidence of Transfer) (Tanabe, Kesha)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28312406, amount $ 26.00 (re: Doc# 1500). (U.S.
   12/03/2020             Treasury)

                             1501 (1 pg) Request for transcript regarding a hearing held on 11/23/2020. The requested
   12/03/2020             turn-around time is hourly. (Edmond, Michael)

   12/03/2020                 1502 (2 pgs) Stipulation by James Dondero and Highland Capital Management, L.P.. filed
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.331 243/439



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                          by Interested Party James Dondero (RE: related document(s)1179 Objection to claim).
                          (Assink, Bryan)

                            1503 (52 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from October 1, 2020 through October 31, 2020) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer,
                          Additional Personnel, and Financial Advisory and Restructuring-Related Services for Such
                          Debtor, Nunc Pro Tunc as of the Petition Date (related document 74) Entered on 1/10/2020.
                          (Okafor, M.), 853 Order granting application to employ Development Specialists, Inc. as
                          Other Professional (related document 775) Entered on 7/16/2020. (Ecker, C.)). (Annable,
   12/03/2020             Zachery)

                              1504 (3 pgs) Certificate of service re: Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from October 1, 2020 through October 31, 2020
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1503 Notice
   12/03/2020             (generic)). (Annable, Zachery)

                             1505 (4 pgs) Certificate of service re: Debtor's Notice of Affidavit of Publication of the
                          Notice of (I) Entry of Order Approving Disclosure Statement; (II) Hearing to Confirm Plan;
                          and (III) Related Important Dates in the New York Times Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1476 Order approving disclosure statement and
                          setting hearing on confirmation of plan (RE: related document(s)1472 Chapter 11 plan filed
                          by Debtor Highland Capital Management, L.P. and 1473 Amended disclosure statement filed
                          by Debtor Highland Capital Management, L.P. ). Confirmation hearing to be held on
                          1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Last day to Object to Confirmation
   12/03/2020             1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020 (Okafor, M.)). (Kass, Albert)

                             1506 (15 pgs) Certificate of service re: 1) Order Granting Joint Motion to Continue
                          Hearing; and 2) Twelfth Monthly Application of Sidley Austin for Allowance of
                          Compensation and Reimbursement of Expenses for the Period from October 1, 2020 to and
                          Including October 31, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1489 Order granting motion to continue hearing on (related document
                          1485) (related documents Motion to allow claims of HarbourVest Pursuant to Rule 3018(A)
                          of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for
                          Purposes of Voting to Accept or Reject the Plan) Hearing to be held on 12/10/2020 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 1207, Entered on 11/30/2020. (Ecker, C.), 1490
                          Application for compensation Sidley Austin LLP's Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 10/1/2020 to 10/31/2020, Fee: $537,841.80,
                          Expenses: $3,125.47. Filed by Objections due by 12/21/2020. filed by Creditor Committee
   12/03/2020             Official Committee of Unsecured Creditors). (Kass, Albert)

   12/03/2020                 1507 (42 pgs) Transcript regarding Hearing Held 11/23/2020 (42 pages) RE: Disclosure
                          Statement Hearing; Motion to Enter into Sub-Servicer Agreements; Motion for Order
                          Shortening Time. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 03/3/2021. Until that time the transcript may be viewed
                          at the Clerk's Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 1478 Hearing held on 11/23/2020. (RE: related
                          document(s)1424 Motion for leave (Motion of the Debtor Pursuant to 11 U.S.C. 105(a) and
                          363(b) for Authority to Enter into Sub-Servicer Agreements) filed by Debtor Highland
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.332 244/439



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                          Capital Management, L.P.) (Appearances: J. Pomeranz and G. Demo for Debtor; M.
                          Clemente for UCC; J. Kathman for P. Daugherty; B. Assink for J. Dondero. Nonevidentiary
                          hearing. Court heard report of various amendments that have been negotiated. Motion
                          granted. Counsel to upload order.), 1479 Hearing held on 11/23/2020. (RE: related
                          document(s)1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement).) (Appearances: J. Pomeranz and G. Demo for Debtor; M. Clemente for UCC; J.
                          Kathman for P. Daugherty; B. Assink for J. Dondero. Nonevidentiary hearing. Court heard
                          report of various amendments that have been negotiated. Disclosure Statement approved as
                          adequate. Confirmation hearing will be held 1/13/21 at 9:30 am and continuing on 1/14/21 at
                          9:30 (if necessary). Counsel to upload order.), 1480 Hearing held on 11/23/2020. (RE: related
                          document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the
                          Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to Confirm the First
                          Amended Plan of Reorganization; (C) Establishing Deadline for Filing Objections to
                          Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and Solicitation
                          Procedures; and (E) Approving Form and Manner of Notice) (related document(s) 1079
                          Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland Capital Management,
                          L.P., (Appearances: J. Pomeranz and G. Demo for Debtor; M. Clemente for UCC; J.
                          Kathman for P. Daugherty; B. Assink for J. Dondero. Nonevidentiary hearing. Court heard
                          report of various amendments that have been negotiated. Motion granted. Confirmation
                          hearing will be held 1/13/21 at 9:30 am and continuing on 1/14/21 at 9:30 (if necessary).
                          Counsel to upload order.)). Transcript to be made available to the public on 03/3/2021.
                          (Rehling, Kathy)

                              1883 (5 pgs) INCORRECT ENTRY - Agreed Notice of voluntary dismissal of appeals
                          filed by Allied World Assurance Company (RE: related document(s)1347 Notice of appeal .
                          Fee Amount $298 filed by Interested Party James Dondero (RE: related document(s)1302
                          Order on motion to compromise controversy). Appellant Designation due by 11/23/2020.
                          (Attachments: # 1 Order)). (Blanco, J.) Modified on 2/2/2021 (Blanco, J.). (Entered:
   12/03/2020             02/02/2021)

                             1508 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Daniel Sheehan & Associates, PLLC (Claim No. 47, Amount $32,433.75)
   12/04/2020             To Fair Harbor Capital, LLC. Filed by Creditor Fair Harbor Capital, LLC. (Knox, Victor)

                             1509 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Vengroff Williams Inc (American Arbitration Assoc (Claim No. 33,
                          Amount $12,911.80) To Fair Harbor Capital, LLC. Filed by Creditor Fair Harbor Capital,
   12/04/2020             LLC. (Knox, Victor)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28315512, amount $ 26.00 (re: Doc# 1508). (U.S.
   12/04/2020             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28315512, amount $ 26.00 (re: Doc# 1509). (U.S.
   12/04/2020             Treasury)

                             1510 (4 pgs) Order approving stipulation and agreed order authorizing withdrawal of
                          proofs of claim 138 and 188 (RE: related document(s)1502 Stipulation filed by Interested
   12/04/2020             Party James Dondero). Entered on 12/4/2020 (Ecker, C.)

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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   12/04/2020                 1511 (3 pgs) Certificate of service re: (Supplemental) Documents Served on October 28,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300
                          Notice of hearing (Notice of Continued Hearing on Disclosure Statement for the Second
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1289 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at
                          01:30 PM Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital
                          Management, L.P., 1309 Amended Notice of hearing (Second Amended Notice of Hearing)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108 Motion
                          for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P., 1322 Certificate of service re:
                          Documents Served on October 28, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1300 Notice of hearing (Notice of Continued Hearing
                          on Disclosure Statement for the Second Amended Plan of Reorganization of Highland
                          Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1289 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement).). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for
                          1289, filed by Debtor Highland Capital Management, L.P., 1301 Order approving stipulation
                          resolving Proof of Claim No. 86 of NWCC, LLC (RE: related document(s)1264 Stipulation
                          filed by Debtor Highland Capital Management, L.P.). Entered on 10/28/2020 (Okafor, M.),
                          1302 Order granting motion to compromise controversy with (A) Acis Capital Management,
                          L.P. and Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and
                          Jennifer G. Terry (Claim No. 156), and (C) Acis Capital Management, L.P. (Claim No. 159).
                          Filed by Debtor Highland Capital Management, L.P. (related document 1087) Entered on
                          10/28/2020. (Okafor, M.), 1309 Amended Notice of hearing (Second Amended Notice of
                          Hearing) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1108
                          Motion for leave (Debtor's Motion for Entry of an Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the First Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice) (related document(s) 1079 Chapter 11 plan, 1080
                          Disclosure statement) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit 1--Proposed Order # 2 Exhibit 1-A--Forms of Ballots # 3 Exhibit 1-B--Notice of
                          Confirmation Hearing # 4 Exhibit 1-C--Notice of Non-Voting Status # 5 Exhibit 1-D--Notice
                          of Assumption)). Hearing to be held on 11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1108, filed by Debtor Highland Capital Management, L.P.). filed by Claims Agent
                          Kurtzman Carson Consultants LLC). (Kass, Albert)

                             1512 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Foley Gardere, Foley Lardner LLP To Hain Capital Investors Master Fund,
   12/07/2020             Ltd. Filed by Creditor Hain Capital Group, LLC. (Rapoport, Amanda)

   12/07/2020                 Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)

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                          [claims,trclmagt] ( 26.00). Receipt number 28320856, amount $ 26.00 (re: Doc# 1512). (U.S.
                          Treasury)

                             1513 (26 pgs) Application for compensation Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 10/1/2020 to 10/31/2020, Fee: $196,216.20, Expenses: $264.23. Filed by Attorney
   12/07/2020             Juliana Hoffman Objections due by 12/28/2020. (Hoffman, Juliana)

                            1514 (15 pgs; 2 docs) Adversary case 20-03190. Complaint by Highland Capital
                          Management, L.P. against James D. Dondero. Fee Amount $350 (Attachments: # 1
   12/07/2020             Adversary Cover Sheet). Nature(s) of suit: 72 (Injunctive relief - other). (Annable, Zachery)

                            1515 (6 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          and statement of issues on appeal. filed by Interested Party James Dondero (RE: related
                          document(s)1466 Appellant designation, Statement of issues on appeal, 1497 Appellant
   12/07/2020             designation, Statement of issues on appeal). (Assink, Bryan)

                            1516 (3 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1347 Notice of appeal,
   12/07/2020             Modified LINKAGE AND TEXT on 3/12/2021 (Blanco, J.).

                            1517 (5 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Acis Capital Management GP, LLC, Acis Capital Management, L.P. (RE: related
   12/07/2020             document(s)1347 Notice of appeal). (Chiarello, Annmarie)

                            1518 (4 pgs) Order temporarily granting UBS' motion to allow claim number(s) (related
   12/08/2020             document # 1338) Entered on 12/8/2020. (Ecker, C.)

                             1519 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)1280 Motion for leave to Amend Proof of Claim No. 77 Filed by Creditor
                          Patrick Daugherty Objections due by 11/16/2020. (Attachments: # 1 Exhibit A - Proposed
                          Order # 2 Exhibit B - Second Amended Proof of Claim)) Responses due by 12/22/2020.
   12/08/2020             (Ecker, C.)

                            1520 (37 pgs; 2 docs) Application for compensation (Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from August 1, 2020 through August 31, 2020) for
                          Hayward & Associates PLLC, Debtor's Attorney, Period: 8/1/2020 to 12/31/2020, Fee:
                          $27,465.00, Expenses: $859.43. Filed by Other Professional Hayward & Associates PLLC
   12/08/2020             (Attachments: # 1 Exhibit A--August 2020 Invoice) (Annable, Zachery)

                             1521 (102 pgs) Application for compensation Fourteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor for the Period from November 1, 2020 through November 30, 2020
                          for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 11/1/2020 to 11/30/2020, Fee:
                          $759,428.00, Expenses: $1,672.80. Filed by Attorney Jeffrey Nathan Pomerantz Objections
   12/08/2020             due by 12/29/2020. (Pomerantz, Jeffrey)

   12/08/2020               1522 (26 pgs; 3 docs) INCORRECT EVENT: See # 1528 for correction. Motion to
                          compel Temporary Restriction of Sales by Non-Debtors CLOs. Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint

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                          Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (Attachments:
                          # 1 Affidavit # 2 Proposed Order) (Varshosaz, Artoush) Modified on 12/9/2020 (Ecker, C.).

                             1523 (6 pgs; 2 docs) Motion for expedited hearing(related documents 1528 Motion by
                          Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint
                          Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund. filed by
                          Interested Party Highland Capital Management Fund Advisors, L.P., Interested Party
                          NexPoint Advisors, L.P., Interested Party Highland Fixed Income Fund, Interested Party
                          NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities Fund. Modified
   12/08/2020             linkage on 12/9/2020 (Ecker, C.).

                            1528 (26 pgs) Motion for order imposing temporary restrictions on Debtor's ability, as
                          portfolio manager , to initiate sales by non-debtor CLO Vehicles. Highland Capital
                          Management Fund Advisors, L.P. , Highland Fixed Income Fund , NexPoint Advisors, L.P. ,
                          NexPoint Capital, Inc. , NexPoint Strategic Opportunities Fund . (Ecker, C.) (Entered:
   12/08/2020             12/09/2020)

                             1524 (5 pgs) Joint Motion to continue hearing on (related documents 1207 Motion to
   12/09/2020             allow claims) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             1525 (1 pg) Request for transcript regarding a hearing held on 1/9/2020. The requested
   12/09/2020             turn-around time is hourly. (Edmond, Michael)

                            1526 (9 pgs) Order granting partial summary judgment (related document # 1214)
   12/09/2020             Entered on 12/9/2020. (Ecker, C.)

                             1527 (2 pgs) Order granting joint motion to continue hearing on (related document #
                          1524) (related documents Motion to allow claims of HarbourVest Pursuant to Rule 3018(A)
                          of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for
   12/09/2020             Purposes of Voting to Accept or Reject the Plan) Entered on 12/9/2020. (Ecker, C.)

                             1529 (9 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
   12/09/2020             L.P. (RE: related document(s)1179 Objection to claim). (Annable, Zachery)

                            1530 (8 pgs) Motion to extend time to Time to File An Adversary Proceeding Against
                          CLO Holdco, Ltd. (Agreed) (RE: related document(s)1168 Order (generic)) Filed by Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 12/30/2020.
   12/09/2020             (Montgomery, Paige)

                             1531 (32 pgs; 2 docs) Application for compensation (Tenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from September 1, 2020 through September 30, 2020)
                          for Hayward & Associates PLLC, Debtor's Attorney, Period: 9/1/2020 to 9/30/2020, Fee:
                          $25,075.00, Expenses: $132.60. Filed by Other Professional Hayward & Associates PLLC
   12/09/2020             (Attachments: # 1 Exhibit A--H&A September 2020 Invoice) (Annable, Zachery)

                            1532 (5 pgs) Notice (Notice of Stipulation Resolving Proof of Claim No. 164 Filed by
                          Berkeley Research Group, LLC) filed by Debtor Highland Capital Management, L.P..
   12/09/2020             (Annable, Zachery)

   12/10/2020               1533 (3 pgs) Order granting motion to amend proof of claim #77 and to file supporting
                          documents under seal. (related document # 1280) Entered on 12/10/2020. (Ecker, C.)
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                            1534 (2 pgs) Order granting 1530 Motion to extend time. (Re: related document(s) 1530
                          Motion to extend time to Time to File An Adversary Proceeding Against CLO Holdco, Ltd.
   12/10/2020             (Agreed) (RE: related document(s)1168 Order (generic))) Entered on 12/10/2020. (Ecker, C.)

                             1535 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1207 Motion to allow claims of HarbourVest Pursuant to Rule
                          3018(A) of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims
                          for Purposes of Voting to Accept or Reject the Plan Filed by Creditor HarbourVest et al
                          Objections due by 11/9/2020. (Attachments: # 1 Proposed Order)). Hearing to be held on
   12/10/2020             1/4/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1207, (Annable, Zachery)

                             1536 (5 pgs) Stipulation by Highland Capital Management, L.P. and NexPoint Real Estate
                          Partners, LLC f/k/a HCRE Partners, LLC. filed by Debtor Highland Capital Management,
   12/10/2020             L.P. (RE: related document(s)906 Objection to claim). (Annable, Zachery)

                            1537 (5 pgs) Order regarding objection to claim number(s) (RE: related document(s)1179
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). Entered on
   12/10/2020             12/10/2020 (Ecker, C.)

                            1538 (8 pgs) Order approving stipulation resolving proof of claim #164 (RE: related
                          document(s)1532 Notice (generic) filed by Debtor Highland Capital Management, L.P.).
   12/10/2020             Entered on 12/10/2020 (Ecker, C.)

                             1539 (3 pgs) Notice of hearingon Motion Imposing Restrictions on Debtor's Ability, as
                          Portfolio Manager, to Initiate Sales by Non-Debotor CLO Vehicles filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint
                          Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (RE: related
                          document(s)1528 Motion for order imposing temporary restrictions on Debtor's ability, as
                          portfolio manager, to initiate sales by non-debtor CLO Vehicles. Highland Capital
                          Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors, L.P.,
                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund. (Ecker, C.)). Hearing to be
   12/10/2020             held on 12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1528, (Varshosaz, Artoush)

                             1540 (19 pgs) Certificate of service re: Twelfth Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          October 1, 2020 to and Including October 31, 2020; and 2) Appellees Counter-Designation
                          of Record on Appeal Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1513 Application for compensation Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 10/1/2020 to 10/31/2020, Fee: $196,216.20, Expenses: $264.23. Filed by Attorney
                          Juliana Hoffman Objections due by 12/28/2020. filed by Financial Advisor FTI Consulting,
                          Inc., 1516 Appellee designation of contents for inclusion in record of appeal filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1347 Notice of appeal, 1369
                          Amended notice of appeal). filed by Debtor Highland Capital Management, L.P.). (Kass,
   12/10/2020             Albert)

                            1541 (12 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1518
                          Order temporarily granting UBS' motion to allow claim number(s) (related document 1338)
   12/10/2020             Entered on 12/8/2020. (Ecker, C.)) No. of Notices: 2. Notice Date 12/10/2020. (Admin.)

   12/11/2020                 1542 (21 pgs; 6 docs) Support/supplemental document/Supplement to the Third and Final
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                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor filed by Spec. Counsel Foley Gardere, Foley & Lardner
                          LLP (RE: related document(s)1483 Application for compensation Third and Final
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through October
                          31, 2020 for Foley Ga). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                          D # 5 Proposed Order /Exhibit E) (O'Neil, Holland)

                             1543 (91 pgs) Transcript regarding Hearing Held 01/09/2020 (91 pages) RE: Motion to
                          Compromise Controversy (#281). THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 03/11/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) Hearing held on 1/9/2020. (RE: related document(s)281 Motion to compromise
                          controversy with Official Committee of Unsecured Creditors, filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: J. Pomerantz, I. Kharasch, G. Demo, M. Hayward,
                          and Z. Annabel for Debtor; M. Clemente, P. Reid and D. Tumi for Unsecured Creditors
                          Committee; A. Chiarello and R. Patel for Asic; L. Lambert for UST; J. Bentley and J. Bain
                          (both telephonically) for CLO and CDO Issuer Group; T. Mascherin and M. Hankin
                          (telephonically) for Redeemer Committee; P. Maxcy (telephonically) for Jeffries. Evidentiary
                          hearing. Motion granted. Counsel to upload appropriate form of order.)). Transcript to be
   12/11/2020             made available to the public on 03/11/2021. (Rehling, Kathy)

                            1544 (44 pgs) Application for compensation (First Interim Application) for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 7/1/2020 to 10/31/2020, Fee: $206933.85,
   12/11/2020             Expenses: $546.52. Filed by Spec. Counsel Hunton Andrews Kurth LLP (Hesse, Gregory)

                             1545 (88 pgs; 2 docs) Application for compensation (Hayward & Associates PLLC's
                          Third Interim Application for Compensation and Reimbursement of Expenses for the Period
                          from July 1, 2020 through September 30, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 7/1/2020 to 9/30/2020, Fee: $82,325.00, Expenses: $1,972.63. Filed by
                          Other Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A
   12/11/2020             Invoices for July, August, and September 2020) (Annable, Zachery)

                            1546 (11 pgs) Objection to (related document(s): 1439 Motion for leave (James
                          Dondero's Motion for Entry of an Order Requiring Notice and Hearing for Future Estate
                          Transactions Occurring Outside the Ordinary Course of Business) filed by Interested Party
   12/11/2020             James Dondero) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             1547 (403 pgs) Application for compensation Third Interim Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession for the Period from August 1, 2020 through
                          November 30, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 8/1/2020 to
                          11/30/2020, Fee: $3,380,111.50, Expenses: $31,940.33. Filed by Attorney Jeffrey Nathan
   12/11/2020             Pomerantz Objections due by 1/4/2021. (Pomerantz, Jeffrey)

                            1548 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Interested Party
   12/11/2020             James Dondero. (Assink, Bryan)

   12/11/2020                 1549 (3 pgs) Notice to take deposition of John Dubel filed by Interested Party James

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                          Dondero. (Assink, Bryan)

                            1550 (3 pgs) Notice to take deposition of Russell Nelms filed by Interested Party James
   12/11/2020             Dondero. (Assink, Bryan)

                            1551 (5 pgs) Objection to (related document(s): 1439 Motion for leave (James Dondero's
                          Motion for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions
                          Occurring Outside the Ordinary Course of Business) filed by Interested Party James
                          Dondero) filed by Creditor Committee Official Committee of Unsecured Creditors.
   12/11/2020             (Hoffman, Juliana)

                             1552 (115 pgs; 3 docs) Application for compensation (Consolidated Monthly and Second
                          Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of
                          Compensation for Services Rendered and Reimbursement of Expenses as Regulatory and
                          Compliance Counsel for the Period from July 1, 2020 through November 30, 2020) for
                          Wilmer Cutler Pickering Hale and Dorr LLP, Debtor's Attorney, Period: 7/1/2020 to
                          11/30/2020, Fee: $709,256.22, Expenses: $0.00. Filed by Other Professional Wilmer Cutler
   12/11/2020             Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A # 2 Exhibit B) (Annable, Zachery)

   12/11/2020                 1553 (6 pgs) Omnibus Notice of hearing (Omnibus Notice of Hearing on Interim
                          Applications for Compensation and Reimbursement of Expenses of Estate Professionals)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1410
                          Certificate Amended Certificate of No Objection filed by Financial Advisor FTI Consulting,
                          Inc. (RE: related document(s)1244 Application for compensation Third Interim Application
                          for Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial
                          Advisor, Period: 6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses: $1,833.10., 1407
                          Certificate (generic))., 1416 Certificate of No Objection filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)1296 Application for
                          compensation Sidley Austin LLP's Third Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor Comm.
                          Aty, Period: 6/1/2020 to 8/31/2020, Fee: $1,86)., 1483 Application for compensation Third
                          and Final Application for Compensation and Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019
                          through October 31, 2020 for Foley Gardere, Foley & Lardner LLP, Special Counsel, Period:
                          10/16/2019 to 10/31/2020, Fee: $599,126.60, Expenses: $11,433.73. Filed by Attorney
                          Holland N. O'Neil Objections due by 12/16/2020. (Attachments: # 1 Exhibit A # 2 Exhibit
                          B/Proposed Order # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
                          Exhibit H) (O'Neil, Holland), 1542 Support/supplemental document/Supplement to the Third
                          and Final Application for Compensation and Reimbursement of Expenses of Foley &
                          Lardner LLP as Special Texas Counsel to the Debtor filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP (RE: related document(s)1483 Application for compensation Third and
                          Final Application for Compensation and Reimbursement of Expenses of Foley & Lardner
                          LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          October 31, 2020 for Foley Ga). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                          Exhibit D # 5 Proposed Order /Exhibit E) (O'Neil, Holland), 1544 Application for
                          compensation (First Interim Application) for Hunton Andrews Kurth LLP, Special Counsel,
                          Period: 7/1/2020 to 10/31/2020, Fee: $206933.85, Expenses: $546.52. Filed by Spec.
                          Counsel Hunton Andrews Kurth LLP, 1545 Application for compensation (Hayward &
                          Associates PLLC's Third Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from July 1, 2020 through September 30, 2020) for Hayward &
                          Associates PLLC, Debtor's Attorney, Period: 7/1/2020 to 9/30/2020, Fee: $82,325.00,
                          Expenses: $1,972.63. Filed by Other Professional Hayward & Associates PLLC
                          (Attachments: # 1 Exhibit A--H&A Invoices for July, August, and September 2020), 1547
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                          Application for compensation Third Interim Application for Compensation and for
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor
                          and Debtor in Possession for the Period from August 1, 2020 through November 30, 2020 for
                          Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 8/1/2020 to 11/30/2020, Fee:
                          $3,380,111.50, Expenses: $31,940.33. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 1/4/2021., 1552 Application for compensation (Consolidated Monthly and
                          Second Interim Application of Wilmer Cutler Pickering Hale and Dorr LLP for Allowance of
                          Compensation for Services Rendered and Reimbursement of Expenses as Regulatory and
                          Compliance Counsel for the Period from July 1, 2020 through November 30, 2020) for
                          Wilmer Cutler Pickering Hale and Dorr LLP, Debtor's Attorney, Period: 7/1/2020 to
                          11/30/2020, Fee: $709,256.22, Expenses: $0.00. Filed by Other Professional Wilmer Cutler
                          Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A # 2 Exhibit B)). Hearing to be
                          held on 1/6/2021 at 02:30 PM Dallas Judge Jernigan Ctrm for 1483 and for 1544 and for
                          1545 and for 1547 and for 1552 and for 1410 and for 1416 and for 1542, (Annable, Zachery)

                            1554 (3 pgs) Notice to take deposition of Dustin Norris filed by Debtor Highland Capital
   12/11/2020             Management, L.P.. (Annable, Zachery)

                            1555 (3 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   12/11/2020             Capital Management, L.P.. (Annable, Zachery)

                             1556 (5 pgs) Certificate of service re: 1) Ninth Monthly Application for Compensation
                          and Reimbursement of Expenses of Hayward & Associates PLLC as Local Counsel to the
                          Debtor for the Period from August 1, 2020 through August 31, 2020; and 2) Fourteenth
                          Monthly Application for Compensation and for Reimbursement of Expenses of Pachulski
                          Stang Ziehl & Jones LLP as Counsel for the Debtor for the Period from November 1, 2020
                          through November 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1520 Application for compensation (Ninth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward & Associates PLLC as Local
                          Counsel to the Debtor for the Period from August 1, 2020 through August 31, 2020) for
                          Hayward & Associates PLLC, Debtor's Attorney, Period: 8/1/2020 to 12/31/2020, Fee:
                          $27,465.00, Expenses: $859.43. Filed by Other Professional Hayward & Associates PLLC
                          (Attachments: # 1 Exhibit A--August 2020 Invoice) filed by Other Professional Hayward &
                          Associates PLLC, 1521 Application for compensation Fourteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor for the Period from November 1, 2020 through November 30, 2020
                          for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 11/1/2020 to 11/30/2020, Fee:
                          $759,428.00, Expenses: $1,672.80. Filed by Attorney Jeffrey Nathan Pomerantz Objections
   12/11/2020             due by 12/29/2020. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   12/11/2020                1557 (28 pgs) Certificate of service re: Documents Served on December 9, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1524 Joint Motion to
                          continue hearing on (related documents 1207 Motion to allow claims) Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.,
                          1526 Order granting partial summary judgment (related document 1214) Entered on
                          12/9/2020. (Ecker, C.), 1527 Order granting joint motion to continue hearing on (related
                          document 1524) (related documents Motion to allow claims of HarbourVest Pursuant to Rule
                          3018(A) of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims
                          for Purposes of Voting to Accept or Reject the Plan) Entered on 12/9/2020. (Ecker, C.), 1530
                          Motion to extend time to Time to File An Adversary Proceeding Against CLO Holdco, Ltd.
                          (Agreed) (RE: related document(s)1168 Order (generic)) Filed by Creditor Committee
                          Official Committee of Unsecured Creditors Objections due by 12/30/2020. filed by Creditor
                          Committee Official Committee of Unsecured Creditors, 1531 Application for compensation
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                          (Tenth Monthly Application for Compensation and Reimbursement of Expenses of Hayward
                          & Associates PLLC as Local Counsel to the Debtor for the Period from September 1, 2020
                          through September 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period:
                          9/1/2020 to 9/30/2020, Fee: $25,075.00, Expenses: $132.60. Filed by Other Professional
                          Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A September 2020 Invoice)
                          filed by Other Professional Hayward & Associates PLLC, 1532 Notice (Notice of Stipulation
                          Resolving Proof of Claim No. 164 Filed by Berkeley Research Group, LLC) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                             1639 Hearing set (RE: related document(s)1244 Application for compensation Third
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses:
                          $1,833.10. Filed by Attorney Juliana Hoffman Objections due by 11/10/2020., 1296
                          Application for compensation Sidley Austin LLP's Third Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 6/1/2020 to 8/31/2020, Fee: $1,865,520.45,
                          Expenses: $18,678.47. Filed by Attorney Juliana Hoffman Objections due by 11/17/2020.)
                          Hearing to be held on 1/6/2021 at 02:30 PM Dallas Judge Jernigan Ctrm for 1296 and for
   12/11/2020             1244, (Ellison, T.) (Entered: 12/29/2020)

                            1558 (3 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   12/12/2020             Capital Management, L.P.. (Annable, Zachery)

                             1559 (8 pgs; 2 docs) WITHDRAWN per # 1622 Subpoena on Jean Paul Sevilla filed by
                          Interested Party James Dondero. (Attachments: # 1 Ex. 1 - Sevilla Subpoena) (Assink,
   12/13/2020             Bryan) Modified on 12/28/2020 (Ecker, C.).

                             1560 (8 pgs; 2 docs) WITHDRAWN per # 1622 Subpoena on Russell Nelms filed by
                          Interested Party James Dondero. (Attachments: # 1 Ex. 1 - Nelms Subpoena) (Assink, Bryan)
   12/13/2020             Modified on 12/28/2020 (Ecker, C.).

                             1561 (8 pgs; 2 docs) WITHDRAWN per # 1622 Subpoena on Fred Caruso filed by
                          Interested Party James Dondero. (Attachments: # 1 Ex. 1 - Caruso Subpoena) (Assink,
   12/13/2020             Bryan) Modified on 12/28/2020 (Ecker, C.).

                             1562 (2 pgs) Order granting motion for expedited hearing (Related Doc# 1523)(document
                          set for hearing: 1528 Generic motion) Hearing to be held on 12/16/2020 at 01:30 PM Dallas
   12/14/2020             Judge Jernigan Ctrm for 1528, Entered on 12/14/2020. (Ecker, C.)

                            1563 (544 pgs; 9 docs) Witness and Exhibit List filed by Interested Party James Dondero
                          (RE: related document(s)1439 Motion for leave (James Dondero's Motion for Entry of an
                          Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside the
                          Ordinary Course of Business)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
   12/14/2020             Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8) (Assink, Bryan)

                            1564 (10 pgs) Motion to quash (Debtor's Emergency Motion to Quash Subpoena and for
                          Entry of a Protective Order or, in the Alternative, for an Adjournment) (related documents
                          1559 Subpoena filed by Interested Party James Dondero, 1560 Subpoena filed by Interested
                          Party James Dondero, 1561 Subpoena filed by Interested Party James Dondero) Filed by
   12/14/2020             Debtor Highland Capital Management, L.P. (Annable, Zachery)


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   12/14/2020                1565 (10 pgs) Motion for protective order (Debtor's Emergency Motion to Quash
                          Subpoena and for Entry of a Protective Order or, in the Alternative, for an Adjournment)
                          Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                            1566 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint
                          Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund. (Varshosaz,
   12/14/2020             Artoush)

                            1567 (6 pgs) Motion for expedited hearing(related documents 1564 Motion to quash,
                          1565 Motion for protective order) Filed by Debtor Highland Capital Management, L.P.
   12/14/2020             (Annable, Zachery)

                             1568 (8 pgs) Order approving stipulation and pre-trial schedule concerning Proof of
                          Claim No. 146 filed by HCRE Partners, LLC (RE: related document(s)1536 Stipulation filed
   12/14/2020             by Debtor Highland Capital Management, L.P.). Entered on 12/14/2020 (Okafor, M.)

                            1569 (16 pgs) Objection to (related document(s): 1491 Motion for relief from stay Fee
                          amount $181, filed by Creditor Patrick Daugherty) filed by Debtor Highland Capital
   12/14/2020             Management, L.P.. (Annable, Zachery)

                             1570 (1472 pgs; 6 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Objection to Patrick Daugherty's Motion to Lift the Automatic Stay) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1569 Objection). (Attachments:
   12/14/2020             # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E) (Annable, Zachery)

                             1571 (6 pgs) Objection to (related document(s): 1564 Motion to quash (Debtor's
                          Emergency Motion to Quash Subpoena and for Entry of a Protective Order or, in the
                          Alternative, for an Adjournment) (related documents 1559 Subpoena filed by Interested Party
                          James Dondero, 1560 Subpoena file filed by Debtor Highland Capital Management, L.P.,
                          1565 Motion for protective order (Debtor's Emergency Motion to Quash Subpoena and for
                          Entry of a Protective Order or, in the Alternative, for an Adjournment) filed by Debtor
                          Highland Capital Management, L.P.) filed by Interested Party James Dondero. (Assink,
   12/14/2020             Bryan)

                             1572 (333 pgs; 7 docs) Witness and Exhibit List filed by Creditor Patrick Daugherty (RE:
                          related document(s)1491 Motion for relief from stay Fee amount $181,). (Attachments: # 1
                          Exhibit PHD-1 # 2 Exhibit PHD-2 # 3 Exhibit PHD-3 # 4 Exhibit PHD-4 # 5 Exhibit PHD-5
   12/14/2020             # 6 Exhibit PHD-6) (Kathman, Jason)

                            1573 (12 pgs; 4 docs) Witness and Exhibit List filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., Highland Income Fund, NexPoint Advisors, L.P.,
                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (RE: related document(s)1528
                          Motion by Highland Capital Management Fund Advisors, L.P., Highland Fixed Income
                          Fund, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities
   12/14/2020             Fund.). (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit) (Varshosaz, Artoush)

   12/14/2020                1574 (8 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1439 Motion for leave (James Dondero's Motion for Entry of
                          an Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside
                          the Ordinary Course of Business), 1528 Motion by Highland Capital Management Fund

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                          Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors, L.P., NexPoint Capital,
                          Inc., NexPoint Strategic Opportunities Fund.). (Annable, Zachery)

                             1575 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1564 Motion to quash (Debtor's Emergency Motion to Quash Subpoena
                          and for Entry of a Protective Order or, in the Alternative, for an Adjournment) (related
                          documents 1559 Subpoena filed by Interested Party James Dondero, 1560 Subpoena filed by
                          Interested Party James Dondero, 1561 Subpoena filed by Interested Party James Dondero)
                          Filed by Debtor Highland Capital Management, L.P., 1565 Motion for protective order
                          (Debtor's Emergency Motion to Quash Subpoena and for Entry of a Protective Order or, in
                          the Alternative, for an Adjournment) Filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1564 and for
   12/15/2020             1565, (Annable, Zachery)

                             1576 (2 pgs) Order granting motion for expedited hearing (Related Doc# 1567)(document
                          set for hearing: 1564 Motion to quash, 1565 Motion for protective order) Hearing to be held
                          on 12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1564 and for 1565, Entered on
   12/15/2020             12/15/2020. (Okafor, M.)

                            1577 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to October 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   12/15/2020             Zachery)

                             1578 (5084 pgs; 16 docs) Objection to (related document(s): 1528 Motion by Highland
                          Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors,
                          L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund. filed by Interested Party
                          Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint Advisors,
                          L.P., Interested Party Highland Fixed Income Fund, Interested Party NexPoint Capital, Inc.,
                          Interested Party NexPoint Strategic Opportunities Fund) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3 Exhibit A-3 # 4
                          Exhibit B-1 # 5 Exhibit B-2 # 6 Exhibit B-3 # 7 Exhibit C (Part 1) # 8 Exhibit C (Part 2) # 9
                          Exhibit C (Part 3) # 10 Exhibit D (Part 1) # 11 Exhibit D (Part 2) # 12 Exhibit D (Part 3) # 13
   12/15/2020             Exhibit E # 14 Exhibit F # 15 Exhibit G) (Annable, Zachery)

                             1579 (8 pgs) Amended Witness and Exhibit List (Debtor's Amended Witness and Exhibit
                          List with Respect to Evidentiary Hearing to Be Held on December 16, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1574 List
   12/15/2020             (witness/exhibit/generic)). (Annable, Zachery)

   12/15/2020                1580 (2 pgs) Objection to (related document(s): 1528 Motion by Highland Capital
                          Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors, L.P.,
                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund. filed by Interested Party
                          Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint Advisors,
                          L.P., Interested Party Highland Fixed Income Fund, Interested Party NexPoint Capital, Inc.,
                          Interested Party NexPoint Strategic Opportunities Fund) filed by Creditor Committee Official
                          Committee of Unsecured Creditors. (Hoffman, Juliana)
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                             1581 (2 pgs) INCORRECT ENTRY: See # 1580 for correction. Joinder to debtor's
                          response to motion for order imposing temporary restrictions on debtor's ability to initial
                          sales by non-debtor CLO vehicles filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1578 Objection). (Ecker, C.) Modified on
   12/15/2020             12/16/2020 (Ecker, C.). (Entered: 12/16/2020)

                             1582 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: CVE Technologies Group Inc. (Amount $1,500.00) To Fair Harbor Capital,
   12/16/2020             LLC. Filed by Creditor Fair Harbor Capital, LLC. (Knox, Victor)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28347173, amount $ 26.00 (re: Doc# 1582). (U.S.
   12/16/2020             Treasury)

                             1583 (14 pgs) Motion to extend time to Remove Actions Pursuant to 28 U.S.C. 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)816 Order
                          on motion to extend/shorten time) Filed by Debtor Highland Capital Management, L.P.
   12/16/2020             Objections due by 1/6/2021. (Annable, Zachery)

                             1584 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1449 Amended application for compensation Thirteenth
                          Monthly Application for Compensation and for Reimbursement of Expenses for the Period
                          from October 1, 2020 through October 31, 2020 (amended solely to include Exhibit A) for
   12/16/2020             Jeffrey Nathan Pomer). (Pomerantz, Jeffrey)

                            1585 (1 pg) Court admitted exhibits date of hearing December 16, 2020 (RE: related
                          document(s)1528 Motion for order imposing temporary restrictions on Debtor's ability, as
                          portfolio manager , to initiate sales by non-debtor CLO Vehicles. Highland Capital
                          Management Fund Advisors, L.P. , Highland Fixed Income Fund , NexPoint Advisors, L.P. ,
                          NexPoint Capital, Inc. , NexPoint Strategic Opportunities Fund. (COURT ADMITTED
   12/16/2020             EXHIBIT'S #A & #B BY JAMES WRIGHT) (Edmond, Michael)

                             1586 (1 pg) Request for transcript regarding a hearing held on 12/16/2020. The requested
   12/16/2020             turn-around time is hourly. (Edmond, Michael)

                            1587 (12 pgs) Certificate of service re: Debtor's Motion for Entry of an Order Further
                          Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1583 Motion to extend time to Remove Actions
                          Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure
   12/16/2020             (RE: related document(s)816 Order on motion to extend/shorten time)). (Annable, Zachery)

   12/16/2020                1588 (28 pgs) Certificate of service re: Documents Served on December 10, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1534 Order
                          granting 1530 Motion to extend time. (Re: related document(s) 1530 Motion to extend time
                          to Time to File An Adversary Proceeding Against CLO Holdco, Ltd. (Agreed) (RE: related
                          document(s)1168 Order (generic))) Entered on 12/10/2020. (Ecker, C.), 1535 Amended
                          Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1207 Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the
                          Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of
                          Voting to Accept or Reject the Plan Filed by Creditor HarbourVest et al Objections due by
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                          11/9/2020. (Attachments: # 1 Proposed Order)). Hearing to be held on 1/4/2021 at 01:30 PM
                          Dallas Judge Jernigan Ctrm for 1207, filed by Debtor Highland Capital Management, L.P.,
                          1536 Stipulation by Highland Capital Management, L.P. and NexPoint Real Estate Partners,
                          LLC f/k/a HCRE Partners, LLC. filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)906 Objection to claim). filed by Debtor Highland Capital Management,
                          L.P., 1537 Order regarding objection to claim number(s) (RE: related document(s)1179
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). Entered on
                          12/10/2020 (Ecker, C.), 1538 Order approving stipulation resolving proof of claim #164 (RE:
                          related document(s)1532 Notice (generic) filed by Debtor Highland Capital Management,
                          L.P.). Entered on 12/10/2020 (Ecker, C.)). (Kass, Albert)

   12/16/2020                1589 (25 pgs) Certificate of service re: Documents Served on or Before December 12,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1542
                          Support/supplemental document/Supplement to the Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP (RE:
                          related document(s)1483 Application for compensation Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through October 31, 2020 for
                          Foley Ga). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                          Proposed Order /Exhibit E) (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP, 1544 Application for compensation (First Interim Application) for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 7/1/2020 to 10/31/2020, Fee: $206933.85,
                          Expenses: $546.52. Filed by Spec. Counsel Hunton Andrews Kurth LLP filed by Interested
                          Party Hunton Andrews Kurth LLP, Spec. Counsel Hunton Andrews Kurth LLP, 1545
                          Application for compensation (Hayward & Associates PLLC's Third Interim Application for
                          Compensation and Reimbursement of Expenses for the Period from July 1, 2020 through
                          September 30, 2020) for Hayward & Associates PLLC, Debtor's Attorney, Period: 7/1/2020
                          to 9/30/2020, Fee: $82,325.00, Expenses: $1,972.63. Filed by Other Professional Hayward &
                          Associates PLLC (Attachments: # 1 Exhibit A--H&A Invoices for July, August, and
                          September 2020) filed by Other Professional Hayward & Associates PLLC, 1546 Objection
                          to (related document(s): 1439 Motion for leave (James Dondero's Motion for Entry of an
                          Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside the
                          Ordinary Course of Business) filed by Interested Party James Dondero) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.,
                          1547 Application for compensation Third Interim Application for Compensation and for
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor
                          and Debtor in Possession for the Period from August 1, 2020 through November 30, 2020 for
                          Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 8/1/2020 to 11/30/2020, Fee:
                          $3,380,111.50, Expenses: $31,940.33. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 1/4/2021. filed by Debtor Highland Capital Management, L.P., 1551
                          Objection to (related document(s): 1439 Motion for leave (James Dondero's Motion for
                          Entry of an Order Requiring Notice and Hearing for Future Estate Transactions Occurring
                          Outside the Ordinary Course of Business) filed by Interested Party James Dondero) filed by
                          Creditor Committee Official Committee of Unsecured Creditors. filed by Creditor Committee
                          Official Committee of Unsecured Creditors, 1552 Application for compensation
                          (Consolidated Monthly and Second Interim Application of Wilmer Cutler Pickering Hale and
                          Dorr LLP for Allowance of Compensation for Services Rendered and Reimbursement of
                          Expenses as Regulatory and Compliance Counsel for the Period from July 1, 2020 through
                          November 30, 2020) for Wilmer Cutler Pickering Hale and Dorr LLP, Debtor's Attorney,
                          Period: 7/1/2020 to 11/30/2020, Fee: $709,256.22, Expenses: $0.00. Filed by Other
                          Professional Wilmer Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit A # 2
                          Exhibit B) filed by Other Professional Wilmer Cutler Pickering Hale and Dorr LLP, 1553
                          Omnibus Notice of hearing (Omnibus Notice of Hearing on Interim Applications for
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                          Compensation and Reimbursement of Expenses of Estate Professionals) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1410 Certificate Amended
                          Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc. (RE: related
                          document(s)1244 Application for compensation Third Interim Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          6/1/2020 to 8/31/2020, Fee: $886,615.45, Expenses: $1,833.10., 1407 Certificate (generic)).,
                          1416 Certificate of No Objection filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1296 Application for compensation Sidley
                          Austin LLP's Third Interim Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2020 to
                          8/31/2020, Fee: $1,86)., 1483 Application for compensation Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through October 31, 2020 for
                          Foley Gardere, Foley & Lardner LLP, Special Counsel, Period: 10/16/2019 to 10/31/2020,
                          Fee: $599,126.60, Expenses: $11,433.73. Filed by Attorney Holland N. O'Neil Objections
                          due by 12/16/2020. (Attachments: # 1 Exhibit A # 2 Exhibit B/Proposed Order # 3 Exhibit C
                          # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (O'Neil, Holland),
                          1542 Support/supplemental document/Supplement to the Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP (RE:
                          related document(s)1483 Application for compensation Third and Final Application for
                          Compensation and Reimbursement of Expenses of Foley & Lardner LLP as Special Texas
                          Counsel to the Debtor for the Period from October 16, 2019 through October 31, 2020 for
                          Foley Ga). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                          Proposed Order /Exhibit E) (O'Neil, Holland), 1544 Application for compensation (First
                          Interim Application) for Hunton Andrews Kurth LLP, Special Counsel, Period: 7/1/2020 to
                          10/31/2020, Fee: $206933.85, Expenses: $546.52. Filed by Spec. Counsel Hunton Andrews
                          Kurth LLP, 1545 Application for compensation (Hayward & Associates PLLC's Third
                          Interim Application for Compensation and Reimbursement of Expenses for the Period from
                          July 1, 2020 through September 30, 2020) for Hayward & Associates PLLC, Debtor's
                          Attorney, Period: 7/1/2020 to 9/30/2020, Fee: $82,325.00, Expenses: $1,972.63. Filed by
                          Other Professional Hayward & Associates PLLC (Attachments: # 1 Exhibit A--H&A
                          Invoices for July, August, and September 2020), 1547 Application for compensation Third
                          Interim Application for Compensation and for Reimbursement of Expenses of Pachulski
                          Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession for the Period
                          from August 1, 2020 through November 30, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 8/1/2020 to 11/30/2020, Fee: $3,380,111.50, Expenses: $31,940.33. Filed
                          by Attorney Jeffrey Nathan Pomerantz Objections due by 1/4/2021., 1552 Application for
                          compensation (Consolidated Monthly and Second Interim Application of Wilmer Cutler
                          Pickering Hale and Dorr LLP for Allowance of Compensation for Services Rendered and
                          Reimbursement of Expenses as Regulatory and Compliance Counsel for the Period from July
                          1, 2020 through November 30, 2020) for Wilmer Cutler Pickering Hale and Dorr LLP,
                          Debtor's Attorney, Period: 7/1/2020 to 11/30/2020, Fee: $709,256.22, Expenses: $0.00. Filed
                          by Other Professional Wilmer Cutler Pickering Hale and Dorr LLP (Attachments: # 1 Exhibit
                          A # 2 Exhibit B)). Hearing to be held on 1/6/2021 at 02:30 PM Dallas Judge Jernigan Ctrm
                          for 1483 and for 1544 and for 1545 and for 1547 and for 1552 and for 1410 and for 1416 and
                          for 1542, filed by Debtor Highland Capital Management, L.P., 1554 Notice to take deposition
                          of Dustin Norris filed by Debtor Highland Capital Management, L.P.. filed by Debtor
                          Highland Capital Management, L.P., 1555 Notice to take deposition of James Dondero filed
                          by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P., 1558 Notice to take deposition of James Dondero filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

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   12/16/2020                1596 Hearing held on 12/16/2020. (RE: related document(s)1528 Motion for order
                          imposing temporary restrictions on Debtor's ability, as portfolio manager , to initiate sales by
                          non-debtor CLO Vehicles. Highland Capital Management Fund Advisors, L.P. , Highland
                          Fixed Income Fund , NexPoint Advisors, L.P. , NexPoint Capital, Inc. , NexPoint Strategic
                          Opportunities Fund) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J.
                          Wright for Movants; M. Clemente for UCC; R. Matsumura for HCLOF; J. Bain for CLO
                          Issuers. Evidentiary hearing. Motion denied. Counsel to upload order.) (Edmond, Michael)
                          (Entered: 12/18/2020)

                             1597 Hearing held on 12/16/2020. (RE: related document(s)1564 Motion to quash
                          (Debtor's Emergency Motion to Quash Subpoena and for Entry of a Protective Order or, in
                          the Alternative, for an Adjournment) (related documents 1559 Subpoena filed by Interested
                          Party James Dondero, 1560 Subpoena filed by Interested Party James Dondero, 1561
                          Subpoena filed by Interested Party James Dondero) Filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn
                          and B. Assink for J. Dondero; M. Clemente for UCC. Nonevidentiary announcement of an
                          agreement and, with agreement, Motion is moot and/or resolved. Counsel to upload agreed
   12/16/2020             order.) (Edmond, Michael) (Entered: 12/18/2020)

                             1598 Hearing held on 12/16/2020. (RE: related document(s)1565 Motion for protective
                          order (Debtor's Emergency Motion to Quash Subpoena and for Entry of a Protective Order
                          or, in the Alternative, for an Adjournment) filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn and B. Assink
                          for J. Dondero; M. Clemente for UCC. Nonevidentiary announcement of an agreement and,
                          with agreement, Motion is moot and/or resolved. Counsel to upload agreed order.) (Edmond,
   12/16/2020             Michael) (Entered: 12/18/2020)

                             1599 Hearing held on 12/16/2020. (RE: related document(s)1439 Motion for leave (James
                          Dondero's Motion for Entry of an Order Requiring Notice and Hearing for Future Estate
                          Transactions Occurring Outside the Ordinary Course of Business) filed by Interested Party
                          James Dondero.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn
                          and B. Assink for J. Dondero; M. Clemente for UCC. Nonevidentiary announcement of an
                          agreement and, with agreement, Movant will withdraw this order. Counsel to upload agreed
   12/16/2020             order.) (Edmond, Michael) (Entered: 12/18/2020)

                            1590 (55 pgs; 4 docs) Motion to pay (Debtor's Motion Pursuant to the Protocols for
                          Authority for Highland Multi Strategy Credit Fund, L.P. to Prepay Loan) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
   12/17/2020             C) (Annable, Zachery)

                             1591 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Bates White LLC (Amount $90,855.70) To Argo Partners. Filed by
   12/17/2020             Creditor Argo Partners. (Gold, Matthew)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28350580, amount $ 26.00 (re: Doc# 1591). (U.S.
   12/17/2020             Treasury)

   12/17/2020               1592 (24 pgs) Certificate of service re: Documents Served on or Before December 16,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1564
                          Motion to quash (Debtor's Emergency Motion to Quash Subpoena and for Entry of a
                          Protective Order or, in the Alternative, for an Adjournment) (related documents 1559

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                          Subpoena filed by Interested Party James Dondero, 1560 Subpoena filed by Interested Party
                          James Dondero, 1561 Subpoena filed by Interested Party James Dondero) Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.,
                          1565 Motion for protective order (Debtor's Emergency Motion to Quash Subpoena and for
                          Entry of a Protective Order or, in the Alternative, for an Adjournment) Filed by Debtor
                          Highland Capital Management, L.P. filed by Debtor Highland Capital Management, L.P.,
                          1567 Motion for expedited hearing(related documents 1564 Motion to quash, 1565 Motion
                          for protective order) Filed by Debtor Highland Capital Management, L.P. filed by Debtor
                          Highland Capital Management, L.P., 1568 Order approving stipulation and pre-trial schedule
                          concerning Proof of Claim No. 146 filed by HCRE Partners, LLC (RE: related
                          document(s)1536 Stipulation filed by Debtor Highland Capital Management, L.P.). Entered
                          on 12/14/2020 (Okafor, M.), 1569 Objection to (related document(s): 1491 Motion for relief
                          from stay Fee amount $181, filed by Creditor Patrick Daugherty) filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P., 1570
                          Declaration re: (Declaration of John A. Morris in Support of the Debtor's Objection to
                          Patrick Daugherty's Motion to Lift the Automatic Stay) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1569 Objection). (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E) filed by Debtor Highland Capital
                          Management, L.P., 1574 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1439 Motion for leave (James Dondero's Motion
                          for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions
                          Occurring Outside the Ordinary Course of Business), 1528 Motion by Highland Capital
                          Management Fund Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors, L.P.,
                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund.). filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

   12/17/2020                1593 (20 pgs) Certificate of service re: Documents Served on December 15, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1575 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1564
                          Motion to quash (Debtor's Emergency Motion to Quash Subpoena and for Entry of a
                          Protective Order or, in the Alternative, for an Adjournment) (related documents 1559
                          Subpoena filed by Interested Party James Dondero, 1560 Subpoena filed by Interested Party
                          James Dondero, 1561 Subpoena filed by Interested Party James Dondero) Filed by Debtor
                          Highland Capital Management, L.P., 1565 Motion for protective order (Debtor's Emergency
                          Motion to Quash Subpoena and for Entry of a Protective Order or, in the Alternative, for an
                          Adjournment) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
                          12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1564 and for 1565, filed by Debtor
                          Highland Capital Management, L.P., 1576 Order granting motion for expedited hearing
                          (Related Doc1567)(document set for hearing: 1564 Motion to quash, 1565 Motion for
                          protective order) Hearing to be held on 12/16/2020 at 01:30 PM Dallas Judge Jernigan Ctrm
                          for 1564 and for 1565, Entered on 12/15/2020. (Okafor, M.), 1577 Notice (Notice of
                          Statement of Amounts Paid to Ordinary Course Professionals for the Period from October
                          16, 2019 to October 31, 2020) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330
                          OF THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P., 1578
                          Objection to (related document(s): 1528 Motion by Highland Capital Management Fund
                          Advisors, L.P., Highland Fixed Income Fund, NexPoint Advisors, L.P., NexPoint Capital,
                          Inc., NexPoint Strategic Opportunities Fund. filed by Interested Party Highland Capital
                          Management Fund Advisors, L.P., Interested Party NexPoint Advisors, L.P., Interested Party
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                          Highland Fixed Income Fund, Interested Party NexPoint Capital, Inc., Interested Party
                          NexPoint Strategic Opportunities Fund) filed by Debtor Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A-1 # 2 Exhibit A-2 # 3 Exhibit A-3 # 4 Exhibit B-1 # 5 Exhibit
                          B-2 # 6 Exhibit B-3 # 7 Exhibit C (Part 1) # 8 Exhibit C (Part 2) # 9 Exhibit C (Part 3) # 10
                          Exhibit D (Part 1) # 11 Exhibit D (Part 2) # 12 Exhibit D (Part 3) # 13 Exhibit E # 14 Exhibit
                          F # 15 Exhibit G) filed by Debtor Highland Capital Management, L.P., 1579 Amended
                          Witness and Exhibit List (Debtor's Amended Witness and Exhibit List with Respect to
                          Evidentiary Hearing to Be Held on December 16, 2020) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1574 List (witness/exhibit/generic)). filed by
                          Debtor Highland Capital Management, L.P., 1580 Objection to (related document(s): 1528
                          Motion by Highland Capital Management Fund Advisors, L.P., Highland Fixed Income
                          Fund, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic Opportunities
                          Fund. filed by Interested Party Highland Capital Management Fund Advisors, L.P., Interested
                          Party NexPoint Advisors, L.P., Interested Party Highland Fixed Income Fund, Interested
                          Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities Fund) filed
                          by Creditor Committee Official Committee of Unsecured Creditors. filed by Creditor
                          Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             1594 (11 pgs) Adversary case 20-03195. Complaint by Official Committee of Unsecured
                          Creditors against CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund,
                          LP, Highland Dallas Foundation, Inc., The Dugaboy Investment Trust, Grant James Scott III,
                          James D. Dondero. Fee Amount $350. Nature(s) of suit: 13 (Recovery of money/property -
                          548 fraudulent transfer). 91 (Declaratory judgment). 72 (Injunctive relief - other). 02 (Other
                          (e.g. other actions that would have been brought in state court if unrelated to bankruptcy)).
   12/17/2020             (Montgomery, Paige)

                             1600 Hearing held on 12/17/2020. (RE: related document(s)1491 Motion for relief from
                          stay filed by Creditor Patrick Daugherty.) (Appearances: J. Kathman. J. Pomerantz and J.
   12/17/2020             Morris for debtor. Motion denied.) (Edmond, Michael) (Entered: 12/18/2020)

                            1595 (5 pgs) Notice of Appearance and Request for Notice with Certificate of Service by
                          Douglas S. Draper filed by Get Good Trust, The Dugaboy Investment Trust. (Draper,
   12/18/2020             Douglas)

                             1601 (1 pg) Request for transcript regarding a hearing held on 12/17/2020. The requested
   12/18/2020             turn-around time is daily. (Edmond, Michael)

                             1602 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1590 Motion to pay (Debtor's Motion Pursuant to the Protocols for
                          Authority for Highland Multi Strategy Credit Fund, L.P. to Prepay Loan) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
                          C)). Hearing to be held on 1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1590,
   12/18/2020             (Annable, Zachery)

                             1603 (2 pgs) Order resolving motions and adjourning evidentiary hearing (RE: related
                          document(s)1439 Motion for leave filed by Interested Party James Dondero). Hearing to be
                          held on 1/4/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1439, Entered on 12/18/2020
   12/18/2020             (Ecker, C.)

   12/18/2020               1604 (2 pgs) Certificate of No Objection filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP (RE: related document(s)1483 Application for compensation Third and Final
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as

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                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through October
                          31, 2020 for Foley Ga). (O'Neil, Holland)

                             1605 (2 pgs) Order denying motion for order imposing temporary restrictions on Debtor's
                          ability, as portfolio manager , to initiate sales by non-debtor CLO Vehicles (related document
   12/18/2020             # 1528) Entered on 12/18/2020. (Okafor, M.)

                             1606 (27 pgs; 4 docs) Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
   12/18/2020             Redline of Form of Senior Employee Stipulation) (Annable, Zachery)

                             1607 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1439 Motion for leave (James Dondero's Motion for Entry of an Order
                          Requiring Notice and Hearing for Future Estate Transactions Occurring Outside the
                          Ordinary Course of Business) Filed by Interested Party James Dondero (Attachments: # 1
                          Proposed Order)). Hearing to be held on 1/4/2021 at 01:30 PM Dallas Judge Jernigan Ctrm
   12/18/2020             for 1439, (Annable, Zachery)

   12/18/2020                1608 (3 pgs) Certificate of service re: (Supplemental) Documents Served on October 28,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300
                          Notice of hearing (Notice of Continued Hearing on Disclosure Statement for the Second
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1289 Amended disclosure
                          statement filed by Debtor Highland Capital Management, L.P. (RE: related document(s)945
                          Disclosure statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at
                          01:30 PM Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital
                          Management, L.P., 1322 Certificate of service re: Documents Served on October 28, 2020
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1300 Notice
                          of hearing (Notice of Continued Hearing on Disclosure Statement for the Second Amended
                          Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1289 Amended disclosure statement filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)945 Disclosure
                          statement, 1080 Disclosure statement).). Hearing to be held on 11/23/2020 at 01:30 PM
                          Dallas Judge Jernigan Ctrm for 1289, filed by Debtor Highland Capital Management, L.P.,
                          1301 Order approving stipulation resolving Proof of Claim No. 86 of NWCC, LLC (RE:
                          related document(s)1264 Stipulation filed by Debtor Highland Capital Management, L.P.).
                          Entered on 10/28/2020 (Okafor, M.), 1302 Order granting motion to compromise controversy
                          with (A) Acis Capital Management, L.P. and Acis Capital Management GP LLC (Claim No.
                          23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (C) Acis Capital
                          Management, L.P. (Claim No. 159). Filed by Debtor Highland Capital Management, L.P.
                          (related document 1087) Entered on 10/28/2020. (Okafor, M.), 1309 Amended Notice of
                          hearing (Second Amended Notice of Hearing) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1108 Motion for leave (Debtor's Motion for Entry of an Order
                          (A) Approving the Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to
                          Confirm the First Amended Plan of Reorganization; (C) Establishing Deadline for Filing
                          Objections to Confirmation of Plan; (D) Approving Form of Ballots, Voting Deadline and
                          Solicitation Procedures; and (E) Approving Form and Manner of Notice) (related
                          document(s) 1079 Chapter 11 plan, 1080 Disclosure statement) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit 1--Proposed Order # 2 Exhibit 1-A--
                          Forms of Ballots # 3 Exhibit 1-B--Notice of Confirmation Hearing # 4 Exhibit 1-C--Notice
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                          of Non-Voting Status # 5 Exhibit 1-D--Notice of Assumption)). Hearing to be held on
                          11/23/2020 at 01:30 PM Dallas Judge Jernigan Ctrm for 1108, filed by Debtor Highland
                          Capital Management, L.P.). filed by Claims Agent Kurtzman Carson Consultants LLC).
                          (Kass, Albert)

                             1609 (38 pgs) Transcript regarding Hearing Held 12/17/2020 (38 pages) RE: Motion for
                          Relief from Stay (#1491). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 03/19/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 1600 Hearing held on 12/17/2020. (RE:
                          related document(s)1491 Motion for relief from stay filed by Creditor Patrick Daugherty.)
                          (Appearances: J. Kathman. J. Pomerantz and J. Morris for debtor. Motion denied.)).
   12/19/2020             Transcript to be made available to the public on 03/19/2021. (Rehling, Kathy)

                              1610 (66 pgs) Transcript regarding Hearing Held 12/16/2020 (66 pages) RE: Motions.
                          THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
                          GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE
                          DATE IS 03/19/2021. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy
                          Rehling, kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1596 Hearing held on 12/16/2020. (RE: related document(s)1528 Motion for
                          order imposing temporary restrictions on Debtor's ability, as portfolio manager, to initiate
                          sales by non-debtor CLO Vehicles. Highland Capital Management Fund Advisors, L.P.,
                          Highland Fixed Income Fund, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint
                          Strategic Opportunities Fund) (Appearances: J. Pomeranz, J. Morris, and G. Demo for
                          Debtor; J. Wright for Movants; M. Clemente for UCC; R. Matsumura for HCLOF; J. Bain
                          for CLO Issuers. Evidentiary hearing. Motion denied. Counsel to upload order.), 1597
                          Hearing held on 12/16/2020. (RE: related document(s)1564 Motion to quash (Debtor's
                          Emergency Motion to Quash Subpoena and for Entry of a Protective Order or, in the
                          Alternative, for an Adjournment) (related documents 1559 Subpoena filed by Interested Party
                          James Dondero, 1560 Subpoena filed by Interested Party James Dondero, 1561 Subpoena
                          filed by Interested Party James Dondero) Filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn and B. Assink
                          for J. Dondero; M. Clemente for UCC. Nonevidentiary announcement of an agreement and,
                          with agreement, Motion is moot and/or resolved. Counsel to upload agreed order.), 1598
                          Hearing held on 12/16/2020. (RE: related document(s)1565 Motion for protective order
                          (Debtor's Emergency Motion to Quash Subpoena and for Entry of a Protective Order or, in
                          the Alternative, for an Adjournment) filed by Debtor Highland Capital Management, L.P.)
                          (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn and B. Assink for J.
                          Dondero; M. Clemente for UCC. Nonevidentiary announcement of an agreement and, with
                          agreement, Motion is moot and/or resolved. Counsel to upload agreed order.), 1599 Hearing
                          held on 12/16/2020. (RE: related document(s)1439 Motion for leave (James Dondero's
                          Motion for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions
                          Occurring Outside the Ordinary Course of Business) filed by Interested Party James
                          Dondero.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; M. Lynn and B.
                          Assink for J. Dondero; M. Clemente for UCC. Nonevidentiary announcement of an
                          agreement and, with agreement, Movant will withdraw this order. Counsel to upload agreed
   12/19/2020             order.)). Transcript to be made available to the public on 03/19/2021. (Rehling, Kathy)

   12/19/2020               1611 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1340 Application for compensation Eleventh Monthly Application

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                          for Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial
                          Advisor, Period: 9/1/2020 to 9/30/2020, Fee: $170,859.60, Expenses: $806.60.). (Hoffman,
                          Juliana)

                             1612 (2 pgs) Order denying motion for relief from stay by Creditor Patrick Daugherty
   12/21/2020             (related document # 1491) Entered on 12/21/2020. (Okafor, M.)

                             1613 (20 pgs) Certificate of service re: re: 1) Instructions for any counsel and parties who
                          wish to participate in the Hearing; 2) Joinder of the Official Committee of Unsecured
                          Creditors to Debtor's Response to Motion for Order Imposing Temporary Restrictions on
                          Debtor's Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles; and 3)
                          Debtors Motion Pursuant to the Protocols for Authority for Highland and Multi Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1581 INCORRECT
                          ENTRY: See 1580 for correction. Joinder to debtor's response to motion for order imposing
                          temporary restrictions on debtor's ability to initial sales by non-debtor CLO vehicles filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)1578 Objection). (Ecker, C.) Modified on 12/16/2020 (Ecker, C.). filed by
                          Creditor Committee Official Committee of Unsecured Creditors, 1590 Motion to pay
                          (Debtor's Motion Pursuant to the Protocols for Authority for Highland Multi Strategy Credit
                          Fund, L.P. to Prepay Loan) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C) filed by Debtor Highland Capital
   12/21/2020             Management, L.P.). (Kass, Albert)

                            1614 (5 pgs) Notice (Notice of Stipulation Resolving Proof of Claim No. 99 Filed by
                          Hunton Andrews Kurth LLP) filed by Debtor Highland Capital Management, L.P.. (Annable,
   12/22/2020             Zachery)

                             1615 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1490 Application for compensation Sidley
                          Austin LLP's Twelfth Monthly Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 10/1/2020 to
   12/22/2020             10/31/2020, Fee: $). (Hoffman, Juliana)

                             1616 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1283 Application for compensation
                          Eleventh Monthly Application for Compensation and Reimbursement of Expenses for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 9/30/2020,
   12/22/2020             Fee: $356,889.96, Expenses: ). (Hoffman, Juliana)

                            1617 (8 pgs) Order approving stipulation resolving Proof of Claim No. 99 filed by
                          Hunton Andrews Kurth LLP (RE: related document(s)1614 Notice (generic) filed by Debtor
   12/23/2020             Highland Capital Management, L.P.). Entered on 12/23/2020 (Okafor, M.)

   12/23/2020                1618 (8 pgs; 3 docs) Notice (Notice of Filing of Fifth Amended Exhibit B to Motion for an
                          Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized by the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)75 Motion to Authorize /Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtors in the Ordinary Course of Business Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of

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                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Attachments: # 1 Exhibit 1
                          # 2 Exhibit 2) (Annable, Zachery)

                              1619 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/23/2020             Document). (Annable, Zachery)

                             1620 (3 pgs) Motion to appear pro hac vice for A. Lee Hogewood. Fee Amount $100
                          Filed by Interested Parties Highland Capital Management Fund Advisors, L.P., Highland
                          Income Fund, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Strategic
   12/23/2020             Opportunities Fund (Varshosaz, Artoush)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   12/23/2020             ( 100.00). Receipt number 28366971, amount $ 100.00 (re: Doc# 1620). (U.S. Treasury)

                              1621 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/23/2020             Document). (Annable, Zachery)

                             1622 (2 pgs) Withdrawal (Notice of Withdrawal of James Dondero's Motion for Entry of
                          an Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside
                          the Ordinary Course of Business and Related Notices of Subpoena) filed by Interested Party
                          James Dondero (RE: related document(s)1439 Motion for leave (James Dondero's Motion
                          for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions
   12/23/2020             Occurring Outside the Ordinary Course of Business)). (Assink, Bryan)

                             1623 (64 pgs; 3 docs) Motion to extend time to assume unexpired nonresidential real
                          property lease Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit
   12/23/2020             A # 2 Proposed Order) (Hayward, Melissa)

                            1624 (64 pgs; 3 docs) Motion to assume executory contract or unexpired lease Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Proposed Order)
   12/23/2020             (Hayward, Melissa)

                             1625 (13 pgs) Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
   12/23/2020             Partners L.P.. Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             1626 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global
                          Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
                          HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
                          Partners L.P.. Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
   12/23/2020             1/13/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1625, (Annable, Zachery)

   12/23/2020                1627 (20 pgs) Certificate of service re: Documents Served on December 18, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1602 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1590
                          Motion to pay (Debtor's Motion Pursuant to the Protocols for Authority for Highland Multi
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.353 265/439



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                          Strategy Credit Fund, L.P. to Prepay Loan) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)). Hearing to be held on
                          1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1590, filed by Debtor Highland
                          Capital Management, L.P., 1603 Order resolving motions and adjourning evidentiary hearing
                          (RE: related document(s)1439 Motion for leave filed by Interested Party James Dondero).
                          Hearing to be held on 1/4/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1439, Entered
                          on 12/18/2020 (Ecker, C.), 1605 Order denying motion for order imposing temporary
                          restrictions on Debtor's ability, as portfolio manager, to initiate sales by non-debtor CLO
                          Vehicles (related document 1528) Entered on 12/18/2020. (Okafor, M.), 1606
                          Support/supplemental document (Debtor's Notice of Filing of Plan Supplement to the Fifth
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1472 Chapter 11 plan).
                          (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be Assumed # 2 Exhibit J--
                          Amended Form of Senior Employee Stipulation # 3 Exhibit K--Redline of Form of Senior
                          Employee Stipulation) filed by Debtor Highland Capital Management, L.P., 1607 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1439
                          Motion for leave (James Dondero's Motion for Entry of an Order Requiring Notice and
                          Hearing for Future Estate Transactions Occurring Outside the Ordinary Course of Business)
                          Filed by Interested Party James Dondero (Attachments: # 1 Proposed Order)). Hearing to be
                          held on 1/4/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1439, filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                             1628 (11 pgs) Certificate of service re: Order Denying Patrick Daughertys Motion to Lift
                          the Automatic Stay Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1612 Order denying motion for relief from stay by Creditor Patrick Daugherty
                          (related document 1491) Entered on 12/21/2020. (Okafor, M.) filed by Creditor Patrick
   12/23/2020             Daugherty). (Kass, Albert)

                              1629 (11 pgs) Certificate of service re: Stipulation Resolving Proof of Claim No. 99 Filed
                          by Hunton Andrews Kurth LLP Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1614 Notice (Notice of Stipulation Resolving Proof of Claim No. 99
                          Filed by Hunton Andrews Kurth LLP) filed by Debtor Highland Capital Management, L.P..
   12/23/2020             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1630 (211 pgs) Certificate of service re: Solicitation Materials Served on or Before
                          December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). filed by Debtor Highland Capital
                          Management, L.P., 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1476 Order approving
                          disclosure statement and setting hearing on confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan filed by Debtor Highland Capital Management, L.P. and
                          1473 Amended disclosure statement filed by Debtor Highland Capital Management, L.P. ).
                          Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020
   12/23/2020             (Okafor, M.)). (Kass, Albert)

   12/24/2020               1631 (82 pgs; 8 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos.
                          143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith) filed by Debtor
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                          Highland Capital Management, L.P. (RE: related document(s)1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P..). (Attachments: # 1 Exhibit
                          1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7)
                          (Annable, Zachery)

                             1632 (44 pgs) Application for compensation Sidley Austin LLP's Thirteenth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 11/1/2020 to 11/30/2020, Fee:
                          $401,659.92, Expenses: $3,643.80. Filed by Attorney Juliana Hoffman Objections due by
   12/24/2020             1/14/2021. (Hoffman, Juliana)

                             1633 (27 pgs) Application for compensation Thirteenth Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          11/1/2020 to 11/30/2020, Fee: $201,148.56, Expenses: $408.64. Filed by Attorney Juliana
   12/24/2020             Hoffman Objections due by 1/14/2021. (Hoffman, Juliana)

                             1634 (4 pgs) Support/supplemental document (Exhibit A to the Debtor's Motion for Entry
                          of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153,
                          154) and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1625 Motion to compromise controversy with
                          HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover
                          Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base
   12/24/2020             AIF L.P., and HarbourVest Partners L.P..). (Annable, Zachery)

                            1635 (3 pgs) Declaration re: Supplemental Declaration of Matthew Clemente filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related document(s)206
                          Amended Application to employ Sidley Austin LLP as Attorney APPLICATION OF THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328
                          AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY
   12/26/2020             PROCEDURE 2014, FOR AN ORDER APPROVING T). (Hoffman, Juliana)

                            1636 (3 pgs) Agreed order granting 1623 Motion to extend deadline to assume unexpired
                          nonresidential real property lease and setting motion to assume for hearing at confirmation.
   12/28/2020             Entered on 12/28/2020. (Okafor, M.)

   12/28/2020                1637 (5 pgs) Certificate of service re: (Supplemental) Solicitation Materials Served on or
                          Before December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1630 Certificate of service re: Solicitation Materials Served on or Before
                          December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). filed by Debtor Highland Capital
                          Management, L.P., 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1476 Order approving
                          disclosure statement and setting hearing on confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan filed by Debtor Highland Capital Management, L.P. and
                          1473 Amended disclosure statement filed by Debtor Highland Capital Management, L.P. ).
                          Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.

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                          Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020
                          (Okafor, M.)). filed by Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                             1638 (20 pgs) Certificate of service re: Documents Served on December 23, 2020 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1617 Order
                          approving stipulation resolving Proof of Claim No. 99 filed by Hunton Andrews Kurth LLP
                          (RE: related document(s)1614 Notice (generic) filed by Debtor Highland Capital
                          Management, L.P.). Entered on 12/23/2020 (Okafor, M.), 1618 Notice (Notice of Filing of
                          Fifth Amended Exhibit B to Motion for an Order Authorizing the Debtor to Retain, Employ,
                          and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course of
                          Business) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)75
                          Motion to Authorize /Motion for an Order Authorizing the Debtor to Retain, Employ, and
                          Compensate Certain Professionals Utilized by the Debtors in the Ordinary Course of
                          Business Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed
                          Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of Declaration of Disinterestedness # 5
                          Certificate of Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) filed by Debtor
                          Highland Capital Management, L.P., 1619 Declaration re: (Disclosure Declaration of
                          Ordinary Course Professional) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 Document). filed by Debtor Highland Capital Management, L.P.,
                          1621 Declaration re: (Disclosure Declaration of Ordinary Course Professional) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). filed
                          by Debtor Highland Capital Management, L.P., 1623 Motion to extend time to assume
                          unexpired nonresidential real property lease Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A # 2 Proposed Order) filed by Debtor Highland Capital
   12/28/2020             Management, L.P.). (Kass, Albert)

                            1640 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1513 Application for compensation Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   12/29/2020             Period: 10/1/2020 to 10/31/2020, Fee: $196,216.20, Expenses: $264.23.). (Hoffman, Juliana)

                             1641 (1 pg) Order granting motion to appear pro hac vice adding A. Lee Hogewood, III
                          for Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. (related
   12/30/2020             document # 1620) Entered on 12/30/2020. (Okafor, M.)

                            1642 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)1520 Application for compensation (Ninth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from August 1, 2020 through
   12/30/2020             August 31, 2020) for Hayward & Ass). (Annable, Zachery)

                            1643 (7 pgs; 2 docs) Agreed Motion to substitute attorney David Neier with Frances A.
                          Smith, Michelle Hartmann, and Debra A. Dandeneau Filed by Creditor Scott Ellington,
                          Thomas Surgent, Frank Waterhouse, Isaac Leventon (Attachments: # 1 Proposed Order)
   12/30/2020             (Smith, Frances)

   12/30/2020                1644 (3 pgs) Notice of Appearance and Request for Notice by Frances Anne Smith filed
                          by Creditor Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon. (Smith,
                          Frances)
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                            1645 (5 pgs) Certificate of service re: Senior Employees Agreed Motion to Withdraw and
                          Substitute Counsel of Record and Notice of Appearance filed by Creditor Scott Ellington,
                          Thomas Surgent, Frank Waterhouse, Isaac Leventon (RE: related document(s)1643 Agreed
                          Motion to substitute attorney David Neier with Frances A. Smith, Michelle Hartmann, and
   12/30/2020             Debra A. Dandeneau, 1644 Notice of appearance and request for notice). (Smith, Frances)

                              1646 (16 pgs) Certificate of service re: Documents Served on or Before December 24,
                          2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1625
                          Motion to compromise controversy with HarbourVest 2017 Global Fund L.P., HarbourVest
                          2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII
                          Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P.. Filed by
                          Debtor Highland Capital Management, L.P. filed by Debtor Highland Capital Management,
                          L.P., 1626 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
                          Partners L.P.. Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
                          1/13/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1625, filed by Debtor Highland
                          Capital Management, L.P., 1631 Declaration re: (Declaration of John A. Morris in Support of
                          the Debtor's Motion for Entry of an Order Approving Settlement with HarbourVest (Claim
                          Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1625 Motion to
                          compromise controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global
                          AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary
                          L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P..). (Attachments: # 1
                          Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7)
                          filed by Debtor Highland Capital Management, L.P., 1632 Application for compensation
                          Sidley Austin LLP's Thirteenth Monthly Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          11/1/2020 to 11/30/2020, Fee: $401,659.92, Expenses: $3,643.80. Filed by Attorney Juliana
                          Hoffman Objections due by 1/14/2021. filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 1633 Application for compensation Thirteenth Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 11/1/2020 to 11/30/2020, Fee: $201,148.56, Expenses: $408.64. Filed by Attorney
                          Juliana Hoffman Objections due by 1/14/2021. filed by Financial Advisor FTI Consulting,
                          Inc., 1634 Support/supplemental document (Exhibit A to the Debtor's Motion for Entry of an
                          Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154)
                          and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1625 Motion to compromise controversy with
                          HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover
                          Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base
                          AIF L.P., and HarbourVest Partners L.P..). filed by Debtor Highland Capital Management,
   12/30/2020             L.P.). (Kass, Albert)

   12/30/2020                1647 (11 pgs) Certificate of service re: 1) Supplemental Declaration of Matthew Clemente
                          in Support of Application of the Official Committee of Unsecured Creditors, Pursuant to
                          Sections 328 and 1103 of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure
                          2014, for an Order Approving the Retention and Employment of Sidley Austin LLP as
                          Counsel to the Official Committee of Unsecured Creditors; and 2) Agreed Order Extending
                          Deadline to Assume Unexpired Nonresidential Real Property Lease and Setting Motion to
                          Assume for Hearing at Confirmation Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)1635 Declaration re: Supplemental Declaration of Matthew

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                          Clemente filed by Creditor Committee Official Committee of Unsecured Creditors (RE:
                          related document(s)206 Amended Application to employ Sidley Austin LLP as Attorney
                          APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
                          PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND
                          FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING
                          T). filed by Creditor Committee Official Committee of Unsecured Creditors, 1636 Agreed
                          order granting 1623 Motion to extend deadline to assume unexpired nonresidential real
                          property lease and setting motion to assume for hearing at confirmation. Entered on
                          12/28/2020. (Okafor, M.)). (Kass, Albert)

                             1648 (9 pgs) Notice (Notice of (I) Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and
                          (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). (Annable,
   12/30/2020             Zachery)

                             1649 (9 pgs; 2 docs) Joint Motion to continue hearing on (related documents 1207 Motion
                          to allow claims) Filed by Creditor HarbourVest et al (Attachments: # 1 Proposed Order)
   12/31/2020             (Driver, Vickie)

                            1650 (232 pgs; 6 docs) Witness and Exhibit List filed by Spec. Counsel Foley Gardere,
                          Foley & Lardner LLP (RE: related document(s)1483 Application for compensation Third and
                          Final Application for Compensation and Reimbursement of Expenses of Foley & Lardner
                          LLP as Special Texas Counsel to the Debtor for the Period from October 16, 2019 through
                          October 31, 2020 for Foley Ga). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
   12/31/2020             Exhibit 4 # 5 Exhibit 5) (O'Neil, Holland)

                             1651 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)1531 Application for compensation (Tenth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward &
                          Associates PLLC as Local Counsel to the Debtor for the Period from September 1, 2020
   12/31/2020             through September 30, 2020) for Hayward). (Annable, Zachery)

                             1652 (3 pgs) Order granting motion to continue hearing on (related document # 1649)
                          (related documents Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of the
                          Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims for Purposes of
                          Voting to Accept or Reject the Plan) Hearing to be held on 1/13/2021 at 09:30 AM Dallas
   12/31/2020             Judge Jernigan Ctrm for 1207, Entered on 12/31/2020. (Okafor, M.)

   12/31/2020                1653 (5 pgs) Certificate of service re: (Supplemental) Solicitation Materials Served on or
                          Before December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1476 Order approving disclosure statement and setting hearing on confirmation
                          of plan (RE: related document(s)1472 Chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. and 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. ). Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas
                          Judge Jernigan Ctrm. Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021.
                          Entered on 11/24/2020 (Okafor, M.), 1630 Certificate of service re: Solicitation Materials
                          Served on or Before December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants
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                          LLC (related document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287
                          Chapter 11 plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). filed by Debtor Highland
                          Capital Management, L.P., 1473 Amended disclosure statement filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)945 Disclosure statement, 1080
                          Disclosure statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453
                          Disclosure statement). filed by Debtor Highland Capital Management, L.P., 1476 Order
                          approving disclosure statement and setting hearing on confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan filed by Debtor Highland Capital Management, L.P. and
                          1473 Amended disclosure statement filed by Debtor Highland Capital Management, L.P. ).
                          Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020
                          (Okafor, M.)). filed by Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                             1654 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1521 Application for compensation Fourteenth Monthly
                          Application for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl
                          & Jones LLP as Counsel for the Debtor for the Period from November 1, 2020 through
   01/04/2021             November 30, 2020 for J). (Pomerantz, Jeffrey)

                             1655 (66 pgs) Application for compensation Fourth Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 9/1/2020 to 11/30/2020, Fee: $710,280.45, Expenses: $1,479.47. Filed by Attorney
   01/04/2021             Juliana Hoffman Objections due by 1/25/2021. (Hoffman, Juliana)

                             1656 (145 pgs; 6 docs) Support/supplemental document (Debtor's Notice of Filing of
                          Plan Supplement to the Fifth Amended Plan of Reorganization of Highland Capital
                          Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit L--Amended Schedule of
                          Retained Causes of Action # 2 Exhibit M--Amended Form of Claimant Trust Agreement # 3
                          Exhibit N--Redline of Form of Claimant Trust Agreement # 4 Exhibit O--Amended Form of
                          Litigation Trust Agreement # 5 Exhibit P--Redline of Form of Litigation Trust Agreement)
   01/04/2021             (Annable, Zachery)

                             1657 (3 pgs) Notice of Appearance and Request for Notice by Daniel P. Winikka filed by
   01/05/2021             Interested Parties Brad Borud, Jack Yang. (Winikka, Daniel)

                             1658 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: ACA Compliance Group (Amount $26,324.25) To Argo Partners. Filed by
   01/05/2021             Creditor Argo Partners. (Gold, Matthew)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28389049, amount $ 26.00 (re: Doc# 1658). (U.S.
   01/05/2021             Treasury)

                            1659 (3 pgs) Certificate of No Objection filed by Other Professional Hayward &
                          Associates PLLC (RE: related document(s)1545 Application for compensation (Hayward &
                          Associates PLLC's Third Interim Application for Compensation and Reimbursement of
                          Expenses for the Period from July 1, 2020 through September 30, 2020) for Hayward &
   01/05/2021             Associates PLLC, Debtor's Att). (Annable, Zachery)

   01/05/2021                 1660 (7 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on January 6,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.359 271/439



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                          2021 at 2:30 p.m. (Central Time) filed by Debtor Highland Capital Management, L.P..
                          (Annable, Zachery)

                             1661 (8 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
   01/05/2021             plan) filed by Interested Party James Dondero. (Clarke, James)

                             1662 (7 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
                          plan) filed by City of Richardson, Allen ISD, City of Allen, Dallas County, Kaufman County.
   01/05/2021             (Spindler, Laurie)

                             1663 (3 pgs) Certificate of No Objection filed by Spec. Counsel Hunton Andrews Kurth
                          LLP (RE: related document(s)1544 Application for compensation (First Interim Application)
                          for Hunton Andrews Kurth LLP, Special Counsel, Period: 7/1/2020 to 10/31/2020, Fee:
   01/05/2021             $206933.85, Expenses: $546.52.). (Annable, Zachery)

                             1664 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1547 Application for compensation Third Interim Application
                          for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP
                          as Counsel for the Debtor and Debtor in Possession for the Period from August 1, 2020
   01/05/2021             through November 30,). (Annable, Zachery)

                             1665 (3 pgs) Certificate of No Objection filed by Other Professional Wilmer Cutler
                          Pickering Hale and Dorr LLP (RE: related document(s)1552 Application for compensation
                          (Consolidated Monthly and Second Interim Application of Wilmer Cutler Pickering Hale and
                          Dorr LLP for Allowance of Compensation for Services Rendered and Reimbursement of
   01/05/2021             Expenses as Regulatory and Compliance Counsel for). (Annable, Zachery)

                             1666 (5 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
   01/05/2021             plan) filed by Interested Parties Brad Borud, Jack Yang. (Winikka, Daniel)

                            1667 (34 pgs) Objection to confirmation of planwith Certificate of Service (RE: related
                          document(s)1472 Chapter 11 plan) filed by Get Good Trust, The Dugaboy Investment Trust.
   01/05/2021             (Draper, Douglas)

                             1668 (6 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
   01/05/2021             plan) filed by Creditor United States (IRS). (Adams, David)

                             1669 (26 pgs; 3 docs) WITHDRAWN per # 1845. Objection to confirmation of plan (RE:
                          related document(s)1472 Chapter 11 plan) filed by Creditor Scott Ellington, Thomas Surgent,
                          Frank Waterhouse, Isaac Leventon. (Attachments: # 1 Exhibit A # 2 Exhibit B) (Smith,
   01/05/2021             Frances) MODIFIED on 1/27/2021 (Ecker, C.).

                             1670 (50 pgs; 2 docs) Objection to confirmation of plan (RE: related document(s)1472
                          Chapter 11 plan) filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its
                          series, Highland Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland
                          Income Fund, Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund,
                          Highland Small-Cap Equity Fund, Highland Socially Responsible Equity Fund, Highland
                          Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint
                          Capital, Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund.
   01/05/2021             (Attachments: # 1 Exhibit A) (Rukavina, Davor)

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   01/05/2021               1671 (6 pgs) Trustee's Objection to Fifth Amended Plan (RE: related document(s)1472
                          Chapter 11 plan) (Lambert, Lisa)

                             1672 (6 pgs) Certificate of service re: Senior Employees' Objection to Debtor's Fifth
                          Amended Plan of Reorganization filed by Creditor Scott Ellington, Thomas Surgent, Frank
                          Waterhouse, Isaac Leventon (RE: related document(s)1669 Objection to confirmation of
   01/05/2021             plan). (Smith, Frances)

                             1673 (7 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
                          plan) filed by Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC.
   01/05/2021             (Drawhorn, Lauren)

                            1674 (2 pgs) Joinder by Kauffman, Travers and Deadman to Limited Objection of Jack
                          Yang and Brad Borud to Fifth Amended Plan of Reorganization filed by Paul Kauffman,
                          Todd Travers, Davis Deadman (RE: related document(s)1472 Chapter 11 plan, 1666
   01/05/2021             Objection to confirmation of plan). (Kathman, Jason)

                            1675 (12 pgs) Joinder by [Joinder to Objection to Confirmation of Fifth Amended Plan of
                          Reorganization of Highland Capital Management, L.P. [Dkt. No. 1670] and Supplemental
                          Objection to Plan Confirmation] filed by Creditor CLO Holdco, Ltd. (RE: related
   01/05/2021             document(s)1670 Objection to confirmation of plan). (Kane, John)

                             1676 (7 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
                          plan) filed by Interested Parties NexBank Title Inc., NexBank Securities Inc., NexBank
   01/05/2021             Capital Inc., NexBank. (Drawhorn, Lauren)

                            1677 (3 pgs) Joinder by NexPoint RE Entities to Objection to Confirmation of Fifth
                          Amended Plan of Reorganization filed by Interested Parties NexPoint Hospitality Trust,
                          NexPoint Multifamily Capital Trust, Inc., NexPoint Real Estate Advisors II, L.P., NexPoint
                          Real Estate Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate
                          Advisors V, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors
                          VII, L.P., NexPoint Real Estate Advisors VIII, L.P., NexPoint Real Estate Advisors, L.P.,
                          NexPoint Real Estate Finance Inc., NexPoint Real Estate Partners, LLC, NexPoint
                          Residential Trust, Inc., Nexpoint Real Estate Capital, LLC, VineBrook Homes, Trust, Inc.
   01/05/2021             (RE: related document(s)1670 Objection to confirmation of plan). (Drawhorn, Lauren)

                             1678 (4 pgs) Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
   01/05/2021             plan) filed by Creditor Patrick Daugherty. (Kathman, Jason)

                            1679 (2 pgs) Joinder by Kauffman, Travers and Deadman to Limited Objection of Jack
                          Yang and Brad Borud to Fifth Amended Plan of Reorganization (Amended) filed by Davis
                          Deadman, Paul Kauffman, Todd Travers (RE: related document(s)1472 Chapter 11 plan,
   01/05/2021             1666 Objection to confirmation of plan). (Kathman, Jason)

                             1680 (3 pgs) Motion to appear pro hac vice for Debra Dandenau. Fee Amount $100 Filed
                          by Creditor Frank Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter
   01/05/2021             Covitz and Thomas Surgent (Soderlund, Eric)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/05/2021             ( 100.00). Receipt number 28390902, amount $ 100.00 (re: Doc# 1680). (U.S. Treasury)

   01/06/2021                 1681 (4 pgs) Motion to appear pro hac vice for Douglas S. Draper. Fee Amount $100
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.361 273/439



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                          Filed by Get Good Trust, The Dugaboy Investment Trust (Draper, Douglas)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2021             ( 100.00). Receipt number 28393061, amount $ 100.00 (re: Doc# 1681). (U.S. Treasury)

                             1682 (4 pgs) Motion to appear pro hac vice for Leslie A. Collins. Fee Amount $100 Filed
   01/06/2021             by Get Good Trust, The Dugaboy Investment Trust (Draper, Douglas)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2021             ( 100.00). Receipt number 28393082, amount $ 100.00 (re: Doc# 1682). (U.S. Treasury)

                             1683 (4 pgs) Motion to appear pro hac vice for Greta M. Brouphy. Fee Amount $100
   01/06/2021             Filed by Get Good Trust, The Dugaboy Investment Trust (Brouphy, Greta)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2021             ( 100.00). Receipt number 28393123, amount $ 100.00 (re: Doc# 1683). (U.S. Treasury)

                            1684 (2 pgs) Order granting third interim fee application for compensation (related
                          document # 1296) granting for Official Committee of Unsecured Creditors, fees awarded:
   01/06/2021             $1865520.45, expenses awarded: $18678.47 Entered on 1/6/2021. (Okafor, M.)

                             1685 (2 pgs) Order granting third interim application for compensation (related document
                          # 1244) granting for FTI Consulting, Inc., fees awarded: $886615.45, expenses awarded:
   01/06/2021             $1833.10 Entered on 1/6/2021. (Okafor, M.)

                             1686 (3 pgs) Order granting first interim application for compensation (related document
                          # 1544) granting for Hunton Andrews Kurth LLP, fees awarded: $206933.85, expenses
   01/06/2021             awarded: $546.52 Entered on 1/6/2021. (Okafor, M.)

                             1687 (2 pgs) Order granting third interim application for compensation (related document
                          # 1547) granting for Jeffrey Nathan Pomerantz, fees awarded: $3380111.5, expenses
   01/06/2021             awarded: $31940.33 Entered on 1/6/2021. (Okafor, M.)

                             1688 (4 pgs) Second Agreed Order regarding deposit of funds into the registry of the
                          court (RE: related document(s) 1365 Agreed Supplemental Order re: 474 Motion for
                          authority to apply and disburse funds filed by Debtor Highland Capital Management, L.P.,
   01/06/2021             1365 Order (generic)). Entered on 1/6/2021 (Okafor, M.)

                            1689 (5 pgs) Motion to appear pro hac vice for Warren Horn. Fee Amount $100 Filed by
   01/06/2021             Get Good Trust, The Dugaboy Investment Trust (Horn, Warren)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   01/06/2021             ( 100.00). Receipt number 28393995, amount $ 100.00 (re: Doc# 1689). (U.S. Treasury)

                            1690 (1 pg) Order granting motion to appear pro hac vice adding Debra A. Dandeneau for
                          FTI Consulting, Inc. and Frank Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul
                          Sevilla, Hunter Covitz and Thomas Surgent (related document # 1680) Entered on 1/6/2021.
   01/06/2021             (Okafor, M.)

   01/06/2021               1691 (2 pgs) Order granting third and final application for compensation (related
                          document 1483) granting for Foley Gardere, Foley & Lardner LLP, fees awarded:
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.362 274/439



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                          $617654.60, expenses awarded: $11433.73 Entered on 1/6/2021. (Okafor, M.) Modified to
                          correct text on 1/29/2021 (Ecker, C.).

                            1692 (21 pgs; 2 docs) Adversary case 21-03000. Complaint by Highland Capital
                          Management, L.P. against Highland Capital Management Fund Advisors, L.P., NexPoint
                          Advisors, L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund, NexPoint
                          Capital, Inc., CLO Holdco, Ltd.. Fee Amount $350 (Attachments: # 1 Adversary Proceeding
                          Cover Sheet). Nature(s) of suit: 91 (Declaratory judgment). 72 (Injunctive relief - other). 02
                          (Other (e.g. other actions that would have been brought in state court if unrelated to
   01/06/2021             bankruptcy)). (Annable, Zachery)

                             1693 (12 pgs; 2 docs) Subpoena on Highland Capital Management, L.P. filed by
                          Interested Party James Dondero. (Attachments: # 1 Ex. 1 - Subpoena with Document
   01/06/2021             Requests) (Assink, Bryan)

                            1694 (12 pgs; 2 docs) Subpoena on Kurtzman Carson Consultants LLC filed by Interested
                          Party James Dondero. (Attachments: # 1 Ex. 1 - Subpoena with Document Requests)
   01/06/2021             (Assink, Bryan)

                             1695 (20 pgs) Certificate of service re: 1) WebEx Meeting Invitation to participate
                          electronically in the hearing on Wednesday, December 16, 2020 at 1:30 p.m. Central Time
                          before the Honorable Stacey G. Jernigan; 2) Instructions for any counsel and parties who
                          wish to participate in the Hearing; and 3) Foley & Lardner LLP's Witness and Exhibit List
                          for Final Fee Application Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1650 Witness and Exhibit List filed by Spec. Counsel Foley Gardere, Foley &
                          Lardner LLP (RE: related document(s)1483 Application for compensation Third and Final
                          Application for Compensation and Reimbursement of Expenses of Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through October
                          31, 2020 for Foley Ga). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4
                          # 5 Exhibit 5) (O'Neil, Holland) filed by Spec. Counsel Foley Gardere, Foley & Lardner
   01/06/2021             LLP). (Kass, Albert)

                             1696 (15 pgs) Certificate of service re: 1) Fourth Interim Fee Application of FTI
                          Consulting, Inc. as Financial Advisor for the Official Committee of Unsecured Creditors, for
                          Compensation and Reimbursement of Expenses for the Period from September 1, 2020
                          Through and Including November 30, 2020; and 2) Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P. Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1655
                          Application for compensation Fourth Interim Application for Compensation and
                          Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period: 9/1/2020 to
                          11/30/2020, Fee: $710,280.45, Expenses: $1,479.47. Filed by Attorney Juliana Hoffman
                          Objections due by 1/25/2021. filed by Financial Advisor FTI Consulting, Inc., 1656
                          Support/supplemental document (Debtor's Notice of Filing of Plan Supplement to the Fifth
                          Amended Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1472 Chapter 11 plan).
                          (Attachments: # 1 Exhibit L--Amended Schedule of Retained Causes of Action # 2 Exhibit
                          M--Amended Form of Claimant Trust Agreement # 3 Exhibit N--Redline of Form of
                          Claimant Trust Agreement # 4 Exhibit O--Amended Form of Litigation Trust Agreement # 5
                          Exhibit P--Redline of Form of Litigation Trust Agreement) filed by Debtor Highland Capital
   01/06/2021             Management, L.P.). (Kass, Albert)

   01/06/2021               1697 (15 pgs) Objection to (related document(s): 1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.363 275/439



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                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P.. filed by Debtor Highland
                          Capital Management, L.P.) filed by Interested Party James Dondero. (Assink, Bryan)

                             1698 (6 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1583 Motion to extend time to Remove Actions Pursuant to 28
                          U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related
   01/07/2021             document(s)816 Order on motion to extend/shorten time)). (Annable, Zachery)

                            1699 (18 pgs) Certificate of service re: Notice of (I) Executory Contracts and Unexpired
                          Leases to Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure
                          Amounts, If Any, and (III) Related Procedures in Connection Therewith filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1648 Notice (generic)).
   01/07/2021             (Annable, Zachery)

                            1700 (3 pgs) Certificate of service re: Notice of (I) Executory Contracts and Unexpired
                          Leases to Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure
                          Amounts, If Any, and (III) Related Procedures in Connection Therewith filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1648 Notice (generic)).
   01/07/2021             (Annable, Zachery)

                             1701 (1 pg) Order granting motion to appear pro hac vice adding Douglas S. Draper for
                          Get Good Trust and The Dugaboy Investment Trust (related document 1681) Entered on
   01/07/2021             1/7/2021. (Okafor, M.) Modified to add party on 1/7/2021 (Okafor, M.).

                             1702 (1 pg) Order granting motion to appear pro hac vice adding Leslie A. Collins for
                          Get Good Trust and The Dugaboy Investment Trust (related document # 1682) Entered on
   01/07/2021             1/7/2021. (Okafor, M.)

                             1703 (1 pg) Order granting motion to appear pro hac vice adding Greta M. Brouphy for
                          Get Good Trust and The Dugaboy Investment Trust (related document # 1683) Entered on
   01/07/2021             1/7/2021. (Okafor, M.)

                             1704 (1 pg) Order granting motion to appear pro hac vice adding Warren Horn for Get
                          Good Trust and The Dugaboy Investment Trust (related document # 1689) Entered on
   01/07/2021             1/7/2021. (Okafor, M.)

                            1705 (3 pgs) Notice to take deposition of Michael Pugatch filed by Interested Party James
   01/07/2021             Dondero. (Assink, Bryan)

                             1706 (10 pgs) Objection to (related document(s): 1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P.. filed by Debtor Highland
                          Capital Management, L.P.)Objection to Debtor's Motion for Entry of an Order Approving
                          Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing
                          Actions Consistent Therewith with Certficate of Service filed by Get Good Trust, The
   01/08/2021             Dugaboy Investment Trust. (Draper, Douglas)

   01/08/2021               1707 (10 pgs) Objection to (related document(s): 1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.364 276/439



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                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P.. filed by Debtor Highland
                          Capital Management, L.P.) filed by Creditor CLO Holdco, Ltd.. (Kane, John)

                             1708 SEALED document regarding: Exhibit A to CLO Holdco, Ltd.'s Objection to
                          Harbourvest Settlement [Docket No. 1707] Members Agreement Relating to the
                          Company dated November 15, 2017 by and between each of the members of HCLOF,
                          including Harbourvest, the Debtor, and CLO Holdco - Confidential [Confidential
                          Subject to Agreed Protective Order See Docket No. 382] per court order filed by
                          Creditor CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for protective
   01/08/2021             order). (Kane, John)

                             1709 (3 pgs) Notice (Notice of Filing of Certificate of Service Regarding Letter Dated
                          January 7, 2021 to Highland Capital Management Services, Inc. from James P. Seery, Jr.
                          Regarding Demand on Promissory Note) filed by Debtor Highland Capital Management,
   01/08/2021             L.P.. (Annable, Zachery)

                             1710 (9 pgs) Debtor-in-possession monthly operating report for filing period November
                          1, 2020 to November 30, 2020 filed by Debtor Highland Capital Management, L.P..
   01/08/2021             (Annable, Zachery)

                            1711 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to November 30, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   01/08/2021             Zachery)

                            1712 (11 pgs) Certificate of service re: Notice of Agenda of Matters Scheduled for
                          Hearing on January 6, 2021 at 2:30 p.m. (Central Time) Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1660 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on January 6, 2021 at 2:30 p.m. (Central Time) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   01/08/2021             (Kass, Albert)

                            1713 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1690
                          Order granting motion to appear pro hac vice adding Debra A. Dandeneau for FTI
                          Consulting, Inc. and Frank Waterhouse, Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla,
                          Hunter Covitz and Thomas Surgent (related document 1680) Entered on 1/6/2021. (Okafor,
   01/08/2021             M.)) No. of Notices: 1. Notice Date 01/08/2021. (Admin.)

                             1714 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1625 Motion to compromise controversy with HarbourVest
                          2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX
                          Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P.,
                          and HarbourVest Partners L.P.. Filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1625,
   01/09/2021             (Annable, Zachery)


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   01/11/2021                1715 (2 pgs) Order granting application for compensation (related document # 1552)
                          granting for Wilmer Cutler Pickering Hale and Dorr LLP, fees awarded: $709256.22,
                          expenses awarded: $0.0 Entered on 1/11/2021. (Ecker, C.)

                             1716 (3 pgs) Witness and Exhibit List filed by Creditor CLO Holdco, Ltd. (RE: related
                          document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
   01/11/2021             Partners L.P..). (Kane, John)

                             1717 SEALED document regarding: Exhibit 4, Members Agreement Relating to the
                          Company dated November 15, 2017 by and between each of the members of HCLOF,
                          including Harbourvest, the Debtor, and CLO Holdco [Confidential Subject to Agreed
                          Protective Order] per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   01/11/2021             document(s)382 Order on motion for protective order). (Kane, John)

                             1718 (3 pgs) Amended Notice of hearing (Amended Notice of (I) Hearing to Confirm
                          Plan and (II) Related Important Dates) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287
                          Chapter 11 plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan).). Confirmation hearing to be
   01/11/2021             held on 1/26/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. (Annable, Zachery)

                             1719 (10 pgs) Notice (Second Notice of (I) Executory Contracts and Unexpired Leases to
                          Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any,
                          and (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). (Annable,
   01/11/2021             Zachery)

                             1720 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1207 Motion to allow claims of HarbourVest Pursuant to Rule
                          3018(A) of the Federal Rules of Bankruptcy Procedure for Temporary Allowance of Claims
                          for Purposes of Voting to Accept or Reject the Plan Filed by Creditor HarbourVest et al
                          Objections due by 11/9/2020. (Attachments: # 1 Proposed Order)). Hearing to be held on
   01/11/2021             1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1207, (Annable, Zachery)

                             1721 (251 pgs; 9 docs) Witness and Exhibit List filed by Interested Party James Dondero
                          (RE: related document(s)1625 Motion to compromise controversy with HarbourVest 2017
                          Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX
                          Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P.,
                          and HarbourVest Partners L.P..). (Attachments: # 1 Dondero Ex. A - POCs # 2 Dondero Ex.
                          B # 3 Dondero Ex. C # 4 Dondero Ex. D # 5 Dondero Ex. E # 6 Dondero Ex. F # 7 Dondero
   01/11/2021             Ex. G # 8 Ex. H - M) (Assink, Bryan)

   01/11/2021                1722 (5 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1625 Motion to compromise controversy with HarbourVest
                          2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX

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                          Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P.,
                          and HarbourVest Partners L.P..). (Annable, Zachery)

                             1723 (7 pgs) Witness and Exhibit List filed by Creditor HarbourVest et al (RE: related
                          document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
   01/11/2021             Partners L.P..). (Driver, Vickie)

                             1724 (8 pgs) Certificate of service re: Documents Served on January 6, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1684 Order granting
                          third interim fee application for compensation (related document 1296) granting for Official
                          Committee of Unsecured Creditors, fees awarded: $1865520.45, expenses awarded:
                          $18678.47 Entered on 1/6/2021. (Okafor, M.), 1685 Order granting third interim application
                          for compensation (related document 1244) granting for FTI Consulting, Inc., fees awarded:
                          $886615.45, expenses awarded: $1833.10 Entered on 1/6/2021. (Okafor, M.), 1686 Order
                          granting first interim application for compensation (related document 1544) granting for
                          Hunton Andrews Kurth LLP, fees awarded: $206933.85, expenses awarded: $546.52 Entered
                          on 1/6/2021. (Okafor, M.), 1687 Order granting third interim application for compensation
                          (related document 1547) granting for Jeffrey Nathan Pomerantz, fees awarded: $3380111.5,
                          expenses awarded: $31940.33 Entered on 1/6/2021. (Okafor, M.), 1688 Second Agreed
                          Order regarding deposit of funds into the registry of the court (RE: related document(s) 1365
                          Agreed Supplemental Order re: 474 Motion for authority to apply and disburse funds filed by
                          Debtor Highland Capital Management, L.P., 1365 Order (generic)). Entered on 1/6/2021
                          (Okafor, M.), 1691 Order granting first and final application for compensation (related
                          document 1483) granting for Foley Gardere, Foley & Lardner LLP, fees awarded:
                          $617654.60, expenses awarded: $11433.73 Entered on 1/6/2021. (Okafor, M.)). (Kass,
   01/11/2021             Albert)

                             1725 (2 pgs) Order further extending period within which the Debtor may remove actions
                          1583 Motion to extend time. (Re: related document(s) 1583 Motion to extend time to
                          Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)816 Order on motion to extend/shorten
   01/12/2021             time)) Entered on 1/12/2021. (Ecker, C.)

                            1726 (665 pgs; 26 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1722 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                          Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12
                          Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18
                          Exhibit R # 19 Exhibit S # 20 Exhibit T # 21 Exhibit U # 22 Exhibit V # 23 Exhibit W # 24
   01/12/2021             Exhibit X # 25 Exhibit DD) (Annable, Zachery)

                            1727 (12 pgs) Certificate of service re: Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to November 30, 2020 filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1711 Notice (generic)).
   01/13/2021             (Annable, Zachery)

                             1728 (2 pgs) Order granting application for compensation (related document # 1545)
                          granting for Hayward & Associates PLLC, fees awarded: $82325.00, expenses awarded:
   01/13/2021             $1972.63 Entered on 1/13/2021. (Ecker, C.)


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   01/13/2021               1729 (12 pgs) Certificate of service re: Order (A) Approving the Adequacy of the
                          Disclosure Statement; (B) Scheduling a Hearing to Confirm the Fifth Amended Plan of
                          Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of the Plan;
                          (D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E)
                          Approving Form and Manner of Notice filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1476 Order approving disclosure statement). (Annable, Zachery)

                             1730 (12 pgs) Certificate of service re: Order Further Extending Period Within Which the
                          Debtor May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules
                          of Bankruptcy Procedure filed by Debtor Highland Capital Management, L.P. (RE: related
   01/13/2021             document(s)1725 Order on motion to extend/shorten time). (Annable, Zachery)

                            1731 (22 pgs) Omnibus Reply to (related document(s): 1697 Objection filed by Interested
                          Party James Dondero, 1706 Objection filed by Creditor The Dugaboy Investment Trust,
                          Creditor Get Good Trust, 1707 Objection filed by Creditor CLO Holdco, Ltd.) filed by
   01/13/2021             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1732 (88 pgs; 2 docs) Amended Witness and Exhibit List (Debtor's Second Amended
                          Witness and Exhibit List with Respect to Hearing to Be Held on January 14, 2021) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1722 List
                          (witness/exhibit/generic), 1726 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit EE)
   01/13/2021             (Annable, Zachery)

                             1733 (9 pgs; 2 docs) Expedited Motion to file document under seal./Expedited Motion for
                          Leave to File Documents Under Seal in Connection with the HarbourVest Reply in Support of
                          Debtor's Motion for Entry of an Order Approving Settlement with HarbourVest and
                          Authorizing Actions Consistent Therewith Filed by Creditor HarbourVest et al (Attachments:
   01/13/2021             # 1 Exhibit A - Proposed Order) (Driver, Vickie)

                              1734 (26 pgs) Omnibus Reply to (related document(s): 1697 Objection filed by Interested
                          Party James Dondero, 1706 Objection filed by Creditor The Dugaboy Investment Trust,
                          Creditor Get Good Trust, 1707 Objection filed by Creditor CLO Holdco, Ltd.) /HarbourVest
                          Reply in Support of Debtor's Motion for Entry of an Order Approving Settlement with
                          HarbourVest and Authorizing Actions Consistent Therewith filed by Creditor HarbourVest et
   01/13/2021             al. (Driver, Vickie)

                             1735 (362 pgs) Support/supplemental document /Appendix to HarbourVest Reply in
                          Support of Debtor's Motion for Entry of an Order Approving Settlement with HarbourVest
                          and Authorizing Actions Consistent Therewith filed by Creditor HarbourVest et al (RE:
   01/13/2021             related document(s)1734 Reply). (Driver, Vickie)

                             1736 (10 pgs; 2 docs) Emergency Motion to file document under seal.(Debtor's
                          Emergency Motion for Entry of an Order Authorizing the Filing under Seal of Exhibits to
                          Debtor's Omnibus Reply in Support of Debtor's Motion for Entry of an Order Approving
                          Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154), and Authorizing
                          Actions Consistent Therewith) Filed by Debtor Highland Capital Management, L.P.
   01/13/2021             (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                             1737 (2 pgs) Order granting motion to seal exhibits (related document # 1736) Entered on
   01/14/2021             1/14/2021. (Ecker, C.)

   01/14/2021                 1738 SEALED document regarding: Exhibit A--Members Agreement per court
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                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1737
                          Order on motion to seal). (Annable, Zachery)

                            1739 SEALED document regarding: Exhibit B--Articles of Incorporation per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1737
   01/14/2021             Order on motion to seal). (Annable, Zachery)

                            1740 SEALED document regarding: Exhibit C--Offering Memorandum per court
                          order filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1737
   01/14/2021             Order on motion to seal). (Annable, Zachery)

                             1741 (5 pgs) Notice (Notice of Stipulation Resolving Proof of Claim No. 166 Filed by
                          Stinson Leonard Street LLP) filed by Debtor Highland Capital Management, L.P.. (Annable,
   01/14/2021             Zachery)

                             1742 (10 pgs; 2 docs) Exhibit List (Supplemental Exhibit List) filed by Interested Party
                          James Dondero (RE: related document(s)1625 Motion to compromise controversy with
                          HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover
                          Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base
                          AIF L.P., and HarbourVest Partners L.P..). (Attachments: # 1 Dondero Ex. N) (Assink,
   01/14/2021             Bryan)

                             1743 (3 pgs) Declaration re: Supplemental Declaration of Conor P. Tully In Support of the
                          Application Authorizing the Employment and Retention of FTI Consulting, Inc. as Financial
                          Advisor to the Official Committee of Unsecured Creditors filed by Financial Advisor FTI
                          Consulting, Inc. (RE: related document(s)336 Order on application to employ). (Hoffman,
   01/14/2021             Juliana)

                            1744 (13 pgs) Declaration re: (Supplemental Declaration of Marc D. Katz) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)268 Declaration).
   01/14/2021             (Annable, Zachery)

                             1745 (14 pgs; 2 docs) Motion to appoint trusteeMotion to Appoint Examiner Pursuant to
                          11 U.S.C. § 1104(c) Filed by Get Good Trust, The Dugaboy Investment Trust (Attachments:
   01/14/2021             # 1 Proposed Order) (Draper, Douglas)

                             1752 (14 pgs) INCORRECT Entry: Original entry at # [1745 is correct} Motion to
                          Appoint Examiner pursuant to 11 U.S.C. § 1104(c) by Get Good Trust , The Dugaboy
   01/14/2021             Investment Trust . (Ecker, C.) Modified on 1/15/2021 (Ecker, C.). (Entered: 01/15/2021)

                             1753 Hearing held on 1/14/2021. (RE: related document(s)1590 Motion to pay Debtor's
                          Motion Pursuant to the Protocols for Authority for Highland Multi Strategy Credit Fund, L.P.
                          to Prepay Loan) filed by Debtor Highland Capital Management, L.P. (Appearances: J.
                          Pomeranz, J. Morris, and G. Demo for Debtor; J. Wilson, M. Lynn, J. Bonds, and B. Assink
                          for J. Dondero; E. Weisgerber for HarbourVest; J. Kane for CLO Holdco; D. Draper for
                          Dugaboy and Get Good Trust; M. Clemente for UCC; R. Matsumura for HCLOF.
                          Nonevidentiary hearing. Motion granted. Counsel to upload order.) (Edmond, Michael)
   01/14/2021             (Entered: 01/15/2021)

   01/14/2021               1754 Hearing held on 1/14/2021. (RE: related document(s)1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.369 281/439



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                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P., filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J.
                          Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; E. Weisgerber for HarbourVest; J.
                          Kane for CLO Holdco; D. Draper for Dugaboy and Get Good Trust; M. Clemente for UCC;
                          R. Matsumura for HCLOF. Evidentiary hearing. Motion granted. Counsel to upload order.)
                          (Edmond, Michael) (Entered: 01/15/2021)

                             1755 Hearing held on 1/14/2021. (RE: related document(s)1207 Motion to allow claims of
                          HarbourVest Pursuant to Rule 3018(A) of the Federal Rules of Bankruptcy Procedure for
                          Temporary Allowance of Claims for Purposes of Voting to Accept or Reject the Plan filed by
                          Creditor HarbourVest et al (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J.
                          Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; E. Weisgerber for HarbourVest; J.
                          Kane for CLO Holdco; D. Draper for Dugaboy and Get Good Trust; M. Clemente for UCC;
                          R. Matsumura for HCLOF. Evidentiary hearing. Motion resolved by approval of compromise
   01/14/2021             and settlement. Counsel to upload order.) (Edmond, Michael) (Entered: 01/15/2021)

                             1782 (1 pg) Court admitted exhibits date of hearing January 14, 2021 (RE: related
                          document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
                          Partners L.P., filed by Debtor Highland Capital Management, L.P.) (COURT ADMITTED
                          DEBTOR'S/PLAINTIFF EXHIBIT'S #A THROUGH #EE BY JAMES MORRIS AND
                          EXHIBIT'S #34 & #36 BY ERICA WEISGERBER AND DEFENDANT'S DONDERO
                          EXHIBIT #N (ONLY PORTIONS OF EXHIBIT) BY J. WILSON) (Edmond, Michael)
   01/14/2021             (Entered: 01/20/2021)

                             1746 (2 pgs) Order granting motion to pay (related document # 1590) Entered on
   01/15/2021             1/15/2021. (Ecker, C.)

                            1747 (8 pgs) Order (RE: related document(s)1741 Notice (generic) filed by Debtor
   01/15/2021             Highland Capital Management, L.P.). Entered on 1/15/2021 (Ecker, C.)

                            1748 (9 pgs; 2 docs) Motion for expedited hearing(related documents 1745 Motion to
                          appoint trustee) Filed by Get Good Trust, The Dugaboy Investment Trust (Attachments: # 1
   01/15/2021             Proposed Order) (Draper, Douglas)

                             1749 (6 pgs) Notice (Third Notice of (I) Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and
                          (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). (Annable,
   01/15/2021             Zachery)

                             1750 (1 pg) Request for transcript regarding a hearing held on 1/14/2021. The requested
   01/15/2021             turn-around time is hourly (Green, Shanette)

   01/15/2021                1751 (4 pgs) Supplemental Certificate of service re: filed by Creditors The Dugaboy
                          Investment Trust, Get Good Trust (RE: related document(s)1745 Motion to appoint
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                          trusteeMotion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c), 1748 Motion for
                          expedited hearing(related documents 1745 Motion to appoint trustee) ). (Draper, Douglas)
                          Modified on 1/15/2021 (Rielly, Bill).

                            1756 (3 pgs) Joinder by filed by Interested Party James Dondero (RE: related
                          document(s)1745 Motion to appoint trusteeMotion to Appoint Examiner Pursuant to 11
   01/15/2021             U.S.C. § 1104(c)). (Assink, Bryan)

                             1757 (3 pgs) Notice of Increase in Hourly Rates for Pachulski Stang Ziehl & Jones LLP
                          Effective as of January 1, 2021 filed by Debtor Highland Capital Management, L.P..
   01/15/2021             (Pomerantz, Jeffrey)

                             1758 (4 pgs) Certificate No Objection filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1632 Application for compensation Sidley
                          Austin LLP's Thirteenth Monthly Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
   01/15/2021             11/1/2020 to 11/30/2020, Fee: �). (Hoffman, Juliana)

                            1759 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1633 Application for compensation Thirteenth Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   01/15/2021             Period: 11/1/2020 to 11/30/2020, Fee: $201,148.56, Expenses: $408.64.). (Hoffman, Juliana)

                             1760 (5 pgs) Certificate of service re: (Supplemental) Solicitation Materials Served on
                          January 11, 2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1630 Certificate of service re: Solicitation Materials Served on or Before
                          December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). filed by Debtor Highland Capital
                          Management, L.P., 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1476 Order approving
                          disclosure statement and setting hearing on confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan filed by Debtor Highland Capital Management, L.P. and
                          1473 Amended disclosure statement filed by Debtor Highland Capital Management, L.P. ).
                          Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020
   01/15/2021             (Okafor, M.)). filed by Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

   01/15/2021                1761 (39 pgs) Certificate of service re: Documents Served on or Before January 12, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1714
                          Amended Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1625 Motion to compromise controversy with HarbourVest 2017 Global Fund
                          L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV
                          International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
                          Partners L.P.. Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
                          1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1625, filed by Debtor Highland
                          Capital Management, L.P., 1715 Order granting application for compensation (related
                          document 1552) granting for Wilmer Cutler Pickering Hale and Dorr LLP, fees awarded:
                          $709256.22, expenses awarded: $0.0 Entered on 1/11/2021. (Ecker, C.), 1718 Amended
                          Notice of hearing (Amended Notice of (I) Hearing to Confirm Plan and (II) Related
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.371 283/439



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                          Important Dates) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan).). Confirmation hearing to be held on
                          1/26/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. filed by Debtor Highland Capital
                          Management, L.P., 1719 Notice (Second Notice of (I) Executory Contracts and Unexpired
                          Leases to Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts,
                          If Any, and (III) Related Procedures in Connection Therewith) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1606 Support/supplemental document
                          (Debtor's Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization
                          of Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). filed by Debtor
                          Highland Capital Management, L.P., 1720 Amended Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1207 Motion to allow claims of
                          HarbourVest Pursuant to Rule 3018(A) of the Federal Rules of Bankruptcy Procedure for
                          Temporary Allowance of Claims for Purposes of Voting to Accept or Reject the Plan Filed by
                          Creditor HarbourVest et al Objections due by 11/9/2020. (Attachments: # 1 Proposed
                          Order)). Hearing to be held on 1/14/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1207,
                          filed by Debtor Highland Capital Management, L.P., 1722 Witness and Exhibit List filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1625 Motion to
                          compromise controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global
                          AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary
                          L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P..). filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                             1762 (22 pgs) Certificate of service re: Documents Served on January 12, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1725 Order further
                          extending period within which the Debtor may remove actions 1583 Motion to extend time.
                          (Re: related document(s) 1583 Motion to extend time to Remove Actions Pursuant to 28
                          U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related
                          document(s)816 Order on motion to extend/shorten time)) Entered on 1/12/2021. (Ecker, C.),
                          1726 Amended Witness and Exhibit List filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1722 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit A #
                          2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit
                          H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N #
                          15 Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18 Exhibit R # 19 Exhibit S # 20 Exhibit T # 21
                          Exhibit U # 22 Exhibit V # 23 Exhibit W # 24 Exhibit X # 25 Exhibit DD) filed by Debtor
   01/15/2021             Highland Capital Management, L.P.). (Kass, Albert)

                             1763 (12 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1728
                          Order granting application for compensation (related document 1545) granting for Hayward
                          & Associates PLLC, fees awarded: $82325.00, expenses awarded: $1972.63 Entered on
   01/15/2021             1/13/2021. (Ecker, C.)) No. of Notices: 1. Notice Date 01/15/2021. (Admin.)

                            1764 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Debtor Highland
   01/16/2021             Capital Management, L.P.. (Annable, Zachery)

   01/17/2021                1765 (173 pgs) Transcript regarding Hearing Held 01/14/2021 (173 pages) RE: Motion to
                          Prepay Loan; Motion to Compromise Controversy; Motion to Allow Claims. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.372 284/439



                                                              R.E. 304
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                          04/19/2021. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1753 Hearing held on 1/14/2021. (RE: related document(s)1590 Motion to pay
                          Debtor's Motion Pursuant to the Protocols for Authority for Highland Multi Strategy Credit
                          Fund, L.P. to Prepay Loan) filed by Debtor Highland Capital Management, L.P.
                          (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J. Wilson, M. Lynn, J.
                          Bonds, and B. Assink for J. Dondero; E. Weisgerber for HarbourVest; J. Kane for CLO
                          Holdco; D. Draper for Dugaboy and Get Good Trust; M. Clemente for UCC; R. Matsumura
                          for HCLOF. Nonevidentiary hearing. Motion granted. Counsel to upload order.), 1754
                          Hearing held on 1/14/2021. (RE: related document(s)1625 Motion to compromise
                          controversy with HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P.,
                          HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,
                          HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P., filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J.
                          Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; E. Weisgerber for HarbourVest; J.
                          Kane for CLO Holdco; D. Draper for Dugaboy and Get Good Trust; M. Clemente for UCC;
                          R. Matsumura for HCLOF. Evidentiary hearing. Motion granted. Counsel to upload order.),
                          1755 Hearing held on 1/14/2021. (RE: related document(s)1207 Motion to allow claims of
                          HarbourVest Pursuant to Rule 3018(A) of the Federal Rules of Bankruptcy Procedure for
                          Temporary Allowance of Claims for Purposes of Voting to Accept or Reject the Plan filed by
                          Creditor HarbourVest et al (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; J.
                          Wilson, M. Lynn, J. Bonds, and B. Assink for J. Dondero; E. Weisgerber for HarbourVest; J.
                          Kane for CLO Holdco; D. Draper for Dugaboy and Get Good Trust; M. Clemente for UCC;
                          R. Matsumura for HCLOF. Evidentiary hearing. Motion resolved by approval of compromise
                          and settlement. Counsel to upload order.)). Transcript to be made available to the public on
                          04/19/2021. (Rehling, Kathy)

                            1766 (18 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1747
                          Order (RE: related document(s)1741 Notice (generic) filed by Debtor Highland Capital
                          Management, L.P.). Entered on 1/15/2021 (Ecker, C.)) No. of Notices: 1. Notice Date
   01/17/2021             01/17/2021. (Admin.)

                            1767 (3 pgs) Verified statement pursuant to Rule 2019 filed by Creditor Scott Ellington,
   01/18/2021             Thomas Surgent, Frank Waterhouse, Isaac Leventon. (Smith, Frances)

                            1768 (6 pgs) Certificate of service re: Verified Statement Pursuant to Federal Rule of
                          Bankruptcy Procedure 2019 of (I) Frances A. Smith and Disclosures of Ross & Smith, PC;
                          and (II) Michelle Hartmann and Disclosures of Baker & McKenzie LLP filed by Creditor
                          Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon (RE: related
   01/18/2021             document(s)1767 Verified statement pursuant to Rule 2019). (Smith, Frances)

                            1769 (2 pgs) Declaration re: (Report of Mediators) filed by Debtor Highland Capital
   01/18/2021             Management, L.P. (RE: related document(s)912 Order (generic)). (Annable, Zachery)

                             1770 (3 pgs) Order Granting Expedited Motion for Leave to File Documents Under Seal
                          in Connection with the HarbourVest Reply in Support of Debtors Motion for Entry of an
                          Order Approving Settlement with HarbourVest and Authorizing Actions Consistent
   01/19/2021             Therewith (related document # 1733) Entered on 1/19/2021. (Okafor, M.)

   01/19/2021                1771 (150 pgs) Application for compensation Fifteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from December 1, 2020
                          through December 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.373 285/439



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                          12/1/2020 to 12/31/2020, Fee: $1,046,024.00, Expenses: $4,130.90. Filed by Attorney
                          Jeffrey Nathan Pomerantz Objections due by 2/9/2021. (Pomerantz, Jeffrey)

                             1772 (15 pgs) Chapter 11 ballot summary filed by Debtor Highland Capital Management,
   01/19/2021             L.P.. (Annable, Zachery)

                            1773 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Debtor Highland
   01/19/2021             Capital Management, L.P.. (Annable, Zachery)

                             1774 (9 pgs) Notice to take deposition of Highland Capital Management, L.P. filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed
                          Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
                          Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland Income Fund,
                          Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap
                          Equity Fund, Highland Socially Responsible Equity Fund, Highland Total Return Fund,
                          Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint
   01/19/2021             Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund. (Hogewood, A.)

                             1775 (16 pgs) Certificate of service re: 1) Order Granting Debtors Motion Pursuant to
                          the Protocols for Authority for Highland Multi Strategy Credit Fund, L.P. to Prepay; 2)
                          Order Approving Stipulation Resolving Proof of Claim No. 166 Filed by Stinson Leonard
                          Street LLP; and 3) Third Notice of (I) Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and
                          (III) Related Procedures in Connection Therewith Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1746 Order granting motion to pay (related document
                          1590) Entered on 1/15/2021. (Ecker, C.), 1747 Order (RE: related document(s)1741 Notice
                          (generic) filed by Debtor Highland Capital Management, L.P.). Entered on 1/15/2021 (Ecker,
                          C.), 1749 Notice (Third Notice of (I) Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and
                          (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). filed by Debtor
   01/19/2021             Highland Capital Management, L.P.). (Kass, Albert)

                            1776 (7 pgs) Notice to take deposition of Highland Capital Management LP filed by Get
   01/19/2021             Good Trust, The Dugaboy Investment Trust. (Draper, Douglas)

                            1777 (32 pgs; 5 docs) Motion for leave (Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Implement a Key Employee Retention Plan with Non-Insider
                          Employees and Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B-1 # 3 Exhibit B-2 # 4 Exhibit C) (Annable,
   01/19/2021             Zachery)

                             1778 (6 pgs) Motion for expedited hearing(related documents 1777 Motion for leave)
   01/19/2021             Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

   01/19/2021               1779 (16 pgs) Certificate of service re: Documents Served on January 13, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1728 Order granting
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.374 286/439



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                          application for compensation (related document 1545) granting for Hayward & Associates
                          PLLC, fees awarded: $82325.00, expenses awarded: $1972.63 Entered on 1/13/2021. (Ecker,
                          C.), 1731 Omnibus Reply to (related document(s): 1697 Objection filed by Interested Party
                          James Dondero, 1706 Objection filed by Creditor The Dugaboy Investment Trust, Creditor
                          Get Good Trust, 1707 Objection filed by Creditor CLO Holdco, Ltd.) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.,
                          1732 Amended Witness and Exhibit List (Debtor's Second Amended Witness and Exhibit List
                          with Respect to Hearing to Be Held on January 14, 2021) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1722 List (witness/exhibit/generic), 1726 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit EE) filed by Debtor Highland Capital
                          Management, L.P., 1736 Emergency Motion to file document under seal.(Debtor's
                          Emergency Motion for Entry of an Order Authorizing the Filing under Seal of Exhibits to
                          Debtor's Omnibus Reply in Support of Debtor's Motion for Entry of an Order Approving
                          Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154), and Authorizing
                          Actions Consistent Therewith) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             1780 (20 pgs) Notice of District Court Order Accepting Documents Designated for
                          Inclusion in Record on Appeal Under Seal filed by Interested Parties UBS AG London
   01/20/2021             Branch, UBS Securities LLC. (Sosland, Martin)

                            1781 (5 pgs) Certificate of service re: Notice of Rule 30(b)(6) Amended Certificate of
                          Service filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
   01/20/2021             document(s)1776 Notice to take deposition). (Draper, Douglas)

                             1783 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1777 Motion for leave (Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Implement a Key Employee Retention Plan with Non-Insider
                          Employees and Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B-1 # 3 Exhibit B-2 # 4 Exhibit C)). Hearing to be
   01/20/2021             held on 1/26/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1777, (Annable, Zachery)

                            1784 (9 pgs) WITHDRAWN PER # 1876. Objection to (related document(s): 1719
                          Notice (generic) filed by Debtor Highland Capital Management, L.P.) filed by Interested
   01/20/2021             Party James Dondero. (Assink, Bryan) Modified on 2/2/2021 (Ecker, C.).

                             1785 (2 pgs) Order granting motion for expedited hearing (Related Doc# 1778)(document
                          set for hearing: 1777 Motion of the Debtor for Entry of an Order Authorizing the Debtor to
                          Implement a Key Employee Retention Plan with Non-Insider Employees and Granting
                          Related Relief)) Hearing to be held on 1/26/2021 at 09:30 AM Dallas Judge Jernigan Ctrm
   01/20/2021             for 1777, Entered on 1/20/2021. (Rielly, Bill)

   01/20/2021                 1786 (24 pgs) Certificate of service re: Documents Served on January 14, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1737 Order granting
                          motion to seal exhibits (related document 1736) Entered on 1/14/2021. (Ecker, C.), 1741
                          Notice (Notice of Stipulation Resolving Proof of Claim No. 166 Filed by Stinson Leonard
                          Street LLP) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
                          Capital Management, L.P., 1743 Declaration re: Supplemental Declaration of Conor P. Tully
                          In Support of the Application Authorizing the Employment and Retention of FTI Consulting,
                          Inc. as Financial Advisor to the Official Committee of Unsecured Creditors filed by Financial
                          Advisor FTI Consulting, Inc. (RE: related document(s)336 Order on application to employ).
                          filed by Financial Advisor FTI Consulting, Inc., 1744 Declaration re: (Supplemental
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.375 287/439



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                          Declaration of Marc D. Katz) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)268 Declaration). filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                              1787 (19 pgs) Certificate of service re: Documents Served on or Before January 19, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1764 Notice
                          to take deposition of James P. Seery, Jr. filed by Debtor Highland Capital Management, L.P..
                          filed by Debtor Highland Capital Management, L.P., 1769 Declaration re: (Report of
                          Mediators) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)912
                          Order (generic)). filed by Debtor Highland Capital Management, L.P., 1771 Application for
                          compensation Fifteenth Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from December 1, 2020 through December 31, 2020 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 12/31/2020, Fee: $1,046,024.00,
                          Expenses: $4,130.90. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          2/9/2021. filed by Debtor Highland Capital Management, L.P., 1772 Chapter 11 ballot
                          summary filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
                          Capital Management, L.P., 1773 Notice to take deposition of James P. Seery, Jr. filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
                          L.P., 1777 Motion for leave (Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Implement a Key Employee Retention Plan with Non-Insider Employees and
                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P. (Attachments:
                          # 1 Exhibit A # 2 Exhibit B-1 # 3 Exhibit B-2 # 4 Exhibit C) filed by Debtor Highland
                          Capital Management, L.P., 1778 Motion for expedited hearing(related documents 1777
                          Motion for leave) Filed by Debtor Highland Capital Management, L.P. filed by Debtor
   01/20/2021             Highland Capital Management, L.P.). (Kass, Albert)

                             1788 (23 pgs) Order granting motion to compromise controversy with HarbourVest
                          (Claim Nos. 143, 147, 149, 150, 153, 154) and authorizing actions consistent therewith
   01/21/2021             (related document # 1625) Entered on 1/21/2021. (Okafor, M.)

                            1789 (11 pgs; 2 docs) Notice (Notice of Service of Discovery on Highland Capital
                          Management, L.P.) filed by Interested Party James Dondero. (Attachments: # 1 Ex. A -
   01/21/2021             Document Requests) (Assink, Bryan)

                            1790 (5 pgs; 2 docs) Subpoena on Jean Paul Sevilla filed by Interested Party James
   01/21/2021             Dondero. (Attachments: # 1 Ex. 1 - Subpoena) (Assink, Bryan)

   01/21/2021                1791 (5 pgs) Notice (Notice of Withdrawal of Certain Executory Contracts and Unexpired
                          Leases from List of Executory Contracts and Unexpired Leases to Be Assumed by the Debtor
                          Pursuant to the Fifth Amended Plan) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1648 Notice (Notice of (I) Executory Contracts and Unexpired
                          Leases to Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts,
                          If Any, and (III) Related Procedures in Connection Therewith) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1606 Support/supplemental document
                          (Debtor's Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization
                          of Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation))., 1719 Notice
                          (Second Notice of (I) Executory Contracts and Unexpired Leases to Be Assumed by the
                          Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and (III) Related
                          Procedures in Connection Therewith) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1606 Support/supplemental document (Debtor's Notice of Filing of
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                          Plan Supplement to the Fifth Amended Plan of Reorganization of Highland Capital
                          Management, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and
                          Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3
                          Exhibit K--Redline of Form of Senior Employee Stipulation))., 1749 Notice (Third Notice of
                          (I) Executory Contracts and Unexpired Leases to Be Assumed by the Debtor Pursuant to the
                          Fifth Amended Plan, (II) Cure Amounts, If Any, and (III) Related Procedures in Connection
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation)).). (Annable, Zachery)

                             1792 (17 pgs; 7 docs) Witness and Exhibit List United States' (IRS) Witness & Exhibit
                          List filed by Creditor United States (IRS) (RE: related document(s)1668 Objection to
                          confirmation of plan). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 #
   01/22/2021             5 Exhibit 5 # 6 Exhibit 6) (Adams, David)

                             1793 (10 pgs) Witness and Exhibit List for Confirmation Hearing filed by Interested
                          Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund,
                          Highland Funds I and its series, Highland Funds II and its series, Highland Global Allocation
                          Fund, Highland Healthcare Opportunities Fund, Highland Income Fund, Highland Merger
                          Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund,
                          Highland Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                          Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate
                          Strategies Fund, NexPoint Strategic Opportunities Fund (RE: related document(s)1670
   01/22/2021             Objection to confirmation of plan). (Hogewood, A.)

                            1794 (97 pgs; 4 docs) Witness and Exhibit List with Certificate of Service filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)1472 Chapter 11 plan).
   01/22/2021             (Attachments: # 1 Exhibit 5 # 2 Exhibit 6 # 3 Exhibit 6-1) (Draper, Douglas)

                             1795 (743 pgs; 18 docs) Witness and Exhibit List filed by Interested Party James Dondero
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Dondero Ex. 1 # 2
                          Dondero Ex. 2 # 3 Dondero Ex. 3 # 4 Dondero Ex. 4 # 5 Dondero Ex. 5 # 6 Dondero Ex. 6 #
                          7 Dondero Ex. 7 # 8 Dondero Ex. 8 # 9 Dondero Ex. 9 # 10 Dondero Ex. 10 # 11 Dondero
                          Ex. 11 # 12 Dondero Ex. 12 # 13 Dondero Ex. 13 # 14 Dondero Ex. 14 # 15 Dondero Ex. 15
   01/22/2021             # 16 Dondero Ex. 16 # 17 Dondero Ex. 17) (Assink, Bryan)

                             1796 (796 pgs; 40 docs) Witness and Exhibit List for Hearing Scheduled for January 26,
                          2021 at 9:30 a.m. filed by Creditor Scott Ellington, Thomas Surgent, Frank Waterhouse,
                          Isaac Leventon (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit
                          SE1 # 2 Exhibit SE2 # 3 Exhibit SE # 4 Exhibit SE4 # 5 Exhibit SE5 # 6 Exhibit SE6 # 7
                          Exhibit SE7 # 8 Exhibit SE8 # 9 Exhibit SE9 # 10 Exhibit SE10 # 11 Exhibit SE11 # 12
                          Exhibit SE12 # 13 Exhibit SE13 # 14 Exhibit SE14 # 15 Exhibit SE15 # 16 Exhibit SE16 #
                          17 Exhibit SE17 # 18 Exhibit SE18 # 19 Exhibit SE19 # 20 Exhibit SE20 # 21 Exhibit SE21
                          # 22 Exhibit SE22 # 23 Exhibit SE23 # 24 Exhibit SE24 # 25 Exhibit SE25 # 26 Exhibit
                          SE26 # 27 Exhibit SE27 # 28 Exhibit SE28 # 29 Exhibit SE29 # 30 Exhibit SE30 # 31
                          Exhibit SE31 # 32 Exhibit SE33 # 33 Exhibit SE34 # 34 Exhibit SE35 # 35 Exhibit SE36 #
   01/22/2021             36 Exhibit SE37 # 37 Exhibit SE38 # 38 Exhibit SE39 # 39 Exhibit SE40) (Smith, Frances)

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   01/22/2021               1797 (5 pgs) Witness and Exhibit List filed by Creditor CLO Holdco, Ltd. (RE: related
                          document(s)1472 Chapter 11 plan). (Kane, John)

                             1798 (6 pgs) Certificate of service re: Witness & Exhibit List for Hearing Scheduled for
                          January, 26, 2021 at 9:30 a.m. filed by Creditor Scott Ellington, Thomas Surgent, Frank
                          Waterhouse, Isaac Leventon (RE: related document(s)1796 List (witness/exhibit/generic)).
   01/22/2021             (Smith, Frances)

                             1799 (10 pgs; 2 docs) Witness and Exhibit List for Hearing Scheduled for January 26,
                          2021 at 9:30 a.m. filed by Creditor Scott Ellington, Thomas Surgent, Frank Waterhouse,
                          Isaac Leventon (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit
   01/22/2021             SE33) (Smith, Frances)

                             1800 (8914 pgs; 77 docs) Exhibit and Witness List for Confirmation Hearing filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed
                          Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
                          Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland Income Fund,
                          Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap
                          Equity Fund, Highland Socially Responsible Equity Fund, Highland Total Return Fund,
                          Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint
                          Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund (RE: related
                          document(s)1670 Objection to confirmation of plan). (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit
                          H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N #
                          15 Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18 Exhibit R # 19 Exhibit S # 20 Exhibit U #
                          21 Exhibit U # 22 Exhibit V # 23 Exhibit W # 24 Exhibit X # 25 Exhibit Y # 26 Exhibit Z #
                          27 Exhibit AA # 28 Exhibit BB # 29 Exhibit CC # 30 Exhibit DD # 31 Exhibit EE # 32
                          Exhibit FF # 33 Exhibit GG # 34 Exhibit HH # 35 Exhibit II # 36 Exhibit JJ # 37 Exhibit KK
                          # 38 Exhibit LL # 39 Exhibit MM # 40 Exhibit NN # 41 Exhibit OO # 42 Exhibit PP # 43
                          Exhibit QQ # 44 Exhibit RR # 45 Exhibit SS # 46 Exhibit TT # 47 Exhibit UU # 48 Exhibit
                          VV # 49 Exhibit WW # 50 Exhibit XX # 51 Exhibit YY # 52 Exhibit ZZ # 53 Exhibit AAA
                          # 54 Exhibit BBB # 55 Exhibit CCC # 56 Exhibit DDD # 57 Exhibit EEE # 58 Exhibit FFF #
                          59 Exhibit GGG # 60 Exhibit HHH # 61 Exhibit III # 62 Exhibit JJJ # 63 Exhibit KKK # 64
                          Exhibit LLL # 65 Exhibit MMM # 66 Exhibit NNN # 67 Exhibit OOO # 68 Exhibit PPP # 69
                          Exhibit QQQ # 70 Exhibit RRR # 71 Exhibit SSS # 72 Exhibit TTT # 73 Exhibit UUU # 74
                          Exhibit VVV # 75 Exhibit WWW # 76 Exhibit ZZZ) (Hogewood, A.) MODIFIED on
   01/22/2021             1/25/2021 (Ecker, C.).

                             1801 (24 pgs; 6 docs) Adversary case 21-03003. Complaint by Highland Capital
                          Management, L.P. against James Dondero. Fee Amount $350 (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Adversary Cover Sheet). Nature(s) of suit: 02 (Other
                          (e.g. other actions that would have been brought in state court if unrelated to bankruptcy)). 11
   01/22/2021             (Recovery of money/property - 542 turnover of property). (Annable, Zachery)

                             1802 (20 pgs; 5 docs) Adversary case 21-03004. Complaint by Highland Capital
                          Management, L.P. against Highland Capital Management Fund Advisors, L.P.. Fee Amount
                          $350 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Cover Sheet). Nature(s) of
                          suit: 02 (Other (e.g. other actions that would have been brought in state court if unrelated to
                          bankruptcy)). 11 (Recovery of money/property - 542 turnover of property). (Annable,
   01/22/2021             Zachery)

   01/22/2021               1803 (27 pgs; 5 docs) Adversary case 21-03005. Complaint by Highland Capital
                          Management, L.P. against NexPoint Advisors, L.P.. Fee Amount $350 (Attachments: # 1
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.378 290/439



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                          Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Adversary Cover Sheet). Nature(s) of suit: 02 (Other
                          (e.g. other actions that would have been brought in state court if unrelated to bankruptcy)). 11
                          (Recovery of money/property - 542 turnover of property). (Annable, Zachery)

                             1804 (37 pgs; 9 docs) Adversary case 21-03006. Complaint by Highland Capital
                          Management, L.P. against Highland Capital Management Services, Inc.. Fee Amount $350
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                          Exhibit 6 # 7 Exhibit 7 # 8 Adversary Cover Sheet). Nature(s) of suit: 02 (Other (e.g. other
                          actions that would have been brought in state court if unrelated to bankruptcy)). 11
   01/22/2021             (Recovery of money/property - 542 turnover of property). (Annable, Zachery)

                             1805 (37 pgs; 9 docs) Adversary case 21-03007. Complaint by Highland Capital
                          Management, L.P. against HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC).
                          Fee Amount $350 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                          Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Cover Sheet). Nature(s) of suit: 02 (Other (e.g. other
                          actions that would have been brought in state court if unrelated to bankruptcy)). 11
   01/22/2021             (Recovery of money/property - 542 turnover of property). (Annable, Zachery)

                             1806 (8 pgs; 2 docs) Motion to file document under seal. Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, Highland
                          Funds I and its series, Highland Funds II and its series, Highland Global Allocation Fund,
                          Highland Healthcare Opportunities Fund, Highland Income Fund, Highland Merger
                          Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund,
                          Highland Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                          Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate
   01/22/2021             Strategies Fund (Attachments: # 1 Proposed Order) (Vasek, Julian)

   01/22/2021                1807 (125 pgs; 4 docs) INCORRECT EVENT: Attorney to refile. Notice (Debtor's
                          Omnibus Reply to Objections to Confirmation of the Fifth Amended Plan of Reorganization
                          of Highland Capital Management L.P. (with Technical Modifications) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1661 Objection to confirmation
                          of plan (RE: related document(s)1472 Chapter 11 plan) filed by Interested Party James
                          Dondero., 1662 Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
                          plan) filed by City of Richardson, Allen ISD, City of Allen, Dallas County, Kaufman
                          County., 1666 Objection to confirmation of plan (RE: related document(s)1472 Chapter 11
                          plan) filed by Interested Parties Brad Borud, Jack Yang., 1667 Objection to confirmation of
                          planwith Certificate of Service (RE: related document(s)1472 Chapter 11 plan) filed by Get
                          Good Trust, The Dugaboy Investment Trust., 1668 Objection to confirmation of plan (RE:
                          related document(s)1472 Chapter 11 plan) filed by Creditor United States (IRS)., 1669
                          Objection to confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed by
                          Creditor Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon. (Attachments:
                          # 1 Exhibit A # 2 Exhibit B), 1670 Objection to confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan) filed by Interested Parties Highland Capital Management
                          Fund Advisors, L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                          Funds II and its series, Highland Global Allocation Fund, Highland Healthcare Opportunities
                          Fund, Highland Income Fund, Highland Merger Arbitrage Fund, Highland Opportunistic
                          Credit Fund, Highland Small-Cap Equity Fund, Highland Socially Responsible Equity Fund,
                          Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P.,
                          NexPoint Capital, Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic
                          Opportunities Fund. (Attachments: # 1 Exhibit A), 1673 Objection to confirmation of plan
                          (RE: related document(s)1472 Chapter 11 plan) filed by Creditor NexPoint Real Estate
                          Partners LLC f/k/a HCRE Partners LLC., 1676 Objection to confirmation of plan (RE:
                          related document(s)1472 Chapter 11 plan) filed by Interested Parties NexBank Title Inc.,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.379 291/439



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                          NexBank Securities Inc., NexBank Capital Inc., NexBank., 1678 Objection to confirmation
                          of plan (RE: related document(s)1472 Chapter 11 plan) filed by Creditor Patrick Daugherty.).
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C) (Annable, Zachery) MODIFIED on
                          1/25/2021 (Ecker, C.).

                             1808 (66 pgs) Modified chapter 11 plan filed by Debtor Highland Capital Management,
   01/22/2021             L.P. (RE: related document(s)1472 Chapter 11 plan). (Annable, Zachery)

                            1809 (68 pgs) Support/supplemental document (Redline of Fifth Amended Plan of
                          Reorganization of Highland Capital Management, L.P. (as Modified) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1808 Chapter 11 plan).
   01/22/2021             (Annable, Zachery)

                             1810 (59 pgs; 8 docs) Witness and Exhibit List [Exhibits 1-2 and 12-17] filed by Creditor
                          CLO Holdco, Ltd. (RE: related document(s)1797 List (witness/exhibit/generic)).
                          (Attachments: # 1 CLO Exhibit 2 # 2 CLO Exhibit 12 # 3 CLO Exhibit 13 # 4 CLO Exhibit
                          14 # 5 CLO Exhibit 15 # 6 CLO Exhibit 16 # 7 CLO Exhibit 17) (Kane, John) MODIFIED
   01/22/2021             on 1/25/2021 (Ecker, C.).

                              1811 (249 pgs; 15 docs) NOTICE (Debtor's Notice of Filing of Plan Supplement to the
                          Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1808 Chapter
                          11 plan). (Attachments: # 1 Exhibit Q # 2 Exhibit R # 3 Exhibit S # 4 Exhibit T # 5 Exhibit U
                          # 6 Exhibit V # 7 Exhibit W # 8 Exhibit X # 9 Exhibit Y # 10 Exhibit Z # 11 Exhibit AA #
                          12 Exhibit BB # 13 Exhibit CC # 14 Exhibit DD) (Annable, Zachery) Modified text on
   01/22/2021             1/25/2021 (Ecker, C.).

                            1812 SEALED document regarding: CLO Exhibit 3 - Aberdeen Loan Funding, Ltd.
                          Servicing Agreement [CONFIDENTIAL] in connection to CLO's Witness and Exhibit
                          List at Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   01/22/2021             document(s)382 Order on motion for protective order). (Kane, John)

                            1813 SEALED document regarding: CLO Exhibit 4 - Brentwood CLO Ltd. Servicing
                          Agreement [CONFIDENTIAL] in connection to CLO's Witness and Exhibit List at
                          Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   01/22/2021             document(s)382 Order on motion for protective order). (Kane, John)

                            1814 (68 pgs) Memorandum of Law in support of confirmation filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1808 Chapter 11 plan). (Annable,
   01/22/2021             Zachery) Modified on 1/25/2021 (Ecker, C.).

                             1815 SEALED document regarding: CLO Exhibit 5 - Grayson CLO Ltd. Servicing
                          Agreement and Amendment to Servicing Agreement [CONFIDENTIAL] in connection
                          to CLO's Witness and Exhibit List at Docket No. 1797 per court order filed by Creditor
                          CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for protective order).
   01/22/2021             (Kane, John)

                             1816 SEALED document regarding: CLO Exhibit 6 - Liberty CLO, Ltd. Portfolio
                          Management Agreement [CONFIDENTIAL] in connection to CLO's Witness and
                          Exhibit List at Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd. (RE:
   01/22/2021             related document(s)382 Order on motion for protective order). (Kane, John)

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   01/22/2021                1817 SEALED document regarding: CLO Exhibit 7 - Red River CLO Ltd. Servicing
                          Agreement and Amendment to Servicing Agreement [CONFIDENTIAL] in connection
                          to CLO's Witness and Exhibit List at Docket No. 1797 per court order filed by Creditor
                          CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for protective order).
                          (Kane, John)

                            1818 SEALED document regarding: CLO Exhibit 8 - Rockwall CDO Ltd. Servicing
                          Agreement [CONFIDENTIAL] in connection to CLO's Witness and Exhibit List at
                          Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   01/22/2021             document(s)382 Order on motion for protective order). (Kane, John)

                            1819 SEALED document regarding: CLO Exhibit 9 - Valhalla CLO, Ltd. Reference
                          Portfolio Management Agreement [CONFIDENTIAL] in connection to CLO's Witness
                          and Exhibit List at Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd.
   01/22/2021             (RE: related document(s)382 Order on motion for protective order). (Kane, John)

                            1820 SEALED document regarding: CLO Exhibit 10 - Westchester CLO, Ltd.
                          Servicing Agreement [CONFIDENTIAL] in connection to CLO's Witness and Exhibit
                          List at Docket No. 1797 per court order filed by Creditor CLO Holdco, Ltd. (RE: related
   01/22/2021             document(s)382 Order on motion for protective order). (Kane, John)

                             1821 SEALED document regarding: CLO Exhibit 11 - Debtor Prepared Summary of
                          CLO Holdco, Ltd.'s Interest in Debtor-Managed CLO Funds [CONFIDENTIAL] in
                          connection to CLO's Witness and Exhibit List at Docket No. 1797 per court order filed
                          by Creditor CLO Holdco, Ltd. (RE: related document(s)382 Order on motion for protective
   01/22/2021             order). (Kane, John)

   01/22/2021                1822 (10531 pgs; 164 docs) (REDACTED EXHIBITS ADDED 01/27/2021); Witness
                          and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1808 Chapter 11 plan). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 List of 20
                          Largest Creditors C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                          Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15
                          Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18 Exhibit R # 19 Exhibit S # 20 Exhibit T # 21
                          Exhibit U # 22 Exhibit V # 23 List of 20 Largest Creditors W # 24 Exhibit X # 25 Exhibit Y
                          # 26 Exhibit Z # 27 Exhibit AA # 28 Exhibit BB # 29 Exhibit CC # 30 Exhibit DD # 31
                          Exhibit EE # 32 Exhibit FF # 33 Exhibit GG # 34 Exhibit HH # 35 Exhibit II # 36 Exhibit JJ
                          # 37 Exhibit KK # 38 Exhibit LL # 39 Exhibit MM # 40 Exhibit NN # 41 Exhibit OO # 42
                          Exhibit PP # 43 Exhibit QQ # 44 Exhibit RR # 45 Exhibit SS # 46 Exhibit TT # 47 Exhibit
                          UU # 48 Exhibit VV # 49 Exhibit WW # 50 Exhibit XX # 51 Exhibit YY # 52 Exhibit ZZ #
                          53 Exhibit AAA # 54 Exhibit BBB # 55 Exhibit CCC # 56 Exhibit DDD # 57 Exhibit EEE #
                          58 Exhibit FFF # 59 Exhibit GGG # 60 Exhibit HHH # 61 Exhibit III # 62 Exhibit JJJ # 63
                          Exhibit KKK # 64 Exhibit LLL # 65 Exhibit MMM # 66 Exhibit NNN # 67 Exhibit OOO #
                          68 Exhibit PPP # 69 Exhibit QQQ # 70 Exhibit RRR # 71 Exhibit SSS # 72 Exhibit TTT #
                          73 Exhibit UUU # 74 Exhibit VVV # 75 Exhibit WWW # 76 Exhibit XXX # 77 Exhibit
                          YYY # 78 Exhibit ZZZ # 79 Exhibit AAAA # 80 Exhibit BBBB # 81 Exhibit CCCC # 82
                          Exhibit DDDD # 83 Exhibit EEEE # 84 Exhibit FFFF # 85 Exhibit GGGG # 86 Exhibit
                          MMMM # 87 Exhibit NNNN # 88 Exhibit OOOO # 89 Exhibit PPPP # 90 Exhibit QQQQ #
                          91 Exhibit RRRR # 92 Exhibit SSSS # 93 Exhibit TTTT # 94 Exhibit UUUU # 95 Exhibit
                          VVVV # 96 Exhibit WWWW # 97 Exhibit XXXX # 98 Exhibit YYYY # 99 Exhibit ZZZZ #
                          100 Exhibit AAAAA # 101 Exhibit BBBBB # 102 Exhibit CCCCC # 103 Exhibit DDDDD #
                          104 Exhibit EEEEE # 105 Exhibit FFFFF # 106 Exhibit GGGGG # 107 Exhibit HHHHH #
                          108 Exhibit IIIII # 109 Exhibit JJJJJ # 110 Exhibit KKKKK # 111 Exhibit LLLLL # 112
                          Exhibit MMMMM # 113 Exhibit NNNNN # 114 Exhibit OOOOO # 115 Exhibit PPPPP #
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                          116 Exhibit QQQQQ # 117 Exhibit RRRRR # 118 Exhibit SSSSS # 119 Exhibit TTTTT #
                          120 Exhibit UUUUU # 121 Exhibit VVVVV # 122 Exhibit WWWWW # 123 Exhibit
                          XXXXX # 124 Exhibit YYYYY # 125 Exhibit ZZZZZ # 126 Exhibit AAAAAA # 127
                          Exhibit BBBBBB # 128 Exhibit CCCCCC # 129 Exhibit DDDDDD # 130 Exhibit EEEEEE
                          # 131 Exhibit FFFFFF # 132 Exhibit GGGGGG # 133 Exhibit HHHHHH # 134 Exhibit
                          IIIIII # 135 Exhibit JJJJJJ # 136 Exhibit KKKKKK # 137 Exhibit LLLLLL # 138 Exhibit
                          MMMMMM # 139 Exhibit NNNNNN # 140 Exhibit OOOOOO # 141 Exhibit PPPPPP #
                          142 Exhibit QQQQQQ # 143 Exhibit RRRRRR # 144 Exhibit SSSSSS # 145 Exhibit
                          TTTTTT # 146 Exhibit UUUUUU # 147 Exhibit VVVVVV # 148 Exhibit WWWWWW #
                          149 Exhibit XXXXXX # 150 Exhibit YYYYYY # 151 Exhibit ZZZZZZ) (Annable,
                          Zachery) Additional attachment(s) added on 1/27/2021 (Okafor, M.). Modified on 1/27/2021
                          (Okafor, M.). Additional attachment(s) added on 1/28/2021 (Okafor, M.).

                            1823 (18 pgs) Response unopposed to (related document(s): 1828 Response filed by
   01/22/2021             Debtor Highland Capital Management, L.P.. Modified linkage on 1/25/2021 (Ecker, C.).

                             1828 (125 pgs; 4 docs) Response opposed to (related document(s): 1661 Objection to
                          confirmation of plan filed by Interested Party James Dondero, 1662 Objection to
                          confirmation of plan filed by Creditor City of Richardson, Creditor Allen ISD, Creditor
                          Kaufman County, Creditor Dallas County, Creditor City of Allen, 1666 Objection to
                          confirmation of plan filed by Interested Party Jack Yang, Interested Party Brad Borud, 1667
                          Objection to confirmation of plan filed by Creditor The Dugaboy Investment Trust, Creditor
                          Get Good Trust, 1668 Objection to confirmation of plan filed by Creditor United States
                          (IRS), 1669 Objection to confirmation of plan filed by Creditor Scott Ellington, Thomas
                          Surgent, Frank Waterhouse, Isaac Leventon, 1670 Objection to confirmation of plan filed by
                          Interested Party Highland Capital Management Fund Advisors, L.P., Interested Party
                          NexPoint Advisors, L.P., Interested Party Highland Funds I and its series, Interested Party
                          Highland Healthcare Opportunities Fund, Interested Party Highland/iBoxx Senior Loan ETF,
                          Interested Party Highland Opportunistic Credit Fund, Interested Party Highland Merger
                          Arbitrage Fund, Interested Party Highland Funds II and its series, Interested Party Highland
                          Small-Cap Equity Fund, Interested Party Highland Fixed Income Fund, Interested Party
                          Highland Socially Responsible Equity Fund, Interested Party Highland Total Return Fund,
                          Interested Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities
                          Fund, Interested Party Highland Income Fund, Interested Party Highland Global Allocation
                          Fund, Interested Party NexPoint Real Estate Strategies Fund, 1671 Objection, 1673
                          Objection to confirmation of plan filed by Creditor NexPoint Real Estate Partners LLC f/k/a
                          HCRE Partners LLC, 1676 Objection to confirmation of plan filed by Interested Party
                          NexBank, Interested Party NexBank Capital Inc., Interested Party NexBank Securities Inc.,
                          Interested Party NexBank Title Inc., 1678 Objection to confirmation of plan filed by Creditor
                          Patrick Daugherty) filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit A # 2 Exhibit B # 3 Exhibit C) (Annable, Zachery) Modified date on 1/25/2021
   01/22/2021             (Ecker, C.). (Entered: 01/25/2021)

                            1824 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Debtor Highland
   01/23/2021             Capital Management, L.P.. (Annable, Zachery)

                            1825 (13 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1785
                          Order granting motion for expedited hearing (Related Doc1778)(document set for hearing:
                          1777 Motion of the Debtor for Entry of an Order Authorizing the Debtor to Implement a Key
                          Employee Retention Plan with Non-Insider Employees and Granting Related Relief))
                          Hearing to be held on 1/26/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1777, Entered
   01/23/2021             on 1/20/2021.) No. of Notices: 1. Notice Date 01/23/2021. (Admin.)

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   01/24/2021                1826 (12 pgs; 2 docs) Application for administrative expenses Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (Attachments: #
                          1 Service List) (Vasek, Julian)

                             1827 (4 pgs) Emergency Motion to continue hearing on (related documents 1808 Chapter
   01/25/2021             11 plan) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                            1829 (2 pgs) Notice (Notice of Increase in Hourly Rates for Hayward PLLC (Formerly
                          Hayward & Associates PLLC) Effective as of January 1, 2021) filed by Other Professional
   01/25/2021             Hayward & Associates PLLC. (Annable, Zachery)

                             1830 (2 pgs) Order granting motion to continue hearing on (related document # 1827)
                          (related documents Modified Chapter 11 plan) Confirmation hearing to be held on 2/2/2021
   01/25/2021             at 09:30 AM at Dallas Judge Jernigan Ctrm. Entered on 1/25/2021. (Okafor, M.)

                            1831 (2 pgs) Order granting motion to file exhibits under seal (related document # 1806)
   01/25/2021             Entered on 1/25/2021. (Okafor, M.)

                            1832 (6 pgs) Notice of hearing filed by Get Good Trust, The Dugaboy Investment Trust
                          (RE: related document(s)1745 Motion to appoint trusteeMotion to Appoint Examiner
                          Pursuant to 11 U.S.C. § 1104(c) Filed by Get Good Trust, The Dugaboy Investment Trust
                          (Attachments: # 1 Proposed Order)). Hearing to be held on 3/2/2021 at 01:30 PM Dallas
   01/25/2021             Judge Jernigan Ctrm for 1745, (Draper, Douglas)

                             1833 (3 pgs) Notice (Notice of Certificate of Service re: Letter Dated January 19, 2021 to
                          PCMG Trading Partners XXIII, L.P. from James P. Seery, Jr. re Highland Select Equity Fund,
   01/25/2021             L.P.) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            1834 (4 pgs) Certificate of service re: Notice Of Hearing filed by Get Good Trust, The
                          Dugaboy Investment Trust (RE: related document(s)1832 Notice of hearing). (Draper,
   01/25/2021             Douglas)

                            1835 (9 pgs; 2 docs) INCORRECT ENTRY: Attorney to refile. Motion to redact/restrict
                          Emergency Redact (related document(s):1822) (Fee Amount $26) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Proposed Order) (Annable, Zachery)
   01/25/2021             MODIFIED on 1/26/2021 (Ecker, C.).

                            Receipt of filing fee for Motion to Redact/Restrict From Public View(19-34054-sgj11)
                          [motion,mredact] ( 26.00). Receipt number 28441834, amount $ 26.00 (re: Doc# 1835). (U.S.
   01/25/2021             Treasury)

                            1836 (6 pgs; 2 docs) Motion to file document under seal. Emergency Motion to File
                          Competing Plan and Disclosure Statement Under Seal Filed by Interested Party NexPoint
   01/25/2021             Advisors, L.P. (Attachments: # 1 Proposed Order) (Rukavina, Davor)

   01/25/2021                1837 (7 pgs) Certificate of service re: 1) Notice of Hearing on Motion of the Debtor for
                          Entry of an Order Authorizing the Debtor to Implement a Key Employee Retention Plan with
                          Non-Insider Employees and Granting Relief; and 2) Order Granting Debtors Motion for an
                          Expedited Hearing on the Motion of the Debtor for Entry of an Order Authorizing the Debtor
                          to Implement a Key Employee Retention Plan with Non-Insider Employees and Granting
                          Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1783 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.383 295/439



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                          related document(s)1777 Motion for leave (Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Implement a Key Employee Retention Plan with Non-Insider
                          Employees and Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B-1 # 3 Exhibit B-2 # 4 Exhibit C)). Hearing to be
                          held on 1/26/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1777, filed by Debtor
                          Highland Capital Management, L.P., 1785 Order granting motion for expedited hearing
                          (Related Doc1778)(document set for hearing: 1777 Motion of the Debtor for Entry of an
                          Order Authorizing the Debtor to Implement a Key Employee Retention Plan with Non-
                          Insider Employees and Granting Related Relief)) Hearing to be held on 1/26/2021 at 09:30
                          AM Dallas Judge Jernigan Ctrm for 1777, Entered on 1/20/2021.). (Kass, Albert)

                            1838 (7 pgs; 2 docs) Notice (Notice of Settlement) filed by Debtor Highland Capital
   01/26/2021             Management, L.P.. (Attachments: # 1 Exhibit A--Settlement Agreement) (Annable, Zachery)

                              1839 (4 pgs) WITHDRAWN at # 1858. Notice to take deposition of Frank Waterhouse
                          filed by Interested Parties Highland Capital Management Fund Advisors, L.P., Highland
                          Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its series,
                          Highland Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland
                          Income Fund, Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund,
                          Highland Small-Cap Equity Fund, Highland Socially Responsible Equity Fund, Highland
                          Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint
                          Capital, Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund.
   01/26/2021             (Hogewood, A.) Modified on 1/29/2021 (Ecker, C.).

                             1840 (2 pgs) INCORRECT ENTRY: Attorney to refile. Motion to withdraw
                          documentNotice of Withdrawal of Limited Objection of Senior Employees By Frank
                          Waterhouse and Thomas Surgent Only (related document(s) 1669 Objection to confirmation
                          of plan) Filed by Creditor Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac
   01/26/2021             Leventon (Smith, Frances) MODIFIED on 1/27/2021 (Ecker, C.).

                             1841 (5 pgs) Certificate of service re: Notice of Withdrawal of Limited Objection of
                          Senior Employees By Frank Waterhouse and Thomas Surgent Only filed by Creditor Scott
                          Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon (RE: related
                          document(s)1840 Motion to withdraw documentNotice of Withdrawal of Limited Objection
                          of Senior Employees By Frank Waterhouse and Thomas Surgent Only (related document(s)
   01/26/2021             1669 Objection to confirmation of plan)). (Smith, Frances)

                            1842 (45 pgs) Application for compensation Fourteenth Monthly Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 12/1/2020 to 12/31/2020, Fee: $416,359.08,
                          Expenses: $5,403.36. Filed by Attorney Juliana Hoffman Objections due by 2/16/2021.
   01/26/2021             (Hoffman, Juliana)

                             1843 (2 pgs) Stipulation by Highland Capital Management, L.P. and Crescent TC
                          Investors, L.P.. filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1623 Motion to extend time to assume unexpired nonresidential real property
   01/26/2021             lease). (Hayward, Melissa)

   01/26/2021               1844 (32 pgs) Certificate of service re: Documents Served on January 21, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1788 Order granting
                          motion to compromise controversy with HarbourVest (Claim Nos. 143, 147, 149, 150, 153,
                          154) and authorizing actions consistent therewith (related document 1625) Entered on

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.384 296/439



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                          1/21/2021. (Okafor, M.), 1791 Notice (Notice of Withdrawal of Certain Executory Contracts
                          and Unexpired Leases from List of Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1648 Notice (Notice of (I) Executory
                          Contracts and Unexpired Leases to Be Assumed by the Debtor Pursuant to the Fifth
                          Amended Plan, (II) Cure Amounts, If Any, and (III) Related Procedures in Connection
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation))., 1719 Notice (Second Notice of (I)
                          Executory Contracts and Unexpired Leases to Be Assumed by the Debtor Pursuant to the
                          Fifth Amended Plan, (II) Cure Amounts, If Any, and (III) Related Procedures in Connection
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation))., 1749 Notice (Third Notice of (I)
                          Executory Contracts and Unexpired Leases to Be Assumed by the Debtor Pursuant to the
                          Fifth Amended Plan, (II) Cure Amounts, If Any, and (III) Related Procedures in Connection
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation)).). filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             1850 Hearing held on 1/26/2021. (RE: related document(s)1777 Motion for leave (Motion
                          of the Debtor for Entry of an Order Authorizing the Debtor to Implement a Key Employee
                          Retention Plan with Non-Insider Employees and Granting Related Relief) filed by Debtor
                          Highland Capital Management, L.P.) (Appearances: J. Pomeranz and J. Morris for Debtor;
                          M. Clemente for UCC; J. Kane for CLO Holdco; D. Rukavina and L. Hogewood for
                          Advisors and Funds; J. Wilson for J. Dondero. Evidentiary hearing. Motion granted. Counsel
   01/26/2021             to upload order.) (Edmond, Michael) (Entered: 01/27/2021)

                             1845 (2 pgs) Withdrawal of Limited Objection of Senior Employees By Frank Waterhouse
                          and Thomas Surgent Only filed by Creditor Scott Ellington, Thomas Surgent, Frank
                          Waterhouse, Isaac Leventon (RE: related document(s)1669 Objection to confirmation of
   01/27/2021             plan). (Smith, Frances)

                            1846 (3 pgs) Notice to take deposition of Isaac Leventon filed by Debtor Highland
   01/27/2021             Capital Management, L.P.. (Annable, Zachery)

   01/27/2021               1847 (7 pgs) Notice (Fourth Notice of (I) Executory Contracts and Unexpired Leases to
                          Be Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any,
                          and (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.385 297/439



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                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). (Annable,
                          Zachery)

                             1848 (80 pgs; 14 docs) Amended Motion to redact/restrict (related document(s):1835)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order # 2
                          Exhibit PPPP # 3 Exhibit QQQQ # 4 Exhibit RRRR # 5 Exhibit SSSS # 6 Exhibit TTTT # 7
                          Exhibit UUUU # 8 Exhibit VVVV # 9 Exhibit WWWW # 10 Exhibit XXXX # 11 Exhibit
   01/27/2021             YYYY # 12 Exhibit ZZZZ # 13 Exhibit DDDDDD) (Annable, Zachery)

                            1849 (2 pgs) Order Granting Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Implement a Key Employee Retention Plan with Non-Insider Employees and
   01/27/2021             Granting Related Relief (related document # 1777) Entered on 1/27/2021. (Okafor, M.)

                            1851 (1 pg) Order granting motion to seal documents (related document # 1836) Entered
   01/27/2021             on 1/27/2021. (Okafor, M.)

                            1852 (3 pgs) Order Granting Amended Emergency Motion to Redact Certain Exhibits
                          Attached to Debtors Witness and Exhibit List with Respect to Confirmation Hearing to Be
   01/27/2021             Held on February 2, 2021 (Related Doc # 1848) Entered on 1/27/2021. (Okafor, M.)

                             1853 (126 pgs) Application for compensation Sidley Austin LLP's Fourth Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 11/30/2020, Fee:
                          $1,620,489.60, Expenses: $8,974.00. Filed by Attorney Juliana Hoffman Objections due by
   01/27/2021             2/17/2021. (Hoffman, Juliana)

   01/27/2021                1854 (15 pgs) Certificate of service re: Documents Served on January 22, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1807 INCORRECT
                          EVENT: Attorney to refile. Notice (Debtor's Omnibus Reply to Objections to Confirmation
                          of the Fifth Amended Plan of Reorganization of Highland Capital Management L.P. (with
                          Technical Modifications) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1661 Objection to confirmation of plan (RE: related document(s)1472 Chapter
                          11 plan) filed by Interested Party James Dondero., 1662 Objection to confirmation of plan
                          (RE: related document(s)1472 Chapter 11 plan) filed by City of Richardson, Allen ISD, City
                          of Allen, Dallas County, Kaufman County., 1666 Objection to confirmation of plan (RE:
                          related document(s)1472 Chapter 11 plan) filed by Interested Parties Brad Borud, Jack Yang.,
                          1667 Objection to confirmation of planwith Certificate of Service (RE: related
                          document(s)1472 Chapter 11 plan) filed by Get Good Trust, The Dugaboy Investment Trust.,
                          1668 Objection to confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed
                          by Creditor United States (IRS)., 1669 Objection to confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan) filed by Creditor Scott Ellington, Thomas Surgent, Frank
                          Waterhouse, Isaac Leventon. (Attachments: # 1 Exhibit A # 2 Exhibit B), 1670 Objection to
                          confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed by Interested
                          Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund,
                          Highland Funds I and its series, Highland Funds II and its series, Highland Global Allocation
                          Fund, Highland Healthcare Opportunities Fund, Highland Income Fund, Highland Merger
                          Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund,
                          Highland Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                          Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate
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                          Strategies Fund, NexPoint Strategic Opportunities Fund. (Attachments: # 1 Exhibit A), 1673
                          Objection to confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed by
                          Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC., 1676 Objection to
                          confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed by Interested
                          Parties NexBank Title Inc., NexBank Securities Inc., NexBank Capital Inc., NexBank., 1678
                          Objection to confirmation of plan (RE: related document(s)1472 Chapter 11 plan) filed by
                          Creditor Patrick Daugherty.). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)
                          (Annable, Zachery) MODIFIED on 1/25/2021 (Ecker, C.). filed by Debtor Highland Capital
                          Management, L.P., 1808 Modified chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1472 Chapter 11 plan). filed by Debtor Highland
                          Capital Management, L.P., 1809 Support/supplemental document (Redline of Fifth Amended
                          Plan of Reorganization of Highland Capital Management, L.P. (as Modified) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1808 Chapter 11 plan). filed by
                          Debtor Highland Capital Management, L.P., 1811 NOTICE (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P. (as Modified) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1808 Chapter 11 plan). (Attachments: # 1 Exhibit Q # 2 Exhibit R # 3 Exhibit S
                          # 4 Exhibit T # 5 Exhibit U # 6 Exhibit V # 7 Exhibit W # 8 Exhibit X # 9 Exhibit Y # 10
                          Exhibit Z # 11 Exhibit AA # 12 Exhibit BB # 13 Exhibit CC # 14 Exhibit DD) (Annable,
                          Zachery) Modified text on 1/25/2021 (Ecker, C.). filed by Debtor Highland Capital
                          Management, L.P., 1814 Memorandum of Law in support of confirmation filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1808 Chapter 11 plan).
                          (Annable, Zachery) Modified on 1/25/2021 (Ecker, C.). filed by Debtor Highland Capital
                          Management, L.P., 1822 (REDACTED EXHIBITS ADDED 01/27/2021); Witness and
                          Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1808 Chapter 11 plan). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 List of 20
                          Largest Creditors C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                          Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15
                          Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18 Exhibit R # 19 Exhibit S # 20 Exhibit T # 21
                          Exhibit U # 22 Exhibit V # 23 List of 20 Largest Creditors W # 24 Exhibit X # 25 Exhibit Y
                          # 26 Exhibit Z # 27 Exhibit AA # 28 Exhibit BB # 29 Exhibit CC # 30 Exhibit DD # 31
                          Exhibit EE # 32 Exhibit FF # 33 Exhibit GG # 34 Exhibit HH # 35 Exhibit II # 36 Exhibit JJ
                          # 37 Exhibit KK # 38 Exhibit LL # 39 Exhibit MM # 40 Exhibit NN # 41 Exhibit OO # 42
                          Exhibit PP # 43 Exhibit QQ # 44 Exhibit RR # 45 Exhibit SS # 46 Exhibit TT # 47 Exhibit
                          UU # 48 Exhibit VV # 49 Exhibit WW # 50 Exhibit XX # 51 Exhibit YY # 52 Exhibit ZZ #
                          53 Exhibit AAA # 54 Exhibit BBB # 55 Exhibit CCC # 56 Exhibit DDD # 57 Exhibit EEE #
                          58 Exhibit FFF # 59 Exhibit GGG # 60 Exhibit HHH # 61 Exhibit III # 62 Exhibit JJJ # 63
                          Exhibit KKK # 64 Exhibit LLL # 65 Exhibit MMM # 66 Exhibit NNN # 67 Exhibit OOO #
                          68 Exhibit PPP # 69 Exhibit QQQ # 70 Exhibit RRR # 71 Exhibit SSS # 72 Exhibit TTT #
                          73 Exhibit UUU # 74 Exhibit VVV # 75 Exhibit WWW # 76 Exhibit XXX # 77 Exhibit
                          YYY # 78 Exhibit ZZZ # 79 Exhibit AAAA # 80 Exhibit BBBB # 81 Exhibit CCCC # 82
                          Exhibit DDDD # 83 Exhibit EEEE # 84 Exhibit FFFF # 85 Exhibit GGGG # 86 Exhibit
                          MMMM # 87 Exhibit NNNN # 88 Exhibit OOOO # 89 Exhibit PPPP # 90 Exhibit QQQQ #
                          91 Exhibit RRRR # 92 Exhibit SSSS # 93 Exhibit TTTT # 94 Exhibit UUUU # 95 Exhibit
                          VVVV # 96 Exhibit WWWW # 97 Exhibit XXXX # 98 Exhibit YYYY # 99 Exhibit ZZZZ #
                          100 Exhibit AAAAA # 101 Exhibit BBBBB # 102 Exhibit CCCCC # 103 Exhibit DDDDD #
                          104 Exhibit EEEEE # 105 Exhibit FFFFF # 106 Exhibit GGGGG # 107 Exhibit HHHHH #
                          108 Exhibit IIIII # 109 Exhibit JJJJJ # 110 Exhibit KKKKK # 111 Exhibit LLLLL # 112
                          Exhibit MMMMM # 113 Exhibit NNNNN # 114 Exhibit OOOOO # 115 Exhibit PPPPP #
                          116 Exhibit QQQQQ # 117 Exhibit RRRRR # 118 Exhibit SSSSS # 119 Exhibit TTTTT #
                          120 Exhibit UUUUU # 121 Exhibit VVVVV # 122 Exhibit WWWWW # 123 Exhibit
                          XXXXX # 124 Exhibit YYYYY # 125 Exhibit ZZZZZ # 126 Exhibit AAAAAA # 127
                          Exhibit BBBBBB # 128 Exhibit CCCCCC # 129 Exhibit DDDDDD # 130 Exhibit EEEEEE
                          # 131 Exhibit FFFFFF # 132 Exhibit GGGGGG # 133 Exhibit HHHHHH # 134 Exhibit
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                          IIIIII # 135 Exhibit JJJJJJ # 136 Exhibit KKKKKK # 137 Exhibit LLLLLL # 138 Exhibit
                          MMMMMM # 139 Exhibit NNNNNN # 140 Exhibit OOOOOO # 141 Exhibit PPPPPP #
                          142 Exhibit QQQQQQ # 143 Exhibit RRRRRR # 144 Exhibit SSSSSS # 145 Exhibit
                          TTTTTT # 146 Exhibit UUUUUU # 147 Exhibit VVVVVV # 148 Exhibit WWWWWW #
                          149 Exhibit XXXXXX # 150 Exhibit YYYYYY # 151 Exhibit ZZZZZZ) (Annable,
                          Zachery) Additional attachment(s) added on 1/27/2021 (Okafor, M.). Modified on 1/27/2021
                          (Okafor, M.). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1855 (3 pgs) Notice of Appearance and Request for Notice by Jeff P. Prostok filed by
   01/28/2021             Acis Capital Management GP, LLC, Acis Capital Management, L.P.. (Prostok, Jeff)

                            1856 (3 pgs) Notice of Appearance and Request for Notice by Suzanne K. Rosen filed by
   01/28/2021             Acis Capital Management GP, LLC, Acis Capital Management, L.P.. (Rosen, Suzanne)

                             1857 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1624 Motion to assume executory contract or unexpired lease Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Proposed
                          Order)). Hearing to be held on 2/2/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1624,
   01/28/2021             (Annable, Zachery)

                            1858 (4 pgs) Withdrawal of Notice of Deposition filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., Highland Fixed Income Fund, Highland Funds I
                          and its series, Highland Funds II and its series, Highland Global Allocation Fund, Highland
                          Healthcare Opportunities Fund, Highland Income Fund, Highland Merger Arbitrage Fund,
                          Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
                          Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF,
                          NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate Strategies Fund,
                          NexPoint Strategic Opportunities Fund (RE: related document(s)1839 Notice to take
   01/28/2021             deposition). (Hogewood, A.)

                            1859 SEALED document regarding: PLAN OF REORGANIZATION OF JAMES
                          DONDERO, NEXPOINT ADVISORS, L.P. per court order filed by Interested Parties
                          James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.
   01/28/2021             (RE: related document(s)1851 Order on motion to seal). (Rukavina, Davor)

                             1860 SEALED document regarding: DISCLOSURE STATEMENT IN SUPPORT
                          OF PLAN OF REORGANIZATION per court order filed by Interested Parties James
                          Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE:
   01/28/2021             related document(s)1851 Order on motion to seal). (Rukavina, Davor)

                              1861 (19 pgs) Certificate of service re: Documents Served on or Before January 25, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1824 Notice
                          to take deposition of James P. Seery, Jr. filed by Debtor Highland Capital Management, L.P..
                          filed by Debtor Highland Capital Management, L.P., 1827 Emergency Motion to continue
                          hearing on (related documents 1808 Chapter 11 plan) Filed by Debtor Highland Capital
                          Management, L.P. filed by Debtor Highland Capital Management, L.P., 1829 Notice (Notice
                          of Increase in Hourly Rates for Hayward PLLC (Formerly Hayward & Associates PLLC)
                          Effective as of January 1, 2021) filed by Other Professional Hayward & Associates PLLC.
                          filed by Other Professional Hayward & Associates PLLC, 1830 Order granting motion to
                          continue hearing on (related document 1827) (related documents Modified Chapter 11 plan)
                          Confirmation hearing to be held on 2/2/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
   01/28/2021             Entered on 1/25/2021. (Okafor, M.)). (Kass, Albert)

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   01/29/2021                1862 (257 pgs) Transcript regarding Hearing Held 01/26/2021 (257 pages) RE: KERP
                          Motion 1777. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE
                          TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 04/29/2021. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 1850 Hearing held on 1/26/2021. (RE: related
                          document(s)1777 Motion for leave (Motion of the Debtor for Entry of an Order Authorizing
                          the Debtor to Implement a Key Employee Retention Plan with Non-Insider Employees and
                          Granting Related Relief) filed by Debtor Highland Capital Management, L.P.) (Appearances:
                          J. Pomeranz and J. Morris for Debtor; M. Clemente for UCC; J. Kane for CLO Holdco; D.
                          Rukavina and L. Hogewood for Advisors and Funds; J. Wilson for J. Dondero. Evidentiary
                          hearing. Motion granted. Counsel to upload order.)). Transcript to be made available to the
                          public on 04/29/2021. (Rehling, Kathy)

                             1863 (8920 pgs; 83 docs) Amended Witness and Exhibit List of Funds and Advisors filed
                          by Interested Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed
                          Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
                          Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland Income Fund,
                          Highland Merger Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap
                          Equity Fund, Highland Socially Responsible Equity Fund, Highland Total Return Fund,
                          Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint
                          Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund (RE: related
                          document(s)1793 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 #
                          3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9
                          # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                          Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 #
                          27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit
                          32 # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
                          Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 #
                          44 Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit
                          49 # 50 Exhibit 50 # 51 Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53 # 54 Exhibit 54 # 55
                          Exhibit 55 # 56 Exhibit 56 # 57 Exhibit 57 # 58 Exhibit 58 # 59 Exhibit 59 # 60 Exhibit 60 #
                          61 Exhibit 61 # 62 Exhibit 62 # 63 Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65 # 66 Exhibit
                          66 # 67 Exhibit 67 # 68 Exhibit 68 # 69 Exhibit 69 # 70 Exhibit 70 # 71 Exhibit 71 # 72
                          Exhibit 72 # 73 Exhibit 73 # 74 Exhibit 74 # 75 Exhibit 75 # 76 Exhibit 76 # 77 Exhibit 77 #
                          78 Exhibit 78 # 79 Exhibit 79 # 80 Exhibit 80 # 81 Exhibit 81 # 82 Exhibit 82) (Hogewood,
   01/29/2021             A.)

                             1864 (47 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from November 1, 2020 through November 30, 2020) filed by
                          Other Professional Development Specialists, Inc. (RE: related document(s)853 Order
                          granting application to employ Development Specialists, Inc. as Other Professional (related
   01/29/2021             document 775) Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

                             1865 (49 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from December 1, 2020 through December 31, 2020) filed by
                          Other Professional Development Specialists, Inc. (RE: related document(s)853 Order
                          granting application to employ Development Specialists, Inc. as Other Professional (related
   01/29/2021             document 775) Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

   01/29/2021                 1866 (87 pgs; 7 docs) Amended Witness and Exhibit List (Debtor's Amended Witness and
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.389 301/439



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                          Exhibit List with Respect to Confirmation Hearing to Be Held on February 2, 2021) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1822 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit SSSSS # 2 Exhibit AAAAAAA # 3
                          Exhibit BBBBBBB # 4 Exhibit CCCCCCC # 5 Exhibit DDDDDDD # 6 Exhibit EEEEEEE)
                          (Annable, Zachery)

                             1867 (23 pgs) Certificate of service re: 1) Notice of Settlement; 2) Fourteenth Monthly
                          Application of Sidley Austin LLP for Allowance of Compensation and Reimbursement of
                          Expenses for the Period from December 1, 2020 Through December 31, 2020; and 3)
                          Stipulation Extending Deadline to Assume Lease and Setting Motion to Assume for Hearing
                          at Confirmation Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1838 Notice (Notice of Settlement) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A--Settlement Agreement) filed by Debtor
                          Highland Capital Management, L.P., 1842 Application for compensation Fourteenth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2020 to 12/31/2020, Fee:
                          $416,359.08, Expenses: $5,403.36. Filed by Attorney Juliana Hoffman Objections due by
                          2/16/2021. filed by Creditor Committee Official Committee of Unsecured Creditors, 1843
                          Stipulation by Highland Capital Management, L.P. and Crescent TC Investors, L.P.. filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1623 Motion to extend
                          time to assume unexpired nonresidential real property lease). filed by Debtor Highland
   01/29/2021             Capital Management, L.P.). (Kass, Albert)

   02/01/2021                   Adversary case 3:20-ap-3128 closed (Ecker, C.)

                            1868 (22 pgs) Supplemental Objection to confirmation of plan with Certificate of Service
                          (RE: related document(s)1472 Chapter 11 plan, 1808 Chapter 11 plan) filed by Get Good
   02/01/2021             Trust, The Dugaboy Investment Trust. (Draper, Douglas)

                            1869 (3 pgs) Certificate of service re: Monthly Staffing Reports by Development
                          Specialists, Inc. filed by Debtor Highland Capital Management, L.P. (RE: related
   02/01/2021             document(s)1864 Notice (generic), 1865 Notice (generic)). (Annable, Zachery)

                            1870 (4 pgs) Notice of appeal and Statement of Election. Fee Amount $298 filed by Get
                          Good Trust, The Dugaboy Investment Trust. Appellant Designation due by 02/16/2021.
                          (Draper, Douglas). Related document(s) 1788 Order on motion to compromise controversy.
   02/01/2021             Modified LINKAGE on 2/4/2021 (Blanco, J.).

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   02/01/2021             Receipt number 28458158, amount $ 298.00 (re: Doc# 1870). (U.S. Treasury)

                              1871 (7 pgs) Reply to (related document(s): 1784 Objection filed by Interested Party
                          James Dondero) (Debtor's Reply to James Dondero's Objection to Debtor's Proposed
                          Assumption of Executory Contracts and Cure Amounts Proposed in Connection Therewith)
   02/01/2021             filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

   02/01/2021               1872 SEALED document regarding: Exhibit 76 per court order filed by Interested
                          Parties Highland Capital Management Fund Advisors, L.P., Highland Fixed Income Fund,
                          Highland Funds I and its series, Highland Funds II and its series, Highland Global Allocation
                          Fund, Highland Healthcare Opportunities Fund, Highland Income Fund, Highland Merger
                          Arbitrage Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund,
                          Highland Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
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                          Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real Estate
                          Strategies Fund, NexPoint Strategic Opportunities Fund (RE: related document(s)1831 Order
                          on motion to seal). (Attachments: # 1 Exhibit 77 # 2 Exhibit 78 # 3 Exhibit 79 # 4 Exhibit 80
                          # 5 Exhibit 81 # 6 Exhibit 82) (Vasek, Julian)

                             1873 (6 pgs) Notice (Fifth Notice of (I) Executory Contracts and Unexpired Leases to Be
                          Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and
                          (III) Related Procedures in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1606 Support/supplemental document (Debtor's
                          Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1472 Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of
                          Contracts and Leases to Be Assumed # 2 Exhibit J--Amended Form of Senior Employee
                          Stipulation # 3 Exhibit K--Redline of Form of Senior Employee Stipulation)). (Annable,
   02/01/2021             Zachery)

                             1874 (970 pgs; 21 docs) Amended Witness and Exhibit List filed by Interested Party
                          James Dondero (RE: related document(s)1795 List (witness/exhibit/generic)). (Attachments:
                          # 1 Dondero Ex. 1 # 2 Dondero Ex. 2 # 3 Dondero Ex. 3 # 4 Dondero Ex. 4 # 5 Dondero Ex.
                          5 # 6 Dondero Ex. 6 # 7 Dondero Ex. 7 # 8 Dondero Ex. 8 # 9 Dondero Ex. 9 # 10 Dondero
                          Ex. 10 # 11 Dondero Ex. 11 # 12 Dondero Ex. 12 # 13 Dondero Ex. 13 # 14 Dondero Ex. 14
                          # 15 Dondero Ex. 15 # 16 Dondero Ex. 16 # 17 Dondero Ex. 17 # 18 Dondero Ex. 18 # 19
   02/01/2021             Dondero Ex. 19 # 20 Dondero Ex. 20) (Assink, Bryan)

                             1875 (48 pgs; 6 docs) Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P. (as Modified)) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1808 Chapter 11 plan). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
   02/01/2021             DD # 4 Exhibit EE # 5 Exhibit FF) (Annable, Zachery)

                            1876 (2 pgs) Withdrawal (Notice of Withdrawal of Document) filed by Interested Party
   02/01/2021             James Dondero (RE: related document(s)1784 Objection). (Assink, Bryan)

                             1877 (863 pgs; 15 docs) Amended Witness and Exhibit List (Debtor's Second Amended
                          Witness and Exhibit List with Respect to Confirmation Hearing to Be Held on February 2,
                          2021) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1822 List
                          (witness/exhibit/generic), 1866 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit
                          SSSSS # 2 Exhibit DDDDDD # 3 Exhibit FFFFFFF # 4 Exhibit GGGGGGG # 5 Exhibit
                          HHHHHHH # 6 Exhibit IIIIIII # 7 Exhibit JJJJJJJ # 8 Exhibit KKKKKKK # 9 Exhibit
                          LLLLLLL # 10 Exhibit MMMMMMM # 11 Exhibit NNNNNNN # 12 Exhibit OOOOOOO
   02/01/2021             # 13 Exhibit PPPPPPP # 14 Exhibit QQQQQQQ) (Annable, Zachery)

                             1878 (23 pgs; 3 docs) Motion to compel an Order Requiring James D. Dondero to
                          Preserve Documents and to Identify Measures Taken to Ensure Document Preservation. Filed
                          by Creditor Committee Official Committee of Unsecured Creditors (Attachments: # 1
   02/01/2021             Proposed Order Exhibit A # 2 Exhibit Exhibit B) (Montgomery, Paige)

   02/01/2021               1879 (20 pgs) Certificate of service re: Documents Served on January 27, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1846 Notice to take
                          deposition of Isaac Leventon filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 1847 Notice (Fourth Notice of (I) Executory
                          Contracts and Unexpired Leases to Be Assumed by the Debtor Pursuant to the Fifth

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                          Amended Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                          Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation)). filed by Debtor Highland Capital
                          Management, L.P., 1849 Order Granting Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Implement a Key Employee Retention Plan with Non-Insider
                          Employees and Granting Related Relief (related document 1777) Entered on 1/27/2021.
                          (Okafor, M.), 1852 Order Granting Amended Emergency Motion to Redact Certain Exhibits
                          Attached to Debtors Witness and Exhibit List with Respect to Confirmation Hearing to Be
                          Held on February 2, 2021 (Related Doc 1848) Entered on 1/27/2021. (Okafor, M.)). (Kass,
                          Albert)

                             1880 (6 pgs) Response opposed to (related document(s): 1868 Objection to confirmation
                          of plan filed by Creditor The Dugaboy Investment Trust, Creditor Get Good Trust) filed by
   02/01/2021             Creditor Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)

                            1881 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1655 Application for compensation Fourth Interim Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   02/01/2021             Period: 9/1/2020 to 11/30/2020, Fee: $710,280.45, Expenses: $1,479.47.). (Hoffman, Juliana)

                            1882 (1 pg) Clerk's correspondence requesting File an amended appeal from attorney for
                          appellant. (RE: related document(s)1870 Notice of appeal and Statement of Election. Fee
                          Amount $298 filed by Get Good Trust, The Dugaboy Investment Trust. Appellant
   02/02/2021             Designation due by 02/16/2021.) Responses due by 2/5/2021. (Blanco, J.)

                             1884 (1 pg) Request for transcript regarding a hearing held on 2/2/2021. The requested
   02/02/2021             turn-around time is hourly. (Edmond, Michael)

                             1885 Hearing continued (RE: related document(s)1808 Modified chapter 11 plan filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1472 Chapter 11 plan).)
                          Continued Confirmation hearing to be held on 2/3/2021 at 09:30 AM at Dallas Judge
   02/02/2021             Jernigan Ctrm. (Edmond, Michael)

                              1886 (32 pgs) Certificate of service re: Documents Served on or Before January 28, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1853
                          Application for compensation Sidley Austin LLP's Fourth Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 11/30/2020, Fee: $1,620,489.60,
                          Expenses: $8,974.00. Filed by Attorney Juliana Hoffman Objections due by 2/17/2021. filed
                          by Creditor Committee Official Committee of Unsecured Creditors, 1857 Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1624 Motion to
                          assume executory contract or unexpired lease Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Proposed Order)). Hearing to be held on
                          2/2/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1624, filed by Debtor Highland
   02/02/2021             Capital Management, L.P.). (Kass, Albert)

   02/02/2021                 1921 Hearing held on 2/2/2021. (RE: related document(s)1624 Motion to assume

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                          executory contract or unexpired lease Filed by Debtor Highland Capital Management, L.P.,
                          (Appearances: J. Pomeranz, J. Morris, I. Kharesh, and G. Demo for Debtor; M. Clemente for
                          UCC; T. Mascherin for Redeemer Committee; R. Patel for Acis; A. Clubock for UBS; J.
                          Kathman for P. Daugherty; E. Weisgerber for HarbourVest; C. Taylor for J. Dondero; D.
                          Rukavina and A. Hogewood for Advisors and Funds; D. Draper for Dugaboy and Get Good
                          Trusts; L. Drawhorn for NexBank; M. Held for Crescent landlord. L. Lambert for UST.
                          Matter not taken up in light of all-day confirmation hearing.) (Edmond, Michael) (Entered:
                          02/09/2021)

                              1922 Hearing held on 2/2/2021. (RE: related document(s)1808 Modified chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472 Chapter
                          11 plan). (Appearances: J. Pomeranz, J. Morris, I. Kharesh, and G. Demo for Debtor; M.
                          Clemente for UCC; T. Mascherin for Redeemer Committee; R. Patel for Acis; A. Clubock for
                          UBS; J. Kathman for P. Daugherty; E. Weisgerber for HarbourVest; C. Taylor for J. Dondero;
                          D. Rukavina and A. Hogewood for Advisors and Funds; D. Draper for Dugaboy and Get
                          Good Trusts; L. Drawhorn for NexBank; M. Held for Crescent landlord. L. Lambert for UST.
                          Evidentiary hearing. Hearing recessed and will resume on 2/3/21.) (Edmond, Michael)
   02/02/2021             (Entered: 02/09/2021)

                             1887 (7 pgs) Chapter 11 ballot summary filed by Debtor Highland Capital Management,
   02/03/2021             L.P.. (Annable, Zachery)

                            1888 (6 pgs) Application for administrative expenses Filed by Interested Parties
                          NexBank, NexBank Capital Inc., NexBank Securities Inc., NexBank Title Inc. (Drawhorn,
   02/03/2021             Lauren)

                             1889 (4 pgs) Amended notice of appeal filed by Get Good Trust, The Dugaboy
   02/03/2021             Investment Trust (RE: related document(s)1870 Notice of appeal). (Draper, Douglas)

                             1890 (1 pg) Request for transcript regarding a hearing held on 2/3/2021. The requested
   02/03/2021             turn-around time is hourly. (Edmond, Michael)

                             1891 (15 pgs) Certificate of service re: Supplemental Certification of Patrick M. Leathem
                          with Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                          Highland Capital Management, L.P. Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)1887 Chapter 11 ballot summary filed by Debtor Highland Capital
   02/03/2021             Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   02/03/2021               1892 (15 pgs) Certificate of service re: 1) Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from November 1, 2020 Through November 30,
                          2020; 2) Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for the
                          Period from December 1, 2020 Through December 31, 2020; and 3) Debtor's Amended
                          Witness and Exhibit List with Respect to Confirmation Hearing to Be Held on February 2,
                          2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1864
                          Notice (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for the
                          Period from November 1, 2020 through November 30, 2020) filed by Other Professional
                          Development Specialists, Inc. (RE: related document(s)853 Order granting application to
                          employ Development Specialists, Inc. as Other Professional (related document 775) Entered
                          on 7/16/2020. (Ecker, C.)). filed by Other Professional Development Specialists, Inc., 1865
                          Notice (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for the
                          Period from December 1, 2020 through December 31, 2020) filed by Other Professional
                          Development Specialists, Inc. (RE: related document(s)853 Order granting application to

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                          employ Development Specialists, Inc. as Other Professional (related document 775) Entered
                          on 7/16/2020. (Ecker, C.)). filed by Other Professional Development Specialists, Inc., 1866
                          Amended Witness and Exhibit List (Debtor's Amended Witness and Exhibit List with Respect
                          to Confirmation Hearing to Be Held on February 2, 2021) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1822 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit SSSSS # 2 Exhibit AAAAAAA # 3 Exhibit BBBBBBB # 4
                          Exhibit CCCCCCC # 5 Exhibit DDDDDDD # 6 Exhibit EEEEEEE) filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                             1893 (20 pgs) Certificate of service re: Documents Served on February 1, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1871 Reply to (related
                          document(s): 1784 Objection filed by Interested Party James Dondero) (Debtor's Reply to
                          James Dondero's Objection to Debtor's Proposed Assumption of Executory Contracts and
                          Cure Amounts Proposed in Connection Therewith) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 1873 Notice (Fifth
                          Notice of (I) Executory Contracts and Unexpired Leases to Be Assumed by the Debtor
                          Pursuant to the Fifth Amended Plan, (II) Cure Amounts, If Any, and (III) Related Procedures
                          in Connection Therewith) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1606 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan). (Attachments: # 1 Exhibit I--Schedule of Contracts and Leases to Be
                          Assumed # 2 Exhibit J--Amended Form of Senior Employee Stipulation # 3 Exhibit K--
                          Redline of Form of Senior Employee Stipulation)). filed by Debtor Highland Capital
                          Management, L.P., 1875 Support/supplemental document (Debtor's Notice of Filing of Plan
                          Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management,
                          L.P. (as Modified)) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1808 Chapter 11 plan). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
                          DD # 4 Exhibit EE # 5 Exhibit FF) filed by Debtor Highland Capital Management, L.P., 1877
                          Amended Witness and Exhibit List (Debtor's Second Amended Witness and Exhibit List with
                          Respect to Confirmation Hearing to Be Held on February 2, 2021) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1822 List (witness/exhibit/generic), 1866
                          List (witness/exhibit/generic)). (Attachments: # 1 Exhibit SSSSS # 2 Exhibit DDDDDD # 3
                          Exhibit FFFFFFF # 4 Exhibit GGGGGGG # 5 Exhibit HHHHHHH # 6 Exhibit IIIIIII # 7
                          Exhibit JJJJJJJ # 8 Exhibit KKKKKKK # 9 Exhibit LLLLLLL # 10 Exhibit MMMMMMM
                          # 11 Exhibit NNNNNNN # 12 Exhibit OOOOOOO # 13 Exhibit PPPPPPP # 14 Exhibit
   02/03/2021             QQQQQQQ) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1902 Bench Ruling set (RE: related document(s)1808 Modified chapter 11 plan filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1472 Chapter 11 plan).)
                          Hearing to be held on 2/8/2021 at 09:00 AM Dallas Judge Jernigan Ctrm for 1808, (Ellison,
   02/03/2021             T.) (Entered: 02/05/2021)

                             1915 (1 pg) Court admitted exhibits date of hearing February 3, 2021 (RE: related
                          document(s)1808 Modified chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1472 Chapter 11 plan).) (COURT ADMITTED ALL THE
                          DEBTOR'S EXHIBIT'S THAT APPEAR AT DOC. #1822, #1866 & #1877 & DONDERO'S
                          EXHIBITS #6 THROUGH #12, #15, 16 & #17; & HIGHLAND CAPTIAL MGMT.
                          FUNDING EXHIBIT #2 AT DOC. #1863 AND JUDGE JERNIGAN TOOK JUDICIAL
   02/03/2021             NOTICE OF THE DEBTOR'S SCHEDULES) (Edmond, Michael) (Entered: 02/08/2021)

   02/03/2021                 1923 Hearing held on 2/3/2021. (RE: related document(s)1808 Modified chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472 Chapter
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                          11 plan) (Appearances: J. Pomeranz, J. Morris, I. Kharesh, and G. Demo for Debtor; M.
                          Clemente for UCC; T. Mascherin for Redeemer Committee; R. Patel for Acis; A. Clubock for
                          UBS; J. Kathman for P. Daugherty; E. Weisgerber for HarbourVest; C. Taylor for J. Dondero;
                          D. Rukavina and A. Hogewood for Advisors and Funds; D. Draper for Dugaboy and Get
                          Good Trusts; L. Drawhorn for NexBank and NexPoint; L. Lambert for UST. Evidentiary
                          hearing. Court took matter under advisement after conclusion of evidence and arguments.
                          Bench ruling scheduled for 2/8/21 at 9:00 am.) (Edmond, Michael) (Entered: 02/09/2021)

                             1894 (295 pgs) Transcript regarding Hearing Held 02/02/2021 (295 pages) RE:
                          Confirmation Hearing, Day One (#1808); Motion to Assume (#1624). THIS TRANSCRIPT
                          WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
                          DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 05/5/2021.
                          Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained
                          from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1885 Hearing continued (RE: related document(s)1808 Modified chapter 11
                          plan filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan).) Continued Confirmation hearing to be held on 2/3/2021 at 09:30 AM at
                          Dallas Judge Jernigan Ctrm.). Transcript to be made available to the public on 05/5/2021.
   02/04/2021             (Rehling, Kathy)

                              1895 (324 pgs; 6 docs) Amended Witness and Exhibit List (Debtor's Third Amended
                          Witness and Exhibit List with Respect to Confirmation Hearing Held on February 3, 2021)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1877 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit PPPPPPP # 2 Exhibit RRRRRRR # 3
   02/04/2021             Exhibit SSSSSSS # 4 Exhibit TTTTTTT # 5 Exhibit UUUUUUU) (Annable, Zachery)

                             1896 (2 pgs) Stipulation by Highland Capital Management, L.P. and Crescent TC
                          Investors, L.P.. filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1623 Motion to extend time to assume unexpired nonresidential real property
   02/04/2021             lease). (Hayward, Melissa)

                            1898 (7 pgs) Notice to take deposition of NexPoint Real Estate Partners, LLC f/k/a
                          HCRE Partners, LLC filed by Debtor Highland Capital Management, L.P.. (Annable,
   02/05/2021             Zachery)

                             1899 (3 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-CV-00261-
                          L (Lindsay). (RE: related document(s)1870 Notice of appeal filed by Get Good Trust, The
                          Dugaboy Investment Trust. (Draper, Douglas). Related document(s) 1788 Order on motion to
                          compromise controversy. Modified LINKAGE on 2/4/2021 (Blanco, J.)., 1889 Amended
                          notice of appeal filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
   02/05/2021             document(s)1870 Notice of appeal).) (Blanco, J.)

                             1900 (12 pgs; 4 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1889 Amended notice of appeal filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)1870 Notice of appeal).) (Blanco, J.) Additional
   02/05/2021             attachment(s) added on 2/5/2021 (Blanco, J.).

                            1901 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1870 Notice of appeal filed by Get Good Trust, The
                          Dugaboy Investment Trust. Related document(s) 1788 Order on motion to compromise
   02/05/2021             controversy. Modified LINKAGE on 2/4/2021 (Blanco, J.).) (Blanco, J.)

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   02/05/2021                1903 (2 pgs) Order approving stipulation extending deadline to assume lease and setting
                          motion to assume for hearing oat confirmation, which is currently set for February 2, 2021 at
                          9:30 a.m (RE: related document(s)1843 Stipulation filed by Debtor Highland Capital
                          Management, L.P.). Entered on 2/5/2021 (Okafor, M.)

                             1904 (2 pgs) Order approving second stipulation extending deadline to assume lease and
                          setting motion to assume for hearing at confirmation (RE: related document(s)1896
                          Stipulation filed by Debtor Highland Capital Management, L.P.). Entered on 2/5/2021
   02/05/2021             (Okafor, M.)

                             1905 (257 pgs) Transcript regarding Hearing Held 02/03/2021 (257 pages) RE:
                          Confirmation Hearing, Day Two (#1808); Motion to Assume (#1624). THIS TRANSCRIPT
                          WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
                          DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 05/6/2021.
                          Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained
                          from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 1885 Hearing continued (RE: related document(s)1808 Modified chapter 11
                          plan filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472
                          Chapter 11 plan).) Continued Confirmation hearing to be held on 2/3/2021 at 09:30 AM at
                          Dallas Judge Jernigan Ctrm.). Transcript to be made available to the public on 05/6/2021.
   02/05/2021             (Rehling, Kathy)

                             1906 (12 pgs) Certificate of service re: Official Committee of Unsecured Creditors'
                          Motion for an Order Requiring James D. Dondero to Preserve Documents and to Identify
                          Measures Taken to Ensure Document Preservation Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1878 Motion to compel an Order Requiring James D.
                          Dondero to Preserve Documents and to Identify Measures Taken to Ensure Document
                          Preservation. Filed by Creditor Committee Official Committee of Unsecured Creditors
                          (Attachments: # 1 Proposed Order Exhibit A # 2 Exhibit Exhibit B) filed by Creditor
   02/05/2021             Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             1907 (12 pgs) Certificate of service re: Response of the Official Committee of Unsecured
                          Creditors to Supplemental Objection to Fifth Amended Plan of Reorganization of Highland
                          Capital Management, L.P. (as Modified) Filed by the Dugaboy Investment Trust and Get
                          Good Trust Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1880 Response opposed to (related document(s): 1868 Objection to confirmation
                          of plan filed by Creditor The Dugaboy Investment Trust, Creditor Get Good Trust) filed by
                          Creditor Committee Official Committee of Unsecured Creditors. filed by Creditor Committee
   02/05/2021             Official Committee of Unsecured Creditors). (Kass, Albert)

                             1908 (24 pgs) Certificate of service re: Documents Served on February 4, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1895 Amended
                          Witness and Exhibit List (Debtor's Third Amended Witness and Exhibit List with Respect to
                          Confirmation Hearing Held on February 3, 2021) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1877 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit PPPPPPP # 2 Exhibit RRRRRRR # 3 Exhibit SSSSSSS # 4
                          Exhibit TTTTTTT # 5 Exhibit UUUUUUU) filed by Debtor Highland Capital Management,
                          L.P., 1896 Stipulation by Highland Capital Management, L.P. and Crescent TC Investors,
                          L.P.. filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1623
                          Motion to extend time to assume unexpired nonresidential real property lease). filed by
   02/05/2021             Debtor Highland Capital Management, L.P.). (Kass, Albert)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.396 308/439



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   02/05/2021                1909 (5 pgs) Certificate of service re: (Supplemental) Solicitation Materials Served on
                          February 1, 2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1630 Certificate of service re: Solicitation Materials Served on or Before
                          December 2, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1472 Amended chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)944 Chapter 11 plan, 1079 Chapter 11 plan, 1287 Chapter 11
                          plan, 1383 Chapter 11 plan, 1450 Chapter 11 plan). filed by Debtor Highland Capital
                          Management, L.P., 1473 Amended disclosure statement filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)945 Disclosure statement, 1080 Disclosure
                          statement, 1289 Disclosure statement, 1384 Disclosure statement, 1453 Disclosure
                          statement). filed by Debtor Highland Capital Management, L.P., 1476 Order approving
                          disclosure statement and setting hearing on confirmation of plan (RE: related
                          document(s)1472 Chapter 11 plan filed by Debtor Highland Capital Management, L.P. and
                          1473 Amended disclosure statement filed by Debtor Highland Capital Management, L.P. ).
                          Confirmation hearing to be held on 1/13/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          Last day to Object to Confirmation 1/5/2021. Ballots due 1/5/2021. Entered on 11/24/2020
                          (Okafor, M.)). filed by Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                            1910 (9 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)1870 Notice of
                          appeal, 1889 Amended notice of appeal, 1899 Notice of docketing notice of appeal/record,
                          1900 Certificate of mailing regarding appeal, 1901 Notice regarding the record for a
   02/06/2021             bankruptcy appeal). Appellee designation due by 02/22/2021. (Draper, Douglas)

                             1911 (2 pgs) Statement of issues on appeal, filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)1870 Notice of appeal, 1889 Amended notice of
                          appeal, 1899 Notice of docketing notice of appeal/record, 1901 Notice regarding the record
   02/06/2021             for a bankruptcy appeal, 1910 Appellant designation). (Draper, Douglas)

                             1912 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          appellant. (RE: related document(s)1910 Appellant designation of contents for inclusion in
   02/08/2021             record on appeal) Responses due by 2/10/2021. (Blanco, J.)

                             1913 (1 pg) Request for transcript (ruling only) regarding a hearing held on 2/8/2021. The
   02/08/2021             requested turn-around time is hourly. (Edmond, Michael)

                            1914 (4 pgs; 2 docs) Motion for leave (Motion for Status Conference) Filed by Interested
   02/08/2021             Party James Dondero (Attachments: # 1 Proposed Order) (Assink, Bryan)

                              1924 Hearing held on 2/8/2021. (RE: related document(s)1808 Modified chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1472 Chapter
                          11 plan). (Appearances: J. Pomeranz; M. Clemente for UCC; M. Lynn, J. Bonds, and B.
                          Assink for J. Dondero; D. Rukavina and L. Hogewood for Advisors and Funds; D. Draper for
                          Dugaboy and Get Good Trusts; L. Lambert for UST (numerous others; full roll call not
                          taken). Court read bench ruling approving plan. Counsel to incorporate courts bench ruling
                          into their own set of FOFs, COLS and Order to be submitted.) (Edmond, Michael) (Entered:
   02/08/2021             02/09/2021)

   02/09/2021               1916 (8 pgs; 2 docs) Notice of hearing (Status Conference) filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
                          document(s)1826 Application for administrative expenses Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (Attachments: #
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.397 309/439



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                          1 Service List)). Status Conference to be held on 3/22/2021 at 09:30 AM at Dallas Judge
                          Jernigan Ctrm. (Attachments: # 1 Service List) (Vasek, Julian)

                             1917 (51 pgs) Transcript regarding Hearing Held 02/08/2021 (51 pages) RE: Bench
                          Ruling. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO
                          THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 05/10/2021. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 1902 Bench Ruling set (RE: related
                          document(s)1808 Modified chapter 11 plan filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1472 Chapter 11 plan).) Hearing to be held on 2/8/2021 at
                          09:00 AM Dallas Judge Jernigan Ctrm for 1808, (Ellison, T.)). Transcript to be made
   02/09/2021             available to the public on 05/10/2021. (Rehling, Kathy)

                            1918 (7 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   02/09/2021             Capital Management, L.P.. (Annable, Zachery)

                            1919 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to December 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   02/09/2021             Zachery)

                             1920 (16 pgs) Certificate of service re: 1) Debtors Notice of Rule 30(b)(6) Deposition to
                          NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC; 2) Order Approving
                          Stipulation Extending Deadline to Assume Lease and Setting Motion to Assume for Hearing
                          at Confirmation; and 3) Order Approving Second Stipulation Extending Deadline to Assume
                          Lease and Setting Motion to Assume for Hearing at Confirmation Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1898 Notice to take deposition of
                          NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P., 1903 Order
                          approving stipulation extending deadline to assume lease and setting motion to assume for
                          hearing oat confirmation, which is currently set for February 2, 2021 at 9:30 a.m (RE: related
                          document(s)1843 Stipulation filed by Debtor Highland Capital Management, L.P.). Entered
                          on 2/5/2021 (Okafor, M.), 1904 Order approving second stipulation extending deadline to
                          assume lease and setting motion to assume for hearing at confirmation (RE: related
                          document(s)1896 Stipulation filed by Debtor Highland Capital Management, L.P.). Entered
   02/09/2021             on 2/5/2021 (Okafor, M.)). (Kass, Albert)

                             1925 (35 pgs) Application for compensation First Monthly Fee Application for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 11/1/2020 to 12/31/2020, Fee: $73121.04,
                          Expenses: $10.35. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections due by
   02/09/2021             3/2/2021. (Hesse, Gregory)

   02/10/2021                1926 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1771 Application for compensation Fifteenth Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.398 310/439



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                          December 1, 2020 through December 31, 2020 for Jeffrey Nathan Pomerantz, Debtor's
                          Attorney, Period: 12/1/2020 to). (Pomerantz, Jeffrey)

                             1927 (26 pgs) Application for compensation Fourteenth Application of FTI Consulting,
                          Inc. for Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Financial Advisor, Period: 12/1/2020 to 12/31/2020, Fee: $239,297.76, Expenses:
   02/10/2021             $0. Filed by Attorney Juliana Hoffman Objections due by 3/3/2021. (Hoffman, Juliana)

                              1928 (9 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          filed by Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)1910
   02/10/2021             Appellant designation). (Draper, Douglas)

                            1929 (1 pg) Order denying motion for status conference (related document # 1914)
   02/11/2021             Entered on 2/11/2021. (Ecker, C.)

                            1930 (3 pgs; 2 docs) Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 2 Transferors: Stanton Law Firm PC (Claim No. 163, Amount
                          $88,133.99) To Cedar Glade LP. Filed by Creditor Cedar Glade LP. (Attachments: # 1
   02/11/2021             Evidence of Transfer) (Tanabe, Kesha)

                            1931 (3 pgs) Agreed Order granting motion to assume nonresidential real property lease
                          with Crescent TC Investors, L.P. (related document # 1624) Entered on 2/12/2021. (Okafor,
   02/12/2021             M.)

                             1932 (13 pgs) Certificate of service re: 1) Debtors Notice of Deposition to James Dondero
                          in Connection with Debtors Objection to Proof of Claim Filed by HCRE Partners, LLC; and
                          2) Notice of Statement of Amounts Paid to Ordinary Course Processionals for the Period
                          from October 16, 2019 to December 31, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1918 Notice to take deposition of James Dondero filed
                          by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P., 1919 Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to December 31, 2020) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
   02/12/2021             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28493529, amount $ 26.00 (re: Doc# 1930). (U.S.
   02/13/2021             Treasury)

                             1933 (5 pgs) Agreed Motion to continue hearing on (related documents 1826 Application
                          for administrative expenses) Filed by Interested Parties Highland Capital Management Fund
   02/16/2021             Advisors, L.P., NexPoint Advisors, L.P. (Hogewood, A.)

   02/16/2021                1934 (5 pgs) Certificate of service re: Fourteenth Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          December 1, 2020 to and Including December 31, 2020 Filed by Claims Agent Kurtzman
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.399 311/439



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                          Carson Consultants LLC (related document(s)1927 Application for compensation Fourteenth
                          Application of FTI Consulting, Inc. for Compensation and Reimbursement of Expenses for
                          Official Committee of Unsecured Creditors, Financial Advisor, Period: 12/1/2020 to
                          12/31/2020, Fee: $239,297.76, Expenses: $0. Filed by Attorney Juliana Hoffman Objections
                          due by 3/3/2021. filed by Creditor Committee Official Committee of Unsecured Creditors).
                          (Kass, Albert)

                             1935 (88 pgs; 12 docs) Adversary case 21-03010. Complaint by Highland Capital
                          Management, L.P. against Highland Capital Management Fund Advisors, L.P., NexPoint
                          Advisors, L.P.. Fee Amount $350 (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C #
                          4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10
                          Exhibit J # 11 Adversary Cover Sheet). Nature(s) of suit: 91 (Declaratory judgment). 02
                          (Other (e.g. other actions that would have been brought in state court if unrelated to
   02/17/2021             bankruptcy)). 72 (Injunctive relief - other). (Annable, Zachery)

                             1936 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)1643 Agreed Motion to substitute attorney David Neier with Frances A.
                          Smith, Michelle Hartmann, and Debra A. Dandeneau Filed by Creditor Scott Ellington,
                          Thomas Surgent, Frank Waterhouse, Isaac Leventon (Attachments: # 1 Proposed Order))
   02/17/2021             Responses due by 2/24/2021. (Ecker, C.)

                             1937 (2 pgs) Order granting motion to continue hearing on (related document 1933)
                          (related documents Application for administrative expenses) The Status Conference is hereby
                          continued from March 22, 2021 at 9:30 a.m. to to such date and time on or after March 29,
                          2021 that is determined by the Court. (Okafor, M.) MODIFIED to correct hearing setting on
   02/17/2021             2/17/2021 (Okafor, M.).

                             1938 (3 pgs) Stipulation by Highland Capital Management, L.P. and The Dugaboy
                          Investment Trust and Get Good Trust. filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1745 Motion to appoint trusteeMotion to Appoint Examiner
   02/18/2021             Pursuant to 11 U.S.C. § 1104(c)). (Annable, Zachery)

                             1939 (12 pgs) Certificate of service re: Agreed Order on Motion to Assume
                          Nonresidential Real Property Lease with Crescent TC Investors, L.P. Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1931 Agreed Order granting motion
                          to assume nonresidential real property lease with Crescent TC Investors, L.P. (related
   02/18/2021             document 1624) Entered on 2/12/2021. (Okafor, M.)). (Kass, Albert)

                             1940 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1842 Application for compensation
                          Fourteenth Monthly Application for Compensation and Reimbursement of Expenses for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2020 to
   02/19/2021             12/31/2020, Fee: $416,359.08, Expenses:). (Hoffman, Juliana)

                            1941 (3 pgs) Certificate of Counsel filed by Debtor Highland Capital Management, L.P.
   02/22/2021             (RE: related document(s) 1924 Hearing held). (Annable, Zachery)

                            1942 (6 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1870 Notice of appeal,
                          1889 Amended notice of appeal, 1899 Notice of docketing notice of appeal/record, 1900
                          Certificate of mailing regarding appeal, 1901 Notice regarding the record for a bankruptcy
   02/22/2021             appeal). (Annable, Zachery)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.400 312/439



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   02/22/2021                1943 (161 pgs) Order confirming the fifth amended chapter 11 plan, as modified and
                          granting related relief (RE: related document(s)1472 Chapter 11 plan filed by Debtor
                          Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P.). Entered on 2/22/2021 (Okafor, M.)

                             1944 (229 pgs) Application for compensation Sixteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from January 1, 2021
                          through January 31, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 1/1/2021
                          to 1/31/2021, Fee: $2,557,604.00, Expenses: $32,906.65. Filed by Attorney Jeffrey Nathan
   02/22/2021             Pomerantz Objections due by 3/15/2021. (Pomerantz, Jeffrey)

                             1945 (12 pgs) Certificate of service re: Stipulation by Highland Capital Management, L.P.
                          and The Dugaboy Investment Trust and Get Good Trust Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)1938 Stipulation by Highland Capital
                          Management, L.P. and The Dugaboy Investment Trust and Get Good Trust. filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1745 Motion to appoint
                          trusteeMotion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c)). filed by Debtor
   02/23/2021             Highland Capital Management, L.P.). (Kass, Albert)

                            1946 (1 pg) Clerk's correspondence requesting from attorney for appellant. (RE: related
                          document(s)1928 Amended appellant designation of contents for inclusion in record on
                          appeal filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
   02/24/2021             document(s)1910 Appellant designation).) Responses due by 3/10/2021. (Blanco, J.)

                             1947 (2 pgs) Notice of hearing filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1878 Motion to compel an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
                          Document Preservation. Filed by Creditor Committee Official Committee of Unsecured
                          Creditors (Attachments: # 1 Proposed Order Exhibit A # 2 Exhibit Exhibit B)). Hearing to be
   02/24/2021             held on 3/22/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1878, (Montgomery, Paige)

                             1948 (3 pgs) Notice (Notice of (I) Confirmation Date and (II) Bar Date for Filing
                          Rejection Claims) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1943 Order confirming the fifth amended chapter 11 plan, as modified and
                          granting related relief (RE: related document(s)1472 Chapter 11 plan filed by Debtor
                          Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland Capital
   02/24/2021             Management, L.P.). Entered on 2/22/2021 (Okafor, M.)). (Annable, Zachery)

                            1949 (9 pgs) Debtor-in-possession monthly operating report for filing period December 1,
                          2020 to December 31, 2020 filed by Debtor Highland Capital Management, L.P.. (Annable,
   02/24/2021             Zachery)

                             1950 (162 pgs) BNC certificate of mailing - PDF document. (RE: related
                          document(s)1943 Order confirming the fifth amended chapter 11 plan, as modified and
                          granting related relief (RE: related document(s)1472 Chapter 11 plan filed by Debtor
                          Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland Capital
                          Management, L.P.). Entered on 2/22/2021 (Okafor, M.)) No. of Notices: 8. Notice Date
   02/24/2021             02/24/2021. (Admin.)

   02/25/2021                 1951 (5 pgs) Amended appellee designation of contents for inclusion in record of appeal
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1942 Appellee
                          designation). (Annable, Zachery)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.401 313/439



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   02/25/2021                   Receipt of Registry Funds - $43976.75 by SD. Receipt Number 338805. (admin)

   02/25/2021                   Receipt of Registry Funds - $3022.74 by SD. Receipt Number 338806. (admin)

                              1952 (24 pgs) Certificate of service re: Documents Served on February 22, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)1941 Certificate of
                          Counsel filed by Debtor Highland Capital Management, L.P. (RE: related document(s) 1924
                          Hearing held). filed by Debtor Highland Capital Management, L.P., 1942 Appellee
                          designation of contents for inclusion in record of appeal filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1870 Notice of appeal, 1889 Amended notice of
                          appeal, 1899 Notice of docketing notice of appeal/record, 1900 Certificate of mailing
                          regarding appeal, 1901 Notice regarding the record for a bankruptcy appeal). filed by Debtor
                          Highland Capital Management, L.P., 1943 Order confirming the fifth amended chapter 11
                          plan, as modified and granting related relief (RE: related document(s)1472 Chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor
                          Highland Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.), 1944 Application
                          for compensation Sixteenth Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from January 1, 2021 through January 31, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 1/1/2021 to 1/31/2021, Fee: $2,557,604.00, Expenses:
                          $32,906.65. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 3/15/2021. filed
   02/25/2021             by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1953 (3 pgs) Agreed Order granting motion to substitute attorney adding Frances Anne
                          Smith for Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon, Michelle
                          Hartmann for Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon, Debra A.
                          Dandeneau for Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon,
   02/26/2021             terminating David Neier. (related document # 1643) Entered on 2/26/2021. (Okafor, M.)

                              1954 (22 pgs) Certificate of service re: 1) Notice of Hearing on Motion for an Order
                          Requiring James D. Dondero to Preserve Documents and to Identify Measures Taken to
                          Ensure Document Preservation; and 2) Notice of (I) Confirmation Date and (II) Bar Date for
                          Filing Rejection Claims Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1947 Notice of hearing filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)1878 Motion to compel an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
                          Document Preservation. Filed by Creditor Committee Official Committee of Unsecured
                          Creditors (Attachments: # 1 Proposed Order Exhibit A # 2 Exhibit Exhibit B)). Hearing to be
                          held on 3/22/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1878, filed by Creditor
                          Committee Official Committee of Unsecured Creditors, 1948 Notice (Notice of (I)
                          Confirmation Date and (II) Bar Date for Filing Rejection Claims) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1943 Order confirming the fifth amended
                          chapter 11 plan, as modified and granting related relief (RE: related document(s)1472
                          Chapter 11 plan filed by Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)).
   02/26/2021             filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             1955 (34 pgs) Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan) Filed by Interested Parties Highland Capital Management Fund Advisors,
   02/28/2021             L.P., NexPoint Advisors, L.P. (Rukavina, Davor)

   02/28/2021               1956 (15 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1953
                          Agreed Order granting motion to substitute attorney adding Frances Anne Smith for Scott
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.402 314/439



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                          Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon, Michelle Hartmann for Scott
                          Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon, Debra A. Dandeneau for
                          Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac Leventon, terminating David
                          Neier. (related document 1643) Entered on 2/26/2021. (Okafor, M.)) No. of Notices: 3.
                          Notice Date 02/28/2021. (Admin.)

                            1957 (164 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
                          document(s)1943 Order confirming chapter 11 plan). Appellant Designation due by
   03/01/2021             03/15/2021. (Attachments: # 1 Exhibit A)(Rukavina, Davor)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   03/01/2021             Receipt number 28523950, amount $ 298.00 (re: Doc# 1957). (U.S. Treasury)

                             1958 (5 pgs) Motion for expedited hearing(related documents 1955 Motion to stay
                          pending appeal) Filed by Interested Parties Highland Capital Management Fund Advisors,
   03/01/2021             L.P., NexPoint Advisors, L.P. (Rukavina, Davor)

                             1959 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Action Shred Of Texas (Amount $3,825.00) To Fair Harbor Capital, LLC.
   03/01/2021             Filed by Creditor Fair Harbor Capital, LLC. (Knox, Victor)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28524853, amount $ 26.00 (re: Doc# 1959). (U.S.
   03/01/2021             Treasury)

                            1960 (3 pgs) Order Denying Motion to Appoint Examiner Pursuant to 11 U.S.C. §
   03/01/2021             1104(c) (related document # 1745) Entered on 3/1/2021. (Okafor, M.)

                             1961 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1853 Application for compensation Sidley
                          Austin LLP's Fourth Interim Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 9/1/2020 to
   03/01/2021             11/30/2020, Fee: $1,). (Hoffman, Juliana)

                              1962 (12 pgs) Certificate of service re: Appellees Amended Supplemental Designation of
                          Record on Appeal Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1951 Amended appellee designation of contents for inclusion in record of appeal
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)1942 Appellee
   03/02/2021             designation). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            1963 (57 pgs) Application for compensation Sidley Austin LLP's 15th Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 1/1/2021 to 1/31/2021, Fee: $655,724.88,
                          Expenses: $6,612.00. Filed by Attorney Juliana Hoffman Objections due by 3/23/2021.
   03/02/2021             (Hoffman, Juliana)

                            1964 (3 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   03/03/2021             Capital Management, L.P.. (Annable, Zachery)

   03/03/2021               1965 (7 pgs) Notice to take deposition of NexPoint Real Estate Partners, LLC f/k/a
                          HCRE Partners, LLC filed by Debtor Highland Capital Management, L.P.. (Annable,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.403 315/439



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                          Zachery)

                            1966 (3 pgs) Notice of appeal . Fee Amount $298 filed by Interested Parties Highland
                          Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic
                          Opportunities Fund (RE: related document(s)1943 Order confirming chapter 11 plan).
   03/03/2021             Appellant Designation due by 03/17/2021. (Hogewood, A.)

                             1967 (20 pgs) Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan) Filed by Interested Parties Highland Global Allocation Fund, Highland
                          Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (Hogewood,
   03/03/2021             A.)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   03/03/2021             Receipt number 28532838, amount $ 298.00 (re: Doc# 1966). (U.S. Treasury)

                             1968 (28 pgs) Application for compensation 15th Monthly Application for Compensation
                          and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                          1/1/2021 to 1/31/2021, Fee: $244,315.80, Expenses: $0.00. Filed by Attorney Juliana
   03/03/2021             Hoffman Objections due by 3/24/2021. (Hoffman, Juliana)

                            1969 (10 pgs) Objection to (related document(s): 1878 Motion to compel an Order
                          Requiring James D. Dondero to Preserve Documents and to Identify Measures Taken to
                          Ensure Document Preservation. filed by Creditor Committee Official Committee of
   03/03/2021             Unsecured Creditors) filed by Interested Party James Dondero. (Assink, Bryan)

                             1970 (164 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Party
                          James Dondero. Appellant Designation due by 03/18/2021. (Attachments: # 1 Exhibit)
   03/04/2021             (Taylor, Clay)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   03/04/2021             Receipt number 28537086, amount $ 298.00 (re: Doc# 1970). (U.S. Treasury)

                             1971 (45 pgs; 2 docs) Joinder by Joinder to Motions for Stay Pending Appeal of the
                          Court's Order Confirming the Debtor's Fifth Amended Plan with Certificate of Service filed
                          by Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)1955 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan), 1967
                          Motion to stay pending appeal (related documents 1943 Order confirming chapter 11 plan)).
   03/04/2021             (Attachments: # 1 Exhibit Opinion) (Draper, Douglas)

                            1972 (4 pgs) Notice of appeal Notice of Appeal and Statement of Election. Fee Amount
                          $298 filed by Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)1943
                          Order confirming chapter 11 plan). Appellant Designation due by 03/18/2021. (Draper,
   03/04/2021             Douglas)

                            1973 (5 pgs) Joinder by filed by Interested Party James Dondero (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
   03/04/2021             chapter 11 plan)). (Taylor, Clay)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   03/04/2021             Receipt number 28537308, amount $ 298.00 (re: Doc# 1972). (U.S. Treasury)


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   03/04/2021                1974 (8 pgs) Stipulation by Highland Capital Management, L.P. and the Official
                          Committee of Unsecured Creditors; Highland Capital Management Fund Advisors, L.P.;
                          NexPoint Advisors, L.P.; Highland Income Fund; NexPoint Strategic Opportunities Fund;
                          Highland Global Allocation Fund; NexPoint Capital, Inc.; James Dondero; The Dugaboy
                          Investment Trust; and Get Good Trust. filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1955 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan), 1967 Motion to stay pending appeal (related documents 1943
                          Order confirming chapter 11 plan)). (Annable, Zachery)

                             1976 (2 pgs) Certificate of No Objection Regarding First Monthly Fee Application filed
                          by Spec. Counsel Hunton Andrews Kurth LLP (RE: related document(s)1925 Application for
                          compensation First Monthly Fee Application for Hunton Andrews Kurth LLP, Special
                          Counsel, Period: 11/1/2020 to 12/31/2020, Fee: $73121.04, Expenses: $10.35.). (Hesse,
   03/05/2021             Gregory)

                            1977 (1 pg) Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 12 Number of
                          appellee volumes: 13. Civil Case Number: 3:20-CV-03390-X (RE: related document(s)1347
   03/05/2021             Notice of appeal ) (Blanco, J.)

                             1978 (1 pg) Notice of docketing COMPLETE record on appeal. 3:20-CV-03390-X (RE:
                          related document(s)1347 Notice of appeal filed by Interested Party James Dondero (RE:
   03/05/2021             related document(s)1302 Order on motion to compromise controversy). (Blanco, J.)

                             1979 (12 pgs) Order approving stipulation regarding briefing (Re: related document(s)
                          1974 Stipulation) and setting hearing (RE: related document(s)1955 Motion to stay pending
                          appeal filed by Interested Party Highland Capital Management Fund Advisors, L.P.,
                          Interested Party NexPoint Advisors, L.P., 1967 Motion to stay pending appeal filed by
                          Interested Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities
                          Fund, Interested Party Highland Income Fund, Interested Party Highland Global Allocation
                          Fund). Hearing to be held on 3/19/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1955
   03/05/2021             and for 1967, Entered on 3/5/2021 (Okafor, M.)

                             1980 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1927 Application for compensation Fourteenth Application of FTI
                          Consulting, Inc. for Compensation and Reimbursement of Expenses for Official Committee
                          of Unsecured Creditors, Financial Advisor, Period: 12/1/2020 to 12/31/2020, Fee: $239,297).
   03/05/2021             (Hoffman, Juliana)

                             1981 (24 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)1979
                          Order approving stipulation regarding briefing (Re: related document(s) 1974 Stipulation)
                          and setting hearing (RE: related document(s)1955 Motion to stay pending appeal filed by
                          Interested Party Highland Capital Management Fund Advisors, L.P., Interested Party
                          NexPoint Advisors, L.P., 1967 Motion to stay pending appeal filed by Interested Party
                          NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities Fund, Interested
                          Party Highland Income Fund, Interested Party Highland Global Allocation Fund). Hearing to
                          be held on 3/19/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1955 and for 1967,
   03/07/2021             Entered on 3/5/2021 (Okafor, M.)) No. of Notices: 2. Notice Date 03/07/2021. (Admin.)

   03/08/2021               1986 (8 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1966 Notice of appeal . filed by Interested Parties Highland Global Allocation
                          Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund

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                          (RE: related document(s)1943 Order confirming chapter 11 plan). (Attachments: # 1 Service
                          List) (Whitaker, Sheniqua)

                            1987 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1966 Notice of appeal . filed by Interested Parties Highland
                          Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic
                          Opportunities Fund (RE: related document(s)1943 Order confirming chapter 11 plan).
   03/08/2021             (Whitaker, Sheniqua)

                            1988 (168 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1957 Notice of appeal . filed by Interested Parties Highland Capital Management
                          Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)1943 Order
                          confirming chapter 11 plan). (Attachments: # 1 Exhibit A)) (Attachments: # 1 Service List)
   03/08/2021             (Whitaker, Sheniqua)

                            1989 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1957 Notice of appeal . filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
                          document(s)1943 Order confirming chapter 11 plan). (Attachments: # 1 Exhibit A))
   03/08/2021             (Whitaker, Sheniqua)

                             1990 (168 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1970 Notice of appeal . filed by Interested Party James Dondero. (Attachments:
   03/08/2021             # 1 Exhibit)) (Attachments: # 1 Service List) (Whitaker, Sheniqua)

                            1991 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1970 Notice of appeal . filed by Interested Party James
   03/08/2021             Dondero. (Attachments: # 1 Exhibit)) (Whitaker, Sheniqua)

                            1992 (9 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)1972 Notice of appeal Notice of Appeal and Statement of Election. filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)1943 Order confirming
   03/08/2021             chapter 11 plan). (Attachments: # 1 Service List) (Whitaker, Sheniqua)

                             1993 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)1972 Notice of appeal Notice of Appeal and Statement of
                          Election. filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
   03/08/2021             document(s)1943 Order confirming chapter 11 plan). (Whitaker, Sheniqua)

   03/08/2021                1994 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1955 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan) Filed by Interested Parties Highland Capital Management Fund
                          Advisors, L.P., NexPoint Advisors, L.P., 1967 Motion to stay pending appeal (related
                          documents 1943 Order confirming chapter 11 plan) Filed by Interested Parties Highland
                          Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic
                          Opportunities Fund (Hogewood, A.), 1971 Joinder by Joinder to Motions for Stay Pending
                          Appeal of the Court's Order Confirming the Debtor's Fifth Amended Plan with Certificate of
                          Service filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan), 1967 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan)). (Attachments: # 1 Exhibit Opinion), 1973 Joinder by filed by
                          Interested Party James Dondero (RE: related document(s)1955 Motion to stay pending
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                          appeal (related documents 1943 Order confirming chapter 11 plan)).). Hearing to be held on
                          3/19/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 1967 and for 1973
                          and for 1955 and for 1971, (Annable, Zachery)

                             1995 (3 pgs) Notice to take deposition of Paul Broaddus filed by HCRE Partners, LLC
                          (n/k/a NexPoint Real Estate Partners, LLC), Highland Capital Management Services, Inc..
   03/08/2021             (Drawhorn, Lauren)

                             1996 (3 pgs) Notice to take deposition of Mark Patrick filed by HCRE Partners, LLC
                          (n/k/a NexPoint Real Estate Partners, LLC), Highland Capital Management Services, Inc..
   03/08/2021             (Drawhorn, Lauren)

                             1997 (21 pgs) Certificate of service re: Documents Served on or Before March 3, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1963
                          Application for compensation Sidley Austin LLP's 15th Monthly Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 1/1/2021 to 1/31/2021, Fee: $655,724.88, Expenses:
                          $6,612.00. Filed by Attorney Juliana Hoffman Objections due by 3/23/2021. filed by
                          Creditor Committee Official Committee of Unsecured Creditors, 1964 Notice to take
                          deposition of James Dondero filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 1965 Notice to take deposition of NexPoint Real
                          Estate Partners, LLC f/k/a HCRE Partners, LLC filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 1968 Application for
                          compensation 15th Monthly Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 1/1/2021 to 1/31/2021, Fee: $244,315.80,
                          Expenses: $0.00. Filed by Attorney Juliana Hoffman Objections due by 3/24/2021. filed by
   03/08/2021             Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                              1998 (5 pgs) Certificate of service re: 1) [Customized for Rule 3001(e)(1) or 3001(e)(3)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P 3001(e)(1) or 3001(e)(3); and 2)
                          [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim Pursuant to
                          F.R.B.P. 3001(e)(2) or 3001(e)(4) Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1377 Assignment/Transfer of Claim. Fee Amount $25. Transfer
                          Agreement 3001 (e) 2 Transferors: Debevoise & Plimpton LLP (Claim No. 94, Amount
                          $268,095.08) To Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. filed by
                          Creditor Contrarian Funds LLC, 1378 Assignment/Transfer of Claim. Fee Amount $25.
                          Transfer Agreement 3001 (e) 2 Transferors: Debevoise & Plimpton LLP (Claim No. 97,
                          Amount $268,095.08) To Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC.
                          filed by Creditor Contrarian Funds LLC, 1379 Assignment/Transfer of Claim. Fee Amount
                          $25. Transfer Agreement 3001 (e) 2 Transferors: Debevoise & Plimpton LLP (Amount
                          $20,658.79) To Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. filed by
                          Creditor Contrarian Funds LLC, 1401 Assignment/Transfer of Claim. Fee Amount $25.
                          Transfer Agreement 3001 (e) 2 Transferors: DLA Piper LLP (US) (Amount $1,318,730.36)
                          To Contrarian Funds LLC. Filed by Creditor Contrarian Funds LLC. filed by Creditor
   03/08/2021             Contrarian Funds LLC). (Kass, Albert)

   03/08/2021                1999 (5 pgs) Certificate of service re: 1) [Customized for Rule 3001(e)(1) or 3001(e)(3)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P 3001(e)(1) or 3001(e)(3); and 2)
                          [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim Pursuant to
                          F.R.B.P. 3001(e)(2) or 3001(e)(4) Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1500 Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 2 Transferors: Katten Muchin Rosenman LLP (Claim No. 26, Amount
                          $16,695.00) To Cedar Glade LP. Filed by Creditor Cedar Glade LP. (Attachments: # 1
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                          Evidence of Transfer) filed by Creditor Cedar Glade LP, 1508 Assignment/Transfer of Claim.
                          Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: Daniel Sheehan & Associates,
                          PLLC (Claim No. 47, Amount $32,433.75) To Fair Harbor Capital, LLC. Filed by Creditor
                          Fair Harbor Capital, LLC. filed by Creditor Fair Harbor Capital, LLC, 1509
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Vengroff Williams Inc (American Arbitration Assoc (Claim No. 33, Amount $12,911.80) To
                          Fair Harbor Capital, LLC. Filed by Creditor Fair Harbor Capital, LLC. filed by Creditor Fair
                          Harbor Capital, LLC, 1512 Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 2 Transferors: Foley Gardere, Foley Lardner LLP To Hain Capital
                          Investors Master Fund, Ltd. Filed by Creditor Hain Capital Group, LLC. filed by Creditor
                          Hain Capital Group, LLC, 1582 Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 1 Transferors: CVE Technologies Group Inc. (Amount $1,500.00) To
                          Fair Harbor Capital, LLC. Filed by Creditor Fair Harbor Capital, LLC. filed by Creditor Fair
                          Harbor Capital, LLC, 1591 Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 1 Transferors: Bates White LLC (Amount $90,855.70) To Argo
                          Partners. Filed by Creditor Argo Partners. filed by Creditor Argo Partners, 1658
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 1 Transferors:
                          ACA Compliance Group (Amount $26,324.25) To Argo Partners. Filed by Creditor Argo
                          Partners. filed by Creditor Argo Partners, 1930 Assignment/Transfer of Claim. Fee Amount
                          $26. Transfer Agreement 3001 (e) 2 Transferors: Stanton Law Firm PC (Claim No. 163,
                          Amount $88,133.99) To Cedar Glade LP. Filed by Creditor Cedar Glade LP. (Attachments: #
                          1 Evidence of Transfer) filed by Creditor Cedar Glade LP). (Kass, Albert)

                            2000 (186 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          00538-N. (RE: related document(s)1957 Notice of appeal . filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
                          document(s)1943 Order confirming chapter 11 plan). (Attachments: # 1 Exhibit A))
   03/09/2021             (Whitaker, Sheniqua)

                             2001 (188 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          00539-N. (RE: related document(s)1966 Notice of appeal . filed by Interested Parties
                          Highland Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint
                          Strategic Opportunities Fund (RE: related document(s)1943 Order confirming chapter 11
   03/09/2021             plan). (Hogewood, A.)) (Whitaker, Sheniqua)

                            2002 (186 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          00546-L. (RE: related document(s)1970 Notice of appeal . filed by Interested Party James
   03/09/2021             Dondero. (Attachments: # 1 Exhibit)) (Whitaker, Sheniqua)

                             2003 (28 pgs) Application for compensation (First Combined Monthly Fee Statement of
                          Deloitte Tax LLP for Compensation for Services Rendered as Tax Services Provider to the
                          Debtor for the Period from October 16, 2019 through July 31, 2020) for Deloitte Tax LLP,
                          Other Professional, Period: 10/16/2019 to 7/31/2020, Fee: $87,972.80, Expenses: $0.00.
   03/09/2021             Filed by Other Professional Deloitte Tax LLP (Annable, Zachery)

                             2004 (33 pgs) Application for compensation (Second Monthly Fee Statement of Deloitte
                          Tax LLP for Compensation for Services Rendered as Tax Services Provider to the Debtor for
                          the Period from August 1, 2020 through August 31, 2020) for Deloitte Tax LLP, Other
                          Professional, Period: 8/1/2020 to 8/31/2020, Fee: $91,353.40, Expenses: $0.00. Filed by
   03/09/2021             Other Professional Deloitte Tax LLP (Annable, Zachery)

   03/09/2021               2005 (25 pgs) Application for compensation (Third Monthly Fee Statement of Deloitte
                          Tax LLP for Compensation for Services Rendered as Tax Services Provider to the Debtor for
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                          the Period from September 1, 2020 through September 30, 2020) for Deloitte Tax LLP, Other
                          Professional, Period: 9/1/2020 to 9/30/2020, Fee: $78,594.30, Expenses: $0.00. Filed by
                          Other Professional Deloitte Tax LLP (Annable, Zachery)

                             2006 (12 pgs) Certificate of service re: Stipulation Regarding Briefing and Hearing
                          Schedule Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1974 Stipulation by Highland Capital Management, L.P. and the Official
                          Committee of Unsecured Creditors; Highland Capital Management Fund Advisors, L.P.;
                          NexPoint Advisors, L.P.; Highland Income Fund; NexPoint Strategic Opportunities Fund;
                          Highland Global Allocation Fund; NexPoint Capital, Inc.; James Dondero; The Dugaboy
                          Investment Trust; and Get Good Trust. filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1955 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan), 1967 Motion to stay pending appeal (related documents 1943
                          Order confirming chapter 11 plan)). filed by Debtor Highland Capital Management, L.P.).
   03/09/2021             (Kass, Albert)

                            2007 (65 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from January 1, 2021 through January 31, 2021) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)853 Order granting
                          application to employ Development Specialists, Inc. as Other Professional (related document
   03/10/2021             775) Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

                             2008 (190 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          00550-L. (RE: related document(s)1972 Notice of appeal Notice of Appeal and Statement of
                          Election. filed by Get Good Trust, The Dugaboy Investment Trust (RE: related
   03/10/2021             document(s)1943 Order confirming chapter 11 plan). (Whitaker, Sheniqua)

                             2009 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1826 Application for administrative expenses Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (Attachments: #
                          1 Service List)). Status Conference to be held on 3/29/2021 at 09:30 AM at https://us-
   03/10/2021             courts.webex.com/meet/jerniga. (Annable, Zachery)

                             2011 (11 pgs) Certificate of service re: Order Approving Stipulation Regarding Briefing
                          and Hearing Schedule Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)1979 Order approving stipulation regarding briefing (Re: related document(s)
                          1974 Stipulation) and setting hearing (RE: related document(s)1955 Motion to stay pending
                          appeal filed by Interested Party Highland Capital Management Fund Advisors, L.P.,
                          Interested Party NexPoint Advisors, L.P., 1967 Motion to stay pending appeal filed by
                          Interested Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities
                          Fund, Interested Party Highland Income Fund, Interested Party Highland Global Allocation
                          Fund). Hearing to be held on 3/19/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 1955
   03/10/2021             and for 1967, Entered on 3/5/2021 (Okafor, M.)). (Kass, Albert)

                             2012 (14 pgs) BNC certificate of mailing. (RE: related document(s)1989 Notice regarding
                          the record for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)1957
                          Notice of appeal . filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., NexPoint Advisors, L.P. (RE: related document(s)1943 Order confirming chapter 11
   03/10/2021             plan). (Attachments: # 1 Exhibit A))) No. of Notices: 1. Notice Date 03/10/2021. (Admin.)

   03/10/2021                2013 (14 pgs) BNC certificate of mailing. (RE: related document(s)1993 Notice regarding
                          the record for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)1972

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                          Notice of appeal Notice of Appeal and Statement of Election. filed by Get Good Trust, The
                          Dugaboy Investment Trust (RE: related document(s)1943 Order confirming chapter 11
                          plan).) No. of Notices: 1. Notice Date 03/10/2021. (Admin.)

                             2014 (3 pgs) Amended notice of appeal filed by Get Good Trust, The Dugaboy
   03/11/2021             Investment Trust (RE: related document(s)1972 Notice of appeal). (Draper, Douglas)

                            2015 (4 pgs) Statement of issues on appeal, filed by Interested Parties Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)1957
   03/11/2021             Notice of appeal). (Rukavina, Davor)

                             2016 (4 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P. (RE: related document(s)1957 Notice of appeal). Appellee designation due by
   03/11/2021             03/25/2021. (Rukavina, Davor)

                             2017 (11 pgs) Certificate of service re: Notice of Hearing Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)1994 Notice of hearing filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan) Filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P., 1967 Motion to stay pending appeal (related documents 1943 Order confirming chapter
                          11 plan) Filed by Interested Parties Highland Global Allocation Fund, Highland Income
                          Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (Hogewood, A.), 1971
                          Joinder by Joinder to Motions for Stay Pending Appeal of the Court's Order Confirming the
                          Debtor's Fifth Amended Plan with Certificate of Service filed by Get Good Trust, The
                          Dugaboy Investment Trust (RE: related document(s)1955 Motion to stay pending appeal
                          (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan)). (Attachments: # 1
                          Exhibit Opinion), 1973 Joinder by filed by Interested Party James Dondero (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan)).). Hearing to be held on 3/19/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 1967 and for 1973 and for 1955 and for 1971, filed by
   03/11/2021             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            2018 (1 pg) Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 6 Number of
                          appellee volumes: 1. Civil Case Number: 3:20-CV-03408-G (RE: related document(s)1339
                          Notice of appeal filed by Interested Parties UBS AG London Branch, UBS Securities LLC
   03/12/2021             (RE: related document(s)1273 Order on motion to compromise controversy). (Blanco, J.)

                            2019 (21 pgs) Notice of docketing record on appeal. 3:20-CV-03408-G (RE: related
                          document(s)1339 Notice of appeal filed by Interested Parties UBS AG London Branch, UBS
                          Securities LLC (RE: related document(s)1273 Order on motion to compromise controversy).
   03/12/2021             (Blanco, J.)

                             2021 (1 pg) Notice of transmittal 20-CV-03408-G 13 SEALED DOCUMENTS (RE:
                          related document(s)2019 Notice of docketing record on appeal. 3:20-CV-03408-G (RE:
                          related document(s)1339 Notice of appeal filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)1273 Order on motion to compromise
   03/12/2021             controversy). (Blanco, J.)). (Blanco, J.)


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   03/12/2021                2022 (58 pgs) Omnibus Response opposed to (related document(s): 1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan) filed by
                          Interested Party Highland Capital Management Fund Advisors, L.P., Interested Party
                          NexPoint Advisors, L.P., 1967 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan, 1971 Joinder filed by Creditor The Dugaboy Investment Trust,
                          Creditor Get Good Trust, 1973 Joinder filed by Interested Party James Dondero) filed by
                          Interested Party NexPoint Capital, Inc., Interested Party NexPoint Strategic Opportunities
                          Fund, Interested Party Highland Income Fund, Interested Party Highland Global Allocation
                          Fund) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery). Modified
                          linkage on 3/12/2021 (Rielly, Bill).

                            2023 (5 pgs) Joinder by the Official Committee of Unsecured Creditors filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)2022
   03/12/2021             Response). (Hoffman, Juliana)

                            2024 (28 pgs) Application for compensation - Second Monthly Fee Application for
                          Hunton Andrews Kurth LLP, Special Counsel, Period: 1/1/2021 to 1/31/2021, Fee:
                          $35042.76, Expenses: $3.80. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections
   03/12/2021             due by 4/2/2021. (Hesse, Gregory)

                             2025 (28 pgs) Application for compensation - Third Monthly Fee Application for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 2/1/2021 to 2/28/2021, Fee: $37092.24,
                          Expenses: $94.54. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections due by
   03/12/2021             4/2/2021. (Hesse, Gregory)

                             2026 (5 pgs) Certificate of service re: 1) First Combined Monthly Fee Statement of
                          Deloitte Tax LLP for Compensation for Services Rendered as Tax Services Provider to the
                          Debtor for the Period from October 16, 2019 Through July 31, 2020; 2) Second Monthly Fee
                          Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from August 1, 2020 Through August 31, 2020; and 3)
                          Third Monthly Fee Statement of Deloitte Tax LLP for Compensation for Services Rendered as
                          Tax Services Provider to the Debtor for the Period from September 1, 2020 Through
                          September 30, 2020 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2003 Application for compensation (First Combined Monthly Fee Statement of
                          Deloitte Tax LLP for Compensation for Services Rendered as Tax Services Provider to the
                          Debtor for the Period from October 16, 2019 through July 31, 2020) for Deloitte Tax LLP,
                          Other Professional, Period: 10/16/2019 to 7/31/2020, Fee: $87,972.80, Expenses: $0.00.
                          Filed by Other Professional Deloitte Tax LLP filed by Other Professional Deloitte Tax LLP,
                          2004 Application for compensation (Second Monthly Fee Statement of Deloitte Tax LLP for
                          Compensation for Services Rendered as Tax Services Provider to the Debtor for the Period
                          from August 1, 2020 through August 31, 2020) for Deloitte Tax LLP, Other Professional,
                          Period: 8/1/2020 to 8/31/2020, Fee: $91,353.40, Expenses: $0.00. Filed by Other
                          Professional Deloitte Tax LLP filed by Other Professional Deloitte Tax LLP, 2005
                          Application for compensation (Third Monthly Fee Statement of Deloitte Tax LLP for
                          Compensation for Services Rendered as Tax Services Provider to the Debtor for the Period
                          from September 1, 2020 through September 30, 2020) for Deloitte Tax LLP, Other
                          Professional, Period: 9/1/2020 to 9/30/2020, Fee: $78,594.30, Expenses: $0.00. Filed by
                          Other Professional Deloitte Tax LLP filed by Other Professional Deloitte Tax LLP). (Kass,
   03/12/2021             Albert)

   03/12/2021                2027 (5 pgs) Certificate of service re: (Supplemental) Notice of (I) Confirmation Date and
                          (II) Bar Date for Filing Rejection Claims Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1948 Notice (Notice of (I) Confirmation Date and (II)
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                          Bar Date for Filing Rejection Claims) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1943 Order confirming the fifth amended chapter 11 plan, as
                          modified and granting related relief (RE: related document(s)1472 Chapter 11 plan filed by
                          Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland
                          Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)). filed by Debtor Highland
                          Capital Management, L.P., 1954 Certificate of service re: 1) Notice of Hearing on Motion for
                          an Order Requiring James D. Dondero to Preserve Documents and to Identify Measures
                          Taken to Ensure Document Preservation; and 2) Notice of (I) Confirmation Date and (II) Bar
                          Date for Filing Rejection Claims Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)1947 Notice of hearing filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1878 Motion to compel an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
                          Document Preservation. Filed by Creditor Committee Official Committee of Unsecured
                          Creditors (Attachments: # 1 Proposed Order Exhibit A # 2 Exhibit Exhibit B)). Hearing to be
                          held on 3/22/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 1878, filed by Creditor
                          Committee Official Committee of Unsecured Creditors, 1948 Notice (Notice of (I)
                          Confirmation Date and (II) Bar Date for Filing Rejection Claims) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1943 Order confirming the fifth amended
                          chapter 11 plan, as modified and granting related relief (RE: related document(s)1472
                          Chapter 11 plan filed by Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)).
                          filed by Debtor Highland Capital Management, L.P.). filed by Claims Agent Kurtzman
                          Carson Consultants LLC). (Kass, Albert)

                             2028 (11 pgs) Certificate of service re: 1) Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from January 1, 2021 Through January 31,
                          2021; and 2) Notice of Status Conference Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2007 Notice (Notice of Filing of Monthly Staffing
                          Report by Development Specialists, Inc. for the Period from January 1, 2021 through
                          January 31, 2021) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)853 Order granting application to employ Development Specialists, Inc. as Other
                          Professional (related document 775) Entered on 7/16/2020. (Ecker, C.)). filed by Debtor
                          Highland Capital Management, L.P., 2009 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1826 Application for administrative
                          expenses Filed by Interested Parties Highland Capital Management Fund Advisors, L.P.,
                          NexPoint Advisors, L.P. (Attachments: # 1 Service List)). Status Conference to be held on
                          3/29/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga. filed by Debtor
   03/12/2021             Highland Capital Management, L.P.). (Kass, Albert)

                            2030 (9 pgs) Debtor-in-possession monthly operating report for filing period January 1,
                          2021 to January 31, 2021 filed by Debtor Highland Capital Management, L.P.. (Hayward,
   03/15/2021             Melissa)

                            2032 (1 pg) Notice of transmittal 3:20-CV-03390-X. CLERKS OFFICE OVERLOOKED
                          SECOND APPELLEE. AMENDED MINI RECORD TO INCLUDE SECOND APPELLEE
                          INDEX. ATTACHED ALSO: APPELLEE VOL. 27 (RE: related document(s)1978 Notice of
                          docketing COMPLETE record on appeal. 3:20-CV-03390-X (RE: related document(s)1347
                          Notice of appeal filed by Interested Party James Dondero (RE: related document(s)1302
   03/15/2021             Order on motion to compromise controversy). (Blanco, J.)). (Blanco, J.)

   03/16/2021                2033 (10 pgs; 2 docs) Motion for Certification to Court of Appeals (Joint Motion) Filed
                          by Interested Parties James Dondero, Highland Capital Management Fund Advisors, L.P.,
                          Highland Global Allocation Fund, Highland Income Fund, NexPoint Advisors, L.P.,
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                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund, Get Good Trust, The
                          Dugaboy Investment Trust, Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Proposed Order) (Rukavina, Davor)

                             2034 (2 pgs) Order certifying appeals of the confirmation order for direct appeal to the
                          United States Court of appeals for the Fifth Circuit (Related Doc # 2033) Entered on
   03/16/2021             3/16/2021. (Okafor, M.)

                             2035 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1944 Application for compensation Sixteenth Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from
                          January 1, 2021 through January 31, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney,
   03/16/2021             Period: 1/1/2021 to 1/). (Pomerantz, Jeffrey)

                            2036 (11 pgs) Reply to (related document(s): 2022 Response filed by Debtor Highland
                          Capital Management, L.P.) filed by Interested Parties Highland Capital Management Fund
   03/16/2021             Advisors, L.P., NexPoint Advisors, L.P.. (Rukavina, Davor)

                            2037 (10 pgs) Reply to (related document(s): 2022 Response filed by Debtor Highland
                          Capital Management, L.P.) filed by Interested Parties Highland Global Allocation Fund,
                          Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund.
   03/16/2021             (Hogewood, A.)

                              2038 (8 pgs) Second Notice of Additional Services to be Provided by Deloitte Tax LLP
   03/16/2021             filed by Debtor Highland Capital Management, L.P.. (Hayward, Melissa)

                             2039 (5 pgs) Notice of Statement of Amounts Paid to Ordinary Course Professionals for
                          the Period from October 16, 2019 to January 31, 2021 filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO SECTIONS
                          105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING THE
                          DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Hayward,
   03/16/2021             Melissa)

                            2040 (3 pgs) Statement of issues on appeal, filed by Interested Parties Highland Global
                          Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic
   03/17/2021             Opportunities Fund (RE: related document(s)1966 Notice of appeal). (Hogewood, A.)

                             2041 (5 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Interested Parties Highland Global Allocation Fund, Highland Income Fund, NexPoint
                          Capital, Inc., NexPoint Strategic Opportunities Fund (RE: related document(s)1966 Notice of
   03/17/2021             appeal). Appellee designation due by 03/31/2021. (Hogewood, A.)

   03/17/2021               2042 (11 pgs) Certificate of service re: 1) Debtor's Omnibus Response to Motions for Stay
                          Pending Appeal of the Confirmation Order; and 2) Omnibus Objection of the Official
                          Committee of Unsecured Creditors Objection to Motions for Stay Pending Appeal of the
                          Confirmation Order and Joinder in Debtors Omnibus Objection to Motions for Stay Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2022 Omnibus
                          Response opposed to (related document(s): 1955 Motion to stay pending appeal (related
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                          documents 1943 Order confirming chapter 11 plan) filed by Interested Party Highland
                          Capital Management Fund Advisors, L.P., Interested Party NexPoint Advisors, L.P., 1967
                          Motion to stay pending appeal (related documents 1943 Order confirming chapter 11 plan,
                          1971 Joinder filed by Creditor The Dugaboy Investment Trust, Creditor Get Good Trust,
                          1973 Joinder filed by Interested Party James Dondero) filed by Interested Party NexPoint
                          Capital, Inc., Interested Party NexPoint Strategic Opportunities Fund, Interested Party
                          Highland Income Fund, Interested Party Highland Global Allocation Fund) filed by Debtor
                          Highland Capital Management, L.P.. (Annable, Zachery). Modified linkage on 3/12/2021.
                          filed by Debtor Highland Capital Management, L.P., 2023 Joinder by the Official Committee
                          of Unsecured Creditors filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)2022 Response). filed by Creditor Committee Official
                          Committee of Unsecured Creditors). (Kass, Albert)

                            2043 (1136 pgs; 14 docs) Witness and Exhibit List filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan)). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                          Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit
   03/17/2021             K # 12 Exhibit L # 13 Exhibit M) (Vasek, Julian)

                             2044 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Bhawika Jain To NexPoint Advisors LP. Filed by Interested Party NexPoint
   03/17/2021             Advisors, L.P.. (Vasek, Julian)

                             2045 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Michael Beispiel To NexPoint Advisors LP. Filed by Interested Party
   03/17/2021             NexPoint Advisors, L.P.. (Vasek, Julian)

                             2046 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Sang Kook (Michael) Jeong To NexPoint Advisors LP. Filed by Interested
   03/17/2021             Party NexPoint Advisors, L.P.. (Vasek, Julian)

                             2047 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 1 Transferors: Phoebe Stewart To NexPoint Advisors LP. Filed by Interested Party
   03/17/2021             NexPoint Advisors, L.P.. (Vasek, Julian)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28570099, amount $ 26.00 (re: Doc# 2044). (U.S.
   03/17/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28570099, amount $ 26.00 (re: Doc# 2045). (U.S.
   03/17/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28570099, amount $ 26.00 (re: Doc# 2046). (U.S.
   03/17/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28570099, amount $ 26.00 (re: Doc# 2047). (U.S.
   03/17/2021             Treasury)

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   03/17/2021               2048 (32 pgs) Declaration re: Third Supplemental Declaration filed by Financial Advisor
                          FTI Consulting, Inc. (RE: related document(s)336 Order on application to employ).
                          (Hoffman, Juliana)

                             2052 (1 pg) Notice of transmittal to submit Amended Mini Record Vol. 1 to remove
                          appellee index and to disregard Appellee Record Vol. 8 filed at doc 27 in 3:20-CV-03408-G
                          (RE: related document(s)2019 Notice of docketing record on appeal. 3:20-CV-03408-G (RE:
                          related document(s)1339 Notice of appeal filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)1273 Order on motion to compromise
   03/18/2021             controversy). (Blanco, J.)). (Blanco, J.)

                             2053 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          Appellant. (RE: related document(s)2041 Appellant designation of contents for inclusion in
                          record on appeal filed by Interested Parties Highland Global Allocation Fund, Highland
                          Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (RE: related
                          document(s)1966 Notice of appeal). Appellee designation due by 03/31/2021. (Hogewood,
   03/18/2021             A.)) Responses due by 3/24/2021. (Blanco, J.)

                            2054 (11 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)2014 Amended
   03/18/2021             notice of appeal). Appellee designation due by 04/1/2021. (Draper, Douglas)

                             2055 (3 pgs) Statement of issues on appeal, filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)2014 Amended notice of appeal). (Draper,
   03/18/2021             Douglas)

                             2056 (2 pgs) Statement of issues on appeal, filed by Interested Party James Dondero (RE:
   03/18/2021             related document(s)1970 Notice of appeal). (Taylor, Clay)

                             2057 (12 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Interested Party James Dondero (RE: related document(s)1970 Notice of appeal, 2056
   03/18/2021             Statement of issues on appeal). Appellee designation due by 04/1/2021. (Taylor, Clay)

                             2058 (3287 pgs; 34 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1955 Motion to stay pending appeal (related
                          documents 1943 Order confirming chapter 11 plan), 1967 Motion to stay pending appeal
                          (related documents 1943 Order confirming chapter 11 plan)). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 #
                          9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 #
                          15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit
                          20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26
                          Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 #
   03/18/2021             32 Exhibit 32 # 33 Exhibit 33) (Annable, Zachery)

   03/18/2021               2059 (26 pgs) Omnibus Objection to claim(s) of Creditor(s) Christopher Rice; Helen
                          Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark
                          Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand; Brian
                          Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.415 327/439



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                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 4/20/2021. (Annable, Zachery)

                            2060 (4 pgs) Motion to recuse Judge Jernigan Filed by Interested Party James Dondero
   03/18/2021             (Lang, Michael)

                            2061 (37 pgs) Brief in support filed by Interested Party James Dondero (RE: related
   03/18/2021             document(s)2060 Motion to recuse Judge Jernigan). (Lang, Michael)

                             2062 (2722 pgs) Support/supplemental documentAppendix to Motion to Recuse filed by
                          Interested Party James Dondero (RE: related document(s)2060 Motion to recuse Judge
   03/18/2021             Jernigan). (Lang, Michael)

                             2063 (1 pg) Request for transcript regarding a hearing held on 3/19/2021. The requested
   03/19/2021             turn-around time is hourly. (Edmond, Michael)

                             2064 (8 pgs) Motion to continue hearing on (related documents 1878 Motion to compel)
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Montgomery,
   03/19/2021             Paige)

                             2065 (1 pg) Court admitted exhibits date of hearing March 19, 2021 (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan) Filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., NexPoint Advisors, L.P., 1967 Motion to stay pending appeal (related documents 1943
                          Order confirming chapter 11 plan) Filed by Interested Parties Highland Global Allocation
                          Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund
                          (Hogewood, A.), 1971 Joinder by Joinder to Motions for Stay Pending Appeal of the Court's
                          Order Confirming the Debtor's Fifth Amended Plan with Certificate of Service filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan)).
                          (Attachments: # 1 Exhibit Opinion), 1973 Joinder by filed by Interested Party James Dondero
                          (RE: related document(s)1955 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan)).) (COURT ADMITTED MOVANT'S EXHIBIT'S #A
                          THROUGH #M BY DAVOR RUKAVINA & DEFENDANT'S EXHIBIT'S #1 THROUGH
   03/19/2021             #33 BY JEFFREY POMERANTZ) (Edmond, Michael)

                            2066 (3 pgs) Witness List (Debtor's Witness List with Respect to Hearing to Be Held on
                          March 24, 2021) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan), 1967 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan), 1971 Joinder filed by Creditor The Dugaboy Investment Trust,
                          Creditor Get Good Trust, 1973 Joinder filed by Interested Party James Dondero). (Annable,
   03/19/2021             Zachery). Modified linkage on 3/19/2021 (Rielly, Bill).

   03/19/2021                2067 Hearing held on 3/19/2021. (RE: related document(s)1955 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan) Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.) (Appearances:
                          D. Rukavina for Advisors; L. Hogewood for Funds; C. Taylor for J. Dondero; D. Draper for
                          Get Good and Dugaboy Trusts; J. Pomeranz for Debtor; M. Clemente for UCC. Evidentiary
                          hearing. Motion denied, based on reasons stated orallycourt determined 4-factor test for a
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                          stay pending appeal not met. Court will hold a follow up hearing on whether a sufficient
                          monetary bond/supersedeas bond might be posted to warrant a mandatory stay pending
                          appeal, on 3/24/21 at 9:30 am, since the issue of monetary bond was not fully addressed in
                          evidence and arguments. Mr. Pomeranz will submit written order memorializing todays
                          hearing.) (Edmond, Michael)

                             2068 Hearing held on 3/19/2021. (RE: related document(s)1967 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan) Filed by Interested Parties
                          Highland Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint
                          Strategic Opportunities Fund (Hogewood, A.) (Appearances: D. Rukavina for Advisors; L.
                          Hogewood for Funds; C. Taylor for J. Dondero; D. Draper for Get Good and Dugaboy
                          Trusts; J. Pomeranz for Debtor; M. Clemente for UCC. Evidentiary hearing. Motion denied,
                          based on reasons stated orallycourt determined 4-factor test for a stay pending appeal not
                          met. Court will hold a follow up hearing on whether a sufficient monetary bond/supersedeas
                          bond might be posted to warrant a mandatory stay pending appeal, on 3/24/21 at 9:30 am,
                          since the issue of monetary bond was not fully addressed in evidence and arguments. Mr.
   03/19/2021             Pomeranz will submit written order memorializing todays hearing.) (Edmond, Michael)

                             2069 Hearing held on 3/19/2021. (RE: related document(s)1971 Joinder by Joinder to
                          Motions for Stay Pending Appeal of the Court's Order Confirming the Debtor's Fifth
                          Amended Plan with Certificate of Service filed by Get Good Trust, The Dugaboy Investment
                          Trust (RE: related document(s)1955 Motion to stay pending appeal (related documents 1943
                          Order confirming chapter 11 plan), 1967 Motion to stay pending appeal (related documents
                          1943 Order confirming chapter 11 plan)). (Attachments: # 1 Exhibit Opinion) (Appearances:
                          D. Rukavina for Advisors; L. Hogewood for Funds; C. Taylor for J. Dondero; D. Draper for
                          Get Good and Dugaboy Trusts; J. Pomeranz for Debtor; M. Clemente for UCC. Evidentiary
                          hearing. Motion denied, based on reasons stated orallycourt determined 4-factor test for a
                          stay pending appeal not met. Court will hold a follow up hearing on whether a sufficient
                          monetary bond/supersedeas bond might be posted to warrant a mandatory stay pending
                          appeal, on 3/24/21 at 9:30 am, since the issue of monetary bond was not fully addressed in
                          evidence and arguments. Mr. Pomeranz will submit written order memorializing todays
   03/19/2021             hearing.) (Edmond, Michael)

                             2070 Hearing held on 3/19/2021. (RE: related document(s)1973 Joinder by filed by
                          Interested Party James Dondero (RE: related document(s)1955 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan). (Appearances: D.
                          Rukavina for Advisors; L. Hogewood for Funds; C. Taylor for J. Dondero; D. Draper for Get
                          Good and Dugaboy Trusts; J. Pomeranz for Debtor; M. Clemente for UCC. Evidentiary
                          hearing. Motion denied, based on reasons stated orallycourt determined 4-factor test for a
                          stay pending appeal not met. Court will hold a follow up hearing on whether a sufficient
                          monetary bond/supersedeas bond might be posted to warrant a mandatory stay pending
                          appeal, on 3/24/21 at 9:30 am, since the issue of monetary bond was not fully addressed in
                          evidence and arguments. Mr. Pomeranz will submit written order memorializing todays
   03/19/2021             hearing.) (Edmond, Michael)

                             2071 (3 pgs) Witness List filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)1967 Motion to stay pending appeal (related documents
                          1943 Order confirming chapter 11 plan)). (Hoffman, Juliana). Related document(s) 1971
                          Joinder filed by Creditor The Dugaboy Investment Trust, Creditor Get Good Trust, 1973
                          Joinder filed by Interested Party James Dondero. Modified to create linkages on 3/22/2021
   03/19/2021             (Tello, Chris).

   03/19/2021                 2072 (7 pgs) Certificate of service re: 1) Second Notice of Additional Services to be
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.417 329/439



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                          Provided by Deloitte Tax LLP; and 2) Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to January 31, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2038 Second Notice
                          of Additional Services to be Provided by Deloitte Tax LLP filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2039 Notice of
                          Statement of Amounts Paid to Ordinary Course Professionals for the Period from October
                          16, 2019 to January 31, 2021 filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330
                          OF THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                             2077 Hearing set - follow up hearing on whether a sufficient monetary bond/supersedeas
                          bond might be posted to warrant a mandatory stay pending appeal (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan) Filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., NexPoint Advisors, L.P., 1967 Motion to stay pending appeal (related documents 1943
                          Order confirming chapter 11 plan) Filed by Interested Parties Highland Global Allocation
                          Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund
                          (Hogewood, A.), 1971 Joinder by Joinder to Motions for Stay Pending Appeal of the Court's
                          Order Confirming the Debtor's Fifth Amended Plan with Certificate of Service filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan)).
                          (Attachments: # 1 Exhibit Opinion), 1973 Joinder by filed by Interested Party James Dondero
                          (RE: related document(s)1955 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan)).) Hearing to be held on 3/24/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 1955 and for 1967 and for 1973 and for 1971, (Ellison,
   03/19/2021             T.) (Entered: 03/22/2021)

   03/20/2021                2073 (82 pgs) Transcript regarding Hearing Held 03/19/2021 (82 pages) RE:
                          Motions/Joinders to Stay Pending Appeal. THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 06/18/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 2067 Hearing held on 3/19/2021. (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan) Filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P.) (Appearances: D. Rukavina for Advisors; L. Hogewood for Funds; C. Taylor for J.
                          Dondero; D. Draper for Get Good and Dugaboy Trusts; J. Pomeranz for Debtor; M.
                          Clemente for UCC. Evidentiary hearing. Motion denied, based on reasons stated orallycourt
                          determined 4-factor test for a stay pending appeal not met. Court will hold a follow up
                          hearing on whether a sufficient monetary bond/supersedeas bond might be posted to warrant
                          a mandatory stay pending appeal, on 3/24/21 at 9:30 am, since the issue of monetary bond
                          was not fully addressed in evidence and arguments. Mr. Pomeranz will submit written order
                          memorializing todays hearing.), 2068 Hearing held on 3/19/2021. (RE: related
                          document(s)1967 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan) Filed by Interested Parties Highland Global Allocation Fund, Highland
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.418 330/439



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                          Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (Hogewood,
                          A.) (Appearances: D. Rukavina for Advisors; L. Hogewood for Funds; C. Taylor for J.
                          Dondero; D. Draper for Get Good and Dugaboy Trusts; J. Pomeranz for Debtor; M.
                          Clemente for UCC. Evidentiary hearing. Motion denied, based on reasons stated orallycourt
                          determined 4-factor test for a stay pending appeal not met. Court will hold a follow up
                          hearing on whether a sufficient monetary bond/supersedeas bond might be posted to warrant
                          a mandatory stay pending appeal, on 3/24/21 at 9:30 am, since the issue of monetary bond
                          was not fully addressed in evidence and arguments. Mr. Pomeranz will submit written order
                          memorializing todays hearing.), 2069 Hearing held on 3/19/2021. (RE: related
                          document(s)1971 Joinder by Joinder to Motions for Stay Pending Appeal of the Court's
                          Order Confirming the Debtor's Fifth Amended Plan with Certificate of Service filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan)).
                          (Attachments: # 1 Exhibit Opinion) (Appearances: D. Rukavina for Advisors; L. Hogewood
                          for Funds; C. Taylor for J. Dondero; D. Draper for Get Good and Dugaboy Trusts; J.
                          Pomeranz for Debtor; M. Clemente for UCC. Evidentiary hearing. Motion denied, based on
                          reasons stated orallycourt determined 4-factor test for a stay pending appeal not met. Court
                          will hold a follow up hearing on whether a sufficient monetary bond/supersedeas bond might
                          be posted to warrant a mandatory stay pending appeal, on 3/24/21 at 9:30 am, since the issue
                          of monetary bond was not fully addressed in evidence and arguments. Mr. Pomeranz will
                          submit written order memorializing todays hearing.), 2070 Hearing held on 3/19/2021. (RE:
                          related document(s)1973 Joinder by filed by Interested Party James Dondero (RE: related
                          document(s)1955 Motion to stay pending appeal (related documents 1943 Order confirming
                          chapter 11 plan). (Appearances: D. Rukavina for Advisors; L. Hogewood for Funds; C.
                          Taylor for J. Dondero; D. Draper for Get Good and Dugaboy Trusts; J. Pomeranz for Debtor;
                          M. Clemente for UCC. Evidentiary hearing. Motion denied, based on reasons stated
                          orallycourt determined 4-factor test for a stay pending appeal not met. Court will hold a
                          follow up hearing on whether a sufficient monetary bond/supersedeas bond might be posted
                          to warrant a mandatory stay pending appeal, on 3/24/21 at 9:30 am, since the issue of
                          monetary bond was not fully addressed in evidence and arguments. Mr. Pomeranz will
                          submit written order memorializing todays hearing.)). Transcript to be made available to the
                          public on 06/18/2021. (Rehling, Kathy)

                            2074 (12 pgs) Amended appellant designation of contents for inclusion in record on
                          appeal filed by Interested Parties Highland Global Allocation Fund, Highland Income Fund,
                          NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (RE: related document(s)2041
   03/22/2021             Appellant designation). (Hogewood, A.)

                             2075 (2 pgs) Notice to take deposition of James P. Seery filed by Interested Parties
                          Highland Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint
   03/22/2021             Strategic Opportunities Fund. (Hogewood, A.)

                             2076 (2 pgs) Order granting motion to continue hearing on (related document # 2064)
                          (related documents Motion to compel an Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation. ) Hearing to
                          be held on 4/5/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 1878,
   03/22/2021             Entered on 3/22/2021. (Okafor, M.)

   03/22/2021                2078 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2059 Omnibus Objection to claim(s) of Creditor(s) Christopher Rice;
                          Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford;
                          Mark Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.419 331/439



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                          Brian Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 4/20/2021.). Hearing to be held on 5/3/2021 at 01:30
                          PM at https://us-courts.webex.com/meet/jerniga for 2059, (Annable, Zachery)

                            2079 (3 pgs) Declaration re: (Supplemental Declaration of Jeffrey N. Pomerantz in
                          Support of Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the
                          Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ
                          and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession Nunc Pro Tunc to the Petition Date) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)70 Application to employ Pachulski Stang Ziehl
   03/22/2021             & Jones LLP as Attorney). (Annable, Zachery)

                              2080 (4 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          filed by Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint
   03/22/2021             Advisors, L.P. (RE: related document(s)2016 Appellant designation). (Rukavina, Davor)

                             2081 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)1888 Application for administrative expenses Filed by Interested Parties
                          NexBank, NexBank Capital Inc., NexBank Securities Inc., NexBank Title Inc.) Responses
   03/23/2021             due by 4/6/2021. (Ecker, C.)

                            2082 (4 pgs; 2 docs) Notice of Authority to Clerk of Bankruptcy Court filed by Get Good
   03/23/2021             Trust, The Dugaboy Investment Trust. (Attachments: # 1 Order) (Draper, Douglas)

                             2083 (11 pgs) Order denying motion to recuse (related document #2060) Entered on
   03/23/2021             3/23/2021. (Okafor, M.)

                             2084 (3 pgs) Order denying motion to stay pending appeal Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (related
                          document # 1955), denying motion to stay pending appeal Filed by Interested Parties
                          Highland Global Allocation Fund, Highland Income Fund, NexPoint Capital, Inc., NexPoint
                          Strategic Opportunities Fund(related document # 1967), denying Joinder by Joinder to
                          Motions for Stay Pending Appeal of the Court's Order Confirming the Debtor's Fifth
                          Amended Plan with Certificate of Service filed by Get Good Trust, The Dugaboy Investment
                          Trust (related document # 1971), denying Joinder by filed by Interested Party James Dondero
                          (related document # 1973). Hearing to be held on 3/24/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jernigan for 1955 and for 1967 and for 1973 and for 1971, Entered
   03/23/2021             on 3/23/2021. (Okafor, M.)

                             2085 (5 pgs) Amended Notice of hearing filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1878 Motion to compel an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
                          Document Preservation. Filed by Creditor Committee Official Committee of Unsecured
                          Creditors (Attachments: # 1 Proposed Order Exhibit A # 2 Exhibit Exhibit B)). Hearing to be
                          held on 4/5/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 1878,
   03/23/2021             (Montgomery, Paige)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.420 332/439



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   03/23/2021                2086 (1 pg) Support/supplemental document (Letter to Court Regarding Mandatory Stay
                          Pending Appeal Bond Hearing) filed by Interested Parties Highland Capital Management
                          Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s) 2077 Hearing
                          set/continued, 2084 Order on motion to stay pending appeal, Order on motion to stay pending
                          appeal). (Rukavina, Davor)

                             2087 (15 pgs) Debtor's Supplemental Brief in opposition filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1955 Motion to stay pending appeal
                          (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan)). (Annable, Zachery).
                          Related document(s) 1971 Joinder filed by Creditor The Dugaboy Investment Trust, Creditor
                          Get Good Trust, 1973 Joinder filed by Interested Party James Dondero. Modified to add
   03/23/2021             linkages on 3/23/2021 (Tello, Chris).

                            2088 (7 pgs; 2 docs) Amended Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2058 List (witness/exhibit/generic), 2066 List
   03/23/2021             (witness/exhibit/generic)). (Attachments: # 1 Exhibit 34) (Annable, Zachery)

                             2089 (9 pgs) Supplemental Response opposed to (related document(s): 1955 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan) filed by
                          Interested Party Highland Capital Management Fund Advisors, L.P., Interested Party
                          NexPoint Advisors, L.P., 1967 Motion to stay pending appeal (related documents 1943 Order
                          confirming chapter 11 plan) filed by Interested Party NexPoint Capital, Inc., Interested Party
                          NexPoint Strategic Opportunities Fund, Interested Party Highland Income Fund, Interested
                          Party Highland Global Allocation Fund) filed by Creditor Committee Official Committee of
   03/23/2021             Unsecured Creditors. (Hoffman, Juliana)

                             2090 (7 pgs) Certificate of service re: Debtor's Witness and Exhibit List with Respect to
                          Hearing to be Held on March 19, 2021 Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2058 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)1955 Motion to stay pending appeal (related
                          documents 1943 Order confirming chapter 11 plan), 1967 Motion to stay pending appeal
                          (related documents 1943 Order confirming chapter 11 plan)). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 #
                          9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 #
                          15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit
                          20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26
                          Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 #
                          32 Exhibit 32 # 33 Exhibit 33) filed by Debtor Highland Capital Management, L.P.). (Kass,
   03/23/2021             Albert)

   03/23/2021                2091 (19 pgs) Certificate of service re: Debtor's Third Omnibus Objection to Certain No
                          Liability Claims Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2059 Omnibus Objection to claim(s) of Creditor(s) Christopher Rice; Helen
                          Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark
                          Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand; Brian
                          Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.421 333/439



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                          Management, L.P.. Responses due by 4/20/2021. filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert) Modified on 3/24/2021 (Rielly, Bill).

                             2092 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Scott Ellington (Claim No. 244) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                            2093 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transferors: Frank
                          Waterhouse (Claim No. 217) To CPCM, LCC. Filed by Interested Party CPCM, LLC.
   03/24/2021             (Hartmann, Margaret)

                            2094 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transferors: Jean Paul
                          Sevilla (Claim No. 241) To CPCM, LLC. Filed by Interested Party CPCM, LLC. (Hartmann,
   03/24/2021             Margaret)

                             2095 (4 pgs) Supplemental Order on Motions for stay pending appeal (RE: related
                          document(s) 2084 Order, 1955 Motion to stay pending appeal filed by Interested Party
                          Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint Advisors,
                          L.P., 1967 Motion to stay pending appeal filed by Interested Party NexPoint Capital, Inc.,
                          Interested Party NexPoint Strategic Opportunities Fund, Interested Party Highland Income
                          Fund, Interested Party Highland Global Allocation Fund, 1971 Joinder filed by Creditor The
                          Dugaboy Investment Trust, Creditor Get Good Trust, 1973 Joinder filed by Interested Party
   03/24/2021             James Dondero). Entered on 3/24/2021 (Okafor, M.)

                            2096 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transferors: Isaac
                          Leventon (Claim No. 216) To CPCM, LLC. Filed by Interested Party CPCM, LLC.
   03/24/2021             (Hartmann, Margaret)

                             2097 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Lucy Bannon (Claim No. 235) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2098 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Jerome Carter (Claim No. 223) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2099 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Brian Collins (Claim No. 233) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2100 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Matthew DiOrio (Claim No. 230) To CPCM, LLC. Filed by Interested
   03/24/2021             Party CPCM, LLC. (Hartmann, Margaret)

                             2101 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Hayley Eliason (Claim No. 236) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2102 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: William Gosserand (Claim No. 232) To CPCM, LLC. Filed by Interested
   03/24/2021             Party CPCM, LLC. (Hartmann, Margaret)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.422 334/439



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   03/24/2021                2103 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Steven Haltom (Claim No. 224) To CPCM, LLC. Filed by Interested Party
                          CPCM, LLC. (Hartmann, Margaret)

                             2104 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Charles Hoedebeck (Claim No. 228) To CPCM, LLC. Filed by Interested
   03/24/2021             Party CPCM, LLC. (Hartmann, Margaret)

                             2105 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Mary Irving (Claim No. 231) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2106 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Helen Kim (Claim No. 226) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2107 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Kari Kovelan (Claim No. 227) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2108 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: William Mabry (Claim No. 234) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2109 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Mark Patrick (Claim No. 219) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2110 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Christopher Rice (Claim No. 220) To CPCM, LLC. Filed by Interested
   03/24/2021             Party CPCM, LLC. (Hartmann, Margaret)

                             2111 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Jason Rothstein (Claim No. 229) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2112 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Kellie Stevens (Claim No. 221) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2113 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Ricky Swadley (Claim No. 237) To CPCM, LLC. Filed by Interested Party
   03/24/2021             CPCM, LLC. (Hartmann, Margaret)

                             2114 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Lauren Thedford (Claim No. 222) To CPCM, LLC. Filed by Interested
   03/24/2021             Party CPCM, LLC. (Hartmann, Margaret)

   03/24/2021                2115 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Stephanie Vitiello (Claim No. 225) To CPCM, LLC. Filed by Interested
                          Party CPCM, LLC. (Hartmann, Margaret)
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                             2116 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1963 Application for compensation Sidley
                          Austin LLP's 15th Monthly Application for Compensation and Reimbursement of Expenses
                          for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 1/1/2021 to
   03/24/2021             1/31/2021, Fee: $655,7). (Hoffman, Juliana)

                             2117 (16 pgs) Certificate of service re: Documents Served on March 19, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2048 Declaration re:
                          Third Supplemental Declaration filed by Financial Advisor FTI Consulting, Inc. (RE: related
                          document(s)336 Order on application to employ). filed by Financial Advisor FTI Consulting,
                          Inc., 2064 Motion to continue hearing on (related documents 1878 Motion to compel) Filed
                          by Creditor Committee Official Committee of Unsecured Creditors filed by Creditor
                          Committee Official Committee of Unsecured Creditors, 2066 Witness List (Debtor's Witness
                          List with Respect to Hearing to Be Held on March 24, 2021) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1955 Motion to stay pending appeal
                          (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan), 1971 Joinder filed by
                          Creditor The Dugaboy Investment Trust, Creditor Get Good Trust, 1973 Joinder filed by
                          Interested Party James Dondero). (Annable, Zachery). Modified linkage on 3/19/2021. filed
                          by Debtor Highland Capital Management, L.P., 2071 Witness List filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)1967
                          Motion to stay pending appeal (related documents 1943 Order confirming chapter 11 plan)).
                          (Hoffman, Juliana). Related document(s) 1971 Joinder filed by Creditor The Dugaboy
                          Investment Trust, Creditor Get Good Trust, 1973 Joinder filed by Interested Party James
                          Dondero. Modified to create linkages on 3/22/2021. filed by Creditor Committee Official
   03/24/2021             Committee of Unsecured Creditors). (Kass, Albert)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2092). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2093). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2094). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2096). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2097). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2098). (U.S.
   03/25/2021             Treasury)


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   03/25/2021                Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2099). (U.S.
                          Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2100). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2101). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2102). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2103). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2104). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2105). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2106). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2107). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2108). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2109). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2110). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2111). (U.S.
   03/25/2021             Treasury)

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   03/25/2021                Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2112). (U.S.
                          Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2113). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2114). (U.S.
   03/25/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28587981, amount $ 26.00 (re: Doc# 2115). (U.S.
   03/25/2021             Treasury)

                            2118 (7 pgs) Notice to take deposition of NexPoint Real Estate Partners, LLC f/k/a HCRE
   03/25/2021             Partners, LLC filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            2119 (3 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   03/25/2021             Capital Management, L.P.. (Annable, Zachery)

                             2120 (4 pgs) INCORRECT ENTRY: Attorney to refile. Certificate of No Objection filed
                          by Financial Advisor FTI Consulting, Inc. (RE: related document(s)1968 Application for
                          compensation 15th Monthly Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 1/1/2021 to 1/31/2021, Fee: $244,315.80,
   03/25/2021             Expenses: $0.00.). (Hoffman, Juliana) Modified on 3/26/2021 (Ecker, C.).

                             2121 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2084
                          Order denying motion to stay pending appeal Filed by Interested Parties Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P. (related document 1955), denying
                          motion to stay pending appeal Filed by Interested Parties Highland Global Allocation Fund,
                          Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities
                          Fund(related document 1967), denying Joinder by Joinder to Motions for Stay Pending
                          Appeal of the Court's Order Confirming the Debtor's Fifth Amended Plan with Certificate of
                          Service filed by Get Good Trust, The Dugaboy Investment Trust (related document 1971),
                          denying Joinder by filed by Interested Party James Dondero (related document 1973).
                          Hearing to be held on 3/24/2021 at 09:30 AM at https://us-courts.webex.com/meet/jernigan
                          for 1955 and for 1967 and for 1973 and for 1971, Entered on 3/23/2021. (Okafor, M.)) No. of
   03/25/2021             Notices: 1. Notice Date 03/25/2021. (Admin.)

                            2122 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)1968 Application for compensation 15th Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
   03/26/2021             Period: 1/1/2021 to 1/31/2021, Fee: $244,315.80, Expenses: $0.00.). (Hoffman, Juliana)

   03/26/2021                2123 (5 pgs) Amended Notice of hearing (Amended Notice of Status Conference) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1826 Application for
                          administrative expenses Filed by Interested Parties Highland Capital Management Fund
                          Advisors, L.P., NexPoint Advisors, L.P. (Attachments: # 1 Service List)). Status Conference
                          to be held on 5/7/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga. (Annable,
                          Zachery)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.426 338/439



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                             2124 (155 pgs) Application for compensation Seventeenth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from February 1, 2021
                          through February 28, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
                          2/1/2021 to 2/28/2021, Fee: $1,358,786.50, Expenses: $21,401.29. Filed by Attorney Jeffrey
   03/26/2021             Nathan Pomerantz Objections due by 4/16/2021. (Pomerantz, Jeffrey)

                             2125 (22 pgs) Certificate of service re: 1) Order Granting the Motion for Continuance of
                          Hearing on the Preservation Motion Filed by the Official Committee of Unsecured Creditors;
                          2) Notice of Hearing on Debtor's Third Omnibus Objection to Certain No Liability Claims;
                          and 3) Supplemental Declaration of Jeffrey N. Pomerantz in Support of Application Pursuant
                          to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy
                          Procedure and Local Rule 2014-1 for Authorization to Employ and Retain Pachulski Stang
                          Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the
                          Petition Date Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2076 Order granting motion to continue hearing on (related document 2064)
                          (related documents Motion to compel an Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation. ) Hearing to
                          be held on 4/5/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 1878,
                          Entered on 3/22/2021. (Okafor, M.), 2078 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2059 Omnibus Objection to claim(s) of
                          Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan;
                          Kellie Stevens; Lauren Thedford; Mark Patrick; Charles Hoedebeck; Stephanie Vitiello;
                          Steven Haltom; William Gosserand; Brian Collins; Hayley Eliason; Lucy Bannon; Mary
                          Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean Paul Sevilla; Jon Poglitsch;
                          Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa Schroth; Mauro Staltari; Will
                          Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff;
                          James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will
                          Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas; Joye Luu; Austin
                          Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay; Jennifer School.. Filed
                          by Debtor Highland Capital Management, L.P.. Responses due by 4/20/2021.). Hearing to be
                          held on 5/3/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 2059, filed by
                          Debtor Highland Capital Management, L.P., 2079 Declaration re: (Supplemental Declaration
                          of Jeffrey N. Pomerantz in Support of Application Pursuant to Section 327(a) of the
                          Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule
                          2014-1 for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date) filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)70 Application to
                          employ Pachulski Stang Ziehl & Jones LLP as Attorney). filed by Debtor Highland Capital
   03/26/2021             Management, L.P.). (Kass, Albert)

   03/26/2021                2126 (16 pgs) Certificate of service re: Documents Served on March 23, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2084 Order denying
                          motion to stay pending appeal Filed by Interested Parties Highland Capital Management
                          Fund Advisors, L.P., NexPoint Advisors, L.P. (related document 1955), denying motion to
                          stay pending appeal Filed by Interested Parties Highland Global Allocation Fund, Highland
                          Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund(related
                          document 1967), denying Joinder by Joinder to Motions for Stay Pending Appeal of the
                          Court's Order Confirming the Debtor's Fifth Amended Plan with Certificate of Service filed
                          by Get Good Trust, The Dugaboy Investment Trust (related document 1971), denying Joinder
                          by filed by Interested Party James Dondero (related document 1973). Hearing to be held on
                          3/24/2021 at 09:30 AM at https://us-courts.webex.com/meet/jernigan for 1955 and for 1967
                          and for 1973 and for 1971, Entered on 3/23/2021. (Okafor, M.), 2085 Amended Notice of

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                          hearing filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)1878 Motion to compel an Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation. Filed by
                          Creditor Committee Official Committee of Unsecured Creditors (Attachments: # 1 Proposed
                          Order Exhibit A # 2 Exhibit Exhibit B)). Hearing to be held on 4/5/2021 at 01:30 PM at
                          https://us-courts.webex.com/meet/jerniga for 1878, filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 2087 Debtor's Supplemental Brief in opposition filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1955 Motion to stay
                          pending appeal (related documents 1943 Order confirming chapter 11 plan), 1967 Motion to
                          stay pending appeal (related documents 1943 Order confirming chapter 11 plan)). (Annable,
                          Zachery). Related document(s) 1971 Joinder filed by Creditor The Dugaboy Investment
                          Trust, Creditor Get Good Trust, 1973 Joinder filed by Interested Party James Dondero.
                          Modified to add linkages on 3/23/2021. filed by Debtor Highland Capital Management, L.P.,
                          2088 Amended Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2058 List (witness/exhibit/generic), 2066 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit 34) filed by Debtor Highland Capital Management, L.P., 2089
                          Supplemental Response opposed to (related document(s): 1955 Motion to stay pending
                          appeal (related documents 1943 Order confirming chapter 11 plan) filed by Interested Party
                          Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint Advisors,
                          L.P., 1967 Motion to stay pending appeal (related documents 1943 Order confirming chapter
                          11 plan) filed by Interested Party NexPoint Capital, Inc., Interested Party NexPoint Strategic
                          Opportunities Fund, Interested Party Highland Income Fund, Interested Party Highland
                          Global Allocation Fund) filed by Creditor Committee Official Committee of Unsecured
                          Creditors. filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass,
                          Albert)

                             2127 (17 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2095
                          Supplemental Order on Motions for stay pending appeal (RE: related document(s) 2084
                          Order, 1955 Motion to stay pending appeal filed by Interested Party Highland Capital
                          Management Fund Advisors, L.P., Interested Party NexPoint Advisors, L.P., 1967 Motion to
                          stay pending appeal filed by Interested Party NexPoint Capital, Inc., Interested Party
                          NexPoint Strategic Opportunities Fund, Interested Party Highland Income Fund, Interested
                          Party Highland Global Allocation Fund, 1971 Joinder filed by Creditor The Dugaboy
                          Investment Trust, Creditor Get Good Trust, 1973 Joinder filed by Interested Party James
                          Dondero). Entered on 3/24/2021 (Okafor, M.)) No. of Notices: 1. Notice Date 03/26/2021.
   03/26/2021             (Admin.)

                            2128 (15 pgs) Motion for leave to file Adversary Complaint and Other Materials Under
                          Seal Filed by Interested Parties UBS AG London Branch, UBS Securities LLC (Sosland,
   03/29/2021             Martin)

                             2129 (8 pgs; 2 docs) Motion to file document under seal. (Debtor's Motion for Leave to
                          File under Seal the Debtor's Statement with Respect to UBS's Motion for Leave to File
                          Adversary Complaint and Other Materials under Seal) Filed by Debtor Highland Capital
   03/29/2021             Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

   03/29/2021                2130 (11 pgs) Certificate of service re: Supplemental Order on Motions for Stay Pending
                          Appeal Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2095
                          Supplemental Order on Motions for stay pending appeal (RE: related document(s) 2084
                          Order, 1955 Motion to stay pending appeal filed by Interested Party Highland Capital
                          Management Fund Advisors, L.P., Interested Party NexPoint Advisors, L.P., 1967 Motion to
                          stay pending appeal filed by Interested Party NexPoint Capital, Inc., Interested Party
                          NexPoint Strategic Opportunities Fund, Interested Party Highland Income Fund, Interested
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.428 340/439



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                          Party Highland Global Allocation Fund, 1971 Joinder filed by Creditor The Dugaboy
                          Investment Trust, Creditor Get Good Trust, 1973 Joinder filed by Interested Party James
                          Dondero). Entered on 3/24/2021 (Okafor, M.)). (Kass, Albert)

                             2131 (3 pgs) Certificate of Conference filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2129 Motion to file document under seal. (Debtor's Motion for
                          Leave to File under Seal the Debtor's Statement with Respect to UBS's Motion for Leave to
   03/29/2021             File Adversary Complaint and Other Materials under Seal)). (Annable, Zachery)

                            2132 (2 pgs) Certificate of Conference filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)2128 Motion for leave to file
   03/29/2021             Adversary Complaint and Other Materials Under Seal). (Sosland, Martin)

                             2133 (9 pgs) Objection to claim(s) of Creditor(s) Integrated Financial Associates, Inc...
                          Filed by Debtor Highland Capital Management, L.P.. Responses due by 4/28/2021. (Annable,
   03/29/2021             Zachery)

                            2134 (2 pgs) Notice to take deposition of HCRE Partners, LLC filed by Debtor Highland
   03/29/2021             Capital Management, L.P.. (Annable, Zachery)

                            2135 (2 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   03/29/2021             Capital Management, L.P.. (Annable, Zachery)

                             2136 (2 pgs) Notice to take deposition of Paul Broaddus filed by HCRE Partners, LLC
                          (n/k/a NexPoint Real Estate Partners, LLC), Highland Capital Management Services, Inc..
   03/30/2021             (Drawhorn, Lauren)

                             2137 (2 pgs) Notice to take deposition of Mark Patrick filed by HCRE Partners, LLC
                          (n/k/a NexPoint Real Estate Partners, LLC), Highland Capital Management Services, Inc..
   03/30/2021             (Drawhorn, Lauren)

                             2138 (5 pgs) INCORRECT EVENT: Attorney to refile. Notice (Joint Stipulation as to the
                          Withdrawal of Hunter Mountain Investment Trust's Proof of Claim No. 152) filed by Debtor
                          Highland Capital Management, L.P.. (Annable, Zachery) MODIFIED on 3/31/2021 (Ecker,
   03/30/2021             C.).

                            2139 (5 pgs) Withdrawal of claim(s): (Joint Stipulation as to the Withdrawal of Hunter
                          Mountain Investment Trust's Proof of Claim No. 152) Filed by Debtor Highland Capital
   03/31/2021             Management, L.P.. (Annable, Zachery)

                            2140 (3 pgs) Order granting motion for leave to file Adversary Complaint and Other
                          Materials Under Seal Filed by Interested Parties UBS AG London Branch, UBS Securities
   03/31/2021             LLC(related document # 2128) Entered on 3/31/2021. (Okafor, M.)

   03/31/2021                2141 (16 pgs) Certificate of service re: 1) Debtor's Second Amended Notice of Rule 30(b)
                          (6) Deposition to HCRE Partners, LLC; and 2) Debtor's Second Amended Notice of
                          Deposition to James Dondero in Connection with Debtor's Objection to Proof of Claim Filed
                          by HCRE Partners, LLC Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2118 Notice to take deposition of NexPoint Real Estate Partners, LLC f/k/a
                          HCRE Partners, LLC filed by Debtor Highland Capital Management, L.P.. filed by Debtor
                          Highland Capital Management, L.P., 2119 Notice to take deposition of James Dondero filed

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                          by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert)

                             2142 (2 pgs) Adversary case 21-03020. Complaint by UBS Securities LLC, UBS AG
                          London Branch against Highland Capital Management, L.P.. Fee Amount $350. Nature(s) of
   03/31/2021             suit: 72 (Injunctive relief - other). (Sosland, Martin)

                             2143 (8 pgs) Order approving joint stipulation as to withdrawal of Hunter Mountain
                          Investment Trust's proof of claim No. 152 (RE: related document(s)2139 Withdrawal of
                          claim filed by Debtor Highland Capital Management, L.P.). Entered on 3/31/2021 (Okafor,
   03/31/2021             M.)

                             2144 (15 pgs) Certificate of service re: 1) Amended Notice of Status Conference; and 2)
                          Seventeenth Monthly Application for Compensation and Reimbursement of Expenses of
                          Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the Period from February
                          1, 2021 Through February 28, 2021 Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2123 Amended Notice of hearing (Amended Notice of Status
                          Conference) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)1826 Application for administrative expenses Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (Attachments: #
                          1 Service List)). Status Conference to be held on 5/7/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga. filed by Debtor Highland Capital Management, L.P., 2124
                          Application for compensation Seventeenth Monthly Application for Compensation and for
                          Reimbursement of Expenses for the Period from February 1, 2021 through February 28,
                          2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 2/1/2021 to 2/28/2021, Fee:
                          $1,358,786.50, Expenses: $21,401.29. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 4/16/2021. filed by Debtor Highland Capital Management, L.P.). (Kass,
   03/31/2021             Albert)

                              2145 (24 pgs) Certificate of service re: Doucments Served on March 29, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2129 Motion to file
                          document under seal. (Debtor's Motion for Leave to File under Seal the Debtor's Statement
                          with Respect to UBS's Motion for Leave to File Adversary Complaint and Other Materials
                          under Seal) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit
                          A--Proposed Order) filed by Debtor Highland Capital Management, L.P., 2131 Certificate of
                          Conference filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2129 Motion to file document under seal. (Debtor's Motion for Leave to File
                          under Seal the Debtor's Statement with Respect to UBS's Motion for Leave to File Adversary
                          Complaint and Other Materials under Seal)). filed by Debtor Highland Capital Management,
                          L.P., 2133 Objection to claim(s) of Creditor(s) Integrated Financial Associates, Inc... Filed by
                          Debtor Highland Capital Management, L.P.. Responses due by 4/28/2021. filed by Debtor
                          Highland Capital Management, L.P., 2134 Notice to take deposition of HCRE Partners, LLC
                          filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P., 2135 Notice to take deposition of James Dondero filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   03/31/2021             (Kass, Albert)

                             2146 (2 pgs) Order Granting Debtor's Motion for Leave to File under Seal the Debtor's
                          Statement with Respect to UBS's Motion for Leave to File Adversary Complaint and Other
                          Materials under Seal) Filed by Debtor Highland Capital Management, L.P. (related document
   04/01/2021             # 2129) Entered on 4/1/2021. (Okafor, M.)

   04/01/2021                   Adversary case 3:20-ap-3105 closed (Ecker, C.)
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                            2147 (4 pgs) Response unopposed to (related document(s): 2128 Motion for leave to file
                          Adversary Complaint and Other Materials Under Seal filed by Interested Party UBS
                          Securities LLC, Interested Party UBS AG London Branch) filed by Debtor Highland Capital
   04/01/2021             Management, L.P.. (Annable, Zachery)

                            2148 SEALED document regarding: (Debtor's Statement with Respect to UBS's
                          Motion for Leave to File Adversary Complaint and Other Materials under Seal) per
                          court order filed by Debtor Highland Capital Management, L.P. (RE: related
   04/01/2021             document(s)2146 Order on motion to seal). (Annable, Zachery)

                            2149 (15 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Party James
                          Dondero (RE: related document(s)2083 Order on motion to recuse Judge). Appellant
   04/01/2021             Designation due by 04/15/2021. (Attachments: # 1 Exhibit)(Lang, Michael)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   04/01/2021             Receipt number 28609730, amount $ 298.00 (re: Doc# 2149). (U.S. Treasury)

                             2150 (11 pgs) Certificate of service re: re: Joint Stipulation as to the Withdrawal of
                          Hunter Mountain Investment Trust's Proof of Claim No. 152 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2138 INCORRECT EVENT:
                          Attorney to refile. Notice (Joint Stipulation as to the Withdrawal of Hunter Mountain
                          Investment Trust's Proof of Claim No. 152) filed by Debtor Highland Capital Management,
                          L.P.. (Annable, Zachery) MODIFIED on 3/31/2021 (Ecker, C.). filed by Debtor Highland
   04/02/2021             Capital Management, L.P.). (Kass, Albert)

                             2151 (3 pgs) Motion to appear pro hac vice for Zachary F. Proulx. Fee Amount $100
   04/02/2021             Filed by Interested Parties UBS AG London Branch, UBS Securities LLC (Clubok, Andrew)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   04/02/2021             ( 100.00). Receipt number 28612120, amount $ 100.00 (re: Doc# 2151). (U.S. Treasury)

                             2152 (3 pgs) Motion to appear pro hac vice for Kathryn K. George. Fee Amount $100
   04/02/2021             Filed by Interested Parties UBS AG London Branch, UBS Securities LLC (Clubok, Andrew)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   04/02/2021             ( 100.00). Receipt number 28612132, amount $ 100.00 (re: Doc# 2152). (U.S. Treasury)

                             2153 (88 pgs; 8 docs) Witness and Exhibit List filed by Interested Party James Dondero
                          (RE: related document(s)1878 Motion to compel an Order Requiring James D. Dondero to
                          Preserve Documents and to Identify Measures Taken to Ensure Document Preservation. ).
                          (Attachments: # 1 Ex. 1 # 2 Ex. 2 # 3 Ex. 3 # 4 Ex. 4 # 5 Ex. 5 # 6 Ex. 6 # 7 Ex. 7) (Assink,
   04/02/2021             Bryan)

                            2154 (10 pgs) Reply to (related document(s): 1969 Objection filed by Interested Party
                          James Dondero) Reply to James Donderos Objection and Response to the Committees
                          Motion for an Order Requiring James D. Dondero to Preserve Documents and to Identify
                          Measures Taken to Ensure Document Preservation filed by Creditor Committee Official
   04/02/2021             Committee of Unsecured Creditors. (Montgomery, Paige)

   04/02/2021                 2155 (4 pgs) Appellee designation of contents for inclusion in record of appeal filed by

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                          Debtor Highland Capital Management, L.P. (RE: related document(s) 2014 Amended notice
                          of appeal, ). (Annable, Zachery). Modified LINKAGE and TEXT on 4/6/2021 (Blanco, J.).

                            2156 (4 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1970 Notice of appeal).
   04/02/2021             (Annable, Zachery)

                            2157 (4 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)1966 Notice of appeal).
   04/02/2021             (Annable, Zachery)

                             2158 (708 pgs) Witness and Exhibit List filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1878 Motion to compel an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
   04/03/2021             Document Preservation. ). (Montgomery, Paige)

                             2159 (716 pgs; 9 docs) Amended Witness and Exhibit List for April 5, 2021 Hearing filed
                          by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)2158 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 #
                          3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8)
   04/05/2021             (Montgomery, Paige)

                            2160 (47 pgs) Application for compensation Sidley Austin LLP's Sixteenth Monthly
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 2/1/2021 to 2/28/2021, Fee: $493,524.00,
                          Expenses: $11,141.12. Filed by Attorney Juliana Hoffman Objections due by 4/26/2021.
   04/05/2021             (Hoffman, Juliana)

                            2161 (23 pgs) Application for compensation Sixteenth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 2/1/2021 to 2/28/2021, Fee: $187,387.56, Expenses: $0.00. Filed by Attorney Juliana
   04/05/2021             Hoffman Objections due by 4/26/2021. (Hoffman, Juliana)

                             2162 (3 pgs) Withdrawal of claim(s): (Stipulation and Agreed Order Authorizing
                          Withdrawal of Proofs of Claim 110 and 111) Filed by Debtor Highland Capital Management,
   04/05/2021             L.P.. (Annable, Zachery)

                             2163 (11 pgs) Certificate of service re: 1) Joint Stipulation as to the Withdrawal of Hunter
                          Mountain Investment Trust's Proof of Claim No. 152; and 2) Order Approving Joint
                          Stipulation as to Withdrawal of Hunter Mountain Investment Trust's Proof of Claim No. 152
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2139
                          Withdrawal of claim(s): (Joint Stipulation as to the Withdrawal of Hunter Mountain
                          Investment Trust's Proof of Claim No. 152) Filed by Debtor Highland Capital Management,
                          L.P.. filed by Debtor Highland Capital Management, L.P., 2143 Order approving joint
                          stipulation as to withdrawal of Hunter Mountain Investment Trust's proof of claim No. 152
                          (RE: related document(s)2139 Withdrawal of claim filed by Debtor Highland Capital
   04/05/2021             Management, L.P.). Entered on 3/31/2021 (Okafor, M.)). (Kass, Albert)

   04/05/2021               2164 Hearing held on 4/5/2021. (RE: related document(s)1878 Motion to compel an Order
                          Requiring James D. Dondero to Preserve Documents and to Identify Measures Taken to
                          Ensure Document Preservation filed by Creditor Committee Official Committee of
                          Unsecured Creditors) (Appearances: P. Montgomery for Unsecured Creditors Committee; A.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.432 344/439



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                          Russell for J. Dondero; J. Pomeranz and J. Morris for Debtor. Evidentiary hearing. Motion
                          granted. Counsel to submit an order.) (Edmond, Michael) (Entered: 04/06/2021)

                             2165 (1 pg) Order granting motion to appear pro hac vice adding Zachary F. Proulx for
                          UBS AG London Branch and UBS Securities LLC (related document # 2151) Entered on
   04/06/2021             4/6/2021. (Okafor, M.)

                             2166 (1 pg) Order granting motion to appear pro hac vice adding Kathryn K. George for
                          UBS AG London Branch and UBS Securities LLC (related document # 2152) Entered on
   04/06/2021             4/6/2021. (Okafor, M.)

                             2167 (1 pg) Clerk's correspondence requesting to amend document from attorney for
                          Interested Party. (RE: related document(s)2149 Notice of appeal . Fee Amount $298 filed by
                          Interested Party James Dondero (RE: related document(s)2083 Order on motion to recuse
                          Judge). Appellant Designation due by 04/15/2021. (Attachments: # 1 Exhibit)) Responses
   04/06/2021             due by 4/8/2021. (Whitaker, Sheniqua)

                            2168 (6 pgs; 2 docs) Request for hearing filed by Interested Parties NexBank, NexBank
                          Capital Inc., NexBank Securities Inc., NexBank Title Inc. (RE: related document(s)2081
   04/06/2021             Clerk's correspondence). (Attachments: # 1 Proposed Order) (Drawhorn, Lauren)

                             2169 (15 pgs) Amended notice of appeal filed by Interested Party James Dondero (RE:
   04/06/2021             related document(s)2149 Notice of appeal). (Lang, Michael)

                             2170 (11 pgs) Certificate of service re: 1) Order Granting Debtor's Motion for Leave to
                          File Under Seal the Debtor's Statement with Respect to UBS's Motion for Leave to File
                          Adversary Complaint and Other Materials Under Seal; and 2) Debtor's Statement with
                          Respect to UBS's Motion for Leave to File Adversary Complaint and Other Materials Under
                          Seal Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2146
                          Order Granting Debtor's Motion for Leave to File under Seal the Debtor's Statement with
                          Respect to UBS's Motion for Leave to File Adversary Complaint and Other Materials under
                          Seal) Filed by Debtor Highland Capital Management, L.P. (related document 2129) Entered
                          on 4/1/2021. (Okafor, M.), 2147 Response unopposed to (related document(s): 2128 Motion
                          for leave to file Adversary Complaint and Other Materials Under Seal filed by Interested
                          Party UBS Securities LLC, Interested Party UBS AG London Branch) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   04/06/2021             (Kass, Albert)

                             2171 (1 pg) Request for transcript regarding a hearing held on 4/5/2021. The requested
   04/07/2021             turn-around time is hourly. (Edmond, Michael)

   04/07/2021                2172 (20 pgs) Certificate of service re: Documents Served on or Before April 3, 2021
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2154 Reply
                          to (related document(s): 1969 Objection filed by Interested Party James Dondero) Reply to
                          James Donderos Objection and Response to the Committees Motion for an Order Requiring
                          James D. Dondero to Preserve Documents and to Identify Measures Taken to Ensure
                          Document Preservation filed by Creditor Committee Official Committee of Unsecured
                          Creditors. filed by Creditor Committee Official Committee of Unsecured Creditors, 2155
                          Appellee designation of contents for inclusion in record of appeal filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s) 2014 Amended notice of appeal, ).
                          (Annable, Zachery). Modified LINKAGE and TEXT on 4/6/2021 (Blanco, J.). filed by
                          Debtor Highland Capital Management, L.P., 2156 Appellee designation of contents for
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.433 345/439



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                          inclusion in record of appeal filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1970 Notice of appeal). filed by Debtor Highland Capital Management,
                          L.P., 2157 Appellee designation of contents for inclusion in record of appeal filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1966 Notice of appeal). filed
                          by Debtor Highland Capital Management, L.P., 2158 Witness and Exhibit List filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)1878 Motion to compel an Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation. ). filed by
                          Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             2173 (18 pgs) Certificate of service re: Documents Served on April 5, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2159 Amended
                          Witness and Exhibit List for April 5, 2021 Hearing filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)2158 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                          4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8) filed by Creditor Committee
                          Official Committee of Unsecured Creditors, 2160 Application for compensation Sidley
                          Austin LLP's Sixteenth Monthly Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          2/1/2021 to 2/28/2021, Fee: $493,524.00, Expenses: $11,141.12. Filed by Attorney Juliana
                          Hoffman Objections due by 4/26/2021. filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 2161 Application for compensation Sixteenth Monthly Application for
                          Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial Advisor,
                          Period: 2/1/2021 to 2/28/2021, Fee: $187,387.56, Expenses: $0.00. Filed by Attorney Juliana
                          Hoffman Objections due by 4/26/2021. filed by Financial Advisor FTI Consulting, Inc., 2162
                          Withdrawal of claim(s): (Stipulation and Agreed Order Authorizing Withdrawal of Proofs of
                          Claim 110 and 111) Filed by Debtor Highland Capital Management, L.P.. filed by Debtor
   04/07/2021             Highland Capital Management, L.P.). (Kass, Albert)

                            2174 (2 pgs) Certificate of No Objection filed by Spec. Counsel Hunton Andrews Kurth
                          LLP (RE: related document(s)2024 Application for compensation - Second Monthly Fee
                          Application for Hunton Andrews Kurth LLP, Special Counsel, Period: 1/1/2021 to 1/31/2021,
   04/08/2021             Fee: $35042.76, Expenses: $3.80.). (Hesse, Gregory)

                            2175 (2 pgs) Certificate of No Objection filed by Spec. Counsel Hunton Andrews Kurth
                          LLP (RE: related document(s)2025 Application for compensation - Third Monthly Fee
                          Application for Hunton Andrews Kurth LLP, Special Counsel, Period: 2/1/2021 to 2/28/2021,
   04/08/2021             Fee: $37092.24, Expenses: $94.54.). (Hesse, Gregory)

                            2176 (75 pgs) Transcript regarding Hearing Held 04/05/2021 (75 pages) RE: Motion to
                          Compel (1878). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE
                          TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 07/7/2021. Until that time the transcript may be viewed at the Clerk's
                          Office or a copy may be obtained from the official court transcriber. Court
                          Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone number
                          972-786-3063. (RE: related document(s) 2164 Hearing held on 4/5/2021. (RE: related
                          document(s)1878 Motion to compel an Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation filed by
                          Creditor Committee Official Committee of Unsecured Creditors) (Appearances: P.
                          Montgomery for Unsecured Creditors Committee; A. Russell for J. Dondero; J. Pomeranz
                          and J. Morris for Debtor. Evidentiary hearing. Motion granted. Counsel to submit an order.)).
   04/08/2021             Transcript to be made available to the public on 07/7/2021. (Rehling, Kathy)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.434 346/439



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   04/08/2021                2177 (2 pgs) Order requiring James D. Dondero to preserve documents and to identify
                          measures taken to ensure document preservation (related document # 1878) Entered on
                          4/8/2021. (Okafor, M.)

                            2178 (14 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2165
                          Order granting motion to appear pro hac vice adding Zachary F. Proulx for UBS AG London
                          Branch and UBS Securities LLC (related document 2151) Entered on 4/6/2021. (Okafor,
   04/08/2021             M.)) No. of Notices: 1. Notice Date 04/08/2021. (Admin.)

                            2179 (14 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2166
                          Order granting motion to appear pro hac vice adding Kathryn K. George for UBS AG
                          London Branch and UBS Securities LLC (related document 2152) Entered on 4/6/2021.
   04/08/2021             (Okafor, M.)) No. of Notices: 1. Notice Date 04/08/2021. (Admin.)

   04/09/2021                2181 (3 pgs) Certificate of service re: (Supplemental) Notice of Hearing on Debtor's
                          Third Omnibus Objection to Certain No Liability Claims Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2078 Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2059 Omnibus Objection to
                          claim(s) of Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein; Jerome Carter; Kari
                          Kovelan; Kellie Stevens; Lauren Thedford; Mark Patrick; Charles Hoedebeck; Stephanie
                          Vitiello; Steven Haltom; William Gosserand; Brian Collins; Hayley Eliason; Lucy Bannon;
                          Mary Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean Paul Sevilla; Jon
                          Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa Schroth; Mauro
                          Staltari; Will Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev; Kent Gatzki;
                          Scott Groff; James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben; Michael
                          Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas; Joye
                          Luu; Austin Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay; Jennifer
                          School.. Filed by Debtor Highland Capital Management, L.P.. Responses due by 4/20/2021.).
                          Hearing to be held on 5/3/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for
                          2059, filed by Debtor Highland Capital Management, L.P., 2125 Certificate of service re: 1)
                          Order Granting the Motion for Continuance of Hearing on the Preservation Motion Filed by
                          the Official Committee of Unsecured Creditors; 2) Notice of Hearing on Debtor's Third
                          Omnibus Objection to Certain No Liability Claims; and 3) Supplemental Declaration of
                          Jeffrey N. Pomerantz in Support of Application Pursuant to Section 327(a) of the Bankruptcy
                          Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 for
                          Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the
                          Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2076 Order granting motion to
                          continue hearing on (related document 2064) (related documents Motion to compel an Order
                          Requiring James D. Dondero to Preserve Documents and to Identify Measures Taken to
                          Ensure Document Preservation. ) Hearing to be held on 4/5/2021 at 01:30 PM at https://us-
                          courts.webex.com/meet/jerniga for 1878, Entered on 3/22/2021. (Okafor, M.), 2078 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2059
                          Omnibus Objection to claim(s) of Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein;
                          Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark Patrick; Charles
                          Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand; Brian Collins; Hayley
                          Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean
                          Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa
                          Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev;
                          Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben;
                          Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas;
                          Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay;
                          Jennifer School.. Filed by Debtor Highland Capital Management, L.P.. Responses due by

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                          4/20/2021.). Hearing to be held on 5/3/2021 at 01:30 PM at https://us-
                          courts.webex.com/meet/jerniga for 2059, filed by Debtor Highland Capital Management,
                          L.P., 2079 Declaration re: (Supplemental Declaration of Jeffrey N. Pomerantz in Support of
                          Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal
                          Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ and
                          Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession Nunc Pro Tunc to the Petition Date) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)70 Application to employ Pachulski Stang Ziehl
                          & Jones LLP as Attorney). filed by Debtor Highland Capital Management, L.P.). filed by
                          Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                             2182 (37 pgs) Application for compensation (Fourth Combined Monthly Fee Statement of
                          Deloitte Tax LLP for Compensation for Services Rendered as Tax Services Provider to the
                          Debtor for the Period from October 1, 2021 through December 31, 2020) for Deloitte Tax
                          LLP, Other Professional, Period: 10/1/2020 to 12/31/2020, Fee: $153,957.60, Expenses:
   04/09/2021             $0.00. Filed by Other Professional Deloitte Tax LLP (Annable, Zachery)

                            2183 (4 pgs; 2 docs) Motion to withdraw as attorney (Brian P. Shaw) Filed by Acis
                          Capital Management GP, LLC, Acis Capital Management, L.P., Jennifer G. Terry, Joshua
   04/09/2021             Terry (Attachments: # 1 Proposed Order) (Shaw, Brian)

                             2184 (5 pgs) Order approving stipulation and agreed order authorizing withdrawal of
                          proofs of claim 110 and 111 (RE: related document(s)2162 Withdrawal of claim filed by
   04/09/2021             Debtor Highland Capital Management, L.P.). Entered on 4/9/2021 (Okafor, M.)

                            2185 (18 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2184
                          Order approving stipulation and agreed order authorizing withdrawal of proofs of claim 110
                          and 111 (RE: related document(s)2162 Withdrawal of claim filed by Debtor Highland Capital
                          Management, L.P.). Entered on 4/9/2021 (Okafor, M.)) No. of Notices: 1. Notice Date
   04/11/2021             04/11/2021. (Admin.)

                             2186 (3 pgs) Notice of Appearance and Request for Notice by Jeff P. Prostok filed by
   04/12/2021             Jennifer G. Terry, Joshua Terry. (Prostok, Jeff)

                            2187 (1 pg) Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 8 Number of
                          appellee volumes: 4. Civil Case Number: 3:21-CV-00261-L (Lindsay) (RE: related
                          document(s)1870 Notice of appeal Related document(s) 1788 Order on motion to
   04/13/2021             compromise controversy. (Blanco, J.)

                             2189 (2 pgs) Order granting motion to withdraw as attorney (attorney Brian Patrick Shaw
   04/13/2021             terminated). (related document # 2183) Entered on 4/13/2021. (Ecker, C.)

                             2190 (1 pg) Notice of docketing COMPLETE record on appeal. 3:21-CV-00261-L
                          (Lindsay) (RE: related document(s)1870 Notice of appeal. Related document(s) 1788 Order
                          on motion to compromise controversy. 1889 Amended notice of appeal filed by Get Good
   04/13/2021             Trust, The Dugaboy Investment Trust.) (Blanco, J.)

   04/13/2021                2191 (5 pgs) Notice of Transmittal 3:21-CV-00261-L (Lindsay) TRANSMITTED 5
                          SEALED DOCUMENTS (RE: related document(s)2190 Notice of docketing COMPLETE
                          record on appeal. 3:21-CV-00261-L (Lindsay) (RE: related document(s)1870 Notice of
                          appeal. Related document(s) 1788 Order on motion to compromise controversy. 1889
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.436 348/439



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                          Amended notice of appeal filed by Get Good Trust, The Dugaboy Investment Trust.)
                          (Blanco, J.)). (Blanco, J.)

                             2192 (20 pgs) Certificate of service re: 1) Order Requiring James D. Dondero to Preserve
                          Documents and to Identify Measures Taken to Ensure Document Preservation; 2) Fourth
                          Combined Monthly Fee Statement of Deloitte Tax LLP for Compensation for Services
                          Rendered as Tax Services Provider to the Debtor for the Period from October 1, 2020
                          Through December 31, 2020; and 3) Order Approving Stipulation and Agreed Order
                          Authorizing Withdrawal of Proofs of Claim 110 and 111 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2177 Order requiring James D. Dondero to
                          preserve documents and to identify measures taken to ensure document preservation (related
                          document 1878) Entered on 4/8/2021. (Okafor, M.), 2182 Application for compensation
                          (Fourth Combined Monthly Fee Statement of Deloitte Tax LLP for Compensation for
                          Services Rendered as Tax Services Provider to the Debtor for the Period from October 1,
                          2021 through December 31, 2020) for Deloitte Tax LLP, Other Professional, Period:
                          10/1/2020 to 12/31/2020, Fee: $153,957.60, Expenses: $0.00. Filed by Other Professional
                          Deloitte Tax LLP filed by Other Professional Deloitte Tax LLP, 2184 Order approving
                          stipulation and agreed order authorizing withdrawal of proofs of claim 110 and 111 (RE:
                          related document(s)2162 Withdrawal of claim filed by Debtor Highland Capital
   04/13/2021             Management, L.P.). Entered on 4/9/2021 (Okafor, M.)). (Kass, Albert)

                             2193 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2003 Application for compensation (First Combined Monthly
                          Fee Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from October 16, 2019 through July 31, 2020) for
   04/13/2021             Deloitte Ta). (Annable, Zachery)

                             2194 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2004 Application for compensation (Second Monthly Fee
                          Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from August 1, 2020 through August 31, 2020) for
   04/13/2021             Deloitte Tax LLP, O). (Annable, Zachery)

                             2195 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2005 Application for compensation (Third Monthly Fee
                          Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from September 1, 2020 through September 30, 2020)
   04/13/2021             for Deloitte Tax L). (Annable, Zachery)

                            2196 (7 pgs; 2 docs) Motion to compel Disqualification of Wick Phillips Gould & Martin,
                          LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick Phillips Gould
                          & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable,
   04/14/2021             Zachery)

                             2197 (24 pgs) Brief in support filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2196 Motion to compel Disqualification of Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick
                          Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief)).
   04/14/2021             (Annable, Zachery)

   04/14/2021                 2198 (533 pgs; 11 docs) Declaration re: (Declaration of John A. Morris in Support of the

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                          Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)2196 Motion to compel Disqualification of Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick
                          Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief)).
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                          Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J) (Annable, Zachery)

                             2199 (31 pgs) Motion to compromise controversy with UBS Securities LLC and UBS AG
                          London Branch. (Debtor's Motion for Entry of an Order Approving Settlement with UBS
                          Securities LLC and UBS AG London Branch and Authorizing Actions Consistent Therewith)
   04/15/2021             Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                            2200 (72 pgs; 5 docs) Declaration re: (Declaration of Robert J. Feinstein in Support of
                          Debtor's Motion for Entry of an Order Approving Settlement with UBS Securities LLC and
                          UBS AG, London Branch and Authorizing Actions Consistent Therewith) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith)). (Attachments: # 1 Exhibit 1 # 2
   04/15/2021             Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) (Annable, Zachery)

                             2201 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2199 Motion to compromise controversy with UBS Securities LLC and
                          UBS AG London Branch. (Debtor's Motion for Entry of an Order Approving Settlement with
                          UBS Securities LLC and UBS AG London Branch and Authorizing Actions Consistent
                          Therewith) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on
                          5/17/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 2199, (Annable,
   04/15/2021             Zachery)

                             2203 (17 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)2169 Amended notice of appeal filed by Interested Party James Dondero (RE:
                          related document(s)2149 Notice of appeal).) (Attachments: # 1 Service List) (Whitaker,
   04/15/2021             Sheniqua)

                            2204 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)2169 Amended Notice of appeal . filed by Interested Party
                          James Dondero (RE: related document(s)2083 Order on motion to recuse Judge).
   04/15/2021             (Attachments: # 1 Exhibit)) (Whitaker, Sheniqua)

                             2205 (2 pgs) Statement of issues on appeal, filed by Interested Party James Dondero (RE:
   04/15/2021             related document(s)2083 Order on motion to recuse Judge). (Lang, Michael)

                             2206 (9 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Interested Party James Dondero (RE: related document(s)2169 Amended notice of appeal).
   04/15/2021             Appellee designation due by 04/29/2021. (Lang, Michael)

   04/15/2021                2207 (3 pgs) Certificate of service re: (Supplemental) Debtor's Third Omnibus Objection
                          to Certain No Liability Claim Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2059 Omnibus Objection to claim(s) of Creditor(s) Christopher Rice;
                          Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford;
                          Mark Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand;
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.438 350/439



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                          Brian Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 4/20/2021. filed by Debtor Highland Capital
                          Management, L.P., 2091 Certificate of service re: Debtor's Third Omnibus Objection to
                          Certain No Liability Claims Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2059 Omnibus Objection to claim(s) of Creditor(s) Christopher Rice;
                          Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford;
                          Mark Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand;
                          Brian Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
                          Management, L.P.. Responses due by 4/20/2021. filed by Debtor Highland Capital
                          Management, L.P.). (Kass, Albert) Modified on 3/24/2021. filed by Claims Agent Kurtzman
                          Carson Consultants LLC). (Kass, Albert)

                             2208 (2 pgs) INCORRECT EVENT: Attorney to refile. Notice of Transfer of Claim Other
                          Than for Security filed by Creditor Acis Capital Management, L.P.. (Prostok, Jeff) Modified
   04/15/2021             on 4/16/2021 (Ecker, C.).

                            2209 (2 pgs) INCORRECT EVENT: Attorney to refile. Notice of Transfer of Claim Other
                          Than for Security filed by Creditor Acis Capital Management GP, LLC. (Prostok, Jeff)
   04/15/2021             Modified on 4/16/2021 (Ecker, C.).

                             2210 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          appellant. (RE: related document(s)2206 Appellant designation of contents for inclusion in
                          record on appeal filed by Interested Party James Dondero (RE: related document(s)2169
                          Amended notice of appeal). Appellee designation due by 04/29/2021.) Responses due by
   04/16/2021             4/20/2021. (Blanco, J.)

                             2211 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Acis Capital Management GP, LLC (Claim No. 23, Amount
                          $23,000,000.00) To ACMLP Claim, LLC. Filed by Creditor Acis Capital Management GP,
   04/16/2021             LLC. (Prostok, Jeff)

                             2212 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Acis Capital Management L.P. (Claim No. 23, Amount $23,000,000.00) To
   04/16/2021             ACMLP Claim, LLC. Filed by Creditor Acis Capital Management, L.P.. (Prostok, Jeff)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28644419, amount $ 26.00 (re: Doc# 2211). (U.S.
   04/16/2021             Treasury)

   04/16/2021                 Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)

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                          [claims,trclmagt] ( 26.00). Receipt number 28644419, amount $ 26.00 (re: Doc# 2212). (U.S.
                          Treasury)

                              2213 (9 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          filed by Interested Party James Dondero (RE: related document(s)2206 Appellant
   04/16/2021             designation). (Lang, Michael)

                            2214 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to February 28, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   04/16/2021             Zachery)

                             2215 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: ACMLP Claim, LLC (Claim No. 23, Amount $23,000,000.00) To Muck
   04/16/2021             Holdings LLC. Filed by Creditor Muck Holdings LLC. (McIlwain, Brent)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28646419, amount $ 26.00 (re: Doc# 2215). (U.S.
   04/16/2021             Treasury)

                              2216 (11 pgs) Certificate of service re: 1) Debtor's Motion to Disqualify Wick Phillips
                          Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief; 2)
                          Debtor's Memorandum of Law in Support of Motion to Disqualify Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief; and 3) Declaration
                          of John A. Morris in Support of the Debtor's Motion to Disqualify Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital
                          Management, L.P., 2197 Brief in support filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)2196 Motion to compel Disqualification of Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick
                          Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief)).
                          filed by Debtor Highland Capital Management, L.P., 2198 Declaration re: (Declaration of
                          John A. Morris in Support of the Debtor's Motion to Disqualify Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief)). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I
   04/16/2021             # 10 Exhibit J) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   04/18/2021               2217 (91 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          00879-K. (RE: related document(s)2169 Amended notice of appeal filed by Interested Party
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.440 352/439



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                          James Dondero (RE: related document(s)2149 Notice of appeal).) (Whitaker, Sheniqua)

                             2218 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2124 Application for compensation Seventeenth Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from
                          February 1, 2021 through February 28, 2021 for Jeffrey Nathan Pomerantz, Debtor's
   04/19/2021             Attorney, Period: 2/1/2021 t). (Pomerantz, Jeffrey)

                            2219 (3 pgs) Certificate of service re: Customized for Rule 3001(e)(1) or 3001(e)(3)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P. 3001(e)(1) or 3001(e)(3) [Re Docket No.
                          1959] Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)1959
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 1 Transferors:
                          Action Shred Of Texas (Amount $3,825.00) To Fair Harbor Capital, LLC. Filed by Creditor
   04/19/2021             Fair Harbor Capital, LLC. filed by Creditor Fair Harbor Capital, LLC). (Kass, Albert)

                             2220 (11 pgs) Certificate of service re: 1) Debtor's Motion for Entry of an Order
                          Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith; 2) Declaration of Robert J. Feinstein in Support
                          of Debtor's Motion for Entry of an Order Approving Settlement with UBS Securities LLC and
                          UBS AG, London Branch and Authorizing Actions Consistent Therewith; and 3) Notice of
                          Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2199 Motion to compromise controversy with UBS Securities LLC and UBS
                          AG London Branch. (Debtor's Motion for Entry of an Order Approving Settlement with UBS
                          Securities LLC and UBS AG London Branch and Authorizing Actions Consistent Therewith)
                          Filed by Debtor Highland Capital Management, L.P. filed by Debtor Highland Capital
                          Management, L.P., 2200 Declaration re: (Declaration of Robert J. Feinstein in Support of
                          Debtor's Motion for Entry of an Order Approving Settlement with UBS Securities LLC and
                          UBS AG, London Branch and Authorizing Actions Consistent Therewith) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith)). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) filed by Debtor Highland Capital Management, L.P.,
                          2201 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2199 Motion to compromise controversy with UBS Securities LLC and UBS
                          AG London Branch. (Debtor's Motion for Entry of an Order Approving Settlement with UBS
                          Securities LLC and UBS AG London Branch and Authorizing Actions Consistent Therewith)
                          Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 5/17/2021 at
                          09:30 AM at https://us-courts.webex.com/meet/jerniga for 2199, filed by Debtor Highland
   04/19/2021             Capital Management, L.P.). (Kass, Albert)

                             2221 (78 pgs) Application for compensation Fifth Interim Application for Compensation
                          of FTI Consulting, Inc. for Official Committee of Unsecured Creditors, Financial Advisor,
                          Period: 12/1/2020 to 2/28/2021, Fee: $838,751.40, Expenses: $0. Filed by Attorney Juliana
   04/19/2021             Hoffman Objections due by 5/10/2021. (Hoffman, Juliana)

                             2222 (3 pgs) Response opposed to (related document(s): 2059 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Interested Party NexPoint Advisors,
   04/20/2021             L.P.. (Vasek, Julian)

   04/20/2021               2223 (163 pgs) Application for compensation Eighteenth Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from March 1, 2021 through March 31, 2021 for Jeffrey
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                          Nathan Pomerantz, Debtor's Attorney, Period: 3/1/2021 to 3/31/2021, Fee: $1,277,710.00,
                          Expenses: $13,687.50. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          5/11/2021. (Pomerantz, Jeffrey)

                             2224 (3 pgs) Notice of Appearance and Request for Notice by Frances Anne Smith filed
   04/20/2021             by Interested Party CPCM, LLC. (Smith, Frances)

                              2225 (27 pgs) Response opposed to (related document(s): 2059 Objection to claim filed
                          by Debtor Highland Capital Management, L.P.) filed by Interested Party CPCM, LLC.
                          (Smith, Frances) Filed by Interested Party CPCM, LLC (related document(s)2059 Omnibus
                          Objection to claim(s) of Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein; Jerome
                          Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark Patrick; Charles Hoedebeck;
                          Stephanie Vitiello; Steven Haltom; William Gosserand; Brian Collins; Hayley Eliason; Lucy
                          Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean Paul Sevilla;
                          Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa Schroth; Mauro
                          Staltari; Will Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev; Kent Gatzki;
                          Scott Groff; James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben; Michael
                          Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas; Joye
                          Luu; Austin Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay; Jennifer
                          School.. Filed by Debtor Highland Capital Management, L.P.. Responses due by 4/20/2021.
   04/20/2021             filed by Debtor Highland Capital Management, L.P.). (Smith, Frances)

                             2226 (9 pgs; 2 docs) Motion to continue hearing on (related documents 2059 Objection to
                          claim) Filed by Interested Party CPCM, LLC (Attachments: # 1 Proposed Order) (Smith,
   04/20/2021             Frances)

                             2227 (5 pgs; 2 docs) Motion for expedited hearing(related documents 2226 Motion to
                          continue) Filed by Interested Party CPCM, LLC (Attachments: # 1 Proposed Order) (Smith,
   04/20/2021             Frances)

                             2228 (7 pgs) Certificate of service re: Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to February 28, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2214 Notice (Notice
                          of Statement of Amounts Paid to Ordinary Course Professionals for the Period from October
                          16, 2019 to February 28, 2021) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330
                          OF THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P.). (Kass,
   04/20/2021             Albert)

                            2229 (17 pgs) Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I)
                          Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed
                          Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II) Granting
   04/20/2021             Related Relief) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

   04/20/2021                2230 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2196 Motion to compel Disqualification of Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick

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                          Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed
                          Order)). Hearing to be held on 5/18/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2196, (Annable, Zachery)

                             2231 (6 pgs) Certificate of service re: Notice of Appearance, Preliminary Response to
                          Debtors Third Omnibus Objection to Certain No Liability Claims, Motion to Continue
                          Hearing on Debtors Third Omnibus Objection to Certain Liability Claims, and Motion for
                          Setting and Request for Expedited Hearing filed by Interested Party CPCM, LLC (RE:
                          related document(s)2224 Notice of appearance and request for notice, 2225 Response to
                          objection to claim, 2226 Motion to continue hearing on (related documents 2059 Objection to
                          claim), 2227 Motion for expedited hearing(related documents 2226 Motion to continue) ).
   04/21/2021             (Smith, Frances)

                             2232 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an
                          Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.). Hearing to be
                          held on 5/17/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 2229,
   04/21/2021             (Annable, Zachery)

                             2233 (142 pgs) Application for compensation Sidley Austin LLP's Fifth Interim
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 12/1/2020 to 2/28/2021, Fee: $1,957,009.95, Expenses: $23,156.48.
   04/21/2021             Filed by Attorney Juliana Hoffman Objections due by 5/12/2021. (Hoffman, Juliana)

                             2234 (5 pgs) Notice of hearing (Notice of Status Conference) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1826 Application for administrative
                          expenses Filed by Interested Parties Highland Capital Management Fund Advisors, L.P.,
                          NexPoint Advisors, L.P. (Attachments: # 1 Service List)). Status Conference to be held on
   04/22/2021             5/7/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga. (Annable, Zachery)

                             2235 (9 pgs) INCORRECT EVENT: Attorney to refile. Motion for contempt against The
                          Charitable DAF Fund, L.P.; CLO Holdco, Ltd.; Persons Authorizing The Charitable DAF
                          Fund, L.P. and CLO Holdco, Ltd. to file the Seery Motion; and Sbaiti & Company PLLC
                          regarding Violation of the (i) Order Approving Settlement with Official Committee of
                          Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in
                          the Ordinary Course; and (ii) Order Approving Debtor's Motion under Bankruptcy Code
                          Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr., as Chief Executive
                          Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro Tunc to March
                          15, 2020 Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery) Modified
   04/23/2021             on 4/26/2021 (Ecker, C.).

                             2236 (25 pgs) Brief in support filed by Debtor Highland Capital Management, L.P.
                          Related document(s) 2247 Motion for order to show cause (Debtor's Motion for an Order
                          Requiring the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for
                          Violating Two Court Orders) filed by Debtor Highland Capital Management, L.P.. Modified
   04/23/2021             to add link on 4/27/2021 (Ecker, C.).

   04/23/2021               2237 (590 pgs; 19 docs) Declaration re: (Declaration of John A. Morris in Support of
                          Debtor's Motion for an Order Requiring the Violators to Show Cause Why They Should Not

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                          Be Held in Civil Contempt for Violating Two Court Orders) filed by Debtor Highland Capital
                          Management, L.P. Related document(s) 2247 Motion for order to show cause (Debtor's
                          Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in
                          Civil Contempt for Violating Two Court Orders) filed by Debtor Highland Capital
                          Management, L.P.. Modified to add link on 4/27/2021 (Ecker, C.).

                             2239 (18 pgs) Certificate of service re: Documents Served on April 20, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2221 Application for
                          compensation Fifth Interim Application for Compensation of FTI Consulting, Inc. for
                          Official Committee of Unsecured Creditors, Financial Advisor, Period: 12/1/2020 to
                          2/28/2021, Fee: $838,751.40, Expenses: $0. Filed by Attorney Juliana Hoffman Objections
                          due by 5/10/2021. filed by Creditor Committee Official Committee of Unsecured Creditors,
                          2223 Application for compensation Eighteenth Monthly Application for Compensation and
                          for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the
                          Debtor for the Period from March 1, 2021 through March 31, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 3/1/2021 to 3/31/2021, Fee: $1,277,710.00, Expenses:
                          $13,687.50. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 5/11/2021. filed
                          by Debtor Highland Capital Management, L.P., 2229 Motion to borrow/incur debt (Debtor's
                          Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing
                          Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and
                          Expenses, and (II) Granting Related Relief) Filed by Debtor Highland Capital Management,
                          L.P. filed by Debtor Highland Capital Management, L.P., 2230 Notice of hearing filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 5/18/2021 at 09:30
                          AM at https://us-courts.webex.com/meet/jerniga for 2196, filed by Debtor Highland Capital
   04/23/2021             Management, L.P.). (Kass, Albert)

                             2240 (11 pgs) Certificate of service re: 1) Notice of Hearing; and 2) Fifth Interim Fee
                          Application of Sidley Austin LLP, Attorneys for the Official Committee of Unsecured
                          Creditors, for Compensation and Reimbursement of Expenses for the Period from December
                          1, 2020 Through and Including February 28, 2021 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2232 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2229 Motion to borrow/incur debt
                          (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit
                          Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related
                          Fees and Expenses, and (II) Granting Related Relief) Filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 5/17/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2229, filed by Debtor Highland Capital Management,
                          L.P., 2233 Application for compensation Sidley Austin LLP's Fifth Interim Application for
                          Compensation for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
                          12/1/2020 to 2/28/2021, Fee: $1,957,009.95, Expenses: $23,156.48. Filed by Attorney
                          Juliana Hoffman Objections due by 5/12/2021. filed by Creditor Committee Official
   04/23/2021             Committee of Unsecured Creditors). (Kass, Albert)

   04/23/2021                2241 (48 pgs; 3 docs) INCORRECT EVENT: See #2248 for correction. Notice of Motion
                          for Modification of Order Authorizing Retention of James P. Seery, Jr. Due to Lack of Subject
                          Matter Jurisdiction filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P.
                          (RE: related document(s)854 Order granting application to employ James P. Seery, Jr. as
                          Chief Executive Officer, Chief Restructuring Officer and Foreign representative (related
                          document 774) Entered on 7/16/2020. (Ecker, C.) Modified on 7/16/2020 (Ecker, C.).).

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                          (Attachments: # 1 Exhibit 1_Complaint # 2 Exhibit 2_Motion for Leave to File First
                          Amended Complaint) (Sbaiti, Mazin) Modified on 4/27/2021 (Ecker, C.).

                            2242 (48 pgs; 3 docs) DUPLICATE ENTRY: See # 2241. Notice of Motion for
                          Modification of Order Authorizing Retention of James P. Seery, Jr. Due to Lack of Subject
                          Matter Jurisdiction filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P.
                          (RE: related document(s)854 Order granting application to employ James P. Seery, Jr. as
                          Chief Executive Officer, Chief Restructuring Officer and Foreign representative (related
                          document 774) Entered on 7/16/2020. (Ecker, C.) Modified on 7/16/2020 (Ecker, C.).).
                          (Attachments: # 1 Exhibit 1_Complaint # 2 Exhibit 2_Motion for Leave to File First
   04/23/2021             Amended Complaint) (Sbaiti, Mazin) Modified on 4/26/2021 (Ecker, C.).

                            2248 (48 pgs) Motion to Reconsider(related documents 854 Order on application to
                          employ) Filed by Plaintiffs CLO Holdco, Ltd. , The Charitable DAF Fund, L.P. (Ecker, C.)
   04/23/2021             (Entered: 04/27/2021)

                             2243 (21 pgs; 3 docs) Motion to compromise controversy with Siepe, LLC and Siepe
                          Services, LLC. (Motion of the Debtor for Entry of an Order Approving Settlement with Siepe,
                          LLC and Siepe Services, LLC [Claim Nos. 38, 39] and Authorizing Actions Consistent
                          Therewith) Filed by Debtor Highland Capital Management, L.P. Objections due by
                          5/17/2021. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Settlement
   04/24/2021             Agreement) (Annable, Zachery)

                             2244 (70 pgs) Notice of Filing of Monthly Staffing Report by Development Specialists
                          Inc. for the Period from February 1, 2021 Through February 28, 2021 filed by Debtor
   04/26/2021             Highland Capital Management, L.P.. (Hayward, Melissa)

                             2245 (11 pgs) Certificate of service re: Notice of Status Conference Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2234 Notice of hearing
                          (Notice of Status Conference) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)1826 Application for administrative expenses Filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (Attachments: #
                          1 Service List)). Status Conference to be held on 5/7/2021 at 01:30 PM at https://us-
                          courts.webex.com/meet/jerniga. filed by Debtor Highland Capital Management, L.P.). (Kass,
   04/26/2021             Albert)

   04/26/2021                2246 (6 pgs) Omnibus Notice of hearing filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)1655 Application for compensation Fourth
                          Interim Application for Compensation and Reimbursement of Expenses for FTI Consulting,
                          Inc., Financial Advisor, Period: 9/1/2020 to 11/30/2020, Fee: $710,280.45, Expenses:
                          $1,479.47. Filed by Attorney Juliana Hoffman Objections due by 1/25/2021., 1853
                          Application for compensation Sidley Austin LLP's Fourth Interim Application for
                          Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 11/30/2020, Fee: $1,620,489.60,
                          Expenses: $8,974.00. Filed by Attorney Juliana Hoffman Objections due by 2/17/2021., 2221
                          Application for compensation Fifth Interim Application for Compensation of FTI Consulting,
                          Inc. for Official Committee of Unsecured Creditors, Financial Advisor, Period: 12/1/2020 to
                          2/28/2021, Fee: $838,751.40, Expenses: $0. Filed by Attorney Juliana Hoffman Objections
                          due by 5/10/2021., 2233 Application for compensation Sidley Austin LLP's Fifth Interim
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 12/1/2020 to 2/28/2021, Fee: $1,957,009.95, Expenses: $23,156.48.
                          Filed by Attorney Juliana Hoffman Objections due by 5/12/2021.). Hearing to be held on

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                          5/18/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 1853 and for 1655
                          and for 2233 and for 2221, (Hoffman, Juliana)

                             2247 (9 pgs) Motion for order to show cause (Debtor's Motion for an Order Requiring the
                          Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two
   04/27/2021             Court Orders) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                             2249 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2247 Motion for order to show cause (Debtor's Motion for an Order
                          Requiring the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for
                          Violating Two Court Orders) Filed by Debtor Highland Capital Management, L.P.). Hearing
                          to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2247, (Annable,
   04/27/2021             Zachery)

                             2250 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)2160 Application for compensation Sidley
                          Austin LLP's Sixteenth Monthly Application for Compensation and Reimbursement of
                          Expenses for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period:
   04/27/2021             2/1/2021 to 2/28/2021, Fee: $). (Hoffman, Juliana)

                             2251 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)2161 Application for compensation Sixteenth Monthly Application
                          for Compensation and Reimbursement of Expenses for FTI Consulting, Inc., Financial
                          Advisor, Period: 2/1/2021 to 2/28/2021, Fee: $187,387.56, Expenses: $0.00.). (Hoffman,
   04/27/2021             Juliana)

                             2252 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2247 Motion for order to show cause (Debtor's Motion for an
                          Order Requiring the Violators to Show Cause Why They Should Not Be Held in Civil
                          Contempt for Violating Two Court Orders) Filed by Debtor Highland Capital Management,
                          L.P.). Hearing to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2247,
   04/27/2021             (Annable, Zachery)

   04/28/2021                 2253 (11 pgs) Certificate of service re: 1) Debtor's Motion for an Order Requiring the
                          Violators to Show Cause Why They Should Not be Held in Civil Contempt for Violating Two
                          Court Orders; 2) Debtor's Memorandum of Law in Support of Motion for an Order
                          Requiring the Violators to Show Cause Why They Should Not be Held in Civil Contempt for
                          Violating Two Court Orders; and 3) Declaration of John A. Morris in Support of Debtor's
                          Motion for an Order Requiring the Violators to Show Cause Why They Should Not be Held in
                          Civil Contempt for Violating Two Court Orders Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2235 INCORRECT EVENT: Attorney to refile.
                          Motion for contempt against The Charitable DAF Fund, L.P.; CLO Holdco, Ltd.; Persons
                          Authorizing The Charitable DAF Fund, L.P. and CLO Holdco, Ltd. to file the Seery Motion;
                          and Sbaiti & Company PLLC regarding Violation of the (i) Order Approving Settlement with
                          Official Committee of Unsecured Creditors Regarding Governance of the Debtor and
                          Procedures for Operations in the Ordinary Course; and (ii) Order Approving Debtor's Motion
                          under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery,
                          Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
                          Pro Tunc to March 15, 2020 Filed by Debtor Highland Capital Management, L.P. (Annable,
                          Zachery) Modified on 4/26/2021 (Ecker, C.). filed by Debtor Highland Capital Management,
                          L.P., 2236 Brief in support filed by Debtor Highland Capital Management, L.P. Related
                          document(s) 2247 Motion for order to show cause (Debtor's Motion for an Order Requiring
                          the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.446 358/439



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                          Two Court Orders) filed by Debtor Highland Capital Management, L.P.. Modified to add link
                          on 4/27/2021 (Ecker, C.). filed by Debtor Highland Capital Management, L.P., 2237
                          Declaration re: (Declaration of John A. Morris in Support of Debtor's Motion for an Order
                          Requiring the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for
                          Violating Two Court Orders) filed by Debtor Highland Capital Management, L.P. Related
                          document(s) 2247 Motion for order to show cause (Debtor's Motion for an Order Requiring
                          the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating
                          Two Court Orders) filed by Debtor Highland Capital Management, L.P.. Modified to add link
                          on 4/27/2021 (Ecker, C.). filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                            2254 (5 pgs) Notice of hearing filed by Plaintiff CLO Holdco, Ltd. (RE: related
                          document(s)2248 Motion to Reconsider(related documents 854 Order on application to
                          employ) Filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P. (Ecker, C.)).
                          Hearing to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2248, (Sbaiti,
   04/28/2021             Mazin)

                             2255 (3 pgs) Order requiring violators to show cause why they should not be held in civil
                          contempt for violating two court orders (related document # 2247) Show Cause hearing to be
                          held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Show Cause hearing to be held
                          on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Any response should be filed by
   04/29/2021             May 21, 2021. Entered on 4/29/2021. (Okafor, M.)

                            2256 (9 pgs) Motion to compel Compliance with Bankruptcy Rule 2015.3. Filed by Get
   04/29/2021             Good Trust, The Dugaboy Investment Trust Objections due by 5/20/2021. (Draper, Douglas)

                             2257 (6 pgs; 2 docs) Certificate of service re: filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)2256 Motion to compel Compliance with
   04/29/2021             Bankruptcy Rule 2015.3. ). (Attachments: # 1 Exhibit - Matrix) (Draper, Douglas)

                             2258 (12 pgs) Certificate of service re: 1) Motion of the Debtor for Entry of an Order
                          Approving Settlement with Siepe, LLC and Siepe Services, LLC [Claim Nos. 38, 39] and
                          Authorizing Actions Consistent Therewith; and 2) Notice of Filing of Monthly Staffing Report
                          by Development Specialists, Inc. for the Period from February 1, 2021 Through February 28,
                          2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2243
                          Motion to compromise controversy with Siepe, LLC and Siepe Services, LLC. (Motion of the
                          Debtor for Entry of an Order Approving Settlement with Siepe, LLC and Siepe Services, LLC
                          [Claim Nos. 38, 39] and Authorizing Actions Consistent Therewith) Filed by Debtor
                          Highland Capital Management, L.P. Objections due by 5/17/2021. (Attachments: # 1 Exhibit
                          A--Proposed Order # 2 Exhibit B--Settlement Agreement) filed by Debtor Highland Capital
                          Management, L.P., 2244 Notice of Filing of Monthly Staffing Report by Development
                          Specialists Inc. for the Period from February 1, 2021 Through February 28, 2021 filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
   04/29/2021             L.P.). (Kass, Albert)

   04/29/2021                2259 (20 pgs) Certificate of service re: 1) Notice of Hearing on the Fourth and Fifth
                          Interim Applications for Compensation and Reimbursement of Expenses; and 2) Amended
                          Notice of Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2246 Omnibus Notice of hearing filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)1655 Application for
                          compensation Fourth Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 9/1/2020 to 11/30/2020, Fee:
                          $710,280.45, Expenses: $1,479.47. Filed by Attorney Juliana Hoffman Objections due by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.447 359/439



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                          1/25/2021., 1853 Application for compensation Sidley Austin LLP's Fourth Interim
                          Application for Compensation and Reimbursement of Expenses for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 9/1/2020 to 11/30/2020, Fee:
                          $1,620,489.60, Expenses: $8,974.00. Filed by Attorney Juliana Hoffman Objections due by
                          2/17/2021., 2221 Application for compensation Fifth Interim Application for Compensation
                          of FTI Consulting, Inc. for Official Committee of Unsecured Creditors, Financial Advisor,
                          Period: 12/1/2020 to 2/28/2021, Fee: $838,751.40, Expenses: $0. Filed by Attorney Juliana
                          Hoffman Objections due by 5/10/2021., 2233 Application for compensation Sidley Austin
                          LLP's Fifth Interim Application for Compensation for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 12/1/2020 to 2/28/2021, Fee: $1,957,009.95,
                          Expenses: $23,156.48. Filed by Attorney Juliana Hoffman Objections due by 5/12/2021.).
                          Hearing to be held on 5/18/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
                          for 1853 and for 1655 and for 2233 and for 2221, filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 2252 Amended Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2247 Motion for order to show
                          cause (Debtor's Motion for an Order Requiring the Violators to Show Cause Why They
                          Should Not Be Held in Civil Contempt for Violating Two Court Orders) Filed by Debtor
                          Highland Capital Management, L.P.). Hearing to be held on 6/8/2021 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 2247, filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                             2260 (20 pgs) Application for compensation Seventeenth Monthly Application for
                          Compensation for FTI Consulting, Inc. for Official Committee of Unsecured Creditors,
                          Financial Advisor, Period: 3/1/2021 to 3/31/2021, Fee: $96,823.80, Expenses: $0.00. Filed
   04/30/2021             by Attorney Juliana Hoffman Objections due by 5/21/2021. (Hoffman, Juliana)

                             2261 (10 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Redeemer Committee of the Highland Crusader Fund (Claim No. 72,
                          Amount $137,696,610.00) To Jessup Holdings LLC. Filed by Creditor Jessup Holdings LLC.
   04/30/2021             (Leen, Edward)

                            2262 (3 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transferors: Highland
                          Crusader Offshore Partners, L.P., et al. (Claim No. 81, Amount $50,000.00) To Jessup
   04/30/2021             Holdings LLC. Filed by Creditor Jessup Holdings LLC. (Leen, Edward)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28681233, amount $ 26.00 (re: Doc# 2261). (U.S.
   04/30/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28681233, amount $ 26.00 (re: Doc# 2262). (U.S.
   04/30/2021             Treasury)

                             2263 (4 pgs) Assignment/Transfer of Claim. Fee Amount $156. Transfer Agreement 3001
                          (e) 2 Transferors: HarbourVest 2017 Global Fund L.P. (Claim No. 143); HarbourVest 2017
                          Global AIF L.P. (Claim No. 147); HarbourVest Dover Street IX Investment L.P. (Claim No.
                          150); HV International VIII Secondary L.P. (Claim No. 153); HarbourVest Skew Base AIF
                          L.P. (Claim No. 154); HarbourVest Partners L.P. (Claim No. 149) To Muck Holdings LLC.
   04/30/2021             Filed by Creditor Muck Holdings LLC. (McIlwain, Brent)

   04/30/2021                Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 156.00). Receipt number 28682148, amount $ 156.00 (re: Doc# 2263).

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                          (U.S. Treasury)

                             2264 (3 pgs) Certificate of service re: (Supplemental) Notice of (I) Confirmation Date and
                          (II) Bar Date for Filing Rejection Claims Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)1948 Notice (Notice of (I) Confirmation Date and (II)
                          Bar Date for Filing Rejection Claims) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1943 Order confirming the fifth amended chapter 11 plan, as
                          modified and granting related relief (RE: related document(s)1472 Chapter 11 plan filed by
                          Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland
                          Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)). filed by Debtor Highland
   04/30/2021             Capital Management, L.P.). (Kass, Albert)

                             2265 (15 pgs) Certificate of service re: Order Requiring the Violators to Show Cause Why
                          They Should Not be Held in Civil Contempt for Violating Two Court Orders Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2255 Order requiring
                          violators to show cause why they should not be held in civil contempt for violating two court
                          orders (related document 2247) Show Cause hearing to be held on 6/8/2021 at 09:30 AM at
                          Dallas Judge Jernigan Ctrm. Show Cause hearing to be held on 6/8/2021 at 09:30 AM at
                          Dallas Judge Jernigan Ctrm. Any response should be filed by May 21, 2021. Entered on
   04/30/2021             4/29/2021. (Okafor, M.)). (Kass, Albert)

                            2266 (2 pgs) Assignment/Transfer of Claim. Fee Amount $26. Transferors: Sahan
                          Abayarathna To NexPoint Advisors LP. Filed by Interested Party NexPoint Advisors, L.P..
   05/03/2021             (Vasek, Julian)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 26.00). Receipt number 28684014, amount $ 26.00 (re: Doc# 2266). (U.S.
   05/03/2021             Treasury)

                             2267 Status conference held on 5/3/2021., Trial set (RE: related document(s)2059
                          Omnibus Objection to claim(s) of Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein;
                          Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark Patrick; Charles
                          Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand; Brian Collins; Hayley
                          Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean
                          Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa
                          Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev;
                          Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben;
                          Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas;
                          Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay;
                          Jennifer School.. Filed by Debtor Highland Capital Management, L.P.. Responses due by
                          4/20/2021.) Trial date set for 9/21/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          Appearances: J. Pomeranz for Debtor; F. Smith for CPMC LLC, purchaser of certain
                          employee claims; J. Vasek for NextPoint, purchaser of certain other employee claims; M.
                          Clemente for UCC; J. Dondero. Nonevidentiary status conference. Matter continued to
                          September 13, 2021 at 1:30 for a Trial Docket Call with evidentiary trial to be held on
   05/03/2021             September 21, 2021 at 9:30 am. Order to be uploaded memorializing this. (Ellison, T.)

   05/03/2021                2269 INCORRECT ENTRY: DUPLICATE ENTRY. Hearing held on 5/3/2021. (RE:
                          related document(s)2059 Omnibus Objection to claim(s) of Creditor(s) Christopher Rice;
                          Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford;
                          Mark Patrick; Charles Hoedebeck; Stephanie Vitiello; Steven Haltom; William Gosserand;
                          Brian Collins; Hayley Eliason; Lucy Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley;
                          William Mabry; Jean Paul Sevilla; Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul
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                          Broaddus; Melissa Schroth; Mauro Staltari; Will Mabry; Yegor Nikolayev; Sahan
                          Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff; James Mills; Bhawika Jain; Jae Lee;
                          Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale;
                          Heriberto Rios; Mariana Navejas; Joye Luu; Austin Cotton; Lauren Baker; Phoebe Stewart;
                          Blair Roeber; Brad McKay; Jennifer School.. Filed by Debtor Highland Capital
                          Management, L.P., (Appearances: J. Pomeranz for Debtor; F. Smith for CPMC LLC,
                          purchaser of certain employee claims; J. Vasek for NextPoint, purchaser of certain other
                          employee claims; M. Clemente for UCC; J. Dondero. Nonevidentiary status conference.
                          Matter continued to September 13, 2021 at 1:30 for a Trial Docket Call with evidentiary trial
                          to be held on September 21, 2021 at 9:30 am. Order to be uploaded memorializing this.)
                          (Edmond, Michael) Modified on 5/4/2021 (Tello, Chris). (Entered: 05/04/2021)

                             2268 (9 pgs) Objection to (related document(s): 2199 Motion to compromise controversy
                          with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for Entry of an
                          Order Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital Management,
                          L.P.)Limited Preliminary Objection filed by Get Good Trust, The Dugaboy Investment Trust.
   05/04/2021             (Draper, Douglas)


                                2270 (1 pg) PDF with attached Audio File. Court Date & Time [05/03/2021 01:33:52
   05/04/2021             PM]. File Size [ 3670 KB ]. Run Time [ 00:15:40 ]. (admin).

                             2271 (2 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
   05/04/2021             L.P. (RE: related document(s)2133 Objection to claim). (Annable, Zachery)

                             2272 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2182 Application for compensation (Fourth Combined Monthly
                          Fee Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from October 1, 2021 through December 31, 2020) for
   05/04/2021             Deloitt). (Annable, Zachery)

                             2296 (4 pgs) Order from circuit court re: appeal on appellate case number: 21-10449,
                          (RE: related document(s)1957 Notice of appeal filed by Interested Party Highland Capital
                          Management Fund Advisors, L.P., Interested Party NexPoint Advisors, L.P.). IT IS
                          ORDERED that the motion of NexPoint Advisors, L.P. and Highland Capital Management
                          Fund Advisors, L.P. for leave to appeal under 28 U.S.C. § 158(d) is GRANTED. Civil Case
   05/04/2021             3:21-cv-00538-N. Entered on 5/4/2021 (Whitaker, Sheniqua) (Entered: 05/12/2021)

                              2273 (3 pgs) Debtor-in-possession quarterly operating report (post-confirmation) for
                          filing period January 1, 2021 to March 31, 2021 filed by Debtor Highland Capital
   05/05/2021             Management, L.P.. (Annable, Zachery)

                             2274 (19 pgs) Objection to (related document(s): 1826 Application for administrative
                          expenses filed by Interested Party Highland Capital Management Fund Advisors, L.P.,
                          Interested Party NexPoint Advisors, L.P.) filed by Debtor Highland Capital Management,
   05/05/2021             L.P.. (Annable, Zachery)

   05/05/2021               2275 (52 pgs; 8 docs) Declaration re: (Declaration of John A. Morris in Support of
                          Debtor's Objection to Application for Administrative Claim of Highland Capital
                          Management Fund Advisors, L.P. and NexPoint Advisors, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2274 Objection). (Attachments: # 1

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                          Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit
                          G) (Annable, Zachery)

                             2276 (5 pgs) Certificate of service re: Seventeenth Monthly Application of FTI
                          Consulting, Inc. for Allowance of Compensation and Reimbursement of Expenses for the
                          Period from March 1, 2021 to and Including March 31, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2260 Application for compensation
                          Seventeenth Monthly Application for Compensation for FTI Consulting, Inc. for Official
                          Committee of Unsecured Creditors, Financial Advisor, Period: 3/1/2021 to 3/31/2021, Fee:
                          $96,823.80, Expenses: $0.00. Filed by Attorney Juliana Hoffman Objections due by
                          5/21/2021. filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass,
   05/05/2021             Albert)

                            2277 (2 pgs) Notice (Notice of Cancellation of Status Conference) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)1826 Application for
                          administrative expenses Filed by Interested Parties Highland Capital Management Fund
   05/06/2021             Advisors, L.P., NexPoint Advisors, L.P. (Attachments: # 1 Service List)). (Annable, Zachery)

                              2278 (4 pgs; 2 docs) Response opposed to (related document(s): 2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) filed by Debtor Highland Capital Management, L.P.)
                          filed by Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC.
   05/06/2021             (Attachments: # 1 Proposed Order) (Drawhorn, Lauren)

                             2279 (19 pgs) Brief in opposition filed by Creditor NexPoint Real Estate Partners LLC
                          f/k/a HCRE Partners LLC (RE: related document(s)2196 Motion to compel Disqualification
                          of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion
                          to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and
   05/06/2021             for Related Relief), 2278 Response). (Drawhorn, Lauren)

                            2280 (24 pgs; 3 docs) Motion to file document under seal. Appendix in Support of
                          Response to Motion to Disqualify Filed by Creditor NexPoint Real Estate Partners LLC f/k/a
                          HCRE Partners LLC (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B -
   05/06/2021             Appendix) (Drawhorn, Lauren)

                            2281 (2 pgs) Notice of Appearance and Request for Notice by Brant C. Martin filed by
   05/07/2021             Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC. (Martin, Brant)

                            2282 (3 pgs) Motion to continue hearing on (related documents 2229 Motion to
   05/07/2021             borrow/incur debt) Filed by Debtor Highland Capital Management, L.P. (Annable, Zachery)

                            2283 (58 pgs) Application for compensation (Eleventh Monthly Application for
                          Compensation and Reimbursement of Hayward PLLC as Local Counsel to the Debtor for the
                          Period from October 1, 2020 through November 30, 2020) for Hayward PLLC, Debtor's
                          Attorney, Period: 10/1/2020 to 11/30/2020, Fee: $69,327.00, Expenses: $6,478.70. Filed by
   05/07/2021             Attorney Hayward PLLC (Annable, Zachery)

   05/07/2021                2284 (2 pgs) Order granting motion to continue hearing on (related document # 2282)
                          (related documents Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I)
                          Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed
                          Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II) Granting Rela)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.451 363/439



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                          Hearing to be held on 6/1/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for
                          2229, Entered on 5/7/2021. (Okafor, M.)

                            2285 (3 pgs) Notice of change of address filed by Interested Parties UBS AG London
   05/10/2021             Branch, UBS Securities LLC. (Clubok, Andrew)

                             2286 (5 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry
                          of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.). Hearing to be
                          held on 6/1/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 2229,
   05/10/2021             (Annable, Zachery)

                             2287 (11 pgs) Certificate of service re: 1) Debtor's Objection to Application for
                          Administrative Claim of Highland Capital Management Fund Advisors, L.P. and NexPoint
                          Advisors, L.P.; and 2) Declaration of John A. Morris in Support of Debtor's Objection to
                          Application for Administrative Claim of Highland Capital Management Fund Advisors, L.P.
                          and NexPoint Advisors, L.P. Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2274 Objection to (related document(s): 1826 Application for
                          administrative expenses filed by Interested Party Highland Capital Management Fund
                          Advisors, L.P., Interested Party NexPoint Advisors, L.P.) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2275 Declaration re:
                          (Declaration of John A. Morris in Support of Debtor's Objection to Application for
                          Administrative Claim of Highland Capital Management Fund Advisors, L.P. and NexPoint
                          Advisors, L.P.) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2274 Objection). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                          Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) filed by Debtor Highland Capital
   05/10/2021             Management, L.P.). (Kass, Albert)

                             2288 (3 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)2221 Application for compensation Fifth Interim Application for
                          Compensation of FTI Consulting, Inc. for Official Committee of Unsecured Creditors,
                          Financial Advisor, Period: 12/1/2020 to 2/28/2021, Fee: $838,751.40, Expenses: $0.).
   05/11/2021             (Hoffman, Juliana)

                            2289 (3 pgs) Notice to take deposition of James P. Seery, Jr. filed by Debtor Highland
   05/11/2021             Capital Management, L.P.. (Annable, Zachery)

                            2290 (27 pgs) Notice to take deposition of Highland Capital Management, L.P. filed by
   05/11/2021             Creditor The Dugaboy Investment Trust. (Draper, Douglas)

                             2291 (3 pgs) Notice Notice of Return of Service filed by Creditor The Dugaboy
                          Investment Trust (RE: related document(s)2290 Notice to take deposition of Highland
                          Capital Management, L.P. filed by Creditor The Dugaboy Investment Trust.). (Draper,
   05/11/2021             Douglas)

   05/11/2021                2292 (11 pgs) Certificate of service re: Notice of Cancellation of Status Conference Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2277 Notice
                          (Notice of Cancellation of Status Conference) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1826 Application for administrative expenses Filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.452 364/439



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                          L.P. (Attachments: # 1 Service List)). filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                             2293 (37 pgs; 2 docs) Supplemental Objection to (related document(s): 2199 Motion to
                          compromise controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's
                          Motion for Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG
                          London Branch and Authorizing Actions Consistent Therewith) filed by Debtor Highland
                          Capital Management, L.P.)with Certificate of Service filed by Creditor The Dugaboy
   05/12/2021             Investment Trust. (Attachments: # 1 Exhibit A) (Draper, Douglas)

                            2294 (7 pgs) Reply to (related document(s): 2278 Response filed by Creditor NexPoint
                          Real Estate Partners LLC f/k/a HCRE Partners LLC) filed by Debtor Highland Capital
   05/12/2021             Management, L.P.. (Annable, Zachery)

                            2295 (13 pgs) Objection to (related document(s): 2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
   05/12/2021             Management, L.P.) filed by Interested Party James Dondero. (Assink, Bryan)

                             2297 (5 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2199 Motion to compromise controversy with UBS Securities
                          LLC and UBS AG London Branch. (Debtor's Motion for Entry of an Order Approving
                          Settlement with UBS Securities LLC and UBS AG London Branch and Authorizing Actions
                          Consistent Therewith) Filed by Debtor Highland Capital Management, L.P.). Hearing to be
                          held on 5/21/2021 at 09:00 AM at https://us-courts.webex.com/meet/jerniga for 2199,
   05/12/2021             (Annable, Zachery)

                             2298 (12 pgs) Certificate of service re: 1) Motion to Continue Hearing on Debtor's
                          Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter Into Exit Financing
                          Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and
                          Expenses, and (II) Granting Related Relief; 2) Eleventh Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from October 1, 2020 Through November 30, 2020; and 3) Order
                          Continuing Hearing on Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to
                          (A) Enter Into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur
                          and Pay Related Fees and Expenses, and (II) Granting Related Relief Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2282 Motion to continue hearing on
                          (related documents 2229 Motion to borrow/incur debt) Filed by Debtor Highland Capital
                          Management, L.P. filed by Debtor Highland Capital Management, L.P., 2283 Application for
                          compensation (Eleventh Monthly Application for Compensation and Reimbursement of
                          Hayward PLLC as Local Counsel to the Debtor for the Period from October 1, 2020 through
                          November 30, 2020) for Hayward PLLC, Debtor's Attorney, Period: 10/1/2020 to
                          11/30/2020, Fee: $69,327.00, Expenses: $6,478.70. Filed by Attorney Hayward PLLC, 2284
                          Order granting motion to continue hearing on (related document 2282) (related documents
                          Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the
                          Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and
                          (B) Incur and Pay Related Fees and Expenses, and (II) Granting Rela) Hearing to be held on
                          6/1/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 2229, Entered on
   05/12/2021             5/7/2021. (Okafor, M.)). (Kass, Albert)

   05/13/2021               2299 (1 pg) Clerk's notice of fees due in the amount of $207.00 (Filing Fee for Circuit
                          Appeal) See Document 2296. filed by Interested Party Highland Capital Management Fund
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.453 365/439



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                          Advisors, L.P., and Interested Party NexPoint Advisors, L.P.. (RE: related document(s)1957
                          Notice of appeal . Fee Amount $298 filed by Interested Parties Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)1943
                          Order confirming chapter 11 plan). Appellant Designation due by 03/15/2021. (Attachments:
                          # 1 Exhibit A)) (Whitaker, Sheniqua)

                             2300 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2223 Application for compensation Eighteenth Monthly
                          Application for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl
                          & Jones LLP as Counsel to the Debtor for the Period from March 1, 2021 through March 31,
   05/13/2021             2021 for Jeffrey). (Pomerantz, Jeffrey)

                              2301 (7 pgs) Certificate of service re: Amended Notice of Hearing Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2286 Amended Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2229 Motion to
                          borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A)
                          Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and
                          Pay Related Fees and Expenses, and (II) Granting Related Relief) Filed by Debtor Highland
                          Capital Management, L.P.). Hearing to be held on 6/1/2021 at 01:30 PM at https://us-
                          courts.webex.com/meet/jerniga for 2229, filed by Debtor Highland Capital Management,
   05/13/2021             L.P.). (Kass, Albert)

                            2302 (11 pgs) Certificate of service re: Notice of Deposition Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2289 Notice to take deposition of
                          James P. Seery, Jr. filed by Debtor Highland Capital Management, L.P.. filed by Debtor
   05/13/2021             Highland Capital Management, L.P.). (Kass, Albert)

                              2303 (3 pgs) Certificate of service re: [Customized for Rule 3001(e)(2) or 3001(e)(4)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos.
                          2261 and 2262] Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2261 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Redeemer Committee of the Highland Crusader Fund (Claim No. 72,
                          Amount $137,696,610.00) To Jessup Holdings LLC. Filed by Creditor Jessup Holdings LLC.
                          filed by Creditor Jessup Holdings LLC, 2262 Assignment/Transfer of Claim. Fee Amount
                          $26. Transferors: Highland Crusader Offshore Partners, L.P., et al. (Claim No. 81, Amount
                          $50,000.00) To Jessup Holdings LLC. Filed by Creditor Jessup Holdings LLC. filed by
   05/13/2021             Creditor Jessup Holdings LLC). (Kass, Albert)

                              Receipt Number 338881, Fee Amount $207.00 (RE: related document(s)2299 Clerk's
                          notice of fees due in the amount of $207.00 (Filing Fee for Circuit Appeal) See Document
                          2296. filed by Interested Party Highland Capital Management Fund Advisors, L.P., and
                          Interested Party NexPoint Advisors, L.P.. (RE: related document(s)1957 Notice of appeal .
                          Fee Amount $298 filed by Interested Parties Highland Capital Management Fund Advisors,
                          L.P., NexPoint Advisors, L.P. (RE: related document(s)1943 Order confirming chapter 11
                          plan). Appellant Designation due by 03/15/2021. (Attachments: # 1 Exhibit A)) (Whitaker,
   05/13/2021             Sheniqua)) (Floyd, K) (Entered: 05/14/2021)

                            2304 (12 pgs) Motion to extend time to Remove Actions Pursuant to 28 USC 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)1725
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management, L.P.
   05/14/2021             (Annable, Zachery)


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   05/14/2021               2305 (4 pgs) Witness and Exhibit List filed by Interested Parties UBS AG London
                          Branch, UBS Securities LLC (RE: related document(s)2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith)). (Sosland, Martin)

                             2306 (40 pgs; 3 docs) Application to employ Teneo Capital, LLC as Litigation Advisor to
                          the Official Committee of Unsecured Creditors as Other Professional Filed by Creditor
                          Committee Official Committee of Unsecured Creditors (Attachments: # 1 Exhibit # 2
   05/14/2021             Exhibit) (Hoffman, Juliana)

                             2307 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2304 Motion to extend time to Remove Actions Pursuant to 28 USC
                          1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related
                          document(s)1725 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm
   05/14/2021             for 2304, (Annable, Zachery)

                             2308 (329 pgs; 9 docs) Omnibus Reply to (related document(s): 2268 Objection filed by
                          Creditor The Dugaboy Investment Trust, Creditor Get Good Trust, 2293 Objection filed by
                          Creditor The Dugaboy Investment Trust, 2295 Objection filed by Interested Party James
                          Dondero) filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit 1 #
                          2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8)
   05/14/2021             (Annable, Zachery)

                             2309 (9 pgs) Response to show cause order (related document(s): 2255 Order on motion
   05/14/2021             to show cause) filed by Respondent Mark Patrick. (Phillips, Louis)

                             2310 (14 pgs) Reply to (related document(s): 2268 Objection filed by Creditor The
                          Dugaboy Investment Trust, Creditor Get Good Trust, 2293 Objection filed by Creditor The
                          Dugaboy Investment Trust, 2295 Objection filed by Interested Party James Dondero) filed by
   05/14/2021             Interested Parties UBS AG London Branch, UBS Securities LLC. (Sosland, Martin)

                            2311 (22 pgs) Response opposed to (related document(s): 2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) filed by Plaintiff The
                          Charitable DAF Fund, L.P., Plaintiff CLO Holdco, Ltd.) filed by Debtor Highland Capital
   05/14/2021             Management, L.P.. (Annable, Zachery)

                             2312 (4 pgs) Objection to (related document(s): 2247 Motion for order to show cause
                          (Debtor's Motion for an Order Requiring the Violators to Show Cause Why They Should Not
                          Be Held in Civil Contempt for Violating Two Court Orders) filed by Debtor Highland Capital
                          Management, L.P., 2255 Order on motion to show cause. MODIFIED to correct linkage on
   05/14/2021             5/17/2021 (Ecker, C.).

                             2313 (146 pgs; 2 docs) Response to show cause order (related document(s): 2255 Order
                          on motion to show cause) filed by Plaintiff The Charitable DAF Fund, L.P.. (Attachments: #
   05/14/2021             1 Appendix) (Sbaiti, Mazin)

   05/14/2021               2314 (7 pgs) Witness and Exhibit List with Certificate of Service filed by Creditor The
                          Dugaboy Investment Trust (RE: related document(s)2199 Motion to compromise controversy
                          with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for Entry of an

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                          Order Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith)). (Draper, Douglas)

                              2315 (2 pgs) Joinder by to Debtors Objection to Motion for Modification of Order
                          Authorizing Appointment of James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction
                          filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related
   05/14/2021             document(s)2311 Response). (Hoffman, Juliana)

                             2316 (5 pgs; 2 docs) Motion to withdraw as attorney (John J. Kane, Brian W. Clark and
                          the law firm of Kane Russell Coleman Logan PC) Filed by Creditor CLO Holdco, Ltd.
   05/14/2021             (Attachments: # 1 Proposed Order) (Kane, John)

                             2317 (4 pgs) Agreed Order granting motion to continue hearing on (related document
                          2226) (related documents Objection to claim) Hearing to be held on 9/21/2021 at 09:30 AM
                          at https://us-courts.webex.com/meet/jerniga for 2059, Entered on 5/17/2021. (Okafor, M.)
   05/17/2021             Modified text on 5/17/2021 (Okafor, M.).

                             2318 (3 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)2233 Application for compensation Sidley
                          Austin LLP's Fifth Interim Application for Compensation for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2020 to 2/28/2021, Fee:
   05/17/2021             $1,957,009.95, Expenses: $23,). (Hoffman, Juliana)

                            2319 (8 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on May 18,
                          2021 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P..
   05/17/2021             (Annable, Zachery)

                             2320 (16 pgs) Certificate of service re: 1) Debtor's Preliminary Reply in Further Support
                          of Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners,
                          LLC and for Related Relief; and 2) Notice of Change of Hearing Date Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2294 Reply to (related document(s):
                          2278 Response filed by Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners
                          LLC) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital
                          Management, L.P., 2297 Amended Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2199 Motion to compromise controversy with
                          UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for Entry of an Order
                          Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith) Filed by Debtor Highland Capital Management,
                          L.P.). Hearing to be held on 5/21/2021 at 09:00 AM at https://us-
                          courts.webex.com/meet/jerniga for 2199, filed by Debtor Highland Capital Management,
   05/17/2021             L.P.). (Kass, Albert)

                            2321 (2 pgs) Notice (Notice of Cancellation of Status Conference) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) Filed by Debtor Highland Capital Management, L.P.
   05/18/2021             (Attachments: # 1 Exhibit A--Proposed Order)). (Annable, Zachery)

                            2322 (3 pgs) Notice of Appearance and Request for Notice for BH Equities LLC by Casey
   05/18/2021             William Doherty Jr. filed by Creditor BHH Equities LLC. (Doherty, Casey)


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   05/18/2021               2323 (3 pgs) Response opposed to (related document(s): 906 Objection to claim filed by
                          Debtor Highland Capital Management, L.P.) filed by Creditor BHH Equities LLC. (Doherty,
                          Casey)

                             2324 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2243 Motion to compromise controversy with Siepe, LLC and
                          Siepe Services, LLC. (Motion of the Debtor for Entry of an Order Approving Settlement with
                          Siepe, LLC and Siepe Services, LLC [Claim Nos. 38, 39] and Authorizing Actions Consistent
   05/18/2021             Therewith)

                            2325 (2 pgs) Order granting fifth interim fee application for compensation (related
                          document # 2221) granting for FTI Consulting, Inc. Financial Advisor for the Official
                          Committee of Unsecured Creditors, fees awarded: $838751.40, expenses awarded: $0.00
   05/18/2021             Entered on 5/18/2021. (Okafor, M.)

                            2326 (2 pgs) Order granting fourth interim application for compensation (related
                          document # 1655) granting for FTI Consulting, Inc., Financial Advisor for the Official
                          Committee of Unsecured Creditors, fees awarded: $710280.45, expenses awarded: $1479.47
   05/18/2021             Entered on 5/18/2021. (Okafor, M.)

                             2327 (2 pgs) Order granting fifth interim application for compensation (related document
                          # 2233) granting for Sidley Austin LLP, Attorneys for Official Committee of Unsecured
                          Creditors, fees awarded: $1957009.95, expenses awarded: $23156.48 Entered on 5/18/2021.
   05/18/2021             (Okafor, M.)

                            2328 (47 pgs) Application for compensation Sidley Austin LLP's Seventeenth Monthly
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 3/1/2021 to 3/31/2021, Fee: $371,842.20, Expenses: $6,279.02. Filed by
   05/18/2021             Attorney Juliana Hoffman Objections due by 6/8/2021. (Hoffman, Juliana)

                             2329 (2 pgs) Order granting fourth interim application for compensation (related
                          document # 1853) granting Sidley Austin LLP, Attorneys for Official Committee of
                          Unsecured Creditors, fees awarded: $1620489.60, expenses awarded: $8974.00 Entered on
   05/18/2021             5/18/2021. (Okafor, M.)

                            2330 (1310 pgs; 25 docs) Witness and Exhibit List filed by Interested Party James
                          Dondero (RE: related document(s)2199 Motion to compromise controversy with UBS
                          Securities LLC and UBS AG London Branch. (Debtor's Motion for Entry of an Order
                          Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith)). (Attachments: # 1 Dondero Ex. A # 2 Dondero
                          Ex. B # 3 Dondero Ex. C # 4 Dondero Ex. D # 5 Dondero Ex. E # 6 Dondero Ex. F # 7
                          Dondero Ex. G # 8 Dondero Ex. H # 9 Dondero Ex. I # 10 Dondero Ex. J # 11 Dondero Ex.
                          K # 12 Dondero Ex. L # 13 Dondero Ex. M # 14 Dondero Ex. N # 15 Dondero Ex. O # 16
                          Dondero Ex. P # 17 Dondero Ex. Q # 18 Dondero Ex. R # 19 Dondero Ex. S # 20 Dondero
                          Ex. T # 21 Dondero Ex. U # 22 Dondero Ex. V # 23 Dondero Ex. W # 24 Dondero Ex. X)
   05/18/2021             (Assink, Bryan)

   05/18/2021               2331 (1628 pgs; 74 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2199 Motion to compromise controversy with
                          UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for Entry of an Order
                          Approving Settlement with UBS Securities LLC and UBS AG London Branch and
                          Authorizing Actions Consistent Therewith)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
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                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                          Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 #
                          27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit
                          32 # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
                          Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 #
                          44 Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit
                          49 # 50 Exhibit 50 # 51 Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53 # 54 Exhibit 54 # 55
                          Exhibit 55 # 56 Exhibit 56 # 57 Exhibit 57 # 58 Exhibit 58 # 59 Exhibit 59 # 60 Exhibit 60 #
                          61 Exhibit 61 # 62 Exhibit 62 # 63 Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65 # 66 Exhibit
                          66 # 67 Exhibit 67 # 68 Exhibit 68 # 69 Exhibit 69 # 70 Exhibit 70 # 71 Exhibit 71 # 72
                          Exhibit 72 # 73 Exhibit 73) (Annable, Zachery)

                            2360 Hearing held on 5/18/2021. (RE: related document(s)2196 Motion to compel
                          Disqualification of Wick Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC.
                          (Debtor's Motion to Disqualify Wick Phillips Gould & Martin, LLP as Counsel to HCRE
                          Partners, LLC and for Related Relief) filed by Debtor Highland Capital Management, L.P.,
   05/18/2021             (Matter continued) (Edmond, Michael) (Entered: 05/24/2021)

                              Hearing NOT held on 5/18/2021. (RE: related document(s)2221 Application for
                          compensation Fifth Interim Application for Compensation of FTI Consulting, Inc., for
                          Official Committee of Unsecured Creditors, Financial Advisor, Period: 12/1/2020 to
                          2/28/2021, filed by Attorney Juliana Hoffman). (***CNO filed; order signed in
   05/18/2021             chambers***) (Edmond, Michael) (Entered: 05/24/2021)

                               Hearing NOT held on 5/18/2021. (RE: related document(s)1853 Application for
                          compensation Sidley Austin LLP's Fourth Interim Application for Compensation and
                          Reimbursement of Expenses for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 9/1/2020 to 11/30/2020, filed by Attorney Juliana Hoffman) (***CNO
   05/18/2021             filed; order signed in chambers***) (Edmond, Michael) (Entered: 05/24/2021)

                              Hearing NOT held on 5/18/2021. (RE: related document(s)1655 Application for
                          compensation Fourth Interim Application for Compensation and Reimbursement of Expenses
                          for FTI Consulting, Inc., Financial Advisor, Period: 9/1/2020 to 11/30/2020, filed by
                          Attorney Juliana Hoffman) (***CNO filed; order signed in chambers***) (Edmond,
   05/18/2021             Michael) (Entered: 05/24/2021)

                               Hearing NOT held on 5/18/2021. (RE: related document(s)2233 Application for
                          compensation Sidley Austin LLP's Fifth Interim Application for Compensation for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 12/1/2020 to 2/28/2021,
                          filed by Attorney Juliana Hoffman) (***CNO filed; order signed in chambers***) (Edmond,
   05/18/2021             Michael) (Entered: 05/24/2021)

                            2332 (3 pgs) Notice to take deposition of Mark Patrick filed by Debtor Highland Capital
   05/19/2021             Management, L.P.. (Annable, Zachery)

                             2333 (8 pgs) Notice to take deposition of CLO Holdco, Ltd. and Charitable DAF Fund,
   05/19/2021             L.P. filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

   05/19/2021                2334 (67 pgs; 2 docs) Withdrawal of claim(s): #93 Filed by Interested Party Integrated
                          Financial Associates, Inc.. (Attachments: # 1 Exhibit Ex. 1 - POC #93 Integrated Financial
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                          Associates) (Bryant, M.)

                            2335 (4 pgs) Notice (Stipulation and Agreed Order Authorizing Withdrawal of Proofs of
                          Claim 165, 168, and 169) filed by Debtor Highland Capital Management, L.P.. (Annable,
   05/19/2021             Zachery)

                             2336 (5 pgs) Amended Witness and Exhibit List for May 21, 2021 Hearing filed by
                          Interested Parties UBS AG London Branch, UBS Securities LLC (RE: related
   05/19/2021             document(s)2305 List (witness/exhibit/generic)). (Sosland, Martin)

                              2337 (24 pgs) Certificate of service re: Documents Served on May 14, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2304 Motion to
                          extend time to Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure (RE: related document(s)1725 Order on motion to
                          extend/shorten time) Filed by Debtor Highland Capital Management, L.P. filed by Debtor
                          Highland Capital Management, L.P., 2306 Application to employ Teneo Capital, LLC as
                          Litigation Advisor to the Official Committee of Unsecured Creditors as Other Professional
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Attachments: # 1
                          Exhibit # 2 Exhibit) filed by Creditor Committee Official Committee of Unsecured Creditors,
                          2307 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2304 Motion to extend time to Remove Actions Pursuant to 28 USC 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)1725
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management,
                          L.P.). Hearing to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2304,
                          filed by Debtor Highland Capital Management, L.P., 2308 Omnibus Reply to (related
                          document(s): 2268 Objection filed by Creditor The Dugaboy Investment Trust, Creditor Get
                          Good Trust, 2293 Objection filed by Creditor The Dugaboy Investment Trust, 2295
                          Objection filed by Interested Party James Dondero) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                          Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8) filed by Debtor Highland Capital
                          Management, L.P., 2311 Response opposed to (related document(s): 2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) filed by Plaintiff The
                          Charitable DAF Fund, L.P., Plaintiff CLO Holdco, Ltd.) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2315 Joinder by to
                          Debtors Objection to Motion for Modification of Order Authorizing Appointment of James P.
                          Seery, Jr. Due to Lack of Subject Matter Jurisdiction filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)2311 Response). filed by
   05/19/2021             Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             2338 (18 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2317
                          Agreed Order granting motion to continue hearing on (related document 2226) (related
                          documents Objection to claim) Hearing to be held on 9/21/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2059, Entered on 5/17/2021. (Okafor, M.) Modified text
   05/19/2021             on 5/17/2021 (Okafor, M.).) No. of Notices: 2. Notice Date 05/19/2021. (Admin.)

                             2339 (7 pgs) Amended Exhibit List Supplemental Exhibit List for the May 12, 2021
                          Hearing with Certificate of Service filed by Creditor The Dugaboy Investment Trust (RE:
   05/20/2021             related document(s)2314 List (witness/exhibit/generic)). (Draper, Douglas)

   05/20/2021               2340 (3 pgs) Motion to continue hearing on (related documents 2229 Motion to
                          borrow/incur debt) (Motion to Further Continue Hearing on Debtor's Motion for Entry of an
                          Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
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                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P. (Annable,
                          Zachery)

                            2341 (10 pgs) Response opposed to (related document(s): 2256 Motion to compel
                          Compliance with Bankruptcy Rule 2015.3. filed by Creditor The Dugaboy Investment Trust,
                          Creditor Get Good Trust) filed by Debtor Highland Capital Management, L.P.. (Annable,
   05/20/2021             Zachery)

                             2342 (1024 pgs; 30 docs) Amended Exhibit List Supplemental Exhibit List filed by
                          Creditor The Dugaboy Investment Trust (RE: related document(s)2339 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                          4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                          Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 #
                          17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit
                          22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28
   05/20/2021             Exhibit 28 # 29 Exhibit 29) (Draper, Douglas)

                            2343 (3 pgs) Joinder by Debtors Opposition to Motion to Compel filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)2341
   05/20/2021             Response). (Hoffman, Juliana)

                            2344 (11 pgs) Certificate of service re: Notice of Agenda of Matters Scheduled for
                          Hearing on May 18, 2021 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2319 Notice (Notice of Agenda of Matters
                          Scheduled for Hearing on May 18, 2021 at 9:30 a.m. (Central Time)) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   05/20/2021             (Kass, Albert)

                             2345 (4 pgs) Agreed scheduling order with respect to Debtors Objection to Application
                          for Administrative Claim of Highland Capital Management Fund Advisors, L.P. and
                          NexPoint Advisors, L.P. (RE: related document(s)2274 Objection filed by Debtor Highland
                          Capital Management, L.P.). Hearing to be held on 9/28/2021 at 09:30 AM at https://us-
   05/21/2021             courts.webex.com/meet/jerniga for 2274, Entered on 5/21/2021 (Okafor, M.)

                             2346 (2 pgs) Order granting motion to withdraw as attorney for CLO Holdco, LTD
                          (attorney John J. Kane terminated). (related document # 2316) Entered on 5/21/2021.
   05/21/2021             (Okafor, M.)

                            2347 (12 pgs) Reply to (related document(s): 2311 Response filed by Debtor Highland
   05/21/2021             Capital Management, L.P.) filed by Creditor The Charitable DAF Fund, L.P.. (Sbaiti, Mazin)


                                2348 (1 pg) PDF with attached Audio File. Court Date & Time [05/21/2021 08:57:33
   05/21/2021             AM]. File Size [ 73177 KB ]. Run Time [ 05:13:15 ]. (admin).

                             2349 (36 pgs) Omnibus Reply to (related document(s): 2309 Response to show cause
                          order filed by Respondent Mark Patrick, 2312 Objection filed by Interested Party James
                          Dondero, 2313 Response to show cause order filed by Creditor The Charitable DAF Fund,
   05/21/2021             L.P.) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

   05/21/2021               2350 (2 pgs) Order approving Debtor's settlement with Siepe, LLC and Siepe Services,
                          LLC.(Claims Nos. 38, 39) and authorizing actions consistent therewith (related document #

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                          2243) Entered on 5/21/2021. (Okafor, M.)

                             2351 (298 pgs; 5 docs) Declaration re: (Reply Declaration of John A. Morris in Support
                          of Debtor's Motion for an Order Requiring Violators to Show Cause Why They Should Not
                          Be Held in Civil Contempt for Violating Two Court Orders) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2349 Reply). (Attachments: # 1 Exhibit 19 # 2
   05/21/2021             Exhibit 20 # 3 Exhibit 21 # 4 Exhibit 22) (Annable, Zachery)

                             2352 (7 pgs) Order approving stipulation and agreed order authorizing withdrawal of
                          proofs of claim 165, 168, and 169 (RE: related document(s)2335 Notice (generic) filed by
   05/21/2021             Debtor Highland Capital Management, L.P.). Entered on 5/21/2021 (Okafor, M.)

                            2353 (3 pgs) Order sustaining objection to claim number(s) #93 of Integrated Financial
                          Associates, Inc. (RE: related document(s)2133 Objection to claim filed by Debtor Highland
   05/21/2021             Capital Management, L.P.). Entered on 5/21/2021 (Okafor, M.)

                             2354 (2 pgs) Order granting motion to continue hearing on (related document # 2340)
                          (related documents Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I)
                          Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed
                          Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II) Granting Rela)
                          Hearing to be held on 6/25/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
   05/21/2021             for 2229, Entered on 5/21/2021. (Okafor, M.)

                            2355 (302 pgs; 5 docs) Declaration re: (Amended Reply Declaration of John A. Morris in
                          Support of Debtor's Motion for an Order Requiring Violators to Show Cause Why They
                          Should Not Be Held in Civil Contempt for Violating Two Court Orders) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2349 Reply). (Attachments: # 1
   05/21/2021             Exhibit 19 # 2 Exhibit 20 # 3 Exhibit 21 # 4 Exhibit 22) (Annable, Zachery)

                             2356 (8 pgs) Notice (Notice of Filing of Sixth Amended Exhibit B to Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)75 Motion to Authorize /Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtors in the Ordinary Course of Business Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
   05/21/2021             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable, Zachery)

                              2357 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   05/21/2021             Document). (Annable, Zachery)

   05/21/2021                2358 (23 pgs) Certificate of service re: Documents Served on May 18, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2321 Notice (Notice
                          of Cancellation of Status Conference) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)2196 Motion to compel Disqualification of Wick Phillips Gould &
                          Martin, LLP as Counsel to HCRE Partners, LLC. (Debtor's Motion to Disqualify Wick
                          Phillips Gould & Martin, LLP as Counsel to HCRE Partners, LLC and for Related Relief)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.461 373/439



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                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed
                          Order)). filed by Debtor Highland Capital Management, L.P., 2324 Certificate of No
                          Objection filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2243
                          Motion to compromise controversy with Siepe, LLC and Siepe Services, LLC. (Motion of the
                          Debtor for Entry of an Order Approving Settlement with Siepe, LLC and Siepe Services, LLC
                          [Claim Nos. 38, 39] and Authorizing Actions Consistent Therewith)2325 Order granting fifth
                          interim fee application for compensation (related document 2221) granting for FTI
                          Consulting, Inc. Financial Advisor for the Official Committee of Unsecured Creditors, fees
                          awarded: $838751.40, expenses awarded: $0.00 Entered on 5/18/2021. (Okafor, M.), 2326
                          Order granting fourth interim application for compensation (related document 1655)
                          granting for FTI Consulting, Inc., Financial Advisor for the Official Committee of Unsecured
                          Creditors, fees awarded: $710280.45, expenses awarded: $1479.47 Entered on 5/18/2021.
                          (Okafor, M.), 2327 Order granting fifth interim application for compensation (related
                          document 2233) granting for Sidley Austin LLP, Attorneys for Official Committee of
                          Unsecured Creditors, fees awarded: $1957009.95, expenses awarded: $23156.48 Entered on
                          5/18/2021. (Okafor, M.), 2328 Application for compensation Sidley Austin LLP's Seventeenth
                          Monthly Application for Compensation for Official Committee of Unsecured Creditors,
                          Creditor Comm. Aty, Period: 3/1/2021 to 3/31/2021, Fee: $371,842.20, Expenses: $6,279.02.
                          Filed by Attorney Juliana Hoffman Objections due by 6/8/2021. filed by Creditor Committee
                          Official Committee of Unsecured Creditors, 2329 Order granting fourth interim application
                          for compensation (related document 1853) granting Sidley Austin LLP, Attorneys for Official
                          Committee of Unsecured Creditors, fees awarded: $1620489.60, expenses awarded:
                          $8974.00 Entered on 5/18/2021. (Okafor, M.), 2331 Witness and Exhibit List filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. (Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith)). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                          Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                          Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 #
                          21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26
                          # 27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit
                          32 # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
                          Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 #
                          44 Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit 49
                          # 50 Exhibit 50 # 51 Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53 # 54 Exhibit 54 # 55 Exhibit
                          55 # 56 Exhibit 56 # 57 Exhibit 57 # 58 Exhibit 58 # 59 Exhibit 59 # 60 Exhibit 60 # 61
                          Exhibit 61 # 62 Exhibit 62 # 63 Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65 # 66 Exhibit 66 #
                          67 Exhibit 67 # 68 Exhibit 68 # 69 Exhibit 69 # 70 Exhibit 70 # 71 Exhibit 71 # 72 Exhibit 72
                          # 73 Exhibit 73) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2359 Hearing held on 5/21/2021. (RE: related document(s)2199 Motion to compromise
                          controversy with UBS Securities LLC and UBS AG London Branch. Debtor's Motion for
                          Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
                          Branch and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: R. Feinstein, J. Morris, J. Pomeranz, and G. Demo for
                          Debtor; A. Clubok and K. Posin for UBS; D. Draper for Dugaboy and Get Good Trusts; C.
                          Taylor and B. Assink for J. Dondero. Evidentiary hearing. Motion approved for reasons
   05/21/2021             stated on the record. Counsel to upload order.) (Edmond, Michael) (Entered: 05/24/2021)

   05/21/2021               2368 (1 pg) Court admitted exhibits date of hearing May 21, 2021 (RE: related
                          document(s)2199 Motion to compromise controversy with UBS Securities LLC and UBS
                          AG London Branch, (Debtor's Motion for Entry of an Order Approving Settlement with UBS
                          Securities LLC and UBS AG London Branch and Authorizing Actions Consistent Therewith)
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                          filed by Debtor Highland Capital Management, L.P.) (COURT ADMITTED EXHIBIT'S #1
                          THROUGH #17 BY ANDREW CLUBOK FOR UBS, EXHIBIT'S #1 THROUGH #40 &
                          #65 THROUGH #73 BY JOHN A. MORRIS FOR THE DEBTOR/HCMLP, EXHIBIT'S #1
                          THROUGH #29 BY DOUGLAS S. DRAPER FOR DUGABOY INVESTMENT TRUST &
                          EXHIBIT'S #A THROUGH #X BY CLAY M. TAYLOR FOR JAMES DONDERO
                          (Edmond, Michael) (Entered: 05/24/2021)

                             2361 (5 pgs) Agreed scheduling order with respect to Debtor's motion to disqualify Wick
                          Phillips Gould & Martin LLP as counsel to HCRE Partners, LLC (RE: related
                          document(s)2196 Motion to compel filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 10/25/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
   05/24/2021             for 2196, Entered on 5/24/2021 (Okafor, M.)

                             2362 (2 pgs) Order requiring James Dondero to appear at all hearings in the bankruptcy
   05/24/2021             case Entered on 5/24/2021 (Okafor, M.)

                            2363 (3 pgs) Notice to take deposition of James Dondero filed by Debtor Highland
   05/24/2021             Capital Management, L.P.. (Annable, Zachery)

                             2364 (1 pg) Request for transcript regarding a hearing held on 5/21/2021. The requested
   05/24/2021             turn-around time is daily. (Edmond, Michael)

                             2365 (3 pgs) Withdrawal of claim(s): (Stipulation and Agreed Order Authorizing
                          Withdrawal of Proofs of Claim 38 and 39) Filed by Debtor Highland Capital Management,
   05/24/2021             L.P.. (Annable, Zachery)

                             2366 (12 pgs) Subpoena on Grant Scott filed by Debtor Highland Capital Management,
   05/24/2021             L.P.. (Annable, Zachery)

                             2367 (6 pgs) Notice of hearing filed by Get Good Trust, The Dugaboy Investment Trust
                          (RE: related document(s)2256 Motion to compel Compliance with Bankruptcy Rule 2015.3.
                          Filed by Get Good Trust, The Dugaboy Investment Trust Objections due by 5/20/2021.).
                          Hearing to be held on 6/10/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
   05/24/2021             for 2256, (Draper, Douglas)

                            2369 (6 pgs; 2 docs) Certificate of service re: Notice of Hearing filed by Get Good Trust,
                          The Dugaboy Investment Trust (RE: related document(s)2367 Notice of hearing).
   05/24/2021             (Attachments: # 1 Mailing Matrix) (Draper, Douglas)

                             2370 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)2260 Application for compensation Seventeenth Monthly
                          Application for Compensation for FTI Consulting, Inc. for Official Committee of Unsecured
                          Creditors, Financial Advisor, Period: 3/1/2021 to 3/31/2021, Fee: $96,823.80, Expenses:
   05/24/2021             $0.). (Hoffman, Juliana)

   05/24/2021                2371 (16 pgs) Certificate of service re: 1) Debtor's Notice of Deposition to Mark Patrick
                          in Connection with Debtor's Contempt Motion; 2) Debtor's Notice of Rule 30(b)(6)
                          Deposition to (A) CLO Holdco, Ltd., and (B) Charitable DAF Fund, L.P.; and 3) Stipulation
                          and Agreed Order Authorizing Withdrawal of Proofs of Claim 165, 168, and 169 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2332 Notice to take
                          deposition of Mark Patrick filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 2333 Notice to take deposition of CLO Holdco,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.463 375/439



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                          Ltd. and Charitable DAF Fund, L.P. filed by Debtor Highland Capital Management, L.P..
                          filed by Debtor Highland Capital Management, L.P., 2335 Notice (Stipulation and Agreed
                          Order Authorizing Withdrawal of Proofs of Claim 165, 168, and 169) filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                            2372 (9 pgs) Subpoena on NexBank Capital, Inc. filed by Debtor Highland Capital
   05/25/2021             Management, L.P.. (Annable, Zachery)

                            2373 (9 pgs) Subpoena on Highland Capital Management Fund Advisors, L.P. filed by
   05/25/2021             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             2374 (12 pgs) Certificate of service re: 1) Motion to Further Continue Hearing on
                          Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter Into Exit
                          Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related
                          Fees and Expenses, and (II) Granting Related Relief; 2) Debtor's Opposition to Motion to
                          Compel Compliance with Bankruptcy Rule 2015.3 Filed by Dugaboy Investment Trust and
                          Get Good Trust; and 3) Joinder of the Official Committee of Unsecured Creditors to Debtors
                          Opposition to Motion to Compel Compliance with Bankruptcy Rule 2015.3 Filed by Dugaboy
                          Investment Trust and Get Good Trust Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2340 Motion to continue hearing on (related documents 2229
                          Motion to borrow/incur debt) (Motion to Further Continue Hearing on Debtor's Motion for
                          Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in
                          Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and
                          (II) Granting Related Relief) Filed by Debtor Highland Capital Management, L.P. filed by
                          Debtor Highland Capital Management, L.P., 2341 Response opposed to (related document(s):
                          2256 Motion to compel Compliance with Bankruptcy Rule 2015.3. filed by Creditor The
                          Dugaboy Investment Trust, Creditor Get Good Trust) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2343 Joinder by
                          Debtors Opposition to Motion to Compel filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)2341 Response). filed by Creditor Committee
   05/25/2021             Official Committee of Unsecured Creditors). (Kass, Albert)

                             2375 (191 pgs) Transcript regarding Hearing Held 05/21/2021 (191 pages) RE: Motion to
                          Compromise Controversy (#2199). THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 08/24/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 2359 Hearing held on 5/21/2021. (RE: related document(s)2199 Motion to
                          compromise controversy with UBS Securities LLC and UBS AG London Branch. Debtor's
                          Motion for Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG
                          London Branch and Authorizing Actions Consistent Therewith) filed by Debtor Highland
                          Capital Management, L.P.) (Appearances: R. Feinstein, J. Morris, J. Pomeranz, and G. Demo
                          for Debtor; A. Clubok and K. Posin for UBS; D. Draper for Dugaboy and Get Good Trusts;
                          C. Taylor and B. Assink for J. Dondero. Evidentiary hearing. Motion approved for reasons
                          stated on the record. Counsel to upload order.)). Transcript to be made available to the public
   05/26/2021             on 08/24/2021. (Rehling, Kathy)

                            2376 (1 pg) Notice of Appearance and Request for Notice by Linda D. Reece filed by
   05/26/2021             Creditor Plano ISD. (Reece, Linda)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.464 376/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   05/26/2021               2377 (962 pgs; 3 docs) Declaration re: (Second Amended Reply Declaration of John A.
                          Morris in Support of Debtor's Motion for an Order Requiring Violators to Show Cause Why
                          They Should Not Be Held in Civil Contempt for Violating Two Court Orders) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2349 Reply). (Attachments: # 1
                          Exhibit 23 # 2 Exhibit 24) (Annable, Zachery)

                              2378 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   05/26/2021             Document). (Annable, Zachery)

   05/26/2021                 2379 (4 pgs) Certificate of service re: [Customized for Rule 3001(e)(2) or 3001(e)(4)]
                          Notice of Transfer of Claim Pursuant to F. R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos.
                          2092 2094 and 2096 2115] Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2092 Assignment/Transfer of Claim. Fee Amount $26. Transfer
                          Agreement 3001 (e) 2 Transferors: Scott Ellington (Claim No. 244) To CPCM, LLC. Filed
                          by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2093
                          Assignment/Transfer of Claim. Fee Amount $26. Transferors: Frank Waterhouse (Claim No.
                          217) To CPCM, LCC. Filed by Interested Party CPCM, LLC. filed by Interested Party
                          CPCM, LLC, 2094 Assignment/Transfer of Claim. Fee Amount $26. Transferors: Jean Paul
                          Sevilla (Claim No. 241) To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed by
                          Interested Party CPCM, LLC, 2096 Assignment/Transfer of Claim. Fee Amount $26.
                          Transferors: Isaac Leventon (Claim No. 216) To CPCM, LLC. Filed by Interested Party
                          CPCM, LLC. filed by Interested Party CPCM, LLC, 2097 Assignment/Transfer of Claim.
                          Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: Lucy Bannon (Claim No. 235)
                          To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM,
                          LLC, 2098 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2
                          Transferors: Jerome Carter (Claim No. 223) To CPCM, LLC. Filed by Interested Party
                          CPCM, LLC. filed by Interested Party CPCM, LLC, 2099 Assignment/Transfer of Claim.
                          Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: Brian Collins (Claim No. 233)
                          To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM,
                          LLC, 2100 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2
                          Transferors: Matthew DiOrio (Claim No. 230) To CPCM, LLC. Filed by Interested Party
                          CPCM, LLC. filed by Interested Party CPCM, LLC, 2101 Assignment/Transfer of Claim.
                          Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: Hayley Eliason (Claim No.
                          236) To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party
                          CPCM, LLC, 2102 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement
                          3001 (e) 2 Transferors: William Gosserand (Claim No. 232) To CPCM, LLC. Filed by
                          Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2103
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Steven Haltom (Claim No. 224) To CPCM, LLC. Filed by Interested Party CPCM, LLC.
                          filed by Interested Party CPCM, LLC, 2104 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: Charles Hoedebeck (Claim No. 228) To CPCM,
                          LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2105
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Mary Irving (Claim No. 231) To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed
                          by Interested Party CPCM, LLC, 2106 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: Helen Kim (Claim No. 226) To CPCM, LLC.
                          Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2107
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Kari Kovelan (Claim No. 227) To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed
                          by Interested Party CPCM, LLC, 2108 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: William Mabry (Claim No. 234) To CPCM,
                          LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2109
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.465 377/439



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                          Mark Patrick (Claim No. 219) To CPCM, LLC. Filed by Interested Party CPCM, LLC. filed
                          by Interested Party CPCM, LLC, 2110 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: Christopher Rice (Claim No. 220) To CPCM,
                          LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2111
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Jason Rothstein (Claim No. 229) To CPCM, LLC. Filed by Interested Party CPCM, LLC.
                          filed by Interested Party CPCM, LLC, 2112 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: Kellie Stevens (Claim No. 221) To CPCM, LLC.
                          Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2113
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Ricky Swadley (Claim No. 237) To CPCM, LLC. Filed by Interested Party CPCM, LLC.
                          filed by Interested Party CPCM, LLC, 2114 Assignment/Transfer of Claim. Fee Amount $26.
                          Transfer Agreement 3001 (e) 2 Transferors: Lauren Thedford (Claim No. 222) To CPCM,
                          LLC. Filed by Interested Party CPCM, LLC. filed by Interested Party CPCM, LLC, 2115
                          Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors:
                          Stephanie Vitiello (Claim No. 225) To CPCM, LLC. Filed by Interested Party CPCM, LLC.
                          filed by Interested Party CPCM, LLC). (Kass, Albert)

   05/26/2021                2380 (33 pgs) Certificate of service re: Documents Served on May 21, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2345 Agreed
                          scheduling order with respect to Debtors Objection to Application for Administrative Claim
                          of Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. (RE:
                          related document(s)2274 Objection filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 9/28/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
                          for 2274, Entered on 5/21/2021 (Okafor, M.), 2349 Omnibus Reply to (related document(s):
                          2309 Response to show cause order filed by Respondent Mark Patrick, 2312 Objection filed
                          by Interested Party James Dondero, 2313 Response to show cause order filed by Creditor
                          The Charitable DAF Fund, L.P.) filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 2350 Order approving Debtor's settlement with
                          Siepe, LLC and Siepe Services, LLC.(Claims Nos. 38, 39) and authorizing actions consistent
                          therewith (related document 2243) Entered on 5/21/2021. (Okafor, M.), 2352 Order
                          approving stipulation and agreed order authorizing withdrawal of proofs of claim 165, 168,
                          and 169 (RE: related document(s)2335 Notice (generic) filed by Debtor Highland Capital
                          Management, L.P.). Entered on 5/21/2021 (Okafor, M.), 2353 Order sustaining objection to
                          claim number(s) #93 of Integrated Financial Associates, Inc. (RE: related document(s)2133
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). Entered on
                          5/21/2021 (Okafor, M.), 2354 Order granting motion to continue hearing on (related
                          document 2340) (related documents Motion to borrow/incur debt (Debtor's Motion for Entry
                          of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Rela) Hearing to be held on 6/25/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2229, Entered on 5/21/2021. (Okafor, M.), 2355
                          Declaration re: (Amended Reply Declaration of John A. Morris in Support of Debtor's
                          Motion for an Order Requiring Violators to Show Cause Why They Should Not Be Held in
                          Civil Contempt for Violating Two Court Orders) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2349 Reply). (Attachments: # 1 Exhibit 19 # 2
                          Exhibit 20 # 3 Exhibit 21 # 4 Exhibit 22) filed by Debtor Highland Capital Management,
                          L.P., 2356 Notice (Notice of Filing of Sixth Amended Exhibit B to Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)75 Motion to Authorize /Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtors in the Ordinary Course of Business Filed by Highland Capital Management,
                          L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.466 378/439



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                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019.
                          (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit
                          C - Form of Declaration of Disinterestedness # 5 Certificate of Service and Service List)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
                          Debtor Highland Capital Management, L.P., 2357 Declaration re: (Disclosure Declaration
                          of Ordinary Course Professional) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 Document). filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                             2381 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2362
                          Order requiring James Dondero to appear at all hearings in the bankruptcy case Entered on
   05/26/2021             5/24/2021 (Okafor, M.)) No. of Notices: 1. Notice Date 05/26/2021. (Admin.)

                             2382 (22 pgs) Application for compensation Eighteenth Monthly Application for
                          Compensation for FTI Consulting, Inc., Financial Advisor, Period: 4/1/2021 to 4/30/2021,
                          Fee: $85,577.40, Expenses: $0. Filed by Attorney Juliana Hoffman Objections due by
   05/27/2021             6/17/2021. (Hoffman, Juliana)

                             2383 (149 pgs) Application for compensation (Nineteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from April 1, 2021 Through April 30, 2021) for
                          Pachulski Stang Ziehl & Jones LLP, Debtor's Attorney, Period: 4/1/2021 to 4/30/2021, Fee:
                          $1,286,897.00, Expenses: $8,173.58. Filed by Other Professional Pachulski Stang Ziehl &
   05/27/2021             Jones LLP (Annable, Zachery)

                            2384 (1 pg) Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 38 . Civil Case
                          Number: 3:21-CV-00879-K (RE: related document(s)2149 Notice of appeal 2169 Amended
                          notice of appeal filed by Interested Party James Dondero (RE: related document(s)2149
   05/27/2021             Notice of appeal).) (Blanco, J.)

                             2386 (1 pg) Notice of docketing COMPLETE record on appeal. 3:21CV00879K (RE:
                          related document(s)2149 Notice of appeal2169 Amended notice of appeal filed by Interested
   05/27/2021             Party James Dondero (RE: related document(s)2149 Notice of appeal).) (Blanco, J.)

                            2387 (4 pgs) Notice of hearing (Status Conference) filed by Interested Parties NexBank,
                          NexBank Capital Inc., NexBank Securities Inc., NexBank Title Inc. (RE: related
                          document(s)1888 Application for administrative expenses Filed by Interested Parties
                          NexBank, NexBank Capital Inc., NexBank Securities Inc., NexBank Title Inc.). Status
                          Conference to be held on 8/4/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga.
   05/27/2021             (Drawhorn, Lauren)

                             2388 (5 pgs) Order approving stipulation and agreed order authorizing withdrawal of
                          proofs of claims No. 38 and No. 39 (RE: related document(s)2365 Withdrawal of claim filed
   05/27/2021             by Debtor Highland Capital Management, L.P.). Entered on 5/27/2021 (Okafor, M.)

                            2389 (21 pgs) Order approving Debtor's settlement with UBS Securities LLC and UBS
                          AG London Branch and authorizing actions consistent therewith (related document # 2199)
   05/27/2021             Entered on 5/27/2021. (Okafor, M.)

   05/27/2021                 2390 (20 pgs) Certificate of service re: Documents Served on May 24, 2021 Filed by
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.467 379/439



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                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2361 Agreed
                          scheduling order with respect to Debtor's motion to disqualify Wick Phillips Gould & Martin
                          LLP as counsel to HCRE Partners, LLC (RE: related document(s)2196 Motion to compel
                          filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 10/25/2021 at
                          09:30 AM at https://us-courts.webex.com/meet/jerniga for 2196, Entered on 5/24/2021
                          (Okafor, M.), 2363 Notice to take deposition of James Dondero filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2365
                          Withdrawal of claim(s): (Stipulation and Agreed Order Authorizing Withdrawal of Proofs of
                          Claim 38 and 39) Filed by Debtor Highland Capital Management, L.P.. filed by Debtor
                          Highland Capital Management, L.P., 2366 Subpoena on Grant Scott filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                             2391 (20 pgs) Certificate of service re: 1) Debtor's Notice of Service of Subpoena in
                          Connection with Debtor's Contempt Motion; and 2) Debtor's Notice of Service of Subpoena
                          in Connection with Debtor's Contempt Motion Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2372 Subpoena on NexBank Capital, Inc. filed by
                          Debtor Highland Capital Management, L.P.. filed by Debtor Highland Capital Management,
                          L.P., 2373 Subpoena on Highland Capital Management Fund Advisors, L.P. filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   05/27/2021             (Kass, Albert)

                             2392 (2 pgs) Withdrawal /Notice of Withdrawal of Appearance filed by Interested Party
                          NexBank (RE: related document(s)923 Notice of appearance and request for notice). (Slade,
   06/01/2021             Jared)

                             2393 (5 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry
                          of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P.). Hearing to be
                          held on 6/25/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 2229,
   06/01/2021             (Annable, Zachery)

                             2394 (15 pgs) Certificate of service re: 1) Second Amended Reply Declaration of John A.
                          Morris in Support of Debtor's Motion for an Order Requiring Violators to Show Cause Why
                          They Should Not be Held in Civil Contempt for Violating Two Court Orders; and 2)
                          Disclosure Declaration of Ordinary Course Professional Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2377 Declaration re: (Second Amended Reply
                          Declaration of John A. Morris in Support of Debtor's Motion for an Order Requiring
                          Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two
                          Court Orders) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2349 Reply). (Attachments: # 1 Exhibit 23 # 2 Exhibit 24) filed by Debtor
                          Highland Capital Management, L.P., 2378 Declaration re: (Disclosure Declaration of
                          Ordinary Course Professional) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 Document). filed by Debtor Highland Capital Management, L.P.).
   06/01/2021             (Kass, Albert)

                            2395 (14 pgs) Motion to pay (Debtor's Motion for Entry of an Order Authorizing
                          Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer
                          and Chief Restructuring Officer) Filed by Debtor Highland Capital Management, L.P.
   06/01/2021             (Annable, Zachery)

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   06/01/2021                2396 (60 pgs) Application for compensation Sidley Austin LLP's Eighteenth Monthly
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 4/1/2021 to 4/30/2021, Fee: $417,427.20, Expenses: $21,694.88. Filed
                          by Attorney Juliana Hoffman Objections due by 6/22/2021. (Hoffman, Juliana)

                             2397 (3 pgs) Certificate of No Objection filed by Other Professional Hayward PLLC (RE:
                          related document(s)2283 Application for compensation (Eleventh Monthly Application for
                          Compensation and Reimbursement of Hayward PLLC as Local Counsel to the Debtor for the
                          Period from October 1, 2020 through November 30, 2020) for Hayward PLLC, Debtor's
   06/02/2021             Attorney,). (Annable, Zachery)

                             2398 (3 pgs) Notice of appeal and Statement of Election. Fee Amount $298 filed by Get
                          Good Trust, The Dugaboy Investment Trust (RE: related document(s)2389 Order on motion
   06/02/2021             to compromise controversy). Appellant Designation due by 06/16/2021. (Draper, Douglas)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   06/02/2021             Receipt number 28754649, amount $ 298.00 (re: Doc# 2398). (U.S. Treasury)

                             2399 (22 pgs) Certificate of service re: Documents Served on May 27, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2382 Application for
                          compensation Eighteenth Monthly Application for Compensation for FTI Consulting, Inc.,
                          Financial Advisor, Period: 4/1/2021 to 4/30/2021, Fee: $85,577.40, Expenses: $0. Filed by
                          Attorney Juliana Hoffman Objections due by 6/17/2021. filed by Financial Advisor FTI
                          Consulting, Inc., 2383 Application for compensation (Nineteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from April 1, 2021 Through April 30, 2021) for
                          Pachulski Stang Ziehl & Jones LLP, Debtor's Attorney, Period: 4/1/2021 to 4/30/2021, Fee:
                          $1,286,897.00, Expenses: $8,173.58. Filed by Other Professional Pachulski Stang Ziehl &
                          Jones LLP, 2388 Order approving stipulation and agreed order authorizing withdrawal of
                          proofs of claims No. 38 and No. 39 (RE: related document(s)2365 Withdrawal of claim filed
                          by Debtor Highland Capital Management, L.P.). Entered on 5/27/2021 (Okafor, M.), 2389
                          Order approving Debtor's settlement with UBS Securities LLC and UBS AG London Branch
                          and authorizing actions consistent therewith (related document 2199) Entered on 5/27/2021.
   06/02/2021             (Okafor, M.)). (Kass, Albert)

                             2466 (2 pgs) Circuit Court Order granting motions for certification to court of appeals
                          (Related Doc # 2033) Entered on 6/2/2021. IT IS ORDERED that the motion of Highland
                          Global AllocationFund, Highland Income Fund, NexPoint Capital, Incorporated, and
                          NexPoint Strategic Opportunities Fund for leave to appeal under 28 U.S.C.§ 158(d) is
                          GRANTED.IT IS FURTHER ORDERED that the motion of James Dondero forleave to
                          appeal under 28 U.S.C. § 158(d) is GRANTED.IT IS FURTHER ORDERED that the motion
                          of Get Good Trust andThe Dugaboy Investment Trust for leave to appeal under 28 U.S.C. §
                          158(d)is GRANTED. USCA Circuit Court Case: 21-10449 (Whitaker, Sheniqua) (Entered:
   06/02/2021             06/21/2021)

                             2400 (70 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from March 1, 2021 through March 31, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)853 Order granting application
                          to employ Development Specialists, Inc. as Other Professional (related document 775)
   06/03/2021             Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

   06/03/2021                 2401 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.469 381/439



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                          Professionals for the Period from October 16, 2019 through April 30, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
                          Zachery)

                              2402 (7 pgs) Certificate of service re: 1) Amended Notice of Hearing; and 2) Debtor's
                          Motion for Entry of an Order Authorizing Payment of a Restructuring Fee to James P. Seery,
                          Jr., the Debtor's Chief Executive Officer and Chief Restructuring Officer Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2393 Amended Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2229
                          Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the
                          Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and
                          (B) Incur and Pay Related Fees and Expenses, and (II) Granting Related Relief) Filed by
                          Debtor Highland Capital Management, L.P.). Hearing to be held on 6/25/2021 at 09:30 AM
                          at https://us-courts.webex.com/meet/jerniga for 2229, filed by Debtor Highland Capital
                          Management, L.P., 2395 Motion to pay (Debtor's Motion for Entry of an Order Authorizing
                          Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer
                          and Chief Restructuring Officer) Filed by Debtor Highland Capital Management, L.P. filed
   06/03/2021             by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2403 (12 pgs) Objection to (related document(s): 2229 Motion to borrow/incur debt
                          (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit
                          Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related
                          Fees and Expenses, and (II) Granting Rela filed by Debtor Highland Capital Management,
                          L.P.)Preliminary Objection filed by Creditor The Dugaboy Investment Trust. (Draper,
   06/04/2021             Douglas)

                              2404 (5 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   06/04/2021             Document). (Annable, Zachery)

                             2405 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2395 Motion to pay (Debtor's Motion for Entry of an Order Authorizing
                          Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer
                          and Chief Restructuring Officer) Filed by Debtor Highland Capital Management, L.P.).
                          Hearing to be held on 6/25/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga
   06/04/2021             for 2395, (Annable, Zachery)

                             2406 (2 pgs) Response opposed to (related document(s): 2304 Motion to extend time to
                          Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)1725 Order on motion to extend/shorten
                          time) filed by Debtor Highland Capital Management, L.P.) filed by Interested Party James
   06/04/2021             Dondero. (Howell, William)

   06/04/2021                2407 (6 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2248 Motion to Reconsider(related documents 854 Order on
                          application to employ) Filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P.
                          (Ecker, C.), 2255 Order requiring violators to show cause why they should not be held in
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.470 382/439



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                          civil contempt for violating two court orders (related document 2247) Show Cause hearing to
                          be held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Show Cause hearing to be
                          held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Any response should be filed
                          by May 21, 2021. Entered on 4/29/2021. (Okafor, M.), 2304 Motion to extend time to
                          Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)1725 Order on motion to extend/shorten
                          time) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 6/8/2021
                          at 09:30 AM Dallas Judge Jernigan Ctrm for 2255 and for 2248 and for 2304, (Annable,
                          Zachery)

                              2408 (3 pgs) Certificate of service re: (Supplemental) 1) Debtor's Motion for Entry of an
                          Order Further Extending the Period Within Which It May Remove Actions Pursuant to 28
                          U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure; and 2) Notice of
                          Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2304 Motion to extend time to Remove Actions Pursuant to 28 USC 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)1725
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management, L.P.
                          filed by Debtor Highland Capital Management, L.P., 2307 Notice of hearing filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2304 Motion to extend time to
                          Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)1725 Order on motion to extend/shorten
                          time) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 6/8/2021
                          at 09:30 AM Dallas Judge Jernigan Ctrm for 2304, filed by Debtor Highland Capital
                          Management, L.P., 2337 Certificate of service re: Documents Served on May 14, 2021 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2304 Motion to
                          extend time to Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure (RE: related document(s)1725 Order on motion to
                          extend/shorten time) Filed by Debtor Highland Capital Management, L.P. filed by Debtor
                          Highland Capital Management, L.P., 2306 Application to employ Teneo Capital, LLC as
                          Litigation Advisor to the Official Committee of Unsecured Creditors as Other Professional
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Attachments: # 1
                          Exhibit # 2 Exhibit) filed by Creditor Committee Official Committee of Unsecured Creditors,
                          2307 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2304 Motion to extend time to Remove Actions Pursuant to 28 USC 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)1725
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management,
                          L.P.). Hearing to be held on 6/8/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2304,
                          filed by Debtor Highland Capital Management, L.P., 2308 Omnibus Reply to (related
                          document(s): 2268 Objection filed by Creditor The Dugaboy Investment Trust, Creditor Get
                          Good Trust, 2293 Objection filed by Creditor The Dugaboy Investment Trust, 2295
                          Objection filed by Interested Party James Dondero) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                          Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8) filed by Debtor Highland Capital
                          Management, L.P., 2311 Response opposed to (related document(s): 2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) filed by Plaintiff The
                          Charitable DAF Fund, L.P., Plaintiff CLO Holdco, Ltd.) filed by Debtor Highland Capital
                          Management, L.P.. filed by Debtor Highland Capital Management, L.P., 2315 Joinder by to
                          Debtors Objection to Motion for Modification of Order Authorizing Appointment of James P.
                          Seery, Jr. Due to Lack of Subject Matter Jurisdiction filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)2311 Response). filed by
                          Creditor Committee Official Committee of Unsecured Creditors). filed by Claims Agent
   06/04/2021             Kurtzman Carson Consultants LLC). (Kass, Albert)

   06/04/2021                 2409 (5 pgs) Certificate of service re: Eighteenth Monthly Application of Sidley Austin
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.471 383/439



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                          LLP for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          April 1, 2021 Through April 30, 2021 Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2396 Application for compensation Sidley Austin LLP's Eighteenth
                          Monthly Application for Compensation for Official Committee of Unsecured Creditors,
                          Creditor Comm. Aty, Period: 4/1/2021 to 4/30/2021, Fee: $417,427.20, Expenses:
                          $21,694.88. Filed by Attorney Juliana Hoffman Objections due by 6/22/2021. filed by
                          Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             2410 (1192 pgs; 54 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2255 Order on motion to show cause).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                          Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                          Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 #
                          18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit
                          23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29
                          Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 # 34 Exhibit 34 #
                          35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39 Exhibit 39 # 40 Exhibit
                          40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45 Exhibit 45 # 46
                          Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit 49 # 50 Exhibit 50 # 51 Exhibit 51 #
   06/05/2021             52 Exhibit 52 # 53 Exhibit 53) (Annable, Zachery)

                             2411 (309 pgs; 44 docs) Witness and Exhibit List filed by CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P., Respondent Mark Patrick (RE: related document(s)2255 Order
                          on motion to show cause). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                          4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                          Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 #
                          17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit
                          22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28
                          Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 #
                          34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39 Exhibit
   06/05/2021             39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43) (Phillips, Louis)

                             2412 (1192 pgs; 20 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2248 Motion to Reconsider(related documents
                          854 Order on application to employ)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
                          # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                          Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 #
   06/05/2021             16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19) (Annable, Zachery)

                            2414 (5 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)2398 Notice of appeal and Statement of Election. filed by Get Good Trust, The
                          Dugaboy Investment Trust (RE: related document(s)2389 Order on motion to compromise
                          controversy). Appellant Designation due by 06/16/2021.) (Attachments: # 1 Service List)
   06/06/2021             (Whitaker, Sheniqua)

                            2415 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)2398 Notice of appeal and Statement of Election. filed by
                          Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)2389 Order on
   06/06/2021             motion to compromise controversy). (Whitaker, Sheniqua)

   06/06/2021               2416 (58 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          01295-X. (RE: related document(s)2398 Notice of appeal and Statement of Election. filed by

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                          Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)2389 Order on
                          motion to compromise controversy). (Whitaker, Sheniqua)

                            2417 (10 pgs) Notice (Notice of Proposed Order) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2248 Motion to Reconsider(related documents
                          854 Order on application to employ) Filed by Plaintiffs CLO Holdco, Ltd., The Charitable
   06/07/2021             DAF Fund, L.P. (Ecker, C.)). (Annable, Zachery)

                            2418 (23 pgs; 3 docs) Declaration re: (Declaration of Jeffrey N. Pomerantz) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)2417 Notice (generic)).
   06/07/2021             (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (Annable, Zachery)

                            2419 (249 pgs; 3 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2412 List (witness/exhibit/generic)).
   06/07/2021             (Attachments: # 1 Exhibit 16 # 2 Exhibit 17) (Annable, Zachery)

                            2420 (170 pgs; 4 docs) Amended Witness and Exhibit List Exhibits 44, 45, 46 filed by
                          CLO Holdco, Ltd., The Charitable DAF Fund, L.P. (RE: related document(s)2411 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 44 # 2 Exhibit 45 # 3 Exhibit 46)
   06/07/2021             (Sbaiti, Mazin)

                            2421 (63 pgs; 3 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2410 List (witness/exhibit/generic)).
   06/07/2021             (Attachments: # 1 Exhibit 54 # 2 Exhibit 55) (Annable, Zachery)

                             2422 (1 pg) Request for transcript regarding a hearing held on 6/8/2021. The requested
   06/08/2021             turn-around time is hourly. (Edmond, Michael)

                            2423 (249 pgs) Amended Witness and Exhibit List (Second Amended) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2419 List
   06/08/2021             (witness/exhibit/generic)). (Hayward, Melissa)

                            2424 (22 pgs; 2 docs) Reply to (related document(s): 2341 Response filed by Debtor
                          Highland Capital Management, L.P.) Reply to Debtor's Opposition to Motion to Compel
                          Compliance with Bankruptcy Rule 2015.3 filed by Get Good Trust, The Dugaboy Investment
   06/08/2021             Trust. (Attachments: # 1 Exhibit 1) (Draper, Douglas)

                            2425 (5 pgs) Certificate of service re: Reply to Debtor's Opposition to Motion to Compel
                          Compliance with Bankruptcy Rule 2015.3 filed by Get Good Trust, The Dugaboy Investment
   06/08/2021             Trust (RE: related document(s)2424 Reply). (Draper, Douglas)

                             2426 (7 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)2306 Application to employ Teneo Capital,
                          LLC as Litigation Advisor to the Official Committee of Unsecured Creditors as Other
   06/08/2021             Professional ). (Hoffman, Juliana)

   06/08/2021                2427 (3 pgs) Certificate of service re: [Customized for Rule 3001(e)(2) or 3001(e)(4)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos.
                          2211 and 2215] Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2211 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Acis Capital Management GP, LLC (Claim No. 23, Amount
                          $23,000,000.00) To ACMLP Claim, LLC. Filed by Creditor Acis Capital Management GP,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.473 385/439



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                          LLC. filed by Creditor Acis Capital Management GP, LLC, 2215 Assignment/Transfer of
                          Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: ACMLP Claim, LLC
                          (Claim No. 23, Amount $23,000,000.00) To Muck Holdings LLC. Filed by Creditor Muck
                          Holdings LLC. filed by Creditor Muck Holdings LLC). (Kass, Albert)

                             2428 (7 pgs) Certificate of service re: 1) Notice of Filing of Monthly Staffing Report by
                          Development Specialists, Inc. for the Period from March 1, 2021 Through March 31, 2021;
                          and 2) Notice of Statement of Amounts Paid to Ordinary Course Professionals for the Period
                          from October 16, 2019 to April 30, 2021 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2400 Notice (Notice of Filing of Monthly Staffing
                          Report by Development Specialists, Inc. for the Period from March 1, 2021 through March
                          31, 2021) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)853
                          Order granting application to employ Development Specialists, Inc. as Other Professional
                          (related document 775) Entered on 7/16/2020. (Ecker, C.)). filed by Debtor Highland Capital
                          Management, L.P., 2401 Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 through April 30, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
   06/08/2021             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2430 Hearing held on 6/8/2021. (RE: related document(s)2255 Order requiring violators
                          to show cause why they should not be held in civil contempt for violating two court orders
                          (related document 2247) Show Cause hearing to be held on 6/8/2021 at 09:30 AM at Dallas
                          Judge Jernigan Ctrm. (Appearances: J. Morris, J. Pomeranz, and G. Demo for Debtor; M.
                          Sbati and J. Bridges for DAF and CLO Holdco, Ltd.; L. Phillips and M. Anderson for Mark
                          Patrick; C. Taylor for J. Dondero; M. Clemente for UCC. Evidentiary hearing. Court took
   06/08/2021             matter under advisement.) (Edmond, Michael)

                             2431 Hearing held on 6/8/2021. (RE: related document(s)2304 Motion to extend time to
                          Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)1725 Order on motion to extend/shorten
                          time) Filed by Debtor Highland Capital Management, L.P.) (Appearances: J. Morris, J.
                          Pomeranz, and G. Demo for Debtor; M. Sbati and J. Bridges for DAF and CLO Holdco, Ltd.;
                          L. Phillips and M. Anderson for Mark Patrick; C. Taylor and J. Wilson for J. Dondero; M.
                          Clemente for UCC. Nonevidentiary hearing. Court granted 90-day continuance without
   06/08/2021             prejudice. Counsel to upload order.) (Edmond, Michael)

   06/08/2021                2519 (1 pg) Court admitted exhibits date of hearing June 8, 2021 (RE: related
                          document(s)2255 Order requiring violators to show cause why they should not be held in
                          civil contempt for violating two court orders (related document 2247) Show Cause hearing to
                          be held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Show Cause hearing to be
                          held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. (COURT ADMITTED
                          DEBTOR'S EXHIBIT'S #12 THROUGH #55 THAT APPEAR AT DOC. #2410 BY JOHN
                          MORRIS; (NOTE* EXHIBIT'S #1 THROUGH #11 WERE NOT ADMITTED) & THE
                          COURT ADMITTED DEFENDANT'S EXHIBIT'S #1, #3, #4, #5, #6, #7, #8, #9, #10, #11,
                          #12, #15, #16, #17, #18, #19, #20, #21, #22, #23, #24, #25, #26, #27, #28, & #30
                          THRUGHT #44 ALL ADMITTED BY LOUIS PHILLIPS; (NOTE* EXHIBIT'S #13, #14 &
                          #29 WERE NOT ADMITTED) (Edmond, Michael) (Entered: 07/02/2021)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.474 386/439



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                            2432 (1 pg) Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 54 . Civil Case
   06/09/2021             Number: 3:21-CV-00538-N (RE: related document(s)1957 Notice of appeal ) (Blanco, J.)

                            2433 (5 pgs) Notice of docketing record on appeal. 3:21-cv-00538-N (RE: related
   06/09/2021             document(s)1957 Notice of appeal ) (Blanco, J.)

                             2434 (16 pgs) Certificate of service re: 1) Disclosure Declaration of Ordinary Course
                          Professional; 2) Notice of Hearing; and 3) Amended Notice of Hearing Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2404 Declaration re:
                          (Disclosure Declaration of Ordinary Course Professional) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland
                          Capital Management, L.P., 2405 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2395 Motion to pay (Debtor's Motion for Entry
                          of an Order Authorizing Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's
                          Chief Executive Officer and Chief Restructuring Officer) Filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 6/25/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2395, filed by Debtor Highland Capital Management,
                          L.P., 2407 Amended Notice of hearing filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)2248 Motion to Reconsider(related documents 854 Order on
                          application to employ) Filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P.
                          (Ecker, C.), 2255 Order requiring violators to show cause why they should not be held in
                          civil contempt for violating two court orders (related document 2247) Show Cause hearing to
                          be held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Show Cause hearing to be
                          held on 6/8/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Any response should be filed
                          by May 21, 2021. Entered on 4/29/2021. (Okafor, M.), 2304 Motion to extend time to
                          Remove Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure (RE: related document(s)1725 Order on motion to extend/shorten
                          time) Filed by Debtor Highland Capital Management, L.P.). Hearing to be held on 6/8/2021
                          at 09:30 AM Dallas Judge Jernigan Ctrm for 2255 and for 2248 and for 2304, filed by Debtor
   06/09/2021             Highland Capital Management, L.P.). (Kass, Albert)

   06/09/2021                2435 (9 pgs) Certificate of service re: 1) Debtor's Witness and Exhibit List with Respect to
                          Evidentiary Hearing to be Held on June 8, 2021; and 2) Debtor's Witness and Exhibit List
                          with Respect to Evidentiary Hearing to be Held on June 8, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2410 Witness and Exhibit List filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)2255 Order on
                          motion to show cause). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4
                          # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                          Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 #
                          17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit
                          22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28
                          Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 #
                          34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39 Exhibit
                          39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45
                          Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit 49 # 50 Exhibit 50 #
                          51 Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53) filed by Debtor Highland Capital
                          Management, L.P., 2412 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2248 Motion to Reconsider(related documents
                          854 Order on application to employ)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
                          # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                          Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 #

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                          16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19) filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                              2436 (14 pgs) Certificate of service re: Documents Served on June 7, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2417 Notice (Notice
                          of Proposed Order) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2248 Motion to Reconsider(related documents 854 Order on application to
                          employ) Filed by Plaintiffs CLO Holdco, Ltd., The Charitable DAF Fund, L.P. (Ecker, C.)).
                          filed by Debtor Highland Capital Management, L.P., 2418 Declaration re: (Declaration of
                          Jeffrey N. Pomerantz) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2417 Notice (generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) filed by
                          Debtor Highland Capital Management, L.P., 2419 Amended Witness and Exhibit List filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)2412 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 16 # 2 Exhibit 17) filed by Debtor
                          Highland Capital Management, L.P., 2421 Amended Witness and Exhibit List filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)2410 List
                          (witness/exhibit/generic)). (Attachments: # 1 Exhibit 54 # 2 Exhibit 55) filed by Debtor
   06/09/2021             Highland Capital Management, L.P.). (Kass, Albert)

                             2437 (7 pgs) Certificate of service re: Debtor's Second Amended Witness and Exhibit List
                          with Respect to Evidentiary Hearing to be Held on June 8, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2423 Amended Witness and Exhibit
                          List (Second Amended) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2419 List (witness/exhibit/generic)). filed by Debtor Highland Capital
   06/09/2021             Management, L.P.). (Kass, Albert)

                             2438 (16 pgs) BNC certificate of mailing. (RE: related document(s)2415 Notice regarding
                          the record for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)2398
                          Notice of appeal and Statement of Election. filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)2389 Order on motion to compromise
   06/09/2021             controversy).) No. of Notices: 1. Notice Date 06/09/2021. (Admin.)

                             2439 (4 pgs) Amended Notice of hearing filed by Plaintiffs CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (RE: related document(s)2248 Motion to Reconsider(related
                          documents 854 Order on application to employ) Filed by Plaintiffs CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (Ecker, C.)). Hearing to be held on 6/11/2021 at 10:00 AM at
   06/10/2021             https://us-courts.webex.com/meet/jerniga for 2248, (Sbaiti, Mazin)

   06/10/2021                2440 (298 pgs) Transcript regarding Hearing Held 06/08/2021 (298 pages) RE: Show
                          Cause Hearing (2255); Motion to Modify Order (2248); Motion to Extend Time (2304).
                          THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
                          GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE
                          DATE IS 09/8/2021. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy
                          Rehling, kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 2430 Hearing held on 6/8/2021. (RE: related document(s)2255 Order requiring
                          violators to show cause why they should not be held in civil contempt for violating two court
                          orders (related document 2247) Show Cause hearing to be held on 6/8/2021 at 09:30 AM at
                          Dallas Judge Jernigan Ctrm. (Appearances: J. Morris, J. Pomeranz, and G. Demo for Debtor;
                          M. Sbati and J. Bridges for DAF and CLO Holdco, Ltd.; L. Phillips and M. Anderson for
                          Mark Patrick; C. Taylor for J. Dondero; M. Clemente for UCC. Evidentiary hearing. Court
                          took matter under advisement.), 2431 Hearing held on 6/8/2021. (RE: related
                          document(s)2304 Motion to extend time to Remove Actions Pursuant to 28 USC 1452 and
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.476 388/439



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                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)1725
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management,
                          L.P.) (Appearances: J. Morris, J. Pomeranz, and G. Demo for Debtor; M. Sbati and J. Bridges
                          for DAF and CLO Holdco, Ltd.; L. Phillips and M. Anderson for Mark Patrick; C. Taylor
                          and J. Wilson for J. Dondero; M. Clemente for UCC. Nonevidentiary hearing. Court granted
                          90-day continuance without prejudice. Counsel to upload order.)). Transcript to be made
                          available to the public on 09/8/2021. (Rehling, Kathy)

                            2441 (3 pgs; 2 docs) Agreed Motion to continue hearing on (related documents 2248
                          Motion to Reconsider) Filed by Plaintiff The Charitable DAF Fund, L.P. (Attachments: # 1
   06/10/2021             Proposed Order) (Sbaiti, Mazin)

                             2442 Hearing held on 6/10/2021. (RE: related document(s)2256 Motion to compel
                          Compliance with Bankruptcy Rule 2015.3. filed by Get Good Trust, The Dugaboy
                          Investment Trust., (Appearances: D. Draper for Trusts; J. Pomeranz and J. Morris for Debtor;
                          M. Clemente for UCC. Nonevidentiary hearing. Motion continued for another hearing in
                          early September (counsel should contact CRD for a setting). If Effective Date occurs before
                          then, matter will be moot; if Effective Date has not occurred by then, court will consider
                          motion further. Mr. Pomeranz should upload an order consistent with the courts ruling. Court
                          will separately be issuing an order requiring: (a) Trust representative to appear at all future
                          hearings in which Trusts take positions; and (b) certain information from Dondero-related
   06/10/2021             entities for clarification of their standing.) (Edmond, Michael) (Entered: 06/11/2021)

                              Receipt Number 338903, Fee Amount $207.00 - Filing Fee for Direct Appeal to Fifth
                          Circuit Court of Appeals paid by K&L Gates LLP (RE: related document(s)1966 Notice of
                          appeal . Fee Amount $298 filed by Interested Parties Highland Global Allocation Fund,
                          Highland Income Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund (RE:
                          related document(s)1943 Order confirming chapter 11 plan). Appellant Designation due by
   06/11/2021             03/17/2021. (Hogewood, A.)) (Floyd, K)

                            2443 (3 pgs) Order granting application to employ Teneo Capital, LLC as litigation
                          advisor to the Official Committee of Unsecured Creditors effective April 15, 2021 (related
   06/11/2021             document # 2306) Entered on 6/11/2021. (Okafor, M.)

                             2444 (1 pg) Request for transcript regarding a hearing held on 6/10/2021. The requested
   06/11/2021             turn-around time is hourly. (Edmond, Michael)

   06/12/2021                2445 (91 pgs) Transcript regarding Hearing Held 06/10/2021 (91 pages) RE: Motion to
                          Compel Compliance (2256). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 09/10/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 2442 Hearing held on 6/10/2021. (RE:
                          related document(s)2256 Motion to compel Compliance with Bankruptcy Rule 2015.3. filed
                          by Get Good Trust, The Dugaboy Investment Trust., (Appearances: D. Draper for Trusts; J.
                          Pomeranz and J. Morris for Debtor; M. Clemente for UCC. Nonevidentiary hearing. Motion
                          continued for another hearing in early September (counsel should contact CRD for a setting).
                          If Effective Date occurs before then, matter will be moot; if Effective Date has not occurred
                          by then, court will consider motion further. Mr. Pomeranz should upload an order consistent
                          with the courts ruling. Court will separately be issuing an order requiring: (a) Trust
                          representative to appear at all future hearings in which Trusts take positions; and (b) certain

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                          information from Dondero-related entities for clarification of their standing.)). Transcript to
                          be made available to the public on 09/10/2021. (Rehling, Kathy)

                              Receipt Number 338904, Fee Amount $207.00 - Filing fee for Direct Appeal to Fifth
                          Circuit Court of Appeals paid by Heller, Draper, Patrick, Horn & Dabney, LLC (Fifth Circuit
                          Docket No. 21-10449) (RE: related document(s) 2014 Amended notice of appeal filed by
                          Creditor The Dugaboy Investment Trust, Creditor Get Good Trust.(RE: related
   06/14/2021             document(s)1943 Order confirming chapter 11 plan)).

                             2446 (4 pgs) Second Notice of hearing filed by Plaintiffs CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (RE: related document(s)2248 Motion to Reconsider(related
                          documents 854 Order on application to employ) Filed by Plaintiffs CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (Ecker, C.)). Hearing to be held on 6/25/2021 at 09:30 AM at
   06/14/2021             https://us-courts.webex.com/meet/jerniga for 2248, (Sbaiti, Mazin)

                            2447 (14 pgs) Notice to take deposition of Trussway Industries, LLC filed by Creditor
   06/14/2021             The Dugaboy Investment Trust. (Draper, Douglas)

                            2448 (14 pgs) Notice to take deposition of Highland Capital Management, LP filed by
   06/14/2021             Creditor The Dugaboy Investment Trust. (Draper, Douglas)

                             2449 (7 pgs) Certificate of service re: Order Pursuant to Section 1103 of the Bankruptcy
                          Code Authorizing the Employment and Retention of Teneo Capital, LLC as Litigation Advisor
                          to the Official Committee of Unsecured Creditors Effective April 15, 2021 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2443 Order granting
                          application to employ Teneo Capital, LLC as litigation advisor to the Official Committee of
                          Unsecured Creditors effective April 15, 2021 (related document 2306) Entered on 6/11/2021.
   06/15/2021             (Okafor, M.)). (Kass, Albert)

                             2450 (3 pgs) Certificate of service re: (Supplemental) [Customized for Rule 3001(e)(2) or
                          3001(e)(4)] Notice of Transfer of Claim Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re
                          Docket Nos. 2211] Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2211 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001
                          (e) 2 Transferors: Acis Capital Management GP, LLC (Claim No. 23, Amount
                          $23,000,000.00) To ACMLP Claim, LLC. Filed by Creditor Acis Capital Management GP,
                          LLC. filed by Creditor Acis Capital Management GP, LLC, 2427 Certificate of service re:
                          [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim Pursuant to
                          F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos. 2211 and 2215] Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2211 Assignment/Transfer of Claim.
                          Fee Amount $26. Transfer Agreement 3001 (e) 2 Transferors: Acis Capital Management GP,
                          LLC (Claim No. 23, Amount $23,000,000.00) To ACMLP Claim, LLC. Filed by Creditor
                          Acis Capital Management GP, LLC. filed by Creditor Acis Capital Management GP, LLC,
                          2215 Assignment/Transfer of Claim. Fee Amount $26. Transfer Agreement 3001 (e) 2
                          Transferors: ACMLP Claim, LLC (Claim No. 23, Amount $23,000,000.00) To Muck
                          Holdings LLC. Filed by Creditor Muck Holdings LLC. filed by Creditor Muck Holdings
   06/15/2021             LLC). filed by Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                             2451 (2 pgs) Statement of issues on appeal, filed by Get Good Trust, The Dugaboy
                          Investment Trust (RE: related document(s)2389 Order on motion to compromise
   06/16/2021             controversy). (Draper, Douglas)

   06/16/2021                 2452 (5 pgs) Appellant designation of contents for inclusion in record on appeal filed by
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                          Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)2398 Notice of
                          appeal, 2451 Statement of issues on appeal). Appellee designation due by 06/30/2021.
                          (Draper, Douglas)

                            2453 (2 pgs) Order Further Extending Period Within Which The Debtor May Remove
                          Actions Pursuant to 28 USC 1452 and Rule 9027 of the Federal Rules of Bankruptcy
                          Procedure (related document:# 2304 Motion to extend time.) Entered on 6/16/2021. (Okafor,
   06/16/2021             M.)

                            2454 (234 pgs; 3 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2421 List (witness/exhibit/generic)).
   06/16/2021             (Attachments: # 1 Exhibit 23 # 2 Exhibit 24) (Annable, Zachery)

                            2455 (29 pgs) Support/supplemental document (Notice of Final Term Sheet) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)2229 Motion to
                          borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A)
                          Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and
   06/16/2021             Pay Related Fees and Expenses, and (II) Granting Rela). (Annable, Zachery)

                            2456 (2 pgs) Order granting unopposed emergency motion to continue hearing on (related
                          document # 2441) (related documents Motion to Reconsider(related documents 854 Order on
                          application to employ)) Hearing to be held on 6/25/2021 at 09:30 AM at https://us-
   06/16/2021             courts.webex.com/meet/jerniga for 2248, Entered on 6/16/2021. (Okafor, M.)

                              2457 (1 pg) Clerk's correspondence requesting exhibits from attorney for appellant. (RE:
                          related document(s)2452 Appellant designation of contents for inclusion in record on appeal
                          filed by Get Good Trust, The Dugaboy Investment Trust (RE: related document(s)2398
                          Notice of appeal, 2451 Statement of issues on appeal). Appellee designation due by
   06/17/2021             06/30/2021.) Responses due by 6/21/2021. (Blanco, J.)

                             2458 (3 pgs) Order requiring a trustee of The Dugaboy Investment Trust and the The Get
                          Good Trust to appear at all hearings in the bankruptcy case and adversary cases in which they
   06/17/2021             take positions. Entered on 6/17/2021 (Okafor, M.)

                            2459 (9 pgs; 2 docs) Motion for leave to Amend the Designation of Record Pursuant to
                          Fed. R. Bankr. P. 8009 (related document(s) 2452 Appellant designation) Filed by Get Good
   06/17/2021             Trust, The Dugaboy Investment Trust (Attachments: # 1 Exhibit A) (Draper, Douglas)

                             2460 (13 pgs) Order Requiring Disclosures (RE: related document(s)3 Chapter 11
                          Voluntary Petition . Fee Amount $1717. filed by Debtor Highland Capital Management,
                          L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-Related Entities
                          named in this Order shall file a Notice in this case disclosing thereon: (a) who owns the
                          entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts have either a
                          direct or indirect ownership interest in the entity and, if so, what percentage of ultimate
                          ownership; (c) who are the officers, directors, managers and/or trustees of the Non-Debtor
                          Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor (explaining in
   06/18/2021             reasonable detail the amount and substance of its claims). Entered on 6/18/2021 (Okafor, M.)

   06/18/2021               2461 (43 pgs) Application for compensation (Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from December 1, 2020 through December 31, 2020) for Hayward

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                          PLLC, Debtor's Attorney, Period: 12/1/2020 to 12/31/2020, Fee: $43,270.00, Expenses:
                          $1,693.45. Filed by Other Professional Hayward PLLC (Annable, Zachery)

                            2464 (8 pgs) Certificate of No Objection Regarding Debtor's Third Omnibus Objection to
                          Certain No-Liability Claims filed by Debtor Highland Capital Management, L.P. (RE: related
   06/18/2021             document(s)2059 Objection to claim). (Annable, Zachery)

                             2465 (22 pgs) Certificate of service re: 1) Order Further Extending Period Within Which
                          the Debtor May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure; 2) Debtor's Second Amended Witness and Exhibit List with
                          Respect to Evidentiary Hearing to be Held on June 8, 2021; and 3) Notice of Final Term
                          Sheet Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2453
                          Order Further Extending Period Within Which The Debtor May Remove Actions Pursuant to
                          28 USC 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (related
                          document:2304 Motion to extend time.) Entered on 6/16/2021. (Okafor, M.), 2454 Amended
                          Witness and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2421 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 23 # 2 Exhibit
                          24) filed by Debtor Highland Capital Management, L.P., 2455 Support/supplemental
                          document (Notice of Final Term Sheet) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an
                          Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
   06/21/2021             Granting Rela). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            2467 (9 pgs) Supplemental Objection to (related document(s): 2229 Motion to
                          borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A)
                          Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and
                          Pay Related Fees and Expenses, and (II) Granting Rela filed by Debtor Highland Capital
   06/21/2021             Management, L.P.) filed by Creditor The Dugaboy Investment Trust. (Draper, Douglas)

                             2468 (4 pgs) First Order sustaining Debtor's third omnibus objection to certain no liability
                          claims (RE: related document(s)2059 Objection to claim filed by Debtor Highland Capital
   06/21/2021             Management, L.P.). Entered on 6/21/2021 (Okafor, M.)

                             2469 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE:
                          related document(s)2280 Motion to file document under seal. Appendix in Support of
                          Response to Motion to Disqualify Filed by Creditor NexPoint Real Estate Partners LLC f/k/a
                          HCRE Partners LLC (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B -
   06/22/2021             Appendix)) Responses due by 6/29/2021. (Ecker, C.)

                             2470 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2383 Application for compensation (Nineteenth Monthly
                          Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl &
                          Jones LLP as Counsel to the Debtor for the Period from April 1, 2021 Through April 30,
   06/22/2021             2021) for Pachulsk). (Pomerantz, Jeffrey)

                             2471 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)2382 Application for compensation Eighteenth Monthly Application
                          for Compensation for FTI Consulting, Inc., Financial Advisor, Period: 4/1/2021 to 4/30/2021,
   06/22/2021             Fee: $85,577.40, Expenses: $0.). (Hoffman, Juliana)

   06/22/2021                 2472 (28 pgs; 4 docs) Witness and Exhibit List filed by Debtor Highland Capital
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.480 392/439



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                          Management, L.P. (RE: related document(s)2395 Motion to pay (Debtor's Motion for Entry
                          of an Order Authorizing Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's
                          Chief Executive Officer and Chief Restructuring Officer)). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3) (Annable, Zachery)

                            2473 (36 pgs; 5 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2229 Motion to borrow/incur debt (Debtor's
                          Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing
                          Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and
                          Expenses, and (II) Granting Rela). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
   06/22/2021             Exhibit 4) (Annable, Zachery)

                            2474 (2 pgs) Order granting motion for leave to amend the Designation of Record
                          Pursuant to Fed. R. Bankr. P. 8009 (related document # 2459) Entered on 6/23/2021. (Okafor,
   06/23/2021             M.)

                             2475 (228 pgs; 12 docs) Witness and Exhibit List with Certificate of Service filed by
                          Creditor The Dugaboy Investment Trust (RE: related document(s)2229 Motion to
                          borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A)
                          Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and
                          Pay Related Fees and Expenses, and (II) Granting Rela). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4A # 5 Exhibit 4B # 6 Exhibit 5 # 7 Exhibit 6 # 8 Exhibit 7
   06/23/2021             # 9 Exhibit 8 # 10 Exhibit 9 # 11 Exhibit 10) (Draper, Douglas)

                             2476 (26 pgs; 5 docs) Reply to (related document(s): 2403 Objection filed by Creditor
                          The Dugaboy Investment Trust, 2467 Objection filed by Creditor The Dugaboy Investment
                          Trust) filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D) (Annable, Zachery). Related document(s) 2229
                          Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I) Authorizing the
                          Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and
                          (B) Incur and Pay Related Fees and Expenses, and (II) Granting Rela filed by Debtor
   06/23/2021             Highland Capital Management, L.P.. Modified on 6/24/2021 (Ecker, C.).

                            2477 (56 pgs; 6 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2473 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 5 # 3 Exhibit 6 # 4 Exhibit 7 # 5 Exhibit 8) (Annable,
   06/23/2021             Zachery)

   06/23/2021                2478 (31 pgs) Certificate of service re: 1) Order Requiring Disclosures; 2) Twelfth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward PLLC
                          as Local Counsel to the Debtor for the Period from December 1, 2020 Through December
                          31, 2020; and 3) Certification of No Objection Regarding Debtor's Third Omnibus Objection
                          to Certain No Liability Claims [No Responses Filed] Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2460 Order Requiring Disclosures (RE: related
                          document(s)3 Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland
                          Capital Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor
                          Dondero-Related Entities named in this Order shall file a Notice in this case disclosing
                          thereon: (a) who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his
                          family trusts have either a direct or indirect ownership interest in the entity and, if so, what
                          percentage of ultimate ownership; (c) who are the officers, directors, managers and/or
                          trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of
                          the Debtor (explaining in reasonable detail the amount and substance of its claims). Entered
                          on 6/18/2021 (Okafor, M.), 2461 Application for compensation (Twelfth Monthly Application
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.481 393/439



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                          for Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to
                          the Debtor for the Period from December 1, 2020 through December 31, 2020) for Hayward
                          PLLC, Debtor's Attorney, Period: 12/1/2020 to 12/31/2020, Fee: $43,270.00, Expenses:
                          $1,693.45. Filed by Other Professional Hayward PLLC filed by Other Professional Hayward
                          PLLC, 2464 Certificate of No Objection Regarding Debtor's Third Omnibus Objection to
                          Certain No-Liability Claims filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2059 Objection to claim). filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                             2479 (21 pgs) Certificate of service re: First Order Sustaining Debtor's Third Omnibus
                          Objection to Certain No Liability Claims Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2468 First Order sustaining Debtor's third omnibus
                          objection to certain no liability claims (RE: related document(s)2059 Objection to claim filed
                          by Debtor Highland Capital Management, L.P.). Entered on 6/21/2021 (Okafor, M.)). (Kass,
   06/23/2021             Albert)

                             2480 (749 pgs) Application for compensation Fourth Interim Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession for the Period from December 1, 2020
                          through April 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 12/1/2020
                          to 4/30/2021, Fee: $7,527,021.50, Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan
   06/24/2021             Pomerantz Objections due by 7/15/2021. (Pomerantz, Jeffrey)

                             2481 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2480 Application for compensation Fourth Interim Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession for the Period from December 1, 2020
                          through April 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 12/1/2020
                          to 4/30/2021, Fee: $7,527,021.50, Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan
                          Pomerantz Objections due by 7/15/2021.). Hearing to be held on 7/19/2021 at 09:30 AM
   06/24/2021             Dallas Judge Jernigan Ctrm for 2480, (Pomerantz, Jeffrey)

                            2482 (4 pgs) Declaration re: (Supplemental Declaration of Timothy F. Silva in Support of
                          Debtor's Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and
                          Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing the Employment of Wilmer
                          Cutler Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)605 Application to
                          employ Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel (Debtor's
                          Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy
   06/24/2021             Rules 2014(a) and 2016 for an Order Authorizing the Employment). (Annable, Zachery)

   06/25/2021                2483 (12 pgs) Certificate of service re: 1) Debtor's Witness and Exhibit List with Respect
                          to Evidentiary Hearing to be Held on June 25, 2021 re: Debtors Motion for Entry of an
                          Order Authorizing Payment of a Restructuring Fee to James P. Seery, Jr., the Debtors Chief
                          Executive Officer and Chief Restructuring Officer; and 2) Debtor's Witness and Exhibit List
                          with Respect to Evidentiary Hearing to be Held on June 25, 2021 re: Debtor's Motion for
                          Entry of an Order (I) Authorizing the Debtor to (A) Enter Into Exit Financing Agreement in
                          Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and
                          (II) Granting Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2472 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2395 Motion to pay (Debtor's Motion for Entry
                          of an Order Authorizing Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's
                          Chief Executive Officer and Chief Restructuring Officer)). (Attachments: # 1 Exhibit 1 # 2
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.482 394/439



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                          Exhibit 2 # 3 Exhibit 3) filed by Debtor Highland Capital Management, L.P., 2473 Witness
                          and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I)
                          Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed
                          Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II) Granting Rela).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert)

                              2484 (11 pgs) Certificate of service re: 1) Debtor's Reply in Support of Debtor's Motion
                          for Entry of an Order (I) Authorizing the Debtor to (A) Enter Into Exit Financing Agreement
                          in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and
                          (II) Granting Related Relief; and 2) Debtor's Amended Witness and Exhibit List with Respect
                          to Evidentiary Hearing to be Held on June 25, 2021 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2476 Reply to (related document(s): 2403 Objection
                          filed by Creditor The Dugaboy Investment Trust, 2467 Objection filed by Creditor The
                          Dugaboy Investment Trust) filed by Debtor Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D) (Annable, Zachery).
                          Related document(s) 2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an
                          Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Rela filed by Debtor Highland Capital Management, L.P.. Modified on 6/24/2021
                          (Ecker, C.). filed by Debtor Highland Capital Management, L.P., 2477 Amended Witness and
                          Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2473 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 5 #
                          3 Exhibit 6 # 4 Exhibit 7 # 5 Exhibit 8) filed by Debtor Highland Capital Management, L.P.).
   06/25/2021             (Kass, Albert)

                            2485 (8 pgs) Amended U.S. Trustee's appointment of committee of Unsecured Creditors
   06/25/2021             (Lambert, Lisa)

                            2486 (6 pgs) Certificate of service re: U.S. Trustee's Amended Appointment of
                          Committee of Unsecured Creditors filed by U.S. Trustee United States Trustee (RE: related
   06/25/2021             document(s)2485 UST appointment of committee). (Lambert, Lisa)

                             2487 Hearing held on 6/25/2021. (RE: related document(s)2229 Motion to borrow/incur
                          debt (Debtor's Motion for Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit
                          Financing Agreement in Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related
                          Fees and Expenses, and (II) Granting Related Relief) filed by Debtor Highland Capital
                          Management, L.P.) (Appearances: J. Pomeranz and J. Morris for Debtor; D. Draper for
                          Dugaboy; J. Bridges and M. Sbati for CLO Holdco and DAF; M. Clemente for Unsecured
                          Creditors Committee. Evidentiary hearing. Motion approved. Counsel to upload order.)
   06/25/2021             (Edmond, Michael)

                             2488 INCORRECT ENTRY (corrected by DE 2490) Hearing held on 6/25/2021. (RE:
                          related document(s)2248 Motion to Reconsider(related documents 854 Order on application
                          to employ) Filed by Plaintiffs CLO Holdco, Ltd. , The Charitable DAF Fund, L.P.,
                          (Appearances: J. Pomeranz and J. Morris for Debtor; D. Draper for Dugaboy; J. Bridges and
                          M. Sbati for CLO Holdco and DAF; M. Clemente for Unsecured Creditors Committee.
                          Evidentiary hearing. Motion approved. Counsel to upload order.) (Edmond, Michael)
   06/25/2021             Modified on 6/29/2021 (Ellison, T.).

   06/25/2021              2489 Hearing held on 6/25/2021. (RE: related document(s)2395 Motion to pay (Debtor's
                          Motion for Entry of an Order Authorizing Payment of a Restructuring Fee to James P. Seery,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.483 395/439



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                          Jr., the Debtor's Chief Executive Officer and Chief Restructuring Officer) filed by Debtor
                          Highland Capital Management, L.P.) (Appearances: J. Pomeranz and J. Morris for Debtor; D.
                          Draper for Dugaboy; J. Bridges and M. Sbati for CLO Holdco and DAF; M. Clemente for
                          Unsecured Creditors Committee. Evidentiary hearing. Motion approved. Counsel to upload
                          order.) (Edmond, Michael)

                             2490 Hearing held on 6/25/2021. (RE: related document(s)2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) Filed by Plaintiffs CLO
                          Holdco, Ltd. , The Charitable DAF Fund, L.P., (Appearances: J. Pomeranz and J. Morris for
                          Debtor; D. Draper for Dugaboy; J. Bridges and M. Sbati for CLO Holdco and DAF; M.
                          Clemente for Unsecured Creditors Committee. Evidentiary hearing. Motion denied, Lengthy
                          bench ruling. Debtors counsel to upload order. Court to issue post-hearing order regarding
   06/25/2021             jury trial rights discussed.) (Edmond, Michael)

                             2491 (26 pgs; 3 docs) Motion for leave (Debtor's Motion for Entry of an Order (i)
                          Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry into an Indemnity Trust
                          Agreement and (ii) Granting Related Relief) Filed by Debtor Highland Capital Management,
   06/25/2021             L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B) (Annable, Zachery)

                              2492 (2 pgs) Court admitted exhibits date of hearing June 25, 2021 (RE: related
                          document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an Order (I)
                          Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed
                          Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II) Granting Related
                          Relief) filed by Debtor Highland Capital Management, L.P., 2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) Filed by Plaintiffs CLO
                          Holdco, Ltd. , The Charitable DAF Fund, L.P. (Ecker, C.), 2395 Motion to pay (Debtor's
                          Motion for Entry of an Order Authorizing Payment of a Restructuring Fee to James P. Seery,
                          Jr., the Debtor's Chief Executive Officer and Chief Restructuring Officer) filed by Debtor
                          Highland Capital Management, L.P.) (NOTE* COURT ADMITTED EXHIBIT'S DEBTOR'S
                          #1, #2, #3 THAT APPEARS AT DOC. #2472 BY JEFF POMERANTZ AND DUGABOY'S
                          EXHIBIT'S #1, #2, #3, #4, #5, #6, #7 & #8 THAT APPEARS AT #2473 & 2477; NOTE* #2,
                          #3 & #4 APPEARS AT DOC. #2473 & #1, #5, #6, #7 & #8 APPREARS AD DOC. 2477 BY
                          DOUGLAS DRAPER, FOR MOTION AT DOC. #2229); (DEBTOR'S EXHIBIT'S #1
                          THORUGH #17 THAT APPEARS AT DOC. #2412, #2419 & #2423 BY JOHN MORRIS
                          AND CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD., EXHIBIT'S #1
                          THROUGH #44 BY JONATHNA BRIDGES; NOTE* EXHIBIT'S #2, #3, #17 & #19
                          WERE NOT ADMITED BY JONATHAN BRIDGES) FOR MOTION AT DOC. #2395)
   06/25/2021             (Edmond, Michael) (Entered: 06/28/2021)

                             2493 (1 pg) Request for transcript regarding (MOTION FOR MODIFICATION OF
                          ORDER AUTHORIZING RETENTION OF JAMES SEERY,JR.) a hearing held on
                          6/25/2021. The requested turn-around time is daily. (Edmond, Michael) Modified TEXT on
   06/28/2021             6/29/2021 (Jeng, Hawaii).

                              Receipt Number 338916, Fee Amount $207.00 for Direct Appeal to the Fifth Circuit
                          Court of Appeals (Reference 21-90011 and 21-10449) (RE: related document(s)1970 Notice
                          of appeal . Fee Amount $298 filed by Interested Party James Dondero. Appellant
   06/28/2021             Designation due by 03/18/2021. (Attachments: # 1 Exhibit)) (Floyd, K)

   06/28/2021                2494 (2 pgs) Order Requiring Post-Hearing Submissions. Details Per Order. (RE: related
                          document(s)2248 Motion to Reconsider filed by Creditor The Charitable DAF Fund, L.P.,
                          Interested Party The Charitable DAF Fund, L.P., Creditor CLO Holdco, Ltd., Interested Party
                          CLO Holdco, Ltd.). Entered on 6/28/2021 (Okafor, M.)
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                             2495 (26 pgs) Notice (Notice of Filing of Second Amended and Restated Investment
                          Advisory Agreement) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2494 Order Requiring Post-Hearing Submissions. Details Per Order. (RE: related
                          document(s)2248 Motion to Reconsider filed by Creditor The Charitable DAF Fund, L.P.,
                          Interested Party The Charitable DAF Fund, L.P., Creditor CLO Holdco, Ltd., Interested Party
   06/28/2021             CLO Holdco, Ltd.). Entered on 6/28/2021 (Okafor, M.)). (Annable, Zachery)

                             2496 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2491 Motion for leave (Debtor's Motion for Entry of an Order (i)
                          Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry into an Indemnity Trust
                          Agreement and (ii) Granting Related Relief) Filed by Debtor Highland Capital Management,
                          L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B)). Hearing to be held on 7/19/2021 at 09:30
   06/28/2021             AM at https://us-courts.webex.com/meet/jerniga for 2491, (Annable, Zachery)

                             2497 (1 pg) Request for transcript regarding a(ENTIRE) hearing held on 6/25/2021. The
   06/29/2021             requested turn-around time is hourly (Jeng, Hawaii)

                             2498 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)2396 Application for compensation Sidley
                          Austin LLP's Eighteenth Monthly Application for Compensation for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 4/1/2021 to 4/30/2021, Fee: $417,427.20,
   06/29/2021             Expenses: $2). (Hoffman, Juliana)

   06/29/2021                2499 (12 pgs) Certificate of service re: 1) Fourth Interim Application for Compensation
                          and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period from December 1, 2020 Through April 30,
                          2021; 2) Notice of Hearing on Fourth Interim Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the
                          Debtor and Debtor in Possession, for the Period from December 1, 2020 Through April 30,
                          2021; and 3) Supplemental Declaration of Timothy F. Silva in Support of Debtor's
                          Application Pursuant to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy
                          Rules 2014(a) and 2016 for an Order Authorizing the Employment of Wilmer Cutler
                          Pickering Hale and Dorr LLP as Regulatory and Compliance Counsel Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2480 Application for
                          compensation Fourth Interim Application for Compensation and for Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession for the Period from December 1, 2020 through April 30, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 4/30/2021, Fee: $7,527,021.50,
                          Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          7/15/2021. filed by Debtor Highland Capital Management, L.P., 2481 Notice of hearing filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)2480 Application for
                          compensation Fourth Interim Application for Compensation and for Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession for the Period from December 1, 2020 through April 30, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 4/30/2021, Fee: $7,527,021.50,
                          Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          7/15/2021.). Hearing to be held on 7/19/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for
                          2480, filed by Debtor Highland Capital Management, L.P., 2482 Declaration re:
                          (Supplemental Declaration of Timothy F. Silva in Support of Debtor's Application Pursuant
                          to Sections 327(e) and 328(a) of the Bankruptcy Code and Bankruptcy Rules 2014(a) and
                          2016 for an Order Authorizing the Employment of Wilmer Cutler Pickering Hale and Dorr
                          LLP as Regulatory and Compliance Counsel) filed by Debtor Highland Capital Management,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.485 397/439



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                          L.P. (RE: related document(s)605 Application to employ Wilmer Cutler Pickering Hale and
                          Dorr LLP as Special Counsel (Debtor's Application Pursuant to Sections 327(e) and 328(a)
                          of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order Authorizing
                          the Employment). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2500 (122 pgs) Transcript regarding Hearing Held 06/25/2021 (122 pages) (Excerpt 2:
                          Proceedings from 11:33 am to 3:35 pm) RE: Motion to Reconsider/Motion for
                          Modification(#2248). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 09/28/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com. (RE: related
                          document(s) 2490 Hearing held on 6/25/2021. (RE: related document(s)2248 Motion to
                          Reconsider(related documents 854 Order on application to employ) Filed by Plaintiffs CLO
                          Holdco, Ltd., The Charitable DAF Fund, L.P., (Appearances: J. Pomeranz and J. Morris for
                          Debtor; D. Draper for Dugaboy; J. Bridges and M. Sbati for CLO Holdco and DAF; M.
                          Clemente for Unsecured Creditors Committee. Evidentiary hearing. Motion denied, Lengthy
                          bench ruling. Debtors counsel to upload order. Court to issue post-hearing order regarding
                          jury trial rights discussed.)). Transcript to be made available to the public on 09/28/2021.
   06/30/2021             (Rehling, Kathy)

                             2501 (79 pgs) Transcript regarding Hearing Held 06/25/2021 (79 pages) (Excerpt 1:
                          Proceedings from 9:36 am to 11:25 am) RE: Motion to Borrow (2229) and Motion to Pay
                          Restructuring Fee (2395). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                          TRANSCRIPT RELEASE DATE IS 09/28/2021. Until that time the transcript may be
                          viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
                          Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 2487 Hearing held on 6/25/2021. (RE:
                          related document(s)2229 Motion to borrow/incur debt (Debtor's Motion for Entry of an
                          Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in Aid of
                          Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and (II)
                          Granting Related Relief) filed by Debtor Highland Capital Management, L.P.) (Appearances:
                          J. Pomeranz and J. Morris for Debtor; D. Draper for Dugaboy; J. Bridges and M. Sbati for
                          CLO Holdco and DAF; M. Clemente for Unsecured Creditors Committee. Evidentiary
                          hearing. Motion approved. Counsel to upload order.), 2489 Hearing held on 6/25/2021. (RE:
                          related document(s)2395 Motion to pay (Debtor's Motion for Entry of an Order Authorizing
                          Payment of a Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer
                          and Chief Restructuring Officer) filed by Debtor Highland Capital Management, L.P.)
                          (Appearances: J. Pomeranz and J. Morris for Debtor; D. Draper for Dugaboy; J. Bridges and
                          M. Sbati for CLO Holdco and DAF; M. Clemente for Unsecured Creditors Committee.
                          Evidentiary hearing. Motion approved. Counsel to upload order.)). Transcript to be made
   06/30/2021             available to the public on 09/28/2021. (Rehling, Kathy)

                             2502 (151 pgs) Application for compensation Twentieth Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from May 1, 2021 through
                          May 31, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 5/1/2021 to
                          5/31/2021, Fee: $1,603,754.00, Expenses: $28,644.51. Filed by Attorney Jeffrey Nathan
   06/30/2021             Pomerantz Objections due by 7/21/2021. (Pomerantz, Jeffrey)

   06/30/2021               2503 (3 pgs) Order Granting Debtor's Motion for Entry of an Order (I) Authorizing the
                          Debtor to (A) Enter into Exit Financing Agreement in Aid of Confirmed Chapter 11 Plan and

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                          (B) Incur and Pay Related Fees and Expenses, and (II) Granting Related Relief (related
                          document # 2229) Entered on 6/30/2021. (Okafor, M.)

                             2504 (2 pgs) Order Granting Debtor's Motion for Entry of an Order Authorizing Payment
                          of a Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer and Chief
   06/30/2021             Restructuring Officer (related document # 2395) Entered on 6/30/2021. (Okafor, M.)

                             2505 (3 pgs) Order granting motion to seal appendix (related document # 2280) Entered
   06/30/2021             on 6/30/2021. (Okafor, M.)

                            2506 (2 pgs) Order denying motion for modification of order authorizing retention of
   06/30/2021             James P. Seery, Jr. (related document # 2248) Entered on 6/30/2021. (Okafor, M.)

                              2507 (31 pgs) Notice (Third Notice of Additional Services Provided by Deloitte Tax LLP)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)551 Agreed
                          Order granting application to employ Deloitte Tax LLP as tax services provider nunc pro
                          tunc to the petition date (related document 483) Entered on 3/27/2020. (Okafor, M.)).
   06/30/2021             (Annable, Zachery)

                            2508 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to March 31, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
   06/30/2021             Zachery)

                             2509 (7 pgs) Certificate of service re: Debtor's Motion for Entry of an Order (I)
                          Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry into an Indemnity Trust
                          Agreement and (II) Granting Related Relief) Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2491 Motion for leave (Debtor's Motion for Entry of
                          an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry into an
                          Indemnity Trust Agreement and (ii) Granting Related Relief) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B) filed by Debtor
   06/30/2021             Highland Capital Management, L.P.). (Kass, Albert)

                             2510 (5 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2480 Application for compensation Fourth Interim Application
                          for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP
                          as Counsel for the Debtor and Debtor in Possession for the Period from December 1, 2020
                          through April 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 12/1/2020
                          to 4/30/2021, Fee: $7,527,021.50, Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan
                          Pomerantz Objections due by 7/15/2021.). Hearing to be held on 7/19/2021 at 09:30 AM at
   07/01/2021             https://us-courts.webex.com/meet/jerniga for 2480, (Annable, Zachery)

   07/01/2021               2511 (11 pgs) Certificate of service re: 1) Order Requiring Post-Hearing Submissions; 2)
                          Notice of Filing of Second Amended and Restated Investment Advisory Agreement; and 3)
                          Notice of Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2494 Order Requiring Post-Hearing Submissions. Details Per Order. (RE: related
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.487 399/439



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                          document(s)2248 Motion to Reconsider filed by Creditor The Charitable DAF Fund, L.P.,
                          Interested Party The Charitable DAF Fund, L.P., Creditor CLO Holdco, Ltd., Interested Party
                          CLO Holdco, Ltd.). Entered on 6/28/2021 (Okafor, M.), 2495 Notice (Notice of Filing of
                          Second Amended and Restated Investment Advisory Agreement) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2494 Order Requiring Post-Hearing
                          Submissions. Details Per Order. (RE: related document(s)2248 Motion to Reconsider filed by
                          Creditor The Charitable DAF Fund, L.P., Interested Party The Charitable DAF Fund, L.P.,
                          Creditor CLO Holdco, Ltd., Interested Party CLO Holdco, Ltd.). Entered on 6/28/2021
                          (Okafor, M.)). filed by Debtor Highland Capital Management, L.P., 2496 Notice of hearing
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2491 Motion
                          for leave (Debtor's Motion for Entry of an Order (i) Authorizing the (A) Creation of an
                          Indemnity Subtrust and (B) Entry into an Indemnity Trust Agreement and (ii) Granting
                          Related Relief) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1
                          Exhibit A # 2 Exhibit B)). Hearing to be held on 7/19/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2491, filed by Debtor Highland Capital Management,
                          L.P.). (Kass, Albert)

                             2512 (4 pgs) Certificate of No Objection filed by Creditor Committee Official Committee
                          of Unsecured Creditors (RE: related document(s)2328 Application for compensation Sidley
                          Austin LLP's Seventeenth Monthly Application for Compensation for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 3/1/2021 to 3/31/2021, Fee: $371,842.20,
   07/01/2021             Expenses: $). (Hoffman, Juliana)

                             2513 (3 pgs) Notice of appeal . Fee Amount $298 filed by Plaintiffs CLO Holdco, Ltd.,
                          The Charitable DAF Fund, L.P. (RE: related document(s)2506 Order on motion to
   07/02/2021             reconsider). Appellant Designation due by 07/16/2021. (Sbaiti, Mazin)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   07/02/2021             Receipt number 28822100, amount $ 298.00 (re: Doc# 2513). (U.S. Treasury)

                             2514 (19 pgs) Application for compensation Nineteenth Monthly Application for
                          Compensation for FTI Consulting, Inc., Financial Advisor, Period: to, Fee: $88,932.60,
                          Expenses: $0. Filed by Attorney Juliana Hoffman Objections due by 7/23/2021. (Hoffman,
   07/02/2021             Juliana)

                             2515 (8 pgs) Notice (Notice of Filing of Seventh Amended Exhibit B to Motion for an
                          Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals
                          Utilized by the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)75 Motion to Authorize /Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by
                          the Debtors in the Ordinary Course of Business Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th
                          Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
   07/02/2021             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable, Zachery)

                            2516 (5 pgs) Declaration re: (Declaration of Ordinary Course Professional) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document).
   07/02/2021             (Annable, Zachery)


https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.488 400/439



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   07/02/2021                2517 (8 pgs; 2 docs) Motion for leave (Debtor's Unopposed Motion to Supplement the
                          Record in the Contempt Hearing Held on June 8, 2021) (related document(s) 2247 Motion
                          for order to show cause) Filed by Debtor Highland Capital Management, L.P. (Attachments:
                          # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                              2518 (15 pgs; 2 docs) Declaration re: (Declaration of John A. Morris in Support of the
                          Debtor's Motion to Supplement the Record in the Contempt Hearing Held on June 8, 2021)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2517 Motion
                          for leave (Debtor's Unopposed Motion to Supplement the Record in the Contempt Hearing
                          Held on June 8, 2021) (related document(s) 2247 Motion for order to show cause)).
   07/02/2021             (Attachments: # 1 Exhibit 56) (Annable, Zachery)

                            2520 (1 pg) Withdrawal of claim(s) Claim has been satisfied. Claim: 194 Filed by
   07/06/2021             Creditor Crescent TC Investors, L.P.. (Held, Michael)

                             2522 (23 pgs) Notice of transmittal of appellee supplemental record vol. 1 3:21-CV-
                          00261-L (RE: related document(s)2187 Transmittal of record on appeal to U.S. District Court
                          . Complete record on appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant
                          volumes: 8 Number of appellee volumes: 4. Civil Case Number: 3:21-CV-00261-L (Lindsay)
                          (RE: related document(s)1870 Notice of appeal Related document(s) 1788 Order on motion
   07/06/2021             to compromise controversy. (Blanco, J.)). (Blanco, J.)

                            2523 (23 pgs) Notice of transmittal SEALED DOCUMENTS 3;21-cv00261 (RE: related
                          document(s)2187 Transmittal of record on appeal to U.S. District Court . Complete record on
                          appeal . ,Transmitted: Volume 1, Mini Record. Number of appellant volumes: 8 Number of
                          appellee volumes: 4. Civil Case Number: 3:21-CV-00261-L (Lindsay) (RE: related
                          document(s)1870 Notice of appeal Related document(s) 1788 Order on motion to
   07/06/2021             compromise controversy. (Blanco, J.)). (Blanco, J.)

   07/06/2021                2524 (20 pgs) Certificate of service re: Documents Served on June 30, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2502 Application for
                          compensation Twentieth Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from May 1, 2021 through May 31, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 5/1/2021 to 5/31/2021, Fee: $1,603,754.00, Expenses:
                          $28,644.51. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by 7/21/2021. filed
                          by Debtor Highland Capital Management, L.P., 2503 Order Granting Debtor's Motion for
                          Entry of an Order (I) Authorizing the Debtor to (A) Enter into Exit Financing Agreement in
                          Aid of Confirmed Chapter 11 Plan and (B) Incur and Pay Related Fees and Expenses, and
                          (II) Granting Related Relief (related document 2229) Entered on 6/30/2021. (Okafor, M.),
                          2504 Order Granting Debtor's Motion for Entry of an Order Authorizing Payment of a
                          Restructuring Fee to James P. Seery, Jr., the Debtor's Chief Executive Officer and Chief
                          Restructuring Officer (related document 2395) Entered on 6/30/2021. (Okafor, M.), 2506
                          Order denying motion for modification of order authorizing retention of James P. Seery, Jr.
                          (related document 2248) Entered on 6/30/2021. (Okafor, M.), 2507 Notice (Third Notice of
                          Additional Services Provided by Deloitte Tax LLP) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)551 Agreed Order granting application to employ
                          Deloitte Tax LLP as tax services provider nunc pro tunc to the petition date (related
                          document 483) Entered on 3/27/2020. (Okafor, M.)). filed by Debtor Highland Capital
                          Management, L.P., 2508 Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to March 31, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.489 401/439



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                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by
                          Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2525 (11 pgs) Certificate of service re: Amended Notice of Hearing Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2510 Amended Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2480
                          Application for compensation Fourth Interim Application for Compensation and for
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor
                          and Debtor in Possession for the Period from December 1, 2020 through April 30, 2021 for
                          Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 4/30/2021, Fee:
                          $7,527,021.50, Expenses: $80,299.92. Filed by Attorney Jeffrey Nathan Pomerantz
                          Objections due by 7/15/2021.). Hearing to be held on 7/19/2021 at 09:30 AM at https://us-
                          courts.webex.com/meet/jerniga for 2480, filed by Debtor Highland Capital Management,
   07/06/2021             L.P.). (Kass, Albert)

                            2526 (12 pgs) Application for compensation Sidley Austin LLP's Nineteenth Monthly
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 5/1/2021 to 5/31/2021, Fee: $432,748.80, Expenses: $4,983.88. Filed by
   07/06/2021             Attorney Juliana Hoffman Objections due by 7/27/2021. (Hoffman, Juliana)

                            2527 (2 pgs) Order granting Debtor's motion to supplement the record in the Contempt
   07/07/2021             Hearing held on June 8, 2021 (related document # 2517) Entered on 7/7/2021. (Okafor, M.)

                            2530 (7 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)2513 Notice of appeal .filed by Plaintiffs CLO Holdco, Ltd., The Charitable
                          DAF Fund, L.P. (RE: related document(s)2506 Order on motion to reconsider). Appellant
   07/08/2021             Designation due by 07/16/2021.) (Attachments: # 1 Service List) (Whitaker, Sheniqua)

                             2531 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)2513 Notice of appeal . filed by Plaintiffs CLO Holdco, Ltd.,
                          The Charitable DAF Fund, L.P. (RE: related document(s)2506 Order on motion to
   07/08/2021             reconsider). (Whitaker, Sheniqua)

                             2532 (47 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          01585-S. (RE: related document(s)2513 Notice of appeal . filed by Plaintiffs CLO Holdco,
                          Ltd., The Charitable DAF Fund, L.P. (RE: related document(s)2506 Order on motion to
   07/08/2021             reconsider). (Whitaker, Sheniqua)

                             2533 (53 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development
                          Specialists, Inc. for the Period from April 1, 2021 through April 30, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)853 Order granting application
                          to employ Development Specialists, Inc. as Other Professional (related document 775)
   07/08/2021             Entered on 7/16/2020. (Ecker, C.)). (Annable, Zachery)

                             2534 (85 pgs; 5 docs) Brief in support filed by Plaintiffs CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (RE: related document(s)2494 Order (generic)). (Attachments: #
                          1 Exhibit 1_June 8, 2021 Hearing Transcript Excerpts # 2 Exhibit 2_June 25, 2021 Hearing
                          Transcript Excerpts # 3 Exhibit 3_Subscription and Transfer Agreement # 4 Exhibit
   07/08/2021             4_Members Agreement) (Sbaiti, Mazin)
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   07/08/2021               2535 (26 pgs; 3 docs) Motion to sell Property NOTE: THE PROPERTY TO BE SOLD
                          PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND
                          CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of
                          Certain Property and (ii) Granting Related Relief) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B) (Annable, Zachery)

                             2536 (20 pgs) Certificate of service re: Documents Served on July 2, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2514 Application for
                          compensation Nineteenth Monthly Application for Compensation for FTI Consulting, Inc.,
                          Financial Advisor, Period: to, Fee: $88,932.60, Expenses: $0. Filed by Attorney Juliana
                          Hoffman Objections due by 7/23/2021. filed by Financial Advisor FTI Consulting, Inc., 2515
                          Notice (Notice of Filing of Seventh Amended Exhibit B to Motion for an Order Authorizing
                          the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by the Debtor
                          in the Ordinary Course of Business) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)75 Motion to Authorize /Motion for an Order Authorizing the
                          Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by the Debtors in
                          the Ordinary Course of Business Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit C - Form of
                          Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). filed by Debtor Highland
                          Capital Management, L.P., 2516 Declaration re: (Declaration of Ordinary Course
                          Professional) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 Document). filed by Debtor Highland Capital Management, L.P., 2517
                          Motion for leave (Debtor's Unopposed Motion to Supplement the Record in the Contempt
                          Hearing Held on June 8, 2021) (related document(s) 2247 Motion for order to show cause)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed
                          Order) filed by Debtor Highland Capital Management, L.P., 2518 Declaration re:
                          (Declaration of John A. Morris in Support of the Debtor's Motion to Supplement the Record
                          in the Contempt Hearing Held on June 8, 2021) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2517 Motion for leave (Debtor's Unopposed
                          Motion to Supplement the Record in the Contempt Hearing Held on June 8, 2021) (related
                          document(s) 2247 Motion for order to show cause)). (Attachments: # 1 Exhibit 56) filed by
   07/08/2021             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            2537 (91 pgs; 4 docs) Motion to sell property free and clear of liens under Section 363(f)
                          (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of
                          Certain Limited Partnership Interests and Other Rights and (ii) Granting Related Relief) Fee
                          amount $188, Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit
   07/08/2021             A # 2 Exhibit D # 3 Exhibit E) (Annable, Zachery)

                            Receipt of filing fee for Motion to Sell(19-34054-sgj11) [motion,msell] ( 188.00). Receipt
   07/08/2021             number 28834907, amount $ 188.00 (re: Doc# 2537). (U.S. Treasury)

                             2538 (9 pgs; 2 docs) Motion to file document under seal. (Debtor's Motion for Entry of an
                          Order Authorizing the Filing under Seal of Exhibits to the Motion of the Debtor for Entry of
                          an Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests
                          and Other Rights and (ii) Granting Related Relief) Filed by Debtor Highland Capital
   07/08/2021             Management, L.P. (Attachments: # 1 Exhibit A) (Annable, Zachery)


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   07/09/2021                 2539 (16 pgs) Notice and Disclosures of Funds Pursuant to Court's Sua Sponte Order
                          filed by Interested Parties Highland Fixed Income Fund, Highland Funds I and its series,
                          Highland Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                          Opportunities Fund, Highland Income Fund, Highland Merger Arbitrage Fund, Highland
                          Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially Responsible
                          Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint
                          Capital, Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund
                          (RE: related document(s)2460 Order Requiring Disclosures (RE: related document(s)3
                          Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital
                          Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-
                          Related Entities named in this Order shall file a Notice in this case disclosing thereon: (a)
                          who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts
                          have either a direct or indirect ownership interest in the entity and, if so, what percentage of
                          ultimate ownership; (c) who are the officers, directors, managers and/or trustees of the Non-
                          Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor
                          (explaining in reasonable detail the amount and substance of its claims). Entered on
                          6/18/2021 (Okafor, M.)). (Hogewood, A.)

                              2540 (29 pgs) Support/supplemental document (Notice of Filing of Exhibit C to the
                          Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property and
                          (ii) Granting Related Relief) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2535 Motion to sell Property NOTE: THE PROPERTY TO BE SOLD
                          PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND
                          CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of
   07/09/2021             Certain Property). (Annable, Zachery)

                             2541 (8 pgs) Notice of Disclosures filed by Creditor The Dugaboy Investment Trust (RE:
                          related document(s)2460 Order Requiring Disclosures (RE: related document(s)3 Chapter 11
                          Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital Management, L.P.).
                          Within 21 days of the entry of this Order, the Non-Debtor Dondero-Related Entities named in
                          this Order shall file a Notice in this case disclosing thereon: (a) who owns the entity
                          (showing percentages);10 (b) whether Mr. Dondero or his family trusts have either a direct or
                          indirect ownership interest in the entity and, if so, what percentage of ultimate ownership; (c)
                          who are the officers, directors, managers and/or trustees of the Non-Debtor Dondero-Related
                          Entity; and (d) whether the entity is a creditor of the Debtor (explaining in reasonable detail
                          the amount and substance of its claims). Entered on 6/18/2021 (Okafor, M.)). (Draper,
   07/09/2021             Douglas)

                             2542 (7 pgs) Notice of Disclosures filed by Creditor Get Good Trust (RE: related
                          document(s)2460 Order Requiring Disclosures (RE: related document(s)3 Chapter 11
                          Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital Management, L.P.).
                          Within 21 days of the entry of this Order, the Non-Debtor Dondero-Related Entities named in
                          this Order shall file a Notice in this case disclosing thereon: (a) who owns the entity
                          (showing percentages);10 (b) whether Mr. Dondero or his family trusts have either a direct or
                          indirect ownership interest in the entity and, if so, what percentage of ultimate ownership; (c)
                          who are the officers, directors, managers and/or trustees of the Non-Debtor Dondero-Related
                          Entity; and (d) whether the entity is a creditor of the Debtor (explaining in reasonable detail
                          the amount and substance of its claims). Entered on 6/18/2021 (Okafor, M.)). (Draper,
   07/09/2021             Douglas)

   07/09/2021                2543 (8 pgs) Notice (Advisors' Disclosures in Respone to Sua Sponte Order) filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P. (RE: related document(s)2460 Order Requiring Disclosures (RE: related document(s)3
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.492 404/439



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                          Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital
                          Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-
                          Related Entities named in this Order shall file a Notice in this case disclosing thereon: (a)
                          who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts
                          have either a direct or indirect ownership interest in the entity and, if so, what percentage of
                          ultimate ownership; (c) who are the officers, directors, managers and/or trustees of the Non-
                          Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor
                          (explaining in reasonable detail the amount and substance of its claims). Entered on
                          6/18/2021 (Okafor, M.)). (Rukavina, Davor)

                              2544 (8 pgs; 2 docs) Notice and Disclosures of NexPoint RE Entities and HMCS Inc. in
                          Response to Sua Sponte Order filed by Creditor Highland Capital Management Services,
                          Inc., Interested Parties NexPoint Hospitality Trust, NexPoint Multifamily Capital Trust, Inc.,
                          NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III, L.P., NexPoint
                          Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P., NexPoint Real Estate
                          Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real Estate Advisors
                          VIII, L.P., NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Finance Inc., NexPoint
                          Real Estate Partners, LLC, NexPoint Residential Trust, Inc., Nexpoint Real Estate Capital,
                          LLC, VineBrook Homes, Trust, Inc. (RE: related document(s)2460 Order Requiring
                          Disclosures (RE: related document(s)3 Chapter 11 Voluntary Petition. Fee Amount $1717.
                          filed by Debtor Highland Capital Management, L.P.). Within 21 days of the entry of this
                          Order, the Non-Debtor Dondero-Related Entities named in this Order shall file a Notice in
                          this case disclosing thereon: (a) who owns the entity (showing percentages);10 (b) whether
                          Mr. Dondero or his family trusts have either a direct or indirect ownership interest in the
                          entity and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,
                          managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the
                          entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of
                          its claims). Entered on 6/18/2021 (Okafor, M.)). (Attachments: # 1 Exhibit A) (Drawhorn,
   07/09/2021             Lauren)

                             2545 (9 pgs) Amended Notice of Disclosures filed by Creditor The Dugaboy Investment
                          Trust (RE: related document(s)2460 Order Requiring Disclosures (RE: related document(s)3
                          Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital
                          Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-
                          Related Entities named in this Order shall file a Notice in this case disclosing thereon: (a)
                          who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts
                          have either a direct or indirect ownership interest in the entity and, if so, what percentage of
                          ultimate ownership; (c) who are the officers, directors, managers and/or trustees of the Non-
                          Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor
                          (explaining in reasonable detail the amount and substance of its claims). Entered on
   07/09/2021             6/18/2021 (Okafor, M.)). (Draper, Douglas)

                             2546 (7 pgs) Amended Notice of Disclosures filed by Creditor Get Good Trust (RE:
                          related document(s)2460 Order Requiring Disclosures (RE: related document(s)3 Chapter 11
                          Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital Management, L.P.).
                          Within 21 days of the entry of this Order, the Non-Debtor Dondero-Related Entities named in
                          this Order shall file a Notice in this case disclosing thereon: (a) who owns the entity
                          (showing percentages);10 (b) whether Mr. Dondero or his family trusts have either a direct or
                          indirect ownership interest in the entity and, if so, what percentage of ultimate ownership; (c)
                          who are the officers, directors, managers and/or trustees of the Non-Debtor Dondero-Related
                          Entity; and (d) whether the entity is a creditor of the Debtor (explaining in reasonable detail
                          the amount and substance of its claims). Entered on 6/18/2021 (Okafor, M.)). (Draper,
   07/09/2021             Douglas)

https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.493 405/439



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8/23/2021                                                   U.S. Bankruptcy Court - Northern District of Texas

   07/09/2021                 2547 (306 pgs; 44 docs) Notice of Response and Disclosures related to sua sponte Order
                          Requiring Disclosures filed by Interested Parties Highland Dallas Foundation, Inc.,
                          Charitable DAF Fund, LP, CLO Holdco, Ltd. (RE: related document(s)2460 Order Requiring
                          Disclosures (RE: related document(s)3 Chapter 11 Voluntary Petition. Fee Amount $1717.
                          filed by Debtor Highland Capital Management, L.P.). Within 21 days of the entry of this
                          Order, the Non-Debtor Dondero-Related Entities named in this Order shall file a Notice in
                          this case disclosing thereon: (a) who owns the entity (showing percentages);10 (b) whether
                          Mr. Dondero or his family trusts have either a direct or indirect ownership interest in the
                          entity and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,
                          managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the
                          entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of
                          its claims). Entered on 6/18/2021 (Okafor, M.)). (Attachments: # 1 Exhibit 1.Patrick
                          Declaration # 2 2.Transcript, June 8, 2021 Hearing, Excerpts # 3 Exhibit 3.Structure Chart #
                          4 Exhibit 4.Kenneth K. Bebozo Memorandum # 5 Exhibit 5.Certificate of Incorporation -
                          CLO HoldCo, Ltd. # 6 Exhibit 6.Memorandum of Association of CLO HoldCo, Ltd. # 7
                          Exhibit 7.Ordinary Share Registery- CLO HoldCo # 8 Exhibit 8.Certificate of Registration of
                          Exempted Limited Partnership - DAF Fund # 9 Exhibit 9.DAF Fund LP Agreement # 10
                          Exhibit 10.DAF Fund General Partner Register # 11 Exhibit 11.Amended and Restated
                          Memorandum of Association of DAF Holdco # 12 Exhibit 12.Register of Management
                          Shares DAF Holdco # 13 Exhibit 13.Register of Participating Shares DAF Holdco # 14
                          Exhibit 14.Certificate of Formation of DAF GP # 15 Exhibit 15.Assignment and Assumption
                          of Membership Interests Agreement Dated March 24, 2021 # 16 Exhibit 16.HDF Certificate
                          of Incorporation # 17 Exhibit 17.IRS Determination - HDF # 18 Exhibit 18.Narrative
                          Description of Activities # 19 19.RESERVED FOR POSSIBLE SUPPLEMENTION # 20
                          Exhibit 20.HDF Bylaws # 21 Exhibit 21.HSBF Certificate of Incorporation # 22 Exhibit
                          22.IRS Determination - HSBF # 23 Exhibit 23.SBF Overview Letter # 24 Exhibit 24.GKCCF
                          Certificate of Formation # 25 Exhibit 25.GKCCF Letter # 26 Exhibit 26.Bylaws HKCF # 27
                          Exhibit 27.Share Transfer Form # 28 Exhibit 28.March 25 Resolution - DAF Holdco # 29
                          Exhibit 29.April 2 Resolution - CLO HoldCo # 30 Exhibit 30.Written Resolution - Murphy #
                          31 Exhibit 31.Charitable Giving Overview, Grant Summary: 2012-2020 # 32 Exhibit 32.The
                          Family Place Letter # 33 Exhibit 33.Cristo Rey Letter # 34 Exhibit 34.DCAC Letter # 35
                          Exhibit 35.Complaint # 36 Exhibit 36.CLO HoldCo - Register of Directors # 37 Exhibit
                          37.DAF Holdco - Register of Directors # 38 Exhibit 38.Register of Directors - Liberty CLO
                          Holdco, Ltd. # 39 Exhibit 39.Share Register - Liberty CLO Holdco, Ltd. # 40 Exhibit
                          40.Register of Directors - MGM Studios Holdco, Ltd # 41 Exhibit 41.Share Register - MGM
                          Studios Holdco, Ltd # 42 Exhibit 42.Register of Directors - HCT Holdco 2 - Ltd. # 43
                          Exhibit 43.Share Register - HCT Holdco 2, Ltd.) (Phillips, Louis)

   07/09/2021                 2548 (3 pgs) Certificate of service re: (Supplemental) 1) First Order Sustaining Debtor's
                          Third Omnibus Objection to Certain No Liability Claims; and 2) Certification of No
                          Objection Regarding Debtor's Third Omnibus Objection to Certain No Liability Claims Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2464 Certificate of
                          No Objection Regarding Debtor's Third Omnibus Objection to Certain No-Liability Claims
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2059 Objection
                          to claim). filed by Debtor Highland Capital Management, L.P., 2468 First Order sustaining
                          Debtor's third omnibus objection to certain no liability claims (RE: related document(s)2059
                          Objection to claim filed by Debtor Highland Capital Management, L.P.). Entered on
                          6/21/2021 (Okafor, M.), 2478 Certificate of service re: 1) Order Requiring Disclosures; 2)
                          Twelfth Monthly Application for Compensation and Reimbursement of Expenses of Hayward
                          PLLC as Local Counsel to the Debtor for the Period from December 1, 2020 Through
                          December 31, 2020; and 3) Certification of No Objection Regarding Debtor's Third Omnibus
                          Objection to Certain No Liability Claims [No Responses Filed] Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2460 Order Requiring Disclosures

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                          (RE: related document(s)3 Chapter 11 Voluntary Petition. Fee Amount $1717. filed by
                          Debtor Highland Capital Management, L.P.). Within 21 days of the entry of this Order, the
                          Non-Debtor Dondero-Related Entities named in this Order shall file a Notice in this case
                          disclosing thereon: (a) who owns the entity (showing percentages);10 (b) whether Mr.
                          Dondero or his family trusts have either a direct or indirect ownership interest in the entity
                          and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,
                          managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the
                          entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of
                          its claims). Entered on 6/18/2021 (Okafor, M.), 2461 Application for compensation (Twelfth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward PLLC
                          as Local Counsel to the Debtor for the Period from December 1, 2020 through December 31,
                          2020) for Hayward PLLC, Debtor's Attorney, Period: 12/1/2020 to 12/31/2020, Fee:
                          $43,270.00, Expenses: $1,693.45. Filed by Other Professional Hayward PLLC filed by Other
                          Professional Hayward PLLC, 2464 Certificate of No Objection Regarding Debtor's Third
                          Omnibus Objection to Certain No-Liability Claims filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2059 Objection to claim). filed by Debtor
                          Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson Consultants
                          LLC, 2479 Certificate of service re: First Order Sustaining Debtor's Third Omnibus
                          Objection to Certain No Liability Claims Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2468 First Order sustaining Debtor's third omnibus
                          objection to certain no liability claims (RE: related document(s)2059 Objection to claim filed
                          by Debtor Highland Capital Management, L.P.). Entered on 6/21/2021 (Okafor, M.)). filed by
                          Claims Agent Kurtzman Carson Consultants LLC). (Kass, Albert)

                              2549 (9 pgs) Amended Notice Second Amended Response of Dugaboy Investment Trust to
                          Order Requiring Disclosures filed by Creditor The Dugaboy Investment Trust (RE: related
                          document(s)2541 Notice of Disclosures filed by Creditor The Dugaboy Investment Trust
                          (RE: related document(s)2460 Order Requiring Disclosures (RE: related document(s)3
                          Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital
                          Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-
                          Related Entities named in this Order shall file a Notice in this case disclosing thereon: (a)
                          who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts
                          have either a direct or indirect ownership interest in the entity and, if so, what percentage of
                          ultimate ownership; (c) who are the officers, directors, managers and/or trustees of the Non-
                          Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor
                          (explaining in reasonable detail the amount and substance of its claims). Entered on
                          6/18/2021 (Okafor, M.))., 2545 Amended Notice of Disclosures filed by Creditor The
                          Dugaboy Investment Trust (RE: related document(s)2460 Order Requiring Disclosures (RE:
                          related document(s)3 Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor
                          Highland Capital Management, L.P.). Within 21 days of the entry of this Order, the Non-
                          Debtor Dondero-Related Entities named in this Order shall file a Notice in this case
                          disclosing thereon: (a) who owns the entity (showing percentages);10 (b) whether Mr.
                          Dondero or his family trusts have either a direct or indirect ownership interest in the entity
                          and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,
                          managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the
                          entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of
   07/09/2021             its claims). Entered on 6/18/2021 (Okafor, M.)).). (Draper, Douglas)

   07/09/2021               2550 (5 pgs) Certificate of service re: Nineteenth Monthly Application of Sidley Austin
                          LLP for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          May 1, 2021 Through May 31, 2021 Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2526 Application for compensation Sidley Austin LLP's Nineteenth
                          Monthly Application for Compensation for Official Committee of Unsecured Creditors,
                          Creditor Comm. Aty, Period: 5/1/2021 to 5/31/2021, Fee: $432,748.80, Expenses: $4,983.88.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.495 407/439



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                          Filed by Attorney Juliana Hoffman Objections due by 7/27/2021. filed by Creditor
                          Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             2551 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2535 Motion to sell Property NOTE: THE PROPERTY TO BE SOLD
                          PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND
                          CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of
                          Certain Property and (ii) Granting Related Relief) Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B), 2537 Motion to sell property
                          free and clear of liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and Other
                          Rights and (ii) Granting Related Relief) Fee amount $188, Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit D # 3 Exhibit E)). Hearing to be
                          held on 8/4/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 2537 and for
   07/12/2021             2535, (Annable, Zachery)

                             2552 (3 pgs) Certificate of No Objection filed by Other Professional Hayward PLLC (RE:
                          related document(s)2461 Application for compensation (Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from December 1, 2020 through December 31, 2020) for Hayward
   07/12/2021             PLLC, Debtor). (Annable, Zachery)

                            2553 (6 pgs) Amended appellant designation of contents for inclusion in record on appeal
                          pursuant to Fed. R. Bankr. P. 8009 filed by Get Good Trust, The Dugaboy Investment Trust
   07/12/2021             (RE: related document(s)2452 Appellant designation). (Draper, Douglas)

                             2554 (51 pgs) Application for compensation (Thirteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from January 1, 2021 through January 31, 2021) for Hayward PLLC,
                          Debtor's Attorney, Period: 1/1/2021 to 1/31/2021, Fee: $83,450.00, Expenses: $5,939.09.
   07/12/2021             Filed by Other Professional Hayward PLLC (Annable, Zachery)

                             2555 (11 pgs) Certificate of service re: Order Granting Debtor's Motion to Supplement
                          the Record in the Contempt Hearing Held on June 8, 2021 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2527 Order granting Debtor's motion to
                          supplement the record in the Contempt Hearing held on June 8, 2021 (related document
   07/12/2021             2517) Entered on 7/7/2021. (Okafor, M.)). (Kass, Albert)

   07/12/2021                 2556 (24 pgs; 4 docs) Notice of Filing of Supplement and Additional Exhibits filed by
                          Interested Parties CLO Holdco, Ltd., Highland Dallas Foundation, Inc., The Charitable DAF
                          Fund, L.P. (RE: related document(s)2547 Notice of Response and Disclosures related to sua
                          sponte Order Requiring Disclosures filed by Interested Parties Highland Dallas Foundation,
                          Inc., Charitable DAF Fund, LP, CLO Holdco, Ltd. (RE: related document(s)2460 Order
                          Requiring Disclosures (RE: related document(s)3 Chapter 11 Voluntary Petition. Fee Amount
                          $1717. filed by Debtor Highland Capital Management, L.P.). Within 21 days of the entry of
                          this Order, the Non-Debtor Dondero-Related Entities named in this Order shall file a Notice
                          in this case disclosing thereon: (a) who owns the entity (showing percentages);10 (b) whether
                          Mr. Dondero or his family trusts have either a direct or indirect ownership interest in the
                          entity and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,
                          managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d) whether the
                          entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of
                          its claims). Entered on 6/18/2021 (Okafor, M.)). (Attachments: # 1 Exhibit 1.Patrick
                          Declaration # 2 2.Transcript, June 8, 2021 Hearing, Excerpts # 3 Exhibit 3.Structure Chart #
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.496 408/439



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                          4 Exhibit 4.Kenneth K. Bebozo Memorandum # 5 Exhibit 5.Certificate of Incorporation -
                          CLO HoldCo, Ltd. # 6 Exhibit 6.Memorandum of Association of CLO HoldCo, Ltd. # 7
                          Exhibit 7.Ordinary Share Registery- CLO HoldCo # 8 Exhibit 8.Certificate of Registration of
                          Exempted Limited Partnership - DAF Fund # 9 Exhibit 9.DAF Fund LP Agreement # 10
                          Exhibit 10.DAF Fund General Partner Register # 11 Exhibit 11.Amended and Restated
                          Memorandum of Association of DAF Holdco # 12 Exhibit 12.Register of Management
                          Shares DAF Holdco # 13 Exhibit 13.Register of Participating Shares DAF Holdco # 14
                          Exhibit 14.Certificate of Formation of DAF GP # 15 Exhibit 15.Assignment and Assumption
                          of Membership Interests Agreement Dated March 24, 2021 # 16 Exhibit 16.HDF Certificate
                          of Incorporation # 17 Exhibit 17.IRS Determination - HDF # 18 Exhibit 18.Narrative
                          Description of Activities # 19 19.RESERVED FOR POSSIBLE SUPPLEMENTION # 20
                          Exhibit 20.HDF Bylaws # 21 Exhibit 21.HSBF Certificate of Incorporation # 22 Exhibit
                          22.IRS Determination - HSBF # 23 Exhibit 23.SBF Overview Letter # 24 Exhibit 24.GKCCF
                          Certificate of Formation # 25 Exhibit 25.GKCCF Letter # 26 Exhibit 26.Bylaws HKCF # 27
                          Exhibit 27.Share Transfer Form # 28 Exhibit 28.March 25 Resolution - DAF Holdco # 29
                          Exhibit 29.April 2 Resolution - CLO HoldCo # 30 Exhibit 30.Written Resolution - Murphy #
                          31 Exhibit 31.Charitable Giving Overview, Grant Summary: 2012-2020 # 32 Exhibit 32.The
                          Family Place Letter # 33 Exhibit 33.Cristo Rey Letter # 34 Exhibit 34.DCAC Letter # 35
                          Exhibit 35.Complaint # 36 Exhibit 36.CLO HoldCo - Register of Directors # 37 Exhibit
                          37.DAF Holdco - Register of Directors # 38 Exhibit 38.Register of Directors - Liberty CLO
                          Holdco, Ltd. # 39 Exhibit 39.Share Register - Liberty CLO Holdco, Ltd. # 40 Exhibit
                          40.Register of Directors - MGM Studios Holdco, Ltd # 41 Exhibit 41.Share Register - MGM
                          Studios Holdco, Ltd # 42 Exhibit 42.Register of Directors - HCT Holdco 2 - Ltd. # 43
                          Exhibit 43.Share Register - HCT Holdco 2, Ltd.)). (Attachments: # 1 Supplement # 2 Exhibit
                          19. Letter From The Dallas Foundation # 3 Exhibit Exhibit 44. Baltimore Sun Article re:
                          Nonprofit Offshore Structures) (Phillips, Louis)

                             2558 (16 pgs) Certificate of service re: Documents Served on or Before July 9, 2021 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2533 Notice
                          (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for the Period
                          from April 1, 2021 through April 30, 2021) filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)853 Order granting application to employ Development
                          Specialists, Inc. as Other Professional (related document 775) Entered on 7/16/2020. (Ecker,
                          C.)). filed by Debtor Highland Capital Management, L.P., 2535 Motion to sell Property
                          NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL
                          WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry
                          of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting Related Relief)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit
                          B) filed by Debtor Highland Capital Management, L.P., 2537 Motion to sell property free and
                          clear of liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and Other
                          Rights and (ii) Granting Related Relief) Fee amount $188, Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit D # 3 Exhibit E) filed by Debtor
                          Highland Capital Management, L.P., 2538 Motion to file document under seal. (Debtor's
                          Motion for Entry of an Order Authorizing the Filing under Seal of Exhibits to the Motion of
                          the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of Certain
                          Limited Partnership Interests and Other Rights and (ii) Granting Related Relief) Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A) filed by Debtor
   07/13/2021             Highland Capital Management, L.P.). (Kass, Albert)

   07/14/2021               2559 (5 pgs) Notice (Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to May 31, 2021) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)176 ORDER PURSUANT TO
                          SECTIONS 105(A), 327, 328, AND 330 OF THE BANKRUPTCY CODE AUTH0RIZING
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.497 409/439



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                          THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE CERTAIN
                          PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1
                          Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). (Annable,
                          Zachery)

                                2560 (1 pg) PDF with attached Audio File. Court Date & Time [05/18/2021 09:37:03
   07/14/2021             AM]. File Size [ 4798 KB ]. Run Time [ 00:20:29 ]. (admin).


                                2561 (1 pg) PDF with attached Audio File. Court Date & Time [06/08/2021 02:03:12
   07/14/2021             PM]. File Size [ 26321 KB ]. Run Time [ 01:52:35 ]. (admin).


                                2562 (1 pg) PDF with attached Audio File. Court Date & Time [06/08/2021 04:04:27
   07/14/2021             PM]. File Size [ 27205 KB ]. Run Time [ 01:56:13 ]. (admin).

                             2563 (8 pgs) Objection to (related document(s): 2491 Motion for leave (Debtor's Motion
                          for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry
                          into an Indemnity Trust Agreement and (ii) Granting Related Relief) filed by Debtor
                          Highland Capital Management, L.P.) filed by Interested Parties James Dondero, Highland
                          Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The Dugaboy
   07/14/2021             Investment Trust. (Taylor, Clay)


                                2564 (1 pg) PDF with attached Audio File. Court Date & Time [06/08/2021 09:34:21
   07/14/2021             AM]. File Size [ 26132 KB ]. Run Time [ 01:51:38 ]. (admin).


                                2565 (1 pg) PDF with attached Audio File. Court Date & Time [06/08/2021 11:30:55
   07/14/2021             AM]. File Size [ 23135 KB ]. Run Time [ 01:38:51 ]. (admin).


                                2566 (1 pg) PDF with attached Audio File. Court Date & Time [06/10/2021 09:44:23
   07/14/2021             AM]. File Size [ 31458 KB ]. Run Time [ 02:14:19 ]. (admin).


                                2567 (1 pg) PDF with attached Audio File. Court Date & Time [06/25/2021 08:48:05
   07/14/2021             AM]. File Size [ 77915 KB ]. Run Time [ 05:33:38 ]. (admin).

                              2568 (11 pgs) Certificate of service re: Notice of Filing of Exhibit C to the Motion of the
                          Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting
                          Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2540 Support/supplemental document (Notice of Filing of Exhibit C to the
                          Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property and
                          (ii) Granting Related Relief) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2535 Motion to sell Property NOTE: THE PROPERTY TO BE SOLD
                          PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND
                          CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of
   07/14/2021             Certain Property). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   07/14/2021                2569 (3 pgs) Certificate of service re: (Supplemental) 1) Motion of the Debtor for Entry of
                          an Order (I) Authorizing the Sale of Certain Property and (II) Granting Related Relief; and
                          2) Notice of Filing of Exhibit C to the Motion of the Debtor for Entry of an Order (I)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.498 410/439



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                          Authorizing the Sale of Certain Property and (II) Granting Related Relief Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2535 Motion to sell Property
                          NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL
                          WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry
                          of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting Related Relief)
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit
                          B) filed by Debtor Highland Capital Management, L.P., 2540 Support/supplemental
                          document (Notice of Filing of Exhibit C to the Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale of Certain Property and (ii) Granting Related Relief) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2535 Motion to sell Property
                          NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL
                          WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry
                          of an Order (i) Authorizing the Sale of Certain Property). filed by Debtor Highland Capital
                          Management, L.P., 2558 Certificate of service re: Documents Served on or Before July 9,
                          2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2533
                          Notice (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for the
                          Period from April 1, 2021 through April 30, 2021) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)853 Order granting application to employ
                          Development Specialists, Inc. as Other Professional (related document 775) Entered on
                          7/16/2020. (Ecker, C.)). filed by Debtor Highland Capital Management, L.P., 2535 Motion to
                          sell Property NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION
                          TO SELL WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor
                          for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting Related
                          Relief) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2
                          Exhibit B) filed by Debtor Highland Capital Management, L.P., 2537 Motion to sell property
                          free and clear of liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and Other
                          Rights and (ii) Granting Related Relief) Fee amount $188, Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit D # 3 Exhibit E) filed by Debtor
                          Highland Capital Management, L.P., 2538 Motion to file document under seal. (Debtor's
                          Motion for Entry of an Order Authorizing the Filing under Seal of Exhibits to the Motion of
                          the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of Certain
                          Limited Partnership Interests and Other Rights and (ii) Granting Related Relief) Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A) filed by Debtor
                          Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson Consultants
                          LLC, 2568 Certificate of service re: Notice of Filing of Exhibit C to the Motion of the Debtor
                          for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting Related
                          Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2540
                          Support/supplemental document (Notice of Filing of Exhibit C to the Motion of the Debtor
                          for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii) Granting Related
                          Relief) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2535
                          Motion to sell Property NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS
                          MOTION TO SELL WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of
                          the Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property). filed by
                          Debtor Highland Capital Management, L.P.). filed by Claims Agent Kurtzman Carson
                          Consultants LLC). (Kass, Albert)

                            2570 (45 pgs) Amended application for compensation Sidley Austin LLP's Amended 19th
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 5/1/2021 to 5/31/2021, Fee: $432,748.80, Expenses: $4,983.88. Filed by
   07/14/2021             Attorney Juliana Hoffman Objections due by 8/4/2021. (Hoffman, Juliana)

   07/15/2021               2571 (8 pgs) Response opposed to (related document(s): 2534 Brief filed by Creditor
                          CLO Holdco, Ltd., Interested Party CLO Holdco, Ltd., Creditor The Charitable DAF Fund,
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.499 411/439



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                          L.P., Interested Party The Charitable DAF Fund, L.P.) filed by Debtor Highland Capital
                          Management, L.P.. (Annable, Zachery)

                             2572 (318 pgs; 7 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2491 Motion for leave (Debtor's Motion for
                          Entry of an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry
                          into an Indemnity Trust Agreement and (ii) Granting Related Relief)). (Attachments: # 1
                          Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6) (Annable,
   07/15/2021             Zachery)

                             2573 (17 pgs) Certificate of service re: 1) Notice of Hearing; and 2) Thirteenth Monthly
                          Application for Compensation and Reimbursement of Expenses of Hayward PLLC as Local
                          Counsel to the Debtor for the Period from January 1, 2021 through January 31, 2021 Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2551 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2535
                          Motion to sell Property NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS
                          MOTION TO SELL WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of
                          the Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii)
                          Granting Related Relief) Filed by Debtor Highland Capital Management, L.P. (Attachments:
                          # 1 Exhibit A # 2 Exhibit B), 2537 Motion to sell property free and clear of liens under
                          Section 363(f) (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale and/or
                          Forfeiture of Certain Limited Partnership Interests and Other Rights and (ii) Granting
                          Related Relief) Fee amount $188, Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit D # 3 Exhibit E)). Hearing to be held on 8/4/2021 at
                          09:30 AM at https://us-courts.webex.com/meet/jerniga for 2537 and for 2535, filed by
                          Debtor Highland Capital Management, L.P., 2554 Application for compensation (Thirteenth
                          Monthly Application for Compensation and Reimbursement of Expenses of Hayward PLLC
                          as Local Counsel to the Debtor for the Period from January 1, 2021 through January 31,
                          2021) for Hayward PLLC, Debtor's Attorney, Period: 1/1/2021 to 1/31/2021, Fee:
                          $83,450.00, Expenses: $5,939.09. Filed by Other Professional Hayward PLLC filed by Other
   07/15/2021             Professional Hayward PLLC). (Kass, Albert)

                             2574 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2480 Application for compensation Fourth Interim Application
                          for Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP
                          as Counsel for the Debtor and Debtor in Possession for the Period from December 1, 2020
   07/16/2021             through April 30,). (Pomerantz, Jeffrey)

                            2575 (1733 pgs; 16 docs) Witness and Exhibit List filed by Interested Parties James
                          Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
                          Creditor The Dugaboy Investment Trust (RE: related document(s)2491 Motion for leave
                          (Debtor's Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity
                          Subtrust and (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief)).
                          (Attachments: # 1 Objectors Ex. A # 2 Objectors Ex. B # 3 Objectors Ex. C # 4 Objectors Ex.
                          D # 5 Objectors Ex. E # 6 Objectors Ex. F # 7 Objectors Ex. G # 8 Objectors Ex. H # 9
                          Objectors Ex. I # 10 Objectors Ex. J # 11 Objectors Ex. K # 12 Objectors Ex. L # 13
   07/16/2021             Objectors Ex. M # 14 Objectors Ex. N # 15 Objectors Ex. O) (Taylor, Clay)

   07/16/2021                2576 (11 pgs; 2 docs) Reply to (related document(s): 2563 Objection filed by Interested
                          Party James Dondero, Interested Party Highland Capital Management Fund Advisors, L.P.,
                          Interested Party NexPoint Advisors, L.P., Creditor The Dugaboy Investment Trust) (Debtor's
                          Reply in Support of Motion for Entry of an Order (i) Authorizing the (A) Creation of an
                          Indemnity Subtrust and (B) Entry into an Indemnity Trust Agreement and (ii) Granting
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.500 412/439



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                          Related Relief) filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1
                          Exhibit A) (Annable, Zachery)

                            2577 (5 pgs) Joinder by filed by Creditor Committee Official Committee of Unsecured
   07/16/2021             Creditors (RE: related document(s)2576 Reply). (Hoffman, Juliana)

                             2578 (10 pgs) Appellant designation of contents for inclusion in record on appeal and
                          statement of issues on appeal. filed by Interested Parties CLO Holdco, Ltd., Charitable DAF
                          Fund, LP (RE: related document(s)2532 Notice of docketing notice of appeal/record).
   07/16/2021             Appellee designation due by 07/30/2021. (Sbaiti, Mazin)

                             2579 (7 pgs) Certificate of service re: Notice of Statement of Amounts Paid to Ordinary
                          Course Professionals for the Period from October 16, 2019 to May 31, 2021 Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)2559 Notice (Notice of
                          Statement of Amounts Paid to Ordinary Course Professionals for the Period from October
                          16, 2019 to May 31, 2021) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)176 ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF
                          THE BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY,
                          AND COMPENSATE CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN
                          THE ORDINARY COURSE OF BUSINESS (Related Doc # 76, 99, 162) Order Signed on
                          11/26/2019. (Attachments: # 1 Exhibit A) (DRG) [ORIGINALLY FILED AS DOCUMENT
                          #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). filed by Debtor Highland Capital Management, L.P.). (Kass,
   07/16/2021             Albert)

                             2580 (1 pg) Clerk's correspondence requesting Amended designation from attorney for
                          creditor. (RE: related document(s)2578 Appellant designation of contents for inclusion in
                          record on appeal and statement of issues on appeal. filed by Interested Parties CLO Holdco,
                          Ltd., Charitable DAF Fund, LP (RE: related document(s)2532 Notice of docketing notice of
                          appeal/record). Appellee designation due by 07/30/2021.) Responses due by 7/21/2021.
   07/19/2021             (Blanco, J.)


                                2581 (1 pg) PDF with attached Audio File. Court Date & Time [07/19/2021 09:30:44
   07/19/2021             AM]. File Size [ 19741 KB ]. Run Time [ 01:24:28 ]. (admin).

                             2582 (2 pgs) Court admitted exhibits date of hearing July 19, 2021 (RE: related
                          document(s)2491 Motion for leave (Debtor's Motion for Entry of an Order (i) Authorizing
                          the (A) Creation of an Indemnity Subtrust and (B) Entry into an Indemnity Trust Agreement
                          and (ii) Granting Related Relief), filed by Debtor Highland Capital Management, L.P.,
                          (COURT ADMITTED PLAINTIFF'S/DEBTOR'S EXHIBITS #1, #2, #3, #4, #5 & #6 BY
                          JOHN MORRIS AND DEFENDANT/RESPONDENT EXHIBIT'S #A, #B, #C, #D, #E, #F,
   07/19/2021             #G, #H, #I, #J, #K, #L, #M, #N & #O BY DAVOR RUKAVINA) (Edmond, Michael)

   07/19/2021               2583 Hearing held on 7/19/2021. (RE: related document(s)2480 Application for
                          compensation Fourth Interim Application for Compensation and for Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession for the Period from December 1, 2020 through April 30, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 4/30/2021, filed by Attorney Jeffrey
                          Nathan Pomerantz). (Appearances: J. Pomeranz and J. Morris for Debtor; C. Taylor for J.
                          Dondero; D. Draper for Dugaboy Trust; D. Rukavina for Advisors; M. Clemente for UCC; L.
                          Lambert for UST. Nonevidentiary hearing. Application granted. Counsel to upload order.)
                          (Edmond, Michael)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.501 413/439



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                              2584 Hearing held on 7/19/2021. (RE: related document(s)2491 Motion for leave
                          (Debtor's Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity
                          Subtrust and (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief),
                          filed by Debtor Highland Capital Management, L.P., (Appearances: J. Pomeranz and J.
                          Morris for Debtor; C. Taylor for J. Dondero; D. Draper for Dugaboy Trust; D. Rukavina for
                          Advisors; M. Clemente for UCC; L. Lambert for UST. Evidentiary hearing. Motion granted.
   07/19/2021             Counsel to upload order.) (Edmond, Michael)

                             2585 (145 pgs) Application for compensation Sidley Austin LLP's Sixth Interim
                          Application for Compensation for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 3/1/2021 to 5/31/2021, Fee: $1,527,522.75, Expenses: $32,957.78. Filed
   07/19/2021             by Attorney Juliana Hoffman Objections due by 8/9/2021. (Hoffman, Juliana)

                             2586 (63 pgs; 4 docs) Application for compensation of Teneo Capital, LLC as Litigation
                          Advisor for Official Committee of Unsecured Creditors, Other Professional, Period:
                          4/15/2021 to 6/30/2021, Fee: $80,000.00, Expenses: $118.89. Filed by Attorney Juliana
                          Hoffman Objections due by 8/9/2021. (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit)
   07/19/2021             (Hoffman, Juliana)

                            2587 (10 pgs) Amended appellant designation of contents for inclusion in record on
                          appeal and statement of issues on appeal. filed by Interested Parties CLO Holdco, Ltd., The
                          Charitable DAF Fund, L.P. (RE: related document(s)2578 Appellant designation). (Sbaiti,
   07/19/2021             Mazin)

                            2588 (2 pgs) Order granting fourth interim application for compensation (related
                          document # 2480) granting for Jeffrey Nathan Pomerantz of Pachulski Stang Ziehl & Jones
                          LLP , fees awarded: $7527021.50, expenses awarded: $80299.92 Entered on 7/20/2021.
   07/20/2021             (Okafor, M.)

                            2589 (15 pgs; 2 docs) Motion to compromise controversy with Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P., Highland Income Fund,
                          NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.. Related AP case
                          numbers: 21-3000. Related defendants: Highland Capital Management Fund Advisors, L.P.,
                          NexPoint Advisors, L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund,
                          and NexPoint Capital, Inc.. Filed by Debtor Highland Capital Management, L.P.
   07/20/2021             (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                             2590 (22 pgs; 2 docs) Declaration re: (Declaration of John A. Morris in Support of
                          Debtor's Motion for Entry of an Order Approving Settlement Pursuant to Bankruptcy Rule
                          9019 and Authorizing Actions Consistent Therewith) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2589 Motion to compromise controversy with
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Highland
                          Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.. Related
                          AP case numbers: 21-3000. Related defendan). (Attachments: # 1 Exhibit 1--Settlement
   07/20/2021             Agreement) (Annable, Zachery)

                             2592 (1 pg) Notice of docketing APPELLANT SUPPLEMENTAL record on appeal.
                          3:21-CV-00879-K (RE: related document(s)2149 Notice of appeal filed by Interested Party
                          James Dondero (RE: related document(s)2083 Order on motion to recuse Judge). Appellant
   07/20/2021             Designation due by 04/15/2021. (Attachments: # 1 Exhibit)) (Blanco, J.)


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   07/20/2021                2593 (1 pg) Request for transcript regarding a hearing held on 7/19/2021. The requested
                          turn-around time is hourly. (Edmond, Michael)

                             2594 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2589 Motion to compromise controversy with Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P., Highland Income Fund,
                          NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.. Related AP case
                          numbers: 21-3000. Related defendants: Highland Capital Management Fund Advisors, L.P.,
                          NexPoint Advisors, L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund,
                          and NexPoint Capital, Inc.. Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 9/13/2021 at 02:30
   07/20/2021             PM at https://us-courts.webex.com/meet/jerniga for 2589, (Annable, Zachery)

                             2595 (37 pgs) Application for compensation (Fourteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from February 1, 2021 through February 28, 2021) for Hayward
                          PLLC, Debtor's Attorney, Period: 2/1/2021 to 2/28/2021, Fee: $55,885.00, Expenses:
   07/20/2021             $3,218.35. Filed by Other Professional Hayward PLLC (Annable, Zachery)

                            2596 (4 pgs) Declaration re: (Declaration of Alexander McGeoch in Support of Proposed
                          Agreed Order Authorizing the Retention and Employment of Hunton Andrews Kurth LLP as
                          Special Counsel Nunc Pro Tunc to the Petition Date) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)604 Application to employ Hunton Andrews
                          Kurth LLP as Special Counsel (Debtor's Application for Entry of an Order Authorizing the
                          Retention and Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro
   07/20/2021             Tunc to the Petition Date)). (Annable, Zachery)

                             2597 (20 pgs) Certificate of service re: 1) Nineteenth Monthly Application of Sidley
                          Austin LLP for Allowance of Compensation and Reimbursement of Expenses for the Period
                          from May 1, 2021 Through May 31, 2021; 2) Debtor's Reply to Plaintiffs' Post-Hearing Brief
                          Regarding Motion for Modification of Order; and 3) Debtor's Witness and Exhibit List with
                          Respect to Evidentiary Hearing to be Held on July 19, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2570 Amended application for
                          compensation Sidley Austin LLP's Amended 19th Application for Compensation for Official
                          Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 5/1/2021 to 5/31/2021,
                          Fee: $432,748.80, Expenses: $4,983.88. Filed by Attorney Juliana Hoffman Objections due
                          by 8/4/2021. filed by Creditor Committee Official Committee of Unsecured Creditors, 2571
                          Response opposed to (related document(s): 2534 Brief filed by Creditor CLO Holdco, Ltd.,
                          Interested Party CLO Holdco, Ltd., Creditor The Charitable DAF Fund, L.P., Interested Party
                          The Charitable DAF Fund, L.P.) filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 2572 Witness and Exhibit List filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2491 Motion for leave
                          (Debtor's Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity
                          Subtrust and (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief)).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
   07/20/2021             Exhibit 6) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   07/21/2021                2598 (59 pgs) Transcript regarding Hearing Held 07/19/2021 (59 pages) RE: Debtor's
                          Motion for Entry of Order Authorizing Creation of Indemnity Sub-Trust (2491); Pachulski
                          Stang Fourth Interim Fee Application (2480). THIS TRANSCRIPT WILL BE MADE
                          ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                          DATE OF FILING. TRANSCRIPT RELEASE DATE IS 10/19/2021. Until that time the
                          transcript may be viewed at the Clerk's Office or a copy may be obtained from the official
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.503 415/439



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                          court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 2583 Hearing held on 7/19/2021. (RE: related document(s)2480 Application for
                          compensation Fourth Interim Application for Compensation and for Reimbursement of
                          Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in
                          Possession for the Period from December 1, 2020 through April 30, 2021 for Jeffrey Nathan
                          Pomerantz, Debtor's Attorney, Period: 12/1/2020 to 4/30/2021, filed by Attorney Jeffrey
                          Nathan Pomerantz). (Appearances: J. Pomeranz and J. Morris for Debtor; C. Taylor for J.
                          Dondero; D. Draper for Dugaboy Trust; D. Rukavina for Advisors; M. Clemente for UCC; L.
                          Lambert for UST. Nonevidentiary hearing. Application granted. Counsel to upload order.),
                          2584 Hearing held on 7/19/2021. (RE: related document(s)2491 Motion for leave (Debtor's
                          Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and
                          (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief), filed by
                          Debtor Highland Capital Management, L.P., (Appearances: J. Pomeranz and J. Morris for
                          Debtor; C. Taylor for J. Dondero; D. Draper for Dugaboy Trust; D. Rukavina for Advisors;
                          M. Clemente for UCC; L. Lambert for UST. Evidentiary hearing. Motion granted. Counsel to
                          upload order.)). Transcript to be made available to the public on 10/19/2021. (Rehling,
                          Kathy)

                              2599 (3 pgs) Order granting Debtor's Motion for Entry of an Order (i) Authorizing the
                          (A) Creation of an Indemnity Subtrust and (B) Entry into an Indemnity Trust Agreement and
   07/21/2021             (ii) Granting Related Relief (related document # 2491) Entered on 7/21/2021. (Okafor, M.)

                             2600 (11 pgs) Certificate of service re: 1) Debtor's Reply in Support of Motion for Entry
                          of an Order (I) Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry Into an
                          Indemnity Trust Agreement and (II) Granting Related Relief; and 2) The Official Committee
                          of Unsecured Creditors' Response and Joinder to the Debtor's Response to the Objection to
                          Debtor's Motion for Entry of an Order (I) Authorizing the (A) Creation of an Indemnity
                          Subtrust and (B) Entry Into an Indemnity Trust Agreement and (II) Granting Related Relief
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2576 Reply
                          to (related document(s): 2563 Objection filed by Interested Party James Dondero, Interested
                          Party Highland Capital Management Fund Advisors, L.P., Interested Party NexPoint
                          Advisors, L.P., Creditor The Dugaboy Investment Trust) (Debtor's Reply in Support of
                          Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and
                          (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief) filed by
                          Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) filed by Debtor
                          Highland Capital Management, L.P., 2577 Joinder by filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)2576 Reply). filed by Creditor
   07/21/2021             Committee Official Committee of Unsecured Creditors). (Kass, Albert)

   07/22/2021                2601 (5 pgs) Certificate of service re: 1) Sixth Interim Fee Application of Sidley Austin
                          LLP, Attorneys for the Official Committee of Unsecured Creditors, for Compensation and
                          Reimbursement of Expenses for the Period from March 1, 2021 Through and Including May
                          31, 2021; and 2) First Consolidated Monthly Fee Application of Teneo Capital, LLC as
                          Litigation Advisor for the Official Committee of Unsecured Creditors for the Period from
                          April 15, 2021 to and Including June 30, 2021 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2585 Application for compensation Sidley Austin
                          LLP's Sixth Interim Application for Compensation for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 3/1/2021 to 5/31/2021, Fee: $1,527,522.75,
                          Expenses: $32,957.78. Filed by Attorney Juliana Hoffman Objections due by 8/9/2021. filed
                          by Creditor Committee Official Committee of Unsecured Creditors, 2586 Application for
                          compensation of Teneo Capital, LLC as Litigation Advisor for Official Committee of
                          Unsecured Creditors, Other Professional, Period: 4/15/2021 to 6/30/2021, Fee: $80,000.00,

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                          Expenses: $118.89. Filed by Attorney Juliana Hoffman Objections due by 8/9/2021.
                          (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit) filed by Creditor Committee Official
                          Committee of Unsecured Creditors). (Kass, Albert)

   07/22/2021                 2602 (3 pgs) Certificate of service re: (Supplemental) 1) Debtor's Third Omnibus
                          Objection to Certain No Liability Claims; 2) Certification of No Objection Regarding
                          Debtor's Third Omnibus Objection to Certain No Liability Claims; and 3) First Order
                          Sustaining Debtor's Third Omnibus Objection to Certain No Liability Claims Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2059 Omnibus
                          Objection to claim(s) of Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein; Jerome
                          Carter; Kari Kovelan; Kellie Stevens; Lauren Thedford; Mark Patrick; Charles Hoedebeck;
                          Stephanie Vitiello; Steven Haltom; William Gosserand; Brian Collins; Hayley Eliason; Lucy
                          Bannon; Mary Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean Paul Sevilla;
                          Jon Poglitsch; Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa Schroth; Mauro
                          Staltari; Will Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev; Kent Gatzki;
                          Scott Groff; James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben; Michael
                          Jeong; Will Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas; Joye
                          Luu; Austin Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay; Jennifer
                          School.. Filed by Debtor Highland Capital Management, L.P.. Responses due by 4/20/2021.
                          filed by Debtor Highland Capital Management, L.P., 2091 Certificate of service re: Debtor's
                          Third Omnibus Objection to Certain No Liability Claims Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2059 Omnibus Objection to claim(s) of
                          Creditor(s) Christopher Rice; Helen Kim; Jason Rothstein; Jerome Carter; Kari Kovelan;
                          Kellie Stevens; Lauren Thedford; Mark Patrick; Charles Hoedebeck; Stephanie Vitiello;
                          Steven Haltom; William Gosserand; Brian Collins; Hayley Eliason; Lucy Bannon; Mary
                          Irving; Matthew DiOrio; Ricky Swadley; William Mabry; Jean Paul Sevilla; Jon Poglitsch;
                          Clifford Stoops; Jason Post; Ajit Jain; Paul Broaddus; Melissa Schroth; Mauro Staltari; Will
                          Mabry; Yegor Nikolayev; Sahan Abayarantha; Kunal Sachdev; Kent Gatzki; Scott Groff;
                          James Mills; Bhawika Jain; Jae Lee; Cyrus Eftekhari; Tara Loiben; Michael Jeong; Will
                          Duffy; Sarah Goldsmith; Sarah Hale; Heriberto Rios; Mariana Navejas; Joye Luu; Austin
                          Cotton; Lauren Baker; Phoebe Stewart; Blair Roeber; Brad McKay; Jennifer School.. Filed
                          by Debtor Highland Capital Management, L.P.. Responses due by 4/20/2021. filed by Debtor
                          Highland Capital Management, L.P.). (Kass, Albert) Modified on 3/24/2021. filed by Claims
                          Agent Kurtzman Carson Consultants LLC, 2464 Certificate of No Objection Regarding
                          Debtor's Third Omnibus Objection to Certain No-Liability Claims filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2059 Objection to claim). filed by Debtor
                          Highland Capital Management, L.P., 2468 First Order sustaining Debtor's third omnibus
                          objection to certain no liability claims (RE: related document(s)2059 Objection to claim filed
                          by Debtor Highland Capital Management, L.P.). Entered on 6/21/2021 (Okafor, M.), 2478
                          Certificate of service re: 1) Order Requiring Disclosures; 2) Twelfth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from December 1, 2020 Through December 31, 2020; and 3)
                          Certification of No Objection Regarding Debtor's Third Omnibus Objection to Certain No
                          Liability Claims [No Responses Filed] Filed by Claims Agent Kurtzman Carson Consultants
                          LLC (related document(s)2460 Order Requiring Disclosures (RE: related document(s)3
                          Chapter 11 Voluntary Petition. Fee Amount $1717. filed by Debtor Highland Capital
                          Management, L.P.). Within 21 days of the entry of this Order, the Non-Debtor Dondero-
                          Related Entities named in this Order shall file a Notice in this case disclosing thereon: (a)
                          who owns the entity (showing percentages);10 (b) whether Mr. Dondero or his family trusts
                          have either a direct or indirect ownership interest in the entity and, if so, what percentage of
                          ultimate ownership; (c) who are the officers, directors, managers and/or trustees of the Non-
                          Debtor Dondero-Related Entity; and (d) whether the entity is a creditor of the Debtor
                          (explaining in reasonable detail the amount and substance of its claims). Entered on
                          6/18/2021 (Okafor, M.), 2461 Application for compensation (Twelfth Monthly Application
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.505 417/439



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                          for Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to
                          the Debtor for the Period from December 1, 2020 through December 31, 2020) for Hayward
                          PLLC, Debtor's Attorney, Period: 12/1/2020 to 12/31/2020, Fee: $43,270.00, Expenses:
                          $1,693.45. Filed by Other Professional Hayward PLLC filed by Other Professional Hayward
                          PLLC, 2464 Certificate of No Objection Regarding Debtor's Third Omnibus Objection to
                          Certain No-Liability Claims filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2059 Objection to claim). filed by Debtor Highland Capital Management, L.P.).
                          filed by Claims Agent Kurtzman Carson Consultants LLC, 2479 Certificate of service re:
                          First Order Sustaining Debtor's Third Omnibus Objection to Certain No Liability Claims
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2468 First
                          Order sustaining Debtor's third omnibus objection to certain no liability claims (RE: related
                          document(s)2059 Objection to claim filed by Debtor Highland Capital Management, L.P.).
                          Entered on 6/21/2021 (Okafor, M.)). filed by Claims Agent Kurtzman Carson Consultants
                          LLC). (Kass, Albert)

                             2603 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2502 Application for compensation Twentieth Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from May
                          1, 2021 through May 31, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
   07/23/2021             5/1/2021 to 5/31/2021,). (Pomerantz, Jeffrey)

                             2604 (2 pgs) Order granting motion to seal exhibits (related document # 2538) Entered on
   07/23/2021             7/23/2021. (Okafor, M.)

   07/23/2021                2605 (16 pgs) Certificate of service re: Documents Served on July 20, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2588 Order granting
                          fourth interim application for compensation (related document 2480) granting for Jeffrey
                          Nathan Pomerantz of Pachulski Stang Ziehl & Jones LLP, fees awarded: $7527021.50,
                          expenses awarded: $80299.92 Entered on 7/20/2021. (Okafor, M.), 2589 Motion to
                          compromise controversy with Highland Capital Management Fund Advisors, L.P., NexPoint
                          Advisors, L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund, and
                          NexPoint Capital, Inc.. Related AP case numbers: 21-3000. Related defendants: Highland
                          Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Highland Income Fund,
                          NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.. Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) filed by
                          Debtor Highland Capital Management, L.P., 2590 Declaration re: (Declaration of John A.
                          Morris in Support of Debtor's Motion for Entry of an Order Approving Settlement Pursuant
                          to Bankruptcy Rule 9019 and Authorizing Actions Consistent Therewith) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)2589 Motion to compromise
                          controversy with Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital,
                          Inc.. Related AP case numbers: 21-3000. Related defendan). (Attachments: # 1 Exhibit 1--
                          Settlement Agreement) filed by Debtor Highland Capital Management, L.P., 2594 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)2589
                          Motion to compromise controversy with Highland Capital Management Fund Advisors, L.P.,
                          NexPoint Advisors, L.P., Highland Income Fund, NexPoint Strategic Opportunities Fund,
                          and NexPoint Capital, Inc.. Related AP case numbers: 21-3000. Related defendants:
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Highland
                          Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.. Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)).
                          Hearing to be held on 9/13/2021 at 02:30 PM at https://us-courts.webex.com/meet/jerniga for
                          2589, filed by Debtor Highland Capital Management, L.P., 2595 Application for
                          compensation (Fourteenth Monthly Application for Compensation and Reimbursement of

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                          Expenses of Hayward PLLC as Local Counsel to the Debtor for the Period from February 1,
                          2021 through February 28, 2021) for Hayward PLLC, Debtor's Attorney, Period: 2/1/2021 to
                          2/28/2021, Fee: $55,885.00, Expenses: $3,218.35. Filed by Other Professional Hayward
                          PLLC filed by Other Professional Hayward PLLC, 2596 Declaration re: (Declaration of
                          Alexander McGeoch in Support of Proposed Agreed Order Authorizing the Retention and
                          Employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the
                          Petition Date) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)604 Application to employ Hunton Andrews Kurth LLP as Special Counsel
                          (Debtor's Application for Entry of an Order Authorizing the Retention and Employment of
                          Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the Petition Date)). filed
                          by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2606 (11 pgs) Certificate of service re: Order Approving Debtor's Motion for Entry of an
                          Order (I) Authorizing the (A) Creation of an Indemnity Subtrust and (B) Entry Into an
                          Indemnity Trust Agreement and (II) Granting Related Relief Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2599 Order granting Debtor's
                          Motion for Entry of an Order (i) Authorizing the (A) Creation of an Indemnity Subtrust and
                          (B) Entry into an Indemnity Trust Agreement and (ii) Granting Related Relief (related
   07/23/2021             document 2491) Entered on 7/21/2021. (Okafor, M.)). (Kass, Albert)

                            2607 (7 pgs) Stipulation by Highland Capital Management, L.P. and Highland Capital
                          Management Fund Advisors, L.P. and NexPoint Advisors, L.P.. filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2345 Order to set hearing). (Annable,
   07/26/2021             Zachery)

                            2608 (5 pgs) Notice to take deposition of Wick Phillips Gould & Martin, LLP filed by
   07/26/2021             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                            2609 (15 pgs) Application for compensation (Fifth Monthly Fee Statement of Deloitte Tax
                          LLP for Compensation for Services Rendered as Tax Services Provider to the Debtor for the
                          Period from January 1, 2021 through January 31, 2021) for Deloitte Tax LLP, Other
                          Professional, Period: 1/1/2021 to 1/31/2021, Fee: $11,549.20, Expenses: $0.00. Filed by
   07/27/2021             Other Professional Deloitte Tax LLP (Annable, Zachery)

                            2610 (12 pgs) Application for compensation (Sixth Monthly Fee Statement of Deloitte Tax
                          LLP for Compensation for Services Rendered as Tax Services Provider to the Debtor for the
                          Period from February 1, 2021 through February 28, 2021) for Deloitte Tax LLP, Other
                          Professional, Period: 2/1/2021 to 2/28/2021, Fee: $4,933.20, Expenses: $0.00. Filed by Other
   07/27/2021             Professional Deloitte Tax LLP (Annable, Zachery)

                             2611 (53 pgs) Application for compensation Sixth Interim Application for Compensation
                          for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2021 to 5/31/2021, Fee: $339,167.25,
                          Expenses: $0. Filed by Attorney Juliana Hoffman Objections due by 8/17/2021. (Hoffman,
   07/27/2021             Juliana)

                             2612 (4 pgs) Certificate of No Objection filed by Financial Advisor FTI Consulting, Inc.
                          (RE: related document(s)2514 Application for compensation Nineteenth Monthly Application
                          for Compensation for FTI Consulting, Inc., Financial Advisor, Period: to, Fee: $88,932.60,
   07/27/2021             Expenses: $0.). (Hoffman, Juliana)

   07/27/2021                2613 (11 pgs; 2 docs) Motion for leave to File a Brief in Excess of Twenty-Five Pages
                          Filed by Creditor Committee Official Committee of Unsecured Creditors Objections due by
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                          8/17/2021. (Attachments: # 1 Proposed Order) (Montgomery, Paige)

                            2614 (10 pgs) Motion for expedited hearing(related documents 2613 Motion for leave)
                          Motion for Expedited Consideration on The Official Committee of Unsecured Creditors'
                          Emergency Motion for Leave to File a Brief in Excess of Twenty-Five Pages Filed by
   07/27/2021             Creditor Committee Official Committee of Unsecured Creditors (Montgomery, Paige)

                            2615 (8 pgs) Objection to (related document(s): 2613 Motion for leave to File a Brief in
                          Excess of Twenty-Five Pages filed by Creditor Committee Official Committee of Unsecured
                          Creditors, 2614 Motion for expedited hearing(related documents 2613 Motion for leave)
                          Motion for Expedited Consideration on The Official Committee of Unsecured Creditors'
                          Emergency Motion for Leave to File a Brief in Excess of Twenty-Five Pages filed by Creditor
                          Committee Official Committee of Unsecured Creditors)Initial Objection To Motion For
                          Leave And To Emergency Consideration Of The Motion For Leave filed by Interested Party
   07/28/2021             Highland Dallas Foundation, Inc., Respondent Mark Patrick. (Phillips, Louis)

                             2616 (153 pgs; 3 docs) Support/supplemental document (Notice of Filing of Exhibits B
                          and C to the Motion of the Debtor for Entry of an Order (i) Authorizing the Sale and/or
                          Forfeiture of Certain Limited Partnership Interests and Other Rights and (ii) Granting
                          Related Relief) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2537 Motion to sell property free and clear of liens under Section 363(f) (Motion
                          of the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of Certain
                          Limited Partnership Interests and Other Rights and (ii) Granting Related Relief).
                          (Attachments: # 1 Exhibit B--Redacted PetroCap Partnership Agreement # 2 Exhibit C--
   07/28/2021             Redacted SLP Partnership Agreement) (Annable, Zachery)

                            2617 SEALED document regarding: Exhibit B: PetroCap Partnership Agreement
                          per court order filed by Debtor Highland Capital Management, L.P. (RE: related
   07/28/2021             document(s)2604 Order on motion to seal). (Annable, Zachery)

                            2618 SEALED document regarding: Exhibit C: SLP Partnership Agreement per
                          court order filed by Debtor Highland Capital Management, L.P. (RE: related
   07/28/2021             document(s)2604 Order on motion to seal). (Annable, Zachery)

                             2619 (9 pgs) Certificate of service re: Order Granting Debtor's Motion for Entry of an
                          Order Authorizing the Filing Under Seal of Exhibits to the Motion of the Debtor for Entry of
                          an Order (I) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests
                          and Other Rights and (II) Granting Related Relief Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2604 Order granting motion to seal exhibits (related
   07/28/2021             document 2538) Entered on 7/23/2021. (Okafor, M.)). (Kass, Albert)

                             2620 (240 pgs; 2 docs) Motion for 2004 examination of Various entities/persons as set
                          forth fully in the Motion. Filed by Creditor Committee Official Committee of Unsecured
   07/29/2021             Creditors (Attachments: # 1 Exhibit Exhibits 1 to 15) (Montgomery, Paige)

                             2621 (91 pgs; 3 docs) Objection to (related document(s): 2535 Motion to sell Property
                          NOTE: THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL
                          WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry
                          of an Order (i) Authorizing the Sale of Certain Property filed by Debtor Highland Capital
                          Management, L.P.) filed by Interested Party NexPoint Advisors, L.P.. (Attachments: # 1
   07/29/2021             Exhibit A - NexPoint PSA # 2 Exhibit B - PSA Redline) (Berghman, Thomas)


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   07/29/2021                2623 Addendum to record on appeal. Reason for supplemental record: United States Court
                          of Appeals Order 00515933197. Circuit Case 21-10449, Civil Case Number: 3:21-cv-00538-
                          N (RE: related document(s)1957 Notice of appeal . (Whitaker, Sheniqua)

                             2624 (1 pg) Transmittal of addendum to record on appeal to U.S. District Court . Number
                          of appellee records: 5 Sealed Documents (RE: related document(s) 2623 Addendum to record
                          on appeal. Reason for supplemental record: United States Court of Appeals Order
                          00515933197. Circuit Case 21-10449, Civil Case Number: 3:21-cv-00538-N (RE: related
   07/29/2021             document(s)1957 Notice of appeal .) (Whitaker, Sheniqua)

                             2625 (1 pg) Notice of docketing supplemental record on appeal. (RE: related
                          document(s)1957 Notice of appeal . (RE: related document(s)1943 Order confirming chapter
   07/29/2021             11 plan). Civil Case 3:21-CV-00538-N, Circuit Court Case 21-10449 (Whitaker, Sheniqua)

                              2626 (52 pgs; 3 docs) Objection to (related document(s): 2537 Motion to sell property
                          free and clear of liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and Other
                          Rights and (ii) Granting Related Relief filed by Debtor Highland Capital Management, L.P.)
                          filed by Interested Party NexPoint Advisors, L.P.. (Attachments: # 1 Exhibit A - PSA # 2
   07/29/2021             Exhibit B - PSA Redline) (Berghman, Thomas)

                             2627 (2 pgs) Order Granting The Official Committee of Unsecured Creditors' Motion for
                          Leave to File a Brief in Excess of Twenty-Five Page (related document # 2613) Entered on
   07/29/2021             7/29/2021. (Okafor, M.)

                            2628 (5 pgs; 2 docs) Notice of Statement of Amounts Paid to Ordinary Course
                          Professionals for the Period from October 16, 2019 to June 30, 2021 filed by Debtor
   07/29/2021             Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Hayward, Melissa)

                              2629 (3 pgs) Chapter 11 Post-Confirmation Report for the Quarter Ending: June 30, 2021
   07/29/2021             filed by Debtor Highland Capital Management, L.P.. (Hayward, Melissa)

                            2630 (16 pgs) Certificate of service re: 1) Stipulation (A) Amending Scheduling Order
                          and (B) Consolidating and Resolving Certain Matters; and 2) Debtors Amended Notice of
                          Rule 30(b)(6) Deposition to Wick Phillips Gould & Martin, LLP Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2607 Stipulation by Highland
                          Capital Management, L.P. and Highland Capital Management Fund Advisors, L.P. and
                          NexPoint Advisors, L.P.. filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)2345 Order to set hearing). filed by Debtor Highland Capital Management, L.P.,
                          2608 Notice to take deposition of Wick Phillips Gould & Martin, LLP filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   07/29/2021             (Kass, Albert)

                            2631 (3 pgs) Notice to take deposition of Mark Patrick filed by Debtor Highland Capital
   07/30/2021             Management, L.P.. (Annable, Zachery)

                             2632 (137 pgs) Application for compensation Twenty-First Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from June 1, 2021 through
                          June 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period: 6/1/2021 to
                          6/30/2021, Fee: $1,200,401.75, Expenses: $19,123.23. Filed by Attorney Jeffrey Nathan
   07/30/2021             Pomerantz Objections due by 8/20/2021. (Pomerantz, Jeffrey)

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   07/30/2021               2633 (3 pgs) Witness and Exhibit List filed by Interested Party NexPoint Advisors, L.P.
                          (RE: related document(s)2535 Motion to sell Property NOTE: THE PROPERTY TO BE
                          SOLD PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND
                          CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of
                          Certain Property, 2537 Motion to sell property free and clear of liens under Section 363(f)
                          (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of
                          Certain Limited Partnership Interests and Other Rights and (ii) Granting Related Relief).
                          (Berghman, Thomas)

                              2634 (578 pgs; 16 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2535 Motion to sell Property NOTE: THE
                          PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL WILL NOT
                          BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order
                          (i) Authorizing the Sale of Certain Property). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
   07/30/2021             15) (Annable, Zachery)

                             2635 (3 pgs) Witness and Exhibit List filed by Interested Party PetroCap, LLC (RE:
                          related document(s)2537 Motion to sell property free and clear of liens under Section 363(f)
                          (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of
                          Certain Limited Partnership Interests and Other Rights and (ii) Granting Related Relief).
   07/30/2021             (Schultz, Sarah)

                             2636 (600 pgs; 16 docs) Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2537 Motion to sell property free and clear of
                          liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i) Authorizing the
                          Sale and/or Forfeiture of Certain Limited Partnership Interests and Other Rights and (ii)
                          Granting Related Relief). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                          4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                          Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15) (Annable,
   07/30/2021             Zachery)

                             2637 (3 pgs) Notice of hearing filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)2620 Motion for 2004 examination of Various
                          entities/persons as set forth fully in the Motion. Filed by Creditor Committee Official
                          Committee of Unsecured Creditors (Attachments: # 1 Exhibit Exhibits 1 to 15)). Hearing to
                          be held on 8/19/2021 at 09:30 AM at https://us-courts.webex.com/meet/jerniga for 2620,
   07/30/2021             (Montgomery, Paige)

                            2638 (3 pgs) Appellee designation of contents for inclusion in record of appeal filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s 2513 Notice of appeal,
   07/30/2021             (Annable, Zachery).

   07/30/2021                2639 (3 pgs) Certificate of service re: [Customized for Rule 3001(e)(2) or 3001(e)(4)]
                          Notice of Transfer of Claim Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket No.
                          2263] Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2263
                          Assignment/Transfer of Claim. Fee Amount $156. Transfer Agreement 3001 (e) 2
                          Transferors: HarbourVest 2017 Global Fund L.P. (Claim No. 143); HarbourVest 2017 Global
                          AIF L.P. (Claim No. 147); HarbourVest Dover Street IX Investment L.P. (Claim No. 150);
                          HV International VIII Secondary L.P. (Claim No. 153); HarbourVest Skew Base AIF L.P.
                          (Claim No. 154); HarbourVest Partners L.P. (Claim No. 149) To Muck Holdings LLC. Filed
                          by Creditor Muck Holdings LLC. filed by Creditor Muck Holdings LLC). (Kass, Albert)
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                             2640 (8 pgs) Certificate of service re: 1) Fifth Monthly Fee Statement of Deloitte Tax LLP
                          for Compensation for Services Rendered as Tax Services Provider to the Debtor for the
                          Period from January 1, 2021 Through January 31, 2021; 2) Sixth Monthly Fee Statement of
                          Deloitte Tax LLP for Compensation for Services Rendered as Tax Services Provider to the
                          Debtor for the Period from February 1, 2021 Through February 28, 2021; and 3) Sixth
                          Interim Fee Application of FTI Consulting, Inc. as Financial Advisor for the Official
                          Committee of Unsecured Creditors, for Compensation and Reimbursement of Expenses for
                          the Period from March 1, 2021 Through and Including May 31, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)2609 Application for compensation
                          (Fifth Monthly Fee Statement of Deloitte Tax LLP for Compensation for Services Rendered
                          as Tax Services Provider to the Debtor for the Period from January 1, 2021 through January
                          31, 2021) for Deloitte Tax LLP, Other Professional, Period: 1/1/2021 to 1/31/2021, Fee:
                          $11,549.20, Expenses: $0.00. Filed by Other Professional Deloitte Tax LLP filed by Other
                          Professional Deloitte Tax LLP, 2610 Application for compensation (Sixth Monthly Fee
                          Statement of Deloitte Tax LLP for Compensation for Services Rendered as Tax Services
                          Provider to the Debtor for the Period from February 1, 2021 through February 28, 2021) for
                          Deloitte Tax LLP, Other Professional, Period: 2/1/2021 to 2/28/2021, Fee: $4,933.20,
                          Expenses: $0.00. Filed by Other Professional Deloitte Tax LLP filed by Other Professional
                          Deloitte Tax LLP, 2611 Application for compensation Sixth Interim Application for
                          Compensation for FTI Consulting, Inc., Financial Advisor, Period: 3/1/2021 to 5/31/2021,
                          Fee: $339,167.25, Expenses: $0. Filed by Attorney Juliana Hoffman Objections due by
   07/30/2021             8/17/2021. filed by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

                             2641 (16 pgs) Motion to compel Mediation. Filed by Interested Party James Dondero
   08/01/2021             (Taylor, Clay)

                             2642 (5 pgs; 2 docs) Amended Notice of hearing filed by Creditor Committee Official
                          Committee of Unsecured Creditors (RE: related document(s)2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion. Filed by Creditor
                          Committee Official Committee of Unsecured Creditors (Attachments: # 1 Exhibit Exhibits 1
                          to 15)). Hearing to be held on 8/19/2021 at 09:30 AM at https://us-
   08/02/2021             courts.webex.com/meet/jerniga for 2620, (Attachments: # 1 Exhibit) (Hoffman, Juliana)

                            2643 (29 pgs) Application for compensation (Fourth Monthly Fee Application) for
                          Hunton Andrews Kurth LLP, Special Counsel, Period: 3/1/2021 to 3/31/2021, Fee:
                          $37153.08, Expenses: $30.90. Filed by Spec. Counsel Hunton Andrews Kurth LLP
   08/02/2021             Objections due by 8/23/2021. (Hesse, Gregory)

                             2644 (27 pgs) Application for compensation (Fifth Monthly Application) for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 4/1/2021 to 4/30/2021, Fee: $41,936.40,
                          Expenses: $573.69. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections due by
   08/02/2021             8/23/2021. (Hesse, Gregory)

                             2645 (24 pgs) Application for compensation (Sixth Monthly Application) for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 5/1/2021 to 5/31/2021, Fee: $35,841.24,
                          Expenses: $0.00. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections due by
   08/02/2021             8/23/2021. (Hesse, Gregory)

   08/02/2021                2646 (32 pgs) Application for compensation (Seventh Monthly Application) for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 6/1/2021 to 6/30/2021, Fee: $78,401.16,
                          Expenses: $0.00. Filed by Spec. Counsel Hunton Andrews Kurth LLP Objections due by
                          8/23/2021. (Hesse, Gregory)
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.511 423/439



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                             2647 (12 pgs) Certificate of service re: 1) The Official Committee of Unsecured Creditors'
                          Emergency Motion for Leave to File a Brief in Excess of Twenty-Five Pages; 2) Motion for
                          Expedited Consideration on the Official Committee of Unsecured Creditors' Emergency
                          Motion for Leave to File a Brief in Excess of Twenty-Five Pages; and 3) Notice of Filing of
                          Exhibits B and C to the Motion of the Debtor for Entry of an Order (I) Authorizing the Sale
                          and/or Forfeiture of Certain Limited Partnership Interests and Other Rights and (II)
                          Granting Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2613 Motion for leave to File a Brief in Excess of Twenty-Five Pages Filed by
                          Creditor Committee Official Committee of Unsecured Creditors Objections due by
                          8/17/2021. (Attachments: # 1 Proposed Order) filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 2614 Motion for expedited hearing(related documents
                          2613 Motion for leave) Motion for Expedited Consideration on The Official Committee of
                          Unsecured Creditors' Emergency Motion for Leave to File a Brief in Excess of Twenty-Five
                          Pages Filed by Creditor Committee Official Committee of Unsecured Creditors filed by
                          Creditor Committee Official Committee of Unsecured Creditors, 2616 Support/supplemental
                          document (Notice of Filing of Exhibits B and C to the Motion of the Debtor for Entry of an
                          Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and
                          Other Rights and (ii) Granting Related Relief) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2537 Motion to sell property free and clear of
                          liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i) Authorizing the
                          Sale and/or Forfeiture of Certain Limited Partnership Interests and Other Rights and (ii)
                          Granting Related Relief). (Attachments: # 1 Exhibit B--Redacted PetroCap Partnership
                          Agreement # 2 Exhibit C--Redacted SLP Partnership Agreement) filed by Debtor Highland
   08/02/2021             Capital Management, L.P.). (Kass, Albert)

                              2648 (25 pgs; 2 docs) Reply to (related document(s): 2621 Objection filed by Interested
                          Party NexPoint Advisors, L.P.) (Debtor's Reply in Support of Its Motion for Entry of an
                          Order (i) Authorizing the Sale of Certain Real Property and (ii) Granting Related Relief)
                          filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Annable,
   08/02/2021             Zachery)

                            2649 (25 pgs; 2 docs) Reply to (related document(s): 2626 Objection filed by Interested
                          Party NexPoint Advisors, L.P.) (Debtor's Reply in Support of Its Motion for Entry of an
                          Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and
                          Other Rights and (ii) Granting Related Relief) filed by Debtor Highland Capital
   08/02/2021             Management, L.P.. (Attachments: # 1 Exhibit A) (Annable, Zachery)

                            2650 (5 pgs) Joinder by the Official Committee of Unsecured Creditors to the Debtor's
                          Reply and Response filed by Creditor Committee Official Committee of Unsecured Creditors
   08/02/2021             (RE: related document(s)2648 Reply, 2649 Reply). (Hoffman, Juliana)

                             2651 (38 pgs) Application for compensation Monthly Application for Compensation and
                          Reimbursement of Expenses for Sidley Austin LLP for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 6/1/2021 to 6/30/2021, Fee: $464,954.40, Expenses:
                          $12,211.68. Filed by Attorney Juliana Hoffman Objections due by 8/23/2021. (Hoffman,
   08/02/2021             Juliana)

                            2652 (12 pgs; 2 docs) Motion to shorten time to Response Deadline to Rule 2004 Motion
                          (RE: related document(s)2620 Motion for examination) Filed by Creditor Committee Official
                          Committee of Unsecured Creditors Objections due by 8/23/2021. (Attachments: # 1 Proposed
   08/02/2021             Order) (Reid, Penny)

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   08/02/2021               2653 (245 pgs; 2 docs) Amended Witness and Exhibit List filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)2636 List (witness/exhibit/generic)).
                          (Attachments: # 1 Exhibit 18) (Annable, Zachery)

                             2654 (10 pgs; 2 docs) Motion for expedited hearing(related documents 2652 Motion to
                          extend/shorten time) Filed by Creditor Committee Official Committee of Unsecured
   08/02/2021             Creditors (Attachments: # 1 Proposed Order) (Reid, Penny)

                             2655 (3 pgs) Certificate of No Objection filed by Other Professional Hayward PLLC (RE:
                          related document(s)2554 Application for compensation (Thirteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from January 1, 2021 through January 31, 2021) for Hayward PLLC,
   08/03/2021             Debto). (Annable, Zachery)

                              2656 (39 pgs; 3 docs) Amended Reply to (related document(s): 2621 Objection filed by
                          Interested Party NexPoint Advisors, L.P., 2648 Reply filed by Debtor Highland Capital
                          Management, L.P.) (Debtor's Amended Reply in Support of Its Motion for Entry of an Order
                          (i) Authorizing the Sale of Certain Property and (ii) Granting Related Relief) filed by Debtor
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A # 2 Exhibit B) (Annable,
   08/03/2021             Zachery)

                             2657 (26 pgs; 3 docs) Amended Motion to compel Mediation. (related document: 2641)
                          Filed by Interested Party James Dondero (Attachments: # 1 Exhibit UST Questionnaire and
   08/03/2021             Information Sheet (Ex A) # 2 Exhibit Proposed Order (Ex B)) (Taylor, Clay)

                             2658 (12 pgs) Certificate of service re: Documents Served on July 29, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion. Filed by Creditor
                          Committee Official Committee of Unsecured Creditors (Attachments: # 1 Exhibit Exhibits 1
                          to 15) filed by Creditor Committee Official Committee of Unsecured Creditors, 2627 Order
                          Granting The Official Committee of Unsecured Creditors' Motion for Leave to File a Brief in
                          Excess of Twenty-Five Page (related document 2613) Entered on 7/29/2021. (Okafor, M.),
                          2628 Notice of Statement of Amounts Paid to Ordinary Course Professionals for the Period
                          from October 16, 2019 to June 30, 2021 filed by Debtor Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital Management, L.P., 2629
                          Chapter 11 Post-Confirmation Report for the Quarter Ending: June 30, 2021 filed by Debtor
                          Highland Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.).
   08/03/2021             (Kass, Albert)

                             2659 (14 pgs) Objection to (related document(s): 1888 Application for administrative
                          expenses filed by Interested Party NexBank, Interested Party NexBank Capital Inc.,
                          Interested Party NexBank Securities Inc., Interested Party NexBank Title Inc.) filed by
   08/03/2021             Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             2660 (31 pgs) Memorandum Opinion And Order Holding Certain Parties And Their
                          Attorneys In Civil Contempt of Court For Violation Of Bankruptcy Court Orders (RE:
                          related document(s)2247 Motion for order to show cause filed by Debtor Highland Capital
   08/04/2021             Management, L.P.). Entered on 8/4/2021 (Okafor, M.)

                             2661 (3 pgs) Motion to appear pro hac vice for Thomas P. Cimino. Fee Amount $100
   08/04/2021             Filed by Interested Party James Dondero (Taylor, Clay)

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   08/04/2021                2662 (3 pgs) Motion to appear pro hac vice for Michael M. Eidelman. Fee Amount $100
                          Filed by Interested Party James Dondero (Taylor, Clay)

                             2663 (3 pgs) Motion to appear pro hac vice for David L. Kane. Fee Amount $100 Filed
   08/04/2021             by Interested Party James Dondero (Taylor, Clay)

                             2664 (3 pgs) Motion to appear pro hac vice for William W. Thorsness. Fee Amount $100
   08/04/2021             Filed by Interested Party James Dondero (Taylor, Clay)

                             2665 (3 pgs) Motion to appear pro hac vice for Douglas J. Lipke. Fee Amount $100 Filed
   08/04/2021             by Interested Party James Dondero (Taylor, Clay)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/04/2021             ( 100.00). Receipt number 28893951, amount $ 100.00 (re: Doc# 2661). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/04/2021             ( 100.00). Receipt number 28893951, amount $ 100.00 (re: Doc# 2662). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/04/2021             ( 100.00). Receipt number 28893951, amount $ 100.00 (re: Doc# 2663). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/04/2021             ( 100.00). Receipt number 28893951, amount $ 100.00 (re: Doc# 2664). (U.S. Treasury)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/04/2021             ( 100.00). Receipt number 28893951, amount $ 100.00 (re: Doc# 2665). (U.S. Treasury)


                                2666 (1 pg) PDF with attached Audio File. Court Date & Time [08/04/2021 08:49:40
   08/04/2021             AM]. File Size [ 28979 KB ]. Run Time [ 02:03:57 ]. (admin).

                             2667 (1 pg) Court admitted exhibits date of hearing August 4, 2021 (RE: related
                          document(s)2535 Motion to sell Property: THE PROPERTY TO BE SOLD PURSUANT TO
                          THIS MOTION TO SELL WILL NOT BE SOLD FREE AND CLEAR OF LIENS. (Motion
                          of the Debtor for Entry of an Order (i) Authorizing the Sale of Certain Property and (ii)
                          Granting Related Relief), filed by Debtor Highland Capital Management, L.P., (COURT
                          ADMITTED EXHIBIT'S #1, #2, #3, #4, #5, #6, #7, #8, #9, #10, #11, #12, #13, #14 & #15
                          THAT APPEAR AT DEOC. 2634 IN REGARDS TO MAPLE HOLDINGS BY JOHN
   08/04/2021             MORRIS) (Edmond, Michael)

                             2668 (1 pg) Court admitted exhibits date of hearing August 4, 2021 (RE: related
                          document(s)2537 Motion to sell property free and clear of liens under Section 363(f) (Motion
                          of the Debtor for Entry of an Order (i) Authorizing the Sale and/or Forfeiture of Certain
                          Limited Partnership Interests and Other Rights and (ii) Granting Related Relief), filed by
                          Debtor Highland Capital Management, L.P., COURT ADMITTED EXHIBIT'S #1, #2, #3,
                          #4, #5, #6, #7, #8, #9, #10, #11, #12, #13, #14, #15, #16, #17 THAT APPEAR AT DOC.
                          #2636 AND EXHIBIT #18 THAT APPEAR AT DOC. #2653 FOR PETROCAP III; BY
   08/04/2021             JOHN MORRIS) (Edmond, Michael)

   08/04/2021               2669 Hearing held on 8/4/2021. (RE: related document(s)1888 Application for
                          administrative expenses, filed by Interested Parties NexBank, NexBank Capital Inc.,
                          NexBank Securities Inc., NexBank Title Inc.) (Appearances: J. Pomeranz, J. Morris, and G.
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.514 426/439



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                          Demo for Debtor; L. Drawhorn for NexBank; M. Clemente for UCC; T. Berghman and J.
                          Vasek for NexPoint Advisors; C. Taylor and J. Eidelman for J. Dondero; D. Draper for
                          Dugaboy Trust; S. Shultz for PetroCap III purchaser. Nonevidentiary status conference.
                          Parties expect to submit an agreed scheduling order shortly.) (Edmond, Michael)

                             2670 Hearing held on 8/4/2021. (RE: related document(s)2535 Motion to sell Property:
                          THE PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL WILL NOT
                          BE SOLD FREE AND CLEAR OF LIENS (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale of Certain Property and (ii) Granting Related Relief), filed by Debtor
                          Highland Capital Management, L.P., (Appearances: J. Pomeranz, J. Morris, and G. Demo for
                          Debtor; L. Drawhorn for NexBank; M. Clemente for UCC; T. Berghman and J. Vasek for
                          NexPoint Advisors; C. Taylor and J. Eidelman for J. Dondero; D. Draper for Dugaboy Trust;
                          S. Shultz for PetroCap III purchaser. Evidentiary hearing. Objections and counter-bids
   08/04/2021             withdrawn. Motion approved. Counsel to upload order.) (Edmond, Michael)

                             2671 Hearing held on 8/4/2021. (RE: related document(s)2537 Motion to sell property
                          free and clear of liens under Section 363(f) (Motion of the Debtor for Entry of an Order (i)
                          Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and Other
                          Rights and (ii) Granting Related Relief), filed by Debtor Highland Capital Management, L.P.,
                          (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; L. Drawhorn for NexBank;
                          M. Clemente for UCC; T. Berghman and J. Vasek for NexPoint Advisors; C. Taylor and J.
                          Eidelman for J. Dondero; D. Draper for Dugaboy Trust; S. Shultz for PetroCap III purchaser.
                          Evidentiary hearing. Objections and counter-bids withdrawn. Motion approved. Counsel to
   08/04/2021             upload order.) (Edmond, Michael)

                             2672 (1 pg) Request for transcript regarding a hearing held on 8/4/2021. The requested
   08/04/2021             turn-around time is hourly. (Edmond, Michael)

                            2673 (8 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The
                          Dugaboy Investment Trust (RE: related document(s)2599 Order on motion for leave).
   08/04/2021             Appellant Designation due by 08/18/2021. (Attachments: # 1 Exhibit A)(Vasek, Julian)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   08/04/2021             Receipt number 28895617, amount $ 298.00 (re: Doc# 2673). (U.S. Treasury)

   08/04/2021                 2674 (33 pgs) Certificate of service re: Documents Served on July 30, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2631 Notice to take
                          deposition of Mark Patrick filed by Debtor Highland Capital Management, L.P.. filed by
                          Debtor Highland Capital Management, L.P., 2632 Application for compensation Twenty-First
                          Monthly Application for Compensation and for Reimbursement of Expenses for the Period
                          from June 1, 2021 through June 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney,
                          Period: 6/1/2021 to 6/30/2021, Fee: $1,200,401.75, Expenses: $19,123.23. Filed by Attorney
                          Jeffrey Nathan Pomerantz Objections due by 8/20/2021. filed by Debtor Highland Capital
                          Management, L.P., 2634 Witness and Exhibit List filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)2535 Motion to sell Property NOTE: THE
                          PROPERTY TO BE SOLD PURSUANT TO THIS MOTION TO SELL WILL NOT
                          BE SOLD FREE AND CLEAR OF LIENS. (Motion of the Debtor for Entry of an Order
                          (i) Authorizing the Sale of Certain Property). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15) filed by Debtor Highland Capital Management, L.P., 2636 Witness and Exhibit List filed
                          by Debtor Highland Capital Management, L.P. (RE: related document(s)2537 Motion to sell
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                          property free and clear of liens under Section 363(f) (Motion of the Debtor for Entry of an
                          Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and
                          Other Rights and (ii) Granting Related Relief). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                          Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                          15) filed by Debtor Highland Capital Management, L.P., 2637 Notice of hearing filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)2620 Motion for 2004 examination of Various entities/persons as set forth fully
                          in the Motion. Filed by Creditor Committee Official Committee of Unsecured Creditors
                          (Attachments: # 1 Exhibit Exhibits 1 to 15)). Hearing to be held on 8/19/2021 at 09:30 AM at
                          https://us-courts.webex.com/meet/jerniga for 2620, filed by Creditor Committee Official
                          Committee of Unsecured Creditors, 2638 Appellee designation of contents for inclusion in
                          record of appeal filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s 2513 Notice of appeal,. filed by Debtor Highland Capital Management, L.P.).
                          (Kass, Albert)

                              2675 (83 pgs) Transcript regarding Hearing Held 08/04/2021 (83 pages) RE: Status
                          Conference re: Application for Administrative Expenses; Motions to Sell. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                          PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                          11/3/2021. Until that time the transcript may be viewed at the Clerk's Office or a copy may
                          be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related
                          document(s) 2669 Hearing held on 8/4/2021. (RE: related document(s)1888 Application for
                          administrative expenses, filed by Interested Parties NexBank, NexBank Capital Inc.,
                          NexBank Securities Inc., NexBank Title Inc.) (Appearances: J. Pomeranz, J. Morris, and G.
                          Demo for Debtor; L. Drawhorn for NexBank; M. Clemente for UCC; T. Berghman and J.
                          Vasek for NexPoint Advisors; C. Taylor and J. Eidelman for J. Dondero; D. Draper for
                          Dugaboy Trust; S. Shultz for PetroCap III purchaser. Nonevidentiary status conference.
                          Parties expect to submit an agreed scheduling order shortly.), 2670 Hearing held on 8/4/2021.
                          (RE: related document(s)2535 Motion to sell Property: THE PROPERTY TO BE SOLD
                          PURSUANT TO THIS MOTION TO SELL WILL NOT BE SOLD FREE AND CLEAR OF
                          LIENS (Motion of the Debtor for Entry of an Order (i) Authorizing the Sale of Certain
                          Property and (ii) Granting Related Relief), filed by Debtor Highland Capital Management,
                          L.P., (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; L. Drawhorn for
                          NexBank; M. Clemente for UCC; T. Berghman and J. Vasek for NexPoint Advisors; C.
                          Taylor and J. Eidelman for J. Dondero; D. Draper for Dugaboy Trust; S. Shultz for PetroCap
                          III purchaser. Evidentiary hearing. Objections and counter-bids withdrawn. Motion approved.
                          Counsel to upload order.), 2671 Hearing held on 8/4/2021. (RE: related document(s)2537
                          Motion to sell property free and clear of liens under Section 363(f) (Motion of the Debtor for
                          Entry of an Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership
                          Interests and Other Rights and (ii) Granting Related Relief), filed by Debtor Highland Capital
                          Management, L.P., (Appearances: J. Pomeranz, J. Morris, and G. Demo for Debtor; L.
                          Drawhorn for NexBank; M. Clemente for UCC; T. Berghman and J. Vasek for NexPoint
                          Advisors; C. Taylor and J. Eidelman for J. Dondero; D. Draper for Dugaboy Trust; S. Shultz
                          for PetroCap III purchaser. Evidentiary hearing. Objections and counter-bids withdrawn.
                          Motion approved. Counsel to upload order.)). Transcript to be made available to the public on
   08/05/2021             11/3/2021. (Rehling, Kathy)

   08/05/2021                2676 (26 pgs) Certificate of service re: Documents Served on August 2, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2642 Amended
                          Notice of hearing filed by Creditor Committee Official Committee of Unsecured Creditors
                          (RE: related document(s)2620 Motion for 2004 examination of Various entities/persons as set
                          forth fully in the Motion. Filed by Creditor Committee Official Committee of Unsecured
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.516 428/439



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                          Creditors (Attachments: # 1 Exhibit Exhibits 1 to 15)). Hearing to be held on 8/19/2021 at
                          09:30 AM at https://us-courts.webex.com/meet/jerniga for 2620, (Attachments: # 1 Exhibit)
                          filed by Creditor Committee Official Committee of Unsecured Creditors, 2648 Reply to
                          (related document(s): 2621 Objection filed by Interested Party NexPoint Advisors, L.P.)
                          (Debtor's Reply in Support of Its Motion for Entry of an Order (i) Authorizing the Sale of
                          Certain Real Property and (ii) Granting Related Relief) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital
                          Management, L.P., 2649 Reply to (related document(s): 2626 Objection filed by Interested
                          Party NexPoint Advisors, L.P.) (Debtor's Reply in Support of Its Motion for Entry of an
                          Order (i) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership Interests and
                          Other Rights and (ii) Granting Related Relief) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital
                          Management, L.P., 2650 Joinder by the Official Committee of Unsecured Creditors to the
                          Debtor's Reply and Response filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)2648 Reply, 2649 Reply). filed by Creditor Committee
                          Official Committee of Unsecured Creditors, 2651 Application for compensation Monthly
                          Application for Compensation and Reimbursement of Expenses for Sidley Austin LLP for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 6/1/2021 to
                          6/30/2021, Fee: $464,954.40, Expenses: $12,211.68. Filed by Attorney Juliana Hoffman
                          Objections due by 8/23/2021. filed by Creditor Committee Official Committee of Unsecured
                          Creditors, 2652 Motion to shorten time to Response Deadline to Rule 2004 Motion (RE:
                          related document(s)2620 Motion for examination) Filed by Creditor Committee Official
                          Committee of Unsecured Creditors Objections due by 8/23/2021. (Attachments: # 1 Proposed
                          Order) filed by Creditor Committee Official Committee of Unsecured Creditors, 2653
                          Amended Witness and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2636 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 18) filed
                          by Debtor Highland Capital Management, L.P., 2654 Motion for expedited hearing(related
                          documents 2652 Motion to extend/shorten time) Filed by Creditor Committee Official
                          Committee of Unsecured Creditors (Attachments: # 1 Proposed Order) filed by Creditor
                          Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                            2678 (11 pgs) Order approving stipulation (A) amending schedule and (B) consolidating
                          and resolving certain matters (RE: related document(s)2607 Stipulation filed by Debtor
                          Highland Capital Management, L.P.). Trial in the Adversary Proceeding (including on the
                          Advisors Admin Claim) is set for December 7 and 8, 2021 at 9:30 a.m. (Central Time),
   08/06/2021             Entered on 8/6/2021 (Okafor, M.)

                            2679 (3 pgs) Certificate Certificate of Conference filed by Interested Party James
                          Dondero (RE: related document(s)2657 Amended Motion to compel Mediation. (related
   08/06/2021             document: 2641)). (Taylor, Clay)

   08/06/2021                 2680 (20 pgs) Certificate of service re: 1) Debtor's Amended Reply in Support of its
                          Motion for Entry of an Order (I) Authorizing the Sale of Certain Property and (II) Granting
                          Related Relief; and 2) Debtor's Objection to Application for Administrative Claim of
                          NexBank Capital Inc., NexBank Securities, Inc., NexBank Title, Inc., and NexBank Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2656 Amended Reply
                          to (related document(s): 2621 Objection filed by Interested Party NexPoint Advisors, L.P.,
                          2648 Reply filed by Debtor Highland Capital Management, L.P.) (Debtor's Amended Reply
                          in Support of Its Motion for Entry of an Order (i) Authorizing the Sale of Certain Property
                          and (ii) Granting Related Relief) filed by Debtor Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A # 2 Exhibit B) filed by Debtor Highland Capital Management,
                          L.P., 2659 Objection to (related document(s): 1888 Application for administrative expenses
                          filed by Interested Party NexBank, Interested Party NexBank Capital Inc., Interested Party

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                          NexBank Securities Inc., Interested Party NexBank Title Inc.) filed by Debtor Highland
                          Capital Management, L.P.. filed by Debtor Highland Capital Management, L.P.). (Kass,
                          Albert)

                            2681 (1 pg) Order granting motion to appear pro hac vice adding Thomas P. Cimino for
   08/06/2021             James Dondero (related document # 2661) Entered on 8/6/2021. (Okafor, M.)

                            2682 (1 pg) Order granting motion to appear pro hac vice adding Michael E. Eidelman for
   08/06/2021             James Dondero (related document # 2662) Entered on 8/6/2021. (Okafor, M.)

                            2683 (1 pg) Order granting motion to appear pro hac vice adding David L. Kane for
   08/06/2021             James Dondero (related document # 2663) Entered on 8/6/2021. (Okafor, M.)

                             2684 (1 pg) Order granting motion to appear pro hac vice adding William W. Thorsness
   08/06/2021             for James Dondero (related document # 2664) Entered on 8/6/2021. (Okafor, M.)

                            2685 (1 pg) Order granting motion to appear pro hac vice adding Douglas J. Lipke for
   08/06/2021             James Dondero (related document # 2665) Entered on 8/6/2021. (Okafor, M.)

                             2686 (5 pgs) Second Agreed Supplemental Order authorizing the retention and
                          employment of Hunt Andrews Kurth LLP as special counsel nunc pro tunc to the petition
                          date (RE: related document(s)1169 Agreed Supplemental Order authorizing the retention and
                          employment of Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the
                          petition date (RE: related document(s)763 Order on application to employ). Entered on
   08/06/2021             8/6/2021 (Okafor, M.)

                            2687 (32 pgs) Order approving Debtors Motion for Entry of an Order (i)Authorizing the
                          Sale of Certain Property and (ii) Granting Related Relief (related document # 2535) Entered
   08/06/2021             on 8/6/2021. (Okafor, M.)

                             2688 (3 pgs) Order granting the Committee's Emergency Motion to Set Briefing Schedule
                          for Motion of the Official Committee of Unsecured Creditors and the Litigation Advisor for
                          Entry of an Order Authorizing the Examination of Rule 2004 Parties Pursuant to Rule 2004
                          of the Federal Rules of Bankruptcy Procedure (Re: related document(s) 2652 Motion to
                          shorten time to Response Deadline to Rule 2004 Motion (RE: related document(s)2620
   08/06/2021             Motion for examination)) Entered on 8/6/2021. (Okafor, M.)

                            2689 (11 pgs) Certificate of service re: Memorandum Opinion and Order Holding Certain
                          Parties and Their Attorneys in Civil Contempt of Court for Violation of Bankruptcy Court
                          Orders Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2660
                          Memorandum Opinion And Order Holding Certain Parties And Their Attorneys In Civil
                          Contempt of Court For Violation Of Bankruptcy Court Orders (RE: related document(s)2247
                          Motion for order to show cause filed by Debtor Highland Capital Management, L.P.).
   08/06/2021             Entered on 8/4/2021 (Okafor, M.)). (Kass, Albert)

                            2690 (46 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2660
                          Memorandum Opinion And Order Holding Certain Parties And Their Attorneys In Civil
                          Contempt of Court For Violation Of Bankruptcy Court Orders (RE: related document(s)2247
                          Motion for order to show cause filed by Debtor Highland Capital Management, L.P.).
   08/06/2021             Entered on 8/4/2021 (Okafor, M.)) No. of Notices: 3. Notice Date 08/06/2021. (Admin.)

   08/08/2021                 2691 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2681
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.518 430/439



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                          Order granting motion to appear pro hac vice adding Thomas P. Cimino for James Dondero
                          (related document 2661) Entered on 8/6/2021. (Okafor, M.)) No. of Notices: 1. Notice Date
                          08/08/2021. (Admin.)

                            2692 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2682
                          Order granting motion to appear pro hac vice adding Michael E. Eidelman for James
                          Dondero (related document 2662) Entered on 8/6/2021. (Okafor, M.)) No. of Notices: 1.
   08/08/2021             Notice Date 08/08/2021. (Admin.)

                             2693 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2683
                          Order granting motion to appear pro hac vice adding David L. Kane for James Dondero
                          (related document 2663) Entered on 8/6/2021. (Okafor, M.)) No. of Notices: 1. Notice Date
   08/08/2021             08/08/2021. (Admin.)

                            2694 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2684
                          Order granting motion to appear pro hac vice adding William W. Thorsness for James
                          Dondero (related document 2664) Entered on 8/6/2021. (Okafor, M.)) No. of Notices: 1.
   08/08/2021             Notice Date 08/08/2021. (Admin.)

                             2695 (17 pgs) Application for compensation Twentieth Monthly Application for
                          Compensation for FTI Consulting, Inc., Financial Advisor, Period: 6/1/2021 to 6/30/2021,
                          Fee: $80,105.04, Expenses: $0. Filed by Attorney Juliana Hoffman Objections due by
   08/09/2021             8/30/2021. (Hoffman, Juliana)

                            2696 (31 pgs; 3 docs) Adversary case 21-03051. Complaint by James Dondero against
                          Alvarez & Marsal CRF Management, LLC and Farallon Capital Management, L.L.C.. Fee
                          Amount $350 (Attachments: # 1 Appendix # 2 Adversary Cover Sheet). Nature(s) of suit: 01
   08/09/2021             (Determination of removed claim or cause). (Rosenthal, Michael)

                             2697 (4 pgs) Assignment/Transfer of Claim. Fee Amount $52. Transfer Agreement 3001
                          (e) 2 Transferors: UBS Securities LLC and UBS AG London Branch (Claim No. 190,
                          Amount $32,175,000.00); UBS Securities LLC and UBS AG London Branch (Claim No.
                          191, Amount $18,000,000.00) To Jessup Holdings LLC. Filed by Creditor Jessup Holdings
   08/09/2021             LLC. (Leen, Edward)

                             2698 (4 pgs) Assignment/Transfer of Claim. Fee Amount $52. Transfer Agreement 3001
                          (e) 2 Transferors: UBS Securities LLC and UBS AG London Branch (Claim No. 190,
                          Amount $32,175,000.00); UBS Securities LLC and UBS AG London Branch (Claim No.
                          191, Amount $18,000,000.00) To Muck Holdings LLC. Filed by Creditor Muck Holdings
   08/09/2021             LLC. (Leen, Edward)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 52.00). Receipt number 28905213, amount $ 52.00 (re: Doc# 2697). (U.S.
   08/09/2021             Treasury)

                             Receipt of filing fee for Assignment/Transfer of claim (Claims Agent)(19-34054-sgj11)
                          [claims,trclmagt] ( 52.00). Receipt number 28905213, amount $ 52.00 (re: Doc# 2698). (U.S.
   08/09/2021             Treasury)

   08/10/2021                2699 (17 pgs) Order granting motion of the Debtor for entry of an order (i) Authorizing
                          the sale and/or forfeiture of certain limited partnership interests and other rights and (ii)
                          Granting related relief (related document # 2537) Entered on 8/10/2021. (Rielly, Bill)
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                              2700 (4 pgs) Notice (Notice of Occurrence of Effective Date of Confirmed Fifth Amended
                          Plan of Reorganization of Highland Capital Management, L.P.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)1943 Order confirming the fifth amended
                          chapter 11 plan, as modified and granting related relief (RE: related document(s)1472
                          Chapter 11 plan filed by Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan
                          filed by Debtor Highland Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)).
   08/11/2021             (Annable, Zachery)

                             2701 (4 pgs) Certificate of No Objection filed by Other Professional Teneo Capital, LLC
                          (RE: related document(s)2586 Application for compensation of Teneo Capital, LLC as
                          Litigation Advisor for Official Committee of Unsecured Creditors, Other Professional,
   08/11/2021             Period: 4/15/2021 to 6/30/2021, Fee: $80,000.00, Expenses: $118.89.). (Hoffman, Juliana)

                             2702 (16 pgs) Certificate of service re: Documents Served on August 6, 2021 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)2678 Order approving
                          stipulation (A) amending schedule and (B) consolidating and resolving certain matters (RE:
                          related document(s)2607 Stipulation filed by Debtor Highland Capital Management, L.P.).
                          Trial in the Adversary Proceeding (including on the Advisors Admin Claim) is set for
                          December 7 and 8, 2021 at 9:30 a.m. (Central Time), Entered on 8/6/2021 (Okafor, M.), 2686
                          Second Agreed Supplemental Order authorizing the retention and employment of Hunt
                          Andrews Kurth LLP as special counsel nunc pro tunc to the petition date (RE: related
                          document(s)1169 Agreed Supplemental Order authorizing the retention and employment of
                          Hunton Andrews Kurth LLP as Special Counsel Nunc Pro Tunc to the petition date (RE:
                          related document(s)763 Order on application to employ). Entered on 8/6/2021 (Okafor, M.),
                          2687 Order approving Debtors Motion for Entry of an Order (i)Authorizing the Sale of
                          Certain Property and (ii) Granting Related Relief (related document 2535) Entered on
                          8/6/2021. (Okafor, M.), 2688 Order granting the Committee's Emergency Motion to Set
                          Briefing Schedule for Motion of the Official Committee of Unsecured Creditors and the
                          Litigation Advisor for Entry of an Order Authorizing the Examination of Rule 2004 Parties
                          Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (Re: related
                          document(s) 2652 Motion to shorten time to Response Deadline to Rule 2004 Motion (RE:
                          related document(s)2620 Motion for examination)) Entered on 8/6/2021. (Okafor, M.)).
   08/11/2021             (Kass, Albert)

                             2703 (3 pgs) Certificate of No Objection filed by Other Professional Hayward PLLC (RE:
                          related document(s)2595 Application for compensation (Fourteenth Monthly Application for
                          Compensation and Reimbursement of Expenses of Hayward PLLC as Local Counsel to the
                          Debtor for the Period from February 1, 2021 through February 28, 2021) for Hayward
   08/12/2021             PLLC, Deb). (Annable, Zachery)

                             2704 (5 pgs) Certificate of service re: Twentieth Monthly Application of FTI Consulting,
                          Inc. for Allowance of Compensation and Reimbursement of Expenses for the Period from
                          June 1, 2021 to and Including June 30, 2021 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)2695 Application for compensation Twentieth Monthly
                          Application for Compensation for FTI Consulting, Inc., Financial Advisor, Period: 6/1/2021
                          to 6/30/2021, Fee: $80,105.04, Expenses: $0. Filed by Attorney Juliana Hoffman Objections
   08/12/2021             due by 8/30/2021. filed by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)

   08/13/2021               2706 (13 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related
                          document(s)2673 Notice of appeal . filed by Interested Parties Highland Capital Management
                          Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The Dugaboy Investment Trust (RE:

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                          related document(s)2599 Order on motion for leave). (Attachments: # 1 Service List)
                          (Whitaker, Sheniqua)

                             2707 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District
                          Court. (RE: related document(s)2673 Notice of appeal . filed by Interested Parties Highland
                          Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The Dugaboy
                          Investment Trust (RE: related document(s)2599 Order on motion for leave). Appellant
   08/13/2021             Designation due by 08/18/2021. (Attachments: # 1 Exhibit A)) (Whitaker, Sheniqua)

                            2708 (35 pgs) Notice of docketing notice of appeal. Civil Action Number: 3:21-cv-
                          01895-D. (RE: related document(s)2673 Notice of appeal . filed by Interested Parties
                          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The
                          Dugaboy Investment Trust (RE: related document(s)2599 Order on motion for leave).
   08/13/2021             (Attachments: # 1 Exhibit A)) (Whitaker, Sheniqua)

                             2709 (15 pgs) Certificate of service re: Order Approving Motion of the Debtor for Entry
                          of an Order (I) Authorizing the Sale and/or Forfeiture of Certain Limited Partnership
                          Interests and Other Rights and (II) Granting Related Relief Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)2699 Order granting motion of the Debtor for
                          entry of an order (i) Authorizing the sale and/or forfeiture of certain limited partnership
                          interests and other rights and (ii) Granting related relief (related document 2537) Entered on
   08/13/2021             8/10/2021.). (Kass, Albert)

                            2710 (41 pgs) Application for compensation - Eighth Monthly Fee Application for
                          Hunton Andrews Kurth LLP, Special Counsel, Period: 7/1/2021 to 7/31/2021, Fee:
                          $161,981.82, Expenses: $1,100.68. Filed by Spec. Counsel Hunton Andrews Kurth LLP
   08/16/2021             Objections due by 9/7/2021. (Hesse, Gregory)

                             2711 (3 pgs) Motion to appear pro hac vice for Blaire Cahn. Fee Amount $100 Filed by
                          Interested Party Matthew DiOrio, Scott Ellington, Isaac Leventon, Mary Kathryn Lucas (nee
   08/16/2021             Irving), John Paul Sevilla, Stephanie Vitiello, and Frank Waterhouse (Smith, Frances)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/16/2021             ( 100.00). Receipt number 28921283, amount $ 100.00 (re: Doc# 2711). (U.S. Treasury)

                            2712 (35 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Interested Party James
                          Dondero (RE: related document(s)2660 Memorandum of opinion). Appellant Designation
   08/16/2021             due by 08/30/2021. (Attachments: # 1 Ex. 1 - Order)(Assink, Bryan)

                            Receipt of filing fee for Notice of appeal(19-34054-sgj11) [appeal,ntcapl] ( 298.00).
   08/16/2021             Receipt number 28921379, amount $ 298.00 (re: Doc# 2712). (U.S. Treasury)

                            2713 (4 pgs) Notice of appeal by The Charitable DAF Fund, L.P., CLO Holdco, Ltd.,
                          Mark Patrick, Sbaiti & Company PLLC, Mazin A. Sbaiti, Jonathan Bridges. Fee Amount
                          $298 filed by Interested Parties CLO Holdco, Ltd., Charitable DAF Fund, LP. Appellant
   08/16/2021             Designation due by 08/30/2021. (Sbaiti, Mazin)

                            2714 (128 pgs; 2 docs) Objection to (related document(s): 2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion. filed by Creditor
                          Committee Official Committee of Unsecured Creditors) filed by Interested Party James
   08/16/2021             Dondero. (Attachments: # 1 Ex. A - Transcript) (Taylor, Clay)

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   08/16/2021                2715 (21 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors) filed by Dolomiti LLC, Dana Scott Breault, SLHC Trust,
                          The Get Good Non Exempt Trust No 2, Get Good Non Exempt Trust No 1, The Dondero
                          Insurance Rabbi Trust, Get Better Trust, Canis Minor Trust, Get Good Trust, The Dugaboy
                          Investment Trust. (Draper, Douglas)

                            2716 (4 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors) filed by Interested Parties NexPoint Advisors GP, LLC,
   08/16/2021             Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.. (Vasek, Julian)

                            2717 (5 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors) filed by Interested Party NexPoint Strategic
   08/16/2021             Opportunities Fund. (Hogewood, A.)

                            2718 (32 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors)Objection To The Motion Of The Official Committee Of
                          Unsecured Creditors And The Litigation Advisor For Entry Of An Order filed by Highland
                          Dallas Foundation, Inc., Charitable DAF GP, L.P., Charitable DAF HoldCo, Ltd., Interested
   08/16/2021             Party Charitable DAF Fund, LP. (Phillips, Louis)

                             2719 (4 pgs) Notice of Appearance and Request for Notice by Cortney C. Thomas filed
                          by Interested Parties Okada Family Foundation, Inc., The Okada Insurance Rabbi Trust, The
                          Mark & Pamela Okada Family Trust - Exempt Trust #2, The Mark & Pamela Okada Family
   08/16/2021             Trust - Exempt Trust #1, Mark Okada. (Thomas, Cortney)

                             2720 (3 pgs) Motion to appear pro hac vice for Brian Glueckstein. Fee Amount $100
                          Filed by Interested Parties Mark Okada, Okada Family Foundation, Inc., The Mark & Pamela
                          Okada Family Trust - Exempt Trust #1, The Mark & Pamela Okada Family Trust - Exempt
   08/16/2021             Trust #2, The Okada Insurance Rabbi Trust (Thomas, Cortney)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/16/2021             ( 100.00). Receipt number 28921800, amount $ 100.00 (re: Doc# 2720). (U.S. Treasury)

                            2721 (6 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors) filed by Interested Parties Mark Okada, Okada Family
                          Foundation, Inc., The Mark & Pamela Okada Family Trust - Exempt Trust #1, The Mark &
                          Pamela Okada Family Trust - Exempt Trust #2, The Okada Insurance Rabbi Trust. (Thomas,
   08/16/2021             Cortney)

   08/16/2021                2722 (4 pgs) Joinder by NexPoint RE Entities' to Objections to 2004 Motion filed by
                          Interested Parties NexPoint Hospitality Trust, NexPoint Multifamily Capital Trust, Inc.,
                          NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III, L.P., NexPoint
                          Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P., NexPoint Real Estate
                          Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real Estate Advisors
                          VIII, L.P., NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Finance Inc., NexPoint
                          Residential Trust, Inc., Nexpoint Real Estate Capital, LLC, VineBrook Homes, Trust, Inc.,
                          Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC (RE: related
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                          document(s)2620 Motion for 2004 examination of Various entities/persons as set forth fully
                          in the Motion., 2714 Objection, 2715 Objection, 2716 Objection). (Drawhorn, Lauren)

                            2723 (26 pgs; 2 docs) Objection to (related document(s): 2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion. filed by Creditor
                          Committee Official Committee of Unsecured Creditors)and Reservation of Rights filed by
   08/16/2021             Witness Nancy Dondero. (Attachments: # 1 Exhibit A) (Deitsch-Perez, Deborah)

                            2724 (34 pgs; 2 docs) Objection to (related document(s): 2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion. filed by Creditor
                          Committee Official Committee of Unsecured Creditors)Objection To The Motion Of The
                          Official Committee Of Unsecured Creditors And The Litigation Advisor For Entry Of An
                          Order filed by Interested Parties Mary Jalonick, Highland Kansas City Foundation, Inc.,
                          Highland Santa Barbara Foundation, Inc., The Greater Kansas City Community Foundation,
                          The Santa Barbara Foundation, The Dallas Foundation. (Attachments: # 1 Publication
   08/16/2021             Regarding Ms. Jalonicks Service) (Phillips, Louis)

                             2725 (4 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
                          Committee of Unsecured Creditors) filed by Interested Party Matthew DiOrio, Scott
                          Ellington, Isaac Leventon, Mary Kathryn Lucas (nee Irving), John Paul Sevilla, Stephanie
   08/16/2021             Vitiello, and Frank Waterhouse. (Smith, Frances)

                            2726 (15 pgs) Objection to (related document(s): 2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion. filed by Creditor Committee Official
   08/16/2021             Committee of Unsecured Creditors) filed by Creditor Grant James Scott III. (Kane, John)

                             2727 (6 pgs) Certificate of service re: Reservation of Rights Regarding Motion of the
                          Official Committee of Unsecured Creditors and the Litigation Advisor for Entry of an Order
                          Authorizing the Examination of Rule 2004 Parties Pursuant to Rule 2004 of the Federal
                          Rules of Bankruptcy Procedure filed by Interested Party Matthew DiOrio, Scott Ellington,
                          Isaac Leventon, Mary Kathryn Lucas (nee Irving), John Paul Sevilla, Stephanie Vitiello, and
   08/17/2021             Frank Waterhouse (RE: related document(s)2725 Objection). (Soderlund, Eric)

                             2728 (3 pgs) Motion to appear pro hac vice for Susheel Kirpalani. Fee Amount $100
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Montgomery,
   08/17/2021             Paige) MODIFIED attorney name on 8/19/2021 (Okafor, M.).

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/17/2021             ( 100.00). Receipt number 28924194, amount $ 100.00 (re: Doc# 2728). (U.S. Treasury)

                             2729 (3 pgs) Motion to appear pro hac vice for Benjamin Finestone. Fee Amount $100
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Montgomery,
   08/17/2021             Paige)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/17/2021             ( 100.00). Receipt number 28924291, amount $ 100.00 (re: Doc# 2729). (U.S. Treasury)

                             2730 (3 pgs) Motion to appear pro hac vice for Deborah Newman. Fee Amount $100
                          Filed by Creditor Committee Official Committee of Unsecured Creditors (Montgomery,
   08/17/2021             Paige)

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   08/17/2021                Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
                          ( 100.00). Receipt number 28924312, amount $ 100.00 (re: Doc# 2730). (U.S. Treasury)

                            2731 (3 pgs) Motion to appear pro hac vice for Jordan Harap. Fee Amount $100 Filed by
   08/17/2021             Creditor Committee Official Committee of Unsecured Creditors (Montgomery, Paige)

                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac]
   08/17/2021             ( 100.00). Receipt number 28924326, amount $ 100.00 (re: Doc# 2731). (U.S. Treasury)

                            2732 (3 pgs) Witness and Exhibit List for August 19, 2021 Hearing filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)2620
                          Motion for 2004 examination of Various entities/persons as set forth fully in the Motion.).
   08/17/2021             (Montgomery, Paige)

                             2733 (39 pgs; 3 docs) Witness and Exhibit List filed by Creditor Grant James Scott III
                          (RE: related document(s)2620 Motion for 2004 examination of Various entities/persons as set
   08/17/2021             forth fully in the Motion.). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (Kane, John)

                            2734 (30 pgs) Application for compensation - Ninth Monthly Fee Application for Hunton
                          Andrews Kurth LLP, Special Counsel, Period: 8/1/2021 to 8/11/2021, Fee: $59,205.24,
                          Expenses: $169.36. Filed by Attorney Gregory Getty Hesse, Spec. Counsel Hunton Andrews
   08/17/2021             Kurth LLP Objections due by 9/7/2021. (Hesse, Gregory)

                             2735 (501 pgs; 19 docs) Witness and Exhibit List filed by Interested Party Highland
                          Dallas Foundation, Inc. (RE: related document(s)2620 Motion for 2004 examination of
                          Various entities/persons as set forth fully in the Motion.). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 #
                          9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 #
   08/17/2021             15 Exhibit 27 # 16 28 # 17 Exhibit 36 # 18 Exhibit 37) (Phillips, Louis)

                             2736 (21 pgs) Certificate of service re: Motion for Order on Rule 2004 Parties, Notice of
                          Hearing on Motion for Order on Rule 2004 Parties, Amended Notice of Hearing on Motion
                          for Order on Rule 2004 Parties, Motion to Set Briefing Schedule on Motion for Order on
                          Rule 2004 Parties, Motion for Expedited Consideration on Motion to Set Briefing Schedule
                          on Motion for Order on Rule 2004 Parties, Order Granting Emergency Motion to Set
                          Briefing Schedule, Motion for Leave to File Brief in Excess of 25-pages, Motion for
                          Expediated Consideration of Motion for Leave, Order Granting Leave to File Brief in Excess
                          of 25-pages filed by Creditor Committee Official Committee of Unsecured Creditors (RE:
                          related document(s)2613 Motion for leave to File a Brief in Excess of Twenty-Five Pages,
                          2614 Motion for expedited hearing(related documents 2613 Motion for leave) Motion for
                          Expedited Consideration on The Official Committee of Unsecured Creditors' Emergency
                          Motion for Leave to File a Brief in Excess of Twenty-Five Pages, 2620 Motion for 2004
                          examination of Various entities/persons as set forth fully in the Motion., 2627 Order on
                          motion for leave, 2637 Notice of hearing, 2642 Notice of hearing, 2652 Motion to shorten
                          time to Response Deadline to Rule 2004 Motion (RE: related document(s)2620 Motion for
                          examination), 2654 Motion for expedited hearing(related documents 2652 Motion to
   08/17/2021             extend/shorten time) , 2688 Order on motion to extend/shorten time). (Montgomery, Paige)

   08/18/2021                2737 (2192 pgs; 37 docs) Witness and Exhibit List filed by Interested Party James
                          Dondero (RE: related document(s)2620 Motion for 2004 examination of Various
                          entities/persons as set forth fully in the Motion.). (Attachments: # 1 Dondero Ex. A # 2
                          Dondero Ex. B # 3 Dondero Ex. C # 4 Dondero Ex. D # 5 Dondero Ex. E # 6 Dondero Ex. F
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                          # 7 Dondero Ex. G # 8 Dondero Ex. H # 9 Dondero Ex. I # 10 Dondero Ex. J # 11 Dondero
                          Ex. K # 12 Dondero Ex. L # 13 Dondero Ex. M # 14 Dondero Ex. N # 15 Dondero Ex. O #
                          16 Dondero Ex. P # 17 Dondero Ex. Q # 18 Dondero Ex. R # 19 Dondero Ex. S # 20
                          Dondero Ex. T # 21 Dondero Ex. U # 22 Dondero Ex. V # 23 Dondero Ex. W # 24 Dondero
                          Ex. X # 25 Dondero Ex. Y # 26 Dondero Ex. Z # 27 Dondero Ex. AA # 28 Dondero Ex. BB
                          # 29 Dondero Ex. CC # 30 Dondero Ex. DD # 31 Dondero Ex. EE # 32 Dondero Ex. FF # 33
                          Dondero Ex. GG # 34 Dondero Ex. HH # 35 Dondero Ex. II # 36 Dondero Ex. JJ) (Assink,
                          Bryan)

                             2738 (6 pgs) Appellant designation of contents for inclusion in record on appeal filed by
                          Interested Parties Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,
                          L.P., Creditor The Dugaboy Investment Trust (RE: related document(s)2673 Notice of
   08/18/2021             appeal). Appellee designation due by 09/1/2021. (Vasek, Julian)

                             2739 (4 pgs) Statement of issues on appeal, filed by Interested Parties Highland Capital
                          Management Fund Advisors, L.P., NexPoint Advisors, L.P., Creditor The Dugaboy
   08/18/2021             Investment Trust (RE: related document(s)2673 Notice of appeal). (Vasek, Julian)

                             2740 (3 pgs) Witness and Exhibit List filed by Witness Nancy Dondero (RE: related
                          document(s)2620 Motion for 2004 examination of Various entities/persons as set forth fully
   08/18/2021             in the Motion.). (Deitsch-Perez, Deborah)

                             2741 (13 pgs; 2 docs) Omnibus Reply to (related document(s): 2714 Objection filed by
                          Interested Party James Dondero) filed by Interested Party Litigation Trustee of the Highland
                          Capital Management, L.P. Litigation Sub-Trust. (Attachments: # 1 Proposed Order)
   08/18/2021             (Montgomery, Paige)

                             2742 (122 pgs) Application for compensation Twenty-Second Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
                          Counsel to the Debtor for the Period from July 1, 2021 through July 31, 2021 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 7/1/2021 to 7/31/2021, Fee: $1,275,026.00,
                          Expenses: $25,276.19. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
   08/18/2021             9/8/2021. (Pomerantz, Jeffrey)

                             2743 (14 pgs; 2 docs) Notice of Agreed Order filed by Interested Party Litigation Trustee
                          of the Highland Capital Management, L.P. Litigation Sub-Trust (RE: related
                          document(s)2620 Motion for 2004 examination of Various entities/persons as set forth fully
                          in the Motion. Filed by Creditor Committee Official Committee of Unsecured Creditors
                          (Attachments: # 1 Exhibit Exhibits 1 to 15)). (Attachments: # 1 Exhibit A-Proposed Order)
   08/18/2021             (Montgomery, Paige)

                             2744 (1 pg) Order granting motion to appear pro hac vice adding Blaire Cahn for
                          Matthew DiOrio, Scott Ellington, Isaac Leventon, Mary Kathryn Lucas (nee Irving), John
                          Paul Sevilla, Stephanie Vitiello, and Frank Waterhouse (related document # 2711) Entered on
   08/19/2021             8/19/2021. (Okafor, M.)

                            2745 (1 pg) Order granting motion to appear pro hac vice adding Brian D. Glueckstein for
                          The Mark & Pamela Okada Family Trust - Exempt Trust #1; The Mark & Pamela Okada
                          Family Trust - Exempt Trust #2; The Okada Insurance Rabbi Trust; Mark Okada and Okada
   08/19/2021             Family Foundation, Inc. (related document # 2720) Entered on 8/19/2021. (Okafor, M.)

   08/19/2021                 2746 Hearing held on 8/19/2021. (RE: related document(s)2620 Motion for 2004
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                          examination of Various entities/persons as set forth fully in the Motion, filed by Creditor
                          Committee Official Committee of Unsecured Creditors; (Appearances: J. Pomeranz for
                          Debtor; P. Montgomery and D. Newman for Litigation Trustee, M. Kirschner; L. Phillips for
                          CLO Holdco. Nonevidentiary announcement of an agreed order. Counsel to upload order.)
                          (Edmond, Michael)

                             2747 (175 pgs) Certificate of service re: Notice of Occurrence of Effective Date of
                          Confirmed Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)2700 Notice
                          (Notice of Occurrence of Effective Date of Confirmed Fifth Amended Plan of Reorganization
                          of Highland Capital Management, L.P.) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)1943 Order confirming the fifth amended chapter 11 plan, as
                          modified and granting related relief (RE: related document(s)1472 Chapter 11 plan filed by
                          Debtor Highland Capital Management, L.P., 1808 Chapter 11 plan filed by Debtor Highland
                          Capital Management, L.P.). Entered on 2/22/2021 (Okafor, M.)). filed by Debtor Highland
   08/19/2021             Capital Management, L.P.). (Kass, Albert)

                            2748 (13 pgs) Motion to extend time to Remove Actions Pursuant to 28 U.S.C. 1452 and
                          Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related document(s)2453
                          Order on motion to extend/shorten time) Filed by Debtor Highland Capital Management, L.P.
   08/19/2021             (Annable, Zachery)

                             2749 (5 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)2748 Motion to extend time to Remove Actions Pursuant to 28 U.S.C.
                          1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure (RE: related
                          document(s)2453 Order on motion to extend/shorten time) Filed by Debtor Highland Capital
                          Management, L.P.). Hearing to be held on 9/13/2021 at 02:30 PM at https://us-
   08/19/2021             courts.webex.com/meet/jerniga for 2748, (Annable, Zachery)

                             2750 (8 pgs) Agreed Order granting motion for 2004 examination of various
                          entities/persons as set forth fully in the Motion (related doc # 2620) Entered on 8/20/2021.
   08/20/2021             (Okafor, M.)

                             2751 (12 pgs) Certificate of service re: The Litigation Trustees Witness and Exhibit List
                          for August 19, 2021 Hearing Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)2732 Witness and Exhibit List for August 19, 2021 Hearing filed by
                          Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)2620 Motion for 2004 examination of Various entities/persons as set forth fully
                          in the Motion.). filed by Creditor Committee Official Committee of Unsecured Creditors).
   08/20/2021             (Kass, Albert)

   08/20/2021                2752 (16 pgs) Certificate of service re: 1) Omnibus Reply of the Litigation Trustee in
                          Support of Motion for Entry of an Order Authorizing the Examination of Rule 2004 Parties
                          Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure; and 2) Twenty-Second
                          Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang
                          Ziehl & Jones LLP as Counsel to the Debtor for the Period from July 1, 2021 Through July
                          31, 2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)2741 Omnibus Reply to (related document(s): 2714 Objection filed by Interested
                          Party James Dondero) filed by Interested Party Litigation Trustee of the Highland Capital
                          Management, L.P. Litigation Sub-Trust. (Attachments: # 1 Proposed Order) filed by
                          Interested Party Litigation Trustee of the Highland Capital Management, L.P. Litigation Sub-
                          Trust, 2742 Application for compensation Twenty-Second Monthly Application for
                          Compensation and for Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as
https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.526 438/439



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                          Counsel to the Debtor for the Period from July 1, 2021 through July 31, 2021 for Jeffrey
                          Nathan Pomerantz, Debtor's Attorney, Period: 7/1/2021 to 7/31/2021, Fee: $1,275,026.00,
                          Expenses: $25,276.19. Filed by Attorney Jeffrey Nathan Pomerantz Objections due by
                          9/8/2021. filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             2753 (17 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2744
                          Order granting motion to appear pro hac vice adding Blaire Cahn for Matthew DiOrio, Scott
                          Ellington, Isaac Leventon, Mary Kathryn Lucas (nee Irving), John Paul Sevilla, Stephanie
                          Vitiello, and Frank Waterhouse (related document 2711) Entered on 8/19/2021. (Okafor, M.))
   08/21/2021             No. of Notices: 1. Notice Date 08/21/2021. (Admin.)

                            2754 (17 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)2745
                          Order granting motion to appear pro hac vice adding Brian D. Glueckstein for The Mark &
                          Pamela Okada Family Trust - Exempt Trust #1; The Mark & Pamela Okada Family Trust -
                          Exempt Trust #2; The Okada Insurance Rabbi Trust; Mark Okada and Okada Family
                          Foundation, Inc. (related document 2720) Entered on 8/19/2021. (Okafor, M.)) No. of
   08/21/2021             Notices: 1. Notice Date 08/21/2021. (Admin.)

                             2755 (3 pgs) Certificate No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)2632 Application for compensation Twenty-First Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from June
                          1, 2021 through June 30, 2021 for Jeffrey Nathan Pomerantz, Debtor's Attorney, Period:
   08/23/2021             6/1/2021 to 6/30/). (Pomerantz, Jeffrey)

                              2756 (10 pgs; 2 docs) Response opposed to (related document(s): 2657 Amended Motion
                          to compel Mediation. (related document: 2641) filed by Interested Party James Dondero)
                          filed by Debtor Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Annable,
   08/23/2021             Zachery)




https://ecf.txnb.circ5.dcn/cgi-bin/DktRpt.pl?140341656122308-L_1_0-1                                               22-11036.527 439/439



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           Civil Action Nos. 3:21-cv-01974-X & 3:21-cv-01979-S
               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION
      THE CHARITABLE DAF FUND LP; CLO HOLDCO LTD;
   MARK PATRICK; SBAITI & COMPANY PLLC; MAZIN A. SBAITI;
          JONATHAN BRIDGES; and JAMES DONDERO,

                                                 Appellants,
                                      v.

               HIGHLAND CAPITAL MANAGEMENT, L.P.,

                                                 Appellees.

                  In re: Highland Capital Management, L.P.,
                                               Debtor.

On Appeal from the United States Bankruptcy Court for the Northern District of
      Texas, Case No. 19-34054, Hon. Stacey G.C. Jernigan, Presiding

 NOTICE OF APPEAL OF APPELLANTS THE CHARITABLE DAF FUND,
L.P., CLO HOLDCO, LTD., MARK PATRICK, SBAITI & COMPANY, PLLC,
            MAZIN A. SBAITI, AND JONATHAN BRIDGES

Mazin A. Sbaiti                             Erik S. Jaffe*
Jonathan Bridges                            Brian J. Field*
SBAITI & COMPANY PLLC                       SCHAERR | JAFFE LLP
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mas@sbaitilaw.com
                                            *Admitted pro hac vice




                                                                         22-11036.12287

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      Appellants Mark Patrick, Mazin Sbaiti, Jonathan Bridges, Sbaiti & Company

PLLC, Charitable DAF Fund, L.P., and CLO Holdco, Ltd. hereby appeal to the

United States Court of Appeals for the Fifth Circuit from this Court’s September 28,

2022 Order affirming in part and vacating in part the judgment of the bankruptcy

court. See ECF No. 49.

October 20, 2022                             Respectfully submitted,

Mazin A. Sbaiti                              /s/ %ULDQ-)LHOG
Jonathan Bridges                             Erik S. Jaffe*
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                                                                           22-11036.12288

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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 20, 2022, a true and correct copy of the

foregoing was served via the Court’s CM/ECF system on all counsel of record.

                                             /s/ %ULDQ-)LHOG
                                             %ULDQ-)LHOG




                                         2
                                                                           22-11036.12289

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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  THE CHARITABLE DAF FUND LP;                         §
  CLO HOLDCO LTD; MARK                                §
  PATRICK; SBAITI & COMPANY                           §
  PLLC; MAZIN A. SBAITI;                              §
  JONATHAN BRIDGES; and JAMES                         §
  DONDERO,                                            §
                                                      §
          Appellants,                                 § Civil Action No. 3:21-cv-01974-X
                                                      §
  v.                                                  §
                                                      §
  HIGHLAND CAPITAL                                    §
  MANAGEMENT LP,                                      §
                                                      §
          Appellee.                                   §

                       MEMORANDUM OPINION AND ORDER

       The Charitable DAF Fund LP, CLO Holdco LTD, Sbaiti & Company PLLC,

Mazin Sbaiti, Jonathan Bridges, Mark Patrick, and James Dondero (collectively

                  appeal the bankruptcy co                Order Holding Certain Parties and

Their Attorneys in Civil Contempt of Court for Violation of Bankruptcy Court Orders.1

For the reasons explained below, the Court AFFIRMS in part and VACATES in part

the bankruptcy co           order.

                                     I. Factual Background

                                                                   previously headed by James

Dondero     filed for Chapter 11 bankruptcy in October 2019.                [A] nasty breakup

between Highland Capital and . .                                                     and other


       1 See Doc. No. 8-1 at 33.



                                                  1



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creditors began to frustrate the [bankruptcy] proceedings by objecting to settlements,

appealing orders, seeking writs of mandamus, interfering with Highland Capital s

management, threatening employees, and canceling trades between Highland

Capital and its clients 2

        Ultimately, Dondero agreed to relinquish some of his positions, and three

individuals     John Dubel, Russell Nelms, and James P. Seery, Jr.                          became

independent directors of Highland.3 The bankruptcy court approved that settlement

in January 2020                                          4   Later, one of those directors, Seery,

                                                                                                   in

July 2020                                   .5 Given Dondero s continued litigiousness, 6 both

orders (collectively                                           provided that

commence or pursue a claim . . . against Mr. Seery relating in any way to his role as

the chief executive officer . . . of the Debtor without the Bankruptcy Court . . .

                                                                        7   Those orders were not

appealed.8

        But those gatekeeping orders failed to deter: Less than a year later, two

entities attempted to sue Seery. Their claims centered on a settlement between


        2 In re Highland Capital Mgmt., L.P., No. 21-10449, 2022 WL 4093167, at *2   3 (5th Cir. Sept.
7, 2022).
        3 See Doc. No. 8-2 at 127, 39; Doc. No. 8-4 at 33.

        4 Doc. No. 8-4 at 33.

        5 Doc. No. 8-2 at 164   65.
        6 Highland Capital, 2022 WL 4093167, at *3.

        7 Doc. No. 8-2 at 165, 127    28.
        8 Highland Capital, 2022 WL 4093167, at *2.



                                                     2



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Highland and one of its creditors, HarbourVest.                      When Seery requested the

bankruptcy court approval of that settlement, Dondero, two trusts of which he is a

beneficiary, and CLO Holdco                                     objected   but to no avail. The

bankruptcy court approved the settlement. B                             filing [a] motion with the

bankruptcy court would have been . . . futile, Dondero took a different tack.9

       Dondero had founded                                                       and historically

acted as its informal investment advisor. Mark Patrick had beco

member on March 24, 2021. Although Patrick initially                    no reason to believe that

Mr. Seery had done anything wrong with respect to the HarbourVest transaction,

                        told [him] that an investment opportunity was essentially

usurped 10        Patrick thus          engaged [Sbaiti & Company PLLC] to launch an

investigation                 ed Dondero to work with the Sbaiti firm with respect to their

investigation of the underlying facts 11

       Following that investigation, DAF and CLO Holdco                    which DAF owns and

controls    sued Highland in this Court, alleging that Highland fraudulently withheld

information when it settled with HarbourVest. T

allegedly deceitful conduct                mention[ed] Mr. Seery 50 times 12 The complaint

                           otential part                                                         13




       9 Doc. No. 38 at 13.

       10 Doc. No. 8-45 at 179.

       11 Id. at 178.

       12 Doc. No. 8-1 at 58    59.                                           [was]
                                                                                               Doc.
No. 8-7 at 117.
       13 Doc. No. 8-7 at 48.



                                                     3



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Unsurprisingly, then, DAF and CLO Holdco quickly moved for leave to amend their

complaint to add Seery as a defendant                                    .14   The movants

highlighted the                           gatekeeping orders but requested leave to add

Seery as a defendant anyhow. This Court denied that motion the following day on

the ground that the defendants had not yet been served.

      Back in the bankruptcy court, Highland moved for an order requiring DAF,

CLO Holdco, and those that authorized the Seery Motion to show cause why they

should not be held in contempt for violating the gatekeeping orders. The bankruptcy

court granted that motion, adding Dondero to the list of individuals and entities that

had to show cause. After holding a hearing                                 , the bankruptcy

court found Contemnors in contempt for violating its gatekeeping orders. The court

imposed $239,655 in sanctions to compensate Highland                                      and

$100,000 in sanctions for each unsuccessful appeal of its contempt order.

      Contemnors now appeal.

                                      II. Legal Standards

      District courts have jurisdiction to hear appeals from final judgments of

bankruptcy courts.15

                                             s of fact for clear error and its conclusions of




      14 Doc. No. 8-7 at 115.

      15 28 U.S.C. § 158(a)(1).



                                                 4



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law de novo.16                                                           the reviewing court is left

with the definite and firm conviction that a mistake has been committed 17

                                           III. Analysis

      Contemnors assert that the bankruptcy court (A) erroneously found them in

contempt, (B) unlawfully issued the gatekeeping orders, (C) punitively sanctioned

them, (D) erroneously sanctioned Dondero, and (E) violated the Constitution in

myriad ways. Each argument is meritless.

                                     A. Contempt Finding

      Contemnors claim that the bankruptcy court erred in finding them in contempt

for violating its gatekeeping orders.           [T]he movant in a civil contempt proceeding

bears the burden of establishing by clear and convincing evidence: (1) that a court

order was in effect; (2) that the order required certain conduct by the respondent; and

(3) that the respondent failed to comply with the court s                    18


      The bankruptcy court found each element by clear and convincing evidence. In

particular, the bankruptcy court had previously ordered that

commence or pursue a claim . . .                                 19   Contemnors failed to comply

                        pursu[ed] litigation




      16 In re Pratt, 524 F.3d 580, 584 (5th Cir. 2008) (cleaned up).

      17 In re Am. Dev. Intern. Corp., 188 B.R. 925, 933 (N.D. Tex. 1995) (cleaned up).

      18                        , 929 F.3d 205, 213 n.11 (5th Cir. 2019) (cleaned up).
      19 Doc. No. 8-2 at 165.



                                                   5



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requesting leave to add Seery as a defendant to a lawsuit that already centered on

                                                 . 20 Contemnors raise five objections.

        First, they contend that the term pursue in the gatekeeping orders refers only

to legal activities that occur after a claim has already been filed.                          They cite

dictionaries defining pursue as to prosecute or sue                  to                               . 21

                                      s appear absent in most dictionaries.22 Instead, most

dictionaries define pursue                      23              24 to obtain a desired end.


        Contemnors counter that expanding pursue                                          e   begets a

slippery slope such that even legal research . . . [or] conferring with a client

count.25 Not so. To pursue a claim, a party must

Requesting leave to amend differs from legal research or client communications




        20 Doc. No. 8-1 at 58   59.
        21 Doc. No. 19 at 28 (cleaned up)                                                     Cohens v.
Virginia, 19 U.S. (6 Wheat.) 264, 408 (1821), between commence and prosecute
is to demand something by the institution of process in a Court of justice, and to prosecute the suit, is,

        22 See Hepp v. Facebook, 14 F.4th 204, 212 (3d Cir. 2021) (recognizing that

weighing of dictionaries is often                                                    (quoting
Antonin Scalia & Bryan A. Garner, READING LAW: THE INTERPRETATION OF LEGAL TEXTS 417 (2012))).
        23 Pursue, BLACK S LAW DICTIONARY                 seek                     Pursue,
MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/pursue (last visited
Sept. 26, 2022)                                              : seek.
         24 Pursue, BLACK S LAW DICTIONARY                     try persistently to gain or attain . . .
(emphasis               added));           Pursue,              MACMILLAN                 DICTIONARY,
https://www.macmillandictionary.com/us/dictionary/american/pursue (last visited Sept. 26, 2022)
        try to achieve something. (emphasis added)); Pursue, OXFORD LEARNER S DICTIONARY,
https://www.oxfordlearnersdictionaries.com/us/definition/english/pursue?q=pursue (last visited Sept.
26, 2022) [T]o do something or try to achieve something . . .                   ); Pursue, CAMBRIDGE
DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/pursue (last visited Sept. 26, 2022)
  [T]ry to do.
        25 Doc. No. 19 at 29.



                                                     6



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                 party who moves to amend usually does intend to amend. 26 In fact, in

this Court, Contemnors would have had no choice: They attached the proposed

amended complaint, and, as the local rules                                    f leave [to amend] is

granted . . . the clerk will file a copy of the amended pleading                    27   In short, by

requesting leave to amend, Contemnors tried to                      and, in fact, took every action

necessary on their part to bring a claim against Seery.

           Contemnors next aver that the gatekeeping                     requirement that litigants

                                                                       s confirms that a motion for

leave to amend cannot itself be deemed to commence or pursue a claim. 28 But

Contemnors shoot themselves in the foot                      The expression of one thing implies the

exclusion of others           so the gatekeeping orders reference to an allowed method of

pursuing a claim implies that other methods                    like petitioning a district court    are

prohibited.29

           Second, Contemnors contend that they, in fact, complied with the gatekeeping

orders by asking this Court for authorization because bankruptcy courts

a unit of the district court. 30 But the Fifth Circuit has already reject[ed] the . . .




           26 Blanks v. Lockheed Martin Corp., No. 4:05CV137LN, 2006 WL 1139941, at *2 (S.D. Miss.

Apr. 25, 2006).
       27 N.D. TEX. CIV. R. 15.1(b); see, e.g., Electronic Order Granting Motion for Leave to File,

Christman v. Walmart Inc, No. 3:21-cv-03055-X (N.D. Tex. Sept. 20, 2022), ECF No. 20 (Starr, J.)


           28 Doc. No. 19 at 30.

           29 In re Benjamin, 932 F.3d 293, 298 (5th Cir. 2019) (quoting Scalia & Garner, supra note 22,

at 107).
           30 Doc. No. 19 at 31 (quoting 28 U.S.C. § 151).



                                                      7



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argument                          bypass bankruptcy gatekeeping orders by filing suit in

the district court with supervisory authority over the bankruptcy court 31

       Third, Contemnors

district court violated the gatekeeping orders                                   plain or exclusive

reading of those orders 32                                    definite and specific order

                                    a particular act

finding.33                                              anticipate every action to be taken in

response to it[] 34                                         entitled to a degree of flexibility in

vindicating [their] authority against actions that . . . violate the reasonably

understood terms of the order 35

       The gatekeeping orders were definite and specific: They proscribed the pursuit

of claims against Seery sans bankruptcy-court approval. Accordingly, the bankruptcy

court did not need to delineate every activity that could constitute pursuit of a claim

against Seery.      And it certainly did not need to explain that filing a proposed

complaint which this Court could automatically docket                   constituted pursuit of a

claim. Although Contemnors cite cases where the sanctioned conduct was unrelated




       31 Villegas v. Schmidt, 788 F.3d 156, 159 (5th Cir. 2015).Although Contemnors claim that
Villegas
deal with the argument that bankruptcy courts are merely units of the district court. Doc. No. 19 at
31 n.5.                                                                         it was clear that it
                                                                                   Villegas, 788 F.3d
at 159.
       32 Doc. No. 19 at 32.

       33 In re Skyport Glob. Commc ns, Inc.                                           (cleaned up).
       34 Am.                                   , 228 F.3d 574, 578 (5th Cir. 2000).
       35 Hornbeck Offshore Servs., L.L.C. v. Salazar, 713 F.3d 787, 792 (5th Cir. 2013).



                                                  8



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to the underlying order, they fail to find any precedent where an underlying order

was fatally indefinite                                               definitional quibble.36

       Fourth, Contemnors Sbaiti and Bridges assert deficient notice because they

entered the case after           gatekeeping orders were already in existence.37 But the

record belies Contemnors cry of ignorance. Acknowledging that Contemnors Sbaiti

and Bridges            new to the case,                             prior to the Seery Motion

                 ware of the . . . Bankruptcy Court orders that prohibit Mr. Seery . . .

from being sued without first obtaining authority from the Bankruptcy Court. 38 Lest

                                                                                      violate such

Orders by filing [their] motion in the District Court 39 Sbaiti and Bridges had notice.

       Fifth,

counsel against a contempt finding.40 And Contemnors Sbaiti and Bridges claim they

                                                                                         who acted

with complete candor towards this Court                41   But candor is inapposite.           The




       36 See In re Baum, 606 F.2d 592, 593 (5th Cir. 1979) (reversing sanctions for attorney  taking
deposition, when the bankruptcy court previously ordered that the deposition notice was vacated but
                                                             In re Gravel, 6 F.4th 503, 513 (2d Cir.
                                                      t provide notice where it prohibited challenges
                                                                  conduct occurred outside of court),
cert. denied sub nom. Sensenich v. PHH Mortgage Corp., 142 S. Ct. 2829 (2022).
       37 Doc. No. 19 at 34.

       38 Doc. No. 8-7 at 93.

       39 Id. at 92.

       40 Doc. No. 19 at 35.

       41 Id. at 34.



                                                 9



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gatekeeping orders                                                 they prohibited pursuit of

claims against Seery. Forthright disregard of a court order is no defense. 42

       Similarly, Contemners assert that the Seery Motion was harmless[] because

this Court denied it before Highland expended any time responding. 43 But the time

                         counsel tell another story. Highland spent thousands of dollars

preparing to fight the Seery Motion before this Court denied it.44 With no indication

Contemnors would abandon their ambitions to sue Seery, Highland did not need to

wait to suffer more harm.

       The bankruptcy court did not err in finding Contemnors in contempt for

violating its gatekeeping orders.

                                    B. Gatekeeping Orders

       Contemnors challenge the gatekeeping orders themselves, claiming that

                                                                              . They also assert




       42 Cf. Taggart v. Lorenzen

was complying with an order ordinarily will not insulate her from civil contempt if that belief was

       43 Doc. No. 19 at 35.

       44 Doc. No. 8-45 at 21                                                              discussing
                                                                                                -mails
..                                                                                        . . re: DAF
                                                        . . DAF motion for leave to amend and add
                                                                       conferenc[ing] . . . regarding



                                                10



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that gatekeeping orders                         debtors in possession . . . with respect to any

of their acts or transactions in carrying on business connected with such property 45

       Highland asserts that this Court cannot consider Contemnors collateral

challenge of the gatekeeping orders.                     collateral attack on an [order] during

contempt proceedings is prohibited if earlier review of the [order] was available 46

In fact, when asked to review the Governance and Seery Orders, the Fifth Circuit

recently concluded                        jurisdiction to consider collateral attacks on final

bankruptcy orders 47          This Court agrees that it lacks jurisdiction to consider

                                                                                      es to roll back

the protections                                     48   Contemnors provide three responses.

       First, Contemnors claim that the bar against collateral attacks applies only

                                                                            then, during contempt

proceedings,                                                   49                                 Fifth




       45 Doc. No. 19 at 40 (quoting 28 U.S.C. § 959(a)).

       46 W. Water Mgmt., Inc. v. Brown, 40 F.3d 105, 108 (5th Cir. 1994); accord Reich v. Crockett,

No. 95-50159, 1995 WL 581875, at *2 (5th Cir. 1995) (per curiam)
injunction in a contempt proceeding is prohibited where the injunction was subject to earli
G. & C. Merriam Co. v. Webster Dictionary Co., Inc.
                                                                                   cf. Maggio v. Zeitz,
                                       ver proceeding is a separate one and, when completed and
terminated in a final order, it becomes res judicata and not subject to collateral attack in
the contempt
       47 Highland Capital, 2022 WL 4093167, at *12 n.15.

       48 Id.

       49 Doc. No. 38 at 11 (cleaned up); see also Brown, 40 F.3d at 108 (declining to allow litigants to




                                                  11



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Circuit50 and other courts51 have declined to hear collateral challenges to orders even

when the litigants had not previously challenged those orders. And, in considering

the gatekeeping orders, the Fifth Circuit did not require a previous challenge to

         the orders ongoing res judicata effects and our lack of jurisdiction to review

those orders 52

       Second, Contemnors                          the Seery Order was not even a final

appealable order because the bankruptcy court retained jurisdiction. 53 The Fifth

Circuit disagreed, describing the gatekeeping orders                final 54

       Third, Contemnors aver                               notice of the Seery Order when it

was issued                             have filed a timely appeal even if they wanted to              55


               collateral attacks are barred only where the party                      those in privity

with them              a fair chance to challenge                    s.56

Contemnors. Dondero affirmatively agreed to the Governance Order, 57 and both

Dondero and CLO Holdco were served with the Seery Order. 58 Further, DAF is in



       50 Crockett, 1995 WL 581875, at *1    2 (declining to allow a collateral attack when a party

       51 John Zink Co. v. Zink                                         This issue should have been
raised
(emphasis added)); G. & C. Merriam, 639 F.2d at                                           not reviewable

       52 Highland Capital, 2022 WL 4093167, at *12 n.15.

       53 Doc. No. 38 at 15 (cleaned up).

       54 Highland Capital, 2022 WL 4093167, at *12 n.15.

       55 Doc. No. 38 at 15.

       56 In re Linn Energy, L.L.C., 927 F.3d 862, 867 (5th Cir. 2019) (cleaned up).

       57 Doc. No. 8-4 at 32.

       58 Doc. No. 8-28 at 88.



                                                 12



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privity with CLO Holdco because it controls and owns 100% of CLO Holdco. 59 Patrick



his predecessor          the only human being authorized to act on behalf of CLO Holdco

and [] DAF 60 Likewise, the Sbaiti firm and its lawyers are in privity with DAF

because they represent DAF. Thus, Contemnors had a fair chance to challenge the

gatekeeping orders or are in privity with an entity that did.61

                                      C. Punitive Sanctions

       Contemnors first assert that the bankruptcy court                                 -per-appeal

sanction was excessive and punitive.62 Highland agrees that this Court should vacate

that award. Because the parties are in accord, the Court vacates the bankruptcy

                   -per-appeal sanction without prejudice.63

       Contemnors also assert that the bankruptcy court                                           was

                                          . 64            ankruptcy     courts     do    not     have

inherent criminal contempt powers                they can only issue civil contempt sanctions. 65


       59 Doc. No. 8-41 at 84   85.
       60 Doc. No. 8-41 at 84   85; see also Doc. No. 19 at 34 35.
       61 Contemnors also analogize to as-                                                   challenge

Doc. No. 19 at 33. Whatever the merits of that analogy, it does not allow this Court to ignore Fifth
Circuit precedent barring collateral attacks during contempt proceedings.
        62 Doc. No. 8-1 at 41

appeal, or petition for [certiorari] that the Alleged Contemnors may choose to take with regard to this
Order, to the extent any such motions for rehearing, appeals, or petitions for certiorari are not

       63

             arguments that that award is punitive, unconstitutional, or outside the bankruptcy
                .
       64 Doc. No. 19 at 44.

       65 In re Hipp, Inc., 895 F.2d 1503, 1511 (5th Cir. 1990).



                                                   13



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To determine whether a sanction is criminal or                                           primary

purpose                sanction.66                                   to punish the contemnor and

vindicate the authority of the court                      sanction is criminal; but if the primary

                to coerce the contemnor into compliance with a court order, or to

compensate another party for the contemnor s violation                                      67


       The bankruptcy court recognized that it could only order sanctions necessary

    coerce obedience                 compensate the Debtor                         compensatory

damages are more appropriate 68 Thus, the c                                  invoices of the fees

incurred by                      counsel relating to this matter, finding that fees totaling

$187,795               reasonable and necessary fees incurred in having to respond . . . to

the contemptuous conduct 69 In addition, the court recognized that three attorneys

participated in the contempt hearing, multiplied their hourly rates times the length

of the hearing, and thus imposed $11,860 in additional costs. After that, the court

made some assumptions. For instance, the court recognized an additional $22,271.14

that                             incurred during this time period           reduced that number

                          ing]                                               contempt hearing.70

                   assume[d] the [Unsecured Creditors Committee] incurred $20,000 in

fees monitoring this matter                                                                lawyer




       66 Lamar Fin. Corp. v. Adams, 918 F.2d 564, 566 (5th Cir. 1990).

       67 Id.

       68 Doc. No. 8-1 at 60.

       69 Id.

       70 Id. at 61.



                                                    14



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attended the contempt hearing.71 Lastly, the court assumed that Highland

counsel incurred $10,000 in fees. 72 Contemnors lodge five objections to that award.

       First, Contemnors                                                  repeatedly emphasized

that it imposed sanctions to punish Contemnors                   not to compensate Highland.73

Oddly enough considering the alleged                                            Contemnors

come up with a solitary quote supporting that assertion.                                            he

bankruptcy court expressly designed its award to compensate the Debtor 74 not to

mete out punishment and based its sanctions entirely on its calculation of

                              fees.75

       Second, Contemnors contend that the sanction is excessive and that the

bankruptcy             largely pulled numbers out of thin air

about which fees might relate to the contempt motion. 76 But [t]he essential goal in

shifting fees . . . is to do rough justice. 77                                              auditing

perfection                                                            substantial deference       the

 court s overall sense of a suit 78 Although the bankruptcy court did make multiple



       71 Id.

       72 Id.

       73 Doc. No. 19 at 45.

       74 Doc. No. 8-1 at 60.

        75 See                                                                   5 (5th Cir. 2020) (per
curiam)
injury caused by the                          (cleaned up)).
       76 Doc. No. 19 at 49.

       77 Roussell v. Brinker Intern., Inc.                                      (per curiam) (cleaned
up).
       78 Id. (cleaned up).



                                                     15



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assumptions, Contemnors do not quibble with any particular assumption. Absent

any argument that the bankruptcy court botched a particular calculation, this Court

cannot conclude that the bankruptcy court erred. 79

        Third, Contemnors assert that the bankruptcy court erred in awarding

                                                                            litigants are expected to

pay the fees for the litigation tactics they employ 80 Not so. The Fifth Circuit has

affirmed sanctions that                     [the opposing litigant] for its reasonable attorney

fees related to the hearing on the motion for contempt              81   In awarding compensatory

                                                                                        restores the




        79 See Skyport Glob.               at 841 42 (finding no error where
carefully calculated the fees and awarded far less than was requested
        80 Doc. No. 19 at 47.

        81 Ravago, 832 F. App x at 253, 261; accord Skyport Glob., 661 F. App x at      Almost without
exception it is within the discretion of the trial court to include, as an element of damages assessed

and prosecution of the contempt proceedings.                  Although Contemnors make an argument
             .
authority in favor of a tort-law theory. Doc. No. 19 at 48.

                                                   16



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...

ensure compliance with the injunction 82

       Fourth, Contemnors aver that civil sanctions must be

 may be lifted if the contemnor changes course 83

statement that

after a finding of contempt is criminal if the contemnor has no subsequent

opportunity to . . .                                                 84   Because the $239,655

sanction was not conditional, they contend it constituted a criminal sanction.

       But Contemnors strip                                               from its salient context.

The Supreme Court really said that civil sanctions can either (1)

                                       (2)                                     85   Where a fine is

not compensatory, it is civil only if the contemnor is afforded an opportunity to

                                                            86   In other words, the conditional

nature of a sanction matters only if the sanction is meant to coerce[] the defendant



        82 Skyport Glob., 661 F. App x at 841. Contemnors also assert that Highland might have paid

more attorneys
Seery, and they cite Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1187 (2017) (cleaned up),

                                                       Doc. No. 19 at 47 (cleaned up). But Contemnors
misconstrue Goodyear. In reality, Goodyear
legal fee say, for taking a deposition or drafting a motion would or would not have been incurred in
                                          Goodyear, 137 S. Ct. at 1187. The bankruptcy court properly
constrained its compensatory award to fees incurred during the contempt hearing, which would not
have occurred in the absence of the sanctioned conduct.
       83 Doc. No. 19 at 45.

       84 Doc. No. 38 at 18 (quoting                                        . v. Bagwell, 512 U.S. 821,
829 (1994)).
       85 Bagwell, 512 U.S. at 829 (cleaned up).

       86 Id. (emphasis added).



                                                   17



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                       not where it compensates the injured party.87 Thus, when the

                                                              compensate the Debtor

need to craft a conditional sanction.88

       The bankruptcy court did not err in imposing the $239,655 sanction.

                                            D. Dondero

        Arguing separately, Dondero asserts that the bankruptcy court erred in

holding him in contempt. At the outset, the parties dispute the appropriate standard

of review.89 This Court reviews the                                            of Dondero for abuse

of discretion.90 Thus, to the extent

findings about him, this Court reviews those findings for clear error. 91 To the extent



orders, this Court reviews that issue de novo.92

        The bankruptcy court made three factual findings concerning Dondero. It

concluded           Dondero sparked this fire meaning that                       the idea of bringing

the District Court Action to essentially re-visit the HarbourVest Settlement and to

                                                                                 93   Next, the court




       87 Bagwell, 512 U.S. at 829 (emphasis added).

       88 Doc. No. 8-1 at 60.

       89 Compare

                           with Doc. No. 37 at 6 n.2 (arguing that this issue involves a
that is reviewed de novo
       90 Pratt, 524 F.3d at 584 (cleaned up).

       91 Id.

       92 Id.

       93 Doc. No. 8-1 at 53.



                                                   18



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                       Dondero encouraged Mr. Patrick to do something wrong          94   Finally,

it concluded that                basically abdicated responsibility to Mr. Dondero with

regard to dealing with Sbaiti and executing the litigation strategy. 95 Dondero lodges

four objections.

        First,                               hese findings are not supported by the record 96

and that he had no involvement with the Seery Motion 97 Instead, he claims that

he provided the Sbaiti                                factual information only 98 This Court

reviews                               factual conclusions for clear error, which occurs only

if,

a mistake has                         99


                                                                                          Dondero

                                                                                    in part from

Dondero and his family trusts 100

2012                                                                        101   After Dondero

                                                                                                 -




       94 Id.

       95 Id.

       96 Doc. No. 17 at 37.

       97 Id. at 29.

       98 Doc. No. 37 at 12.

       99 In re Dennis, 330 F.3d 696, 701 (5th Cir. 2003) (cleaned up).

       100 Doc. No. 8-1 at 34.

       101 Id.



                                                 19



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time friend, college housemate, and best man at his wedding                102   Scott ultimately

resigned due to disagreements with . . . Dondero            103


        Patrick replaced Scott as                 general manager on March 24, 2021              19

days before the Seery Motion.104 Patrick initially                 no reason to believe that Mr.

Seery had done                                                                                  105


                 Dondero told [him] that an investment opportunity was essentially

usurped 106                     engage[] the Sbaiti firm to launch an investigation

Mr. Dondero to work with the Sbaiti firm with respect to their investigation of the

underlying facts 107                                   communicated directly with the Sbaiti

firm    Patrick did not.108                saw versions of the complaint before it was filed

             conversations with attorneys                                        -filing.109   That

complaint                                                                mention[ed] Mr. Seery

50 times 110 Further, when listing the parties, the complaint listed each party named




       102 Id. at 34    35.
       103 Id.

       104 Id. at 35.

       105 Doc. No. 8-45 at 179.

       106 Id.

       107 Id. at 178.

       108 Id. at 180.

       109 Doc. No. 8-30 at 145    46.
       110 Doc. No. 8-1 at 58   59.

                                                  20



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                                          otential party James P. Seery, Jr.

citizenship and domicile.111

          Further, although Dondero averred that he did not direct the Sbaiti firm to

add Seery to the complaint, Dondero also contradicted himself, first claiming that he

                           the Sbaiti firm intended to file a motion for leave to amend their

complaint to add Mr. Seery 112 but then agreeing during the hearing that he

                          aware that that motion was going to be filed prior to the time that

it actually was filed 113 He also testified to conversations about the Seery Motion,

noting that it                      very complicated legal preservation          114


          Based on all that evidence, the Court is not left with a definite and firm

conviction that the bankruptcy court erred. After being stymied in the bankruptcy

court,

conduct. Dondero                            did not suggest that Mr. Seery should be added as

a defendant 115 is not credible. Dondero

conduct, and he worked with the Sbaiti firm to bring that idea to fruition in the

complaint       a complaint that clearly contemplated adding Seery to the lawsuit.

                                       had no involvement with the Seery Motion 116 is not



         111 Doc. No. 8-7 at 48.

         112 Doc. No. 8-30 at 153.

       113 Doc. No. 8-46 at 83.

knew about . . . the . . . Seery Motion before it was filed                             ew about
the Seery Motion provides at least some evidence of his knowledge. Doc. No. 37 at 14.
         114 Doc. No. 8-46 at 83.

         115 Doc. No. 17 at 38.

         116 Id. at 22.



                                                    21



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credible.   Dondero himself testified to the contents of attorney communications

concerning the Seery Motion, eventually

of the Motion before it was filed. In short, the bankruptcy court did not err, after

                                                ,                                       the idea of

                                      . . . conduct                  encouraged Mr. Patrick to do

something wrong, and                          abdicated responsibility to Mr. Dondero with

regard to . . . executing the litigation strategy. 117

                                                                 only way the bankruptcy court

could have found him in contempt                                                    an authorizing

person for [] DAF or CLO Holdco 118



be held in contempt. Tellingly, Dondero provides no citation for his claim that only

                                          for contempt. Although he cites a Texas Supreme

                                                                 not necessarily              for a

corporation     contemptuous conduct, that case held that an agent could be liable if

there was evidence in the record that the corporate agent . . . was somehow

personally connected with defying the authority of the court               119   And here, evidence




       117 Doc. No. 8-1 at 53.

       118 Doc. No. 17 at 29; see also id. at 37 (arguing                only way Mr. Dondero could

       119 Ex parte Chambers, 898 S.W.2d 257, 261 (Tex. 1995).



                                                    22



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abounds that Dondero was personally connected with violating the gatekeeping

orders.120

        Third, Dondero asserts that the bankruptcy court erred in holding him in

                            121   Highland initial contempt motion did not name Dondero,

and Dondero                         a civil contempt sanction may [not] be imposed without

a request of a party. 122                           [B]ankruptcy courts may sua sponte, take

any action necessary or appropriate to enforce or implement court orders or rules, or

to prevent an abuse of process,                                    civil contempt orders 123 For

instance, courts may sua sponte order[]                                how cause why they should

not . . . be sanctioned and held in contempt. 124

       Fourth                                                                                 he could be

held in contempt because                                                                  not include[]


         120 Contemnors also cite agency law and argue that the bankruptcy court found that Dondero

was not an agent of DAF or CLO Holdco for purposes of attorney-client privilege. But that misses the
                                      [i]t does not matter whether Dondero was acting as an agent of
DAF or CLO Holdco; what matters is whether he acted to violate two Bankruptcy Court Orders that
explicitly restrained his own personal conduct Doc. No. 33 at 42.
       121 Doc. No. 17 at 42.

       122 Id. at 43 (quoting United States v. Russotti, 746 F.2d 945, 949 (2d Cir. 1984)).
                                                                                          At the outset,
                                                                            -contempt authority to issue

opposing the contemnors actions. Russotti, 746 F.2d at 949. Another case determined which parties
may institute civil contempt proceedings. MacNeil v. United States, 236 F.2d 149, 153 (1st Cir. 1956)
                                                                                           . Neither
of those issues is relevant here because Highland, the proper party, requested sanctions.
        123 In re Cleveland Imaging & Surgical Hosp., L.L.C., 26 F.4th 285, 294 & n.14 (5th Cir. 2022)

(cleaned up); see also Lamar, 918 F.2d at                sua sponte . . . the district court ordered the
Adamses to appear before it . . . and to show cause why they should not be held in
         124 Hill v. Hunt, No. 3:07-CV-2020-O, 2010 WL 11537888, at *1 (N.D. Tex. Feb. 6, 2010) (Solis,

J.); see also Netsphere, Inc. v. Baron, No. 3:09-CV-0988-F, 2011 WL 13130079, at *3 (N.D. Tex. Dec.
13, 2011) (Furgeson, J.)                                               s orders, then the Court will
proceed sua sponte to hold a hearing to determine if ICANN is in contempt and should be subjected to
fines and sanctions.

                                                   23



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                                           125   Although the show cause order

                                                          Dondero [to] appear in-person before

this Court and show cause why an order should not be granted . . . finding and holding

each of the Violators in contempt of court 126 The only reasonable interpretation is



court to defend their conduct.

       Dondero disagrees, averring                            in the record suggesting that the

Order should be read                                        127   Au contraire. Dondero himself

admitted to the bankruptcy court his understanding that he had been named by the

Court as an alleged or implied violator 128               Thus, as Highland rightly argues,

                                   . . . is an unpersuasive attempt to rewrite history       129


       The Court cannot find that the bankruptcy court erred in sanctioning Dondero.




       125 Doc. No. 17 at 4647. He also claims that this dearth of notice constituted a due process
violation. Id. at 49. This Court rejects that argument because Dondero did have notice and an
opportunity to be heard.
       126 Doc. No. 8-8 at 138 (emphasis omitted).

       127 Doc. No. 37 at 17.

       128 Doc. No. 8-8 at 171.
                              To borrow Contemnors                                            edly
              that the court had named Dondero as a violator. See Doc. No. 8-45 at 159 60
                                                      Doc. No. 8-46 at 150 (acknowledging that
                                                                  within the order as an alleged
                                                                                   or because he
                                                                                     . 8-8 at 171;
see also Doc. No. 37 at 19. But his argument that he was not properly before the court does not
undermine his acknowledgment that he had been named by the court as a violator.
        129 Doc. No. 33 at 44.                  Skinner v. White, 505 F.2d 685, 690 (5th Cir. 1974),
hurts his case. The court there recognized that                         . . . called upon [the named
person]                                                  Id. at 690 91 (cleaned up). Thus, Skinner
suggests that an order to show cause provides the named individual notice that it could be held in
contempt for the specified conduct.

                                                  24



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                                E. Constitutional Objections

      Contemnors lodge a bevy of constitutional objections, which this Court reviews

de novo.130 They ask the C                                      troubling constitutional issues,

practice constitutional avoidance, and                                 constitutionally turbulent

waters. 131 Finding no constitutional turbulence, this Court declines.

                                          a. Due Process

      Contemnors raise five due process issues.

      First, Contemnors contend that the bankruptcy court violated due process by

failing to provide                  the scope of potential sanctions for . . . a minor supposed

infraction. 132 Sanction decisions must comport with due process 133                      ue process

demands . . . that the sanctioned party be afforded notice . . . . 134 The bankruptcy

               cause order provided each of the named parties notice of their alleged

violations and notice that the court might

actual expenses incurred in bringing this Motion               135   Contemnors cite no authority




      130 Jarkesy v. SEC, 34 F.4th 446, 451 (5th Cir. 2022).

      131 Doc. No. 19 at 64   65.
      132 Id. at 53.

      133 Spiller v. Ella Smithers Geriatric Ctr., 919 F.2d 339, 346 (5th Cir. 1990) (cleaned up).

      134 Meyers v. Textron Fin. Corp., 609 F. App x 775, 778 (5th Cir. 2015) (cleaned up).

      135 Doc. No. 8-8 at 138   39.

                                                   25



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holding that notice must include a dollar range of any possible sanctions. Their notice

argument is meritless.136

          Second, Contemnors ask this Court to apply the rule of lenity. The rule of

           says that . . . criminal statutes will be construed favorably to criminal

defendants 137 As this Court has already found, the bankruptcy court did not impose

criminal sanctions. The rule of lenity is inapplicable.

          Third, Contemnors claim that the bankruptcy court prejudged their case when

                                                                                               a fair

tribunal is a basic requirement of due process. 138 But Contemnors fail to show that

the court prejudged the case. The show cause order adopted the term                        s

                                       .139   In total, the order referred to Contemnors as

                                                                        re any similar isolated

references deprived a contemnor of due process. Absent such an argument, this Court

                                                                                      s

Contemnors of due process.

          Fourth, Contemnors claim the bankruptcy court prejudged the case by

shift[ing] the burden



       136 Contemnors                                                          during the contempt
proceedings . . .
                                                               Doc. No. 38 at 28. This Court already
concluded Contemnors had notice of the scope of the Seery Order. See Part III.A. To the extent they
regurgitate that argument as a due-process argument, it is likewise meritless.
          137 Cass R. Sunstein, Nondelegation Canons, 67 U. Chi. L. Rev. 315, 332 (2000) (emphases

added).
          138 In re Murchison, 349 U.S. 133, 136 (1955).

          139 Doc. No. 8-4 at 183.



                                                    26



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contempt.140 But show cause orders do not improperly shift the burden to the alleged

contemnor.141 This Court rejected a similar argument where the bankruptcy court

                                             clear and convincing evidence                      142


Because                                                                  clear and convincing

evidence                          , this Court cannot conclude that the bankruptcy court

improperly shifted the burden to Contemnors.143

        Fifth, Contemnors assert that the bankruptcy court prejudged the case by



HarbourVest suit. But one of the primary purposes of the gatekeeping orders was to

                        Dondero s continued litigiousness 144 Further, Contemnors filed

the Seery Motion shortly after Dondero and CLO Holdco objected concerning the

same transaction in the bankruptcy court. The court did not need to ignore the

context of this litigation, and it was entitled to question whether Dondero might be




        140 Doc. No. 19 at 54.

         141 Am. Airlines, 228 F.3d at 581

still recognizing that th                                                      (cleaned up)).
      142 In re LATCL&F, Inc., No. 398-35100-HCA, 2001 WL 984912, at *3 (N.D. Tex. Aug. 14, 2001)

(Buchmeyer, C.J.).
        143 Doc. No. 8-1 at 58.

        144 Highland Capital, 2022 WL 4093167, at *3.



                                                  27



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involved with the Seery Motion. The bankruptcy court did not prejudge the suit by

allowing evidence concerning Dondero.

         The Court cannot conclude that the bankruptcy court violated due process.

                                       b. Appointments Clause

         Contemnors next

expansive and subject to deference runs headlong into caselaw concerning the

Appointments Clause 145 Specifically, Contemnors apply four factors enumerated in

Morrison v. Olson, 487 U.S. 654 (1988), contending that bankruptcy judges are

principal offers.

         The                                                          shall nominate, and by and

with the Advice and Consent of the Senate, shall appoint . . . Officers of the United

States       known as principal officers.146 The so-called Excepting Clause says that

Congress may by Law vest the Appointment of [] inferior Officers . . . in the Courts

of Law 147 B                                    appointed by the court of appeals of the United

States 148         Consequently, if bankruptcy judges are principal officers, then an

Appointments Clause issue arises, given the dearth of presidential appointment or




         145 Doc. No. 19 at 59.

         146 U.S. Const. art. II, § 2, cl. 2.

         147 Id.

         148 28 U.S.C. § 152(a)(1).



                                                     28



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senatorial advice and consent. Thus, this issue hinges on whether bankruptcy judges

are principal or inferior officers.

       Edmond v. United States, 520 U.S. 651, 658 66 (1997)              a case conspicuously

                                                   considered whether judges of the Coast

Guard Court of Criminal Appeals were principal or inferior officers. Edmond held

      inferior officers are officers whose work is directed and supervised at some level

by others who were appointed by Presidential nomination with the advice and

consent of the Senate. 149 The Coast Guard judges qualified as inferior because both

the Judge Advocate General and the Court of Appeals for the Armed Forces (the

                                                     .150

was limited to determining whether there                    some competent evidence in the

record to establish each elemen                                         this limitation upon

review does not . . . render the [Coast Guard] judges . . . principal officers

                                                   permitted to do so by other Executive

officers 151

       Edmond                                                 judges are inferior officers. For

                                        subject to appellate review, first by the district

courts and then by the courts of appeals 152 Although Contemnors are correct that

this Court, on certain issues, provides deference to the bankruptcy court, that


       149 Edmond, 520 U.S. at 663.

       150 Id. at 664.

       151 Id. at 664    65.
       152 Tuan Samahon, Are Bankruptcy Judges Unconstitutional? An Appointments Clause
Challenge, 60 Hastings L.J. 233, 288 (2008).

                                              29



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                                                                                     Edmond.      As

                                                                                bankruptcy judges

ultimately have no power to render a final decision . . . unless permitted to do so by

superior judicial officers 153                                                    courts to consider

the issue have rejected similar Appointments Clause challenges.154

                                                                      on Morrison v. Olson.      But

Edmond . . . essentially displaced the faulty Appointments Clause analysis of

Morrison 155 And Edmond itself acknowledged that the Coast Guard judges would

have satisfied multiple Morrison factors                 yet it failed to follow those factors. 156

Further, the Fifth Circuit cites Edmond as the defining test for Appointments Clause

issues not Morrison.157

       Contemnors provide no justification for their reliance on Morrison over

Edmond. Absent such an argument, this Court cannot conclude that bankruptcy

judges are unconstitutionally appointed.




       153 Id. (quoting Edmond, 520 U.S. at 665).

       154   In re Khan, No. 10-46901-ESS, 2014 WL 10474969, at *54 (E.D.N.Y. Dec. 24, 2014)

hearing and determinin                                    see also In re Khan                  23 (2d

                                                              Contemnors assert


       155 Steven G. Calabresi, The Structural Constitution and the Countermajoritarian Difficulty,

22 Harv. J.L. & Pub. Pol y 3, 5 (1998) (emphases added).
       156 Edmond

                                   Morrison . . .
       157 See Burgess v. FDIC,

in Edmond                                 directed and supervised . . .

                                                    30



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                                 c. Other Constitutional Issues

        Contemnors claim that the

prohibition on excessive fines.           But a fine assessed for civil contempt does not

implicate the Excessive Fines Clause 158 And this Court has already determined

                                   sanctions were civil      not criminal.

        Next, Contemnors assert that the gatekeeping orders constitute a judicial

taking. Their paltry argument on this point spans three sentences, culminating in

their admission that their on-point                                   Takings Clause claims for

compensation are unavailable against a bankruptcy judge 159                           Without more,

Contemnors have failed to make out a judicial-takings argument.

                                                the power exercised by bankruptcy courts . . .

raise[s] serious separation of powers concerns                             the gatekeeping orders

purport to oust the authority of this Court to hear cases between private parties in

the first instance, imposing an initial non-judicial bite at the apple 160 Once again,




        158 In re Grand Jury Proc., 280 F.3d 1103, 1110 (7th Cir. 2002); accord United States v. City of

Yonkers                                                   Excessive Fines Clause should be determined
to apply to punitive damages, it does not apply to civil contempt sanctions imposed to obtain
                                                                                               , 493 U.S.
265 (1990); Spallone v. United States, 487 U.S. 1251, 1257 (1988) (Marshall, J., concurring in the denial
of stay)                                    hments Clause does not apply to civil contempt sanctions.
This is not surprising since the Cruel and Unusual Punishments Clause, like the Excessive Fines
Clause, applies to punishments for past conduct, while civil contempt sanctions are designed to secure
                                           (cleaned up)).
        159 Doc. No. 19 at 64 (cleaned up).

        160 Doc. No. 19 at 58.



                                                   31



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            lack[s] jurisdiction to consider                    collateral attacks

gatekeeping orders.161

                                     IV. Conclusion

      For the foregoing reasons, the judgment of the bankruptcy court is

AFFIRMED in part and VACATED in part. The Court AFFIRMS the bankruptcy

                             $239,655 sanction and VACATES the judgment as to the

$100,000-per-appeal sanction without prejudice.

      IT IS SO ORDERED this 28th day of September, 2022.




                                          BRANTLEY STARR
                                          UNITED STATES DISTRICT JUDGE




      161 Highland Capital, 2022 WL 4093167, at *12 n.15.



                                              32



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                     TAB F
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 3, 2021
______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION



         In re:                                                         §
                                                                        § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                        § Case No. 19-34054-sgj11
                                           Debtor.                      §
                                                                        §

           MEMORANDUM OPINION AND ORDER HOLDING CERTAIN PARTIES AND
           THEIR ATTORNEYS IN CIVIL CONTEMPT OF COURT FOR VIOLATION OF
                           BANKRUPTCY COURT ORDERS 2


                  I.     Introduction.

                  This Memorandum Opinion and Order addresses the second civil contempt matter that this

     bankruptcy court has been asked to address since confirmation of a Chapter 11 plan for Highland

     Capital Management, L.P. (the “Debtor” or “Highland”) on February 22, 2021. In this instance,


     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
      2
       This ruling constitutes the court’s findings of fact and conclusions of law, pursuant to Fed. R. Bankr. Pro. 7052, in
     connection with the Motion, Memorandum of Law, Declaration, and Show Cause Order found at DE ## 2235, 2236,
     2237, 2247, and 2255 in the above-referenced Bankruptcy Case.
                                                                                                 EXHIBIT 1
                                                                                  ¨1¤}HV5($                  !3«
                                                                                      1934054210804000000000001
                                                                                                               22-11036.27

                                                      R.E. 495
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 Highland seeks to have at least two entities held in civil contempt of two bankruptcy court orders

 and imposed with sanctions: Charitable DAF Fund, L.P. (“DAF”) and CLO Holdco, Ltd. (“CLO

 Holdco”) (collectively, the “Alleged Contemnors”). Highland also seeks to have a law firm that

 has recently begun representing the Alleged Contemnors (Sbaiti & Company PLLC) held in civil

 contempt of the bankruptcy court, as well as any control-persons who authorized the Alleged

 Contemnors (“Authorizing Persons”) to take the allegedly contemptuous actions.

            First, who are these Alleged Contemnors? DAF 3 is alleged to be a charitable fund and a

 limited company that was formed in the Cayman Islands. DAF is the 100% owner of CLO Holdco,

 which is also a Cayman Islands entity. Thus, DAF controls CLO Holdco. 4 DAF was founded by

 Highland’s former Chief Executive Officer (“CEO”) and indirect beneficial equity owner—Mr.

 James Dondero (“Mr. Dondero”). DAF controls $200 million of assets, which asset base was

 derived from Highland, Mr. Dondero, Mr. Dondero’s family trusts, or other donor trusts. 5 Mr.

 Dondero has historically been DAF’s informal investment advisor (without an agreement), and he

 was DAF’s managing member until 2012. 6 In 2012, an individual named Grant Scott (a patent

 lawyer with no experience in finance or running charitable organizations, who was Mr. Dondero’s

 long-time friend, college housemate, and best man at his wedding) became DAF’s managing

 member. 7 Then, Grant Scott resigned from that role, on or around January 31, 2021, after apparent




 3
     The acronym “DAF” stands for donor advised fund.
 4
  Debtor’s Exh. 25 [DE # 2410]. CLO Holdco has sometimes been referred to as the “investment arm” of the DAF
 organizational structure. Transcript of 6/8/21 Hearing at 122:17-20.
 5
   Transcript 6/8/21 Hearing at 98:3-99:15 (testimony that the donors “gave up complete dominion and control over
 the respective assets and at that time claimed a federal income tax donation for that”).
 6
     Id. at 149:16-150:2.
 7
  Id. at 150:3-5; 154:11-24; 156:7-10. See also Debtor’s Exh. 23 (Grant Scott Deposition 1/21/21) at 24-25; 28:21 (“I
 think he is my closest friend”) [DE # 2410].

                                                          2

                                                                                                         22-11036.28

                                                 R.E. 496
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 disagreements with Mr. Dondero. After having no manager for a couple of months, an individual

 named Mark Patrick (“Mr. Patrick”) became DAF’s general manager on March 24, 2021 (just 19

 days before the events occurred that are the subject of this contempt matter). It appears that Mr.

 Scott assigned his interests that undergirded his managing member role to Mr. Patrick at Mr.

 Patrick’s direction. 8 Mr. Patrick was an employee of Highland (having had some sort of a “tax

 counsel” role—but not in Highland’s legal department) from 2008 until early 2021, and he now is

 an employee of Highgate Consultants, d/b/a Skyview Group, which is an entity recently created by

 certain former Highland employees. 9 Mr. Patrick had no prior experience running a charitable

 organization prior to becoming DAF’s manager on March 24, 2021 (just like Grant Scott). 10 He

 testified that he “hold[s] [him]self out as a tax professional versant on setting up offshore master

 fund structures.” 11

            What were the allegedly contemptuous actions? DAF and CLO Holdco filed: (a) on April

 12, 2021, a Complaint 12 (“Complaint”) in the United States District Court for the Northern District

 of Texas (the “District Court Action”), against the Debtor and two Debtor-controlled entities (i.e.,

 Highland HCF Advisor, Ltd. (“Highland HCFA”) and Highland CLO Funding, Ltd.

 “”HCLOF”)); 13 and then (b) one week later, on April 19, 2021, filed a motion for leave to amend


 8
     Debtor’s Exh. 24 at 90-93 [DE # 2410].
 9
     Transcript from 6/8/21 Hearing, at 95:18-97:2 [DE # 2440].
 10
   Id. at 100:2-103:9. For further clarity, above the Cayman Islands structure for DAF and CLO Holdco, there are
 various foundations that hold “participation shares.” Id. Mr. Dondero is president and director of those foundations.
 Debtor’s Exh. 23 at 57.
 11
      Id. at 144:7-8.
 12
      Debtor’s Exh. 12 [DE # 2410].
 13
   Highland HCFA is a Cayman Islands limited company 100% owned by the Debtor. HCLOF is a limited company
 incorporated under the laws of Guernsey. It is 49.02% owned by CLO Holdco and the remaining 50%+ is owned by
 the Debtor or Debtor’s designee, as a result of the HarbourVest Settlement, as further explained herein.


                                                          3

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 the Complaint to add the Debtor’s current CEO, James P. Seery, Jr. (“Mr. Seery”) as a defendant

 in the action (the “Seery Motion”). 14 It is the Seery Motion that is primarily in controversy here.

 Note that in the original Complaint, Mr. Seery is named as a “potential party” 15 and, while not

 nominally a party, he was mentioned approximately 50 times, by this court’s count. Mr. Seery’s

 conduct is plastered throughout the Complaint, accusing him of deceitful, improper conduct. The

 original Complaint does not mention that Highland is still in bankruptcy, nor that the claims

 asserted in the Complaint are related to a bankruptcy case pursuant to 28 U.S.C. § 1334, but,

 rather, asserts that federal subject matter jurisdiction exists in the District Court pursuant to 28

 U.S.C. §§ 1331 & 1367.

            As will be explained further below, the District Court Action—which in some ways reads

 like a minority shareholder suit 16—is all about the alleged impropriety of a settlement (i.e., the

 “HarbourVest Settlement”) that was proposed by the Debtor to the bankruptcy court in December

 2020 17 and approved by the bankruptcy court (with notice to all creditors and after an evidentiary

 hearing) on January 14, 2021.18 “HarbourVest” was a collective of investors that had invested

 approximately $80 million in the year 2017 into the defendant-entity herein known as HCLOF

 (acquiring a 49.98% interest in it), and filed six proofs of claim against the Debtor in the bankruptcy

 case, totaling $300 million, alleging that the Debtor had committed fraud back in 2017, in


 14
      Debtor’s Exh. 19 [DE # 2410].
 15
      Debtor’s Exh. 12 [DE # 2410], ¶ 6.
 16
  Indeed, as alluded to in footnote 13 above, CLO Holdco is a minority shareholder (49.02%) of one of the Defendants,
 HCLOF, and HCLOF is now more than 50% owned by the Debtor or its designee as a result of the HarbourVest
 Settlement—a fact that CLO Holdco and DAF apparently do not like.
 17
      Declaration of John Morris (Exhs. 1 & 2 attached thereto) [DE # 2237].
 18
  “ HarbourVest” refers to the collective of HarbourVest Dover Street IX Investment, L.P., HarbourVest
 2017 Global AIF, L.P., HarbourVest 2017 Global Fund, L.P., HV International VIII Secondary, L.P., and
 HarbourVest Skew Base AIF, L.P.


                                                           4

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                                                   R.E. 498
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 connection with its encouraging HarbourVest to invest in and acquire the 49.98% interest in

 HCLOF. The Debtor and HarbourVest eventually negotiated a settlement of HarbourVest’s proofs

 of claim which, in pertinent part, allowed HarbourVest a $45 million general unsecured claim in

 the bankruptcy case and involved HarbourVest transferring its 49.98% interest in defendant

 HCLOF to the Debtor or Debtor’s designee. 19 The bankruptcy court approved this settlement as

 fair and equitable and in the best interests of the bankruptcy estate.20

            Despite the full vetting in the bankruptcy court of the HarbourVest Settlement and an order

 approving the HarbourVest Settlement, which was not appealed by DAF or CLO Holdco,21 various

 torts and other causes of action are now being alleged by DAF and CLO Holdco against the Debtor

 relating entirely to the HarbourVest Settlement, including: breach of fiduciary duties owed to DAF

 and CLO Holdco; breach of the HCLOF membership agreement, and an alleged right of first refusal

 provision therein; negligence; violations of RICO; 22 and tortious interference. In a nutshell, the

 gravamen of DAF’s and CLO Holdco’s Complaint is that the economics of the HarbourVest

 Settlement resulted in the Debtor obtaining HarbourVest’s 49.98% in HCLOF for a value of $22.5

 million, and DAF and CLO Holdco believe that the 49.98% interest was worth far more than this.

 DAF and CLO Holdco assert that they and HarbourVest were deceived. Somewhat shockingly to




 19
    Declaration of John Morris (Exhs. 1 & 2 attached thereto) [DE # 2237]. HarbourVest basically wanted to rescind
 its earlier acquisition of the 49.98% to extract itself from Highland.
 20
      Declaration of John Morris (Exh. 11 attached thereto) [DE # 2237].
 21
   Id. The court notes that certain family trusts of Mr. Dondero (known as the Dugaboy and Get Good Trusts) did
 appeal the bankruptcy court order approving the HarbourVest Settlement. However, there was no stay pending appeal
 and the settlement was implemented.
 22
   Shockingly, DAF and CLO Holdco state that Highland’s “actions (performed through Seery and others) constitute
 violations of the federal wire fraud, mail fraud, fraud in connection with a case under Title 11, and/or securities fraud
 laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).” Debtor’s Exh. 12, [DE # 2410], at ¶ 117.


                                                            5

                                                                                                             22-11036.31

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 this court, the Complaint implies that information was withheld from DAF and CLO Holdco.23

 DAF and CLO Holdco further argue that they should have been given the opportunity to purchase

 HarbourVest’s 49.98% interest in HCLOF. Mr. Seery is alleged to be the chief perpetrator of

 wrongdoing. Subsequently, in the Seery Motion, in which DAF and CLO Holdco seek leave to

 amend the Complaint to add Mr. Seery to the District Court Action, DAF and CLO Holdco were

 clear for the first time that there is a “pending Chapter 11 proceeding” and disclosed to the District

 Court that they did not name Mr. Seery in the Complaint since the bankruptcy court “issued an

 order prohibiting the filing of any causes of action against Seery in any way related to his role at

 [Highland], subject to certain prerequisites. In that order, the bankruptcy court also asserted ‘sole

 jurisdiction’ over all such causes of action.” 24 DAF and CLO Holdco went on to state that the

 bankruptcy court’s order “exceeds the bankruptcy court’s powers and is unenforceable,” but even

 if enforceable, in an abundance of caution, DAF and CLO Holdco are satisfying the bankruptcy

 court’s mandates by asking the District Court for leave to sue Mr. Seery, since the bankruptcy

 court’s powers are derivative from the District Court. 25

            Disturbingly, one of the Alleged Contemnors (CLO Holdco) objected to the HarbourVest

 Settlement during the bankruptcy case 26 and later withdrew its objection during the bankruptcy



 23
   Mr. Dondero and CLO Holdco appeared at and examined the HarbourVest witness, Michael Pugatch, at a deposition
 before the hearing on the HarbourVest Settlement. Declaration of John Morris, Exhs. 7 & 8 thereto [DE # 2237].
 Moreover, it is rather astounding to this court for anyone to suggest that any human being (Mr. Seery or anyone else)
 knew more, or withheld, any information that wasn’t well known to Mr. Dondero and all principals/agents of DAF
 and CLO Holdco. Mr. Dondero and any personnel associated with DAF and CLO Holdco were as (or more) familiar
 with HCLOF’s assets and their potential value than any human beings on the planet—having managed these assets
 for years. As one example, it has been represented to the court that HCLOF owns shares in MGM Holdings, Inc.
 (“MGM”). It is undisputed that Mr. Dondero sits on the MGM Board of Directors. See DE # 2236, n.14.
 24
      Debtor’s Exh. 17 [DE # 2410] at paragraph 2, p. 1.
 25
      Id. at paragraph 3, pp. 1-2; & pp.5-8.
 26
      Declaration of John Morris (Exh. 6 attached thereto) [DE # 2237].


                                                           6

                                                                                                         22-11036.32

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 court hearing regarding the settlement, 27 and did not appeal the order approving the HarbourVest

 Settlement. CLO Holdco, in its later-withdrawn objection, made the very same argument that it

 now makes in Count 2 of the Complaint (in its breach of HCLOF membership agreement claim)—

 i.e., that the Debtor committed a breach of a “right of first refusal” in the HCLOF membership

 agreement (in fact, this was the sole argument CLO Holdco made in its objection). 28 The Debtor

 and CLO Holdco submitted briefing on the alleged “right of first refusal” prior to the hearing on

 the HarbourVest Settlement, and the bankruptcy court spent a fair amount of time reviewing the

 briefing—only to learn on the morning of the hearing that CLO Holdco was withdrawing its

 objection.

            In any event, the Debtor now alleges that the District Court Action is not only an improper

 collateral attack on the bankruptcy court’s order approving the HarbourVest Settlement, but—more

 germane to this civil contempt matter—the motion to amend the District Court Action to add Mr.

 Seery is a violation of two earlier bankruptcy court orders 29 that contained “gatekeeper

 provisions”—i.e., specific provisions requiring parties to seek bankruptcy court approval before

 filing lawsuits against the persons controlling the Debtor. These gatekeeper provisions—which

 the bankruptcy court considered to be both (a) a way to maintain control of potentially vexatious,

 distracting litigation (which might interfere with the reorganization effort), and (b) consistent with

 the United States Supreme Court case of Barton v. Barbour, 30 and some of its progeny (as well as


 27
   Declaration of John Morris (Exh. 10 attached thereto), Transcript of 1/14/21 Hearing, at 7:20-8:6 [DE # 2237]. Note
 that two family trusts of Mr. Dondero had objected to the HarbourVest Settlement (in addition to Mr. Dondero
 personally), but they made clear at the January 14, 2021 Hearing on the HarbourVest Settlement that they were not
 asserting that the HCLOF membership agreement (or an alleged right of first refusal therein) was being violated by
 the HarbourVest Settlement. Id. at 22:5-20.
 28
      Declaration of John Morris (Exh. 6 attached thereto) [DE # 2237].
 29
      Debtor’s Exh. 15 & 16 [DE # 2410].
 30
      104 U.S. 126 (1881).

                                                           7

                                                                                                         22-11036.33

                                                   R.E. 501
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 the second sentence of 28 U.S.C. § 959(a))—were heavily negotiated in the case and significant,

 since they were put in place against a backdrop of contentious litigation. No one appealed the two

 bankruptcy court orders with the gatekeeper provisions. There were still more gatekeeping

 provisions in the Debtor’s Chapter 11 plan that the bankruptcy court confirmed on February 22,

 2021 (that plan is on appeal at the Fifth Circuit, although the Fifth Circuit has denied a stay pending

 appeal; at the time of the hearing on this civil contempt matter, the plan had not yet gone effective).

           Objections to the Debtor’s request to have the Alleged Contemnors, the Alleged

 Contemnors’ lawyers, and Authorizing Persons held in civil contempt of court were filed by DAF,

 CLO Holdco, Sbaiti & Company, PLLC, 31 by Mr. Patrick, 32 and by Mr. Dondero. 33 They argue

 that the Alleged Contemnors have not violated the bankruptcy court’s prior orders containing

 gatekeeper provisions because the Alleged Contemnors have not actually sued Mr. Seery but,

 rather, have sought permission from the District Court to sue him. They argue that, even though the

 January 2020 Corporate Governance Order and July 2020 Seery CEO Order required parties to seek

 bankruptcy court permission to sue Mr. Seery, that seeking District Court permission is appropriate,

 since district courts actually have bankruptcy subject matter jurisdiction and bankruptcy courts are

 mere units of the district courts. Moreover, the Alleged Contemnors suggest that the bankruptcy

 court’s gatekeeper provisions in the two orders exceeded the reach of its powers, and, again, their

 Seery Motion was simply about asking the court with original bankruptcy subject matter

 jurisdiction (i.e., the District Court) for authority to sue Mr. Seery.




 31
      DE # 2313.
 32
      DE # 2309.
 33
      DE # 2312.


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                                                                                            22-11036.34

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            The bankruptcy court held an evidentiary hearing on the civil contempt matter on June 8,

 2021. For the reasons set forth below, the court finds and concludes that DAF, CLO Holdco, Sbaiti

 & Company, PLLC (and its lawyers Jonathan Bridges and Mazin Sbaiti), Mr. Patrick, and Mr.

 Dondero are all in civil contempt of at least two bankruptcy court orders of which they had

 knowledge and were well aware. They shall each be jointly and severally liable for the sum of

 $239,655 as a compensatory sanction for their civil contempt, and they will be purged from their

 contempt if they pay this amount within 15 days of entry of this Order. Moreover, the court will

 add on a sanction of $100,000 for each level of rehearing, appeal, or petition for certioriari that the

 Alleged Contemnors may choose to take with regard to this Order, to the extent any such motions

 for rehearing, appeals, or petitions for certiorari are not successful.

            II.     Background.

            A brief summary of the above-referenced bankruptcy case can be found in this court’s

 Memorandum and Opinion issued June 7, 2021, regarding an earlier contempt motion that involved

 Mr. Dondero and different allegedly contemptuous actions. 34 This court will not repeat that

 summary herein but will hit some of the most pertinent highlights.

            Bankruptcy Filing. On October 16, 2019 (the “Petition Date”), Highland filed a voluntary

 petition for relief under Chapter 11 of the Bankruptcy Code. Highland is a registered investment

 advisor that manages billions of dollars of assets. Highland’s assets are spread out in numerous,

 separate fund vehicles. While the Debtor has continued to operate and manage its business as a

 debtor-in-possession, the role of Mr. Dondero vis-à-vis the Debtor was significantly limited early

 in the bankruptcy case and ultimately terminated. The Debtor’s current CEO, Mr. Seery, was

 selected by the creditors and approved by the bankruptcy court during the Chapter 11 case.



 34
      Adversary Proceeding No. 20-03190, [DE # 190].

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          Corporate Governance Shake-Up. Specifically, early in the case, the Official Unsecured

  Creditors Committee (the “UCC”)—whose members asserted well over $1 billion worth of claims

  and whose members had been in litigation with Highland for many years in many courts—and the

  U.S. Trustee (“UST”) both desired to have a Chapter 11 Trustee appointed in Highland’s

  bankruptcy case—absent some major change in corporate governance—due to conflicts of interest

  and the alleged self-serving, improper acts of Mr. Dondero and possibly other former officers.

  Under this pressure, the Debtor negotiated a term sheet and settlement with the UCC, which was

  executed by Mr. Dondero and approved by a bankruptcy court order on January 9, 2020 (the

  “January 2020 Corporate Governance Order”).35 The settlement and term sheet contemplated a

  complete overhaul of the corporate governance structure of the Debtor. Mr. Dondero resigned

  from his role as an officer and director of the Debtor and of the Debtor’s general partner. Three new

  independent directors (the “Independent Board”) were appointed to govern the Debtor’s general

  partner—Strand Advisors, Inc. (“Strand”)—which, in turn, manages the Debtor. All of the new

  Independent Board members were selected by the UCC and are very experienced within either the

  industry in which the Debtor operates, restructuring, or both. The three Independent Board

  members are: Retired Bankruptcy Judge Russell Nelms; John Dubel; and Mr. Seery. As noted

  above, one of the Independent Board members, Mr. Seery, was ultimately appointed as the Debtor’s

  new CEO and CRO on July 16, 2020 (the “July 2020 Seery CEO Order”). 36 To be clear,

  Highland—during the bankruptcy case and still now—is governed by these wholly new,



  35
    See Debtor’s Exh. 15 [DE # 2410]. The exact title and location on the Bankruptcy Docket for this Order is: Order
  Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor and
  Procedures for Operations in the Ordinary Course [DE # 339].
  36
    See Debtor’s Exh. 16 [DE # 2410]. The exact title and location on the Bankruptcy Docket for this Order is: Order
  Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P.
  Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro Tunc to
  March 15, 2020 [DE # 854].

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  Independent Board members who had no prior connection to Highland. They were brought in to

  build trust with creditors and to hopefully put an end to a litigation culture that permeated Highland.

           As for Mr. Dondero, while not originally contemplated as part of the January 2020

  Corporate Governance Settlement, the Debtor proposed at the hearing on the January 2020

  Corporate Governance Settlement that Mr. Dondero remain on as an unpaid employee of the Debtor

  and also continue to serve as a portfolio manager for certain separate non-Debtor investment

  vehicles/entities whose funds are managed by the Debtor. The court approved this arrangement

  when the UCC ultimately did not oppose it. Mr. Dondero’s authority with the Debtor was subject

  to oversight by the Independent Board,37 and Mr. Seery was given authority to oversee the day-to-

  day management of the Debtor, including the purchase and sale of assets held by the Debtor and its

  subsidiaries, as well as the purchase and sale of assets that the Debtor manages for various separate

  non-Debtor investment vehicles/entities.

           Eventually, the Debtor’s new Independent Board concluded that it was untenable for Mr.

  Dondero to continue to be employed by the Debtor in any capacity because of conflicts and friction

  on many issues. Mr. Dondero’s employment arrangement with the Debtor ceased in October 2020,

  but the termination of his employment was not the end of the friction between the Debtor and Mr.

  Dondero. In fact, a week after his termination, litigation posturing and disputes began erupting

  between Mr. Dondero and certain of his related entities, on the one hand, and the Debtor on the

  other.




  37
     “Mr. Dondero’s responsibilities in such capacities shall in all cases be as determined by the Independent Directors
  . . . [and] will be subject at all times to the supervision, direction and authority of the Independent Directors. In the
  event the Independent Directors determine for any reason that the Debtor shall no longer retain Mr. Dondero as an
  employee, Mr. Dondero agrees to resign immediately upon such determination.” See Debtor’s Exh. 15 (paragraph 8
  therein). [DE # 2410].


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          Plan Confirmation. The bankruptcy court confirmed a Chapter 11 plan on February 22,

  2021. The plan was supported by the UCC and an overwhelming dollar amount of creditors. Mr.

  Dondero and certain entities related to him objected to the plan and have appealed the Confirmation

  Order. Mr. Seery remains as the executive of the Debtor, and will continue to serve in that role,

  under a specific structure established in the plan and accompanying documents (with oversight by

  the court and creditor representatives).

          III.     The Impetus for this Second Civil Contempt Matter.

          A. The Orders.

          The subject of this second civil contempt matter is, primarily, two orders that were never

  appealed: (a) the January 2020 Corporate Governance Order; and (b) the July 2020 Seery CEO

  Order—both referenced above. 38

          B. The Gatekeeper Provisions in the Two Orders.

          As mentioned above, these orders contained certain provisions that are sometimes referred

  to as “gatekeeper” provisions. These “gatekeeper” protections require litigants to obtain the

  bankruptcy court’s approval before suing certain protected parties in control of the Debtor for

  actions arising in the course of their duties, including Mr. Seery.

          Paragraph 10 of the January 2020 Corporate Governance Order provided:

                  No entity may commence or pursue a claim or cause of action of any kind
          against any Independent Director, any Independent Director’s agents, or any
          Independent Director’s advisors relating in any way to the Independent Director’s
          role as an independent director of Strand without the Court (i) first determining
          after notice that such claim or cause of action represents a colorable claim of willful
          misconduct or gross negligence against Independent Director, any Independent
          Director’s agents, or any Independent Director’s advisors and (ii) specifically
          authorizing such entity to bring such claim. The Court will have sole jurisdiction to
          adjudicate any such claim for which approval of the Court to commence or pursue
          has been granted.

  38
     Debtor’s Exhs. 15 & 16. The HarbourVest Settlement Order described above is likewise significant to this analysis
  (also not appealed by the Alleged Contemnors).

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           Similarly, paragraph 5 of the July 2020 Seery CEO Order provided:

                   No entity may commence or pursue a claim or cause of action of any kind
           against Mr. Seery relating in any way to his role as the chief executive officer and
           chief restructuring officer of the Debtor without the Bankruptcy Court (i) first
           determining after notice that such claim or cause of action represents a colorable
           claim of willful misconduct or gross negligence against Mr. Seery, and (ii)
           specifically authorizing such entity to bring such claim. The Bankruptcy Court shall
           have sole jurisdiction to adjudicate any such claim for which approval of the Court
           to commence or pursue has been granted.

           Despite these gatekeeper provisions, on April 12, 2021, the Alleged Contemnors, through

  new counsel (i.e., different from the lawyers who represented them during the Bankruptcy Case

  previously) filed the District Court Action and promptly thereafter filed the Seery Motion asking

  the District Court for permission to add him as a defendant.

           C. A Few Words About Gatekeeper Provisions.

           Gatekeeper provisions are not uncommon in the world of bankruptcy. There are multiple

  decisions from the Northern District of Texas 39 (as well as other districts) 40 approving gatekeeper


  39
    See, e.g., In re Pilgrim’s Pride Corp., 2010 Bankr. LEXIS 72 (Bankr. N.D. Tex. Jan. 14, 2010) (bankruptcy court
  channeled to itself exclusive jurisdiction to hear claims against debtors’ management (including their boards of
  directors and chief restructuring officer) and the professionals based upon their conduct in pursuit of their
  responsibilities during the chapter 11 cases.); see also In re CHC Group, Ltd. (Case No. 16-31854, Bankr. N.D. Tex.)
  Debtors’ Fourth Amended Joint Chapter 11 Plan of Reorganization [DE # 1671-1, attached to Findings of Fact and
  Conclusions of Law, and Order Confirming the Debtors’ Fourth Amended Joint Chapter 11 Plan of Reorganization],
  Section 10.8(b) at 57 (court retained exclusive jurisdiction to hear claims against any “Protected Party,” including any
  claims “in connection with or arising out of . . . the administration of this Plan or the property to be distributed under
  this Plan, . . . or the transactions in furtherance of the foregoing, . . . .”) (emphasis added); see also Louisiana World
  Exposition v. Federal Ins. Co., 858 F.2d 233 (5th Cir. 1988) (bankruptcy court must determine that claim is colorable
  before authorizing a committee to sue in the stead of the debtor).
  40
     See, e.g., Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 546 B.R. 284 (Bankr. S.D.N.Y. 2016)
  (bankruptcy court acts as gatekeeper to determine whether claims of certain creditors against certain Madoff feeder
  funds are direct claims (claims which may be brought by the creditor) or derivative claims (claims which either can
  only be brought by the Madoff post-confirmation liquidating trust or have already been settled by the trust)); In re
  Motors Liquidation Co., 541 B.R. 104 (Bankr. S.D.N.Y. 2015) (discussing bankruptcy court’s gatekeeper function
  over GM ignition switch cases); In re Motors Liquidation Co., 568 B.R. 217 (Bankr. S.D.N.Y. 2017) (same). The use
  of the gatekeeper structure in the General Motors cases is particularly noteworthy. The causes of action arising from
  defective ignition switches are based on state tort law – both product liability and personal injury – and are causes of
  action unquestionably outside the jurisdiction of a bankruptcy court to hear on the merits. Nevertheless, the General
  Motors bankruptcy court acted as the gatekeeper post-confirmation to determine whether such litigation should
  proceed against the estate of the old debtor or the asset purchaser under the confirmed plan.

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  provisions that either: (a) granted exclusive jurisdiction in the bankruptcy court to hear matters

  challenging the actions of debtors’ officers and directors arising from their conduct in the

  bankruptcy cases; or (b) at least granted power to a bankruptcy court to determine whether such

  matters could go forward. 41

             Bankruptcy courts frequently determine that the “Barton Doctrine” supports gatekeeper

  provisions and may, by analogy, sometimes be applied to executives and independent directors of

  debtors in possession. The “Barton Doctrine” originated from an old Supreme Court case42 dealing

  with receivers. The “Barton Doctrine” was eventually expanded in bankruptcy jurisprudence to

  apply to bankruptcy trustees. As this court once noted regarding the “Barton Doctrine”:

                     [It] provides that, as a general rule, before a suit may be brought against a
             trustee, leave of the appointing court (i.e., the bankruptcy court) must be obtained.
             The Barton doctrine is not an immunity doctrine but—strange as this may sound—
             has been held to be a jurisdictional provision (in other words, a court will not have
             subject matter jurisdiction to adjudicate a suit against a trustee unless and until the
             bankruptcy court has granted leave for the lawsuit to be filed).43

             Courts have articulated numerous rationales for having this jurisdictional gatekeeping

  doctrine. One is that, because a “trustee in bankruptcy is an officer of the court that appoints him,”44

  the appointing court “has a strong interest in protecting him from unjustified personal liability for

  acts taken within the scope of his official duties.”45 Another rationale is that the leave requirement



  41
    See Villegas v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015) (under “Barton Doctrine,” litigant must still seek
  authority from the bankruptcy court that appointed the trustee before filing litigation even if the bankruptcy court may
  not have jurisdiction to adjudicate the underlying claim).
  42
       Barton v. Barbour, 104 U.S. 126 (1881).
  43
    Baron v. Sherman (In re Ondova Ltd. Co.), 2017 Bankr. LEXIS 325, *29 (Bankr. N.D. Tex. February 1, 2017);
  report and recommendation adopted, Baron v. Sherman (In re Ondova Co.), 2018 U.S. Dist. LEXIS 13439 (N.D. Tex.
  Jan. 26, 2018), aff’d, In re Ondova Ltd., 2019 U.S. App. LEXIS 3493 (5th Cir. 2019).
  44
       In re Lehal Realty Assocs., 101 F.3d 272, 276 (2d Cir. 1996).
  45
       Id.


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  “enables the bankruptcy court to maintain control over the estate and furthers the goal of

  centralizing all creditors’ claims so they can be efficiently administered.”46 Yet other courts have

  expressed an underlying reason for the doctrine is to maintain a panel of competent and qualified

  trustees and to ensure efficient administration of bankruptcy estates:                       Without the leave

  requirement, “trusteeship w[ould] become a more irksome duty” and it would become “harder for

  courts to find competent people to appoint as trustees. Trustees w[ould] have to pay higher

  malpractice premiums” and “this w[ould] make the administration of bankruptcy estates more

  expensive.”47 Finally, another policy concern underlying the doctrine is a concern for the overall

  integrity of the bankruptcy process and the threat of trustees being distracted from or intimidated

  from doing their jobs. For example, losers in the bankruptcy process might turn to other courts to

  try to become winners there—by alleging the trustee did a negligent job. 48 The Fifth Circuit has

  recently recognized the continuing vitality of the “Barton Doctrine”—even after Stern v. Marshall49

  (that is, even in a scenario in which the appointing bankruptcy court might not itself have

  Constitutional authority to adjudicate the claims asserted against the trustee pursuant to the Stern

  decision). 50

             To be clear, the “Barton Doctrine” originated as a protection for federal receivers, but courts

  expanded the concept to bankruptcy trustees, and eventually it has been applied to various court-

  appointed and court-approved fiduciaries and their agents in bankruptcy cases, including debtors in


  46
       In re Ridley Owens, Inc., 391 B.R. 867, 871 (Bankr. N.D. Fla. 2008).
  47
    McDaniel v. Blust, 668 F.3d 153, 157 (4th Cir. 2012) (citing In re Linton, 136 F.3d 544, 545 (7th Cir. 1998)). See
  also generally 1 COLLIER ON BANKRUPTCY 10-4 & 10-5 (Alan R. Resnick and Henry J. Sommer, eds., 16th Ed. 2016).
  48
       Linton, 136 F.3d at 545-546.
  49
       Stern v. Marshall, 564 U.S. 462 (2011).
  50
       See Villegas v. Schmidt, 788 F.3d 156, 58-59 (5th Cir. 2015).


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  possession, 51 officers and directors of a debtor, 52 and the general partner of a debtor. 53 In the

  Highland case, since Mr. Seery and the Independent Directors were proposed by the UCC to avoid

  the appointment of a trustee, it seemed rather obvious to the bankruptcy court that they should have

  similar protections from suit—particularly against the backdrop of a litigation culture at Highland

  that had theretofore existed.

              DAF and CLO Holdco argue that the gatekeeper provisions that are involved here run afoul

  of 28 USC § 959(a) and are an inappropriate extension of the “Barton Doctrine” and, more

  generally, they argue that the January 2020 Corporate Governance Order and July 2020 Seery CEO

  Order simply went too far by precluding claims being asserted against Mr. Seery that are lesser than

  gross negligence and willful misconduct—suggesting that precluding claims lesser than gross

  negligence and willful misconduct (such as a mere negligence claim) would violate federal law (the

  Investment Advisors Act) because Mr. Seery cannot contract away his fiduciary duties in this

  regard.

             Putting aside for the moment the fact that the January 202 Corporate Governance Order and

  the July 2020 Seery CEO Order are final and nonappealable orders that have res judicata effect,

  DAF and CLO Holdco are simply wrong about 28 U.S.C. § 959(a) and the unavailability of the

  “Barton Doctrine” in a situation such as this. 28 U.S.C. § 959(a) states:




  51
     Helmer v. Pogue, 2012 U.S. Dist. LEXIS 151262 (N.D. Ala. Oct. 22, 2012) (applying Barton Doctrine to debtor in
  possession); see also 11 U.S.C §§ 1107(a) (providing that a debtor in possession has all the rights and duties of a
  trustee and serves in the same fiduciary capacity).
  52
    See Carter v. Rodgers, 220 F.3d 1249, 1252 & n.4 (11th Cir. 2000) (debtor must obtain leave of the bankruptcy
  court before initiating an action in district court when that action is against the trustee or other bankruptcy-court-
  appointed officer for acts done in the actor’s official capacity, and finding no distinction between a “bankruptcy-court-
  appointed officer” and officers who are “approved” by the court); Hallock v. Key Fed. Sav. Bank (In re Silver Oak
  Homes), 167 B.R. 389 (Bankr. D. Md. 1994) (president of debtor).
  53
       Gordon v. Nick, 1998 U.S. App. LEXIS 21519 (4th Cir. 1998) (managing partner of debtor).


                                                            16

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                    Trustees, receivers or managers of any property, including debtors in
           possession, may be sued, without leave of the court appointing them, with respect
           to any of their acts or transactions in carrying on business connected with such
           property. Such actions shall be subject to the general equity of such court so far
           as the same may be necessary to the ends of justice, but this shall not deprive a
           litigant of his right to trial by jury. (Emphasis added.)


           To be sure, this statute has long been recognized as a limited exception to the “Barton

  Doctrine,” so that trustees and debtors in possession can be sued for postpetition torts or other

  causes of action that happen to occur in the ordinary course of operating a business (as opposed

  to actions of the trustee while engaged in the general administration of the case)—the classic

  example being a “slip and fall” personal injury suit that might occur on the premises of a business

  that a trustee or debtor in possession is operating. 54 However, DAF and CLO Holdco ignore the

  last sentence of the statute that gives the appointing court the equitable powers to control the

  litigation “as the same may be necessary to the ends of justice.” This is precisely what a gatekeeper

  provision is all about. 55

           But as earlier noted, DAF and CLO Holdco are too late to argue about the legality or

  enforceability of the January 2020 Corporate Governance Order and the July 2020 Seery CEO

  Order. The Fifth Circuit has made clear that, if a party fails to object to or appeal a final order—

  even one that grants relief that may be outside of a bankruptcy court’s jurisdiction—the order is res

  judicata as to parties who had the opportunity to object to it. It becomes the law of the case and is


  54
    E.g., Muratore v. Darr, 375 F.3d 140, 144 (1st Cir. 2004) (section 959(a) “is intended to ‘permit actions redressing
  torts committed in furtherance of the debtor’s business, such as the common situation of a negligence claim in a slip
  and fall case where a bankruptcy trustee, for example, conducted a retail store’”) (quoting Carter v. Rodgers, 220 F.3d
  1249, 1254 (11th Cir. 2000)). See also Lebovits v. Scheffel (In re Lehal Realty Assocs.), 101 F.3d 272, 276 (2d Cir.
  1996); In re Am. Associated Sys., Inc., 373 F. Supp. 977, 979 (E.D. Ky. 1974).
  55
    The court further notes anecdotally that DAF and CLO Holdco demanded a jury trial in their Complaint, and they
  have alluded to this as a reason why it was appropriate to bring their suit in the District Court. But it appears they
  contractually waived their jury trial rights in a prepetition agreement with Highland. See DE # 2495, Ex. A thereto,
  ¶14(f).


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  not subject to collateral attack. 56 The Supreme Court has more recently stated this principle in the

  bankruptcy context in United Student Aid Funds, Inc. v. Espinosa.57

             In summary, there can be no doubt that there are two binding, nonappealable final orders58

  that govern in the situation at bar. Not only were they wholly proper but parties are now bound by

  them regardless.

             IV.      The Evidence at the June 8, 2021 Hearing.

             The bankruptcy court held an evidentiary hearing on the civil contempt matter on June 8,

  2021. The court considered the Declaration of John Morris (with Exhibits 1-18 thereto), at DE #

  2237; Debtor’s Exhibits 12-55, at DE ## 2410 & 2421; Exhibits 1, 3-12, 15-28, 30-46 of DAF,

  CLO Holdco, and Mr. Patrick at DE ## 2411 & 2420; and the live witness testimony of Mr. Patrick

  and Mr. Dondero.

             There really is very little, if anything, in dispute. No one disputes the existence of the

  January 2020 Corporate Governance Order or the July 2020 Seery CEO Order or the Harbourvest

  Settlement. No one disputes the existence of the District Court Action or the Seery Motion. Thus,

  all that the court heard at the June 8, 2021 hearing that was “new,” beyond what was in the pleadings

  and documents, was the explanations/rationales given by those involved with filing the District

  Court Action and the Seery Motion.




  56
       Republic Supply Co. v. Shoaf, 815 F.2d 1046 (5 th Cir. 1987).
  57
    130 S. Ct. 1367 (2010) (order confirming Chapter 13 plan, that improperly proposed to discharge a student loan
  without a hardship adversary proceeding, was not void where there had been no objection or appeal).
  58
    DAF and CLO Holding presented a case at the June 8, 2021 hearing suggesting the January 2020 Corporate
  Governance Order and the July 2020 Seery CEO Order might not have been final orders. The case dealt with an
  employment order under Section 327 of the Bankruptcy Code, and this court does not believe it was applicable here.


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             Mr. Patrick testified that he became the manager/director of DAF and CLO Holdco on

  March 24, 2021,59 and he earns no compensation for that role, although the prior manager/director,

  Mr. Grant Scott, earned $5,000 per month.60 Mr. Patrick testified that he authorized the filing of

  the Complaint and the Seery Motion. 61 He testified that he retained the Sbaiti law firm 12 days

  before the District Court Action was filed, and the idea for filing the Complaint came from that

  firm, 62 although Mr. Dondero “brought certain information” to Mr. Patrick. Mr. Patrick then

  “engaged the Sbaiti firm to launch an investigation,” and “also wanted Mr. Dondero to work with

  the Sbaiti firm with respect to their investigation of the underlying facts.”63 Mr. Patrick elaborated

  that he had no specific knowledge about the HarbourVest Settlement before taking charge of DAF

  and CLO Holdco, 64 but Mr. Dondero came to him with information about it. 65 Mr. Patrick did not

  talk to DAF’s and CLO Holdco’s prior managing member (Grant Scott) about the District Court

  Action, even though Grant Scott had been the managing member at the time of the HarbourVest

  Settlement that is the subject of the District Court Action. 66 Mr. Patrick hired the Sbaiti law firm at

  the unsolicited recommendation of D.C. Sauter, 67 the in-house general counsel of NexPoint




  59
       Transcript 6/8/21 Hearing, at 97:3-21. [DE# 2440].
  60
       Id. at 132:6-17. See also Debtor’s Exh. 24 at 96:2-18 [DE # 2410].
  61
       Transcript 6/8/21 Hearing, at 103:10-14; 104:3-13. [DE # 2440].
  62
       Id. at 104:9-22.
  63
       Id. at 105:1-5.
  64
       Id. at 104:17-22.
  65
       Id. at 105:13-106:16.
  66
    Debtor’s Exh. 24 at 101:10-102:20 [DE # 2410]; see also Transcript 6/8/21 Hearing, at 108:20-109:22. [DE #
  2440].
  67
       Transcript 6/8/21 Hearing, at 106:22-107:11. [DE # 2440].


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  Advisors (a company of which Mr. Dondero is president and controls). 68 Mr. Patrick further

  testified that Mr. Dondero communicated directly with the Sbaiti firm in relation to the investigation

  that was being undertaken and he “did not participate in those conversations”;69 Mr. Patrick

  “considered Mr. Dondero as the investment advisor to the portfolio . . . I wanted him to participate

  in the investigation.” 70 Mr. Patrick confirmed that there is no formal investment advisory agreement

  with Mr. Dondero, and DAF and CLO Holdco had previously been in an investment advisory

  agreement with Highland. 71 While Mr. Patrick’s testimony was replete with comments that he

  deferred to the Sbaiti law firm quite a bit, he did confirm that he authorized the filing of the Seery

  Motion and he was aware of the July 2020 Seery CEO Order. 72

             As for Mr. Dondero, much of the testimony elicited from Mr. Dondero centered around

  whether he essentially controls DAF and CLO Holdco and the sequence of events that led to Mr.

  Grant Scott resigning as their managing member. Recall that Mr. Scott had been their managing

  member at the time of the HarbourVest Settlement—to which CLO Holdco objected and then




  68
   NexPoint Advisors is 99% owned by Mr. Dondero’s family trust, Dugaboy Investment Trust, and is 1% owned by
  NexPoint Advisors GP, LLC, which is 100% owned by Mr. Dondero. [DE # 2543].
  69
       Id. at Transcript 6/8/21 Hearing, at 107:24-108:18. [DE # 2440].
  70
       Id. at 107:18-23.
  71
    The lawyers at Sbaiti & Company commented during opening statements that Mr. Dondero was the source of certain
  of the information in the Complaint and that they were asserting “work product privilege” and “attorney-client
  privilege” as to their communications with Mr. Dondero “because he’s an agent of our client.” Id. at 41:6-10. The
  court ultimately overruled this claim of privilege since, among other things, Mr. Patrick’s own testimony confirmed
  that Mr. Dondero had no contractual arrangement of any sort with DAF and CLO Holdco, and he was not a board
  member and had no decision-making authority for them. Id. at 137:2-12; See also id. at 180:23-188:7. For purposes
  of privilege assertion, there was no evidence whatsoever that Mr. Dondero was an agent or representative of DAF and
  CLO Holdco.
  72
       Id. at 111:5-112:9.


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  withdrew its objection. 73 Mr. Dondero testified that he believed Mr. Scott’s decision to withdraw

  the objection to the HarbourVest Settlement was inappropriate. 74

             Mr. Dondero further confirmed that he was the founder and primary donor to DAF. 75 He

  expressed disapproval for Mr. Scott’s various decisions on behalf of DAF and CLO Holdco during

  the bankruptcy case (such as withdrawing a proof of claim and settling a lawsuit with the Debtor).76

  He testified about general knowledge of the January 2020 Corporate Governance Order and the

  July 2020 Seery CEO Order. 77 He confirmed that he participated in discussions with Mr. Sbaiti

  regarding the filing of the Complaint—indicating he spoke with the firm a “[h]alf dozen times,

  maybe.” 78 He testified that he was not involved with the Seery Motion itself.79

             The totality of the evidence was clear that Mr. Dondero sparked this fire (i.e., the idea of

  bringing the District Court Action to essentially re-visit the HarbourVest Settlement and to find a

  way to challenge Mr. Seery’s and the Debtor’s conduct), and Mr. Patrick and Sbaiti & Company,

  PLLC, were happy to take the idea and run with it. The court believes the evidence was clear and

  convincing that Mr. Dondero encouraged Mr. Patrick to do something wrong, and Mr. Patrick

  basically abdicated responsibility to Mr. Dondero with regard to dealing with Sbaiti and executing

  the litigation strategy.

                Conclusions of Law



  73
       Id. at 163:10-165:18.
  74
       Id.
  75
       Id. at 165:19-24.
  76
       Id. at 161:24-168:1; 169:1-170:9.
  77
       Id. at 178:16-180:11.
  78
       Id. at 180:12-22; 207:10-12.
  79
       Id. at 210:7-14.

                                                          21

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             A. Jurisdiction and Authority.

             Bankruptcy subject matter jurisdiction exists in this matter, pursuant to 28 U.S.C. § 1334(b).

  This bankruptcy court has authority to exercise such subject matter jurisdiction, pursuant to 28

  U.S.C. § 157(a) and the Standing Order of Reference of Bankruptcy Cases and Proceedings (Misc.

  Rule No. 33), for the Northern District of Texas, dated August 3, 1984. This is a core matter

  pursuant to 28 U.S.C. § 157(b) in which this court may issue a final order.

             The contempt motion currently before the court seeks for this court to hold DAF, CLO

  Holdco, Sbaiti & Company, PLLC, and any persons who authorized their actions in civil contempt

  of court for violating two orders of this court. Mr. Patrick and Mr. Dondero have both responded

  herein—neither, of course, admitting to any wrongdoing.

             It is well established that bankruptcy courts have civil (as opposed to criminal) contempt

  powers. “The power to impose sanctions for contempt of an order is an inherent and well-settled

  power of all federal courts—including bankruptcy courts.” 80 A bankruptcy court’s power to

  sanction those who “flout [its] authority is both necessary and integral” to the court’s performance

  of its duties. 81 Indeed, without such power, the court would be a “mere board[ ] of arbitration,

  whose judgments and decrees would be only advisory.” 82


  80
    In re SkyPort Global Comm’s, Inc., No. 08-36737-H4-11, 2013 WL 4046397, at *1 (Bankr. S.D.Tex. Aug. 7, 2013),
  aff'd., 661 Fed. Appx. 835 (5th Cir. 2016); see also In re Bradley, 588 F.3d 254, 255 (5th Cir. 2009) (noting that “civil
  contempt remains a creature of inherent power[,]” to “prevent insults, oppression, and experimentation with
  disobedience of the law[,]” and it is “widely recognized” that contempt power extends to bankruptcy) (quoting 11
  U.S.C. § 105(a), which states, in pertinent part, that “[t]he court may issue any order, process, or judgment that is
  necessary or appropriate to carry out the provisions of this title.”); Placid Refining Co. v. Terrebonne Fuel & Lube,
  Inc. (In re Terrebonne Fuel & Lube, Inc.), 108 F.3d 609, 613 (5th Cir.1997) (“[W]e assent with the majority of the
  circuits … and find that a bankruptcy court's power to conduct civil contempt proceedings and issue orders in
  accordance with the outcome of those proceedings lies in 11 U.S.C. § 105.”); Citizens Bank & Trust o. v. Case (In re
  Case), 937 F.2d 1014, 1023 (5th Cir. 1991) (held that bankruptcy courts, as Article I as opposed to Article III courts,
  have the inherent power to sanction and police their dockets with respect to misconduct).
  81
       SkyPort Global, 2013 WL 4046397, at *1.
  82
    Id. (internal quotations omitted); see also Bradley, 588 F.3d at 266 (noting that contempt orders are both necessary
  and appropriate where a party violates an order for injunctive relief, noting such orders “are important to the

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              Contempt is characterized as either civil or criminal depending upon its “primary

  purpose.” 83 If the purpose of the sanction is to punish the contemnor and vindicate the authority of

  the court, the order is viewed as criminal. If the purpose of the sanction is to coerce the contemnor

  into compliance with a court order, or to compensate another party for the contemnor’s violation,

  the order is considered purely civil. 84 It is clear that Highland’s intent is to both seek compensation

  for the expenses incurred by Highland, due to the Alleged Contemnors’ purported violations of the

  January 2020 Corporate Governance Order and the July 2020 Seery CEO Order (i.e., the gatekeeper

  provisions therein), and to coerce compliance going forward.

              B. Type of Civil Contempt: Alleged Violation of a Court Order.

              There are different types of civil contempt, but the most common type is violation of a court

  order (such as is alleged here). “A party commits contempt when [they] violate[] a definite and

  specific order of the court requiring [them] to perform or refrain from performing a particular act

  or acts with knowledge of the court's order.” 85 Thus, the party seeking an order of contempt in a

  civil contempt proceeding need only establish, by clear and convincing evidence: 86 “(1) that a court

  order was in effect, and (2) that the order required certain conduct by the respondent, and (3) that

  the respondent failed to comply with the court's order.”87


  management of bankruptcy cases, but have little effect if parties can irremediably defy them before they formally go
  into effect.”).
  83
       Bradley, 588 F.3d at 263.
  84
       Id. (internal citations omitted).
  85
       Travelhost, 68 F.3d at 961.
  86
    United States v. Puente, 558 F. App’x 338, 341 (5th Cir. 2013) (per curiam) (internal citation omitted) (“[C]ivil
  contempt orders must satisfy the clear and convincing evidence standard, while criminal contempt orders must be
  established beyond a reasonable doubt.”).
  87
    F.D.I.C. v. LeGrand, 43 F.3d 163, 170 (5th Cir. 1995); see also Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th
  Cir.1992) (same); Travelhost, 68 F.3d at 961 (same).


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              C. Specificity of the Order.

              To support a contempt finding in the context of an order alleged to have been violated, the

  order must delineate ‘definite and specific’ mandates that the defendants violated.” 88 The court

  need not, however, “anticipate every action to be taken in response to its order, nor spell out in

  detail the means in which its order must be effectuated.”89

              D. Possible Sanctions.

              To be clear, if the court ultimately determines that the Alleged Contemnors are in contempt

  of court, for not having complied with the January 2020 Corporate Governance Order and the July

  2020 Seery CEO Order, the court can order what is necessary to: (1) compel or coerce obedience

  of the order; and (2) to compensate the Debtor/estate for losses resulting from the Alleged

  Contemnors’ non-compliance with the court orders. 90 The court must determine that the

  Debtor/movant showed by clear and convincing evidence that: (1) the orders were in effect; (2) the

  orders required or prohibited certain conduct; and (3) that the Alleged Contemnors failed to comply

  with the orders. 91 “[T]he factors to be considered in imposing civil contempt sanctions are: (1) the

  harm from noncompliance; (2) the probable effectiveness of the sanction; (3) the financial resources

  of the contemnor and the burden the sanctions may impose; and (4) the willfulness of the contemnor

  in disregarding the court's order.”92 “Compensatory civil contempt reimburses the injured party for



  88
       Am. Airlines, Inc. v. Allied Pilots Ass'n, 228 F.3d 574, 578 (5th Cir. 2000) (citing Fed. R. Civ. P. 65).
  89
       Id.
  90
    In re Gervin, 337 B.R. 854, 858 (W.D. Tex. 2005) (citing United States v. United Mine Workers, 330 U.S. 258
  (1947)).
  91
   In re LATCL&F, Inc., 2001 WL 984912, at *3 (N.D. Tex. 2001) (citing to Petroleos Mexicanos v. Crawford
  Enterprises, Inc., 826 F.2d 392, 400 (5th Cir. 1987)).
  92
    Lamar Financial Corp. v. Adams, 918 F.2d 564, 567 (5th Cir. 1990) (citing United States v. United Mine Workers,
  330 U.S. 258 (1947)).


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  the losses and expenses incurred because of [their] adversary's noncompliance.”93 Ultimately,

  courts have “broad discretion in the assessment of damages in a civil contempt proceeding.”94

             E. Knowledge of the Order.

             “An alleged contemnor must have had knowledge of the order on which civil contempt is

  to be based. The level of knowledge required, however, is not high. And intent or good faith is

  irrelevant.” 95 To be clear, “intent is not an element in civil contempt matters. Instead, the basic rule

  is that all orders and judgments of courts must be complied with promptly.”96

             F. Willfulness of Actions.

             For civil contempt of a court order to be found, “[t]he contemptuous actions need not be

  willful so long as the contemnor actually failed to comply with the court's order.” 97 For a stay

  violation, the complaining party need not show that the contemnor intended to violate the stay.

  Rather, the complaining party must show that the contemnor intentionally committed the acts which

  violate the stay. Nevertheless, in determining whether damages should be awarded under the court's

  contempt powers, the court considers whether the contemnor’s conduct constitutes a willful

  violation of the stay. 98


  93
    Norman Bridge Drug Co. v. Banner, 529 F.2d 822, 827 (5th Cir. 1976); see also Travelhost, 68 F.3d at 961 (noting
  that “[b]ecause the contempt order in the present case is intended to compensate [plaintiff] for lost profits and
  attorneys' fees resulting from the contemptuous conduct, it is clearly compensatory in nature.”); In re Terrebonne Fuel
  & Lube, Inc., 108 F.3d at 613 (affirming court’s decision to impose sanctions for violating injunction and awarding
  plaintiff costs and fees incurred in connection with prosecuting defendant’s conduct); F.D.I.C., 43 F.3d at 168
  (affirming court’s imposition of sanctions requiring defendant to pay movant attorneys’ fees).
  94
    Am. Airlines, 228 F.3d at 585; see also F.D.I.C., 43 F.3d at 168 (reviewing lower court’s contempt order for “abuse
  of discretion” under the “clearly erroneous standard.”); In re Terrebonne Fuel & Lube, Inc., 108 F.3d at 613 (“The
  bankruptcy court's decision to impose sanctions is discretionary[]”).
  95
       Kellogg v. Chester, 71 B.R. at 38.
  96
    In re Unclaimed Freight of Monroe, Inc., 244 B.R. 358, 366 (Bankr. W.D. La. 1999); see also In re Norris, 192
  B.R. 863, 873 (Bankr. W.D. La. 1995) (“Intent is not an element of civil contempt.”)
  97
       Am. Airlines, 228 F.3d at 581 (citing N.L.R.B. v. Trailways, Inc., 729 F.2d 1013, 1017 (5th Cir.1984)).
  98
       In re All Trac Transport, Inc., 306 B.R. 859, 875 (Bankr. N.D. Tex. 2004) (internal citations omitted).

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          G. Applying the Evidence to the Literal Terms of the January 2020 Corporate Governance
             Order and the July 2020 Seery CEO Order.

          The court concludes that there is clear and convincing evidence that DAF, CLO Holdco,

  Sbaiti & Company, PLLC (through attorneys Mazin Sbaiti and Jonathan Bridges), Mr. Patrick, and

  Mr. Dondero—each and every one of them, with their collaborative actions—violated the specific

  wording of the January 2020 Corporate Governance Order and the July 2020 Seery CEO Order,

  and all are in contempt of the bankruptcy court. The evidence was clear and convincing: (1) that

  two court orders were in effect (the January 2020 Corporate Governance Order and the July 2020

  Seery CEO Order); (2) that the orders prohibited certain conduct (i.e., “[n]o entity may commence

  or pursue a claim or cause of action of any kind against Mr. Seery relating in any way to his role as

  the chief executive officer and chief restructuring officer of the Debtor without the Bankruptcy

  Court (i) first determining after notice that such claim or cause of action represents a colorable

  claim of willful misconduct or gross negligence against Mr. Seery, and (ii) specifically authorizing

  such entity to bring such claim.”); 99 and (3) that the all of the Alleged Contemnors (DAF, CLO

  Holdco, Sbaiti & Company, PLLC, Mr. Mazin Sbaiti, Mr. Jonathan Bridges, Mr. Patrick, and Mr.

  Dondero) knew about the orders and failed to comply with the court's orders.

           As earlier noted, the District Court Action is all about Mr. Seery’s allegedly deceitful

  conduct in connection with a bankruptcy court-approved settlement (i.e., the HarbourVest

  Settlement), to which CLO Holdco objected, but then withdrew its objection the day of the hearing.

  The lawsuit is, from this court’s estimation, wholly frivolous. This court is in a better position to

  realize its frivolousness than any other—having spent hours reflecting on the merits of the

  HarbourVest Settlement. This court believes that it is clear and convincing that each of the Alleged



  99
    This is quoting from the July 2020 Seery CEO Order. The January 2020 Corporate Governance Order, of course,
  had the same prohibitory language as to all three of the Independent Directors.

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  Contemnors knew that it would be a “hard sell” to convince this bankruptcy court that the District

  Court Action and the claims against Mr. Seery should be allowed to go forward. That’s why they

  tried their luck with the District Court—concocting a rationale that their methods were proper since

  the bankruptcy court’s power to exercise bankruptcy subject matter is derivative, by statute, from

  the District Court. This rationale is nothing more than thinly veiled forum shopping. But worse, it

  is, in this instance, contempt of court. The Alleged Contemnors argue that they should not be held

  in contempt because, in filing the Complaint (which mentions Mr. Seery 50 times—but merely

  names him as a “potential party”), they did not “commence or pursue” a claim against Mr. Seery.

  Likewise, they argue that, in filing the Seery Motion, they did not actually “commence or pursue”

  a claim against Mr. Seery. They argue that a request for leave from the District Court, to add him

  to the District Court Action, cannot possibly meet the definition of “pursue”—and that one can only

  “pursue” litigation against a party after “commencing” an action against the party. This is linguistic

  gymnastics that does not fly. The Alleged Contemnors were pursuing litigation when they filed the

  Seery Motion in the District Court (and maybe even as early as when they filed the Complaint

  mentioning Mr. Seery 50 times and describing him as a “potential party”). These were all sharp

  litigation tactics, to be sure, but more problematic, were contemptuous of this court’s orders.

   V. Damages.

         The Contempt Motion requests that the court: (a) find and hold each of the Alleged

  Contemnors (directed at DAF, CLO Holdco, Sbaiti & Company, PLLC, and any persons who

  actually authorized their acts—i.e., “Authorizing Persons”) in contempt of court; (b) direct the

  Alleged Contemnors, jointly and severally, to pay the Debtor’s estate an amount of money equal to

  two times the Debtor’s actual expenses incurred in bringing this contempt matter, payable within

  three calendar days of presentment of an itemized list of expenses; (c) impose a penalty of three



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  times the Debtor’s actual expenses incurred in connection with any future violation of any order of

  this court; and (d) grant the Debtor such other and further relief as the court deems just and proper

  under the circumstances.100

           As indicated earlier, the court can order what is necessary to: (1) compel or coerce obedience

  of an order; and (2) to compensate the Debtor/estate for losses resulting from non-compliance with

  a court order. Here, the court believes compensatory damages are more appropriate than a remedy

  to compel or coerce future compliance. Compensatory damages are supposed to reimburse the

  injured party for the losses and expenses incurred because of their adversary's noncompliance.

  Courts have broad discretion but may consider such factors as: (1) the harm from noncompliance;

  (2) the probable effectiveness of the sanction; (3) the financial resources of the contemnor and the

  burden the sanctions may impose; and (4) the willfulness of the contemnor in disregarding the

  court's order.

           As far as the harm from noncompliance, the Debtor presented invoices of the fees incurred

  by its counsel relating to this matter. The invoices were Exhibits 54 & 55 [DE # 2421]. The invoices

  reflect fees of the Debtor’s primary bankruptcy counsel, Pachulski Stang, relating to this contempt

  matter, during the time period of April 18–April 30, 2021, of $38,796.50, 101 and another

  $148,998.50,102 during the time period of May 1–June 7, 2021. These total $187,795, and the court

  determines these to have been reasonable and necessary fees incurred in having to respond and react

  to the contemptuous conduct set forth herein. Moreover, the court considers it to likely be a



  100
    Debtor's Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in Civil
  Contempt for Violating Two Court Orders. [DE # 2247].
  101
     The total fees and expenses for this time period were $1,295,070.58, but the court has calculated the fees related to
  this contempt matter.
  102
    The total fees and expenses for this time period were $1,465,010 but the court has calculated the fees related to this
  contempt matter.

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  conservative number because: (a) it does not reflect the fees and expenses incurred at the June 8,

  2021 Hearing (which went 4+ hours); (b) it does not include any expenses the firm incurred (the

  court notes from the time entries that there were depositions taken—thus, there must have been

  expenses); (c) it does not include any fees and expenses that the UCC may have incurred monitoring

  this contested matter; and (d) it does not include any fees for Pachulski’s local counsel (Hayward

  & Associates). As for the June 8, 2021 Hearing, the court is aware that at least three professionals

  from Pachulski Stang participated (Jeff Pomeranz at $1,295/hour; John Morris at $1,245/hour; and

  paralegal Asia Canty at $425/hour, for a total of $2,965/hour; multiplied by 4 hours equals

  $11,860)—thus, the court will add on another $11,860 of fees that should be reimbursed. The

  expenses the Pachulski firm incurred during this time period were $22,271.14, but they are not

  itemized. Thus, the court will assume $10,000 of this related to the contempt matter. The court

  will conservatively assume the UCC incurred $20,000 in fees monitoring this matter—as this matter

  could impact their constituency’s recovery (the court is aware that the UCC’s lawyer Matthew

  Clemente attended the June 8, 2021 Hearing). The court will conservatively assume that Hayward

  and Associates incurred $10,000 in fees assisting Pachulski. Thus, all totaled, this amounts to

  $239,655 of fees and expenses that this court is imposing upon the Alleged Contemnors, jointly and

  severally, to reimburse the bankruptcy estate for the fees and expenses it has incurred relating to

  their contemptuous acts.

         The Debtor has asked for the court to impose a penalty of three times the Debtor’s actual

  expenses incurred in connection with any future violation of any order of this bankruptcy court.

  The court declines to do this. However, the court will add on a sanction of $100,000 for each level

  of rehearing, appeal, or petition for certioriari that the Alleged Contemnors may choose to take




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  with regard to this Order, to the extent any such motions for rehearing, appeals, or petitions for

  certiorari are not successful.

         Accordingly, it is hereby ORDERED that:

         (i)     DAF, CLO Holdco, Sbaiti & Company, PLLC (including Mazin Sbaiti and Jonathan

                 Bridges), Mark Patrick, and James Dondero (collectively, now the “Contemnors”)

                 are each in civil contempt of court in having violated the court’s January 2020

                 Corporate Governance Order and July 2020 Seery CEO Order—the court having

                 found by clear and convincing evidence that: (1) these orders were in effect and each

                 of the Contemnors knew about them; (2) the orders prohibited certain conduct; and

                 (3) the Contemnors failed to comply with the orders;

         (ii)    In order to compensate the Debtor’s estate for loss and expense resulting from the

                 Contemnors’ non-compliance with the orders, the Contemnors are jointly and

                 severally liable for the compensatory sum of $239,655 and are directed to pay the

                 Debtor (on the 15 th day after entry of this order) an amount of money equal to

                 $239,655;

         (iii)   The court will add on a monetary sanction of $100,000 for each level of rehearing,

                 appeal, or petition for certioriari that the Contemnors may choose to take with

                 regard to this Order, to the extent that any such motions for rehearing, appeals, or

                 petitions for certiorari are pursued by any of them and are not successful;

         (iv)    Other sanctions (such as further deterrence sanctions) are denied at this time but,

                 should any of these Contemnors be subject to another contempt motion in this

                 court in the future and be found to have committed contempt, the court anticipates

                 imposing significant deterrence sanctions (the court duly notes that this is the second



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              time in the last several weeks that the court has found Mr. Dondero to be in contempt

              of court); and

        (v)   The court reserves jurisdiction to interpret and enforce this Order.

                      ### End of Memorandum Opinion and Order ###




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                     TAB G
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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 16, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
                                       §
          In re:                       §
                                       §                                  Case No. 19-34054
          HIGHLAND CAPITAL MANAGEMENT, §                                  Chapter 11
          L.P.,                        §
                                       §                                   Re: Docket No. 774
          Debtor.                      §


                       ORDER APPROVING DEBTORS MOTION UNDER
                       BANKRUPTCY CODE SECTIONS 105(a) AND 363(b)
                    AUTHORIZING RETENTION OF JAMES P. SEERY, JR., AS
              CHIEF EXECUTIVE OFFICER, CHIEF RESTRUCTURING OFFICER, AND
               FOREIGN REPRESENTATIVE NUNC PRO TUNC TO MARCH 15, 2020

               Upon the Debtors Motion under Bankruptcy Code Sections 105(a) and 363(b) for

     Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring

     Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 (the Motion), 1 and the



     1
         All terms not otherwise defined herein shall be given the meanings ascribed to them in the Motion.


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Court finding that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; (ii) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) due and sufficient notice of the Motion has

been given; (v) entry into the Agreement was an exercise of the Debtors sound business

judgment; and (vi) it appearing that the relief requested in the Motion is necessary and in the best

interests of the Debtors estate and creditors; and good and sufficient cause appearing therefor, it

is hereby

         ORDERED, ADJUDGED, and DECREED that:

         1.       The Motion is GRANTED.

         2.       Pursuant to sections 363(b) and 105(a) of the Bankruptcy Code, the Agreement

attached hereto as Exhibit 1 and all terms and conditions thereof are approved, nunc pro tunc to

March 15, 2020.

         3.       The Debtor is hereby authorized to enter into and perform under the Agreement.

         4.       The Debtor is authorized to indemnify Mr. Seery pursuant to the terms of the

Agreement. Mr. Seery is also entitled to any indemnification or other similar provisions under

the Debtors existing or future insurance policies, including any policy tails obtained (or which

may be obtained in the future), by the Debtor. The Debtor and Strand are authorized to enter into

any agreements necessary to execute or implement the transactions described in this paragraph.

For avoidance of doubt and notwithstanding anything to the contrary in this Order, Mr. Seery

shall be entitled to any state law indemnity protections to which he may be entitled under

applicable law.




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         5.       No entity may commence or pursue a claim or cause of action of any kind against

Mr. Seery relating in any way to his role as the chief executive officer and chief restructuring

officer of the Debtor without the Bankruptcy Court (i) first determining after notice that such

claim or cause of action represents a colorable claim of willful misconduct or gross negligence

against Mr. Seery, and (ii) specifically authorizing such entity to bring such claim. The

Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim for which approval of

the Court to commence or pursue has been granted.

         6.       Notwithstanding anything in the Motion, the Agreement or the Order to the

contrary, the Agreement shall be deemed terminated upon the effective date of a confirmed plan

of reorganization unless such plan provides otherwise.

         7.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

         8.       This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation and/or implementation of this Order.

         9.       The Foreign Representative Order is hereby amended to substitute James P.

Seery, Jr., as the chief executive officer, in place of Bradley S. Sharp, as the Debtors Foreign

Representative, Bermuda Foreign Representative and Cayman Foreign Representative. All other

provisions of the Foreign Representative Order shall remain in full force and effect.

                                       ###END OF ORDER###




                                                    3
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS

  CHARITABLE DAF FUND, L.P.                              §
  and CLO HOLDCO, LTD.,                                  §
  directly and derivatively,                             §
                                                         §
                   Plaintiffs,                           §
                                                         §
                      v.                                 §   CAUSE NO. 3:21-cv-00842-B
                                                         §
  HIGHLAND CAPITAL MANAGEMENT,                           §
  L.P., HIGHLAND HCF ADVISOR, LTD.,                      §
  and HIGHLAND CLO FUNDING, LTD.,                        §
  nominally,                                             §
                                                         §
                  Defendants.                            §


    PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                                  I.
                                    NECESSITY OF MOTION
        Plaintiffs submit this Motion under Rule 15 of the Federal Rules of Civil Procedure for one

 purpose: to name as defendant one James P. Seery, Jr., the CEO of Defendant Highland Capital

 Management, L.P. (“HCM”), and the chief perpetrator of the wrongdoing that forms the basis of

 Plaintiffs’ causes of action.

        Seery is not named in the Original Complaint. But this is only out of an abundance of

 caution due to the bankruptcy court, in HCM’s pending Chapter 11 proceeding, having issued an

 order prohibiting the filing of any causes of action against Seery in any way related to his role at

 HCM, subject to certain prerequisites. In that order, the bankruptcy court also asserts “sole

 jurisdiction” over all such causes of action.

        Plaintiffs respectfully submit that, to the extent the bankruptcy court order prohibits the

 filing of an action in this Court, whose jurisdiction the bankruptcy court’s jurisdiction is wholly


 ______________________________________________________________________________
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 derivative of, that order exceeds the bankruptcy court’s powers and is unenforceable.

 Alternatively, Plaintiffs submit that filing this Motion satisfies the prerequisites provided in the

 bankruptcy court’s order. Either of these reasons provides sufficient grounds to grant this Motion.

        The proposed First Amended Complaint is attached as Exhibit 1.

                                                 II.
                                         BACKGROUND
        On June 23, 2020, counsel for HCM filed a motion in HC’s bankruptcy proceedings asking

 the bankruptcy court to defer to the “business judgment” of the board’s compensation committee

 and approve the terms of its appointment of Seery as chief executive officer and chief restructuring

 officer at HCM, retroactive to March.1 Counsel also asked the bankruptcy court to declare that it

 had exclusive jurisdiction over any claims asserted against Seery in this role.

        On July 16, 2020, the bankruptcy court granted that motion and stated as follows:

            No entity may commence or pursue a claim or cause of action of any kind
            against Mr. Seery relating in any way to his role as the chief executive
            officer and chief restructuring officer of the Debtor without the Bankruptcy
            Court (i) first determining after notice that such claim or cause of action
            represents a colorable claim of willful misconduct or gross negligence
            against Mr. Seery, and (ii) specifically authorizing such entity to bring such
            claim. The Bankruptcy Court shall have sole jurisdiction to adjudicate
            any such claim for which approval of the Court to commence or pursue
            has been granted.2



  1
    Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
 Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign
 Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774]. This motion is attached as Exhibit
 2.
  2
    Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
 Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
 Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854]. A related order
 dated January 9, 2020, contains a similar provision with regard to Seery’s role as an “Independent
 Director.” Order Approving Settlement with Official Committee of Unsecured Creditors
 Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course [Doc
 339]. These orders are attached, respectively, as Exhibits 3 and 4.
 ______________________________________________________________________________
 Plaintiffs’ Motion for Leave to File First Amended Complaint                                Page 2

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         On March 22, 2021, the bankruptcy court entered an order confirming HCM’s

 reorganization plan.3 That order purports to extend the prohibitions on suits against Seery, and it

 also prohibits certain actions against HCM and its affiliates. By its own terms, however, that order

 is not effective due to a pending appeal.

         On April 12, 2021, Plaintiffs filed their Original Complaint in this action, alleging that

 HCM and related entities are liable as a result of insider trading and other violations of the antifraud

 provisions of the Investment Company Act of 1940, among other causes of action. The Original

 Complaint does not name Seery as a defendant. But the action is based on Seery’s

 misrepresentations, omissions, and other breaches of duty committed in his role as HCM’s CEO,

 which are sufficient to demonstrate his willful misconduct or gross negligence, though Plaintiffs

 submit that mere negligence and breach of fiduciary duty also form sufficient bases for his personal

 liability.

                                                   III.

                                             ARGUMENT

         This Court should grant leave to amend because the liberal policies behind Rule 15 require

 it and because leave is not prohibited by the bankruptcy court’s order.

 A. Rule 15(a) Allows Plaintiffs’ Amendment As a Matter of Course

         Rule 15(a) instructs the Court to “freely give leave [to amend] when justice so requires.”

 FED. R. CIV. P. 15(a). The Fifth Circuit, in Martin’s Herend Imports, Inc. v. Diamond & Gem

 Trading United States Co., 195 F.3d 765 (5th Cir. 1999), interpreted the rule as “evinc[ing] a bias

 in favor of granting leave to amend.” Id. at 770. Thus the Court must possess a “substantial reason”



  3
   Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 (As Modified) And (II) Granting Related Relief [Doc. 1943].
 ______________________________________________________________________________
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 to deny a request for leave to amend. Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282,

 286 (5th Cir. 2002); Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985); cf. Foman v. Davis,

 371 U.S. 178, 182 (1962) (explaining that leave should be granted “[i]n the absence of any apparent

 or declared reason—such as undue delay, bad faith or dilatory motive on the part of the movant,

 repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

 opposing party by virtue of allowance of the amendment, futility of amendment, etc.”).

        Moreover, one amendment, filed within 21 days of service of the pleading it seeks to amend

 or before a responsive pleading is filed, is allowed “as a matter of course.” Fed. R. Civ. P. 15(a)(1);

 Zaidi v. Ehrlich, 732 F.2d 1218, 1220 (5th Cir. 1984) (“When, as in this case, a plaintiff who has

 a right to amend nevertheless petitions the court for leave to amend, the court should grant the

 petition.”); Galustian v. Peter, 591 F.3d 724, 729-30 (4th Cir. 2010) (holding that district court

 abused its discretion in denying timely motion to amend adding defendant because “[t]he

 plaintiff’s right to amend once is absolute”); Rogers v. Girard Tr. Co., 159 F.2d 239, 241 (6th Cir.

 1947) (holding that complaint may be amended as matter of course where defendant has filed no

 responsive pleading, and leave of district court is not necessary, but it is error to deny leave when

 asked); Bancoult v. McNamara, 214 F.R.D. 5, 7-8 (D.D.C. 2003) (holding that plaintiff’s filing of

 a motion for leave to amend does not nullify plaintiff’s absolute right to amend once before

 responsive pleadings, even if the amendment would be futile).

        Here, Plaintiffs did not name Seery as a defendant in the Original Complaint out of an

 abundance of caution in light of the bankruptcy court’s order of July 16, 2020 [Doc. 854]. Instead,

 Plaintiffs are seeking leave in this Motion to do so. Because the proposed amendment is their first,

 and because it comes within 21 days of service of the Original Complaint, as well as before any




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 responsive pleadings, Plaintiffs respectfully submit that they are entitled to leave and their

 proposed First Amended Complaint should be allowed.

 B. The Bankruptcy Court’s Order Should Not Prohibit Plaintiffs’ Amendment

         Plaintiffs submit that the bankruptcy court order of July 16, 2020, does not prohibit the

 proposed amendment for two independent reasons.

         1. The Bankruptcy Court’s Order Exceeds Its Jurisdiction

                 a. The Bankruptcy Court Cannot Strip This Court of Jurisdiction

         Because the bankruptcy court’s jurisdiction derives from and is dependent upon the

 jurisdiction of this Court, its order declaring that it has “sole jurisdiction” is overreaching.

         Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

 and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

 statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

 courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

 SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

 2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

 the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

 court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

 district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

 U.S.C. § 1334(a)-(b). What Congress giveth, the bankruptcy courts cannot taketh away.

                 b. The Barton Doctrine Does Not Apply

         The bankruptcy court’s overreach seems to stem from a misapplication of the Barton

 doctrine. That doctrine protects receivers and trustees who are appointed by the bankruptcy court.

 Randazzo v. Babin, No. 15-4943, 2016 U.S. Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016)


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 (“While the Barton case involved a receiver in state court, the United States Court of Appeals for

 the Fifth Circuit has extended this principle, now known as the Barton doctrine, to lawsuits against

 bankruptcy trustees for acts committed in their official capacities.”). The doctrine does not apply

 to executives of a debtor, like Seery, who are not receivers or trustees, and who are stretching the

 truth to claim that they were “appointed” by the bankruptcy court after asking it merely to approve

 their appointment in deference to their discretion under the business judgment rule.4

                 c. The Order Exceeds the Constitutional Limits of the Bankruptcy Court’s
                    Jurisdiction

         Plainly the bankruptcy court does not have “sole jurisdiction” over all causes of action that

 might be brought against Seery related to his role as HCM’s CEO. But more to the point, the

 bankruptcy court does not even have concurrent jurisdiction over all such claims. The separation

 of powers doctrine does not allow that. See Stern v. Marshall, 564 U.S. 462, 499 (2011) (holding

 that Congress cannot bypass Article III and create jurisdiction in bankruptcy courts “simply

 because a proceeding may have some bearing on a bankruptcy case”); id. at 488 (quoting Murray’s

 Lessee v. Hoboken Land & Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that

 “Congress cannot ‘withdraw from judicial [read Article III] cognizance any matter which, from its

 nature, is the subject of a suit at the common law, or in equity, or admiralty’” with the limited

 exception of matters involving certain public rights); id. at 494 (quoting the dissent’s quote of

 Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 584 (1985), for the proposition

 that “Congress may not vest in a non-Article III court the power to adjudicate, render final

 judgment, and issue binding orders in a traditional contract action arising under state law,” and


  4
    Exhibit 2 at 14-15 (arguing that the bankruptcy court should not “interfere” with their “corporate
 decisions . . . as long as they are attributable to any rational business purpose”) (internal quotes omitted);
 id. at 5-7 (detailing the compensation committee’s “appointment” of Seery as CEO as well as chief
 restructuring officer).
 ______________________________________________________________________________
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 then adding “tort” to the rule for purposes of the matter before it); cf. In re Prescription Home

 Health Care, 316 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within

 the bankruptcy court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has

 jurisdiction to enjoin any activity that threatens the debtor’s reorganization prospects [because

 that] would permit the bankruptcy court to intervene in a wide variety of third-party disputes [such

 as] any action (however personal) against key corporate employees, if they were willing to state

 that their morale, concentration, or personal credit would be adversely affected by that action”).

 The bankruptcy court’s order asserting “sole jurisdiction” here is hardly even relevant since that

 court lacks the power to expand its jurisdiction or manufacture jurisdiction where none exists.

        The proposed First Amended Complaint asserts common law and equitable contract and

 tort claims. For the reasons explained by the Supreme Court in Stern, such claims should not be

 deemed within the bankruptcy court’s jurisdiction.

                d. The Order Exceeds the Bankruptcy Court’s Statutory Authorization

        Not only are there constitutional issues with the scope of the bankruptcy court’s order,

 there is also the limitation of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling

 Co. (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

 court’s “more limited jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157). In §

 157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from presiding over

 cases or proceedings that require consideration of both Title 11 and other federal law regulating

 organizations or activities affecting interstate commerce.

        The First Amended Complaint’s allegations against Seery—accusing him of insider

 trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

 provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the


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 “colorability” of such claims will require a close examination of both the proceedings that took

 place in the bankruptcy court under Title 11 and the Investment Advisers Act as well as the RICO

 statute. The bankruptcy court lacks the authority to make such determinations. This Court has that

 power.

          Thus, at least as it applies to the proposed First Amended Complaint, the bankruptcy

 court’s order exceeds its authority under 28 U.S.C. § 157(d), and any determination of

 “colorability” should take place in this Court, which Rule 12(b)(6) of the Federal Rules of Civil

 Procedure already provides for. To hold otherwise would create unnecessary tension with the

 congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

 debtors in possession, may be sued, without leave of the court appointing them, with respect to

 any of their acts or transactions in carrying on business connected with such property.”).

          2. The Prerequisites in the Bankruptcy Court’s Order Are Satisfied by This Motion
             and the Detailed Allegations in the Proposed First Amended Complaint

          Alternatively, or in addition, should this Court read the bankruptcy court’s order as

 prohibiting the filing of actions against Seery even in this Court, Plaintiffs submit that this Motion

 seeking leave provides the mechanisms required by that order and therefore satisfies it.

          The bankruptcy court’s order requires only that any contemplated action must first be

 submitted to that court for a preliminary determination of colorability. Because that court only has

 derivative jurisdiction as a result of this Court’s jurisdiction—and only over matters referred to it

 by this Court—Plaintiffs submit that filing a motion for leave here is the correct procedure for

 complying with that order. This Court may refer this Motion to the bankruptcy court under

 Miscellaneous Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal

 Judgeship Act of 1984, codified at 28 U.S.C. § 157(a). Or it may instead decline to refer the Motion

 or withdraw the reference under 28 U.S.C. § 157(d), as Plaintiffs submit is appropriate for the
 ______________________________________________________________________________
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 reasons addressed above. Regardless, this Motion presents the issue in a manner that allows the

 bankruptcy court to address it, should this Court decide that the bankruptcy court is authorized to

 do so. Cf. Confirmation Order [Doc. 1943] at 77, ¶ AA (“The Bankruptcy Court will have sole and

 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only to the

 extent legally permissible and as provided for in Article XI of the Plan, shall have jurisdiction to

 adjudicate the underlying colorable claim or cause of action.”) (emphasis added).

        Plaintiffs therefore submit that, by filing this Motion in this Court, they have complied with

 the bankruptcy court’s order.

                                                 IV.

                                          CONCLUSION

        Plaintiffs are entitled to amend as a matter of course. The bankruptcy court lacks

 jurisdiction to prohibit the proposed amendment. In these circumstances, Plaintiffs respectfully

 submit that the interests of justice support the granting of leave to amend, and Rule 15(a) requires

 that this Motion be granted.

 Dated: April 19, 2021                                 Respectfully submitted,

                                                       SBAITI & COMPANY PLLC

                                                       /s/ Jonathan Bridges
                                                       Mazin A. Sbaiti
                                                       Texas Bar No. 24058096
                                                       Jonathan Bridges
                                                       Texas Bar No. 24028835
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                                                       E: mas@sbaitilaw.com
                                                           jeb@sbaitilaw.com

                                                       Counsel for Plaintiffs
 ______________________________________________________________________________
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                             CERTIFICATE OF CONFERENCE

        I hereby certify that, on April 19, 2021, I conferred with Defendant HCM’s counsel in the
 HCM bankruptcy proceedings regarding this Motion. I have not conferred with counsel for the
 other Defendants because they have not been served and I do not know who will represent them.
 HCM’s counsel indicated that they are opposed to the relief sought in this Motion.



                                                    /s/ Jonathan Bridges
                                                    Jonathan Bridges




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

   CHARITABLE DAF FUND, L.P.          §
   and CLO HOLDCO, LTD.,              §
   directly and derivatively,         §
                                      §
                 Plaintiffs,          §
                                      §
                     v.               §             Cause No. 3:21-CV-00842-B
                                      §
   HIGHLAND CAPITAL MANAGEMENT, §
   L.P. , HIGHLAND HCF ADVISOR, LTD., §
   JAMES P. SEERY, individually, and  §
   HIGHLAND CLO FUNDING, LTD.,        §
   nominally,                         §
                                      §
                Defendants.           §


                                          ORDER

        The Court, having considered Plaintiffs’ Motion for Leave to File First Amended

  Complaint, finds that the Motion should be GRANTED.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to File First Amended

  Complaint is GRANTED.

        SO ORDERED.

        Dated this ____ day of ___________, 2021.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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                     TAB J
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Counsel for Highland Capital Management, L.P.


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
                                                                  §
    In re:
                                                                  § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §

    DEBTOR’S MOTION FOR AN ORDER REQUIRING THE VIOLATORS TO SHOW
       CAUSE WHY THEY SHOULD NOT BE HELD IN CIVIL CONTEMPT FOR
                     VIOLATING TWO COURT ORDERS

             Highland Capital Management, L.P., the debtor and debtor-in-possession (the “Debtor” or

“Highland”) in the above-captioned chapter 11 case (“Bankruptcy Case”), by and through its



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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undersigned counsel, files this motion (the “Motion”) seeking entry of an order requiring The

Charitable DAF Fund, L.P. (“The DAF”), CLO Holdco, Ltd. (“CLO Holdco”), the persons who

authorized The DAF and CLO Holdco, respectively (together, the “Authorizing Persons”) to file

the Seery Motion (as defined below) in the DAF Action (as defined below), and Sbaiti & Company

PLLC (“Sbaiti & Co.” and together with The DAF, CLO Holdco, and the Authorizing Persons,

the “Violators”), counsel to The DAF and CLO Holdco in the DAF Action, to show cause why

each of them should not be held in civil contempt for violating the Court’s: (a) Order Approving

Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor

and Procedures for Operations in the Ordinary Course [Docket No. 339], and (b) Order

Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing

Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and

Foreign Representative Nunc Pro Tunc to March 15, 2020 [Docket No. 854] (together, the

“Orders”). In support of its Motion, the Debtor states as follows:

                                      JURISDICTION AND VENUE

        1.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334(b). The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

        2.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

        3.       The predicates for the relief requested in the Motion are sections 105(a) and

362(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 7065 and 7001 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                          RELIEF REQUESTED




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        4.       The Debtor requests that this Court issue the proposed form of order attached as

Exhibit A (the “Proposed Order”), pursuant to sections 105(a) and 362(a) of the Bankruptcy Code

and Rules 7001 and 7065 of the Bankruptcy Rules.

        5.       For the reasons set forth more fully in the Debtor’s Memorandum of Law in Support

of Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in

Civil Contempt for Violating Two Court Orders (the “Memorandum of Law”), filed

contemporaneously with this Motion, the Debtor requests that the Court: (a) find and hold each of

the Violators in contempt of court; (b) direct the Violators, jointly and severally, to pay the

Debtor’s estate an amount of money equal to two (2) times the Debtor’s actual expenses incurred

in bringing this Motion, payable within three (3) calendar days of presentment of an itemized list

of expenses; (c) impose a penalty of three (3) times the Debtor’s actual expenses incurred in

connection with any future violation of any order of this Court (including filing any motion in the

District Court to name Mr. Seery as a defendant without seeking and obtaining this Court’s prior

approval, as required under the Orders), and (d) grant the Debtor such other and further relief as

the Court deems just and proper under the circumstances.

        6.       In accordance with Rule 7007-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”), contemporaneously

herewith and in support of this Motion, the Debtor is filing: (a) its Memorandum of Law, and (b)

the Declaration of John A. Morris in Support of the Debtor’s Motion for an Order Requiring the

Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court

Orders (the “Morris Declaration”) together with the exhibits annexed thereto.




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        7.       Based on the exhibits annexed to the Morris Declaration, and the arguments

contained in the Memorandum of Law, the Debtor is entitled to the relief requested herein as set

forth in the Proposed Order.

        8.       Notice of this Motion has been provided to all parties. The Debtor submits that no

other or further notice need be provided.

        WHEREFORE, the Debtor respectfully requests that the Court (i) enter the Proposed Order

substantially in the formed annexed hereto as Exhibit A granting the relief requested herein, and

(ii) grant the Debtor such other and further relief as the Court may deem proper.




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